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                          Vol. 1 of 5 (Appx1-7088)
                                 No. 24-1098

                UNITED STATES COURT OF APPEALS
                   FOR THE FEDERAL CIRCUIT
                                  BRITA LP,
                                              Appellant,
                                      v.
                     INTERNATIONAL TRADE COMMISSION,
                                            Appellee,
    ZERO TECHNOLOGIES, LLC, CULLIGAN INTERNATIONAL CO., VESTERGAARD
   FRANDSEN INC., D/B/A LIFESTRAW, KAZ USA, INC., HELEN OF TROY LIMITED,
                                            Intervenors.
         Appeal from the United States International Trade Commission
                      in Investigation No. 337-TA-1294
                NON-CONFIDENTIAL JOINT APPENDIX
PANYIN A. HUGHES                        DEANNE E. MAYNARD
DOMINIC L. BIANCHI                      SETH W. LLOYD
HOUDA MORAD                             NOAH PRILUCK*
OFFICE OF THE GENERAL COUNSEL           MORRISON & FOERSTER LLP
U.S. INTERNATIONAL TRADE COMMISSION 2100 L Street NW, Suite 900
500 E Street SW, Suite 707              Washington, DC 20037
Washington, DC 20436                    Tel.: (202) 887-8740
Tel: (202) 205-3042                     DMaynard@mofo.com
Counsel for ITC
                                        PAUL A. AINSWORTH
JEFFREY R. GARGANO                      STERNE KESSLER GOLDSTEIN
DEVON C. BEANE                          & FOX PLLC
K&L GATES LLP                           1101 K Street NW, 10th Floor
70 West Madison Street, Suite 3300      Washington, DC 20005
Chicago, IL 60602
Tel: (312) 372-1121                     Counsel for Brita LP
Counsel for Vestergaard Frandsen Inc.,
d/b/a LifeStraw
                   Additional Counsel Listed on Inside Cover
AUGUST 2, 2024
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ADAM D. SWAIN                              *Admitted only in Iowa and Nebraska.
THOMAS W. DAVISON                          Practice supervised by principals of the
ALSTON & BIRD LLP                          firm admitted to the DC bar.
The Atlantic Building
950 F Street, NW
Washington, DC 20004

KIRK T. BRADLEY
KARLEE WROBLEWSKI
ALSTON & BIRD LLP
Vantage South End
1120 South Tryon Street, Suite 300
Charlotte, NC 28203

KATHERINE RUBSCHLAGER
ALSTON & BIRD LLP
560 Mission Street, Suite 2100
San Francisco, CA 94105

Counsel for Helen of Troy Limited and
Kaz USA, Inc.

JOHN LETCHINGER
BAKER & HOSTETLER LLP
One North Wacker Drive, Suite 3700
Chicago, IL 60606

JARED BRANDYBERRY
BAKER & HOSTETLER LLP
1801 California Street, Suite 4400
Denver, CO 80202

ALAINA LAKAWICZ
BAKER & HOSTETLER LLP
1735 Market Street, Suite 3300
Philadelphia, PA 19103

Counsel for Zero Technologies, LLC
and Culligan International Co.
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confidentiality. Markings of any other color are part of the document as filed at the
Commission and do not indicate confidentiality.
The non-confidential version of this appendix redacts material filed under seal
pursuant to the Commission’s protective order. As required by Federal Circuit
Rule 25.1(e)(1)(B), the table below notes the specific pages with redacted material
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                     UNITED STATES INTERNATIONAL TRADE COMMISSION
                                    Washington, D.C.



In the Matter of

CERTAIN HIGH-PERFORMANCE                                                                Investigation No. 337-TA-1294
GRAVITY-FED WATER FILTERS AND
PRODUCTS CONTAINING THE SAME


                                              COMMISSION OPINION



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I.     INTRODUCTION

       On June 28, 2023, the Commission determined to review in part the final initial

determination (“ID”) issued by the presiding administrative law judge (“ALJ”) on February 28,

2023, finding a violation with respect to claims 1, 2-6 and 23 of U.S. Patent No. 8,167,141 (“the

’141 patent”). 88 Fed. Reg. 42950-53 (July 5, 2023). On review, the Commission has

determined to reverse the ID’s finding that there has been a violation of section 337 of the Tariff

Act of 1930, as amended, 19 U.S.C. § 1337. Specifically, the Commission has determined to:

(1) vacate the ID’s construction of the claim term “filter usage lifetime claimed by a

manufacturer or seller of the filter” and find that claim limitation indefinite; (2) reverse the ID’s

finding that the asserted claims are not invalid for lack of written description; (3) reverse the ID’s

finding that the asserted claims are enabled; (4) take no position on the ID’s section 101 analysis

and findings; (5) take no position on the ID’s section 102 analysis and findings; and (6) take no

position on the ID’s findings on the economic prong of the domestic industry requirement.

Because the Commission finds each of the asserted claims invalid, it accordingly finds no

violation of section 337.

       This opinion sets forth the Commission’s reasoning in support of that determination. The

Commission adopts the remainder of the ID that is not inconsistent with this opinion.

II.    BACKGROUND

       A.      Procedural History

       On January 31, 2022, the Commission instituted this investigation based on a complaint

filed by Brita LP (“Brita”) of Neuchatel NE, Switzerland. 87 Fed. Reg. 4913 (Jan. 31, 2022).

The complaint, as supplemented, alleged violations of section 337 based upon the importation

into the United States, the sale for importation, and the sale within the United States after

importation of certain high-performance gravity-fed water filters and products containing the

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same by reason of infringement of claims 1-6, 20, 21, 23, and 24 of U.S. Patent No. 8,167,141

(“the ’141 patent”). Id. The Commission’s notice of investigation named nine respondents:

Mavea LLC of West Linn, Oregon and Brita GmbH of Taunusstein, Switzerland (collectively,

“the Mavea Respondents”); Ecolife Technologies, Inc. of City of Industry, California and

Qingdao Ecopure Filter Co., Ltd. of Shandong Province, China (collectively, “the Aqua Crest

Respondents”); Kaz USA, Inc. and Helen of Troy Limited, both of El Paso, Texas (collectively,

“the PUR Respondents”); Zero Technologies, LLC of Trevose, Pennsylvania and Culligan

International Co. of Rosemont, Illinois (collectively, “the ZeroWater Respondents”); and

Vestergaard Frandsen Inc. of Baltimore, Maryland (“Vestergaard” or “LifeStraw”). Id. The

Office of Unfair Import Investigations is not participating in this investigation. Id.

       The Mavea Respondents were terminated from the investigation based upon settlement,

and the Aqua Crest Respondents were terminated based upon withdrawal of the allegations in the

complaint. Order No. 13 (May 3, 2022), unreviewed by Comm’n Notice (May 24, 2022); Order

No. 43 (Sept. 22, 2022), unreviewed by Comm’n Notice (Oct. 11, 2022). Claims 20, 21, and 24

of the ’141 patent were terminated from the investigation based upon withdrawal of the

allegations in the complaint as to these claims. Order No. 19 (June 1, 2022), unreviewed by

Comm’n Notice (June 21, 2022).

       On June 2, 2022, the ALJ held a Markman hearing. The ALJ issued a Markman Order

construing the claim terms in dispute on July 20, 2022. Order No. 30 (July 20, 2022).

       The ALJ held an evidentiary hearing from August 17-19, August 22-23, and October 13,

2022, and received post-hearing briefs thereafter.

       On February 28, 2023, the ALJ issued the final ID finding a violation of section 337. The

ID found that by appearing and participating in the investigation, the parties have consented to



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personal jurisdiction at the Commission. ID at 12. The ID further found that “because of

importation stipulations of all Accused Products,” the importation requirement under 19 U.S.C.

§ 1337(a)(1)(B) is satisfied and that the Commission has in rem jurisdiction over the accused

products. Id. at 12-13. The ID found that Brita successfully proved that the accused products

infringe the asserted claims of the ’141 patent (claims 1-6 and 23). ID at 69-105. The ID further

found that Respondents failed to show by clear and convincing evidence that the asserted claims

are invalid for lack of written description (ID at 169-204), enablement (ID at 205-250),

anticipation (ID at 153-169), or for reciting patent ineligible subject matter under 35 U.S.C.

§ 101 (ID at 250-269). Finally, the ID found that Brita proved the existence of a domestic

industry that practices the ’141 patent as required by 19 U.S.C. § 1337(a)(2). Id. at 105-117,

269-285.

       The ID included the ALJ’s recommended determination on remedy and bonding (“RD”).

The RD recommended, should the Commission find a violation, the issuance of a limited

exclusion order against all respondents and cease and desist orders against the PUR Respondents

and LifeStraw. ID/RD at 258-291. The RD also recommended imposing a bond in the amount

of one hundred percent (100%) of entered value for the PUR Respondents’ and the ZeroWater

Respondents’ infringing products imported during the period of Presidential review and $6 per

unit for infringing LifeStraw products imported during the period of Presidential review. Id. at

291-295.

       On March 13, 2023, Respondents and Brita filed respective petitions for review of the




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ID. 1 On March 21, 2023, the parties filed responses to the petitions. 2

         On May 24, 2023, Respondents moved for leave to file a notice of supplemental authority

in support of their petition for review. Specifically, Respondents sought to submit the recent

U.S. Supreme Court decision in Amgen Inc. v. Sanofi, No. 21-757 (May 18, 2023), as being

directly relevant to the lack of enablement of the asserted claims in this investigation. On June

28, 2023, the Commission issued a Notice granting the motion. 88 Fed. Reg. 42951 (July 5,

2023).

         In its Notice on June 28, 2023, the Commission also determined to review the final ID in

part. Id. at 42950-53. Specifically, the Commission determined to review the following

findings: (1) construction of the claim term “filter usage lifetime claimed by a manufacturer or

seller of the filter,” (2) written description, (3) enablement, (4) section 101, (5) anticipation, and

(6) the economic prong of the domestic industry requirement. The Commission requested the

parties to brief certain issues under review and requested the parties, interested government

agencies, and other interested parties to brief the issues of remedy, the public interest, and

bonding. Id.

         On July 14, 2023, the parties filed initial submissions in response to the Commission’s




         1
        See Respondents’ Petition for Review of the Final Initial Determination (“Resp. Pet.”);
Complainant Brita LP’s Petition for Commission Review of Initial and Recommended
Determination (“Brita Pet.”).
         2
        See Complainant Brita LP’s Response to Respondents’ Petition for Review of Initial
Determination (“Brita Rep.”); Respondents’ Response to Complainant’s Petition for Review
(“Resp. Rep.”).


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request for briefing. 3 On July 21, 2023, the parties filed reply submissions. 4

       On July 24, 2023, Complainant Brita filed a motion to strike waived arguments and new

evidence in Respondents’ Reply in Response to the Commission Notice of Review. 5 Brita

argues that Respondents added a new argument regarding the disputed claim construction for the

“lifetime” 6 term that attempts to distinguish “claimed” and “validated.” Motion to Strike at 3.

Brita also argues that Respondents reference new evidence in the form of various lay dictionary

definitions of the words “claim” and “validate” that were never cited during the investigation.

Id. In addition, Brita argues that Respondents now contend, for the first time, that the RD’s

recommendation of a 100% bond for the PUR Respondents’ and the ZeroWater Respondents’

products should not be adopted because Brita did not show that a purported reasonable royalty

from a license of the asserted patent was not a proper basis for a bond as to the PUR and

ZeroWater Respondents. Id. at 5. Brita also argues that Respondents misrepresent the licensing

agreement that they rely upon for a smaller bond, saying that Respondents assert that Brita is

paid under the agreement, when in fact, it is a cross-license agreement where Brita pays the

licensee for use of the licensee’s patents. Id.




       3
         See Complainant Brita LP’s Statement on Remedy, the Public Interest, and Bonding
(“Brita Sub.”); Respondents’ Response to the Commission Notice of Review (“Resp. Sub.”).
       4
          See Complainant Brita LP’s Reply to Respondents’ Statement on Remedy, the Public
Interest, and Bonding (“Brita R. Sub.”); Respondents’ Reply in Response to the Commission
Notice of Review (“Resp. R. Sub.”).
       5
       See Complainant Brita LP’s Motion to Strike Waived Arguments and New Evidence in
Respondents’ Reply in Response to the Commission Notice of Review (“Motion to Strike”).
       6
          The term “lifetime” is used herein as shorthand for the claim limitation “filter usage
lifetime claimed by a manufacturer or seller of the filter.”
                                                  7




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       On August 3, 2023, Respondents filed an opposition to Brita’s motion. 7 Respondents

assert that “to the extent that pointing out well-known dictionary definitions is ‘new,’ it is

directly responsive to the Commission’s question, and the Commission may nonetheless examine

these definitions to the extent necessary to confirm Brita is incorrect on this point.” Opposition

to Motion to Strike at 1-2. With respect to bond, Respondents contend that Brita misconstrues its

own license agreement to make it seem irrelevant as to whether a reasonable royalty rate can be

ascertained. Id. at 2.

       On August 8, 2023, Brita moved for leave under Commission Rule 210.15(c) to file a

reply to Respondents’ opposition. 8 Brita contends that good cause exists “to address

misstatements and baseless arguments in Respondents’ Opposition.” Reply to Opposition at 1.

Specifically, Brita asserts that “Respondents falsely claim they were entitled to present these new

arguments and evidence because Brita purportedly raised new arguments in its own briefing in

response to the Commission’s Notice.” Id. at Attachment A.

       On August 18, 2023, Respondents filed an opposition to Brita’s motion, arguing that

“Brita’s Motion is devoid of ‘good cause,’ or any other justification needed to support its request

to deviate from the standard motion practice and allowing the filing of a reply.” 9




       7
        See Respondents’ Opposition to Brita LP’s Motion to Strike Waived Arguments and
New Evidence in Respondents’ Reply in Response to the Commission Notice of Review
(“Opposition to Motion to Strike”).
       8
        See Complainant Brita LP’s Reply in Support of its Motion to Strike Waived
Arguments and New Evidence in Respondents’ Reply in Response to the Commission Notice of
Review (“Reply to Opposition”).
       9
        See Respondents’ Opposition to Brita LP’s Motion for Leave to Submit Reply in
Support of Its Motion to Strike Waived Arguments and New Evidence in Respondents’ Reply in
Response to the Commission Notice of Review.
                                                  8




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       The Commission has determined to grant Brita’s Motion to Strike as it pertains to

Respondents attempt to introduce in their Reply certain dictionary definitions of “validate” and

“claimed” for being waived. The Commission made clear in its notice that responses to its

questions were limited to the existing evidentiary record. 88 Fed. Reg. at 42951. In addition,

Respondents failed to present the dictionary definitions to the ALJ and failed to present them in

their petition for review or initial submission to the Commission. The Commission has

determined to deny Brita’s motion as to Respondents’ bond argument. Bond is determined by

the Commission based on the full record of the investigation. The ALJ’s bond recommendation

in the RD includes findings based on evidence presented by the parties as well as the ALJ’s

recommendation as to bond amount. The Commission takes into account the RD, the arguments

of the parties before the ALJ, and considers other information and arguments submitted into the

record by the parties, interested government agencies, and other interested parties in response to

the Commission’s notice seeking submissions on remedy, bonding and the public interest. The

Commission has also determined to reject Brita’s motion for leave to file a reply to Respondents’

opposition as unnecessary.

       B.      Overview of the Technology

       The technology at issue generally relates to gravity flow water filtration systems used for

removing undesirable contaminants. ’141 patent (JX-0022); ID at 15-16. Two basic types of

household water filter systems are known in the art: (1) a pressurized system, such as a filter

mounted to a faucet; and (2) a low-pressure system that operates under the force of gravity as

water flows through a filter into a water collection receptacle. ID at 16; ’141 patent at 1:33-39.

The patent relates to the second type.




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        The ’141 patent, entitled “Gravity Flow Filter,” was filed on September 9, 2008, as U.S.

Patent Application No. 12/207,284 (“the ’284 application”). The patent issued on May 1, 2012, and

names multiple inventors, including Elizabeth Knipmeyer, who testified on behalf of

Complainants. ’141 patent. The patent “relates to carbon block and granular filters having rapid

flow rates and excellent filtration performance.” ’141 patent at 1:16-18. The patent describes a

gravity-fed carbon block water filter that utilizes “multiple sub-blocks each comprising filter

media walls surrounding and defining a cavity receiving fluid.” ’141 patent, Abstract. “Each of

the sub-blocks is connected to at least one other of the sub-blocks by filter media of which the

filter block is made.” Id. The patent discloses that, “[i]n one approach, the filter media includes

about 20-90 wt % activated carbon, and about 5-50 wt % binder” and that, “[i]n another

approach, a lead concentration in a final liter of effluent water filtered by the filter is less than

about 10 ug/liter after about 151 liters (40 gallons) of source water filtration, the source water

having a pH of 8.5 and containing 135-165 ppb total lead with 30-60 ppb being colloidal lead

greater than 0.1 um in diameter.” Id. In this investigation, Brita asserts independent claim 1 and

dependent claims 2-6 and 23. ID at 4.

        C.      The Accused Products and Domestic Industry Products

        The accused products are gravity flow water filtration systems that allegedly meet the

limitations recited in the asserted claims. Brita accuses multiple products from each of the

Respondents of infringing the asserted claims. A complete listing of which Respondents’

products are accused of infringing specific asserted claims can be found in the ID at pages 21-25.

        For the domestic industry, Brita identifies its (i) Brita LongLast Product; and (ii) Brita

LongLast+ Product (recently rebranded as “Elite”) as practicing the ’141 patent. ID at 25.




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III.   COMMISSION REVIEW OF THE ID

       When the Commission reviews an initial determination, in whole or in part, it reviews the

determination de novo. Certain Soft-Edged Trampolines and Components Thereof, Inv. No. 337-

TA-908, Comm’n Op. at 4 (May 1, 2015). Upon review, the “Commission has ‘all the powers

which it would have in making the initial determination,’ except where the issues are limited on

notice or by rule.” Certain Flash Memory Circuits & Prods. Containing Same, Inv. No. 337-

TA-382, USITC Pub. No. 3046, Comm’n Op. at 9-10 (July 1997) (quoting Certain Acid-Washed

Denim Garments & Accessories, Inv. No. 337-TA-324, Comm’n Op. at 5 (Nov. 1992)). With

respect to the issues under review, “the Commission may affirm, reverse, modify, set aside or

remand for further proceedings, in whole or in part, the initial determination of the administrative

law judge.” 19 C.F.R. § 210.45(c). The Commission also “may take no position on specific

issues or portions of the initial determination,” and “may make any finding or conclusions that in

its judgment are proper based on the record in the proceeding.” Id.; see also Beloit Corp. v.

Valmet Oy, 742 F.2d 1421, 1423 (Fed. Cir. 1984).

IV.    ANALYSIS

       A.      Issues Under Review

       The Commission determined to review the Markman Order’s construction of one claim

limitation: “filter usage lifetime claimed by a manufacturer or seller of the filter.” 88 Fed. Reg.

42950-53 (July 5, 2023). The Commission thus adopts the ID’s construction of the other claim

limitations in the Markman Order. As to invalidity, the Commission determined to review the

ID’s findings on written description, enablement, section 101, and section 102. Id. As discussed

below, the Commission reverses the ID’s findings as to written description and enablement, and

takes no position on the ID’s findings on sections 101 and 102. The Commission also

determined to review the ID’s findings on the economic prong of the domestic industry

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requirement. Id. On review, the Commission takes no position on the ID’s economic prong

findings.

        B.     Claim Construction and Indefiniteness of the Claim Term “Filter Usage
        Lifetime Claimed by a Manufacturer or Seller of the Filter”

        The Commission determined to review the ID’s construction of the claim term “filter

usage lifetime claimed by a manufacturer or seller of the filter.” 88 Fed. Reg. 42950-53 (July 5,

2023). On review, the Commission has determined to vacate the ID’s construction and find the

claim limitation indefinite. 10

        Independent claim 1 recites:

                 1. A gravity-fed water filter, comprising:

                 a filter media including at least activated carbon and a lead scavenger,
                 wherein the filter achieves a Filter Rate and Performance (FRAP) factor of
                 about 350 or less according to the following formula:


                                     FRAP= [V*f*ce]
                                             [L* 2]

                 where:

                 V = volume of the filter media (cm3),

                 f = average filtration unit time over lifetime L (min/liter),

                 ce = effluent lead concentration at end of lifetime L when source water having a
                 pH of 8.5 contains 90-120 ppb (μg/liter) soluble lead and 30-60 ppb (μg/liter)
                 colloidal lead greater than 0.1 μm in diameter, and

                 L = filter usage lifetime claimed by a manufacturer or seller of the filter
                 (gallons).




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          As set forth infra, n.11, Commissioner Stayin would affirm the ID’s construction of
this claim term, and the finding that the term is not indefinite.
                                                   12




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’141 patent, claim 1 (emphasis added). The claim relates to FRAP performance testing and the

definition of the variables that are used to calculate the FRAP value of a filter media. As noted,

claims 2-6 and 23 depend from claim 1.

               1.      Legal Standard

       “It is a ‘bedrock principle’ of patent law that ‘the claims of a patent define the invention

to which the patentee is entitled the right to exclude.”’ Phillips v. AWH Corp., 415 F.3d 1303,

1312 (Fed. Cir. 2005) (en banc) (quoting Innova/Pure Water, Inc. v. Safari Water Filtration Sys.,

Inc., 381 F.3d 1111, 1115 (Fed. Cir. 2004)). Claim construction is a question of law but may

depend on “factual underpinnings” such as the understanding of a person of ordinary skill in art

at the time of the invention. Teva Pharm. USA, Inc. v. Sandoz, Inc., 574 U.S. 318, 331-32

(2015). Claim construction focuses on the intrinsic evidence, which consists of the claims

themselves, the specification, and the prosecution history. Phillips, 415 F.3d at 1314; Markman

v. Westview Instr., Inc., 52 F.3d 967, 979 (Fed. Cir. 1995) (en banc). The Federal Circuit

explained in Phillips that tribunals must analyze the intrinsic evidence to determine the “ordinary

and customary meaning of a claim term” as understood by a person of ordinary skill in the art at

the time of the invention. Phillips, 415 F.3d at 1313. “Such intrinsic evidence is the most

significant source of the legally operative meaning of disputed claim language.” Bell Atl.

Network Servs., Inc. v. Covad Commc’ns Grp., Inc., 262 F.3d 1258, 1267 (Fed. Cir. 2001).

       “Quite apart from the written description and the prosecution history, the claims

themselves provide substantial guidance as to the meaning of particular claims terms.” Phillips,

415 F.3d at 1314; Interactive Gift Express, Inc. v. Compuserve Inc., 256 F.3d 1323, 1331 (Fed.

Cir. 2001) (“In construing claims, the analytical focus must begin and remain centered on the

language of the claims themselves, for it is that language that the patentee chose to use to

‘particularly point [ ] out and distinctly claim [ ] the subject matter which the patentee regards as
                                                 13




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his invention.’”). Further, “the specification ‘is always highly relevant to the claim construction

analysis. Usually it is dispositive; it is the single best guide to the meaning of a disputed term.’”

Phillips, 415 F.3d at 1315 (quoting Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1582

(Fed. Cir. 1996)). “[T]he specification may reveal a special definition given to a claim term by

the patentee that differs from the meaning it would otherwise possess. In such cases, the

inventor’s lexicography governs.” Id. at 1316.

       In addition to the claims and the specification, the prosecution history should be

examined, if in evidence. Phillips, 415 F.3d at 1317. The prosecution history can “often inform

the meaning of the claim language by demonstrating how the inventor understood the invention

and whether the inventor limited the invention in the course of prosecution, making the claim

scope narrower than it would otherwise be.” Phillips, 415 F.3d at 1317; see Chimie v. PPG

Indus. Inc., 402 F.3d 1371, 1384 (Fed. Cir. 2005). When the intrinsic evidence does not

establish the meaning of a claim, then extrinsic evidence (i.e., all evidence external to the patent

and the prosecution history, including dictionaries, inventor testimony, expert testimony, and

learned treatises) may be considered. Phillips, 415 F.3d at 1317. As the Supreme Court has

explained, while claim construction is a question of law, it may depend on “factual

underpinnings,” such as the understanding of an ordinarily skilled artisan. Teva, 574 U.S. at

331-32.

       If, however, a person of ordinary skill in the art reading the claim in light of the

specification and prosecution history is unable to ascertain with “reasonable certainty” the scope

of the invention, the patent claim is invalid for indefiniteness. Nautilus, Inc. v. Biosig

Instruments, Inc., 572 U.S. 898, 910-11 (2014). In other words, a patent claim must “inform




                                                 14




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those skilled in the art about the scope of the invention with reasonable certainty” to avoid being

indefinite. Id.

            2.    The ID

       The ALJ found that the language of the claims and the specification support Brita’s

proposed construction of “filter usage lifetime claimed by a manufacturer or seller of the filter”

to mean “[t]he total number of gallons of water that a manufacturer or seller has validated can be

filtered before the filter is replaced.” Markman Order (Order No. 30) at 14. In construing the

limitation, the ALJ noted that, consistent with the specification, “[c]laim 1 defines the filter

usage lifetime in gallons (‘L=filter usage lifetime claimed by a manufacturer or seller of the filter

(gallons)).’” Id. at 14-15 (citing ’141 patent at 34:25-26; 12:27-28; 26:6-8 (reciting “lifetime …

is defined as the total number of gallons that can be effectively filtered...”), 23:26-32 (reciting

the filters “have been found to perform effectively in water filtration, including obtaining lead

removal results that meet the recent NSF Standard 53 for lead in drinking water”)). The ALJ

further noted that “[t]he ’141 patent describes the NSF/ANSI 53 standard, where it can be

located, and the purpose of incorporating by reference to provide ‘FRAP performance testing’

that may use the ‘requirements and procedures’ of the standard to calculate the lifetime as part of

the FRAP formula” and that “[b]ecause the NSF/ANSI 53 standard is incorporated by reference,

it is also intrinsic evidence available for claim construction.” Id. at 15 (“This is incorporation by

reference with sufficient particularity.”) (citing ’141 patent at 26:22-29); Zenon Env’t, Inc. v.

U.S. Filter Corp., 506 F.3d 1370, 1378-79 (Fed. Cir. 2007)).

       The ALJ rejected Respondents’ argument that “the lifetime limitation is indefinite

because a method of calculating a filter’s lifetime is not described in the ’141 patent,” finding

that “[b]ecause the NSF/ANSI 53 standard is incorporated by reference, the patent explains at

least a default method to calculate the lifetime as described in the NSF/ANSI 53 standard.” Id. at
                                                  15




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16-17 (citing JXM-0003.082 at § 7.4.3.6 (describing a protocol test of lead reduction claims)).

The ALJ further found that “a person having ordinary skill in the art would understand the

NSF/ANSI 53 standard and understand the meaning of ‘lifetime,’ and determine a method of

determining the lifetime.” Id. at 17.

                 3.     Analysis

        The Commission finds that the scope of the claim term, “filter usage lifetime claimed by

a manufacturer or seller of the filter,” cannot be determined with reasonable certainty and that, as

a result, claims 1-6 and 23 are indefinite. 11


        11
           Commissioner Stayin would affirm the ID’s construction of “filter usage lifetime
claimed by a manufacturer or seller of the filter,” and the related finding that the term is not
indefinite. In his view, Respondents waived any objection to the adopted construction. During
the Markman proceedings, Respondents argued the term was indefinite, but did not offer a
contrary construction. See Resps.’ Joint Markman Br. at 15-19; cf. id. at 9-14 (arguing the term
“volume of the filter media” is indefinite and proposing a construction in the alternative). On
reply, Respondents offered a single sentence regarding Complainants’ construction. Resps.’
Joint Markman Reply in Support of Indefiniteness at 12-13 (“Brita’s proposed definition is
seemingly broader, inserting the term “validated” into its construction . . . which does not appear
whatsoever within the ’141 patent.”). The majority offers no explanation for setting aside the
adopted construction despite this waiver, or otherwise crediting arguments that were not
presented to the ALJ (including new dictionary definitions). Cf. Certain Smart Thermostat Sys.,
Smart HVAC Sys., Smart HVAC Control Sys., & Components Thereof, Inv. No. 337-TA-1258,
Comm’n Op., 2022 WL 2915250, at *10 (July 19, 2022) (“In any event, the Commission also
finds that Complainant waived any reliance on its proposed construction . . . for failing to present
it before the ALJ.”).

        Evaluating the “lifetime” term as construed by the Markman Order, Commissioner Stayin
would affirm the ALJ’s finding that the term is not indefinite. The specification identifies one
method that may be used to determine the lifetime of a filter, namely the NSF/ANSI 53 protocol.
The majority takes issue with the fact that this standard is not required by the patent, but the
Federal Circuit has held that even if there are multiple measurement techniques, “the mere
possibility of different results from different measurement techniques” does not render a claim
indefinite. Takeda Pharm. Co. v. Zydus Pharms. USA, Inc., 743 F.3d 1359, 1366 (Fed. Cir.
2014) (emphasis added). Respondents offered mere speculation that using the NSF/ANSI 53
protocol for different contaminants might result in different lifetimes, but provide no concrete
examples. See Markman Order at 17. The only example offered by the majority, filter PT3-6
from Table 5 of the ’141 patent, at most shows the lifetime stated in the patent was incorrect, not
that a person of ordinary skill could not determine the lifetime of that filter. Moreover, this
example was raised by Respondents for the very first time in their reply submission to the
                                                   16




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       As noted above, the ALJ construed the claim limitation “filter usage lifetime claimed by

a manufacturer or seller of the filter” to mean “[t]he total number of gallons of water that a

manufacturer or seller has validated can be filtered before the filter is replaced.” Markman

Order at 14 (emphasis added). As an initial matter, the Commission notes that the difference

between the filter usage lifetime being “claimed” and the filter usage lifetime being “validated”

is apparent from the plain meaning of those words, and a person of ordinary skill in the art would

not exchange those terms as equivalent in meaning without specific guidance or reason to do so

from the patent. 12 The ID found reasons to do so in the patent, but the Commission does not find

the intrinsic evidence to support this meaning.


Commission, and not before the ALJ or in Respondents’ petition for review. Likewise, although
the NSF/ANSI 53 protocol has changed over time, neither Respondents nor the majority offer a
single concrete example of a filter for which the infringement determination would change
depending on the version of the standard used to determine the lifetime. Indeed, the Commission
appears to invert the burden of proof by faulting Complainants for not proving the protocol has
been consistent over time. Compare infra, at 25-26, with Takeda, 743 F.3d at 1366 (“As always,
the party challenging the patent bears the burden of proving invalidity by clear and convincing
evidence.”). Accordingly, Commissioner Stayin would find Respondents failed to meet their
burden to prove that the asserted claims are invalid, and thus would affirm the ALJ as to that
issue.
       12
            While the Commission has determined to reject Respondents’ attempt to introduce the
dictionary definition of “validate” and “claimed” from certain dictionaries, the Commission takes
judicial notice of the following definitions of “claimed” and “validate” from the Oxford English
Dictionary and the American Heritage Dictionary of the English Language to underscore the
plain meaning of “claimed” and “validate.” Oxford defines the term “validate” as “[t]o examine
for incorrectness or bias; to confirm or check the correctness of”; and the term “claimed” as
“[o]ften loosely used (esp. in U.S.) for: Contend, maintain, assert.” validate. 2023. In OED.com.
Retrieved September 5, 2023, from oed.com/dictionary/validate; claimed. 2023. In OED.com.
Retrieved September 5, 2023, from https://www.oed.com/dictionary/validate. American
Heritage defines “validate” as “to establish the soundness, accuracy, or legitimacy of”; and
“claimed” as “to state to be true, especially when open to question.” validate. 2023.
In ahdictionary.com. Retrieved September 5, 2023, from
https://www.ahdictionary.com/dictionary/validate; claimed. 2023. In ahdictionary.com.
Retrieved September 5, 2023, from https://www.ahdictionary.com /dictionary/validate. See
Philips, 415 F.3d at 1322–23 (explaining that courts are “free to consult dictionaries . . . at any
time . . . and may also rely on dictionary definitions when construing claim terms, so long as the
dictionary definition does not contradict any definition found in or ascertained by a reading of
                                                  17




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       Starting with the language of the claim, the Commission notes that the patentees chose to

use the phrase “claimed by,” which is subjective language, 13 in the limitation reciting “L-filter

usage lifetime claimed by a manufacturer or seller of the filter (gallons).” ’141 patent at 34:25-

26 (emphasis added). The language of claim 1, however, does not specify the sources from

which the claimed lifetime must be ascertained or how the claimed lifetime must be determined.

In addition, claim 1 does not use the objective word, “validate” or a similar term, which would

imply checking the claimed usage lifetime against a standard, benchmark, or other measure.

       The specification provides additional information and specifically defines the “lifetime

filter usage,” stating the “filter usage lifetime (L) is defined as the total number of gallons that

can be effectively filtered according to claims presented by the manufacturer or seller of the

filter.” ’141 patent at 26:6-8 (emphasis added). The specification then explains where those

“claims” by the manufacturer or seller may be found, stating that “[t]ypically these claims are

present on the product packaging in the form of instructions to a consumer as to a quantity of

water that can be filtered before the filter should be changed. The lifetime claims may also be

presented in the manufacturer’s or seller’s advertising.” ’141 patent at 26:8-13.

       The ’141 patent specification describes that there may be a “substantiation process” to

determine the lifetime: “Typically, filter usage lifetime claims require a substantiation process,

and in some cases, a competitor may be able to challenge such claims in a judicial or non-judicial




the patent documents”); Comaper Corp. v. Antec, Inc., 596 F.3d 1343, 1348 (Fed. Cir. 2010)
(“[I]n determining the ordinary and customary meaning of the claim term as viewed by a person
of ordinary skill in the art, it is appropriate to consult a general dictionary definition of the word
for guidance.”). There is no indication from the intrinsic record that the terms “validate” or
“claimed,” as used in the ’141 patent, are intended to have anything other than their plain and
ordinary meaning as reflected in these dictionary definitions.
       13
            See supra note 12 (defining the term “claim”).
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process.” ’141 patent at 26:14–15 (emphasis added)). This description of a substantiation

process, however, is permissive according to the specification, and is not required by claim 1.

       Further, the specification identifies a protocol that may be used for FRAP performance

testing (which requires the measurement of the filter usage lifetime), and while the protocol is

incorporated by reference, the protocol is also permissive:

       FRAP performance testing may be conducted according to the NSF/ANSI 53
       protocol. Requirements and procedures of the NSF/ANSI 53 protocol are
       available in a document entitled “Drinking water treatment units—Health
       effects”, available from NSF International, 789 North Dixboro Road, P.O. Box
       130140 Ann Arbor, Mich. 48113-0140, USA (Web: http://www.nsf.org), and
       which is herein incorporated by reference.

’141 patent at 26:22-29 (emphasis added). Thus, the Commission finds that nothing in the

specification requires substantiation or validation thus undermining the ALJ’s construction of the

“lifetime” term to require validation. The Commission also notes that nothing in the prosecution

history sheds light on the meaning of the term.

       In short, because the patentees chose to use the subjective phrase “claimed by,” and

nothing in the intrinsic record correlates that term with “validation” or requires substantiation, 14

the plain meaning of the language that the patentees deliberately chose to define their invention

must be given effect, even if as discussed below it renders the claims indefinite. White v.

Dunbar, 119 U.S. 47, 52 (1886) (“The claim is a statutory requirement, prescribed for the very

purpose of making the patentee define precisely what his invention is; and it is unjust to the

public, as well as an evasion of the law, to construe it in a manner different from the plain import



       14
         As Respondents point out, the evidence shows that in an internal Brita memorandum
(CX-0139C), named inventor, Dr. Knipmeyer, proposed a definition that, on its face, would have
expressed an objective validation requirement: “filter usage lifetime is defined as the total
number of gallons that can be filtered before the filter requires replacement.” Tr. (Knipmeyer) at
223:24-224:25); Resp. R. Sub. at 3-4. The patentees, however, chose not to include this type of
language in either the specification or the claims.
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of its terms.”); Chef Am., Inc. v. Lamb Weston, Inc., 358 F.3d 1371, 13734 (Fed. Cir. 2004)

(“[C]ourts may not redraft claims, whether to make them operable or to sustain their validity.”);

Interactive Gift Express, Inc. v. Compuserve Inc., 256 F.3d 1323, 1331 (Fed. Cir. 2001) (“In

construing claims, the analytical focus must begin and remain centered on the language of the

claims themselves, for it is that language that the patentee chose to use to ‘particularly point [ ]

out and distinctly claim [ ] the subject matter which the patentee regards as his invention.’”).

       The Commission finds the claim, when given its plain meaning, is indefinite because the

claim recites a subjective term “lifetime claimed by a manufacturer” and neither the intrinsic of

the patent nor extrinsic evidence provides an adequate basis to determine the scope of the claim

limitation with reasonable certainty. See, e.g., Dow Chem. Co. v. Nova Chems. Corp. (Canada),

803 F.3d 620, 634-35 (Fed. Cir. 2015) (“the existence of multiple methods leading to different

results without guidance in the patent or the prosecution history as to which method should be

used renders the claims indefinite.”); Datamize, LLC v. Plumtree Software, Inc., 417 F. 3d 1342,

1353 (Fed. Cir. 2005) (holding that a claim limitation fails to provide sufficient notice of its

scope if it depends “on the unpredictable vagaries of any one person’s opinion” and is “purely

subjective.”); Morton Int’l, Inc. v. Cardinal Chem. Co., 5 F.3d 1464, 1470 (Fed. Cir.

1993) (“[C]laims ... [must be] sufficiently precise to permit a potential competitor to determine

whether or not he is infringing.”); Interval Licensing LLC v. AOL, Inc., 766 F.3d 1364, 1371

(“Where, as here, we are faced with a ‘purely subjective’ claim phrase, we must look to the

written description for guidance,” and finding the claim indefinite because “sufficient guidance

is lacking in the written description of the asserted patents.”). While the specification provides

additional information, the specification does not provide an adequate basis to determine the

scope of the claim limitation with reasonable certainty. In particular, the specification states that



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the “filter usage lifetime (L) is defined as the total number of gallons that can be effectively

filtered according to claims presented by the manufacturer or seller of the filter.” It goes on to

state that “[t]ypically these claims are present on the product packaging in the form of

instructions to a consumer as to a quantity of water that can be filtered before the filter should be

changed” and that “the lifetime claims may also be presented in the manufacturer’s or seller’s

advertising.” ’141 patent at 26:6-13. These locations are permissive, not mandatory, and the

specification leaves open the possibility that the claimed lifetimes may be “presented” in other

places or not “presented” at all. In addition, as noted above, while the specification states that

FRAP performance testing may be done using the NSF/ANSI 53 protocol, nothing in the

specification requires use of that protocol.

       The ID’s rationale for why the “lifetime” limitation is not indefinite provides no

reasonable certainty as to the meaning of this limitation. The ALJ, at the suggestion of Brita,

relied on the ’141 specification’s explanation regarding substantiation and its explanation that

“FRAP performance testing may be conducted according to the NSF/ANSI 53 protocol” in order

to find that the claim is not indefinite. ’141 patent at 26:22-29. The ALJ found that “[b]ecause

the NSF/ANSI 53 standard is incorporated by reference, the patent explains at least a default

method to calculate the lifetime as described in the NSF/ANSI 53 standard.” Markman Order at

16-17 (citing JXM-0003.082 at § 7.4.3.6 (describing a protocol test of lead reduction claims)).

However, as discussed below, the NSF/ANSI 53 standard is insufficient for an ordinarily skilled

artisan to ascertain the scope of the limitation with reasonable certainty. JXM-0003.

       First, Brita fails to rebut Respondents’ showing that a person of ordinary skill in the art

would not interpret the “lifetime” claim term as mandating that manufacturers and sellers must

implement the NSF/ANSI 53 protocol in their “claimed” filter usage lifetime. Brita asserts



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before the Commission that “[u]sers [] rely on the lifetime rating to know when to replace their

filters” and that “[u]nder the NSF/ANSI 53 (2007) standard, manufacturers are required to

provide a ‘rated service life’ or ‘capacity’ for a filter.” Brita Rep. at 69 (citing CX-0010.088–

089, 092, 120). Brita further contends that “[f]ilters are required to maintain adequate lead

reduction performance through the end of their rated service life or capacity” “[a]nd the standard

prohibits manufacturers or sellers from ‘claim[ing] a capacity or service life greater than the least

reduction capacity or service life that has been verified through testing to NSF/ANSI 53.’” Id.

(citing CX-0010.080, 086, 089). According to Brita, “[t]he NSF standard confirms that the

‘lifetime claimed by a manufacturer or seller’ recited in the ’141 patent refers to a performance

claim—such as lead reduction through the rated lifetime—that must be ‘verified and

substantiated by test data generated under the requirements of NSF/ANSI 53” and that

“[v]alidation of filter performance claims throughout a specified lifetime is standard practice in

the water filtration industry, as reflected in the ’141 patent itself.” Id. at 69-70 (citing JX-0022

(26:14–17) (noting that “filter usage lifetime claims require a substantiation process”); CX-

0010.012, 121). Brita’s conjecture as to how a manufacturer or seller might “claim” any

particular filter usage lifetime, however, cannot override the intrinsic evidence of the patent, and

particularly the language of the claim term “lifetime,” which does not require compliance or

adoption of the NSF/ANSI 53 protocol in a manufacturer’s or seller’s “claim.” Nor did Brita

ever present evidence or argument that a person of ordinary skill in the art would interpret the

“lifetime” claim term as mandating that manufacturers and sellers must implement the

NSF/ANSI 53 protocol in their “claimed” filter usage lifetime, even if one were to accept Brita’s

premise that such a skilled artisan reading the claims in light of the specification might consult




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the NSF/ANSI 53 protocol to understand the meaning of the “lifetime” limitation, especially

because it was incorporated by reference.

        Second, Brita has failed to establish that the 2007 version of NSF/ANSI 53 protocol, the

evidence upon which Brita relies for its argument, is in fact the version of the NSF/ANSI 53

protocol to which the specification refers. This calls into question the relevance of the

evidentiary basis for its argument, particularly in view of the priority dates that Brita claims for

its invention. Brita’s and the Markman Order’s reliance on the 2007 version of the NSF/ANSI

53 protocol cannot be squared with the ID’s finding that the earliest priority date to which the

’141 patent is entitled predates the 2007 version of the protocol. The ID, at Brita’s urging, found

that “[t]he earliest priority date of the ’141 patent is July 25, 2006, as evidenced by actual

reduction to practice of the ’141 patent claims” and that “[t]he ’141 patent also is entitled to a

priority date of September 19, 2006, which is the date of a memorandum that Dr. Knipmeyer

created expressly articulating the FRAP factor.” ID at 120. However, the later priority date of

September 19, 2006, upon which Brita relies for the priority date for these claims, predates the

NSF/ANSI 53 (2007) protocol. Brita, however, provides no explanation as to why the evidence

it offered, i.e., the 2007 version of the NSF/ANSI 53 protocol, must be the default methodology,

when it has not been established that the 2007 version of the methodology was actually used to

test the filters disclosed in the patent. 15 See, e.g., ’141 patent, Table 5.

        Brita’s evidentiary basis is further undermined because testing under the 2007 NSF/ANSI

53 protocol leaves an embodiment disclosed in the ’141 patent that is outside the scope of the

claim limitation. See SynQor, Inc. v. Artesyn Techs., Inc., 709 F.3d 1365, 1378-79 (Fed. Cir.




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       Brita also never argued that a person of ordinary skill in the art would employ the
NSF/ANSI 53 protocol that was in place at the time the patent was filed.
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2013) (“A claim construction that excludes the preferred embodiment is rarely, if ever, correct

and would require highly persuasive evidentiary support.”). Specifically, as Respondents point

out, Table 5 of the ’141 patent (depicted below) discloses an embodiment, PT3-6, with a lifetime

of 40 gallons. Resp. R. Sub. at 3. Yet, this embodiment “could not have a lifetime of 40 gallons

if validation were required based upon NSF 53 (2007) lead reduction testing because the ce of

13.3 μg/L would exceed the 10.0 μg/L imposed by the standard.” Id.; JXM-0003.094.

                                              TABLE 5
                                          L           f         V            Ce        FRAP
                                      (gallons)   (min/liter) (cm3)       (mg/liter)   Factor

                                         Filter Multiple-Core:

               PA3-5                     40             4.6        89        9 .5       58. 6
               PA3-8                     40             4.4        89        7 .5       45.7
               PT3-4                     40             4.2        89        6 .3       38.7
               PT3-6                     40             4.6        89       13.3        78.5
               PT3-4 alternate           40             4 .6       89        1.3        16.6
               housing
               PT3-11                    40             4.4        89        8.5        51.2
               PT3-13                    40             4.2        89        9.2        52.7
               PT3-51                    40             5.7        89        3 .8       36.2
               PT3-53                    40             5.1        89        2.3        24.2
               P2-8 lead sorbent         40             3 .4       89       52.8       208.4
               free
               P2-6 lead sorbent         40             2.3        89       87 .1      223 .1
               free
                                           Cylindrical B lock:

               Block 1                   40         17 .0         15 1       9.2       357.7
               Block 2                   40          9.9          15 1      14.6       308.2
                                              Mixed Media :

               Brita Granular            40           5.5         128       42 .2      386.7
               German Maxtra             40           4.9         145       43.8       4 02.3
               Pur 2 stage               40          16.0         141       30.2       9 11.4
               w/timer
               Pur 2 stage               40          10.4         141       36.6       706.8
               w/timer
               Pur 2 stage               40          11.0         141       38.6       785 .9
               w/timer



’141 patent, Table 5. That is, the PT3-6 embodiment would fail the “validated by NSF/ANSI 53

(2007) standard” construction inserted into the definition of “lifetime” by the Markman Order,

but the scope of the claim must be broad enough to encompass that disclosed embodiment. See
                                                   24




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SynQor, 709 F.3d at 1378-79. Thus, Brita’s only evidence of the described methodology for

determining “lifetime,” the NSF/ANSI 53 (2007) protocol, does not adequately define the scope

of the limitation. Accordingly, the Commission finds that the ALJ’s reliance on the 2007 version

of the NSF/ANSI 53 protocol is insufficient to delineate the metes and bounds of the claim.

       Third, Brita’s argument that the NSF/ANSI 53 protocol referenced in the specification

overcomes indefiniteness is contrary to black letter law because the specification recites no

specific version of NSF/ANSI 53 protocol and that protocol is subject to change. While Brita

presented only the 2007 version of the NSF/ANSI 53 protocol to support its construction, the

’141 patent incorporates by reference the NSF/ANSI 53 protocol as a whole and does not

incorporate a specific version. ’141 patent at 26:22-29 (“FRAP performance testing may be

conducted according to the NSF/ANSI 53 protocol . . . which is herein incorporated by

reference.”); ID at 15. Thus, even if the 2007 version of the protocol is not relevant, one could

argue that the NSF/ANSI 53 protocol in general is clear enough to give meaning to the claim.

The problem, however, is that since the protocol changes over time, the scope of the claimed

“lifetime” will vary based upon the version of the NSF/ANSI 53 protocol that one relies upon.

No other version of the NSF/ANSI 53 protocol has been introduced into the record by Brita to

show a consistent methodology for determining “lifetime.” Yet, under Federal Circuit law, the

scope of a claim cannot evolve over time. Hill-Rom Servs., Inc. v. Stryker Corp., 755 F.3d 1367,

1385 (Fed. Cir. 2014) (“We have long recognized that, although the understanding of a claim

term can evolve over time, the literal scope of a patent claim cannot have different meanings at

different times.”); see “ANSI: NSF/ANSI 53-2021, Past Revisions of NSF 53,” available at

https://blog.ansi.org/nsf-ansi-53-2021-drinking-water-units-health-effect/#gref (last visited July

19, 2023)). This potential variation in methodology underscores why generally relying upon the



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NSF/ANSI 53 protocol to determine lifetime is problematic. The specification broadly defines

lifetime, consistent with the explicit claim language, in a manner that would encompass other

undisclosed protocols or even unsupported assertions made by a manufacturer or seller. ’141

patent at 26:6-8.

        Moreover, record evidence shows that the filter usage lifetime could also depend on what

contaminant is being filtered or the quality of the source water. See RXM-0019 [Knipmeyer

Rough] at 150-151, 261-265 (acknowledging that lifetime of the filter can change based on the

contaminant being filtered). Indeed, the lifetime of the filter could be claimed based on other

impurities being filtered such as, a certain number of gallons for arsenic, a certain number of

gallons for chromium, a certain number of gallons for lead, etc. See RX-0020 (Harrison Decl.) at

¶ 42-44. The evidence further shows that manufacturers often use a single lifetime claim that is

not related to the amount of lead that the filter can reduce but rather related to the “lowest

common denominator” contaminant that a filter is effective in reducing. Id. at ¶ 44. That is, if a

filter is certified for lead at 60 gallons but chlorine at 40 gallons, the reported lifetime is often

just “40 gallons,” which fails to indicate the lead reductive qualities of the filter as required by

the claim. The ’141 patent provides no guidance for one skilled in the art on how to measure the

“Lifetime” limitation.

        Brita further argues that “[s]ince consumers rely on lifetime numbers to determine the

value proposition of a given water filter it is logical that the asserted lifetime of filters must be

tested and validated so that they are not deceptive or misleading.” Brita Sub. at 7. Although this

attorney argument may ring true, it is unsupported by record evidence and has no bearing on how

the inventors described and claimed their invention in the intrinsic evidence of the patent.




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       In sum, Brita’s arguments and evidence fail to cabin the lifetime “claimed by a

manufacturer or seller” in a manner that can be understood by a skilled artisan with reasonable

certainty by reason of the pure subjectivity by which a manufacturer or seller can claim a filter

usage lifetime. The “L-filter usage lifetime claimed by a manufacturer or seller” could cover

lifetimes that are claimed on packaging and in advertising and those that are claimed in other

undisclosed places. The term could also cover claimed lifetimes that are calculated and

substantiated using testing as well as those that are claimed with no apparent objective basis. It

could include lifetimes that are verified using the 2007 version of the NSF/ANSI 53 protocol or a

different version of that standard or using another protocol altogether. Lifetimes claimed by

manufacturers and sellers could be untethered to any fact-based measure. Additionally, it could

encompass different lifetimes claimed by different manufacturers or sellers of the same product

and can be based on various contaminants not just lead. This undefined and variable scope does

not inform persons skilled in the art about the scope of the invention with any certainty. Nor can

the claims be saved by any of the intrinsic or extrinsic evidence on the record as discussed above.

Thus, the evidence shows that an ordinarily skilled artisan at the time of the invention could not

have ascertained the scope of the limitation “filter usage lifetime claimed by a manufacturer or

seller of the filter” with reasonable certainty. Accordingly, the Commission finds that the claims

1, 2-6 and 23 of the ’141 patent are invalid for indefiniteness.

       C.      Written Description

       The Commission determined to review the ID’s findings on written description. 88 Fed.

Reg. 42951 (July 5, 2023). On review, the Commission has determined to reverse the ID’s

findings. Independent of the Commission’s determination that the asserted claims are invalid as

indefinite based on the inability to ascertain with reasonable certainty the lifetime limitation, the



                                                 27




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Commission finds that claims 1, 2-6 and 23 of the ‘141 patent are invalid for lack of written

description as to any filter media other than carbon block filters that are within the scope of the

asserted claims and, as discussed below, for lack of enablement of the asserted claims relating to

non-carbon block filters.

               1.       Legal Standard

       The written description requirement of 35 U.S.C. § 112 states that:

       The specification shall contain a written description of the invention, and of the
       manner and process of making and using it, in such full, clear, concise, and exact
       terms as to enable any person skilled in the art to which it pertains, or with which
       it is most nearly connected, to make and use the same, and shall set forth the best
       mode contemplated by the inventor of carrying out his invention.

35 U.S.C. § 112 (Pre-AIA). A patent disclosure satisfies the written description requirement

when it “reasonably conveys to those skilled in the art that the inventor had possession of the

claimed subject matter as of the filing date.” Novartis Pharms. Corp. v. Accord Healthcare, Inc.,

38 F.4th 1013, 1016 (Fed. Cir. 2022) (quoting Ariad Pharm., Inc. v. Eli Lilly & Co., 598 F.3d

1336, 1351 (Fed. Cir. 2010) (citations omitted)). The written description analysis “requires an

objective inquiry into the four corners of the specification from the perspective of a person of

ordinary skill in the art” and “[b]ased on that inquiry, the specification must describe an

invention understandable to that skilled artisan and show that the inventor actually invented the

invention claimed.” Ariad, 598 F.3d at 1351. As explained in Ariad, the analysis varies

depending on context:

       [T]he level of detail required to satisfy the written description requirement varies
       depending on the nature and scope of the claims and on the complexity and
       predictability of the relevant technology. For generic claims, we have set forth a
       number of factors for evaluating the adequacy of the disclosure, including “the
       existing knowledge in the particular field, the extent and content of the prior art,
       the maturity of the science of technology, [and] the predictability of the aspect at
       issue.”

Id.
                                                 28




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        The purpose of the “written description” requirement is to “convey with reasonable

clarity to those skilled in the art that, as of the filing date sought, the inventor was in possession

of the invention.” Vas-Cath Inc. v. Mahurkar, 935 F.2d 1555, 1563 (Fed. Cir. 1991). “The

invention is, for purposes of the ‘written description’ inquiry, whatever is now claimed.” Vas-

Cath, 935 F.2d at 1563-64 (emphasis in original). Id. “The essence of the written description

requirement is that a patent applicant, as part of the bargain with the public, must describe his or

her invention so that the public will know what it is and that he or she has truly made the claimed

invention.” Nuvo Pharms. (Ireland) Designated Activity Co. v. Dr. Reddy’s Lab’ys Inc., 923

F.3d 1368, 1376-77 (Fed. Cir. 2019). The Federal Circuit has explained that “[t]he written

description requirement exists to ensure that inventors do not attempt to preempt the future

before it has arrived.” Billups-Rothenberg, Inc. v. Associated Reg’l & Univ. Pathologists, Inc.,

642 F.3d 1031, 1036 (Fed. Cir. 2011).

        A patent is presumed to have adequate written description. Novartis, 38 F.4th at 1019.

The presumption of validity must be overcome by clear and convincing evidence. Ariad, 598

F.3d at 1354-55. Compliance with the written description requirement is a question of fact. Id.

                 2.     The ID

        The ID noted Respondents’ argument that the written description requirement is not met

because the disclosure does not describe the full claim scope of filter media types that could fall

within the broadly recited “filter media.” ID at 173. 16 Specifically, Respondents argued that the

’141 patent fails to show that the inventors had possession of filter species other than carbon




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          The Commission takes no position on the ID’s discussion and findings on
Respondents’ second argument, i.e., whether there is adequate written description for the ranges
of values of the FRAP factor and its variables recited in the asserted claims.
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block filters. Id. The ID noted Brita’s counter argument that there is adequate disclosure in the

specification and originally filed claims to support the asserted claims. Id.

       The ID agreed with Brita, stating that “Respondents lacked credible support for any

dispute that explicit disclosures of the claims, or the invention claimed does not exist.” Id. at

174-75. The ID further found that the “findings of fact stem from Brita’s more accurate and

complete explanations of the explicit, detailed factual explanation for the written description of

the invention that is reflected in the specification, and on the more thorough and credible

explanations and opinions that Brita’s expert, Dr. Benny Freeman offered during the Hearing.”

Id. at 175-77. In contrast, the ID concluded with respect to Respondents’ expert that “Dr.

Hatch’s initial ‘opinion’ was both legally and factually erroneous” and “was not credible.” Id. at

182-84.

       Respondents argued to the ALJ that “the ’141 patent does not show that the inventors had

possession of a filter species other than the carbon block filters” and that “the ’141 patent is

directed to a genus of at least eight distinct types of filter media, but the specification only

possessed a limited number of carbon block water filters.” Id. at 187. In response, the ID

pointed to Brita’s argument “that the specification discloses numerous filters, accompanied by

examples of flow rate, volume, lifetime, effluent lead concentration, and FRAP factors that

embody the claimed invention.” Id. at 188. The ID noted that, “[a]s explained in Ariad, one way

to define species falling within a genus is by name” and that “[h]ere, the specification of the ’141

patent identifies by name the species such as mixed media, carbon blocks, nonwovens, hollow

fibers, membranes, nonwovens, depth media, nanoparticles and nanofibers, and ligands, in at

least two (2) locations: at column 25, lines 9-12, and column 26, lines 30-37. (JX-0022 at 25:9-

12, 26:30-37).” Id. at 189. The ID concluded that “a skilled artisan would be able to ‘visualize



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or recognize’ the members of the genus because the specification clearly identifies the species.”

Id.

       Regarding Respondents’ argument that “the only working examples in the ’141 patent

(see Tables 1 and 5 of the ’141 patent) are for carbon block filters,” the ID stated that “[i]n

rebuttal Brita argued correctly legally that the written description requirement does not require

working examples of each species.” Id. at 190 (citing Cordis Corp. v. Medtronic AVE, Inc., 339

F.3d 1352, 1365 (Fed. Cir. 2003)). The ID reasoned that “[i]n Cordis, a description of a

preferred embodiment of certain types of openings was sufficient written description of broadly

claimed openings” and that “the holding in Cordis supports a factual finding that while the ’141

patent describes a preferred embodiment of carbon block, the other broadly claimed filters,

identified below and in the ’141 patent, have adequate written description in the specification.”

Id. at 190-91 (citing Cordis, 339 F.3d at 1364-65; JX-0022 at 11:35-41 (describing carbon block

water filters), Table 5 (working examples of carbon block filters)).

       The ID noted that “Brita argued that carbon block filters are not different in form and

function than other filter media types because they function in the same manner across filter

media types” and that “the field had been so well-studied by the time of invention that a skilled

artisan would understand that filtration concepts were applicable across filter formats and

applications.” Id. at 196 (citing Tr. (Freeman) at 1513:16-1514:9; Tr. (Knipmeyer) at 174:4-13,

175:8-24 (describing similarities in chemical filtration and mechanical filtration for mixed media

and carbon block filter media, wherein they both have “chemical filtration where they can absorb

ion exchange and mechanical filtration or physical filtration. Really the difference is in the size

of the particle that is used. So granular media tends to be larger sizes. Carbon block tends to be

smaller sized particles”); CX-0143C.0072 (listing testing results mixed media filters with over



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10 ppm effluent lead concentration - the “current” Brita legacy, Maxtra and PUR filters); Tr.

(Knipmeyer) at 168:5-171:22 (explaining testing results shown on CX-0143C.0072)). According

to the ID, one of the inventors, “Dr. Knipmeyer explained that the activated carbon may have

different sizes in different filter media of carbon block compared to mixed media, but the filter

media both perform chemical and mechanical filtration” and that “Dr. Freeman testified that the

‘activated carbon and lead scavengers don’t know or care what filter format they’re in” but

“perform their function independent of how they’re organized and what their geometry is.” Id. at

197 (citing Tr. (Freeman) at 1513:24-1514:2, 1518:3-8).

       The ID concluded that “the weight of the evidence supports a finding of fact that the

existing knowledge in the field at the time of the invention that became the ’141 patent fails to

support Respondents’ argument that the various filter types are ‘entirely’ different in form and

function.” Id.

                 3.    Analysis

       The Commission finds that the ID erred in concluding that the asserted claims are not

invalid for lack of written description. The ’141 patent broadly claims any and all filtration

media types with activated carbon and a lead scavenger that meet the functional FRAP factor

limitation. See, e.g., ’141 patent claim 1, Resp. Pet. at 6. For instance, independent claim 1

recites: A gravity-fed water filter, comprising: “a filter media including at least activated carbon

and a lead scavenger, wherein the filter achieves a Filter Rate and Performance (FRAP) factor of

about 350 or less” according to a specific formula. While the claim is broadly directed to a filter

that has activated carbon and a lead scavenger, it covers any type of filter media that incorporates

those two things. The patent identifies several filter media types that could be used with

activated carbon and a lead scavenger, including mixed media, carbon blocks, nonwovens,

hollow fibers, membranes, depth media, nanoparticles and nanofibers, and ligands. ’141 patent
                                                 32




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at 25:9-12, 26:30-37. Yet, the patent discloses only a single filtration media species—carbon

block—that achieved the claimed FRAP factor of less than 350, specifically disclosing “a

gravity-fed carbon block water filter.” ’141 patent Abs., 1:15-18, 5:24-33, 6:11-23, 7:45-9:26;

Tr. (Freeman) at 1569:5-1571:12; Tr. (Hatch) at 1428:2-1430:21. Indeed, in the “field of the

invention” section, the patent states that “[t]he present invention relates to gravity flow filtration

systems, and more particularly, this invention relates to carbon block and granular filters having

rapid flow rates and excellent filtration performance.” ’141 patent 1:15-18. For the other types

of filter media, the patent provides no guidance or information about how or why these other

types of media achieve the requisite FRAP. ’141 patent, 26:63-67; Tr. (Freeman) at 1569:5-

1571:12; Tr. (Hatch) at 1428:2-1430:21. The breadth of the claim contrasted with the lack of

disclosure tends to indicate that the inventors were not, in fact, in possession of the invention

relating to the other types of filter media, besides carbon block, as of the filing date.

       Brita concedes that “[t]here is no dispute that the inventors’ reductions to practice were

all carbon block filters.” Brita Rep. at 15. Brita, however, argues that “the law has never

required an actual reduction to practice to demonstrate possession, much less an actual reduction

to practice of all embodiments of the claims.” Id. (citing Ariad, 598 F.3d at 1352) (emphasis by

Brita). The ID too pointed to Brita’s argument “that the specification discloses numerous filters,

accompanied by examples of flow rate, volume, lifetime, effluent lead concentration, and FRAP

factors that embody the claimed invention” and that “[a]s explained in Ariad, one way to define

species falling within a genus is by name.” Id. at 188. The ID stated that “[h]ere, the

specification of the ’141 patent identifies by name the species such as mixed media, carbon

blocks, nonwovens, hollow fibers, membranes, nonwovens, depth media, nanoparticles and

nanofibers, and ligands, in at least two (2) locations: at column 25, lines 9-12, and column 26,



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lines 30-37 (JX-0022 at 25:9-12, 26:30-37).” Id. at 189. The ID concluded that “a skilled artisan

would be able to ‘visualize or recognize’ the members of the genus because the specification

clearly identifies the species.” Id.

       The Commission finds that there is clear and convincing evidence that the written

description requirement is not met. The specification discloses that “[t]he formulation of gravity

fed carbon blocks disclosed are unique in there [sic] ability to meet the required FRAP factor”

and only provides examples of “gravity flow carbon blocks that have a FRAP factor of less than

350.” ’141 patent, 26:63-67. By their own admission in the patent, the inventors were only in

possession of a filter that uses carbon blocks, not other types of filter media.

       Similarly, the patent disclosure does not describe how any other types of filter media

(other than carbon blocks) can achieve the claimed FRAP factor and specifically states that no

other filter media types that were tested or known to exist in the market could achieve the

claimed FRAP factor:

       Several gravity fed carbon blocks and mixed media filters have been tested for
       flow rate and lead reduction capability against the defined lead challenge water.
       Filters tested include several formulations of carbon blocks along with
       commercially available mixed media filters produced by BRITA® and PUR®.
       Based on the results from testing, the FRAP factors were calculated for each filter
       and reported below. No mixed media filters tested met the claimed FRAP factor
       range due to their inability to remove particulate lead. The formulations of
       gravity fed carbon blocks disclosed are unique in [their] ability to meet the
       required FRAP factor. The “Examples” below include many examples of gravity
       flow carbon blocks that have a FRAP factor of less than 350. It is not believed
       that any currently-marketed gravity-flow filters have a FRAP factor of less than
       350.

’141 patent at 26:55–27:2, Table 5 (emphasis added). Based upon this disclosure, one of

ordinary skill at the time of the invention would not have understood that the inventors were in

possession of other types of media filters (other than carbon block filters) that achieve a FRAP

factor below 350.

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       Brita and the ID appear to suggest that the claims’ recitation of “activated carbon” and a

“lead scavenger” sufficiently provides commonality among all filter media types and that

“activated carbon and lead scavengers don’t know or care what filter format they’re in” and will

“perform [predictably] their function independent of how they’re organized and what their

geometry is.” Resp. Sub. at 15-16 (citing Tr. (Freeman) at 1513:24–1514:2); ID at 175-79.

While activated carbon and lead scavengers may perform as predicted when applied to water to

remove lead and other impurities from it, that is not the point. The point is the ability to filter

water with activated carbon, a lead scavenger, and a filter media that together achieve the

specific FRAP factor disclosed and claimed in the patent. Yet, the specification does not

describe how that combination can be used to achieve the required FRAP factor with a filter

media other than carbon block so as to support the conclusion that the inventors were in

possession of such invention using filter media other than carbon block. And, as Respondents

note, “[n]othing suggests that the mere inclusion of activated carbon and a lead scavenger will,

on its own, sufficiently reduce lead to levels such that the filter will necessarily achieve FRAP

below 350.” Resp. Sub. at 16. 17 Put differently, nothing in the patent disclosure would lead one

of ordinary skill in the art to understand how the claimed FRAP could be achieved with filter

media other than carbon blocks based solely on the predictability of activated carbon and lead

scavengers as Brita and the ID appear to suggest.

       Indeed, the clear and convincing evidence, including the patent disclosure itself and the

inventors’ testimonies, is to the contrary. As Respondents correctly point out, the patent

“disclosure focuses the inventors’ purported advancement to carbon block specific filters that



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         As discussed below with regard to enablement (specifically Wands Factor 7), the
evidence of record shows that the art is unpredictable with regard to achieving a FRAP factor
below 350. See, infra, at 56.
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have the performance capability to meet the functional FRAP limitation.” Resp. Pet. at 8 (citing

’141 patent Abs., 1:15-18, 5:24-33, 6:11-23, 7:45-9:26); Tr. (Freeman) at 1569:5-1571:12; Tr.

(Hatch) at 1428:2-1430:21). The testimony of the inventors confirms that the invention

disclosed in the specification is limited to carbon block filters. Specifically, the inventors

themselves testified that they did not actually invent any non-carbon block filters that would

meet the FRAP factor limitation. Resp. Pet. at 17-18 (citing Tr. (Knipmeyer) at 202:9-17

(invention utilized only carbon block); 203:5-9 (did not invent membrane filter); 203:10-14 (did

not invent nonwoven filter); 203:15-19 (did not invent depth media filters); 203:20-24 (did not

invent nanoparticle filter); 203:25-204:2 (did not invent nanofiber filter); 204:3-8 (did not invent

granular media filter); 204:9-12 (did not invent or disclose granular activated carbon with ion

exchange resin meeting FRAP limitation); RX-2607C Brita (Knipmeyer) 64:6-10 (“Q And – and

as part of inventing this patented technology, did you invent any activated carbon and ion

exchange resin filter that would have met this FRAP limitation? A Not at that time, no.”); RX-

2607C Brita (Knipmeyer) Dep. at 52:7-15 (“Q. What – what’s the delta? What’s the magic

formula? . . . A. -- we changed technology from a granular media to a carbon block. Q. Did the

current granular media solutions at the time, were they able to solve this problem? A. Not that

I’m aware of.); RX-2607C at 327:15-328:6; RX-2601C (Reid) Dep. at 42:4-10; RX-2602C

Omnipure (Saaski) Dep. at 114:17-116:2; RX-2602C Omnipure (Saaski) Dep. at 115:9-116:2.

       Against this undisputed evidence, the Commission disagrees that “a skilled artisan would

be able to ‘visualize or recognize’ the members of the genus because the specification clearly

identifies the species.” See ID at 189. As the Federal Circuit has explained, “[t]he written

description requirement exists to ensure that inventors do not attempt to preempt the future

before it has arrived.” Billups-Rothenberg, 642 F.3d at 1036. We agree with Respondents that



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“the disclosure of the ’141 patent is not commensurate with this immensely broad scope” and

that “[i]n concluding that the ’141 patent properly demonstrates possession to the entire scope of

Brita’s claimed genus ‘invention,’ the ID permits Brita’s claims to ‘overreach the scope of the

inventor’s contribution to the field of art as described in the patent specification,’ and undermine

‘the quid pro quo of the patent grant.’” Resp. Pet. at 8 (citing Ariad, 598 F.3d at 1354-55).

       Nor is it sufficient to simply recite in the specification the names of filter types to satisfy

the written description requirement as the ID did here. ID at 189. The patent states that “[t]he

nature of the filter meeting the following performance criteria is independent of the exact

embodiment of the filter and thus applicable to mixed-media, carbon blocks, non wovens, hollow

fibers and other filtration formats.” It also states that “[t]he FRAP factor criteria set forth herein

is applicable to all embodiments of pour through filters including but not limited to mixed media

(carbon and ion exchange resin), carbon blocks with any type and size of carbon and binder

material with and without lead sorbent” and that “[o]ther embodiments of the present invention

include alternate filtration techniques such as membranes, nonwovens, depth media,

nanoparticles and nanofibers, ligands, etc.” ’141 patent at 25:9-12, 26:30-37. These two

statements enumerating other filter types, however, provide no guidance on how to achieve the

claimed FRAP using filter media other than carbon blocks. See Idenix Pharms. LLC v. Gilead

Scis. Inc., 941 F.3d 1149, 1164 (Fed. Cir. 2019) (holding that the mere listing or examples of

supposedly effective species fails to satisfy written description where the specification does “not

explain what makes them effective, or why” and “depriv[ing] [an ordinarily skilled artisan] of

any meaningful guidance into what compounds beyond the examples and formulas, if any, would

provide the same result”). Further, use of the term “etc.,” ’141 patent at 26:37, indicates a genus

broader than that which is specifically enumerated.



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        The ID’s findings are based in part on its credibility determinations. However, the

findings relied upon by the ID in this investigation, including Complainants’ expert testimony,

cannot overcome the express disclosures in the patent and the undisputed record evidence that

clearly and convincingly show that the invention provides adequate written description support

only for what the inventors actually invented: carbon block filters that meet the FRAP factor

limitation, and not for the full breadth of the claims that, as written, cover any filter media that

can achieve the FRAP factor limitation. Nuvo Pharms. (Ireland) Designated Activity Co. v. Dr.

Reddy’s Lab’ys Inc., 923 F.3d 1368, 1381 (Fed. Cir. 2019) (finding claim indefinite where

specification “does not demonstrate that the inventor possessed more than a mere wish or hope

that uncoated PPI would work, and thus it does not demonstrate that he actually invented what he

claimed: an amount of uncoated PPI that is effective to raise the gastric pH to at least 3.5”); see

also id. (“Although inventor testimony cannot establish written description support where none

exists in the four corners of the specification, it illuminates the absence of critical description in

this case.”).

        In sum, the ID’s finding that the patent disclosure provides adequate written support for

non-carbon block filter media is not supported by the undisputed record evidence. Thus, the

Commission has determined to reverse the ID on that issue and find the asserted claims invalid

for lack of written description under 35 U.S.C § 112.

        D.      Enablement

        The Commission determined to review the ID’s findings on enablement. 88 Fed. Reg.

42951-52 (July 5, 2023). On review, the Commission has determined to reverse the ID’s

findings. The Commission finds that Respondents have established by clear and convincing




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evidence that the full scope and types of filter media of claims 1, 2-6 and 23 of the ’141 patent

are not enabled.

               1.      Legal Standard

       The enablement requirement of 35 U.S.C. § 112 states that:

       The specification shall contain a written description of the invention, and of the
       manner and process of making and using it, in such full, clear, concise, and exact
       terms as to enable any person skilled in the art to which it pertains . . . to make
       and use the same.

35 U.S.C. § 112 (Pre-AIA). The Supreme Court has explained that “[i]f a patent claims an entire

class of processes, machines, manufactures, or compositions of matter, the patent’s specification

must enable a person skilled in the art to make and use the entire class” and that “the

specification must enable the full scope of the invention as defined by its claims.” Amgen Inc. v.

Sanofi, 143 S. Ct. 1243, 1254 (2023). The standard for enablement is whether a person skilled in

the art can “make and use” the invention “without undue experimentation.” In re Wands, 858

F.2d 731, 736-37 (Fed. Cir. 1988) (finding enablement where the disclosure provided

considerable direction and guidance, working examples, in combination with a high level of skill

and that methods to practice the invention were well-known). “The ‘undue experimentation’

proscription is, in effect, a gloss on the statute which has arisen from decisional law which

requires that sufficient information be given in the application so that one of ordinary skill in the

art can practice it without the necessity for undue experimentation.” Fields v. Conover, 443 F.2d

1386 (CCPA 1971). “Sufficiently routine” experimentation that would be reasonable for a

skilled artisan to carry out does not preclude a finding of enablement. Amgen Inc. v. Sanofi,

Aventisub LLC, 987 F.3d 1080, 1085 (Fed. Cir. 2021). However, a finding of “undue”

experimentation to make and use the invention leads to lack of enablement. Id. Factual

considerations, now known as the Wands factors, guide the inquiry as to whether a person skilled


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in the art would require “undue” experimentation to make and use the invention. Id. at 1084.

“Whether undue experimentation is needed is not a single, simple factual determination, but

rather is a conclusion reached by weighing many factual considerations.” Wands, 858 F.2d at

737. The Wands factors are:

       (1) the quantity of experimentation necessary,
       (2) the amount of direction or guidance presented,
       (3) the presence or absence of working examples,
       (4) the nature of the invention,
       (5) the state of the prior art,
       (6) the relative skill of those in the art,
       (7) the predictability or unpredictability of the art, and
       (8) the breadth of the claims.

Id.

       The Wands factors “are illustrative, not mandatory,” and there is no requirement to

consider all of the factors. McRO, Inc. v. Bandai Namco Games Am. Inc., 959 F.3d 1091, 1100

(Fed. Cir. 2020) (“McRO II”). A Wands analysis considers “how much experimentation a skilled

artisan would have to undertake to make and use those products or processes.” Id. A lack of

enablement requires “identif[ying] specifics that are or may be within the claim but are not

enabled.” Id. at 1104. Under Federal Circuit precedent, the specification need not “describe

how to make and use every possible variant of the claimed invention.” Amgen, 987 F.3d at

1084-85 (quoting McRO II, 959 F.3d at 1100). However, as the Supreme Court explained, “in

allowing that much tolerance, courts cannot detract from the basic statutory requirement that a

patent’s specification describe the invention ‘in such full, clear, concise, and exact terms as to

enable any person skilled in the art’ to ‘make and use’ the invention. Amgen, 143 S. Ct. at 1255.

As the Court put it, “[t]he more one claims, the more one must enable.” Id.

       “Enablement is determined from the viewpoint of persons of skill in the field of the

invention at the time the patent application was filed.” Ajinomoto Co., Inc. v. Archer-Daniels-

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Midland Co., 228 F.3d 1338, 1345 (Fed. Cir. 2000). Enablement, unlike written description, is a

question of law. Ariad, 595 F.3d at 1351.

                2.     The ID

       The ID found that “an analysis of the relevant Wands factors and the evidence the Parties

offered fails to support a finding of fact or law that undue experimentation is required to reach

the full scope of the FRAP factor, its variables, and filter media types in the asserted claims.” ID

at 209. Thus, the ID concluded that “Respondents have failed to prove by clear and convincing

evidence that the claims, including the full scope of the FRAP factors and types of filter media,

are not enabled.” 18 Id.

Wands Factor 1 – Quantity of Experimentation

       The ID found that “Respondents broadly addressed Wands factors 1 and 8, but ultimately

the opinion of their expert, Dr. Hatch, on Wands factor 1 was conclusory.” Id. (citing Tr.

(Hatch) at 1432:13-1435:5 (FRAP factor values); 1438:14-1439:13 (filter media embodiments)).

The ID stated that “[e]xperimentation may be ‘considerable,’ yet not rise to experimentation

consistent with non-enablement, so long as it is ‘merely routine’ or the specification ‘provides a

reasonable amount of guidance.’” ID at 209-210 (citing Wyeth & Cordis Corp. v. Abbott Labs.,

720 F.3d 1380, 1386 (Fed. Cir. 2013); Cephalon, Inc. v. Watson Pharms., Inc., 707 F.3d 1330,

1338 (Fed. Cir. 2013) (“Extensive experimentation does not necessarily render the experiments

unduly extensive where the experiments involve repetition of known or commonly used

techniques.”)). Regarding the “broad functional ranges of the asserted claims,” the ID noted that

“Respondents did not directly brief the quantity of experimentation that a person of skill might



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           The Commission takes no position on the ID’s discussion and findings regarding
Respondents’ argument that the “broad functional ranges of the asserted claims are not enabled,”
id. at 208.
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require, Wands factor 1, in its Pre-Hearing Brief or Post-Hearing briefing” but rather “argued

that there was undue experimentation based on Wands factors 2-6 and 8.” Id. at 210 (citing (Tr.

(Hatch) at 1432:13-1435:5 (FRAP factor values), 1438:14-1439:13 (filter media embodiments)).

The ID stated that “[b]ecause there is no substantiation for Dr. Hatch’s testimony and

Respondents’ argument, Respondents have abandoned, withdrawn and/or waived any argument

on this issue under Ground Rules 7.2 and 10.1.” Id. at 211. The ID added that “[a]t best, Dr.

Hatch’s testimony was conclusory; it was given little weight or credibility.” Id.

       As to whether “there would be undue experimentation to make and use filters other than

carbon block,” the ID found that Respondents’ expert, “Dr. Hatch did not provide explicitly

supported evidence with his opinion on either the quantity of experimentation necessary to have

arrived at carbon block filters or any of the filter media that the ’141 patent discloses” and failed

to “explain what undue experimentation is.” Id. at 213 (citing Tr. (Hatch) at 1439:9-1440:21).

The ID found that “[i]n contrast, Dr. Freeman provided testimony about the level of

experimentation needed to translate the teachings of a carbon block filter to, for example, a

nonwoven filter” and testified that “a person of skill would know: (a) the filter volume; (b) lead

scavenger component; (c) activated carbon component; (d) ‘how closely compressed the

activated carbon and lead scavenger had been with their -- with the binder,’ and together those

‘would give an idea of the pore size that was available for filtration.’” Id. at 213 (citing (Tr.

(Freeman) at 1521:8-12-1522:1) (pointing to Dr. Freeman’s testimony that “because the

components and raw materials that go into the filter are going to perform their function in any

filter media that they’re put into” that “after some experimentation, but not undue

experimentation,” comparable performance would be achieved”) (emphasis in ID).




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       The ID found that “Respondents had the burden of proof to show that the quantity of

experimentation favors a finding of undue experimentation” but that “Brita had the better

supported argument, and credible opinion, through Dr. Freeman’s testimony.” Id. at 216.

Wands Factor 2 – The Amount of Direction or Guidance Presented

       The ID noted Respondents’ argument that “the ’141 patent discloses only one type of

working example, carbon block filters” and that “Respondents indirectly suggested that the

working examples of carbon block in the ’141 patent are not a source of guidance for the

remaining filter blocks or full range of FRAP factor values.” Id. at 216-17. The ID found that

“Dr. Freeman testified that there is guidance or direction in the ’141 patent to make filter media

other than carbon media.” Id. at 223-24. The ID stated that “Dr. Freeman testified that

‘additional guidance throughout the specification [that] provides information to a person of skill

in the art about how to -- how to extend and expand on the working examples to other media and

to other examples with different characteristics and different materials.’” Id. (citing Tr.

(Freeman) at 1520:22-1521:4 (emphasis by ID); JX-0022 at 13:30-34 (describing carbon block

and granular filters), 26:30-37 (describing filter media embodiments of mixed media, carbon

block, membranes, nonwovens, depth media, nanoparticles and nanofibers, ligands)).

       According to the ID, “Dr. Freeman explained that the working examples provide

guidance, based on a skilled artisan’s understanding of pore size and components of the filter, to

make and use filters with other filter media.” Id. (citing Tr. (Freeman) at 1521:13-18, 1522:21-

24). The ID found that “Dr. Freeman provided some reasoning, that the working examples of

carbon block are guidance to make and use filters comprising other filter media.” Id. at 224.

The ID stated that “[g]iven that the testimonies are conflicting, and given that Respondents had




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the burden of proof, when Dr. Freeman’s explicit reference to and discussion of Figures 21-23 is

examined, Brita and its expert have the better supported argument.” Id.

Wands Factor 3 – Working Examples

       The ID noted Respondents’ argument “that there were no working examples of ‘granular

carbon filters, pleated paper filters or alternate filtration techniques such as membranes,

nonwovens, depth media, nanoparticles and nanofibers, ligands, etc.’ to achieve the claimed

FRAP factors in the ’141 patent.” Id. at 225. The ID noted Brita’s argument that “a skilled

artisan could take the carbon block working examples, in light of knowledge in a well-known

field, to construct and configure filters with alternative filter media” and that “Dr. Hatch did not

disagree that these filters, filter media or configurations to obtain certain desired benefits are

well-known.” Id. (citing Tr. (Hatch) 1461:16-23 (admitting gravity-fed filters are well-known),

1465:7-1466:12) (describing well-known gravity-fed water filters of nonwovens, depth media,

nanofibers, ligands, zeolites), 1466:13-17, 1467:6-9 (configuring different filter media by a

skilled artisan)). The ID found that “Dr. Freeman admitted that there are no working examples

of filter media other than carbon block” but that “Dr. Freeman testified that a ‘routine’ effort

would extend the teaching of the ’141 patent to other filter media types.” Id. at 227 (citing (Tr.

(Freeman) at 1561:16-19 (“My opinion is that the ’141 patent disclosed carbon blocks in the

working -- in the working examples, and then in the specification it also discloses other filter

media”); Tr. (Freeman) at 1562:4-17).

       The ID found that “Brita was unable to rebut that the ’141 patent has no working

examples for filter media other than carbon block” but that “this is not a case where the

specification provides no enabling disclosure.” Id. at 228 (citing Genentech, Inc. v. Novo

Nordisk A/S, 108 F.3d 1361, 1366 (Fed. Cir. 1997)). The ID stated that “[t]he evidence shows



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that there is a presence of working examples for carbon block and granular carbon in the ’141

patent, but [an] absence of working examples for filter media other than carbon block” and that

“Respondents had the better supported argument.” Id. at 228-229. The ID stated that “Wands

factor 3 favors a finding of fact and law that there would be undue experimentation to make the

claimed invention.” Id. at 229.

Wands Factor 4 – The Nature of the Invention

       The ID found that “Dr. Hatch testified that carbon block filters were ‘the only nature of

the invention that’s shown’ in the ’141 patent” and that “Dr. Freeman testified that ‘the nature of

the invention is gravity-fed water filters, and we’ve heard several times today that this is a well-

known field and has been known for many decades if not longer.’” Id. at 229 (citing Tr. (Hatch)

1438:20-23; Tr. (Freeman) at 1519:21-24). The ID stated that “[i]t is a factual finding that the

nature of the invention is gravity-fed water filters including, according to one embodiment,

carbon block filter media” and that “[t]he evidence does not clearly show that the nature of the

invention either supports or does not support a finding of undue experimentation.” Id.

According to the ID, “[g]iven that Respondents had the burden of proof, Wands factor 4 does not

support a finding of undue experimentation.” Id.

Wands Factor 5 – The State of the Prior Art

       The ID observed that “Respondents argued Wands factors 5 and 6 together,” contending

that “the state of the prior art and relative skill of those in the art supports undue experimentation

to reach the full scope of the claimed invention.” Id. at 230. The ID found that “the evidence

supports a finding that the state of the art was advanced, which does not favor a finding under

Wands factor 5 that there would be undue experimentation to make the claimed invention.” Id.




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at 235 (citing Tr. (Freeman) at 1586:13-1589:10; Tr. (Hatch) at 1461:14-1462:21, 1464:20-

1465:5, 1465:18-1468:15).

Wands Factor 6 – The Relative Skill of Those in the Art

       The ID found that “Respondents failed to provide substantiated arguments about the skill

of those in the art” and that “Dr. Hatch did not offer an opinion on this individual Wands factor.”

Id. at 236. The ID, however, found that Dr. Hatch “acknowledged that a person of skill in the art

would know how to calculate the FRAP factor variables of volume V, average filtration unit time

f, effluent lead concentration ce, and lifetime L if properly defined.” Id. (citing Tr. (Hatch) at

1434:18-1435:20).

Wands Factor 7 – The Predictability of the Art

       The ID stated that “Respondents failed to argue about predictability in their Pre-Hearing

Brief” and has therefore “abandoned, waived or withdrawn any argument on this issue under

Ground Rule 7.2.” Id. at 236-37.

Wands Factor 8 – The Breadth of the Claims

       The ID noted Respondents’ argument that “the broad range of filter types is not enabled

because the specification only discloses carbon block filters, disparages mixed media filters,

would use trial and error, and requires gap-filling at the novel point of invention.” Id. at 237.

Respondents also argued that “the ’141 patent claims functional ranges of FRAP factor values,

volume and average filtration unit time values that are broad and unbound are not enabled.” Id.

The ID also noted Brita’s response that “a specification need not explain every detail, and

typically omits what is well-known.” Id. The ID stated that “[u]nlike Amgen [987 F.3d 1080,

1085 (Fed. Cir. 2021)], the asserted claims do not claim a function but rather, claim a

mathematical formula, inter-related variables, and provide a performance result of a particular



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FRAP factor value” and that “[t]he FRAP factor itself embodies structure.” Id. at 241. The ID

surmised that thus “here, the bar for enablement is not as high as in Amgen because the FRAP

factor is not pure functional claiming.” Id. The ID noted that “Dr. Hatch opined that a person of

ordinary skill in the art would not know how to achieve the very low end of FRAP values, i.e., a

FRAP factor below 6.7.” Id. (citing Tr. (Hatch) at 1431:1-14). The ID noted that “Dr. Freeman

disagreed and opined that a person of skill would know how activated carbon and lead scavenger

influence the variables of the FRAP factor to meet the performance required in the asserted

claims.” Id. (citing Tr. (Freeman) at 1524:16-1525:1).

       Respondents also argued that while there are numerous possible filter species and

structure that could meet the structural limitations of the ’141 patent, “the inventors had exactly

one species of filter (carbon block), one size and kind of activated carbon, and two lead

scavengers: a grand total of two working examples P-A and P-T.” ID at 247 (citing JX-0022 at

Tables 1, 5). The ID stated that “[i]t is not disputed that the ’141 patent discloses various filter

media embodiments, various activated carbon, and lead scavengers” and that “[t]hese are all in

the prior art.” Id. The ID pointed to Dr. Freeman’s testimony that “while the activated carbon

and lead scavenger may take different forms, they are all expected to behave in the same manner

in the filter media.” Id. The ID found that while “[t]he claims are broad in that the filter media

is not limited to carbon block in the asserted claims,” “it is not clear that this supports a finding

of undue experimentation given the state of the art and the remaining Wands factors.” Id. at 248.

       The ID noted that “Respondents argued that Dr. Knipmeyer acknowledged that creating

non-carbon block embodiments would involve creating new technology.” Id. at 249 (citing

RSBr. at 46 (citing (Tr. (Knipmeyer) at 327:15-328:6 (“I imagine that you could develop new

technology that would -- that would meet that requirement” of the ’141 patent.))). The ID



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pointed to Centrak, and stated that there, “an inventor’s admission of not having working

examples of all embodiments was not fatal to meeting the written description requirement

because the nature and context of the invention was also considered.” Id. The ID found that

“[h]ere, the remaining Wands factors, including that the state of the prior art recognizes that filter

media other than carbon block were well-known, on balance, support enablement.” Id.

               3.      Analysis

       As with written description, the Commission finds that Respondents have shown by clear

and convincing evidence that the asserted claims are invalid because they are not enabled. At the

outset, we note that the Supreme Court’s Amgen opinion neither affirmatively required nor

disparaged a Wands analysis. In our view, a Wands analysis remains useful in determining

whether a claimed invention meets the enablement requirement and we have considered each of

the Wands factors.

Wands Factor 1 - Quantity of Experimentation

       We disagree with the ID’s findings as to Wands factor 1. Specifically, the Commission

finds unpersuasive the ID’s conclusion that there would not be undue experimentation to make

and use filters other than carbon blocks. The ID largely relied on experts to find that the claims

were enabled. ID at 213 (citing (Tr. (Freeman) at 1521:8-12-1522:1). However, there is no

dispute that the patent disclosure itself provides no teaching on how any filter other than carbon

blocks can achieve the required FRAP. Indeed, the patent specification states that the inventors

tested “mixed media filters containing granular carbon [i.e., activated carbon] and ion exchange

resin [i.e., a lead scavenger]” with other types of filter media, however, “[a]ll mixed media filters

tested fail to adequately reduce total lead concentrations by 50% (75 liters) of filter life.” ’141

patent at 31:9–10; 31:54–55; ’141 patent at 26:63-67; Tr. (Freeman) at 1569:5-1571:12; Tr.

(Hatch) at 1428:2-1430:21. Despite these failures, the patent specification does not provide a
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road map for how mixed media materials, or any type of filter other than carbon blocks, can

achieve the required FRAP. Further to this point, as noted above, the inventors readily admit

that they did not invent any filter with a material type other than carbon block in connection with

the ’141 patent. See Tr. (Knipmeyer) at 202:9-17 (invention utilized only carbon block); 203:5-9

(did not invent membrane filter); 203:10-14 (did not invent nonwoven filter); 203:15-19 (did not

invent depth media filters); 203:20-24 (did not invent nanoparticle filter); 203:25-204:2 (did not

invent nanofiber filter); 204:3-8 (did not invent granular media filter); 204:9-12 (did not invent

or disclose granular activated carbon and ion exchange resin combination meeting FRAP

limitation); 204:13-17 (no disclosure in the ’141 patent of any filters other than carbon block).

        As Respondents correctly observe, “[t]he only general quality common to every filter

disclosed in the ’141 Patent capable of achieving FRAP of less than 350 is carbon block, which

is a completely different type of filter than any other type referenced in passing in the ’141

Patent.” Resp. Sub at 16. The patent specification discloses that carbon block filters are made

from powdered activated carbon that must be bonded with a binder and then formed into “an

integrated, porous, composite, carbon block.” Id. (citing ’141 patent at 13:22-24; 9:44-10:40

(disclosing types of binders that can be used)). The patent discloses other media filters that use

granular activated carbon (i.e., loose granules held in a compartment with no binder) with an ion

exchange resin, but none of these were shown to meet the required FRAP. ’141 patent at 3:25-

4:24.

        The ID suggested that figures 21-23 provide guidance on how to achieve the required

FRAP without undue experimentation. ID at 224. Figures 21-23 are graphical representations of

filter FRAP factors as a function of filtration unit time and Volume, lead reduction, and filter

lifetime, respectively. JX-0022 at 26:38-40. The patent, after describing figures 21-23,



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specifically states that “[s]everal gravity fed carbon blocks and mixed media filters have been

tested for flow rate and lead reduction capability against the defined lead challenge water.” Id. at

26:55-57. The patent specification then explains that the “[f]ilters tested include several

formulations of carbon blocks along with commercially available mixed media filters produced

by BRITA and PUR.” Id. at 26:57-60. Based on the results from testing, “[n]o mixed media

filters tested met the claimed FRAP factor range due to their inability to remove particulate

lead.” Id. at 26:61-63. Only the carbon block formulations met the claimed FRAP. The patent

specification makes clear that “[t]he formulations of gravity fed carbon blocks disclosed are

unique in [their] ability to meet the required FRAP factor.” Id. at 26:63-65 (emphasis added).

The patent then goes on to provide “many examples of gravity flow carbon blocks that have a

FRAP factor of less than 350” and states that “it is not believed that any currently-marketed

gravity-flow filters have a FRAP factor of less than 350.” Id. at 26:67-27:2 (emphasis added).

There is nothing in this disclosure that would guide a skilled artisan to develop a non-carbon

block filter that achieves the required FRAP. Indeed, given the failed efforts of the inventors to

create a non-carbon block filter as discussed above, this disclosure in the patent itself would

discourage an ordinarily skilled artisan from pursuing the use of non-carbon block filters. The

ID’s finding is therefore contradicted by the patent disclosure itself.

Wands Factor 2 – The Amount of Direction or Guidance Presented

       Regarding Wands factor 2, the ID found that “Dr. Freeman testified that there is guidance

or direction in the ’141 patent to make filter media other than carbon media.” ID at 223-24. The

Commission disagrees. The only “guidance” provided in the patent is the unremarkable listing

of the names of several types of non-carbon block filter media. ’141 patent at 26:30-37 (listing

filter media embodiments of mixed media, carbon block, membranes, nonwovens, depth media,



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nanoparticles and nanofibers, ligands). There is, however, no dispute that the patent does not

teach how any of these media can achieve the claimed FRAP factor. Tr. (Freeman) at 1569:5-

1571:12; Tr. (Hatch) at 1428:2-1430:21.

       Moreover, as Respondents assert, “[e]ven Dr. Knipmeyer [one of the inventors of the 141

patent] admits that creating non-carbon block embodiments would involve creating ‘new

technology, which speaks to the abject lack of enablement of the breadth of the claims.” Resp.

Rep. at 37 (citing RX-2607C Brita (Knipmeyer) Dep. at 327:15-328:6). Brita’s response to this

is that “Dr. Knipmeyer was simply explaining that she herself had not created the other filter

types.” Brita Rep. at 34 (citing ID at 249). But this proves the point that the patent does not

provide guidance as to how other filter media can achieve the claimed FRAP; nor could it given

the inventors indisputably had not attained any other filter material that achieved the claimed

FRAP. Rather, all of their attempts were unsuccessful. In sum, we agree with Respondents that

there is nothing in the ’141 patent that would guide a person of ordinary skill in the art to make a

non-carbon block filter capable of the FRAP performance capabilities of the claimed invention.

See Resp. Rep. at 37.

Wands Factor 3 – Working Examples

       Regarding Wands factor 3, because the ’141 patent describes no working examples of the

disclosed “granular carbon filters, pleated paper filters or alternate filtration techniques such as

membranes, nonwovens, depth media, nanoparticles and nanofibers, ligands, etc.” to achieve the

claimed FRAP, the Commission agrees with the ID that “Wands factor 3 favors a finding of fact

and law that there would be undue experimentation to make the claimed invention.” ID at 229.




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Wands Factor 4 – The Nature of the Invention

       As to Wands factor 4, despite the invention being directed broadly to gravity-fed water

filters that can achieve FRAP of less than 350, carbon block filters are the only filter media the

patent explains can achieve the claimed FRAP. The ID stated that “[i]t is a factual finding that

the nature of the invention is gravity-fed water filters including, according to one embodiment,

carbon block filter media” and that “[t]he evidence does not clearly show that the nature of the

invention either supports or does not support a finding of undue experimentation.” ID at 229.

The ID then concluded that “[g]iven that Respondents had the burden of proof, Wands factor 4

does not support a finding of undue experimentation.” Id.

       The Commission finds that the nature of the invention is not gravity-fed water filters

generally, but gravity-fed water filters that achieve the claimed FRAP with any type of filter

media, and given that the patent discloses only carbon blocks to have achieved this FRAP,

Wands factor 4 supports a finding of non-enablement. See In re Colianni, 561 F.2d 220 (CCPA

1977) (“The application of ‘sufficient’ ultrasonic energy is essential to appellant’s claimed

method, yet his specification does not disclose what a ‘sufficient’ dosage of ultrasonic energy

might be or how those skilled in the art might make the appropriate selection of frequency,

intensity, and duration.” *** “The degree of disclosure and the nature of the art in this case are

generally parallel to those in In re Gardner, 427 F.2d 786 (CCPA 1970), in which we found the

specification not to comply with 35 USC 112, first paragraph.”)

Wands Factor 5 – The State of the Prior Art

       As to Wands factor 5, the ID found that “the evidence supports a finding that the state of

the art was advanced, which does not favor a finding under Wands factor 5 that there would be

undue experimentation to make the claimed invention.” ID at 235. However, as discussed



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above, the Commission finds that there is no evidence that this alleged advanced state of the

prior art shows that a skilled artisan could have used other filter media to achieve the claimed

invention without undue experimentation, especially when the evidence shows that the inventors

themselves did not, and could not have done so without creating new technology.

Wands Factor 6 – The Relative Skill of Those in the Art

       Regarding Wands factor 6, the ID found that “Respondents failed to provide substantiated

arguments about the skill of those in the art” and that “Dr. Hatch did not offer an opinion on this

individual Wands factor.” Id. at 236. The ID, however, found that Dr. Hatch “acknowledged

that a person of skill in the art would know how to calculate the FRAP factor variables of volume

V, average filtration unit time f, effluent lead concentration ce, and lifetime L if properly

defined.” Id. (citing Tr. (Hatch) at 1434:18-1435:20). The Commission finds that the record

evidence, however, shows that while the individual variables, such as volume V, are well-known,

the FRAP factor does not embody a well-known or predictable law of physics or natural

correlation that could be applied by a person of ordinary skill in the art. In fact, the evidence

shows that the variables are interrelated such that changing one variable will change other

variables in a nonlinear and unpredictable manner. Tr. (Hatch) at 1437:12-18; ID at 263, n.88.

The ID observed that “[f]or example, in practice, doubling one variable does not double the

FRAP factor because other variables also change depending on the interrelationship of the water

filter, activated carbon and lead scavenger.” ID at 263, n.88 (citing Tr. (Knipmeyer) at 219:7-

11). Indeed, Dr. Knipmeyer testified that an ordinarily skilled artisan could not change an




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individual input to the FRAP equation and expect a corresponding FRAP factor change because

all the inputs are interrelated:

                Q. Keeping all other variables in the FRAP equation other than flow rate,
        let’s say equal, in order to go from a FRAP of 6 to 3, I would have to essentially
        double my flow rate; is that right?
                A. Yes, but you can’t change an individual characteristic. They’re all
        interrelated.
                Q. You have to create the filter and consider the performance holistically,
        correct?
                A. That is correct.
                Q. In other words, you can’t just snap your fingers, change one variable,
        and know that you would achieve a FRAP half as much; is that right?
                A. That’s correct, because they are not mathematical variables, they are
        characteristics of the filter.

Tr. (Knipmeyer) 218:20-219:311 (emphasis added). Yet, the patent fails to disclose a general

feature or characteristic of the claimed “genus” of filters that would lead an ordinarily skilled

artisan to achieve the required FRAP with media filters other than carbon blocks. Amgen, 143 S.

Ct. at 1254 (stating that “it may suffice to give an example (or a few examples) if the

specification also discloses ‘some general quality. . . running through’ the class that gives it ‘a

peculiar fitness for the particular purpose”). Thus, the Commission finds that this factor supports

a finding of non-enablement.

Wands Factor 7 – The Predictability of the Art

        Regarding Wands factor 7, Brita argues that “[t]he art disclosed which components to

use, how the components perform, and the modeling for the basic scientific theories

underpinning filters’ performance” and that “[t]he amount of information available made the

field predictable.” Brita Sub. at 22 (citing Tr. 1519:21-1520:12 (Freeman); Tr. 1461:14-1462:1

(Hatch)). Brita states that “the general theories regarding filtration mechanisms and separation

were well known and documented across filter media types” and that “skilled artisans knew that

fluids could be filtered via physical separation, such as when water passes through the filter’s

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pores.” Brita Sub. at 22 (citing Tr. 1493:21–1494:10 (Freeman); Tr. 174:4-13, 175:8-24

(Knipmeyer)).

       However, the Commission finds nothing in the patent that indicates how the

characteristics of the materials interact to achieve the required FRAP, and the patent itself shows

significant variability in the FRAP that is achieved with filters having the same starting

materials. See, e.g., ’141 patent, Table 5 (showing the exact same “Pur 2 stage w/ timer” filter

achieving three different FRAP results: 670.9, 748.4, and 851.6). Furthermore, it is remarkable

that Dr. Knipmeyer testified that creating non-carbon block embodiments would involve creating

“new technology.” Tr. (Knipmeyer) at 327:15-328:6 (“I imagine that you could develop new

technology that would -- that would meet that requirement” of the ’141 patent.). Yet, how to

develop that new technology remains unclear and unpredictable from this patent disclosure. For

the reasons discussed above as well as with regard to the other Wands factors, the evidence of

record shows that the art is unpredictable.

Wands Factor 8 – The Breadth of the Claims

       The ID stated that “[i]t is not disputed that the ’141 patent discloses various filter media

embodiments, various activated carbon, and lead scavengers” and that “[t]hese are all in the prior

art.” Id. The ID pointed to Dr. Freeman’s testimony that “while the activated carbon and lead

scavenger may take different forms, they are all expected to behave in the same manner in the

filter media.” Id. The ID found that “[t]he claims are broad in that the filter media is not limited

to carbon block in the asserted claims” but that “it is not clear that this supports a finding of

undue experimentation given the state of the art and the remaining Wands factors.” ID at 248.

The ID concluded that “[h]ere, the remaining Wands factors, including that the state of the prior




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art recognizes that filter media other than carbon block were well-known, on balance, support

enablement.”

         The Commission disagrees. Amgen makes clear that the more a party claims, the more it

must enable regardless of how sophisticated the purported invention maybe. Amgen, 143 S. Ct.

at 1256 (“For if our cases teach anything, it is that the more a party claims, the broader the

monopoly it demands, the more it must enable. That holds true whether the case involves

telegraphs devised in the 19th century, glues invented in the 20th, or antibody treatments

developed in the 21st.”). And, here, the claims are broad and do not limit the type of filter

media.

Conclusion for Wands Factors

         Upon considering all of the Wands factors, the Commission finds that the broad claims

asserted here are not enabled by the patent specification. While the patent specification discloses

the names of various filter media embodiments, it indisputably fails to disclose how these filter

media, other than carbon blocks, can achieve the claimed FRAP. Brita argues that “[t]he art

disclosed which components to use, how the components perform, and the modeling for the basic

scientific theories underpinning filters’ performance” and that “the general theories regarding

filtration mechanisms and separation were well known and documented across filter media

types” and that “skilled artisans knew that fluids could be filtered via physical separation, such as

when water passes through the filter’s pores.” Brita Sub. at 22. The Commission finds that the

inventors, however, failed to “identify a quality common to every functional embodiment” that

would allow an ordinarily skilled artisan to develop the new technology needed to achieve the

required FRAP using a non-carbon block filter. Amgen, 143 S. Ct. at 1256. Indeed, the only

functional embodiment disclosed is carbon blocks. Thus, developing non-carbon block filters to



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achieve the claimed FRAP would require “painstaking,” or at least undue, experimentation to

uncover the new technology. See id. (“Whether methods like a ‘roadmap’ . . . might suffice to

enable other claims in other patents—perhaps because, as this Court suggested in Incandescent

Lamp, the inventor identifies a quality common to every functional embodiment, supra, at 1254-

1255—they do not here. They leave a scientist about where Sawyer and Man left Edison: forced

to engage in “painstaking experimentation” to see what works.).

       The facts here are reminiscent of Incandescent Lamp, where the Court found such similar

disclosure insufficient to satisfy the enablement requirement, as the Amgen Court explained:

       “Sawyer and Man supposed they had discovered in carbonized paper the best
       material for an incandescent conductor.” Id., at 472, 16 S.Ct. 75. But “[i]nstead of
       confining themselves to carbonized paper, as they might properly have done, and
       in fact did in their third claim, they made a broad claim for every fibrous and
       textile material.” Ibid. Even that broad claim “might” have been permissible, the
       Court allowed, if Sawyer and Man had disclosed “a quality common” to fibrous
       and textile substances that made them “peculiarly” adapted to
       incandescent lighting. Ibid. Had they done so, others would have known how to
       select among such materials to make an operable lamp. But the record showed
       that most fibrous and textile materials failed to work. Only through “painstaking
       experimentation” did Edison discover that bamboo “answered the required
       purpose.” Id., at 475-476, 16 S.Ct. 75. The Court summed up things this way:
       “[T]he fact that paper happens to belong to the fibrous kingdom did not invest
       [Sawyer and Man] with sovereignty over this entire kingdom.” Id., at 476, 16
       S.Ct. 75.

Amgen, 143 S. Ct. at 1256 (citing The Incandescent Lamp Patent, 159 U.S. 465 (1895)). Here

too, having only invented carbon block filters to achieve the claimed FRAP, Brita attempts to

claim sovereignty over the entire filter kingdom, and the evidence of record shows that it would

take “painstaking,” i.e., undue, experimentation to find other types of filter materials that meet

the claim requirements. The claims at issue here must therefore meet the same fate.

       In sum, the ID’s finding that an ordinarily skilled artisan can practice the claimed

invention using non-carbon block filter media without undue experimentation is not supported by



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the undisputed record evidence. Thus, the Commission has determined to reverse the ID on that

issue and find the asserted claims invalid for lack of enablement under 35 U.S.C § 112.

       E.      The ID’s Patent Eligibility Findings Under 35 U.S.C § 101

       The Commission determined to review the final ID’s invalidity findings, including patent

eligibility under 35 U.S.C. § 101. 87 Fed. Reg. 42950-53 (July 5, 2023). On review, the

Commission has determined to take no position on the issue. See Beloit, 742 F.2d at 1423.

       F.    The ID’s Finding that the Cited Prior Art Do Not Anticipate the Asserted
       Claims Under 35 U.S.C § 102

       The Commission determined to review the final ID’s invalidity findings, including

anticipation under 35 U.S.C. § 102. 87 Fed. Reg. 42950-53 (July 5, 2023). On review, the

Commission has determined to take no position on the issue. See Beloit, 742 F.2d at 1423.

       G.    The ID’s Finding’s on the Economic Prong of the Domestic Industry
       Requirement

       The Commission determined to review the final ID’s findings on the economic prong of

the domestic industry requirement. 87 Fed. Reg. 42950-53 (July 5, 2023). On review, the

Commission has determined to take no position on the issue. See Beloit, 742 F.2d at 1423.

V.     CONCLUSION

       As discussed above, the Commission has determined to reverse the ID’s finding of a

violation of section 337. Regarding the issues under review, the Commission has determined to:

(1) vacate the ID’s construction of the claim term “filter usage lifetime claimed by a

manufacturer or seller of the filter” and find the claim limitation indefinite; (2) reverse the ID’s

finding that the asserted claims are not invalid for lack of written description; (3) reverse the ID’s

findings that the asserted claims are enabled; (4) take no position on the ID’s section 101

analysis and findings; (5) take no position on the ID’s anticipation analysis and findings; and



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(6) take no position on the ID’s findings on the economic prong of the domestic industry

requirement.

       By order of the Commission.




                                            Lisa R. Barton
                                            Secretary to the Commission


       Issued: September 22, 2023




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Certain High-Performance Gravity-Fed Water Filters and Products Containing the Same;
                                                                                                             337-1294 Violation
Inv. No. 337-TA-1294 (Violation)

                                                 CERTIFICATE OF SERVICE




        I, Lisa R. Barton, hereby certify that the parties listed have entered an appearance in the above captioned
        investigation, and a copy of the PUBLIC CERTIFICATE OF SERVICE was served upon the following parties
        via first class mail and air mail where necessary.



        Document     Security           Document Type Official Rec'd Date        Title
        792892       Public             ID/RD - Final on 03/22/2023 10:02 AM     Initial Determination on Violation of
                                        Violation                                Section 337 and Recommended
                                                                                 Determination on Remedy and
                                                                                 Bond



        Service Date:         March 22, 2023




                                                                                           /s/
                                                                          Lisa R. Barton
                                                                          U.S. International Trade Commission
                                                                          500 E Street, S.W.
                                                                          Suite 112
                                                                          Washington, D.C. 20436




Service Date:      March 22, 2023                         Appx60       PDF Generated on:         March 22, 2023
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Certain High-Performance Gravity-Fed Water Filters and Products Containing the Same;                     337-1294 Violation
Inv. No. 337-TA-1294 (Violation)

                                                CERTIFICATE OF SERVICE




On behalf of Complainant Brita LP:                            On behalf of Respondent Vestergaard Frandsen Inc.:

Paul A. Ainsworth, Lead Representative                        Jeffrey R. Gargano, Lead Representative
Sterne, Kessler, Goldstein & Fox                              K&L Gates LLP
1100 New York Avenue NW                                       70 W. Madison St., Suite 3100
Washington, District of Columbia 20005, United States         Chicago, Illinois 60602, United States
2023712600 -- voice                                           13123721121 -- voice
202-371-2540 -- fax                                           312-827-8000 -- fax
painsworth@skgf.com                                           jeffrey.gargano@klgates.com
Electronic Service                                            Electronic Service

On behalf of Respondent Helen of Troy Limited;Kaz USA:


Adam D. Swain, Lead Representative
Alston & Bird LLP
950 F St. NW
Washington, District of Columbia 20004, United States
202-239-3622 -- voice
adam.swain@alston.com
Electronic Service

On behalf of Respondent Culligan International Co.;Zero
Technologies, LLC:

Jared Brandyberry, Lead Representative
Baker and Hostetler
1801 California St.
Suite 4400
Denver, Colorado 80212, United States
3037644072 -- voice
202-861-1783 -- fax
jbrandyberry@bakerlaw.com
Electronic Service




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              UNITED STATES INTERNATIONAL TRADE COMMISSION

                                Washington, D.C.

In the Matter of

CERTAIN HIGH-PERFORMANCE                              Inv. No. 337-TA-1294
GRAVITY-FED WATER FILTERS AND
PRODUCTS CONTAINING THE SAME


      INITIAL DETERMINATION ON VIOLATION OF SECTION 337 AND
        RECOMMENDED DETERMINATION ON REMEDY AND BOND

                   Administrative Law Judge MaryJoan McNamara

                                (February 28, 2023)




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                             SELECTED SUMMARY FINDINGS

       Pursuant to the Notice of Investigation, 87 Fed. Reg. 4913, dated January 31, 2022, this is

the Initial Determination (“ID”) of the Investigation in the Matter of Certain High-Performance

Gravity-Fed Water Filters and Products Containing Same, United States International Trade

Commission Investigation No. 337-TA-1294. See 19 C.F.R. § 210.42(a).

       It is a finding of the ID that Complainant Brita LP (“Complainant” or “Brita”) has proven

by a preponderance of evidence that Respondent Kaz USA, Inc. (“Kaz”), Helen of Troy Limited

(“Helen of Troy,” and with Kaz, “the PUR Respondents”), Zero Technologies LLC (“Zero”),

Culligan International Co. (“Culligan,” and with Zero, “the ZeroWater Respondents”), and

Vestergaard Frandsen Inc. (“LifeStraw Respondent”) (collectively, PUR Respondents,

ZeroWater Respondents and LifeStraw Respondent, “Respondents”) have violated subsection (b)

of Section 337 of the Tariff Act of 1930, in the importation into the United States, the sale for

importation, or the sale within the United States after importation of certain gravity-fed water

filters and products containing same.

       It is a finding of the ID that Respondents have infringed asserted claims 1-6 and 23 of

U.S. Patent No. 8,167,141 (“the ’141 patent”). It is also a finding of this ID that the asserted

claims of the ’141 patent are not invalid.

       It is a finding of the ID that one or more of Brita’s domestic industry products have

satisfied the technical industry prong of the domestic industry requirement for the ’141 patent.

       It is a finding of the ID that Brita has satisfied the economic prong of the domestic

industry requirement under Section 337(a)(3)(A) and (B).

       This decision recommends that: (1) Limited Exclusion Orders with a standard

certification provision issue against the PUR, ZeroWater and LifeStraw Respondents; (2) Cease




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and Desist Orders issue against the PUR and LifeStraw Respondents; and (3) that a bond (or

bonds) issue against the PUR and ZeroWater Respondents be entered during the Presidential

Review Period.




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                                       ABBREVIATIONS

The following shorthand references to the parties, related U.S. agencies, and related proceedings
are used in this Initial Determination:
 Complainant or
                          Complainant Brita LP
 Brita

 PUR                      Respondents Kaz USA, Inc. and Helen of Troy Limited

                          Respondents Zero Technologies, LLC and Culligan International
 ZeroWater
                          Co.

 LifeStraw                Respondent Vestergaard Frandsen Inc.

 Respondents              PUR, ZeroWater, and LifeStraw, collectively

 Mavea                    Respondents Mavea LLC and Brita GmbH

                          Respondents EcoLife Technologies, Inc. and Qingdao Ecopure
 AquaCrest
                          Filter Co., Ltd.

 Parties                  Brita and Respondents, collectively

 CBP                      U.S. Customs and Border Protection

 PTO                      U.S. Patent and Trademark Office

 PTAB                     Patent Trial and Appeal Board



The following abbreviations for pleadings, exhibits, briefs, transcripts, and Orders are used in
this Initial Determination:
 Compl.                   Complaint

                          Response of Kaz USA, Inc. and Helen of Troy Limited to the
 PUR Response             Notice of Investigation and Complaint Under Section 337 of the
                          Tariff Act of 1930, as Amended

                          Response of EcoLife Technologies Inc. and Qingdao Ecopure Filter
 ZeroWater
                          Co., Ltd. to the Notice of Investigation and Complaint Under
 Response
                          Section 337 of the Tariff Act of 1930, as Amended

                          Response of Zero Technologies, LLC and Culligan International
 LifeStraw Response       Co. to the Notice of Investigation and Complaint Under Section 337
                          of the Tariff Act of 1930, as Amended


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                     Response of EcoLife Technologies Inc. and Qingdao Ecopure Filter
Aquacrest Response   Co., Ltd. to the Notice of Investigation and Complaint Under
                     Section 337 of the Tariff Act of 1930, as Amended

CX                   Complainant’s exhibit

CDX                  Complainant’s demonstrative exhibit

CPX                  Complainant’s physical exhibit

CPBr.                Complainant’s Corrected Pre-Hearing Brief

CBr.                 Complainant’s Initial Post-Hearing Brief

CRBr.                Complainant’s Post-Hearing Reply Brief

CSBr.                Complainant’s Supplemental Post-Hearing Brief

CSRBr.               Complainant’s Supplemental Post-Hearing Reply Brief

CPSt.                Complainant’s Pre-Hearing Statement

JX                   Joint exhibit

RX                   Respondents’ exhibit

RDX                  Respondents’ demonstrative exhibit

RPX                  Respondents’ physical exhibit

RPBr.                Respondents’ Corrected Pre-Hearing Brief

RBr.                 Respondents’ Initial Post-Hearing Brief

RRBr.                Respondents’ Post-Hearing Reply Brief

RSBr.                Respondents’ Corrected Supplemental Post-Hearing Brief

RSRBr.               Respondents’ Supplemental Post-Hearing Reply Brief

RPSt.                Respondents’ Pre-Hearing Statement

Tr.                  Evidentiary hearing transcript

Dep. Tr.             Deposition transcript



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 COMBr.                   Complainant’s Opening Markman Brief

 ROMBr.                   Respondents’ Opening Markman Brief

 CMBr.                    Complainant’s Rebuttal Markman Brief

 RMBr.                    Respondents’ Rebuttal Markman Brief

                          Joint Claim Construction Chart (Doc. ID No. 768315 (Apr. 14,
 Joint CC Chart
                          2022))

 Markman Order            Order No. 30 (July 20, 2022)



The following shorthand references to certain products and patents at issue are used in this Initial
Determination:
 ’141 patent              U.S. Patent No. 8,167,141

 Asserted Patent          ’141 patent

 Accused PUR Plus         PUR Plus filters, including Mario 2 and Mario 3 versions, and with
 Products                 corresponding pitchers, collectively

 Accused ZeroWater        ZeroWater filters, redesign filters, and with corresponding pitchers,
 Products                 collectively

 Accused LifeStraw        LifeStraw Home filters, and with corresponding pitchers,
 Products                 collectively

                          PUR Plus filters, ZeroWater filters, LifeStraw Home filters, and
 Accused Products
                          with corresponding pitchers, collectively

 DI Products              Brita LongLast Product, Brita LongLast+ Product, collectively




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I.       INITIAL DETERMINATION ON VIOLATION OF SECTION 337, AND
         RECOMMENDED DETERMINATION ON REMEDY AND BOND

         A.     Overview

         This Investigation is about gravity-fed water systems and filters for treating water that is

taught by a single patent, U.S. Patent No. 8,167,141 (“the 141 patent”). The necessity of

uncontaminated water is an issue critical to all of us. Also critical to the outcomes that are

addressed in the ID are the scientific standards and protocols that Brita used to arrive at the

invention claimed in the ’141 patent, and then the testing that the Parties conducted on the filters

at issue to determine if they remove the lead and other contaminants that the ’141 patent teaches.

(See Sections IV, VIII, and IX.). Not surprisingly, the level and detail that went into Brita’s

testing to arrive at the invention of the ’141 patent, and the Respondents’ testing of the prior art

and accused products, was highly technical and granular. The testing required a detailed analysis

of whether the invention of the ’141 patent—carbon block and other filters-- proves that it

removes the contaminates according to the teachings of the ’141 patent, and if so, whether the

accused products practice the claims of the ’141 patent.

         The testing requirements and the protocols that were used in testing were hotly contested.

Without explaining in detail the scientific protocols that were used, and how the testing of the

invention, the alleged Brita and other prior art products, and the accused products were

conducted, the conclusions that the ID reached about the same, might not have made sense.

Therefore, Sections IV, VIII and IX are the prelude to an understanding of the findings on

infringement, Section X, and invalidity, Section XII, and particularly, enablement, Section

XII.D.

         B.     Summary of Findings

         A summary of this decision’s finding is summarized below.



                                                   1



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Industry, CA and Qingdao Ecopure Filter Co., Lt. of Shandong Province, China (collectively,

“Aqua Crest Respondents” or Aqua Crest”); Kaz USA, Inc. of El Paso, TX and Helen of Troy

Limited of El Paso, TX (collectively, “PUR Respondents” or “PUR”); Zero Technologies, LLC

of Trevose, PA and Culligan International Co. of Rosemont, IL (collectively, “ZeroWater

Respondents” or “ZeroWater”); Vestergaard Frandsen Inc. of Baltimore, MD (“LifeStraw

Respondent” or “LifeStraw”); Mavea LLC of West Linn, OR; and Brita GmbH of Taunusstein,

Germany (collectively, “Respondents,” and with Brita, the “Parties”). 3 Id.

        Respondents Mavea LLC and Brita GmbH have been terminated from this Investigation

based on a settlement agreement. 4 (See Order No. 13 (May 3, 2022), unreviewed, Comm’n

Notice, (May 24, 2022).). The Aqua Crest Respondents have been terminated from this

Investigation based on withdrawal of the allegations as to these respondents. (Order No. 43

(Sept. 22, 2022), unreviewed, Comm’n Notice, (Oct. 11, 2022).).

        On February 22, 2022, PUR filed a response to the Complaint and NOI (“PUR

Response”). (Doc. ID No. 763740 (Feb. 22, 2022).). In their response, PUR identified nine (9)

affirmative defenses (“Affirmative Defenses”). (PUR Resp. at 30-33.).

        On February 22, 2022, ZeroWater filed a response to the Complaint and NOI (“ZW

Response”). (Doc. ID No. 763725 (Feb. 22, 2022).). In its response, ZeroWater identified six

(6) defenses (“Defenses”). (ZW Resp. at 22-27.).

        On February 22, 2022, LifeStraw filed a response to the First Amended Complaint and



3
 Four additional entities were named as proposed Respondents in the original Complaint: Mavea LLC,
Brita GmbH, EcoLife Technologies, Inc., and Qingdao Ecopure Filter Co. (Compl. at ¶ 3.). Brita
withdrew the allegations against these entities. (Order No. 13 (May 3, 2022); Order No. 43 (Sept. 22
2022).).
4
  References to Respondents and/or Parties in the rest of this document do not include the terminated
respondents.


                                                    3



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NOI (“LS Response”). (Doc. ID No. 763712 (Feb. 22, 2022).). In its response, LifeStraw

identified nine (9) affirmative defenses (“Affirmative and Other Defenses”). (LS Resp. at 21-

25.).

        As the result of one (1) ID granting Brita’s partial termination of this Investigation with

respect to asserted claims 20, 21, and 24 of the ’141 patent, the seven (7) remaining claims that

are the subject of this decision are claims 1-6 and 23 of the ’141 patent. (See Order No. 19 (June

1, 2022).).

        On May 5, 2022, Brita and Respondents each filed a Markman hearing proposal. (Doc.

ID Nos. 769975, 769972 (May 5, 2022).). A Markman hearing was held on June 2, 2022. (See

Order No. 18 (May 26, 2022); Doc. ID No. 772677 (Markman Hr’g Tr.) (June 9, 2022).). A

Markman Order issued construing the claim terms in dispute. (Markman Order (July 20, 2022).).

        On June 9, 2022, Respondents filed a motion to strike (“Motion to Strike”) certain

reduction to practice dates and a “genus” theory of water filters in the expert report of Dr. Benny

D. Freeman. 5 (Mot. Docket No. 1294-015 (June 9, 2022).). The Motion to Strike was denied in-

part with respect to striking reduction to practice dates because Respondents had been on notice

at all times of an alleged conception date of May 16, 2066 and reduction to practice dates based

on at least Brita’s Notice of Priority Dates. (Order No. 33 at 7 (Aug. 2, 2022); Doc ID No.

764240 (“Brita LP’s Notice of Patent Priority Dates/Dates of Conception”) (Mar. 1, 2022).). The

Motion to Strike was granted in-part as to a genus/species theory in Dr. Freeman’s expert report



5
 When he testified during the Hearing on October 13, 2022, Dr. Benny D. Freeman was a Professor of
Engineering at the University of Texas at Austin. (CPSt. at Att. A; CDX-0002.0002.). Dr. Freeman
holds a B.S. in chemical engineering from North Carolina State University and a PhD in chemical
engineering from the University of California, Berkeley. (CPSt. at Att. A.). Brita identified Dr. Freeman
as an expert to testify about the validity of the ’141 patent. (CPSt. at 2.). Based on his education and
experience, Dr. Freeman is also qualified as an expert under FRE 703.



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because a genus theory was not disclosed in contention interrogatory responses and Brita’s use of

the word “class” in the Complaint was not sufficient basis to claim a genus/species theory.

(Order No. 33 at 13-14 (Aug. 2, 2022).).

          On July 18, 2022, Brita and Respondents each filed a Pre-Hearing Brief. (Doc. ID Nos.

775727, 775726 (RPBr.) (July 18, 2022).). On July 21, 2022, Brita filed a motion for leave to

file a corrected Pre-Hearing Brief, to which its corrected Pre-Hearing Brief 6 was attached. 7

(Doc. ID No. 776008 (CPBr.) (July 21, 2022).).

          On July 18, 2022, Respondents filed their Pre-Hearing Statement. (Doc. ID No. 775728

(RPSt.) (July 18, 2022).). On July 20, 2022, Brita filed its Pre-Hearing Statement. (Doc. ID No.

775842 (CPSt.) (July 20, 2022.).


6
    All references and citations to Brita’s Pre-Hearing Brief are to Brita’s corrected Pre-Hearing Brief.
7
  In its motion for leave, Brita stated that the Pre-Hearing Brief it filed on July 19, 2022 “contained
citations to likely evidentiary hearing exhibits in the form of references to the document Bates numbers
and titles rather than in the form exhibit numbers from the parties’ exhibit lists.” (Motion Docket No.
1294-024 (July 21, 2022).). Brita sought leave to make what it called “clerical changes” “to replace the
existing citations with citations to exhibit numbers” and submitted that “[n]o substantive changes to the
brief will be made.” (Id.). Certain respondents opposed Brita’s motion for leave. (Doc. ID No. 776020
(July 22, 2022).). In their opposition, the opposing respondents stated that they “do not oppose Brita’s
motion in an effort to prevent the ALJ from having a clear record.” (Id. at 1.). Rather, they contended
that their “opposition is based on the prejudice caused by Brita’s disregard of the Ground Rules.” (Id.
(citing G.R. 8.7.4 (requiring pre-hearing briefs to contain citations to exhibit numbers)).). On July 28,
2022, Order No. 32 issued, which instructed Brita and the opposing respondents to answer several
questions. (Order No. 32 at 2-3 (July 28, 2022).). In compliance with Order No. 32, Brita and the
opposing respondents filed their answers to the questions listed in the Order. (Doc. ID Nos. 776559
(Brita’s letter) (July 29, 2022), 776592 (respondents’ letter) (July 29, 2022), 776915 (Brita’s reply letter)
(Aug. 2, 2022), 776914 (respondents’ reply letter) (Aug. 2, 2022).). During the Pre-Hearing Conference,
monetary compensation as a possible remedy to the opposing respondents’ alleged prejudice was
discussed and they were directed to file an affidavit(s) with the names of the individuals involved with
fixing citations to their pre-hearing brief and the amount of time spent by each. (Tr. at 18:6-19, 20:7-16.).
Specifically, the opposing respondents were asked to provide billed time from billing statements with
hourly rates and the cumulative time spent by each affiant on correcting Brita’s Pre-Hearing Brief. (Id.).
The opposing respondents submitted affidavits (albeit incomplete) and with nothing more. (Doc. ID No.
779233 (Sept. 1, 2022).). Subsequently, the opposing respondents did not follow motions practice and
did not file a motion for sanctions or for compensation. Thus, that issue is moot. Having considered all
submissions on this issue, Brita’s motion for leave to file a corrected Pre-Hearing Brief is granted. All
references to Brita’s Pre-Hearing Brief are to the corrected Pre-Hearing Brief, i.e., CPBr.


                                                        5



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granted. (Order No. 51 (Nov. 21, 2022); Doc ID No. 786499 (Corrected Tr.) (Dec. 16, 2022).).

        B.      The Parties

                1.      Complainant Brita LP

        Brita LP is an Ontario limited partnership organized under the laws of Canada with an

office in Switzerland. (See Tr. (Lauren Kahn) 11 at 240:2-14; CBr. at 3-4.). Brita LP is a

subsidiary of The Clorox Company. (See Tr. (Kahn) at 240:2-8.).

        In the Complaint, Brita described itself as follows:

        Brita is America’s #1 brand of water filtration and has been America’s trusted
        source of filtered water for over 30 years. It is a leader in the consumer water filter
        product market because of its ability to provide filter products that meet consumer
        needs in a gravity-fed system.
                                                ***

        Brita’s Domestic Industry Products (“DI Products”) . . . include the LongLast and
        LongLast+ filters and containers that use the same[.]

                                                 ***

        A significant portion – virtually all – of the activities related to the research and
        development, product support, distribution, marketing, and sales of the DI Products
        takes place in the United States.

(Compl. at ¶¶ 17, 19, 122.).

                2.      Respondents

                        a)      Kaz USA, Inc.

        Kaz USA, Inc. (“Kaz,” and with Respondent Helen of Troy Limited, “PUR” or “PUR

Respondents”) is a corporation organized under the laws of the state of Massachusetts. (See

PUR Resp. at ¶ 30.). Kaz confirmed that it is a subsidiary of Helen of Troy Limited. (See id.).




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  Lauren Kahn, Brita’s fact witness, at the time of the evidentiary hearing, was employed by Clorox
Company as senior director of marketing, and commercial leader for the Brita Business. (Tr. (Kahn) at
236:24-237:3; CPSt. at 2.). Ms. Kahn was called to testify as to the commercial success and the
industry’s praise of Brita’s domestic industry products. (Id.).


                                                  10



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Kaz also confirmed that it is involved with the distribution and sale of certain Accused PUR Plus

Products. (See id. at ¶ 31.).

                        b)      Helen of Troy Limited

        Helen of Troy Limited (“Helen of Troy,” and with Kaz, “PUR” or “PUR Respondents”)

is a corporation organized under the laws of Barbados. (See PUR Resp. at ¶ 32.). Helen of Troy

confirmed that it is affiliated with Kaz. (See id.). Helen of Troy also confirmed that it is

involved with the design and development of the Accused PUR Plus Products. (See id. at ¶ 33.).

In its response to the Complaint, Helen of Troy denied that Helen of Troy sells products under

the PUR brand. (See id.).

                        c)      Zero Technologies, LLC

        Zero Technologies, LLC (“Zero Technologies,” and with Culligan International

Company, “ZeroWater” or “ZeroWater Respondents”) is a corporation organized under the laws

of the state of Delaware. (See ZW Resp. at ¶ 35.). Zero Technologies confirmed that it has a

place of business in Trevose, Pennsylvania. (See id.). Zero Technologies also confirmed that it

lists ZeroWater water filters for sale on its website. (See id. at ¶ 36.).

                        d)      Culligan International Co.

        Culligan International Co. (“Culligan,” and with Zero Technologies, “ZeroWater” or

“ZeroWater Respondents”) is a business organized under the laws of the state of Delaware. (See

ZW Resp. at ¶ 37.). Culligan confirmed that it has a place of business in Rosemont, Illinois.

(See id.). Culligan also confirmed that it is the parent company of Zero Technologies and

Culligan lists ZeroWater as one of its brands on its website. (See id. at ¶ 38.).

                        e)      Vestergaard Frandsen Inc.

        Vestergaard Frandsen Inc. (“LifeStraw” or “LifeStraw Respondent”) is a corporation

doing business as LifeStraw that has a place of business in Baltimore, Maryland. (See RBr. at 9;


                                                  11



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Compl. at Ex. 43.). LifeStraw also confirmed that it is involved in the manufacture, distribution,

sale for importation, importation, and sale after importation of the Accused LifeStraw Products.

(See LS Resp. at ¶ 41.).

III.   JURISDICTION, IMPORTATION, AND STANDING

       A.      The Commission Has Jurisdiction

       To have the authority to decide a case, a court or agency must have jurisdiction over

either the parties or the property involved. See Certain Steel Rod Treating Apparatus and

Components Thereof, Inv. No. 337-TA-97, Comm’n Opinion, 215 U.S.P.Q. 229, 231 (U.S.I.T.C.

1981). For the reasons discussed below, the facts support a finding that the Commission has

jurisdiction over this Investigation.

               1.      Personal Jurisdiction

       Respondents have appeared and responded to the Complaint and NOI, and fully

participated in this Investigation, which included participating in discovery and the Hearing, and

by filing motions. Thus, the Commission has personal jurisdiction over Respondents. See, e.g.,

Certain Microfluidic Devices (“Microfluidic Devices”), Inv. No. 337-TA-1068, Initial

Determination, 2018 WL 5279172, at *16 (Sept. 20, 2018); Certain Windshield Wiper Devices

and Components Thereof (“Wiper Devices”), Inv. No. 337-TA-881, Initial Determination, 2014

WL 2334287, at *6 (May 8, 2014) (unreviewed in relevant-part).

               2.      In Rem Jurisdiction

       Section 337(a)(1)(B) applies to the “[t]he importation into the United States, the sale for

importation, or the sale within the United States after importation” of articles that infringe a valid

and enforceable United States patent.” 19 U.S.C. § 1337(a)(1)(B). A single instance of

importation is sufficient to satisfy the importation requirement of Section 337. Certain Optical

Disc Drives, Components Thereof, and Prods. Containing the Same, Inv. No. 337-TA-897,


                                                 12



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Order No. 101 at 3 (Sept. 22, 2014) (citations omitted) (Doc. ID No. 543438).

       Brita and PUR stipulated that the Accused PUR Plus Products have been and are

imported into the United States to satisfy the importation requirements of 19 U.S.C. §

1337(a)(1)(B), (C). (Doc. ID No. 770417 at 1-2.).

       Brita and LifeStraw stipulated that the Accused LifeStraw Products have been and are

imported into the United States to satisfy the importation requirements of 19 U.S.C. §

1337(a)(1)(B), (C). (JX-0020.0001-02.).

       Zero Technologies confirmed that it imports and sells its Accused ZeroWater Products in

the United States. (RPBr. at 11.). Thus, Zero Technologies does not dispute importation.

       Culligan disputes that it manufactures, distributes, sells for importation, imports or sells

after importation the Accused ZeroWater Products. (Id.; see also Section III(A); RBr. at 116

(Affirmative Defense on Standing).).

       Because of importation stipulations of all Accused Products, the Commission has in rem

jurisdiction over the Accused Products. See, e.g., Wiper Devices, Inv. No. 337-TA-881, Initial

Determination at 5 (in rem jurisdiction exists when importation requirement is satisfied).

       B.      Brita Has Standing in the Commission

       Jurisdiction requires standing. See SiRF Technology, Inc. v. Int’l Trade Comm’n, 601

F.3d 1319, 1326 (Fed. Cir. 2016) (standing to bring an infringement suit is the same under

Commission Rules as it would be in a Federal District Court case); Certain Optical Disc Drives,

Components Thereof and Prods. Containing Same, Inv. No. 337-TA897, Opinion Remanding the

Investigation at 4 (Jan. 7, 2015). Commission Rule 210.12 requires that intellectual property-

based complaints filed by a private complainant “include a showing that at least one complainant

is the exclusive license of the subject intellectual property.” 19 C.F.R. § 210.12(a)(7).



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        Brita argued that it has standing to bring suit for infringement under Section 337 because

Brita owns by assignment the full right, title and interest in the ’141 patent. (See Compl. at Exs.

66-68 (Assignments of the ’141 patent from inventors Knipmeyer and Lynch to Brita (Ex. 66 to

Compl.); from inventors Reid and Saaski to a non-party, Omnipure Filter Company, Inc.

(“Omnipure”) (Ex. 67 to Compl.); and from Omnipure to Brita (“Omnipure Assignment,” Ex. 68

to Compl.); CPBr. at 128.). On its face, the December 22, 2021 Omnipure Assignment clearly

“grants” to assignee (Brita):

        the entire right, title and interest in and to the invention known as “GRAVITY
        FLOW FILTER,” for which an application was filed in the United States Patent
        and Trademark Office on September 9, 2008 and given Serial No. 12/207,284
        which patent application and its resulting Patent No. 8,167,141 are hereby assigned,
        transferred and set over to Assignee.

(Omnipure Assignment, Ex. 68 to Compl.) (emphasis in original); see also CX-0921 (Omnipure
Assignment, PTO Recordation).).

        The last paragraph of the Omnipure Assignment also grants to Brita “all right title and

interest, in and to the subject invention, patent application and patent; . . . including the right to

sue for past infringements.” (Id.).

        Notwithstanding, the evidence that Omnipure assigned its rights in the ’141 patent to

Brita (Ex. 68 to Compl.), and with that knowledge, Respondents nonetheless initially challenged

Brita’s standing to bring suit by claiming that Brita did not maintain all of its ‘substantial rights’

to the ’141 patent. (RPBr. at 133 (citing Aspex Eyewear, Inc. v. Miracle Optics, Inc., 434 F.3d

1336, 1344 (Fed. Cir. 2006) (“Aspex Eyewear”) (finding that where no right to sue existed in a

license agreement, there is no ownership of a patent, and remanding case for additional

proceedings)); RBr. at 116-17.). However, Aspex Eyewear does not apply here, because as

recited, the Omnipure Assignment clearly gives Brita the right to control the prosecution for

infringement of the ’141 patent.


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                           &21),'(17,$/0$7(5,$/20,77('

        In support of their argument, which also fails, Respondents initially cited to a




             (See RX-0500C.). Respondents essentially argued that the         supersedes the later

Omnipure Assignment. (See RX-0500C at §§ 1.2, 1.5, 4.2; see also RPBr. at 134; RBr. at 116-

121; see also CDX-0001C.50 (CLA excerpts).). Respondents claimed that the




             (RX-0500C at § 1.2.).). However, as Brita argued, with supporting evidence from the

      itself,




                        (CPBr. at 128 (emphasis added) (citing Alfred E. Mann Found. for Sci.

Research v. Cochlear Corp., 604 F.3d 1354, 1360 (Fed. Cir. 2010) (holding that a license to a

patent must be exclusive)); CBr. at 73; RX-0500C at § 4.2; see also CDX-0001C.0050.). Brita

has the standing to sue Respondents in this Investigation.

IV.     OVERVIEW OF RELEVANT TECHNOLOGY

        The technical/scientific concepts described below are pertinent to the infringement,

technical domestic industry, and validity testimony and evidence that support the analysis

discussed in this ID.

        A.       Gravity flow filtration

        Water filters are used in both industry and in the home to remove undesirable




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contaminants. (JX-0022 at 1:22-30.). Two types of household water filter systems are: (1) a

pressurized system, such as a filter mounted to a faucet; or (2) a low-pressure system, such as a

filter as part of a pour-through water pitcher. (Id. at 1:31-39.). Low-pressure systems operate

under the force of gravity as water flows through a filter into a water collection receptacle. The

filter in gravity-flow filtration can take the form of a well-known and commercially available

“filter block” manufactured from granular activated carbon, a binder, and additives such as a lead

sorbent. (Id. at 1:65-2:2.). A typical pour-through water carafe 1 and filter 20 are shown in

Figure No. 1 below.

               Figure No. 1: Pour-Through Carafe with a Carbon Block Filter




(JX-0022 at Fig.1.).



                                                16



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        Water flows from the upper reservoir 11 to lower reservoir 13 through the filter 20. (Id.

at 12:53-58.).

        The National Sanitary Foundation International 12 (“NSF”) issued a standard, including a

February 2007 revision (“NSF/ANSI 53-2007 standard”), 13 to “establish minimum requirements

for materials, design and construction, and performance of point-of-use and point-of-entry

drinking water treatment systems that are designed to reduce specific health-related contaminants

in public or private water supplies.” (RX-0084 at § 1.1.). One of the contaminants that the

NSF/ANSI 53-2007 standard sought to reduce was lead as characterized by content of total lead,

total particulate lead, and total particulate lead between 0.1 and 1.2 microns in size. (Id. at §

7.4.3, Table 14.).

        Respondents’ expert witness, Mr. Robert Herman 14, testified that the NSF/ANSI 53-2007




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  National Sanitary Foundation International in Ann Arbor, Michigan is “an independent, not-for-profit,
non-governmental organization, [is] dedicated to being the leading global provider of public health and
safety-based risk management solutions while serving the interests of all stakeholders.” (RX-0084
(NSF/ANSI 53-2007 standard) at title page 2, ii.).
13
 The NSF/ANSI 53-2007 standard was designated as an ANSI Standard, February 5, 2007, American
National Standards Institute. (RX-0084 at i.).
14
  When he testified during the Hearing on August 22-23, 2022, Mr. Robert Herman was a Principle
Consultant at Herman & Associates LLC. (RPSt. at Ex. 1.). Respondents identified Mr. Herman as an
expert witness to testify about “technical matters relating to [the] asserted patent, testing of products at
issue in this Investigation, testing of the prior art products, the state of the art at the time of the inventions
of the asserted patent, the invalidity, indefiniteness, and/or unenforceability of the asserted patent, the
level of one skilled in the art of the asserted patent, the understanding of one skilled in the art of claims
and claim terms of the asserted patent, the functionality, design, and operation of products accused of
infringement in this Investigation as well as products relating to domestic industry.” (Id. at 2.). Prior to
Herman & Associates LLC, Mr. Herman was employed by NSF International for some 35 years. (Tr.
(Herman) at 1008:1-1009:13.). In 2004, he was “working with lead, specifically for NSF Standard 53,
and assigned by NSF to be the primary investigator on determining why we were having some issues with
the then current standard.” (Id. at 1009:2-6.). Mr. Herman “ended up chairing the task group that was
responsible for investigating and developing a new protocol and validating that protocol for NSF
Standard 53 [2007][.]” (Id. at 1009:7-13.). Based on his education and experience, Mr. Herman is also
qualified as an expert under Rule 703 of the Federal Rules of Evidence (“FRE”).



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standard addressed a concern about lead particulates, “so we have a specification on how much

colloidal lead must be there, and then within that a percentage of it that must be fine.” (Tr.

(Herman) at 1017:15-18.). Mr. Herman explained that the standard uses the term “particulate

lead” and the ’141 patent uses the term “colloidal lead,” and both terms mean lead particles

having sizes greater than 0.1 microns. (Id. at 1015:18-1016:4.). Mr. Herman explained that

“fine lead” are lead particles having a size of 0.1-1.2 microns and “essentially, everything around

1 micron and down effects on water filtration and filter’s ability to remove lead.” (Id. at

1016:16-19.).

        With increasing awareness and desire to purify tap water in the home by the public, and

in view of the NSF/ANSI 53 standard that would include specifications for particulate lead

removal, Dr. Elizabeth Knipmeyer testified that filter designers focused on removing lead (“Pb”)

from source water. 15 (Tr. (Knipmeyer) at 155:9-14, 163:21-164:164:11, 172:10-14.).

        A typical material used in water filters is activated carbon. “Activated carbon granules

can, for example, be formed directly by activation of coal or other materials, or by grinding

carbonaceous material to a fine powder, agglomerating it with pitch or other adhesives, and then

converting the agglomerate to active carbon.” (JX-0022 at 13:36-40.). “The filtration cartridge

typically employed in pour-through (or gravity flow) systems hold blended media of

approximately 20x50 mesh granular activated carbon and either an ion exchange resin, . . . , or a

natural or artificial zeolite that facilitates the removal of certain heavy metals, such as lead and

copper.” (Id. at 1:51-57.).


15
  At the time she provided her testimony on August 17, 2022, Dr. Elizabeth Knipmeyer was Associate
Director of Research and Development with the Brita Division at The Clorox Company. (Tr.
(Knipmeyer) at 153:17-154:2; CPSt at 2.). She is a named inventor of the ’141 Patent. (Id.). Brita
identified Dr. Knipmeyer as a fact witness to testify about “the development of the claimed invention.”
(Id.).



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       Dr. Knipmeyer testified that a “carbon block is a filter for water that is solid, three

dimensional. You can pick it up and hold it on its own. And it’s comprised of carbon, activated

carbon, that’s held together usually with a binder. That makes a porous structure to do

mechanical and chemical filtration. Oftentimes you include additional sorbent materials to go

after specific contaminants, like a lead sorbent, for example.” (Tr. (Knipmeyer) at 174:6-13.).

Dr. Knipmeyer explained Brita’s work on gravity-fed water filters that were more porous than

pressure-mount filters to allow for water to flow through the filters. (Id. at 174:21-175:7.).

       Dr. Knipmeyer testified that conventional pitcher filters used larger granules of activated

carbon, compared to carbon block filters, and the activated carbon was mixed with ion exchange

resin. (Id. at 175:12-15, 23-24.).

V.     THE ASSERTED PATENT

       A.      Overview of the Asserted Patent

       The ’141 patent is entitled “Gravity Flow Filter.” (JX-0022 at (54).). The ’141 patent

was filed on September 9, 2008 as U.S. Patent Application No. 12/207,284 (“the ’284

application”). (Id. at (22).). The ’284 application is a continuation-in-part of U.S. Patent

Application No. 11/858,765, filed on September 20, 2007, and a continuation-in-part of U.S.

Patent Application No. 11/927,372, filed on October 29, 2007. (Id. at (63).). The ’284

application claims priority to U.S. Provisional Application No. 60/846,162, filed on September

20, 2006. (Id. at (60).). The ’141 patent issued on May 1, 2012 and names Elizabeth L.

Knipmeyer, Toni L. Lynch, Roger P. Reid and Bruce D. Saaski as co-inventors. (Id. at (45),

(75).). Brita owns by assignment all right, title and interest, in and to the ’141 patent. (See

Compl. at ¶ 62, Exs. 66-68.).

       The ’141 patent is generally directed to gravity-fed water filters comprising filter media




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including activated carbon. (JX-0022 at Abstract.). The filters have a performance characterized

by a “Filter Rate and Performance” (“FRAP”) factor of about 350 or less. (Id.; see also id. at

12:13-28.).

       B.      The Asserted Claims of the Asserted Patent

       The asserted claims of the ’141 patent generally relate to a gravity-fed water filter and a

gravity-flow system for filtering water containing the filter. (See, e.g., JX-0022 at cls. 1, 23.).

       As noted above, at issue in this Investigation are claims 1-6 and 23 of the ’141 patent.

Independent claim 1, as well as the dependent claims, are reproduced below. 16

               1. A gravity-fed water filter, comprising:
               filter media including at least activated carbon and a lead scavenger,
               wherein the filter achieves a Filter Rate and Performance (FRAP) factor of
                  about 350 or less according to the following formula:
                                                  [ܸ ‫ܿ כ ݂ כ‬௘ ]
                                        ‫= ܲܣܴܨ‬
                                                    [‫ כ ܮ‬2]

               where:
               V = volume of the filter media (cm3),
               f = average filtration unit time over lifetime L (min/liter),
               ce = effluent lead concentration at end of lifetime L when source water
                   having a pH of 8.5 contains 90-120 ppb (μg/liter) soluble lead and 30-
                   60 ppb (μg/liter) colloidal lead greater than 0.1 μm in diameter, and
               L = filter usage lifetime claimed by a manufacturer or seller of the filter
                  (gallons).

               2. The water filter as recited in claim 1, wherein the filter achieves a FRAP
                  factor of less than about 200.

               3. The water filter as recited in claim 1, wherein the volume of the filter
                  media (V) is less than about 300 cm3.

               4. The water filter as recited in claim 3, wherein the volume of the filter

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  The Parties agreed upon the meaning of the italicized claim terms, which were adopted in the Markman
Order. The Parties disputed the meaning of the underlined claim terms. The disputed terms were
analyzed and construed in the Markman Order.


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 ZeroWater 6 Cup          ZP-006-4-2T, ZP-006-4, ZP-006, ZP-006-3-Web,   Tr. (Rockstraw)
 Pitchers                 Fz6pitchercon, FZ6pitcherR-2, ZP-006NFM        at 484:5-14; CX-
                                                                         0778C.0007, 10
 ZeroWater 7 Cup          ZP-007RP-2T, ZP-007RP-C, ZP-007R9-INTL2i,      (ZeroWater Obj.
 Pitchers                 ZP-007RPA, ZP-007RP, ZP-007RP-2P, ZP-          and Resp. to
                          007RP-Con                                      Interrog. Nos. 1
                                                                         and 3); CX-
 ZeroWater 8 Cup          ZR-08410Ncon, ZR-0810G-2T-N, ZR-0810G-N        0519C
 Pitchers                                                                (identifying
                                                                         ZeroWater model
 ZeroWater 10 Cup         ZD-010C, ZP-010, ZP-010-NF, ZD-010RP-2T,       numbers); CX-
 Pitchers                 ZD-10RP-C, ZD-010RP, ZP-010RP-3-Web,           0569C (same);
                          FZ10RP-web, ZD-010RP-2P, ZR-0810-4-2T-N,       CDX-
                          ZR-0810-4-N, ZR-0810-4-Ncon, ZR-0810-2PK       0008C.0036
                                                                         (listing Accused
 ZeroWater 11 Cup         ZS-011RP-2T-N, ZS-011RP-2T-2PN, ZS-011RP-      ZeroWater
 Pitchers                 2-N                                            Product model
                                                                         numbers based on
 ZeroWater 12 Cup         ZD-012RP-2T, ZD-12RP-C, ZD-012rp, ZD-
                                                                         same); CX-
 Pitchers                 012RP-2, FZ12rp-web
                                                                         0570C.0001
                                                                         (same)
 ZeroWater 20 Cup         ZD-20RP-2T-N, ZD-20RPN, ZD-20RP-2-N, ZD-
 Pitchers                 20RP-INTL1, ZD-20-1PK, ZD-20PK1-3PDQ-
                          CVR, ZD-20RP-Ncon

 ZeroWater 23 Cup         ZD-023C, FZ23dispconsumer, ZD-23-1PK, ZD-
 Pitchers                 23PK1-3PDQ-CVR, ZD-018, ZD-018-2T

 ZeroWater 30 Cup         ZBD-030-2T, ZBD-030-1, ZD-030RP-C, ZD-
 Pitchers                 030RP-3-Web, ZD-030RP, ZD-030RP-Con, ZD-
                          030RP-2T

 ZeroWater 40 Cup         ZBD-040-INTL1, ZBD-040-INTL2, ZBD-040-1
 Pitchers

 ZeroWater 5 Gallon       ZJ-004
 water Cooler
 System

(Id. at 13-14.).

        C.         Accused LifeStraw Products

        The Accused LifeStraw Home Products include the Accused LifeStraw Home Filter and




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 LifeStraw Home 10 Cup               LSH10PLAQ1, LSH10PLGY1,                933:19-934:7
 Pitchers                            LSH10PLWH1

 LifeStraw Home BPA Free 10          LSHFP10AQ1, LSHFP10GRA1,
 Cup Pitchers                        LSHFP10WH1

 LifeStraw Home Plastic 10           LSH10GYCB1, LSH10WHCB1,
 Cup Pitchers with Carbon            LSH10AQCB1
 Replacement Filter 2-Pack

 LifeStraw Home Plastic 10           LH10NPLWHCB521
 Cup Pitchers with Carbon
 Replacement Filter 5 Pack

(Id. at 15-16.).

        D.         Brita’s DI Products

        Brita asserted that the following Brita products practice one or more claims of the

Asserted Patent: (i) Brita LongLast Product (“LongLast”); and (ii) Brita LongLast+ Product

(“LongLast+” recently rebranded as “Elite” and with LongLast, “DI Products”). (See, e.g.,

CPBr. at 9; CBr. at 9; Compl. at ¶¶ 19, 48.).

VII.    PERSON OF ORDINARY SKILL IN THE ART

        A.         Legal Standard

        A hypothetical person is a person of ordinary skill and “ordinary creativity.” KSR Int’l

Co. v. Teleflex, Inc., 550 U.S. 398, 420 (2007). “Factors that may be considered in determining

[the] level of ordinary skill in the art include: (1) the educational level of the inventor[s]; (2) type

of problems encountered in the art; (3) prior art solutions to the problems; (4) rapidity with

which inventions are made; (5) sophistication of the technology; and (6) educational level of

active workers in the field.” Envtl. Designs Ltd. v. Union Oil Co. of California, 713 F.2d 693,

696-97 (Fed. Cir. 1983) (citations omitted). “These factors are not exhaustive but merely a guide

to determining the level of ordinary skill in the art.” Daiichi Sankyo Co. v. Apotex, Inc., 501



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F.3d 1254, 1256 (Fed. Cir. 2007).). The hypothetical person of skill is also separately presumed

to have knowledge of all the relevant prior art in the field. Custom Accessories, Inc. v. Jeffrey-

Allan Indus., Inc., 807 F.2d 693, 697 (Fed. Cir. 1983).

        B.      Definition of a Person of Ordinary Skill in the Art

For this Investigation, a person of ordinary skill in the art would have had:

        either: (1) at least a bachelor’s degree in chemical or mechanical engineering,
        chemistry, biochemistry, or similar science or engineering studies with at least one
        year of post-graduate or industry work experience in liquid filtration systems (or in
        a similar field), or (2) at least five years of industry work experience in liquid
        filtration systems (or in a similar field).

(Markman Order at 7.). 21

        The differences among the proposed definitions by Brita and Respondents were not

dispositive and had little, if any, effect on the claim construction analysis set forth in the



21
  As explained in the Markman Order:
       Brita proposed that as of the priority dates of the ’141 patent, a person of ordinary skill in
       the art would have had:
                 a bachelor’s degree (or equivalent) in chemical engineering, chemistry, or
                 sanitary engineering (or a similar field) and either a Ph.D. (or equivalent)
                 in chemical engineering, chemistry, or sanitary engineering (or a similar
                 field) or at least three years of experience working with liquid filtration
                 systems (or in a similar field); or (ii) at least seven years of experience
                 working with liquid filtration systems (or in a similar field).
       (CMBr. at 7.).
                 Respondents’ Markman brief failed to propose a definition of a person of ordinary
       skill in the art. However, Brita understands that Respondents’ proposed a person of
       ordinary skill in the art would have had either: (1) at least a bachelor’s degree in chemical
       or mechanical engineering, chemistry, biochemistry, or similar science or engineering
       studies with at least one year of post-graduate or industry work experience in filtering
       technologies, or (2) at least five years of industry work experience in filtering technologies.
       (Id. at 8.).
                 The Parties’ definitions have slight differences in the subject areas of the
       bachelor’s degree or the amount of work experience needed. Brita’s definition requires
       experience with liquid filtration systems, while Respondents’ definition describes filtration
       in general, rather than liquid filtration. A combination of the two definitions was adopted
       as capturing the level of skill required of a person of ordinary skill of art, that of a
       combination of education and experience, or many years of experience in the industry.
(Markman Order at 6-7.).



                                                     26



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Markman Order.

VIII. NSF/ANSI 53 STANDARD

          A.     Background

          The purpose of NSF/ANSI 53 was “to establish minimum requirements for materials,

design and construction, and performance of drinking water treatment systems that are designed

to reduce specific health-related contaminants in public or private water supplies.” (CX-

0010.0009.). 22 Among the health-related contaminants are lead. (CX-0010.0080.). The

NSF/ANSI 53 standard in effect at the time of the ’141 patent is the 2007 revision (“NSF/ANSI

53 (2007)” or “NSF/ANSI 53”). 23 (See JX-0022 at 26:22-29.). The 2007 revision was in large

part created to update the existing test for reduction of lead at pH 8.5. (CX-0010.0009, 0080.).

          As Brita noted, lead in drinking water exists in two (2) forms. (CBr. at 7.). Respondents’

expert, Mr. Herman, explained that lead may be dissolved in water, i.e., soluble lead, or it may

be solid particles suspended in water, i.e., colloidal, particulate, or insoluble lead. (Tr. (Herman)

at 1015:16-1016:4, 1017:4-14.). The ’141 patent and the NSF/ANSI 53 standard both define

colloidal/particulate/insoluble lead as OHDGSDUWLFOHVKDYLQJDGLDPHWHURIȝPRUJUHDWHU (JX-

0022 at 10:46-48; CX-0010.0080 n.5; Tr. (Herman) at 1015:23-1016:4.). Within the class of

colloidal/particulate/insoluble lead is a subclass referred to as fine particulate lead or fines. (See




22
     CX-0010 is the NSF/ANSI 53 (2007) standard.
23
  During the Markman proceedings, Respondents argued that “[t]he NSF/ANSI 53 standard has
undergone several major changes since the alleged date of invention in May 2006” and that “[i]t is
improper to have a term that means different things at different times.” (RMBr. at 13 (citation omitted).).
However, the Markman Order rejected Respondents’ argument and clearly articulated that “the standard
incorporated by reference with sufficient particularity at the time the invention was made does not change
with time. In other words, the 2007 NSF/ANSI standard does not change with time.” (Markman Order at
18 (emphasis added).). To be clear, the version of the NSF/ANSI 53 standard that the ’141 patent
incorporated by reference is the 2007 version.



                                                    27



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CX-0010.080.). Fine particulate lead or fines LVGHILQHGDVOHDGSDUWLFOHVEHWZHHQȝPDQG

ȝP (Id. at n.5; Tr. (Herman) at 1206:17-1207:2.). The remainder of the total lead that is not

SDUWLFXODWHOHDGRIȝP or greater, that LVOHDGRIOHVVWKDQȝP, is defined as soluble lead.

(JX-0022 at 10:48-50; Tr. (Rick Nishijima) 24 at 320:18-321:6 (explaining that measuring the

lead after filtering out all particles of ȝPRUJUHDWHUSURYLGHVWKHVROXEOHOHDGYDOXH Tr.

(Herman) at 1148:3-11 (calculating soluble lead by subtracting particulate lead from total lead).).

        The NSF/ANSI 53 standard contains certification tests for lead at both pH 6.5 and pH

8.5. (CX-0010.0080.). As disclosed in the patent, the ’141 patent is primarily concerned with

the testing parameters associated with the pH 8.5. (See, e.g., JX-0022 at cl. 1 (reciting a pH of

8.5), Abstract, 5:48-51, 5:54-60, 12:23-26, 25:46-51.). The NSF/ANSI 53 test for pH 8.5 lead

requires that challenge water, which is the water tested with each filter, to be prepared according

to a specific method and that the resultant water have certain properties, including certain

amounts of lead. (CX-0010.0080, 0083-85.). The challenge water is then passed through the

filter, and the filtered water is analyzed to determine whether the filter sufficiently reduces lead

under the standard. (See, e.g., CBr. at 8.).

        In versions of the standard that pre-date the 2007 version of the NSF/ANSI 53, there was

no express particulate or fine particulate lead requirement for the challenge water. (Tr. (Herman)

at 1016:8-19 (explaining the state of the industry before 2007).). The 2007 revision of

NSF/ANSI 53 established PLQLPXPDPRXQWVRIERWKWRWDOSDUWLFXODWHOHDG LHDERYHȝPLQ



24
  When he testified during the Hearing on August 18, 2022, Mr. Rick Nishijima was an Associate
Research Fellow at The Clorox Company. (CPSt. at 2.). Mr. Nishijima testified that he had been with
The Clorox Company for approximately 26 years and worked in the Brita research and development
division for 24.5 of those years. (Tr. (Nishijima) at 301:20-302:5.). Brita identified Mr. Nishijima as a
fact witness to testify about: (i) the testing conducted related to infringement and the validity of the ’141
patent; and (ii) Brita’s laboratory practices and procedures, including laboratory notebooks. (CPSt. at 2.).



                                                     28



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diameter) and fine SDUWLFXODWHOHDG LHEHWZHHQȝPDQGȝPLQGLDPHWHU  (CX-

0010.0080.). Respondents’ expert, Mr. Herman, was involved in drafting the 2007 revision and

testified during the Hearing that the standards were “really concerned about particulates, so we

have a specification on how much colloidal lead must be there, and then within that a percentage

of it that must be fine.” (Tr. (Herman) at 1017:15-18.).

        The NSF/ANSI 53 (2007) standard required that the challenge water have a nominal

value of 150 ppb (parts per billion) 25 of total lead, and that nominally 30% of that lead be

particulate lead. (CX-0010.0080 at Table 14.). The 2007 standard permitted the particulate lead

to vary by plus or minus 10% from the nominal 30% value, which would allow particulate lead

to be between 30 and 60 ppb. (Id.). The NSF/ANSI 53 (2007) standard also required that at

least 20% of the SDUWLFXODWHOHDGEH³ILQH´SDUWLFXODWHOHDG LHEHWZHHQȝPDQGȝPLQ

diameter). (Id.). Additionally, the NSF/ANSI 53 (2007) standard specified certain other

characteristics for the challenge water, such as pH, temperature, alkalinity, hardness, and

chlorine. (Id. at 0083.).

        B.      The ’141 Patent Does Not Require the NSF/ANSI 53 (2007) Standard

        As an initial matter, neither party argued that the ’141 patent requires the NSF/ANSI 53

(2007) standard. (CRBr. at 6-9; RBr. at 15-20; RRBr. at 3-5.). Indeed, Respondents repeatedly

contended that the ’141 patent is “not coextensive” with the NSF/ANSI 53 (2007) standard and

does not require the NSF/ANSI 53 (2007) challenge water. (RBr. at 15-20; RRBr. at 3-5.).

According to Respondents, “Brita incorrectly argue[d] that the ’141 Patent requires aspects of the

NSF 53 (2007) testing requirement, namely: (1) a narrower total lead for challenge water (135-



25
  2QHSSELVHTXDOWRRQHȝJSHUOLWHU7KXVWKHXQLWV³SSE´DQG³ȝJ/´DUHXVHGLQWHUFKDQJHDEO\ (See,
e.g., CBr. at 8 n.1.).



                                                   29



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          &21),'(17,$/0$7(5,$/20,77('




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required by the NSF/ANSI 53 (2007) standard. Furthermore, the portions of the ’141 patent

specification to which Brita cited disclose amounts shown in Brita’s chart. For example, with

regard to the three (3) lead parameters listed in the Brita’s chart above, the ’141 patent discloses

the following:

       The effluent lead concentration (c) is the amount of total lead (soluble and colloidal)
       remaining in the water after filtration for the last liter of water filtered in the defined
       filter lifetime when the influent (source) challenge water is pH 8.5 water containing
       150±15 ppb of total lead with 30±10% being colloidal lead greater than 0.1 um in
       diameter.

       Preferably, the source water is prepared as defined in the NSF/ANSI 53 protocol
       (2007). Illustrative source water specifications according to the NSF/ANSI 53
       protocol (2007) are as follows:
       135-165 ppb total lead content
       20-RIOHDGLQFROORLGDOIRUPVL]HJUHDWHUWKDQȝP
       JUHDWHUWKDQRIWKHFROORLGDOOHDGPXVWEHLQWKHȝPWRȝPVL]HUDQJH.

(JX-0022 at 25:46-60 (emphases added).).

       The referenced disclosures are consistent with Brita’s representations in its chart, Figure

2, above. That the amounts of total lead recited in claim 1 (90-120 ppb soluble lead + 30-60 ppb

= 120-180 ppb) and particulate/colloidal lead (30-60 ppb) are not identical to the amounts

specified in the ’141 patent and identified in the NSF/ANSI 53 (2007) standard do not supersede

disclosures in the specification that match the standard’s ranges. Similarly, although claim 1

recites a broader standard for the particulate lead size (needing only it to be 0.1 ȝP), as quoted

above, the specification of the ’141 patent discloses a range for particulate/colloidal lead (i.e.,

fine) that aligns squarely with the NSF/ANSI 53 (2007) standard. Thus, while the asserted

claims do not require the NSF/ANSI 53 (2007) standard for each of these parameters, the ’141

patent clearly contemplates the inclusion of the relevant aspects of the NSF/ANSI 53 (2007)

standard with respect to the lead levels in the challenge water.




                                                   31



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IX.    TESTING PROTOCOLS AND TESTED PRODUCTS

       A.      Brita’s Accused Product Testing

       Brita’s fact witness, Mr. Nishijima, oversaw the testing conducted in this Investigation to

determine the volume, lead effluent concentration, and average filtration unit time of each

Accused and DI Product. (Tr. (Nishijima) at 302:25-303:9, 304:17-306:18.). Mr. Nishijima

testified that the testing protocols Brita employed were based on industry standards and had been

developed and validated over many years. (Id. at 302:3-24, 309:19-310:5.). He also confirmed

that he reviewed the guidance disclosed in the ’141 patent to ensure Brita’s testing protocols

complied with the ’141 patent requirements. (Id. at 307:3-308:1.). As shown in the evidence

that Brita provided, Mr. Nishijima and his colleagues documented their testing and results in,

inter alia, photographs, videos, lab notebooks, laboratory procedures, and all collected

measurements. (See, e.g., CX-0121C (pouring protocol); CX-0910C (volume measurement

method and data); CX-0911C (flow rate measurements); CX-0912C (lead effluent concentration

measurements); RX-0432C (challenge water preparation method).).

       Brita’s expert, Dr. Rockstraw, also reviewed all the testing and documentation from

Brita’s testing and found no basis to conclude that the materials upon which Brita relied were

inaccurate or unreliable. (See, e.g., Tr. (Rockstraw) at 466:5-467:4, 477:3-20, 506:12-24.).

During the Hearing, Dr. Rockstraw explained how the testing demonstrated that: (i) each

Accused Product infringed the asserted claims; and (ii) each DI Product practiced the domestic

industry claims. (See id. at 458:16-517:5.).

       Respondents contended that Brita did not follow the NSF/ANSI 53 (2007) standard in

Brita’s testing of the Accused and DI Products. (RRBr. at 5.). However, much of Respondents’

cross-examination of Mr. Nishijima focused on what appeared to be minor differences between




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Brita’s test procedures and an NSF/ANSI 53 certification test and/or isolated and inadvertent

errors in collecting and recording data. (See generally Tr. (Nishijima) at 331:10-413:6, 420:18-

424:20.). As Brita noted, absent from the record is any evidence that the testing Brita conducted

did not comply with the requirements of the ’141 patent or otherwise produced inaccurate or

unreliable results. (CBr. at 21.).

       For the reasons discussed below, Brita presented compelling evidence that its testing is

accurate and reliable.

               1.        Volume Testing

       Based on Mr. Nishijima’s lab notebook (CX-0910C), Brita described the testing

procedures for measuring volume as follows:

       To measure the volume of the filter media, the filter’s housing was cut open, the
       filter media was removed from the filter, and filter media was placed it into a
       graduated cylinder for measurement. CX-0910C.0002, 0004. The exact method
       varied slightly depending on the form of the filter material.

       For mixed media filter media, the media was transferred into a graduated cylinder
       using a funnel. Water was used to flush any remaining media into the graduated
       cylinder. Id. at 0002. The flushing water was drained from the graduated cylinder,
       and fresh water was added until the water level just reached the top of the filter
       media. Id. The graduated cylinder was then vibrated to remove any air bubbles
       from within the media. Id. After the air was removed, a glass plunger was gently
       placed on top of the filter media to ensure no air was present in the upper portion
       of the media. Id. The volume was then read off the graduated cylinder. Id.

       For irregular shaped media, such as the pleated non-woven media in the Accused
       PUR Plus Products and the DI Products, Brita removed the media from the housing
       and removed as much glue and plastic as possible. CX-0910C.0004. The pleated
       media was then soaked in water for 30 minutes before being removed and excess
       water being pressed out. Id. The media was then placed in a graduated cylinder
       filled with a known amount of water. The media would be agitated to remove any
       air bubbles and the difference in volume after the media was added would be
       measured. Id. The volume of the pleated media would be the difference in the
       water level before and after the media was added. This method was also used for
       other irregular-shaped (i.e., non-granular) filter media such as the membrane filter
       and activated carbon/ion exchange resin “puck” of the Accused LifeStraw Home
       Filter. Id. at 0001. In the case of the membrane filter, it was measured with both



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           the membranes and the plastic housing that holds the membranes. Id. The plastic
           housing was then removed and measured separately and this volume was subtracted
           from the previous measurement to determine the volume of the membrane filter
           media. Id.

(CBr. at 22-23.).

           Brita stated that these methods were used to measure the filter media volume of each

Accused and DI Product. (Id. at 23.). Brita also provided the following chart, Chart No. 8, that

summarizes the results reported in Mr. Nishijima’s lab notebook.

                                Chart No. 8: Results of Volume Testing26




(CBr. at 23 (emphases in original).).

                   2.      Challenge Water Preparation

           Brita described the process of preparing challenge water, 27 in order to determine the lead


26
     One mL is equal to one cubic centimeter. (See, e.g., CBr. at 23.).
27
     See also Tr. (Nishijima) at 304:25-305:23.

           Q. So let’s break that down. For the first one you mentioned you did testing with pH 8.5
           lead challenge water. Did I get that right?

           A. Yes, that’s correct.



                                                       34



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effluent concentration and average filtration unit time required to ascertain the FRAP factor, as

follows:

       To determine the lead effluent concentration and average filtration unit time
       required to determine the FRAP factor, challenge water was poured through a given
       filter. Hearing Tr. at 312:16-313:4, 317:4-19 (Nishijima). Challenge water is water
       having certain specified properties. Id. at 304:17-305:23 (Nishijima). For the ’141
       patent, the challenge water must have a pH of 8.5 and certain levels of soluble and
       particulate lead. JX-0022.0047, Claim 1. Each batch of challenge water should be
       substantially the same to permit consistent and accurate testing of different filters.

       In the case of pH 8.5 lead testing, the exact lead concentration parameters of the
       challenge water can have substantial impacts on the testing results and consistency.
       See Hearing Tr. at 1016:13-19 (Herman). Thus, having a well-defined method and
       consistent laboratory practices are crucial for preparing consistent and
       representative challenge water. See RX-1654 at NSF00000627 (NSF memorandum
       explaining that the challenge water preparation method “was complex and required
       strict adherence,” and “the sensitivity of the method required additional levels of
       detail and monitoring to ensure each test met the requirements throughout the entire
       test”).

       Because Brita has decades of experience designing and testing water filters,
       including for lead removal, Brita’s internal laboratory has decades of experience
       preparing challenge water for lead pH 8.5 testing. Hearing Tr. at 309:19-310:5
       (Nishijima). In fact, Brita’s laboratory was one of several that were selected by
       NSF to prepare sample batches of challenge water as part of the development of the
       NSF/ANSI 53 (2007) standard. Id. at 328:12-329:1 (Nishijima).

       Thus, before this Investigation, Brita had already developed an internal standard
       operating procedure (SOP) for preparing pH 8.5 lead challenge water. Id. at
       305:24-306:9 (Nishijima). This SOP was developed based on the NSF/ANSI 53


       Q. Could you provide a very brief summary of what that test involves?

       A. Yeah. It’s a test where you take reverse osmosis deionized water, you add some typical
       minerals that are found in tap water, like calcium, magnesium, and other things that add
       alkalinity, and then once you have that base water characteristic made up, you also adjust
       the pH to that 8.5 range. Once you have those base water characteristics made up, you will
       add the lead solutions. You first add an insoluble -- sorry -- a soluble lead solution, and
       then you let that equilibrate for a while, and then you add an insoluble lead stock solution
       and let that mix, and then you check the tank for parameters.

       Q. Thank you, Mr. Nishijima. I would actually like to go a level up. When we talk about
       using pH 8.5 lead challenge water, what are we using that water to do?

       A. That water is used to check the filter performance for lead reduction.


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       standard and Brita’s decades of learnings from performing this type of testing. Id.
       at 306:10-14 (Nishijima). And the challenge water used to test the Accused and DI
       Products was based on this Brita SOP. Id. at 312:8-15 (Nishijima).

(CBr. at 23-24.).

       Mr. Nishijima testified that he compared Brita’s SOP to the requirements and teachings

of the ’141 patent and concluded that the specifications and requirements were similar. (Tr.

(Nishijima) at 306:10-308:1.). He explained that the ’141 patent’s requirements and those of

Brita’s standards were similar because both were based on the NSF/ANSI 53 standard. (Id. at

306:10-14.). Thus, Mr. Nishijima testified that the challenge water created using Brita’s SOP

met the challenge water requirements disclosed in the ’141 patent. (Id. at 307:15-308:1.).

       Additionally, Mr. Nishijima confirmed that the base challenge water parameters (e.g.,

hardness and alkalinity) of Brita’s SOP complied with the NSF/ANSI 53 standard. (Id. at 335:8-

19.). Brita’s SOP is summarized in RX-0432C, which describes the process for creating

challenge water for the FRAP testing in this Investigation. (See RX-0432C.). Each tank of

challenge water Brita prepared included an accompanying “bench sheet” that contained the

specifications for the water and a field where technicians recorded measurements of the

parameters to ensure the water was within those specifications. (CX-0194C; Tr. (Nishijima) at

310:9-311:3.).

       Brita provided the following chart, Chart No. 9, that compares relevant portions of the

challenge water specifications from Brita’s SOP, the ’141 patent, and the NSF/ANSI 53 (2007)

standard.




                                               36



                                           Appx113
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         &21),'(17,$/0$7(5,$/20,77('




                         Appx114
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specifications in the NSF/ANSI 53 (2007) standard and the ’141 patent or sets a narrower and

more stringent target within the range allowed by the NSF/ANSI 53 (2007) standard and the ’141

patent requirements. (Id. at 26.).

       Mr. Nishijima explained that each tank of challenge water took approximately

      to prepare. (Tr. (Nishijima) at 309:15-18.). Additionally, Mr. Herman testified that the

lead levels within a tank of challenge water are prone to change over time as some particulate

lead dissolves or as soluble lead precipitates into particulate lead. (Tr. (Herman) at 1103:10-

1104:20.). Thus, Brita provided evidence that it discarded any remaining challenge water and

prepared a new batch at least every                 . (RX-0432C at BRITALP-0033014-15

(scheduling the preparation of a new tank of challenge water on the            day (Thursday)).).

       Mr. Nishijima summarized the process used to prepare the challenge water at Brita. He

explained that:

(Tr. (Nishijima) at 305:6-7, 308:6-8);

                                     (id. at 305:7-10, 308:8-10; CX-0194C.0001);

                                                                                        (Tr.

(Nishijima) at 305:12-14; 308:11-13; CX-0194.0001);

                                                       (Tr. (Nishijima) at 305:14-17); and



                          (id. at 305:16-17, 308:19-24). He explained that if the challenge water

tank was outside claim 1’s requirements for soluble and colloidal lead, it would either be

corrected, or if that was not possible, discarded. (Id. at 311:11-20.). Otherwise, it would then be

put into service and used for testing the filters. (Id. at 312:16-23.).




                                                  38



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(via the “total” measuUHPHQWV DQGVROXEOHOHDG YLDWKH³ȝP´PHDVXUHPHQWV  7U

(Nishijima) at 320:11-321:6; CX-0921C (lead measurements).). He testified that from these

measurements, the total particulate lead and fine particulate lead could be calculated. (Tr.

(Nishijima) at 320:18-24 (“Q. Okay. And just -- I think it would be helpful for Her Honor to

see, so that gets the total lead that went in. If we want to know the fraction of lead that is

insoluble in this particular pour, how would we do the math? A. So you would subtract the 0.1

micron value from the total value.”), 28 320:25-321:12.).

        As indicated in the NSF/ANSI 53 (2007) standard, fine particulate lead is lead between

ȝPDQGȝP &;-0010.0080 n.5; see also Tr. (Herman) at 1206:17-1207:2.). Mr.

Nishijima explained that the fine particulate lead can be determined by subtracting the soluble

OHDG LGHQWLILHGDV,QIOXHQWȝPPHDVXUHPHQWVLQ&;-0912C) from the soluble and particulate

OHDGVPDOOHUWKDQȝP LGHQWLILHGDV,QIOXHQWȝPPHDVXUHPHnts in CX-0912C). (Tr.

(Nishijima) at 347:11-349:1; see also RDX-0013C.0008 (explaining the calculation of fine

SDUWLFXODWHOHDG  $V%ULWDSRLQWHGRXWEHFDXVHVROXEOHOHDGLVOHDGWKDWLVOHVVWKDQȝPWKLV

subtraction provides the amount of lead EHWZHHQȝPDQGȝPZKLFKLVGHILQHGDV³>ILQH@

particulate lead.” (CBr. at 29; CX-0010.0080 n.5.). Mr. Nishijima testified that the percentage

of fine particulate lead can then be calculated by dividing the fine particulate lead concentration

by the total particulate lead concentration. (Tr. (Nishijima) at 348:18-23; see also RDX-

0013C.0008).). Brita provided a summary of the lead concentration data recorded in CX-0912C,

including the total lead concentration for the effluent samples and the total lead, soluble lead,

total particulate lead, fine particulate. (See CBr. at App. A.).




28
  In other wordsWRWDOSDUWLFXODWHOHDGLVFDOFXODWHGE\VXEWUDFWLQJWKHȝPPHDVXUHPHQt (which
corresponds to soluble lead) from the total lead measurement.


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        The data in CX-0912C and Appendix A demonstrates that each sample point Brita relied

upon met Brita’s SOP for total lead and total particulate lead. (CX-012C; CBr. at App. A.).

Additionally, every sample point was within claim 1’s limitations of 90-120 ppb soluble lead and

30-60 ppb particulate lead. (CX-0912C; CBr. at App. A.).

                4.      Average Filtration Unit Time Measurements

        Brita tested the average filtration unit time for the Accused and DI Products. The ’141

patent defines this parameter (also referred to as flow rate) as “the time it takes to filter one liter

of water averaged over all filtered liters in the defined filter lifetime.” (JX-0022 at 25:41-43.).

According to Brita, it conducted this testing during the challenge water testing, which is

described above in Section IX(A)(2) and Brita’s SOP (CX-0121C). (CBr. at 30.). Brita

described the testing process as follows:

        Technicians would add a liter of water to the reservoir of a filter system and start a
        timer. Id. at 313:5-12 (Nishijima). The timer would run until the last of the liter of
        water entered into the filter. Id. at 313:5-12 (Nishijima). The technicians recorded
        these times for every liter in the filter’s lifetime (approximately 76 L for ZeroWater,
        152 L for PUR Plus and LifeStraw Home, and 455 L for the DI Products). These
        recorded times are provided at CX-0911C. Hearing Tr. at 313:19-315:4
        (Nishijima).

        Once the time it took to filter each liter in the filter’s lifetime had been measured,
        Dr. Rockstraw summed the measurements and then divided the sum by the number
        of filter liters to return an average filtration unit time. Id. at 475:13-19 (Rockstraw).

(CBr. at 29-30.).

        Brita noted that while it attempted to measure the time to filter every liter of water, a

small number of such measurements were “missed.” (CBr. at 30 (citing Tr. (Nishijima) at 316:2-

14).). Mr. Nishijima explained that in these cases, the measurement was omitted and notated on

CX-0911C as “missed.”

        Q. . . . Do you see the entry where there’s text written, Mr. Nishijima?

        A. Yes.


                                                   41



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          Q. And what does that say?

          A. That says “missed.”

          Q. And what does that mean?

          A. So as we’re doing these timings, there may be a time where we have not caught
          the time frame of when the last bit of water entered the filter. So we’re being
          transparent and just said that we missed that flow time.

(Tr. (Nishijima) at 316:2-11; see also CX-0911C.).

          Mr. Nishijima also pointed out that in a limited number of instances, the technician did

not empty the previously filtered liter of water (which would be sitting in the reservoir below the

filter) before adding the next liter. (Tr. (Nishijima) at 415:8-22.). He explained that Brita’s

practice was to discard the flow rate measurement for that liter of water. (Id. at 415:23-416:5.).

He confirmed that instances where this occurred were notated on CX-0911C as “2-fills” or

“Double.” (Id.; see, e.g., CX-0911C.0005.).

          Additionally, Dr. Rockstraw noted one instance where there was a timing error. (Tr.

(Rockstraw) at 587:2-14.). He confirmed that this was notated on CX-0911C as “timer error.”

(Id.; CX-0911C.0001.).

          Brita provided the following chart, Chart No. 10, summarizing the number of liters that

Brita was able to measure (i.e., where there was not a “missed,” “2-fill/Double,” or “timer”

error):




                                                  42



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          Chart No. 10: Summary of Average Filtration Unit Time Measurements
                           for the Accused and DI Products




(CBr. at 31 (emphases in original).).

       In addition, Brita stated that there were a limited number of instances where a filter

would cease to pass water through or it would pass water at an extremely slow rate. (CBr. at

32.). Mr. Nishijima testified that in these instances, Brita’s technicians would lift the pitcher and

tap it on the tabletop to dislodge air bubbles and permit the filter to resume passing water at a

normal flow rate. (Tr. (Nishijima) at 315:6-24.). He confirmed that instances where the filter

was tapped were notated on CX-0911C with an asterisk. (Id.; CX-0911C.0002.).

       During the Hearing, Respondents appeared to suggest that Brita’s testing was unreliable

because a small number of liters were not measured. (See, e.g., Tr. (Nishijima) at 374:20-

375:23.). However, Respondents did not offer expert rebuttal opinions to support their

argument. (RPBr. at 35 (noting that Brita “skipped” data points for f but generally describing

them as a “deficiency”); RRBr. at 10 (noting “missed” measurements).).

       Additionally, Dr. Rockstraw testified that he reviewed Mr. Nishijima’s flow rate data and

was satisfied that measuring 95% of all filtered liters resulted in a statistically significant sample,

and that the missed liters did not prevent him from calculating an accurate average filtration unit

time for the Accused and DI Products. (Tr. (Rockstraw) at 477:3-20, 492:2-15, 506:8-24,


                                                  43



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                              &21),'(17,$/0$7(5,$/20,77('
512:18-24.).

          As indicated in Brita’s SOP, Brita’s standard testing procedure for passing water through

the filters called for passing             per day. (CX-0121C.0001.). On this issue, during the

Hearing, Respondents seemed to imply that Brita’s testing was unreliable based on two instances

where 13 liters were passed through rather than                    . (Tr. (Nishijima) at 373:11-374:17.).

However, because this argument was not raised in Respondents’ Pre-Hearing Brief, Respondents

abandoned or withdrew any argument on this issue under Ground Rule 7.2. (See generally

RPBr. at 29-42.). 29 Moreover, as Brita pointed out, neither filter that had more than

passed through in one day is accused in this Investigation. (Tr. (Nishijima) at 373:11-374:17

(discussing PUR Standard and Aqua Crest LongLast replacement filters).). In other words,

Brita’s testing followed its SOP. Respondents’ arguments about Brita’s testing deficiencies were

largely makeweight.

          B.       Respondents’ Prior Art Product Testing

          In order to demonstrate that the PUR 1-Stage, Brita Legacy Granular, and Dupont WF-

PTC 100 prior art filters practice the claims of the ’141 patent, Respondents’ expert, Mr.

Herman, engaged two (2) testing facilities to perform lead reduction testing on multiple samples

of these three prior art filters. (Tr. (Herman) at 1011:22-1012:15, 1053:4-1054:1, 1059:20-

1060:17; RDX-0007C.0029 (showing testing performed at Helen of Troy and Quality Filter

Testing).).

          Mr. Herman testified that one set of testing was conducted at Quality Filter Testing




29
     This argument was raised for the first time in Respondents’ Post-Hearing Brief. (See RBr. at 69 n.10).).



                                                      44



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(“QFT”), which he described as being an IAPMO 30 certified lab who conducts filter testing and

specifically, performs lead pH 8.5 tests. (Tr. (Herman) at 1053:4-1054:1, 1059:20-1060:17;

RDX-0007C.0029.). Messrs. Herman and Michael Mitchell 31 both confirmed that QFT was not

informed about this Investigation or the goal of the testing. (Tr. (Herman) at 1053:15-1054:1;

Tr. (Mitchell) at 782:18-783:4 (going to the issue of potential bias.). Mr. Herman testified that

the other testing was performed at Helen of Troy’s laboratory (“Helen of Troy”) by Mr. Mitchell

and staff. (Tr. (Herman) at 1053:4-1054:1, 1059:20-1060:17; RDX-0007C.0029.).

       During the Hearing, Mr. Herman and Mr. Mitchell provided descriptions of the testing

conducted at Helen of Troy and QFT. (Tr. (Herman) at 1053:4-1061:22; Tr. (Mitchell) at

772:11-780:23.). 32 Mr. Herman provided the following overview of the testing protocol:

       Q. Give a brief overview as to how both Helen of Troy labs and Quality Filter
       Testing labs tested the prior art filters for flow rate and effluent lead for the FRAP
       equation.

       A. . . . [E]ssentially, they would prepare the influent challenge in a carbol large
       enough to be able to feed their tests that they were going to do that day. They were
       prepared according to the procedures that we had outlined, performed tests on it to
       make sure it was meeting specification.

       They would pour that influent in 1 liter allotments into the upper receiving trays of
       the filter apparatus. It would pass through the filter, and then they would collect
       the effluents, measure, verify that they had the correct amounts.

       And then also at sample points they would be sampling the effluent to determine
       whether or not -- or actually measure the amount of lead in the effluent.

       For the actual filter rate testing at each one of those sample points, they would put

30
  IAPMO is an acronym for International Association of Plumbing and Mechanical Officials. (Tr.
(Herman) at 1053:19-23.).
31
  At the time of his deposition on May 11, 2022, Mr. Michael Mitchell was Director of Advanced
Technologies at Respondent Helen of Troy. (RPSt. at 5; CX-0696C (Mitchell Dep. Tr.) at 12:10-13:3.).
32
  The underlying results from the testing at Helen of Troy can be found at RX-0709C, RX-0710C, and
RX-0986C. The underlying results from the testing at QFT can be found at RX-0684C through RX-
0707C.


                                                 45



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       1 liter into the vessel and start a stopwatch. And then when the vessel had emptied,
       they would stop the stopwatch, and that would be their time for treatment for 1 liter.

(Tr. (Herman) at 1059:20-1060:17; see also RX-0986; RX-0684.).

       Similarly, Mr. Mitchell explained that the testing was conducted as follows:

       Q. Okay. Can I ask you to give a 30,000 foot overview? I realize there’s a lot
       more steps involved --

       A. Yeah.

       Q. -- how you tested prior art filters?

       A. Yeah, absolutely. So it starts in the morning. So the engineers and the
       technicians, we make the tank of water towards that -- to that SOP that earlier was
       based on that ’141 claim.

       And so they add the right salts, the add the lead, they do the stirring. They take a
       sample and they run it through the ICPOES. If it meets the requirement of that first
       claim, then we start testing one liter at a time through those filters. If it doesn’t,
       they basically either dilute that tank or they add more lead to that tank. They retest
       it, make sure it’s in spec, and then they start doing the testing through the filter.

       Q. Thank you, Mr. Mitchell. You talk about the lead challenge water. How often
       did you test that lead challenge water?

       A. So, again, we wanted to make sure that it was right before we used it. So every
       day the influent concentration gets tested. We make sure it’s in spec before it’s
       used. So it is tested every day.

       Q. And --

       A. It was tested every day.

       Q. Thank you, Mr. Mitchell. How often did you test the effluent lead through these
       filters?

       A. That was five times during the test and then once at the end.

       Q. Was that five times after certain volumes were run through?

       A. Yep.

       Q. And how much challenge water, if you will, were added the day to these filters?

       A. Typically around two gallons per day we ran.



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(Tr. (Mitchell) at 772:15-773:24; see also RX-0709C; RX-0710C.).

       Brita asserted that Respondents’ “litigation-generated protocol” was not a standard

protocol for pH 8.5 lead challenge water. (CRBr. at 11-12 (citing Tr. (Mitchell) at 788:10-

790:5).).

       As an initial matter, Mr. Mitchell confirmed that the protocol Respondents used was

created for purposes of this Investigation.

       Q. Is that a standard operating procedure for anytime you do a lead challenge at
       Helen of Troy or just when you’re doing it for purposes of the ’141 patent?

       A. This procedure was put together for the ’141.

       Q. Okay. So this isn’t the tank water specification that you use normally for
       challenging with pH 8.5 lead, right?

       A. No.

(Tr. (Mitchell) at 789:8-15.).

       Moreover, Mr. Herman testified that he did not know who selected the parameters used in

the protocol or why certain parameters were chosen. (Tr. (Herman) at 1168:17-21 (“Q. And you

don’t know why it was chosen, do you? A. Specifically what was the exact thought process, no,

I don’t. Q. And you don’t know who chose it, do you? A. No.”).).

       As Brita noted, rather than follow what a person of skill in the art would do, that is to

look to the guidance provided in the specification of the ’141 patent and industry standards for

making reliable, stable challenge water, Respondents tested water filters with challenge water

that did not include fine particulate lead, which Mr. Herman confirmed would result in “extreme

variability.” (CRBr. at 11 (citing Tr. (Herman) at 1204:11-1208:12).). He defended the decision

to leave out fine particulate lead on the basis that the claims of the ’141 patent do not require a

strict application of all parameters of the NSF/ANSI 53 (2007) protocol.

       Q. Okay. And even though you knew that, by leaving out specifications for fine


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       particulate, it could lead to extreme variability in the tests, you didn’t include that
       in your challenge water specifications for this investigation, right?

       A. Right, because I was trying to reflect what was in the ’141 patent, and, from my
       point of view, that means if it ends up having a wide variation because of fines,
       that’s inherent within the patent specification.

       Q. So you didn’t -- when you read the ’141 patent, you didn’t see it telling you to
       control for fine particulates in the challenge water for claim 1; is that your
       testimony?

       A. Yes, it doesn’t indicate that you have to control fines.

(Tr. (Herman) at 1204:11-25; see also id. at 1202:5-11.).

       The problem with Mr. Herman’s challenge water is demonstrated by the variability of his

test results. For example, the results for PUR 1-Stage filters are shown below in Figure No. 3.

                      Figure No. 3: PUR 1-Stage Effluent Lead Results




                                                 48



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(CDX-0017C.0006 (PUR 1-Stage graph) (citing RX-0985.0015, 0019, 0020, 0025), 0010 (PUR
1-Stage data table) (citing RX-0985.0015, 0019).).

       As shown above in Figure No. 3, Sample 5A reported effluent lead concentrations

between 1 ppb and 83.4 ppb within the first 40 gallons. (CDX-0017C.0010; RX-0985.0015.).

As Brita pointed out, that is approximately an 8,300% difference in lead concentrations for the

same filter during the same test. (CRBr. at 12.). Additionally, of the four different filters tested,

only two of the filters (5A and 5B) had similar results. (CDX-0017C.0006.). Despite having

followed the same protocol, the other two (IT1371 and 7A) resulted in noticeably different

results at almost every sample point. (Id.).

       During his cross-examination, Mr. Herman acknowledged that he followed all the other

requirements for making challenge water under NSF/ANSI 53 (2007), but he chose not to follow

the requirements for fine particulate lead.

       Q. Okay. Now does the protocol that you had – I’m sorry. I say you followed, but
       you know when I say you followed, I mean the people working under your
       direction. That protocol had specifications for alkalinity, right?

       A. Yes, it has specifications and ranges for alkalinity.



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Q. And claim 1 of the ’141 patent doesn’t have any specifications or requirements
for alkalinity, correct?

A. Nope.

Q. And you also included specifications for hardness, correct?

A. Mm-hmm, yes, I did.

Q. And you agree with me, claim 1 does not recite a requirement for the hardness
of the challenge water, correct?

A. No, it does not.

                                       ***

Q. And you would agree that you set specifications for the challenge water for its
temperature, correct?

A. Yes, I did.

Q. And those – there’s no requirement in claim 1 as to the temperature of the
challenge water, right?

A. No, there is not.

Q. Okay. You also provided for adding a certain amount of calcium chloride to
ensure you had the right amount of chlorine in the testing water, correct?

A. Actually, that wouldn’t be calcium chloride. That’s for hardness. For chlorine,
we would [sic] actually had sodium hypochlorite.

                                       ***

Q. And you did -- for each of those parameters that we just talked through --
alkalinity, hardness, temperature, chlorine -- none were in the ’141 patent, but you
knew to include them because that’s how you make challenge water under the
industry standard, right?

A. That’s -- if you want to make particulate, you’re going to have to have those
constituents; otherwise, you won’t make particulate.

                                       ***

Q. Your specifications were consistent with the NSF specification for NSF 53
2007, correct?

A. I believe the ranges overlapped.



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       Q. Okay. And you followed the temperature range for NSF 53 2007, right?

       A. Yeah. That’s normal.

       Q. And you followed the constituent components for the challenge water, including
       calcium chloride dihydrate, magnesium sulfate, sodium bicarbonate, sodium
       hydroxide, you followed all those, correct?

       A. Yeah, the chemical constituents of the test water were followed so that we could
       make particulate lead.

       Q. And the one thing you did not follow, the one thing you said would lead to
       extreme variability in the challenge water, was the guidelines on fine lead
       particulates, correct?

       A. That fine particulates was not included in the specification because we did not
       see it as a requirement to perform FRAP testing under the ’141 patent.

       Q. You didn’t think it was important to have challenge water that did not have
       extreme variability in it.

       A. I thought it was important to demonstrate the inherent variability of the ’141
       patent by not having a specific specification requirement for fine particulate lead.

(Tr. (Herman) at 1202:12-1203:4, 1203:8-19, 1204:10, 1207:19-1208:18 (emphases added); see
also CDX-0017C.0021).).

       As reflected in his testimony above, Mr. Herman provided two (2) main reasons for

deciding to exclude controls for fine particulate lead: (i) he believed that there was no such

requirement in the ’141 patent; and (ii) he thought “it was important to demonstrate the inherent

variability of the ’141 patent.” (Id.). Neither reason adequately justifies the exclusion,

especially in light of his earlier testimony about the NSF/ANSI 53 standard (2007) and the

importance of fine particulate lead in pH 8.5 challenge water in order to control particulate

formation and avoid variability.

       Q. Now with respect to fine particulate, the standard is under NSF 2007 -- sorry --
       NSF 53 2007, that you want to have at least 20 percent of your particulate is
       between .1 and 1.2 microns. Do I have that right?

       A. Yes. Yes, that is a minimum specification.

       Q. And in your view that’s a critical part of the NSF 53 2007 pH 8.5 challenge

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       water specification, correct?

       A. Yes, because when you actually are obtaining at least 20 percent, then you’re
       controlling the particulate formation and any agglomeration of particulates
       within the test water.

       Q. And if you are not properly controlling for fine particulate, you can have
       extreme variability in pH 8.5 lead challenge water, do you agree with that?

       A. Sure. If you just throw it together and don’t control fines, then, yes, you could
       have significant variance.

(Id. at 1201:12-1202:4 (emphases added).).

       Thus, Mr. Herman’s inconsistent testimonies severely undermine the credibility of his

decision to not control the fine particulates in Respondents’ testing.

       Moreover, Mr. Herman and Respondents’ defense of their testing based on the absence of

an explicit requirement in claim 1 for fine particulate lead is not compelling. The specification

of the ’141 patent discloses that “[p]referably, the source water is prepared as defined in the

NSF/ASNI 53 protocol (2007)” and that “greater than 20% of the colloidal lead must be in the

ȝPWRȝPVL]HUDQJH´ -;-0022 at 25:53-60 (emphasis added).).

       Given this disclosure and other teachings in the specification, one of ordinary skill would

follow NSF/ANSI 53 (2007)—and certainly not disregard it—when preparing challenge water in

accordance with claim 1. (See JX-0022 at 23:26-32, 25:46-26:5, 26:22-29; see also Markman

Order at 27 (noting that “as the ’141 patent explains and a skilled artisan would readily

understand, the flow rate being measured is the flow rate of water during lead reduction testing

pursuant to NSF/ANSI 53”).). See also Phillips v. AWH Corp., 415 F.3d 1303, 1315 (Fed. Cir.

2005) (“The claims . . . do not stand alone. Rather, they are part of ‘a fully integrated written

instrument,’ consisting principally of a specification that concludes with the claims. For that

reason, claims ‘must be read in view of the specification, of which they are a part.’”).). Mr.

Herman was aware of these teachings but acknowledged that he “didn’t test according to the


                                                 52



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specifications requiring Standard 53, which would include fine particulate.” (Tr. (Herman) at

1209:18-21.).

        Thus, although claim 1 does not expressly require a certain level of fine particulate lead,

one of ordinary skill reading the claim in the context of the specification would understand that

fine particulate lead should be included as part of a reliable and accurate pH 8.5 lead challenge

water testing protocol. As Mr. Herman explained, using challenge water that does not control

fine particulate lead could produce highly variable results. (Id. at 1201:24-1202:4.). However,

he chose not to control fine particulates because he wanted to “demonstrate the inherent

variability of the ’141 patent.” (Id. at 1208:13-18.). Accordingly, Respondents’ testing (which

is an integral part of their arguments about invalidity and non-infringement) has been given little,

if any, weight. (Id. at 1201:24-1202:4, 1204:11-19, 1209:22-1211:8 (Mr. Herman

acknowledging that the protocol caused, and was to some extent, designed to cause, “extreme

variability”).).

        Respondents also contended that their testing was acceptable given Brita’s own lack of

controlling the fine particulate content in its test water. (RBr. at 66.). This allegation is

contradicted by the evidence. Brita included a specification for fine particulate lead in its testing

protocol, and it measured and reported information sufficient to determine fine particulate lead

for every sample of challenge water. (RX-0432C at BRITALP-0033015 (Brita’s updated 8.5 Pb

Test); CX-0912C (Brita’s report of lead concentration measurements); 33 see also CBr. at 28-30.).


33
  According to Brita, CX-0912C consists of data exported as kept by an inductively coupled plasma mass
spectrometer (“ICP-MS”). (CBr. at 28; id. at 28 n.5.). Mr. Nishijima explained that this instrument was
used because, at the time, it was more accurate than other alternatives and because the NSF/ANSI 53
(2007) standard required it for measurements of effluent. (Tr. (Nishijima) at 318:3-7; CX-0010.0080
(requiring USEPA Method 200.8 or 200.9 for effluent measurements).). The influent and effluent
measurements, as well as the calibration measurements for the ICP-MS instrument, were exported from
the machine and reported in CX-0912C. (Tr. (Nishijima) at 318:8-17.).



                                                  53



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This is also confirmed by Mr. Nishijima’s cross-examination testimony.

        Q. Because you did not follow NSF 53 2007 protocol for your testing water or your
        testing effluents, did you.

        A. We followed it for the water makeup, yes.

        Q. Hold on, Mr. Nishijima. You’re telling me that you also followed it for the
        fines as well?

        A. We followed the recipe, that’s what I meant to say, we followed the recipe for
        the water makeup of the water.

(Tr. (Nishijima) at 421:24-422:6 (emphases added).).

        Respondents, on the other hand, neither controlled fine particulate lead in their testing

protocol, nor measured it in their testing results. (See RX-0985.0023-25 (failing to report

particulate lead by size).).

        As a result, the “extreme variation” that appears in Respondents’ testing is not present in

Brita’s testing. (Compare RX-0985.0013-20 (reporting lead effluent values for Brita Legacy

between 1 and 62 ppb, for DuPont between 1 and 41.5 ppb, and for PUR 1-Stage between 1 and

83 ppb) with CBr., App. A at 1-2 (effluent lead values between 1 and 10 ppb for the PUR Plus

Filter, 0.003 to 0.139 ppb for the ZeroWater Filter, and 0.09 to 0.27 ppb for the LifeStraw Home

Filter); see also CDX-0017C.0006-14 (demonstrating extreme variation in Respondents’ data).).

        Respondents pointed to a single data point in Brita’s infringement testing where fine

particulate levels dropped below the nominal amount. (RBr. at 67.). They asserted that this drop




The data contained in CX-0912C includes several columns beginning with the numbers 206, 207, 208,
103, and 209. (See CBr. at 28 n.5.). Brita submitted that for the purposes of this Investigation, the
column that contains the relevant lead concentration measurements is the “Conc. [ppb]” column located
under the “208 Pb [Nogas]” heading. (Id. (citing Tr. (Nishijima) at 319:5-9.).). Brita also stated that the
“Sample name” column identifies the sample being analyzed and the date on which it was analyzed; and
the rows having an entry in the “Type” column other than “Sample” are related to the calibration of the
ICP-MS instrument to ensure accuracy. (Id.).


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in fine particulates corresponded with a similar drop in effluent lead. (Id.). Respondents are

incorrect. Respondents argued that the effluent lead was four times higher at the 25% sample

versus the 100% sample corresponding to a lower level of fine particulate lead at the 100%

sample. (RBr. at 67.). However, as is reflected in Appendix A of Brita’s Post-Hearing Brief, the

effluent lead level does not so correlate to the fine particulate level in Brita’s testing. (See CBr.

at App. A.). The effluent lead at the 1%, 50%, and 75% samples was well below 10.7 ppb at the

25% sample despite fine particulate being higher at those samples than at the 25% sample point

(approximately 50% v. 36%). (Id. at 1 (citing CX-0912C.0001, 0004-0007).).

       Additionally, Respondents’ protocol called for a total lead value of 120-140 ppb. (RX-

0986C.0015.). As Brita pointed out, Respondents targeted the bottom 25% of the range of total

lead allowed by the ’141 patent and prescribed by the NSF/ANSI 53 Standard. (JX-0022 at cl. 1;

CX-0010.0080.). When Mr. Herman was asked if this targeting of the low end of the allowable

lead range was done because putting less lead into a filter (via challenge water with lower

amounts of lead) would result in less lead measured in the water exiting the filter, he replied that

this was a “reasonable assumption.” (Tr. (Herman) at 1168:22-1169:2.).

       Mr. Nishijima explained that the common practice of those in the industry—and the

practice Brita employed—is to target approximately that nominal value, which sits in the middle

of the allowable range. (RX-2611C (Nishijima) at 164:9-165:12, 165:20-166:20 (explaining that

Brita targets just below the nominal value when preparing challenge water to be able to adjust

the levels upward to get as close to nominal as possible).).

       Testing data that Respondents presented indicates that their testing fell outside the scope

of the asserted claims. For example, QFT fell below the prescribed minimum of 90 ppb soluble

lead in their challenge water on five out of the first seven days of testing, as shown below in



                                                  55



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Table No. 1.

                            Table No. 1: QFT Challenge Water Data




(RX-0985.0023 (copied from CRBr. at 17) (showing soluble lead levels below 90 ppb on April
20, 21, 22, 24, and 25); see also Tr. (Herman) at 1169:3-18 (“Q. And we agree that on the days
where the rows are highlighted that the challenge water was either out of specification at the start
of the day or at the end of the day, right? A. Yes. The grab sample that was taken show that the
soluble lead was below the 90.”).).

        Similarly, Helen of Troy exposed the filters it tested to challenge water that did not meet

either PUR’s protocol or the ’141 patent claims. (RX-0985.0024-0025 (soluble or colloidal lead

of challenge water out of specification at 50L, 90L, 108L, in the first round of testing and 10L,

18L, and 28L in the second round of testing).).

        During the Hearing, Mr. Herman dismissed these “incursions” as immaterial. (Tr.

(Herman) at 1073:13-21, 1074:4-1075:2, 1098:21-1099:20.). However, as Brita noted, he did

not offer any evidence to support his conclusion and even acknowledged that he was

“concerned” enough by QFT’s failure to stay within the specification that he modified the

protocol and followed up shortly after to ensure the testing was within specification. (CRBr. at

17.).

        Q. Mr. Herman, did you change your testing procedures midway through?

        A. I made some changes at the 20 gallon point.

        Q. And what changes did you make?



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       A. Well, I was -- first, I was concerned that Mr. Young had actually allowed the
       soluble lead to drop below the lower limit. And I realized in discussing with him
       that the reason that that had occurred was he was so used to running a Standard 53
       that doesn’t actually monitor soluble lead, that in monitoring total and particulate
       he felt he was within specification.

       So I narrowed some of the ranges, gave him some targets to hit, and reminded him
       he needed to make sure he was hitting those targets. So I gave him targets for the
       soluble lead and for the particulate lead. I didn’t change the target that had been
       provided for the total lead for the test.

       I also added some additional things to tighten up the integrity of the test. One thing
       I told him that I wanted the tanks verified that they were within specification before
       he would ever use them and put any water into the filtration systems.

       I also told him that I wanted the sample points to be done as the first pour after he
       had verified those tanks as being within specification to make sure that we were
       having, you know, getting it measured properly.

(Tr. (Herman) at 1100:13-1111:13.).

       As Brita pointed out, if falling outside the specification was indeed immaterial, there

would have been no need for Mr. Herman to modify the testing protocol. (CRBr. at 17.).

       Mr. Nishijima explained that during Brita’s testing, when the challenge water did not

meet the specification, he either brought the water into compliance or discarded the water and

remade it. (Tr. (Nishijima) at 311:11-20.). Respondents did neither. Instead, Mr. Herman

attempted to recover the QFT testing by extending the test to 60 gallons. 34 (Tr. (Herman) at

1075:22-1077:13; RX-0684C at PUR0014450 (“[r]un current tests [] to 60 gallons”).). Mr.

Herman explained that a test of 60 gallons where the first 20 gallons of challenge water were out

of specification is actually two valid 40-gallon tests: a test from zero to 40 gallons and a test

from 20 to 60 gallons, as shown below in his demonstrative, reproduced below in Figure No. 4.

(Tr. (Herman) at 1077:4-13.).



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  Neither Mr. Herman nor Mr. Mitchell provided any testimony about any attempt to fix the out-of-
specification challenge water in the testing performed at Helen of Troy.


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         Figure No. 4: Herman Demonstrative Illustrating First and Last 40 Gallons




(RDX.0007C.0036.).

       However, as Brita correctly noted, this resulted in: (i) a 40-gallon test where half of the

test used invalid challenge water; and (ii) a 40-gallon test where the filters had already had half

of their alleged lifetime expended, i.e., a 60-gallon test, neither of which constitutes a valid test

within the meaning of claim 1 of the ’141 patent. (CRBr. at 19; JX-0022 at cl. 1 (requiring a

minimum of 90 ppb of soluble lead and that testing be conducted over the filter’s lifetime).).

       The “First 40 Gallons” test does not meet claim 1 because the challenge water was not

within the claimed specification of 90-120 ppb. (RX-0985.0023.). The “Last 40 Gallons” test

does not meet claim 1 because the claim requires the lead effluent concentration (ce) be measured

at the end of the filter’s lifetime, which Respondents alleged to be 40 gallons. Under

Respondents’ modified protocol, the lead effluent concentration at the end of lifetime was

measured at 60 gallons, not at 40 gallons. (Compare RX-0985.0002-03 (identifying effluent

values for “Last 40 Gallons” tests) with id. at 0013-29 (reporting effluent values at 60 gallons or

150% of filter lifetime identical to those for “Last 40 Gallons” effluent values).).

       Brita also argued that Respondents’ testing protocol departed from the ’141 patent in how

the average filtration unit time was measured because Respondents measured filtration unit times

at only five or six liters over the alleged lifetime of the tested filters. (CRBr. at 15 (citing RX-

0985.0013-22, 0024-25; Tr. (Herman) at 1183:20-1184:6); see also id. at 19-20.). Brita pointed


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to a disclosure in the ’141 patent and explained that the average filtration unit time is “the time it

takes to filter one liter of water averaged over all filtered liters in the defined filter lifetime.” (Id.

at 15 (emphasis in original) (citing JX-0022 at 25:40-42).). Additionally, Brita relied upon the

adopted construction of “average filtration unit time over lifetime L,” which was construed to

mean “the average time (in minutes) that it takes to filter one liter of water over the filter usage

lifetime.” (Id. at 19 (emphases in original) (citing Markman Order at 24).). According to Brita,

the disclosure in the specification and the adopted construction support its contention that the

filtration unit time should be measured at each filtered liter in the lifetime. (CRBr. at 15,

        Although Brita is correct that the ’141 patent defines average filtration unit time as “the

time it takes to filter one liter of water averaged over all filtered liters,” as Respondents pointed

out, the ’141 patent does not instruct a person of ordinary skill in the art to test flow rate at every

liter. (See RBr. at 65; Tr. (Herman) at 1106:17-1107:2, 1221:8-19.). To the contrary, the flow

rate in the ’141 patent is shown to have been collected at 3-6 sample points along the filter’s

lifetime. For example, Table Nos. 2 and 3 of the ’141 patent, reproduced below in Table Nos. 2

and 3, indicate that the average flow rate for the prior art filters was calculated using 6 data

points at 3, 76, 151, 227, 273, and 303 L or 3 data points at 3, 76, and 151 L to calculate the

“average.” (See Tr. (Herman) at 1222:6-1223:24, 1235:6-20.).




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indicated in Table 2.”).). As shown in Table 2 replicated in Table No. 2 above and as explained

in the ’141 patent, “[t]he filtrate effluents were collected after 3, 76, 151, 227, 273, and 303 liters

of challenge water had been filtered.” (JX-0022 at 29:2-5, Table 2.).

        In its Post-Hearing Reply Brief, Brita stated that “there is no dispute that Table 2 of the

patent, which reports tests of the embodiments of the patent, showed that the inventors measured

flow rate at every liter.” (CRBr. at 20 (emphasis in original) (citing Tr. (Herman) at 1186:1-9).).

However, Mr. Herman’s testimony to which Brita cited does not “show[] that the inventors

measured flow rate at every liter.” He simply confirmed that for the filters contained in Table 2

of the ’141 patent, based on Dr. Knipmeyer’s “notebooks,” “she tested and measured the volume

at each liter.”

        Q. . . . And you acknowledge that Dr. Knipmeyer appeared to use average filter
        rates on a per liter basis for most, if not all, of the prototypes in her Table 2, correct?

        A. In the data I reviewed from the notebooks, that appears what they did for
        many of them.

        Q. And you heard her testify – I’m sorry. Did you hear her testify on Wednesday?

        A. Yes, I did, mm-hmm.

        Q. And you heard her testify that was her standard procedure for measuring flow
        rates for her prototypes.

        A. Yes, she said that was her standard procedure for testing and the embodiments.

        Q. You don’t dispute that that’s how Dr. Knipmeyer did it when she was testing
        her prototypes.

        A. When -- from what I can see, when she was testing the items in Table 2, which
        is the embodiments, that she tested and measured the volume at each liter.

(Tr. (Herman) at 1185:18-1186:9.).

        To the extent Brita and Dr. Knipmeyer did test every liter for the prototype embodiments

of the ’141 patent, it appears this information was confidential and not disclosed in the ’141



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patent. (Tr. (Nishijima) at 331:15-332:24 (“It is our internal protocol, so I would consider it,

yeah, confidential.”); Tr. (Herman) at 1221:20-1222:5 (“Q. You were asked about Dr.

Knipmeyer’s underlying testing in her notebooks. Do you recall that? A. Yes. Q. Where she

tested some of the prototypes every liter? A. Yes. Q. Did any of that prototype information or

instructions or protocol that you have to test every liter, did any of that make it into the ’141

patent? A. No, I did not see any evidence of that.”).).

       Moreover, in addressing infringement and invalidity issues in this case, Brita’s experts

seemingly took conflicting approaches to the meaning of average filtration unit time over

lifetime, which undermines Brita’s argument that flow rate should have been measured at every

liter. For example, Brita’s infringement expert, Dr. Rockstraw, purported to test flow rate at

every liter. (See, e.g., RX-0413C (flow data).). In contrast, to demonstrate entitlement to an

earlier priority date, a different expert, Dr. Freeman, relied on lab notebook data that used as few

as three (3) data points to show that Brita conceived and reduced to practice the purported

invention earlier than the ’141 patent filing date. (See, e.g., RX-0878C.0020-21 (Freeman Rpt.)

at ¶ 63 (demonstrating a filter has “an average filtration time (f) of 5.4 min/L (i.e., the average of

5:47, 5:24, and 4:53)”).).

       In their Pre-Hearing Brief, Respondents provided the following chart, Chart No. 11, in

support of the contention that “depending on the approach, the calculated average to be used in

the so-called ‘FRAP’ equation will differ.” (RPBr. at 23.).

         Chart No. 11: Comparing Averages of Filtration Unit Time Over Lifetime




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(Id. (annotated).).

        Although Respondents’ data shows a potential difference in the calculated averages when

using one method as opposed to the other, that is 6.663 v. 6.625, it appears that any differences

would be immaterial and would not significantly affect the FRAP factor calculation. (RPBr. at

23 (acknowledging that the “change in result is slight”) (emphasis added).).

        Brita’s argument that Respondents have not accurately shown the FRAP values of the

prior art filters because the average flow rate (f) was not calculated for every liter over the

lifetime of the filter is not persuasive.

        Nonetheless, for the additional reasons discussed above, Brita proffered compelling

testimony and evidence that Respondents’ testing is unreliable.

        C.      Accused Products that Brita Tested

                1.      PUR Plus Products

        The Accused PUR Plus Products include the Accused PUR Plus Filters, including the

Accused PUR Plus Mario 2 Filter and the Accused PUR Plus Mario 3 Filter. (CPBr. at 9-10;

CBr. at 10; Tr. at (Rockstraw) at 470:10-13; CDX-0008C.0012-13 (demonstrating evidence

pertaining to same).). Brita only tested the Mario 2 variant of the Accused PUR Plus Filters.

However, PUR stipulated that “the structure, composition, and function of the Mario 2 product is

representative of the structure, composition, and function of the Mario 3 product such that any

findings regarding infringement or non-infringement of the Mario 2 product will also apply to

the Mario 3 product.” (JX-0021 at ¶ 3 (stipulating that Mario 2 is representative of Mario 3); Tr.

(Rockstraw) at 470:17-471:1.). Thus, the Accused PUR Plus Mario 3 Filters and compatible

Accused PUR Plus Containers sold with Accused PUR Plus Mario 3 Filters practice claims 1-3

and 23 of the ’141 patent for the reasons discussed below in Sections X(B)-(D) with respect to




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the Accused PUR Plus Mario 2 Filters and compatible Accused PUR Plus Containers sold with

Accused PUR Plus Mario 2 Filters. (See Sections X(B)-(D), infra; see also Tr. (Rockstraw) at

470:17-471:1.).).

                2.      ZeroWater Products

        The Accused ZeroWater Products include the Accused ZeroWater Filter and the Accused

ZeroWater Containers that are sold together with Accused ZeroWater Filter. (CPBr. at 10; CBr.

at 11; CX-0569C.0011-12 (identifying ZeroWater systems and stating they are used with

“ZeroWater flagship Filter”); CX-0016 (ZeroWater website); CX-0570C.0001 (indicating that

the ZeroWater Filter is used with various container models).). Respondents did not contest that

Brita tested the relevant products. (See RRBr. at 7-10.).

        Additionally, ZeroWater manufactures certain purported redesign filters—the Accused

ZeroWater Redesign Filters—which are also accused. (CPBr. at 10; CBr. at 12.). The Accused

ZeroWater Redesign A (ZP-006-A), B (ZP-006-B), C (ZP-006-C), and D (ZP-006-D) Filters are

identical to the Accused ZeroWater Filter. This conclusion is supported by the testimony of Dr.

Rockstraw; ZeroWater’s CEO, Mr. Douglas Kellam; 35 and by ZeroWater’s counsel, Mr.

Brandyberry. (See Tr. (Rockstraw) at 484:15-485:6; CX-0692C (Kellam Dep. Tr.) at 159:4-19;

CX-0943 (Apr. 22, 2022 Brandyberry Letter); CDX-0008C.0038 (summarizing letter); see also

Section X(H), infra (discussing infringement of the Accused ZeroWater Redesign Filters).).

                3.      LifeStraw Products

        Brita accused the following LifeStraw products, each available in various packaging and


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  At the time of his deposition on May 3, 2022, and his Hearing testimony on August 22, 2022, Mr.
Douglas Kellam was the President of Zero Technologies LLC. (RPSt. at 5.). Respondents identified Mr.
Kellam as a fact witness to testify about, inter alia, “the Zero Technologies LLC company, the ZeroWater
Accused Product and Products, the ZeroWater prior art filter and systems, and ZeroWater’s decision to
certify its products under NSF/ANSI standards.” (Id.).



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color configurations: (i) 7-Cup Plastic Pitcher; (ii) 7-Cup Glass Pitcher; (iii) 10-Cup Plastic

Pitcher; (iv) 18-Cup Dispenser; (v) Replacement Activated Carbon and Ion Exchange Filter; and

(vi) Replacement Membrane Microfilter (with bonus Activated Carbon and Ion Exchange

Filters). (See CBr. at 14-16.). Brita only tested the LifeStraw two-stage filter (consisting of both

the Membrane Microfilter and the Activated Carbon Ion Exchange Filter) in a single container—

the 10-Cup Plastic Pitcher. (Tr. (Nishijima) at 403:1-10.).

        Respondents argued that Brita did not meet its burden to show infringement on any

Accused LifeStraw Home Containers other than the container specifically tested. (RRBr. at 15-

17.). However, Brita’s basis for infringement of claims 1-5, which are directed to filters, is the

LifeStraw Home Filter, which LifeStraw sells with a variety of containers and dispensers. (JX-

0022 at cls. 1-5.). Because all the LifeStraw Home products use the same filter system, the

infringement analysis is identical regardless of the particular container system sold with the

LifeStraw Home Filter. (See, e.g., Tr. (Alison Hill) 36 at 933:22-934:10 (describing pitchers and

replacement filters that are part of the LifeStraw Home product line); CX-0695C (Hill Dep. Tr.)

at 50:20-51:18 (identifying various pitchers that use the Accused LifeStraw Home Filter and

replacement Accused LifeStraw Home Filters); FAC, Ex. 10 at 1 (indicating that the membrane

microfilter and activated carbon + ion exchange filter are “[c]ompatible with all LifeStraw Home

Pitcher and Dispenser products”) (emphasis added); CX-0036 (showing that the LifeStraw Home

pitchers include both a membrane microfilter and an activated carbon + ion exchange filter); CX-



36
  When she testified during the Hearing on August 22, 2022, and during her deposition on May 11, 2022,
Ms. Alison Hill was the Chief Executive Officer of Respondent LifeStraw. (Tr. (Hill) at 924:16-18; CX-
0695C (Hill Dep. Tr.) at 8:12-22.). Respondents identified Ms. Hill as a fact witness to testify about,
inter alia, “the LifeStraw company generally, the company mission, as well as the public interest
associated with the uninterrupted operation of the company and its relevant Accused Products.” (RPSt. at
5-6.).



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                1.      PUR 1-Stage, Brita Legacy Granular, and Dupont WF-PTC 100
                        Products

        Mr. Herman confirmed that he tested the PUR 1-Stage (1450 and 1450Z), 39 Brita Legacy

Granular (1999), 40 and the Dupont WF-PTC 100 (2005 and 2007) 41 prior art filters. (Tr.

(Herman) at 1028:6-15; RDX.0007C.0017, 0025-28.). 42 Brita did not contest that Respondents

tested these products. (See CRBr. at 5-10.).

                2.      ZeroWater ZP-201 Filter

        With respect to the ZeroWater ZF-201 filter, Mr. Herman testified that he “used . . .

information from testing and documents from the 2006-2007 period” to calculate the FRAP

value of the ZeroWater ZF-201 filter. (Tr. (Herman) at 1028:15-16.). Brita contended that

“Respondents have offered no contemporaneous documentary evidence to show the composition

or properties of the product sold in September 2006,” but rather, “rel[ied] on a hodge podge of

documents from 2006 to 2007 and beyond to claim the filter sold in September 2006 is identical

to the filters referenced in those documents.” (CRBr. at 10 (citing RBr. at 25-26).).

        Specifically, as discussed in Section XII(B)(3)(d) below, Brita pointed out that the

evidence Respondents relied upon to prove the characteristics of the ZF-201 filter are either

undated or dated after September 2006. Accordingly, they do not clearly demonstrate what the




39
  Mr. Herman testified that he analyzed the 1450 and 1450Z variants of the PUR 1-Stage filter. (Tr.
(Herman) at 1029:5-12.).
40
  Mr. Herman testified that the packaging of the Brita Legacy filter he tested was copyrighted in 1999.
(Tr. (Herman) at 1035:16.).
41
  Mr. Herman testified that the Dupont WF-PTC 100 filters he tested were the 2005 and 2007 versions.
(Tr. (Herman) at 1038:2-10; see also RDX-0007C.0020.). The Dupont WF-PTC 100 filters are
manufactured by ProtectPlus. (See, e.g., Tr. (Herman) at 1230:9-14.).
42
   The prior art filters Respondents tested at Helen of Troy are listed on RDX.0007C.0026. The prior art
filters Respondents tested at QFT are listed on RDX-0007C.0027-28.


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FRAP factor would have been for the filter when it was allegedly first sold to Home Depot in

September 2006. (See Section XII(B)(3)(d), infra.). Moreover, because no physical samples of

the ZF-201 were produced in this Investigation, none of the experts were able to perform their

own analysis of the filter. (Tr. Kellam) at 898:17-899:1.). As a result, Respondents failed to

offer expert testimony that the ZF-201 filter actually anticipates the ’141 patent. Instead, Mr.

Herman provided only “observations” he made from reviewing documents about the filter

without drawing any conclusions about whether the ZF-201 anticipates any claim. (RDX-

0007C.0004.). Mr. Herman’s “observations” are insufficient to support Respondents’ allegations

or arguments and therefore, lacked credibility.

X.        DIRECT INFRINGEMENT 43

          A.     Legal Standard: Literal Infringement

          “Determination of infringement is a two-step process which consists of determining the

scope of the asserted claim (claim construction) and then comparing the accused product . . . to

the claim as construed.” Certain Sucralose, Sweeteners Containing Sucralose, and Related

Intermediate Compounds Thereof, Inv. No. 337-TA-604, Comm’n Opinion at 36 (U.S.I.T.C.,

April 28, 2009) (citing Litton Sys., Inc. v. Honeywell, Inc., 140 F.3d 1449, 1454 (Fed. Cir.

1998)).

          An accused device literally infringes a patent claim if it contains each limitation recited in

the claim exactly. Litton, 140 F.3d at 1454. Each patent claim element or limitation is

considered material and essential. London v. Carson Pirie Scott & Co., 946 F.2d 1534, 1538



43
   Brita did not allege infringement under the doctrine of equivalents (“DOE”) or indirect infringement in
its Pre-Hearing or Post-Hearing Briefs. (See CPBr. at 20-56; CBr. at 38-68.). Thus, any argument Brita
might have made with respect to these issues has been deemed abandoned, withdrawn, or waived under
Ground Rules 7.2. and/or 10.1.



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(Fed. Cir. 1991). In a Section 337 investigation, the complainant bears the burden of proving

infringement of the asserted patent claims by a preponderance of the evidence. Enercon GmbH

v. Int’l Trade Comm’n, 151 F.3d 1376, 1384 (Fed. Cir. 1998). If any claim limitation is absent,

there is no literal infringement of that claim as a matter of law. Bayer AG v. Elan Pharm.

Research Corp., 212 F.3d 1241, 1247 (Fed. Cir. 2000).

        B.      The Accused PUR Plus Products Practice Claim 1 of the ’141 Patent

                1.      “A gravity-fed water filter, comprising” 44

        In response to Brita’s Requests for Admission (“RFA”), PUR admitted that the Accused

PUR Plus Filters are “gravity-fed water filter[s].” (CX-0802C.0006, 0008 (PUR Obj. and Resp.

to RFA Nos. 175, 179).). Brita also provided documentary evidence demonstrating that the

Accused PUR Plus Filters are gravity-fed water filters because water passes through them due to

gravity. (CX-0464C.0029 (PUR presentation indicating “PUR Pitcher Filters use gravity to

filter”) (emphasis in original); CDX-0008C.0016 (Rockstraw demonstrative identifying same);

see also Tr. (Rockstraw) at 472:11-21.).

        For the reasons discussed above, Brita has proven by a preponderance of evidence that

the Accused PUR Plus Filters meet the preamble of claim 1 of the ’141 patent.

                2.      “filter media including at least activated carbon and a lead scavenger”

        As discussed below, the Accused PUR Plus Filters also have a “filter media including at

least activated carbon and a lead scavenger” as recited in claim 1, which PUR did not contest.

(Tr. (Rockstraw) at 472:22-473:12; CDX-0008C.0018 (demonstrating evidence pertaining to

same).).




44
 The Parties agreed that the preamble was limiting with respect to “gravity-fed water filter.” (Markman
Order at 8.). Accordingly, the Parties’ position was adopted. (Id.).


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                           a)      “activated carbon”

           In response to Brita’s RFA, PUR admitted that the Accused PUR Plus Filters contain

activated carbon. (CX-0802C.0009 (PUR Obj. and Resp. to RFA No. 181).). Brita also

provided testimonial and documentary evidence demonstrating the same. (Tr. (Rockstraw) at

473:2-12; CX-0482C.0001

                                                                          ; CX-0175C.0007 (S&N Labs

Report confirming presence of both activated carbon and ion exchange resin); 45 CX-0152C

(S&N Labs PUR Plus Data); CDX-0008C.0018-19 (evidence pertaining to same).).

           For the reasons discussed above, Brita has proven by a preponderance of evidence that

the Accused PUR Plus Filters practice this limitation of claim 1 of the ’141 patent.

                           b)      “lead scavenger” 46

           In response to Brita’s RFAs, PUR admitted that the filter media of the Accused PUR Plus

Filters contains ion exchange resins, which are lead scavengers because they remove or reduce

lead in water. (CX-0802C.0011, 0015 (PUR Resp. RFAs 185 and 193).). Moreover, PUR’s fact

witness, Mr. Mitchell, confirmed that the ion exchange resins reduce lead in water. (CX-0696C

(Mitchell Dep. Tr.) at 157:8-21, 182:9-21 (testifying that the ion exchange resin of the Accused

PUR Plus Filters removes lead).). This was also confirmed by documentary evidence Brita




45
     S&N Labs is an independent third-party laboratory. (See, e.g., Tr. (Rockstraw) at 511:20.).
46
  “[L]ead scavenger” was construed to mean “[a] component that removes or reduces lead from water.”
(Markman Order at 20.). In their Pre-Hearing Brief, Respondents contended that “[i]f [Aqua Crest’s]
construction of lead scavenger is accepted, then the weak-acid ion exchange resins of the Accused PUR
Products are not lead scavengers either literally or under the doctrine of equivalents.” (RPBr. at 42
(citation omitted); see also id. at 26-28 (claim construction arguments regarding this term).). Because
Aqua Crest’s proposed construction, “metal ion exchange zeolite sorbents, aluminosilicates, and zirconia
oxides and hydroxides,” was expressly rejected, Respondents’ Pre-Hearing arguments on this issue are
moot. (Markman Order at 22-23.).



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presented. (CX-0175C.0007 (S&N Labs Report); CX-0152C (S&N Labs PUR Plus Data); see

also Tr. (Rockstraw) at 473:13-25 (“[i]on exchange resin is known to scavenge lead”); CDX-

0008C.0019-22, 0030 (demonstrating evidence pertaining to same).).

       For the reasons discussed above, Brita has proven by a preponderance of evidence that

the Accused PUR Plus Filters practice this limitation of claim 1 of the ’141 patent.

               3.      “wherein the filter achieves a Filter Rate and Performance (FRAP)
                       factor of about 350 or less according to the following formula: FRAP
                       = [V * f * ce]/[L * 2]”

       Based on, inter alia, Mr. Nishijima’s measurements for volume V (CX-0910C.0002,

0003 (V = 155)), flowrate f (CX-0911C.0001, 0005, 0008, 0013 (f = 15.6)), lead effluent ce (CX-

0912C.0001, 0004-0007 (ce = 2.5)) and the Accused PUR Plus Filter documents regarding

lifetime L (CX-0466C (L = 40)), each of which are discussed in detail below, Dr. Rockstraw

calculated the FRAP factor for the Accused PUR Plus Products, i.e., Accused PUR Plus Filters

sold separately and those sold with the Accused PUR Plus Containers, to be 75.6, which is less

than 350.




(Tr. at (Rockstraw) at 475:1-5; CDX-0008C.0023-30 (calculating FRAP factor and summarizing
evidence).).

       For the reasons discussed, Brita has proven by a preponderance of evidence that the

Accused PUR Plus Filters practice this limitation of claim 1 of the ’141 patent.

                       a)      “where: V = volume of the filter media (cm3)” 47

       Relying upon Mr. Nishijima’s testing, Dr. Rockstraw testified that the filter media of the


47
 “[V]olume of the filter media” was given its “plain and ordinary meaning, i.e., quantity of the filter
media in cubic units.” (Markman Order at 8.). During the Markman proceedings, ZeroWater alleged that



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Accused PUR Plus Filters has a volume of approximately 155 cm3: approximately 135 cm3 for

the granular media and 20 cm3 for the pleated media. (Tr. (Rockstraw) at 475:6-12; CX-

0910C.0002-03 (volume measurement); CDX-0008C.0024 (demonstrating evidence pertaining

to same).).

        Respondents did not dispute these volume measurements. (RPBr. at 41-42; RRBr. at 6-

7.). Thus, any argument Respondents may try to make on this issue is deemed abandoned,

withdrawn, and/or waived under Ground Rules 7.2 and 10.1.

        For the reasons discussed above, Brita has proven by a preponderance of evidence that

the Accused PUR Plus Filters practice this limitation of claim 1 of the ’141 patent.

                         b)      “f = average filtration unit time over lifetime L (min/liter)” 48

        Brita tested the filtration unit time for 146 of 152 filtered liters, averaged the values, and

determined that the average time that it takes to filter one liter of water over the filter usage over

40 gallons (the lifetime of the Accused PUR Plus Filters) is approximately 15.6 minutes/liter.



this term was indefinite because the term, when “read in light of the specification and the prosecution
history of the ’141 Patent, fails to inform those skilled in the art of the scope of the invention with
reasonable certainty.” (RMBr. at 9 (citation omitted).). Respondents raised the same argument in their
Pre-Hearing Brief. (RPBr. at 25-26.). Because ZeroWater’s proposal was rejected, any Pre-Hearing
arguments on this issue are moot. Moreover, these arguments were not raised in Respondents’ Post-
Hearing Reply Brief. (See generally RRBr.). Thus, any argument Respondents may try to make on this
issue is deemed waived under Ground Rule 10.1.
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  “[A]verage filtration unit time over lifetime L” was construed to mean “[t]he average time (in minutes)
that it takes to filter one liter of water over the filter usage lifetime.” (Markman Order at 24.). During the
Markman proceedings, Respondents LifeStraw and ZeroWater alleged that this term is indefinite because
the ’141 patent “fails to inform those of ordinary skill in the art how to test for, measure, or calculate an
‘average filtration unit time over lifetime L.’” (RMBr. at 20 (citing RXM-0020 (Decl. of Dr. Joseph
Harrison) at ¶¶ 31-36).). Respondents LifeStraw and ZeroWater’s proposal was rejected. (Markman
Order at 25-33.). Respondents raised the same argument in their Pre-Hearing Brief. (RPBr. at 20-25.).
Because Respondents LifeStraw and ZeroWater’s proposal was rejected, any Pre-Hearing arguments on
this issue are moot. Moreover, these arguments were not raised in Respondents’ Post-Hearing Reply
Brief. (See generally RRBr.). Thus, any argument Respondents may try to make on this issue is deemed
waived under Ground Rule 10.1.



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(CX-0911C.0001, 0005, 0008, 0013 (Flow Rate Testing); Tr. (Rockstraw) at 475:16-19, 477:3-

20; CDX-0008C.0025 (demonstrating evidence pertaining to same).).

        In their Pre-Hearing Brief, Respondents contended that “the Accused PUR Products do

not infringe since the only flow rate data available is missing several data points and is not taken

on a liter-by-liter basis.” (RPBr. at 41 (citing RX-0413C at BRITALP-0024506-18).). For the

reasons set forth in Section IX(A) above regarding Brita’s testing protocols, the “missing” data

points were found to be immaterial. Moreover, Respondents did not dispute this measurement in

their Post-Hearing Reply Brief. (See RRBr. at 6-7.). Thus, any argument Respondents may try

to make on this issue is waived under Ground Rule 10.1.

        For the reasons discussed above, Brita has proven by a preponderance of evidence that

the Accused PUR Plus Filters practice this limitation of claim 1 of the ’141 patent.

                        c)      “ce = effluent lead concentration at end of lifetime L when
                                source water having a pH of 8.5 contains 90-120 ppb (μg/liter)
                                colloidal lead greater than 0.1 μm in diameter” 49

        Brita provided test results showing that the effluent lead concentration at the end of the

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475:20-476:1 (“effluent lead concentration at end of lifetime was determined by collecting a

sample of the last liter of water that passed through the filter and then testing that water using

ICP mass spec according to EPA method 200.8”), 477:21-478:15; CX-0912C.0007 (“1-PUR-Pb,

eff, 152L, 8-19-2021” effluent sample having a lead concentration of 2.5 ppb at 100% lifetime);




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  The Parties agreed that the phrase “effluent lead concentration at end of lifetime L when source water
having a pH of 8.5 contains 90-120 ppb (μg/liter) soluble lead and 30-60 ppb (μg/liter) colloidal lead
greater than 0.1 μm in diameter” means “effluent lead concentration at end of lifetime L when
source water having a pH of 8.5 contains 90-120 ppb (μg/liter) soluble lead and 30-60 ppb
(μg/liter) colloidal lead greater than 0.1 μm in diameter.” (Markman Order at 8.). Accordingly, the
Parties’ proposed construction was adopted. (Id.).


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CBr., App. A at 1; CDX-0008C.0026, 0030 (summarizing evidence).). Testing conducted by the

Water Quality Association (“WQA”) also corroborated this measurement. (CX-0456C.0002

 :4$7HVW5HSRUW  7KHUHVXOWVGHPRQVWUDWHGDQHIIOXHQWOHDGFRQFHQWUDWLRQRIȝJ/DWWKH

end of lifetime for all tested samples. (Tr. (Rockstraw) at 478:16-25; CX-0456C.0002 (WQA

Test Report); CDX-0008C.0027 (summarizing evidence pertaining to same).).

        In their Pre-Hearing Brief, Respondents argued that “Brita did not meet the ‘fine’

particulate requirements of NSF 53 (2007) standard when testing at several points, including the

100% point for the PUR Accused Products.” (RPBr. at 41 (citing RPX-0159C).). As discussed

in Section VIII(B) above with respect to the NSF/ANI 53 (2007) standard, the ’141 patent does

not require the standard. Moreover, PUR did not dispute these measurements in Respondents’

Post-Hearing Reply Brief. (See RRBr. at 6-7.). Thus, any argument Respondents may try to

make on this issue is waived under Ground Rule 10.1.

        For the reasons discussed above, Brita has proven by a preponderance of evidence that

the Accused PUR Plus Filters practice this limitation of claim 1 of the ’141 patent.

                        d)       “L = filter usage lifetime claimed by a manufacturer or seller
                                 of the filter (gallons)” 50

        The Accused PUR Plus Filters have a validated lifetime of 40 gallons–the total number of



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  “[F]ilter usage lifetime claimed by a manufacturer or seller of the filter” adopted Brita’s proposed
construction and was construed to mean “[t]he total number of gallons of water that a manufacturer or
seller has validated can be filtered before the filter is replaced.” (Markman Order at 14.). As explained in
the Markman Order, the word “claimed” was substituted with the word “validated,” as Brita proposed,
and should be interpreted in light of the NSF/ANSI 53 standard, which was incorporated by reference into
the ’141 patent. (Id. at 15 (“The NSF/ANSI 53 standard describes ‘verified through testing,’ which
encompasses the proposed the proposed claim construction term of ‘validated.’”.).). However, it was
found that “the standard is not required as the method of ‘validation’ because of the permissive language
used in the specification of the ’141 patent.” (Id. at 16 (emphasis added); JX-0001 at 26:22 (stating that
the standard “may” be used for FRAP testing); see also Section VIII(B), supra (addressing NSF/ANSI 53
standard with respect to the ’141 patent).).



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gallons that PUR has validated can be filtered before the Accused PUR Plus Filter is replaced.

Brita presented evidence confirming that the Accused PUR Plus Filters are NSF/ANSI 53

certified for lead removal at pH 8.5 for 40 gallons. (CX-0466C (PUR Plus Filter Packaging

reporting a lifetime of 40 gallons and an NSF/ANSI 53 certification for lead); CX-0455.0004-

0005 (manual indicating the same).). PUR’s NSF/ANSI 53 certification indicates that it reduces

lead below 5 ppb for 200% of filter lifetime, which is below the 10 ppb threshold required to be

certified for lead reduction under the NSF/ANSI 53 (2007) standard. (Tr. (Herman) at 1174:15-

1175:9; CX-0690C (Franks Dep. Tr.) 51 at 52:17-21 (effluent lead concentration threshold under

the current NSF/ANSI 53 standard is 5 ppb).). Therefore, the Accused PUR Plus Filters have a

validated capacity of 40 gallons. (Tr. (Rockstraw) at 479:1-17; CDX-0008C.0028.).

        PUR argued that Brita has not proven infringement because the effluent lead value

exceeded 10 ppb at the 25% sample point. (RRBr. at 6; RPBr. at 41.). However, as Brita

pointed out, PUR is improperly conflating the evidence and requirements of claim 1. (CBr. at

36.). Dr. Rockstraw testified that the FRAP test of PUR’s product was done to establish the

average filtration unit time over lifetime and the lead effluent lead concentration at end of

lifetime. (Tr. (Rockstraw) at 478:4-15.). As Brita noted, neither of those two values are

impacted by the effluent lead concentration at the 25% sample point. (CBr. at 36.). Moreover,

Brita’s testing was not done to determine a lifetime value for the Accused PUR Plus Products

because the PUR Plus Products already had a validated lifetime of 40 gallons for lead reduction

as demonstrated by its current NSF/ANSI 53 certification. (CX-0466C (indicating a lifetime of

40 gallons and an NSF/ANSI 53 certification for lead); CX-0455.0004-0005 (same).).


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   At the time of his deposition on April 27, 2022, Mr. John Franks was the Vice President of Engineering
and Program Management at Respondent Helen of Troy. (CX-0690C (Franks Dep. Tr.) at 6:10-14; RPSt.
at 5.).


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          For the reasons discussed above, Brita has proven by a preponderance of evidence that

the Accused PUR Plus Filters practice this limitation of claim 1 of the ’141 patent.

          C.     The Accused PUR Plus Products Practice Claims 2 and 3 of the ’141 Patent

                 1.      Claim 2: “The water filter as recited in claim 1, wherein the filter
                         achieves a FRAP factor of less than about 200.”

          For the reasons set forth above in Section X(B) regarding claim 1, the Accused PUR Plus

Filters achieve a FRAP factor of 75.6. (Tr. (Rockstraw) at 480:13-21; CDX-0008C.0031

(demonstrating calculation of FRAP factor).). Likewise, they “achieve[] a FRAP factor of less

than about 200” as recited in claim 2 of the ’141 patent.

          Moreover, Respondents did not present separate rebuttal arguments with respect to this

claim. (RPBr. at 41-42; RRBr. at 6-7.). Thus, any argument Respondents may try to make on

this issue is deemed abandoned, withdrawn, and/or waived under Ground Rules 7.2 and 10.1.

          For the reasons discussed above, Brita has proven by a preponderance of evidence that

the Accused PUR Plus Filters practice the additional limitation recited in claim 2 of the ’141

patent.

                 2.      Claim 3: “The water filter as recited in claim 1, wherein the volume of
                         the filter media (V) is less than about 300 cm3.”

          As discussed above in Section X(B) with respect to claim 1, Brita’s testing shows that the

volume of the filter media of the Accused PUR Plus Filters is approximately 155 cm3. (CX-

0910C.0002-0003 (volume testing); see also Tr. (Rockstraw) at 480:22-481:5; CDX-0008C.0032

(demonstrating evidence pertaining to same).). Similarly, the Accused PUR Plus Filters “is less

than above 300 cm3” as recited in claim 3 of the ’141 patent.

          Additionally, Respondents did not present separate rebuttal arguments with respect to this

claim. (RPBr. at 41-42; RRBr. at 6-7.). Thus, any argument Respondents may try to make on




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this issue is deemed abandoned, withdrawn, and/or waived under Ground Rules 7.2 and 10.1.

       For the reasons discussed, Brita has proven by a preponderance of evidence that the

Accused PUR Plus Filters practice the additional limitation recited in claim 3 of the ’141 patent.

       D.      The Accused PUR Plus Products Practice Claim 23 of the ’141 Patent

               1.     “A gravity-flow system for filtering water, comprising”

       The combination of Accused PUR Plus Containers and Filters (“Accused PUR Plus

Products”) constitute “[a] gravity-flow system for filtering water” because, as PUR admitted in

response to Brita’s RFAs, the Accused PUR Plus Filters are gravity-fed. (CX-0802C.0006-0008

(PUR Obj. and Resp. to RFA Nos. 175, 179).). This is also confirmed by documentary and

testimonial evidence. (CX-0464C.0029 (PUR Presentation); Tr. (Rockstraw) at 481:6-482:11;

see also CDX-0008C.0033-34 (demonstrating evidence pertaining to same).).

       For the reasons discussed above, Brita has proven by a preponderance of evidence that

the Accused PUR Plus Products meet the preamble of claim 23 of the ’141 patent.

               2.     “a container having a source water reservoir than can hold source
                      water and a filtered water reservoir that can hold filtered water”

       In response to Brita’s RFAs, PUR admitted that the Accused PUR Plus Containers

constitute “a container having a source water reservoir that can hold source water and a filtered

water reservoir that can hold filtered water.” (CX-0802C.0044-46 (PUR Obj. and Resp. to RFA

Nos. 239, 241). Brita also provided documentary and testimonial evidence that supports PUR’s

admission. (CX-0022.0001, 0007 (PUR Plus manual and photographs); Tr. (Rockstraw) at

481:6-482:11; see also CDX-0008C.0033-34 (demonstrating evidence pertaining to same).).

       For the reasons discussed above, Brita has proven by a preponderance of evidence that

the Accused PUR Plus Containers practice this limitation of claim 23 of the ’141 patent.




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               3.       “a cartridge in communication with both the source water reservoir
                        and the filtered water reservoir, the cartridge providing a path
                        through which water can flow from the source water reservoir to the
                        filtered water reservoir”

       PUR’s product materials, reproduced in part below in Figure No. 5, demonstrate that the

Accused PUR Plus Products include a cartridge that is capable of being inserted into a dispenser

or pitcher such that it is in communication with both the source water reservoir and the filtered

water reservoir to provide a path through which water can flow.

                    Figure No. 5: Photograph of PUR Plus Products Brochure




(CX-0022.0001; see also id. at 0008-0009 (PUR Plus photographs); Tr. (Rockstraw) at 481:6-
482:11; CDX-0008C.0033-34 (demonstrating evidence pertaining to same).).

       Respondents did not contest this. (RPBr. at 41-42; RRBr. at 6-7.). Thus, any argument

Respondents may try to make on this issue is deemed abandoned, withdrawn, and/or waived

under Ground Rules 7.2 and 10.1.

       For the reasons discussed above, Brita has proven by a preponderance of evidence that


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the Accused PUR Plus Products practice this limitation of claim 23 of the ’141 patent.

               4.       “a filter as recited in claim 1 disposed within the cartridge”

       Brita presented testimony and documentary evidence that the Accused PUR Plus

Products meet the limitation requiring “a filter as recited in claim 1 disposed within the

cartridge.” (Tr. (Rockstraw) at 481:6-482:11; CDX-0008C.0033-34 (demonstrating evidence

pertaining to same); see generally Section X(B), supra (infringement of claim 1 by the Accused

PUR Plus Products).). Figure No. 6 below is a photograph of the PUR Plus filter components.

                    Figure No. 6: Photograph of PUR Plus Filter Components




(CX-0022.0006.).

       Respondents did not contest this. (RPBr. at 41-42; RRBr. at 6-7.). Thus, any argument

Respondents may try to make on this issue is deemed abandoned, withdrawn, and/or waived

under Ground Rules 7.2 and 10.1.

       For the reasons discussed above, Brita has proven by a preponderance of evidence that

the Accused PUR Plus Products practice this limitation of claim 23 of the ’141 patent.




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       E.      The Accused ZeroWater Products Practice Claim 1 of the ’141 Patent

               1.        “A gravity-fed water filter, comprising”

       In response to Brita’s RFA, ZeroWater admitted that the Accused ZeroWater Filter is a

“gravity-fed water filter,” that is, water flows through the Accused ZeroWater Filter because of

gravity. (CX-0800.0067-0068 (ZeroWater Obj. and Resp. to RFA No. 88); see also Tr.

(Rockstraw) at 485:7-486:9, 486:16-22; CDX-0008C.0039, 41 (demonstrating evidence

pertaining to same).).

       For the reasons discussed above, Brita has proven by a preponderance of evidence that

the Accused ZeroWater Filter meets the preamble of claim 1 of the ’141 patent.

               2.        “filter media including at least activated carbon and a lead scavenger”

       As discussed below, the Accused ZeroWater Filter also has a “filter media including at

least activated carbon and a lead scavenger,” which ZeroWater did not dispute. (Tr.

(Rockstraw) at 486:23-487:3.).

                         a)     “activated carbon”

       In response to Brita’s RFAs, ZeroWater admitted that the Accused ZeroWater Filter

contains activated carbon. (CX-0800.0068, 0088 (ZeroWater Obj. and Resp. to RFAs. 89,

113).). Moreover, Zero Technologies, LLC’s President, Mr. Doug Kellam, confirmed that the

Accused ZeroWater Filter includes activated carbon. (CX-0692C (Kellam Dep. Tr.) at 83:11-14;

Tr. (Kellam) at 854:10-855:7.).

       The following pictorial diagram, Figure No. 7, of ZeroWater’s 5-stage filter shows that

the Accused ZeroWater Filter has a filter media that includes an activated carbon layer and an

ion exchange resin layer that removes metals.




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  Figure No. 7: Diagram of ZeroWater Filter Having an Activated Carbon Layer and an
                               Ion Exchange Resin Layer




(CX-0565.0005; see also (CX-0023.0002-0003 (photographs of filter media).).

       For the reasons discussed above, Brita has proven by a preponderance of evidence that

the Accused ZeroWater Filter practices this limitation of claim 1 of the ’141 patent.

                      b)      “lead scavenger”

       ZeroWater admitted, and Mr. Kellam confirmed, that the Accused ZeroWater Filter

includes an ion exchange resin, which removes or reduces lead from water. (CX-0800.0069-

0070 (ZeroWater Obj. and Resp. RFAs 91-92); CX-0692C (Kellam Dep. Tr.) at 85:8-18.). Dr.

Rockstraw testified that the ion exchange resin in ZeroWater’s filter is a lead scavenger under

the adopted claim construction. (Tr. (Rockstraw) at 487:9-15; Markman Order at 20; see also Tr.

(Rockstraw) at 485:7-486:1 (summarizing structure of Accused ZeroWater Filter).).

       For the reasons discussed above, Brita has proven by a preponderance of evidence that

the Accused ZeroWater Filter practices this limitation of claim 1 of the ’141 patent.




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               3.      “wherein the filter achieves a Filter Rate and Performance (FRAP)
                       factor of about 350 or less according to the following formula: FRAP
                       = [V * f * ce]/[L * 2]”

       Based on, inter alia Mr. Nishijima’s measurements for volume V (CX-0910C.0002 (V =

550)), flowrate f (CX-0911C.0001, 0005 (f = 11.8)), lead effluent ce (CX-0912C.0001, 0004,

0005 (ce = 0.14)) and ZeroWater’s performance data sheet for lifetime L (CX-0570C.0001 (L =

20)), each of which are discussed in detail below, Dr. Rockstraw calculated the FRAP factor for

the Accused ZeroWater Products, i.e., Accused ZeroWater Filters sold separately and those sold

with the Accused ZeroWater Containers, to be 22.7, which is less than 350.




(Tr. (Rockstraw) at 489:8-17; CDX-0008C.0055-56 (calculating FRAP factor and summarizing
evidence).).

       For the reasons discussed above, Brita has proven by a preponderance of evidence that

the Accused ZeroWater Filter practices this limitation of claim 1 of the ’141 patent.

                       a)      “where: V = volume of the filter media (cm3)”

       Brita’s testing shows that the filter media of the Accused ZeroWater Filter has an

approximate volume of 550 cm3. (CX-0910C.0002 (volume measurement); see also Tr.

(Rockstraw) at 487:24-488:4; CDX-0008C.0048 (same).). ZeroWater argued that this volume is

inaccurate because it does not include all five stages of the Accused ZeroWater Filter. (RPBr. at

29-30; RRBr. at 9.). Specifically, ZeroWater contended that Brita’s volume measurement

excluded the screen and the foam distributor. (Id.). However, as Dr. Rockstraw explained, the

screen and the foam distributor are not filter media because they have a different function, i.e.,

they do not filter water.

       Q. . . . Dr. Rockstraw, are you aware that -- of criticisms ZeroWater has made of
       your calculation of filter media volume?


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       A. I am.

       Q. What is your understanding of their criticism of your calculation of filter media
       volume?

       A. I’ve been criticized for not including some of the stages of their 5-stage filter in
       the calculation of the volume.

       Q. And which stages did you not include in your calculation of the filter media
       volume?

       A. By numbers, those would be stage 1 and stage 2, which are the screen on top
       of the filter cup and the foam distributor immediately beneath that.

                                               ***

       Q. Why did you not include those two components in your calculation of the filter
       media volume?

       A. My experience with packed beds tells me that those are not filter media. The
       distributor’s purpose is to assure that the incoming water is distributed evenly
       across the top of the bed so that you don’t get channelling of the water
       preferentially through some portion of the bed. If that happens, you’re not using
       your media uniformly, and the filter life will not be what it’s stated to be.

(Tr. (Rockstraw) at 489:20-491:1 (emphases added).).

       Even if the volume of the screen and foam distributor were included, Dr. Rockstraw

opined that the effect on the resulting FRAP factor would be trivial. (Id. at 490:4-17.). Brita

noted that “[b]ased on the f, ce, and L values for the Accused ZeroWater Products, a filter

volume of nearly 10 times the measured value would be required to return a FRAP factor of

more than 200.” (CBr. at 43.). Brita provided evidence supporting its claim that “the screens

and foam pad simply do not occupy this amount of additional volume.” (Id. (citing CX-

0565.0005 (diagram of ZeroWater Filter); CX-0175C.0011 (S&N Labs Report); CDX-

0008C.0042 (illustrating filter media of Accused ZeroWater Filter).). ZeroWater did not rebut

Dr. Rockstraw’s opinion. (See RPBr. at 29-30; RRBr. at 9.).

       Respondents’ expert, Mr. Herman, used the same methodology as Brita when he



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measured the volume of the alleged ZeroWater prior art filter. (Tr. (Herman) at 1194:17-

1195:7.). That is, he measured only the activated carbon, ion exchange resin, and KDF treatment

fluid when determining the volume of the alleged ZeroWater prior art product. (Id. at 1194:22-

1195:2; see also RDX-0007C.0056.). Mr. Herman testified that he did not “have any reason to

doubt” this was a correct way to calculate the volume of the filter media. (Tr. (Herman) at

1195:3-7.).

       Respondents contended that inclusion of the screen and foam distributor is consistent

with the adopted construction, and quoted the following from the Markman Order: “volume may

also include the volume of membranes or other features associated with filtering techniques that

may be present in the filter.” (RRBr. at 9 (citing Markman Order at 8-14); Markman Order at

11.). Here, Respondents failed to present any evidence that the screen and foam distributor are

indeed “associated with filtering techniques.” As Dr. Rockstraw testified, and discussed above,

these components have a different function.

       Respondents also asserted that Dr. Rockstraw “acknowledged ‘filter media’ is not limited

to only ‘activated carbon and a lead scavenger,’ and that other of the five stages could filter

contaminants.” (RRBr. at 9 (emphasis added) (citing Tr. (Rockstraw) at 583:9-16, 584:14-23.).

Respondents’ assertion is misleading. Dr. Rockstraw’s full testimony is replicated below:

       Q. . . . Dr. Rockstraw, wouldn’t you agree that some of the three stages that Mr.
       Nishijima failed to measure are associated with filtering techniques in the
       ZeroWater filter?

       A. Well, if you have chunks in your tap water, the initial screen would take out
       those chunks and that would be considered filtration, but it really has nothing to do
       with lead.

       Q. Is there anything in here that limits filtering techniques to lead?

       A. Well, when I read claim 1 in context of the ’141 patent, it’s referring me to lead
       separation, yes.



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(Tr. (Rockstraw) at 583:9-20.).

       Dr. Rockstraw’s testimony reveals his understanding of filtration, in the context of the

’141 patent, to mean the techniques associated with filtering “contaminants,” such as lead, and

not filtration in general, i.e., “chunks.” Thus, he was not necessarily acknowledging that the

other stages of the Accused ZeroWater Filter could be “associated with filtering techniques,” as

disclosed in the ’141 patent, and as Respondents contended.

       Respondents also pointed to the language in claim 1 reciting a filter media that

“include[es] at least activated carbon and a lead scavenger” to support the same proposition.

(RRBr. at 9.). However, Respondents failed to provide evidence or argument explaining why

components that do not filter, as that term is used in the ’141 patent, should be included in the

claimed volume measurement just because the claim recites this language. (Id.). Thus, Dr.

Rockstraw’s testimony upon which Respondents rely does not support Respondents’ assertion.

       In their Pre-Hearing Brief, Respondents argued that the Accused ZeroWater Filter does

not practice this limitation because the ’141 patent purportedly disclaims filters having a volume

greater than 400 cm3. (RPBr. at 29.). However, as Brita correctly noted, that argument was

squarely rejected in the Markman Order issued in this Investigation. (Markman Order at 13-14

(declining to read a maximum volume limitation into the claims); CBr. at 43.).

       For the reasons discussed above, Brita has proven by a preponderance of evidence that

the Accused ZeroWater Filter practices this limitation of claim 1 of the ’141 patent.

                       b)      “f = average filtration unit time over lifetime L (min/liter)”

       After testing the filtration unit time for 72 of 76 filtered liters and averaging those values,

the average time that it takes to filter one liter of water over the lifetime of the Accused

ZeroWater Filter (i.e., the average filtration unit time over lifetime) is approximately 11.8



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minutes/liter. (Tr. (Rockstraw) at 487:24-488:4; CX-0911C.0001, 0005 (filtration unit time

measurements); CDX-0008C.0049 (summarizing filtration unit time measurements).). Dr.

Rockstraw testified that he used the same methodology for determining the average filtration unit

time for the Accused ZeroWater Filter as for the Accused PUR Plus Filter. (Tr. (Rockstraw) at

487:24-488:4.).

        During the Hearing, ZeroWater’s counsel questioned Mr. Nishijima about the “2-fill”

notation on the filtration unit time measurements in CX-0911C. (Tr. (Nishijima) at 376:3-

377:23.). During that questioning, counsel suggested that Brita had actually filtered 77 liters

rather than 76. (Id.). Mr. Nishijima later clarified that only 76 liters had been filtered. (Tr.

(Nishijima) at 414:20-416:5.). As discussed above in Section IX(A)(4), the “2-fill” notation

indicates that the technician forgot to empty the prior filtered liter from the lower filtered water

reservoir before adding the next liter. It does not indicate that an extra liter was filtered. (Id.).

However, even if one additional liter had been filtered, ZeroWater did not present any evidence

to support a finding that it would have made any difference with respect to whether the Accused

ZeroWater Filter has a FRAP factor below at least about 200.

        For the reasons discussed above, Brita has proven by a preponderance of evidence that

the Accused ZeroWater Filter practices this limitation of claim 1 of the ’141 patent.

                        c)      “ce = effluent lead concentration at end of lifetime L when
                                source water having a pH of 8.5 contains 90-120 ppb (μg/liter)
                                colloidal lead greater than 0.1 μm in diameter”

        Brita’s testing showed that the effluent lead concentration at the end of the filter lifetime

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Pb, eff, 100%, 6-15-2021” effluent sample having a lead concentration of 0.14 ppb at 100%

lifetime); CBr., App. A at 2; see also Tr. (Rockstraw) at 487:24-488:4; CDX-0008C.0050



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(summarizing lead effluent measurements).). This is consistent with NSF testing that confirmed

a lead effluent RIHTXDOWRRUOHVVWKDQȝJ/DWHQGRIOLIHWLPH &;-0581C.0003 (NSF Test

Report); CDX-0008C.0051 (summarizing NSF certification testing measurements).).

       Respondents asserted that “the evidence likely shows that the ce value used by Brita was

taken after the lifetime (L) was reached.” (RRBr. at 9.). In support of this assertion,

Respondents stated the following:

       Mr. Nishijima repeatedly testified that because two liters were passed through the
       tested ZeroWater filter at liter 53, his ce measurement was made after 77 liters of
       water had passed through the filter as opposed to the 76 liters Brita asserts matches
       up with the lifetime (L) of the Accused ZeroWater Products. After a lunch break,
       Mr. Nishijima sought to change his prior testimony, which leaves the record unclear
       as to what he actually did when testing the Accused ZeroWater Products. When
       his testimony and credibility is properly weighed, Mr. Nishijima’s testimony shows
       that Brita has not adequately measured the Ce [sic] of the Accused ZeroWater
       Products and thus fails to show infringement.

(Id. (citing Tr. (Nishijima) at 375:9-23, 377:7-23; 376:3-22, 424:8-20).).

       However, as discussed above with the “average filtration unit time over lifetime L”

limitation and Section IX(A) with respect to testing, Mr. Nishijima clarified that although the “2-

fill” notation indicates that two (2) liters had been passed, 76, and not 77, liters were filtered.

(Tr. (Nishijima) at 414:20-416:5.). Thus, Respondents’ assertion “the ce value used by Brita was

taken after the lifetime (L) was reached” is incorrect. Moreover, as Brita noted, neither

Respondents as a group, or ZeroWater on its own, put forward any rebuttal expert testimony on

this issue. (See CPBr. at 20; RPBr. at 29-30 (no citation to expert testimony); RRBr. at 9

(same).).

       For the reasons discussed above, Brita has proven by a preponderance of evidence that

the Accused ZeroWater Filter practices this limitation of claim 1 of the ’141 patent.




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                       d)     “L = filter usage lifetime claimed by a manufacturer or seller
                              of the filter (gallons)”

       The Accused ZeroWater Filter has a validated lifetime of 20 gallons, that is, the total

number of gallons of water that ZeroWater has validated can be filtered before the filter is

replaced. (Tr. (Rockstraw) at 488:5-7.). The Accused ZeroWater Filter is NSF/ANSI 53

certified for lead removal of at pH 8.5 for 20 gallons. (CX-0570C.0001 (claiming NSF/ANSI 53

certification for lead removal at pH 8.5); CX-0570C.0001 (ZeroWater Performance Data Sheet

showing lifetime of 20 gallons and that the product has an NSF/ANSI 53 certification for lead

reduction at pH 8.5); Tr. (Rockstraw) at 488:8-19.).

       ZeroWater’s NSF/ANSI 53 certification indicates that it reduces lead below 5 ppb for

200% of filter lifetime, which is below the 10 ppb threshold required to be certified for lead

reduction under the NSF/ANSI 53 (2007) standard. (Tr. (Herman) at 1174:15-1175:9; CX-

0690C (Franks Dep. Tr.) at 52:17-21 (effluent lead concentration threshold under the current

NSF/ANSI 53 standard is 5 ppb).). Therefore, the Accused ZeroWater Filter is validated for a

capacity of 20 gallons. (Tr. (Rockstraw) at 488:5-19; CDX-0008C.0052 (explaining the lifetime

is 20 gallons for the Accused ZeroWater Filter).).

       ZeroWater also produced NSF certification testing data for the accused filter in this

Investigation evidencing a 20-gallon lifetime. (Tr. (Rockstraw) at 489:2-7; CX-0581C.0002

(NSF Test Report); CDX-0008C.0054 (summarizing NSF testing data).).

       Respondents contended that the 20-gallon capacity was determined by using the current,

more stringent NSF 53 challenge water (which includes a lower maximum effluent lead

concentration of 5 ppb instead of NSF/ANSI 53 (2007)’s 10 ppb), and not NSF/ANSI 53 (2007).

(RRBr. at 8 (citing CX-0570C.0001).). Based on Mr. Nishijima’s testimony acknowledging that

the challenge water for infringement testing did not comply with NSF/ANI 53 (2007),


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Responded asserted that “Brita has no certifications or testing . . . that support the 20-gallon

value used by Brita to calculate the FRAP value for the Accused ZeroWater Products.” (Id.

(citing Tr. (Nishijima) at 351:9-353:10; CBr. at 43-44, 46).). Brita’s assertion is not persuasive.

To the contrary, that the Accused ZeroWater Filter is NSF/ANSI 53 certified for lead removal

under the current standard, which is more stringent than the 2007 standard, overwhelmingly

supports the 20-gallon value Brita used.

          For the reasons discussed above, Brita has proven by a preponderance of evidence that

the Accused ZeroWater Filter practices this limitation of claim 1 of the ’141 patent.

          F.     The Accused ZeroWater Products Practice Claims 2 and 5 of the ’141 Patent

                 1.      Claim 2: “The water filter as recited in claim 1, wherein the filter
                         achieves a FRAP factor of less than about 200”

          As discussed above in Section X(E)(3) the Accused ZeroWater Filter achieves a FRAP

factor of approximately 22.7. (Tr. (Rockstraw) at 491:2-10; CDX-0008C.0057.). Moreover,

Respondents did not present any separate rebuttal arguments with respect to this claim. (RPBr.

at 29-30; RRBr. at 7-10.). Thus, any argument Respondents may try to make on this issue is

deemed abandoned, withdrawn, and/or waived under Ground Rules 7.2 and 10.1.

          For the reasons discussed above, Brita has proven by a preponderance of evidence that

the Accused ZeroWater Filter practices the additional limitation recited in claim 2 of the ’141

patent.

                 2.      Claim 5: “The water filter as recited in claim 1, wherein the average
                         filtration unit time (f) is less than about 12 minutes per liter”

          As discussed above in Section X(E)(3)(b), the data indicates that average filtration unit

time over filter lifetime for the Accused ZeroWater Filter is approximately 11.8 minutes/liter.

(Tr. (Rockstraw) at 491:11-17; CX-0911C.0001, 0005 (filtration unit time measurements); CDX-




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0008C.0058 (summarizing average filtration unit time measurements).). Therefore, the Accused

ZeroWater Filter has an “average filtration unit time (f) [that] is less than about 12 minutes per

liter.” (Id.).

        Respondents pointed out that Dr. Rockstraw discarded four flow rate measurements from

Mr. Nishijima’s testing; the measurements at liters 6 and 53 because of alleged timing or refill

errors, and two “missed” measurements at liters 29 and 64. (RRBr. at 10 (citing Tr. (Rockstraw)

at 586:11-13; CDX-0008C.0049; CX-0911C.0001, 0005).). Respondents argued that had liters 6

and 53 been included in the average flowrate, such that 74 of 76 liters were measured, rather than

the 72 of 76 filters liters that Dr. Rockstraw considered, this would result in a flowrate of 12.37

minutes/liter, which is outside the scope of claim 5. (Id. (citing Tr. (Rockstraw) at 588:3-7,

589:7-23; RDX-0014C.0008; CX-0911C.0001, 0005).).

        Dr. Rockstraw provided persuasive testimony that clarified why the values were

excluded. He explained that the two (2) values were excluded because they were the result of an

erroneous measurement (e.g., the measurement was either the result of a timer error or taken with

a liter of water already in the filtered reservoir) and, thus, were outliers (nearly four times longer

than the average). (Id. at 588:8-589:4; CX-0911C.0001, 0005 (filtration unit time

measurements).). Dr. Rockstraw also testified that including these measurements in the average

filtration unit time would introduce error and would not provide a representative measurement.

(Tr. (Rockstraw) at 587:25-589:4.). Moreover, as Brita noted, neither Respondents as a group, or

ZeroWater on its own, offered rebuttal expert testimony/evidence on this issue. (See CPBr. at

20; RPBr. at 29-30 (no citation to expert testimony); RRBr. at 10 (same).). On Respondents’

part, there was a failure of proof.

        For the reasons discussed above, Brita has proven by a preponderance of evidence that



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the Accused ZeroWater Filter practices the additional limitation recited in claim 5 of the ’141

patent.

          G.     The Accused ZeroWater Products Practice Claim 23 of the ’141 Patent

                 1.     “A gravity-flow system for filtering water, comprising”

          The combination of Accused ZeroWater Containers and ZeroWater Filter (“Accused

ZeroWater Products”) constitute “[a] gravity-flow system for filtering water,” because, as

ZeroWater admitted in response to Brita’s RFA, the Accused ZeroWater Filter is gravity-fed.

(CX-0800.0067-68 (ZeroWater Obj. and Resp. to RFA No. 88); see also Tr. (Rockstraw) at

493:10-494:5; CDX-0008C.0059-60 (illustrating the Accused ZeroWater Products and

summarizing evidence relied upon).).

          For the reasons discussed above, Brita has proven by a preponderance of evidence that

the Accused ZeroWater Products meet the preamble of claim 23 of the ’141 patent.

                 2.     “a container having a source water reservoir than can hold source
                        water and a filtered water reservoir that can hold filtered water”

          In response to Brita’s RFA, ZeroWater admitted that the Accused ZeroWater Products

include a reservoir that can hold filtered water separate from a space that can hold water that has

not yet passed through the filter. (CX-0800.0089-90 (ZeroWater Obj. and Resp. to RFA No.

115).). ZeroWater also admitted that the Accused ZeroWater Products include the Accused

ZeroWater Containers that have: (1) an upper reservoir for water that has not yet passed through

the filter in the Accused ZeroWater Container; and (2) a lower reservoir for filtered water. (CX-

0800.0090 (ZeroWater Obj. and Resp. to RFA No. 116); see also CX-0016.0001 (ZeroWater

website).). The following photograph, Figure No. 8, shows the upper and lower reservoirs of the

ZeroWater pitcher:




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                       Figure No. 8: Photograph of ZeroWater Pitcher




(CX-0023.0006 (photograph showing upper and lower reservoir).).

       For the reasons discussed, Brita has proven by a preponderance of evidence that the

Accused ZeroWater Products meet this limitation of claim 23 of the ’141 patent.

               3.      “a cartridge in communication with both the source water reservoir
                       and the filtered water reservoir, the cartridge providing a path
                       through which water can flow from the source water reservoir to the
                       filtered water reservoir”

       The Accused ZeroWater Products include “a cartridge in communication with both the

source water reservoir and the filtered water reservoir, the cartridge providing a path through

which water can flow from the source water reservoir to the filtered water reservoir.” (Tr.

(Rockstraw) at 493:10-494:5.). The following photographs, Figure No. 9, show that when the

cartridge containing the Accused ZeroWater Filter is placed in the ZeroWater pitcher, the

cartridge is in communication with both reservoirs:




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              Figure No. 9: Photographs of ZeroWater Cartridge and Pitcher




(CX-0023.0005-0006; CDX-0008C.0059 (same).).

       Respondents did not contest this. (RPBr. at 29-30; RRBr. at 7-10.). Thus, any argument

Respondents may try to make on this issue is deemed abandoned, withdrawn, and/or waived

under Ground Rules 7.2 and 10.1.

       For the reasons discussed above, Brita has proven by a preponderance of evidence that

the Accused ZeroWater Products meet this limitation of claim 23 of the ’141 patent.

              4.      “a filter as recited in claim 1 disposed within the cartridge”

       The Accused ZeroWater Products have “a filter as recited in claim 1 disposed within the

cartridge.” (Tr. (Rockstraw) at 493:10-494:5; CDX-0008C.0059-60 (showing Accused

ZeroWater Filter and summarizing evidence relied upon). Figure No. 10, below, is a photograph

of the ZeroWater cartridge.




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                       Figure No. 10: Photograph ZeroWater Cartridge




(CX-0023.0005.).

       Respondents did not contest this. (RPBr. at 29-30; RRBr. at 7-10.). Thus, any argument

Respondents may try to make on this issue is deemed abandoned, withdrawn, and/or waived

under Ground Rules 7.2 and 10.1.

       For the reasons discussed, Brita has proven by a preponderance of evidence that the

Accused ZeroWater Products meet this limitation of claim 23 of the ’141 patent.

       H.      ZeroWater Redesigned Products Practice Claims 1, 2, 5, and 23 of the ’141
               Patent

       The Accused ZeroWater Redesign Filters have model numbers ZP-006-A, ZP-006-B, ZP-

006-C, and ZP-006-D. (See CX-0943; RPBr. at 31.). During the Hearing, these filters were

referred to as Redesign A, B, C, and D, respectively.

       Zero Technologies, LLC’s President, Mr. Kellam, confirmed that there are no differences

between the alleged redesigns and the originally accused filters.

       Q. . . . So there are no differences in the filter composition between Gen 2 and A
       through D, right?

       A. That’s correct.

       Q. There are no differences in the volume of the filter between Gen 2 and A through
       D.

       A. That’s correct.

       Q. There’s no difference in the performance of Gen 2 versus A through D.



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        A. That’s correct.

        Q. There’s no difference in the function of the product Gen 2 versus A through D.

        A. That’s correct.

        Q. So these products are identical, right?

        A. The product themselves are identical, yes.

(Tr. (Kellam) at 914:1-14 (emphasis added); see also CX-0692C (Kellam Dep. Designation) at
159:4-19 (“Q. And what’s the difference between your current products and the alternative or
redesign products? A. Nothing.”) (emphasis added); Tr. (Rockstraw) at 484:18-485:1
(explaining that the products are physically identical); CDX-0008C.0037.).

        Additionally, ZeroWater’s own counsel stated that with respect to the “four new models

(ZP-006-A, ZP-006-B, ZP-006-C, and ZP-006-D)[,] . . . “[t]he structure of the filter and pitcher

in these models are unchanged from the accused products.” (CX-0943 (Apr. 22, 2022

Brandyberry letter); CDX-0008C.0038 (summarizing letter).).

        For the reasons discussed above, Brita has proven by a preponderance of evidence that

the Accused ZeroWater Redesign Filters practice claims 1, 2 and 5, and the Accused ZeroWater

Redesign Filters with their corresponding pitchers (“Accused ZeroWater Redesign Products”)

practice 23 for the same reasons discussed above with respect to the Accused ZeroWater Filters

and Accused ZeroWater Products. (See Tr. (Rockstraw) at 485:2-8 (“Q. If the redesigned filters

are identical physically, chemically to the original accused filters, how does that impact your

opinion with respect to infringement? A. The redesigned filters would be equally applicable to

any analysis I do of the original filters.”).).

        Respondents argued that the Accused ZeroWater Redesign Filters do not claim a lifetime

(L) because that information has removed the packaging for these products. (RPBr. at 30-31;

RRBr. at 10.). Brita did not dispute that the packaging for the Accused Redesign Products differ

from the packaging of the Accused ZeroWater Products. (CPBr. at 26; CBr. at 50.).



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        Respondents pointed out that the claim limitation itself includes the requirement that a

lifetime in gallons is “claimed by a manufacturer or seller.” (RRBr. at 12 (citing JX-0022 at cl.

1).). Respondents also argued that the ’141 patent “affirms that what is claimed on product

packaging is paramount when determining whether a product possesses a Lifetime of the

Asserted Claims.” (Id. at 13 (citing JX-0022.0043).).

        Again, Respondents did not dispute that the Accused ZeroWater Redesign Filters are

identical to the existing filter, and acknowledged that the “performance” and “function” of the

Accused ZeroWater Redesign Filters are identical to the existing Accused ZeroWater Filter. (Tr.

(Kellam) at 913:4-914:14.). Given Respondents’ concession, and with all other parameters being

identical, one could reasonably conclude, and it least draw the evidentiary inference, that the

lifetime of the Accused ZeroWater Redesign Filters would also be the same as the Accused

ZeroWater Filter.

        Additionally, that the lifetime for the Accused ZeroWater Redesign Filters is not

expressly disclosed on the packaging does not take them out of the scope of claim 1. Although

the claim explicitly recites a lifetime “claimed by a manufacturer or seller,” other than a

disclosure in the specification that “[t]ypically these claims are present on the product packaging

in the form of instructions to a consumer,” there is nothing in the claim or in the specification

that requires the “claim[] by the manufacturer or seller” to be made only on a product’s

packaging. Respondents’ acknowledgment that the Accused ZeroWater Redesign Filters have

the same “performance” and “function” as the Accused ZeroWater Products can be viewed as,

and is understood here to be, an admission that related qualities of the filter, such as the lifetime

of the filter, is the same.

        For the reasons discussed above in Sections X(E)-(G) with respect to the Accused



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ZeroWater Products, Brita has proven by a preponderance of evidence that the Accused

ZeroWater Redesign Filters practice claims 1, 2, 5, and 23 of claim 23 of the ’141 patent.

       I.      The Accused LifeStraw Products Practice Claim 1 of the ’141 Patent

               1.     “A gravity-fed water filter, comprising”

       In response to Brita’s RFA, LifeStraw admitted that the Accused LifeStraw Home Filter

is a “gravity-fed water filter.” (CX-0803C.0005 (LifeStraw Obj. and Resp. to RFA No. 380);

CDX-0008C.0086 (excerpting RFA).). Brita also provided documentary evidence supporting

LifeStraw’s admission. (CX-0035 (LifeStraw User Manual); CX-0036 (LifeStraw User

Manual); CX-0274C.0051 (LifeStraw Evidence Dossier) (stating, “Physical Description of

Sample: Gravity Filter”).).

       For the reasons discussed above, Brita has proven by a preponderance of evidence that

the Accused LifeStraw Home Filter meets the preamble of claim 1 of the ’141 patent.

               2.     “filter media including at least activated carbon and a lead scavenger”

       As discussed below, the Accused LifeStraw Home Filter has a “filter media including at

least activated carbon and a lead scavenger” as recited in claim 1. (Tr. (Rockstraw) at 504:5-15;

CX-0024.0004, 0006 (photographs of Accused LifeStraw Home Filter); CDX-0008C.0087

(identifying activated carbon and lead scavenger in Accused LifeStraw Filter).).

                      a)      “activated carbon”

       In response to Brita’s RFA, LifeStraw admitted that the Accused LifeStraw Home Filter

contains activated carbon. (CX-0803C.0007 (LifeStraw Obj. and Resp. RFA No. 384); CX-

0175C.0005; CX-0774C.0038 (LifeStraw Obj. and Resp. to Interrog. 29)




Additionally, Brita presented documentary evidence of LifeStraw’s admission. (CX-0175C.0005


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(S&N Labs Report); CX-0151C (S&N Labs LifeStraw Data); see also CDX-0008C.0102

(summarizing evidence of infringement).).

       For the reasons discussed above, Brita has proven by a preponderance of evidence that

the Accused LifeStraw Home Filter practices this limitation of claim 1 of the ’141 patent.

                       b)      “lead scavenger”

       In response to Brita’s RFA, LifeStraw admitted that the Accused LifeStraw Home Filter

also has an ion exchange resin, which is a lead scavenger because it removes or reduces lead in

water. (CX-0803C.0008-0009 (LifeStraw Obj. and Resp. RFA 388); Markman Order at 20.).

LifeStraw also explained that the second stage of the filter “comprises activated carbon

combined with an ion exchange resin in the form of fibers, which adsorbs chemicals and heavy

metals.” (CX-0774C.0038 (LifeStraw Obj. and Resp. to Interrog. 29).). Dr. Rockstraw testified

that “[l]ead is a heavy metal.” (Tr. (Rockstraw) at 504:24-505:5.). Moreover, LifeStraw’s

Director of Engineering, Mr. Jean-Luc Madier, confirmed that

                                                                                   . (CX-0699C

(Madier Dep. Tr.) 52 at 46:1-8; see also Tr. (Rockstraw) at 505:6-12; CX-0038.0002 (LifeStraw

website admitting the Accused LifeStraw Home Filter includes an ion exchange resin that

reduces lead).).

       For the reasons discussed above, Brita has proven by a preponderance of evidence that

the Accused LifeStraw Home Filter practices this limitation of claim 1 of the ’141 patent.




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 At the time of his deposition on May 17, 2022, Mr. Jean-Luc Madier was Director of Engineering at
Respondent LifeStraw. (CX-0699C (Madier Dep. Tr.) at 12:1-8.).


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               3.     “wherein the filter achieves a Filter Rate and Performance (FRAP)
                      factor of about 350 or less according to the following formula: FRAP
                      = [V * f * ce]/[L * 2]”

       Based on, inter alia Mr. Nishijima’s measurements for volume V (CX-0910C.0001 (V =

100)), flowrate f (CX-0911C.0003, 0007, 0010, 0011 (f = 6.1)), lead effluent ce (CX-

0912C.0001, 0004-06 (ce = 0.3)) and LifeStraw’s Home Testing Summary for lifetime L (CX-

0283C.0004 (L = 40)), each of which are discussed in detail below, Dr. Rockstraw calculated the

FRAP factor for the Accused LifeStraw Home Filter to be 2.3, which is less than 350.




(Tr. (Rockstraw) at 507:23-508:4; CDX-0008C.0101-102 (calculating FRAP factor and
summarizing evidence).).

       For the reasons discussed above, Brita has proven by a preponderance of evidence that

the Accused LifeStraw Home Filter practices this limitation of claim 1 of the ’141 patent.

               4.     “where: V = volume of the filter media (cm3)”

       Brita’s testing shows that the filter media of the Accused LifeStraw Home Filter has a

volume of approximately 100 cm3: the membrane microfilter has an approximate volume of 50

cm3, and the activated carbon and ion exchange filter has an approximate volume of 50 cm3.

(CX-0910C.0001C (volume testing); see also Tr. (Rockstraw) at 506:2-7; CDX-0008C.0093

(summarizing volume measurement).).

       Respondents did not contest these volume measurements. (See RPBr. at 32-36; RRBr. at

18-19.). Thus, any argument Respondents may try to make on this issue is deemed abandoned,

withdrawn, and/or waived under Ground Rules 7.2 and 10.1.

       For the reasons discussed above, Brita has proven by a preponderance of evidence that

the Accused LifeStraw Home Filter practices this limitation of claim 1 of the ’141 patent.



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                5.      “f = average filtration unit time over lifetime L (min/liter)”

        After testing the filtration unit time for 145 of 152 filtered liters and averaging those

values, Brita determined the average time that it takes to filter one liter of water over the filter

usage lifetime of the Accused LifeStraw Home Filter (i.e., average filtration unit time over the

lifetime) is approximately 6.1 minutes/liter. (CX-0911C.0003, 0007, 0010, 0011 (flow rate

testing); see also Tr. (Rockstraw) at 506:8-24; CDX-0008C.0094 (same).).




                                    (CX-0282C.0003 (                                      ); CDX-

0008C.0095 (summarizing                                   ).). Dr. Rockstraw also explained that 145

out of 152 liters or 95.4% of all filtered liters was sufficient to provide a statistically significant

average. (Tr. (Rockstraw) at 506:12-24.).

        Respondents did not dispute this measurement. (See RPBr. at 32-36; RRBr. at 18-19.).

Thus, any argument Respondents may try to make on this issue is deemed abandoned,

withdrawn, and/or waived under Ground Rules 7.2 and 10.1.

        For the reasons discussed above, Brita has proven by a preponderance of evidence that

the Accused LifeStraw Home Filter practices this limitation of claim 1 of the ’141 patent.

                6.      “ce = effluent lead concentration at end of lifetime L when source
                        water having a pH of 8.5 contains 90-120 ppb (μg/liter) colloidal lead
                        greater than 0.1 μm in diameter”

        Brita’s testing demonstrates that the effluent lead concentration at the end of the filter

lifeWLPHIRUWKH$FFXVHG/LIH6WUDZ+RPH)LOWHULVDSSUR[LPDWHO\ȝJ/ &;-0912C.0006

(“9-Lifestraw, eff, 152L, 8-4-2021” sample having a lead concentration of 0.26 ppb at 100%

lifetime); CBr., App. A at 2; see also Tr. (Rockstraw) at 506:25-507:3.). This is consistent with




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the LifeStraw Home Evidence Dossier, which provides testing for “Lead reduction following

NSF/ANSI 53 Standard” and indicates that effluent lead concentration at the end of lifetime L

for lead reduction at pH 8.5 was below the threshold OLPLWRIȝJ/ &;-0274C.0019

(LifeStraw Home Evidence Dossier).).

       Respondents did not dispute this volume measurement. (See RPBr. at 32-36; RRBr. at

18-19.). Thus, any argument Respondents may try to make on this issue is deemed abandoned,

withdrawn, and/or waived under Ground Rules 7.2 and 10.1.

       For the reasons discussed above, Brita has proven by a preponderance of evidence that

the Accused LifeStraw Home Filter practices this limitation of claim 1 of the ’141 patent.

               7.      “L = filter usage lifetime claimed by a manufacturer or seller of the
                       filter (gallons)”

       In response to Brita’s RFA, LifeStraw admitted that the Accused LifeStraw Home Filter

has a validated lifetime of 40 gallons, the total number of gallons of water that LifeStraw has

validated can be filtered before the Accused LifeStraw Home Filter is replaced. (CX-

0803C.0013 at RFA No. 402 (admitting “that the manufacturer claimed lifetime of the LifeStraw

Home Water Filters is 40 gallons); CX-0018.0001-03 (LifeStraw website indicating “[t]he

activated carbon + ion exchange filter lasts 40 gallons (2 months)”); Tr. (Rockstraw) at 507:11-

22.). The Accused LifeStraw Home Filter is also certified under NSF/ANSI 53 to remove lead at

pH 8.5 for 40 gallons and is therefore validated for this capacity. (CX-0284C.0002 (product

description evidencing lifetime of 40 gallons and NSF/ANSI 53 certification for lead removal).).

LifeStraw’s NSF/ANSI 53 certification indicates that it reduces lead below 5 ppb for 200% of

filter lifetime, which is well below the 10 ppb threshold required to be certified for lead

reduction under the NSF/ANSI 53 (2007) standard. (Tr. (Herman) at 1174:15-1175:9; CX-

0690C (Franks Dep. Tr.) at 52:17-21 (effluent lead concentration threshold under the current


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NSF/ANSI 53 standard is 5 ppb).

       Additionally, the Accused LifeStraw Home Filter’s product packaging reports that it has

NSF/ANSI 53 lead reduction certification and indicates the “LifeStraw filter has two elements,

the membrane microfiber has a lifetime of 264 gallons, the LifeStraw activated carbon and ion

exchange filter has a lifetime of 40 gallons.” (Tr. (Rockstraw) at 507:11-22; CX-0284C.0002

(LifeStraw Home Description); CDX-0008C.0098.). Because at least one component of the

filter system must be replaced every 40 gallons, Dr. Rockstraw testified that the filter usage

lifetime of the Accused LifeStraw Home Filter when assembled and used as intended is 40

gallons. (Tr. (Rockstraw) at 507:11-22; see also CX-0010.0089 (requiring that the claimed

lifetime be the lowest reduction capacity or service life that has been verified through testing to

NSF/ANSI 53).

       Respondents did not contest this measurement. (See RPBr. at 32-36; RRBr. at 18-19.).

Thus, any argument Respondents may try to make on this issue is deemed abandoned,

withdrawn, and/or waived under Ground Rules 7.2 and 10.1.

       For the reasons discussed above, Brita has proven by a preponderance of evidence that

the Accused LifeStraw Home Filter practices this limitation of claim 1 of the ’141 patent.

       J.      The Accused LifeStraw Products Practice Claims 2-5 of the ’141 Patent

               1.      Claim 2: “The water filter as recited in claim 1, wherein the filter
                       achieves a FRAP factor of less than about 200.”

       As discussed above in Section X(I) with respect to claim 1, the Accused LifeStraw Home

Filter achieves a FRAP factor of approximately 2.3. (Tr. (Rockstraw) at 508:5-10; CDX-

0008C.0103 (calculating FRAP).).

       LifeStraw did not contest this measurement or provide any separate rebuttal arguments

with respect to claim 3 in Respondents’ Pre-Hearing Brief or Post-Hearing Reply Brief. (See


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RPBr. at 32-36; RRBr. at 18-19.). Thus, any argument Respondents may try to make on this

issue is deemed abandoned, withdrawn, and/or waived under Ground Rules 7.2 and 10.1.

       For the reasons discussed above, Brita has proven by a preponderance of evidence that

the Accused LifeStraw Home Filter practices the additional limitation recited in claim 2 of the

’141 patent.

               2.     Claim 3: “The water filter as recited in claim 1, wherein the volume of
                      the filter media (V) is less than about 300 cm3.”

       As discussed above in Section X(I)(4) with respect to claim 1, the volume of the filter

media of the Accused LifeStraw Home Filter is approximately 100 cm3, which is less than 300

cm3. (CX-0910C.0001 (volume testing); see also Tr. (Rockstraw) at 508:11-19; CDX-

0008C.0104 (summarizing measured volume).

       LifeStraw did not contest this measurement or provide any separate rebuttal arguments

with respect to claim 3 in Respondents’ Pre-Hearing Brief or Post-Hearing Reply Brief. (See

RPBr. at 32-36; RRBr. at 18-19.). Thus, any argument Respondents may try to make on this

issue is deemed abandoned, withdrawn, and/or waived under Ground Rules 7.2 and 10.1.

       For the reasons discussed above, Brita has proven by a preponderance of evidence that

the Accused LifeStraw Home Filter practices the additional limitation recited in claim 3 of the

’141 patent.

               3.     Claim 4: “The water filter as recited in claim 3, wherein the volume of
                      the filter media (V) is less than about 150 cm3.”

       As discussed above in Sections X(I)(4) and X(J)(2) with respect to claims 1 and 3, Brita’s

testing demonstrates that the volume of the filter media of the Accused LifeStraw Home Filter is

approximately 100 cm3, which is less than 150 cm3. (CX-0910C.0001 (volume testing).).

       LifeStraw did not contest this measurement or provide any separate rebuttal arguments




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with respect to claim 4 in Respondents’ Pre-Hearing Brief or Post-Hearing Reply Brief. (See

RPBr. at 32-36; RRBr. at 18-19.). Thus, any argument Respondents may try to make on this

issue is deemed abandoned, withdrawn, and/or waived under Ground Rules 7.2 and 10.1.

       For the reasons discussed above, Brita has proven by a preponderance of evidence that

the Accused LifeStraw Home Filter practices the additional limitation recited in claim 4 of the

’141 patent.

                 4.    Claim 5: “The water filter as recited in claim 1, wherein the average
                       filtration unit time (f) is less than about 12 minutes per liter.”

       As discussed in Section X(I)(5) above with respect to claim 1, the data indicates that

average filtration unit time over filter lifetime for the Accused LifeStraw Home Filter is

approximately 6.1 minutes/liter. (CX-0911C.0003, 0007, 0010, 0011 (flow rate testing); see also

Tr. (Rockstraw) at 508:20-509:2; CDX-0008C.0105 (summarizing flow rate measurements).

Moreover,



                                                            (CX-0282C.0003 (

               ).).

       For the reasons discussed above, Brita has proven by a preponderance of evidence that

the Accused LifeStraw Home Filter practices the additional limitation recited in claim 5 of the

’141 patent.

XI.    TECHNICAL PRONG OF THE DOMESTIC INDUSTRY REQUIREMENT

       A.        Legal Standard

       A complainant in a patent-based Section 337 investigation must demonstrate that it is

practicing or exploiting the patents at issue. See 19 U.S.C. § 1337(a)(2) and (3); Certain

Microsphere Adhesives, Process for Making Same, and Prods. Containing Same, Including Self-



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Stick Repositionable Notes, Inv. No. 337-TA-366, Comm’n Op. at 8, Pub. No. 2949 (U.S.I.T.C.

Jan. 16, 1996) (“Microsphere Adhesives”). “In order to satisfy the technical prong of the

domestic industry requirement, it is sufficient to show that the domestic industry practices any

claim of that patent, not necessarily an asserted claim of that patent.” Certain Ammonium

Octamolybdate Isomers, Inv. No. 337-TA-477, Comm’n Op. at 55 (U.S.I.T.C. Jan. 5, 2004)

(“Certain Isomers”).

       The test for claim coverage for the purposes of the technical prong of the domestic

industry requirement is the same as that for infringement. Certain Doxorubicin and

Preparations Containing Same, Inv. No. 337-TA-300, Initial Determination at 109, 1990 WL

710463 (U.S.I.T.C. May 21, 1990), aff’d, Views of the Commission at 22 (October 31, 1990)

(“Doxorubicin”). “First, the claims of the patent are construed. Second, the complainant’s

article or process is examined to determine whether it falls within the scope of the claims.” Id.

The technical prong of the domestic industry can be satisfied either literally or under the doctrine

of equivalents. Certain Dynamic Sequential Gradient Devices and Component Parts Thereof,

Inv. No. 337-TA-335, Initial Determination at 44, Pub. No. 2575 (U.S.I.T.C. Nov. 1992).

       B.      The DI Products Practice Claim 1 of the ’141 Patent

       In their Post-Hearing Reply Brief, Respondents’ sole argument for lack of domestic

industry is that “if [the] ’141 Patent requires NSF 53 (2007), then Brita has failed to show the

technical prong of domestic industry” because “Brita’s testing was not in compliance with NSF

53 (2007) protocol for the majority of the tests.” (RRBr. at 19.). Even if, arguendo, that is the

case, Respondents’ contention is misguided and incorrect.

       As a result of the Markman proceedings, it was determined that while the ’141 patent

incorporates by reference the NSF/ANSI 53 (2007) standard, the patent does not require the



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standard. (See Section VIII(B), supra; see also Markman Order at 16 (“the standard is not

required as the method of ‘validation’ because of the permissive language used in the

specification of the ’141 patent”) (citing JX-0022 at 26:22 (stating that the standard “may” be

used for FRAP testing)).). Respondents did not raise other arguments for each specific claim

limitation.

       For the reasons discussed below, Brita LongLast Products (Brita LongLast Filters and

compatible Brita containers sold with Brita LongLast Filters) and the Brita LongLast+ Products

(Brita LongLast+ Filters and compatible Brita containers sold with Brita LongLast+ Filters)

(collectively, the “DI Products”) practice every limitation of claims 1-6 and 23 of the ’141

patent. (Tr. (Rockstraw) at 465:11-15; CDX-0008C.0007 (summarizing opinions).).

               1.     “A gravity-fed water filter, comprising”

       Brita presented documentary and testimonial evidence that the Brita LongLast and

LongLast+ Filters are “gravity-fed water filter[s].” (CX-0012C (Brita LongLast Packaging);

CX-0013C (Brita LongLast+ Packaging); CX-0020.0002 (LongLast+ Instructions); Tr.

(Rockstraw) at 511:4-8.).

       Respondents did not contest this. (See RPBr. at 42; RRBr. at 19.). Thus, any argument

Respondents may try to make on this issue is deemed abandoned, withdrawn, and/or waived

under Ground Rules 7.2 and 10.1.

       For the reasons discussed above, Brita has proven by a preponderance of evidence that

the Brita LongLast and LongLast+ Filters meet the preamble of claim 1 of the ’141 patent.

               2.     “filter media including at least activated carbon and a lead scavenger”

       For the reasons discussed below, the Brita LongLast and LongLast+ Filters include “filter

media including at least activated carbon and a lead scavenger.” (Tr. (Rockstraw) at 511:10-15;




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                      &21),'(17,$/0$7(5,$/20,77('
511:16-22.). Mr. Barrillon, Brita’s fact witness, also testified that there is a

                       in the filter media of the Brita LongLast and LongLast+ Filters and that

removing lead from water is “its sole purpose.” (Tr. (Barrillon) at 434:12-22; CDX-0008C.0120

(summarizing evidence for claim 1).). Because                       removes or reduces lead from

water, it is a lead scavenger. (See Markman Order at 20.).

       Respondents did not contest this. (See RPBr. at 42; RRBr. at 19.). Thus, any argument

that Respondents may try to make on this claim limitation/issue has been abandoned, withdrawn,

and/or waived under Ground Rules 7.2 and 10.1.

       For the reasons discussed above, Brita has proven by a preponderance of evidence that

the Brita LongLast and LongLast+ Filters practice this limitation of claim 1 of the ’141 patent.

               3.      “wherein the filter achieves a Filter Rate and Performance (FRAP)
                       factor of about 350 or less according to the following formula: FRAP
                       = [V * f * ce]/[L * 2]”

       Based, inter alia, on Mr. Nishijima’s measurements for volume V (CX-0910C.0004 (V =

48 for both)), flowrate f (CX-0911C.0016-0018, 0023-0024, 0026, 0028-0033 (f = 3.1 for

LongLast, 2.4 for LongLast+)), lead effluent ce (CX-0912C.0002, 0003, 0007-0009 (ce = 0.04 for

LongLast, 0.1 for LongLast+)) and Brita’s product packaging for lifetime L (CX-0012C, CX-

0020.0007, CX-0013C (L = 120 for both)), which are discussed in detail below, Dr. Rockstraw

calculated the FRAP factor for the LongLast and LongLast+ Filters and compatible Brita

containers sold with the LongLast and LongLast+ Filters as follows:

       For the Brita LongLast Products:




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        For the Brita LongLast+ Products:




(Tr. (Rockstraw) at 514:2-9; CDX-0008C.0119-0120 (calculating FRAP and summarizing
evidence).).

        Both products have FRAP factors of less than 350, which Respondents did not dispute.

(See RPBr. at 42; RRBr. at 19.). Accordingly, any argument Respondents may try to make on

this claim/issue has been abandoned, withdrawn, and/or waived any under Ground Rules 7.2 and

10.1.

        For the reasons discussed above, Brita has proven by a preponderance of evidence that

the Brita LongLast and LongLast+ Filters practice this limitation of claim 1 of the ’141 patent.

                        a)      “where: V = volume of the filter media (cm3)”

        Brita’s testing reflects that the volumes of the filter media of the Brita LongLast Filter

and the Brita LongLast+ Filter are both approximately 48 cm3. (CX-0910C.0004 (volume

testing); see also Tr. (Rockstraw) at 513:1-5; CDX-0008C.0115 (summarizing volume

measurements).).

        Respondents did not dispute this measurement. (See RPBr. at 42; RRBr. at 19.). Thus,

any argument Respondents may try to make on this this claim limitation/issue has been

abandoned, withdrawn, and/or waived under Ground Rules 7.2 and 10.1.

        For the reasons discussed above, Brita has proven by a preponderance of evidence that

the Brita LongLast and LongLast+ Filters practice this limitation of claim 1 of the ’141 patent.

                        b)      “f = average filtration unit time over lifetime L (min/liter)”

        Brita’s testing data taken of the filtration unit time at 454 out of 455 filtered liters for the

LongLast Filter and 453 out of 455 filtered liters for the LongLast+ Filter show that the average



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time it takes to filter one liter of water over the lifetime of the Brita LongLast Products and

LongLast+ Products are approximately 3.1 minutes/liter and 2.4 minutes/liter, respectively.

(CX-0911C.0016-0018, 0023-0024, 0026, 0028-0033 (flow rate testing); see also Tr.

(Rockstraw) at 513:6-9; CDX-0008C.0116 (summarizing filtration unit time data).). Dr.

Rockstraw confirmed that the methodology Mr. Nishijima used for the DI Products was the same

one he used for the Accused Products. (Tr. (Rockstraw) at 512:10-24.).

       Again, Respondents did not contest these measurements. (See RPBr. at 42; RRBr. at

19.). Thus, any argument Respondents may try to make on this claim limitation/issue has been

abandoned, withdrawn, and/or waived under Ground Rules 7.2 and 10.1.

       For the reasons discussed above, Brita has proven by a preponderance of evidence that

the Brita LongLast and LongLast+ Filters practice this limitation of claim 1 of the ’141 patent.

                       c)      “ce = effluent lead concentration at end of lifetime L when
                               source water having a pH of 8.5 contains 90-120 ppb (μg/liter)
                               colloidal lead greater than 0.1 μm in diameter”

       Brita’s testing of effluent lead concentration demonstrates that effluent lead concentration

DWWKHHQGRIOLIHWLPHLVDSSUR[LPDWHO\ȝJ/DQGȝJ/IRUWKH%ULWD/RQJ/DVW3URGXFWV

and the Brita LongLast+ Products, respectively. (CX-0912C.0003 (“# 11-Longlast, eff, 100%, 1-

27-2022” and “# 12-Longlast Plus, eff, 100%, 1-27-2022” samples having lead concentrations of

0.043 ppb and 0.095 ppb, respectively, at 100% lifetime); CBr., App. A at 3; see also Tr.

(Rockstraw) at 513:10-12; CDX-0008C.1117.).

       Respondents did not contest these measurements. (See RPBr. at 42; RRBr. at 19.). Thus,

any argument Respondents may try to make on this claim limitation/ issue has been abandoned,

withdrawn, and/or waived under Ground Rules 7.2 and 10.1.

       For the reasons discussed above, Brita has proven by a preponderance of evidence that



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the Brita LongLast and LongLast+ Filters practice this limitation of claim 1 of the ’141 patent.

                       d)     “L = filter usage lifetime claimed by a manufacturer or seller
                              of the filter (gallons)”

       Brita provided persuasive documentary and testimonial evidence that was uncontested

that the Brita LongLast and LongLast+ Filters have a validated lifetime of 120 gallons. (CX-

0012C (LongLast packaging); CX-0013C (LongLast+ packaging); CX-0020.0007 (same); Tr.

(Rockstraw) at 513:13-16; Tr. (Kahn) at 287:23-25; CDX-0008C.0118 (summarizing evidence of

the 120 gallon lifetime).). The packaging for the DI Products reflects that the DI Products are

NSF/ANSI 53 certified to remove lead at pH 8.5 for 120 gallons and are therefore validated for

that capacity. (CX-0012C (LongLast packaging); CX-0013C (LongLast+ packaging); CX-

0020.0007 (same); Tr. (Rockstraw) at 513:13-514:1.). Brita’s NSF/ANSI 53 certification

indicates that the filters reduce lead below 5 ppb for 200% of filter lifetime, which is well below

the 10 ppb threshold required to be certified for lead reduction under the NSF/ANSI 53 (2007)

standard. (Tr. (Herman) at 1174:15-1175:9; CX-0690C (Franks Dep. Tr.) at 52:17-21 (effluent

lead concentration threshold under the current NSF/ANSI 53 standard is 5 ppb).

       For the reasons discussed above, Brita has proven by a preponderance of evidence that

the Brita LongLast and LongLast+ Filters practice this limitation of claim 1 of the ’141 patent.

       C.      The DI Products Practice Claims 2-6 and 23 of the ’141 Patent

               1.      Claim 2: “The water filter as recited in claim 1, wherein the filter
                       achieves a FRAP factor of less than about 200.”

       As discussed above in Section XI(B) with respect to claim 1, the Brita LongLast and

LongLast+ Filters achieve a FRAP factor of approximately 0.02 and 0.05, respectively. (Tr.

(Rockstraw) at 514:10-16; CDX-0008C.0121 (calculating FRAP values for DI Products).).

       Like claim 1, Respondents did not dispute these measurements. (See RPBr. at 42; RRBr.




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at 19.). Thus, any argument Respondents may try to make on this claim limitation/issue has been

abandoned, withdrawn, and/or waived under Ground Rules 7.2 and 10.1.

        For the reasons discussed, Brita has proven by a preponderance of evidence that the Brita

LongLast and LongLast+ Filters practice the additional limitation of claim 2 of the ’141 patent.

               2.      Claim 3: “The water filter as recited in claim 1, wherein the volume of
                       the filter media (V) is less than about 300 cm3.”

                       Claim 4: “The water filter as recited in claim 3, wherein the volume of
                       the filter media (V) is less than about 150 cm3.”

        As discussed above in Section XI(B)(3)(a), with respect to claim 1, the volumes of the

filter media for the Brita LongLast and LongLast+ Filters are both approximately 48 cm3. (CX-

0910C.0004 (volume testing); see also Tr. (Rockstraw) at 514:17-24; CDX-0008C.0122.).

Again, similar to claim 1, Respondents did not contest this measurement. (See RPBr. at 42;

RRBr. at 19.). Accordingly, any argument Respondents may try to make on this claim

limitation/issue has been abandoned, withdrawn, and/or waived under Ground Rules 7.2 and

10.1.

        For the reasons discussed above, Brita has proven by a preponderance of evidence that

the Brita LongLast and LongLast+ Filters practice the additional limitations of claims 3 and 4 of

the ’141 patent.

               3.      Claim 5: “The water filter as recited in claim 1, wherein the average
                       filtration unit time (f) is less than about 12 minutes per liter.”

                       Claim 6: “The water filter as recited in claim 5, wherein the average
                       filtration unit time (f) is less than about 6 minutes per liter.”

        As discussed above in Section XI(B)(3)(b) with respect to claim 1, the average filtration

unit time over filter lifetime is approximately 3.1 minutes/liter for the Brita LongLast Filters and

approximately 2.4 minutes/liter for the Brita LongLast+ Filters. (CX-0911C.0016-18, 0023-

0024, 0026, 0028-33 (flow rate testing); see also Tr. (Rockstraw) at 515:1-9; CDX-0008C.0123


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(summarizing flow rate data).). Again, Respondents did not dispute these measurements. (See

RPBr. at 42; RRBr. at 19.). Thus, any argument Respondents may try to make on this claim

limitation/issue has been abandoned, withdrawn, and/or waived under Ground Rules 7.2 and

10.1.

        For the reasons discussed above, Brita has proven by a preponderance of evidence that

the Brita LongLast and LongLast+ Filters practice the additional limitations of claims 5 and 6 of

the ’141 patent.

               4.      Claim 23

        Claim 23 of the ’141 patent is directed to a “gravity flow system for filtering water.”

(JX-0022 at cl. 1 (emphasis added).). Brita presented uncontested documentary and testimonial

evidence that the Brita LongLast and LongLast+ Products include compatible containers 55 sold

with respective LongLast and LongLast+ Filters. (CX-0020.0001, 0002, 0009 (LongLast+

Instructions); CX-0902C.0004 ¶ 8 (specifying the “LongLast and LongLast+ filters are sold

individually, in multipacks, or in connection with the sale of a compatible pitcher or dispenser”);

CX-0177C (summary listing of shipments in consumer units, including any unit, filter or

container, that contains a Brita LongLast or LongLast+ Filter); Tr. (Rockstraw) at 515:14-15; Tr.

(Joel Ramirez) 56 at 623:18-624:6.).


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   Compatible Brita containers include at least the Brita Amalfi, Atlantis, Bella, Champlain, Classic,
Deluxe, Everyday, Grand, Huron, Lake, Legacy, LongLast, Marina, Mini Plus, Monterey, Pacifica,
Metro, Mist, Riviera, Slim, Soho, Space Saver, Stainless Steel, Wave, Tahoe, and Ultramax pitchers and
dispensers. (CBr. at 64 n.9 (citing Complainant Brita LP’s Disclosure of Domestic Industry Products
(Doc. ID 765219); CX-0012C (LongLast Packaging indicating that the LongLast Filter fits in all Brita
pitchers except for the Stream and Infinity pitchers); CX-0013C (LongLast+ Packaging, indicating that
the LongLast+ Filter fits in all Brita containers except for the Stream container); CX-0902C.0005 ¶ 11
(identifying compatible Brita containers)).).
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 At the time of his testimony during the Hearing on August 19, 2022, Mr. Joel Ramirez was the
Associate Director of Corporate Financial Planning and Analysis at the Clorox Company. (Tr. (Ramirez)



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        For the following reasons, the Brita LongLast and LongLast+ Products meet each

limitation of claim 23.

                          a)     “[a] gravity-flow system for filtering water”

        Brita provided unrefuted testimonial and documentary evidence that Brita containers sold

with LongLast and LongLast+ filters constitute “[a] gravity flow system for filtering water.” (Tr.

(Rockstraw) at 515:10-516:1; CX-0012C (LongLast packaging); CX-0013C (LongLast+

packaging); see also CX-0020.0002 (LongLast+ instructions); CDX-0008C.0124 (identifying

cartridge and both reservoirs on DI Products).).

        Respondents did not dispute this. (See RPBr. at 42; RRBr. at 19.). Thus, any argument

Respondents may try to make on this claim/issue is abandoned, withdrawn, and/or waived under

Ground Rules 7.2 and 10.1.

        For the reasons discussed above, Brita has proven by a preponderance of evidence that

the Brita LongLast and LongLast+ Products meet the preamble of claim 23 of the ’141 patent.

                          b)     “a container having a source water reservoir that can hold
                                 source water and a filtered water reservoir that can hold
                                 filtered water”

        Brita presented documentary and testimonial evidence that the Brita LongLast and

LongLast+ Products each include a container that has an upper source water reservoir that holds

unfiltered source water. (CX-0012C (LongLast packaging); CX-0013C (LongLast+ packaging);

see also CX-0020.0001-02, 0009 (photograph of LongLast+ Product); CDX-0008C.0124

(identifying reservoirs); Tr. (Rockstraw) at 515:10-516:1.). The evidence also demonstrates that

the same identified products have a lower water reservoir that holds the filtered water. (Id.).




at 619:14-17.). Brita identified Mr. Ramirez as a fact witness to testify about “evidence of Brita’s
industry in the United States.” (CPSt. at 2.).


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          Respondents did not contest this. (See RPBr. at 42; RRBr. at 19.). Thus, any argument

Respondents may try to make on this claim limitation/ issue has been abandoned, withdrawn,

and/or waived argument on this claim/issue under Ground Rules 7.2 and 10.1.

          For the reasons discussed above, Brita has proven by a preponderance of evidence that

the Brita LongLast and LongLast+ Products practice this limitation of claim 23 of the ’141

patent.

                         c)     “a cartridge in communication with both the source water
                                reservoir and the filtered water reservoir, the cartridge
                                providing a path through which water can flow from the
                                source water reservoir to the filtered water reservoir”

          The unrefuted documentary evidence Brita presented indicates that the Brita LongLast

and LongLast+ Products include “a cartridge in communication with both the source water

reservoir and the filtered water reservoir, the cartridge providing a path through which water can

flow from the source water reservoir to the filtered water reservoir.” (Tr. (Rockstraw) at 515:10-

516:1; CX-0012C (LongLast packaging); CX-0013C (LongLast+ packaging); see also CX-

0020.0002 (LongLast+ instructions); CDX-0008C.0124 (showing cartridge in communication

with both reservoirs).).

          The same evidence also shows that this cartridge fits in all compatible Brita containers

and has a path that allows water to flow from the source water reservoir to the filtered water

reservoir. (CX-0012C (LongLast packaging); CX-0013C (LongLast+ packaging).).

          Because Respondents did not contest this, any argument that Respondents may try to

make on this claim limitation/issue has been abandoned, withdrawn, and/or waived under

Ground Rules 7.2 and 10.1. (See RPBr. at 42; RRBr. at 19.).

          For the reasons discussed above, Brita has proven by a preponderance of evidence that

the Brita LongLast and LongLast+ Products practice this limitation of claim 23 of the ’141


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patent.

                         d)     “a filter as recited in claim 1 disposed within the cartridge”

          Brita provided uncontested documentary and testimonial evidence that the Brita

LongLast and LongLast+ Products have “a filter as recited in claim 1 disposed within the

cartridge” as recited in claim 23 of the ’141 patent. (CX-0012C (LongLast packaging); CX-

0013C (LongLast+ packaging); see also CX-0020.0002 (LongLast+ instructions); CX-

0021.0003 (LongLast Filter photograph); CDX-0008C.124 (identifying claimed filter); Tr.

(Rockstraw) at 515:10-516:1.). As discussed above in Section XI(B) with respect to claim 1, the

Brita LongLast and LongLast+ Filters include a filter media that is disposed within the cartridge.

(CX-0012C (LongLast packaging); CX-0013C (LongLast+ packaging).).

          Because Respondents did not contest this evidence, any argument Respondents may try

to make on this claim limitation/issue has been abandoned, withdrawn, and/or waived under

Ground Rules 7.2 and 10.1. (See RPBr. at 42; RRBr. at 19.).

          For the reasons discussed above, Brita has proven by a preponderance of evidence that

the Brita LongLast and LongLast+ Products practice this limitation of claim 23 of the ’141

patent.

XII.      INVALIDITY

          A.     Priority Date of the ’141 Patent

          Brita claimed several patent priority dates ranging from 2006-2008 in its notice, “Brita

LP’s Notice of Patent Priority Dates/Dates of Conception” (“Notice of Priority Dates”), which

Brita filed on March 1, 2022. (Doc. ID No. 764240 (Notice of Priority Dates) (Mar. 1, 2022).).

Brita claimed a date of conception of the invention that became the ’141 patent by at least May

16, 2006, and that it diligently reduced the invention to practice at least before September 20,




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2006, the filing date of U.S. Provisional Application No. 60/846,162 (“the ’162 application”).

(Id. at 1.). Brita also alternatively claimed that the ’141 patent has:

        x    priority to September 20, 2007, the filing date of U.S. Application No. 11/858,765, of

             which the ’141 patent is a Continuation-In-Part (“CIP”) 57;

        x    priority to October 29, 2007, the filing date of U.S. Application No. 11/927,372 (“the

             ’372 application”), of which the ’141 patent is also a CIP; or

        x    priority to September 9, 2008, the filing date of U.S. Application No. 12/207,284,

             which issued as the ’141 patent. (Id. at 1-2.).

        The filing dates of various priority documents that Brita claims also constitute the

necessary and supported documentation for the priority dates of the ’141 patent, are depicted in

the Figure No. 11 below. 58




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   A continuation-in-part contains disclosure of an earlier application, but also includes added matter that
is not present in that earlier application. PowerOasis, Inc. v. T-Mobile USA, Inc., 522 F.3d 1299, 1304
n.3 (Fed. Cir. 2008) (“PowerOasis”) (citations omitted).
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  Respondents alleged that there was improper inventorship of the ’141 patent. (RPBr. at 142-43
(alleging Toni Lynch was not an inventor).). However, Respondents withdrew this issue. (See Outline of
Issues, Doc. ID No. 783521 (Nov. 1, 2022).). Thus, Respondents have waived any argument on this issue
under Ground Rule 10.1.


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              Figure No. 11: The ’141 Patent Family’s Application Filing Dates




(RPBr. at 45.).

       Abandoned applications do not break the chain of priority so long as the written

description in an earlier application discloses the invention in a later application sufficiently to

satisfy the requirements of Section 112. 35 U.S.C. § 120 (benefit of earlier filing date); In re

NTP, Inc., 654 F.3d 1268, 1277 (Fed. Cir. 2011).

       In its Pre-Hearing Brief, Brita withdrew its reliance upon the September 20, 2007 and

September 9, 2008 priority dates. (CPBr. at 47.). Instead, during the Hearing and in its Post-

Hearing Brief, Brita relied upon May 16, 2006 as the date of conception and argued the invention

was diligently reduced to practice through July 2006 for purposes of prior art under 35 U.S.C. §

102(a) (Pre-AIA). (Id.; CBr. at 67.). Brita relied upon October 29, 2007, the filing date of the

’372 application for purposes of prior art under 35 U.S.C. § 102(b) (Pre-AIA). (CPBr. at 47;


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CBr. at 72-73). For the reasons discussed below, Brita has not proved conception of the ’141

patent on May 16, 2006. The earliest priority date of the ’141 patent is July 25, 2006, as

evidenced by actual reduction to practice of the ’141 patent claims. The ’141 patent also is

entitled to a priority date of September 19, 2006, which is the date of a memorandum that Dr.

Knipmeyer created expressly articulating the FRAP factor. Additionally, the ’141 patent is

entitled to priority to October 29, 2007, which is the filing date of the ’372 application.

                1.     Conception of the ’141 Patent

        Brita relied upon May 16, 2006 as the date of conception followed by diligent reduction

to practice of the invention for purposes of prior art under 35 U.S.C. § 102(a) (Pre-AIA). (CPBr.

at 47; CBr. at 67.).

        Conception is the “‘formation in the mind of the inventor, of a definite and permanent

idea of the complete and operative invention, as it is hereafter to be applied in practice.’”

Dawson v. Dawson, 710 F.3d 1347, 1352 (Fed. Cir. 2013) (citations omitted). The Federal

Circuit explained that “we have held that ‘conception is complete only when the idea is so

clearly defined in the inventor’s mind that only ordinary skill would be necessary to reduce the

invention to practice, without extensive research or experimentation,’ and that ‘[a]n idea is

definite and permanent when the inventor has a specific, settled idea, a particular solution to the

problem at hand, not just a general goal or research plan he hopes to pursue.’” Id. (citations

omitted).

        In Teva Pharm. Indus. Ltd. v. AstraZeneca Pharms. LP, 661 F.3d 1378, 1384 (Fed. Cir.

2011) (“Teva”), the Federal Circuit explained that “Conception . . . requires both (1) the idea of

the invention’s structure and (2) possession of an operative method of making it. . . . [This]

require[s] more than an unrecognized accidental creation.” Id. (quoting Invitrogen Corp. v.



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Clontech Labs., Inc., 429 F.3d 1052, 1063 (Fed.Cir.2005)). The inventor must “appreciate that

which he has invented.” Teva, 661 F.3d at 1384 (quoting Invitrogen, 429 F.3d at 1063). Yet the

inventor need not use “the same words as the patentee would use to later use claim it.” Teva,

661 F.3d at 1384.

        Conception is the mental part of invention. Burroughs Wellcome Co. v. Barr Labs.,

Inc., 40 F.3d 1223, 1228-29 (Fed.Cir.1994) (“Burroughs”). Because conception is a mental act,

conception requires corroborating evidence, preferably by showing a contemporaneous

disclosure. Id. at 1228. Conception requires a specific and settled idea, as opposed to a general

goal or research plan. Id. Conception requires the inventor to describe the invention with

particularity. Id. After conception, there must be diligence in reduction to practice of the

invention. Arctic Cat Inc. v. GEP Power Prod., Inc., 919 F.3d 1320, 1331 (Fed. Cir. 2019).

                        a)      Background

        Dr. Elizabeth Louise Knipmeyer 59 testified and explained during the Hearing that the

problem she was trying to overcome with what became the ’141 patent was lead removal from

drinking water by filtration. (Tr. (Knipmeyer 155:1-23.). Dr. Knipmeyer, her birth surname

being Elizabeth Chambers as reflected in documents, began working for Brita in 2006 after

graduate school. Upon joining Brita, Dr. Knipmeyer learned about a change in protocol in the

water filter industry that was focusing on lead removal from municipal water. (Id. at 163:1-15,

180:8-9.). Brita was facing a challenge in meeting a change in the NSF/ANSI 53 standard, and

needed to change their water filter product to meet the new industry standard, or Brita faced



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   Elizabeth Louise Knipmeyer is a fact witness for Brita and a named inventor of the ’141 patent. (CPSt.
at 2; JX-0022 at (75).). She holds Bachelor of Science and PhD degrees in chemical engineering. (Tr.
(Knipmeyer) at 153:19-22.). Dr. Knipmeyer is Associate Director of Research and Development in the
Brita division of the Clorox Company. (Id. at 153:13-154:2.). Based on her education and experience,
Dr. Knipmeyer is qualified as an expert under FRE 703.


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losing the lead claim on their product. (Id. at 165:9-16.). Dr. Knipmeyer worked to meet the

new lead challenge in the NSF/ANSI 53 standard on a discovery project in Research and

Development, first named “Carbonado,” which was later named “G-Force” as the product was

commercialized to bring it to market. (Id. at 172:3-14.). While working on project Carbonado,

Dr. Knipmeyer worked with a team including Toni Lynch at Brita, and Roger Reid and Bruce

Saaski, both of whom worked at a company named Omnipure. (Id. at 173:2-174:3.). Toni

Lynch, Roger Reid and Bruce Saaski are also named inventors on the ’141 patent. (JX-0022 at

(75).).

          In an effort to create a work methodology for her Brita team, Dr. Knipmeyer created a

document, “May 16, 2006 Internal Document,” which identified “the idea of which

characteristics were important for us to pay attention to be able to actually go create physical

prototypes for.” (Id. at 176:12-17; CPX-12, also labelled exhibit CPX-0932 (PDF version)

(“May 16, 2006 Internal Document”); see also Tr. (Knipmeyer) at 177:4-6).).

          Dr. Knipmeyer testified that after preparing the May 16, 2006 Internal Document, her

team set to work “trying to bring that [May 16, 2006 Internal Document] to life, creating

physical prototypes that we could test, and understand if they were meeting what we wanted

them to do.” (Id. at 177:23-178:3.).

                         b)     Key Dates to Prove Conception and Reduction to Practice

          The dates and key events that Brita used to prove conception and reduction to practice of

the invention are depicted in the Figure No. 12 timeline below.




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 Figure No. 12: Timeline Depicting Events Brita Relies Upon to Establish Conception and
                         Reduction to Practice of the ’141 Patent




(CDX-0002.0032 (demonstrative slide presented during Dr. Freeman’s testimony referencing
CX-0932C (“Internal Document”), CX-0108C (Dr. Knipmeyer’s laboratory notebook), NSF 53
(2007) Standard (CX-0011), CX-0042 (’372 application) and JX-0022 (’141 patent)).).

       The exhibits included in Figure No. 12 show the relative time sequence of exhibit CX-

0932C, the May 16, 2006 Internal Document, which Brita relied upon to prove conception. Brita

relies upon two (2) other documents, i.e., CX-0108C (Dr. Knipmeyer’s laboratory notebook) and

CX-0139C (“Memorandum”), for reduction to practice. The timeline in Figure No. 12 above

also shows the publishing of the NSF 53 (2007) standard, the filing of the ’372 application, and

the filing of the ’141 patent. As discussed more fully below, exhibits CX-0932C (“May 16, 2006

Internal Document”), CX-0108C (Dr. Knipmeyer’s laboratory notebook), and CX-0139C

(Memorandum) are critical evidence that Brita relied upon for its argument that it is entitled to a

priority date of May 16, 2006. However, as discussed below, Brita’s argument and evidence fell

short for at least the May 16, 2006 date.


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                       c)     Dr. Knipmeyer’s Laboratory Notebooks

       The exhibit marked CX-0108C is one of Dr. Knipmeyer’s laboratory notebooks,

“Notebook No. 8782.” (CX-0108C.0003.). During the Hearing, Dr. Knipmeyer described that

for the testing protocol that her team used, laboratory notebooks were issued to all scientists and

personnel working in the laboratory to record everything that they were observed. (Tr.

(Knipmeyer) at 167:11-19.). Each scientist signed and dated each page he/she worked on, and

each page was then witnessed by another scientist who also signed and dated the page. (Tr.

(Knipmeyer) at 167:11-19.). A review of exhibit CX-0108C shows that Dr. Knipmeyer recorded

daily or every several days the results of testing from May 9, 2006 through December 15, 2006.

(CX-0108C.0006, 0197.). The laboratory notebooks show that Dr. Knipmeyer kept meticulous

notes that reflected careful testing and adherence to protocol. An example page from her

laboratory notebook is shown in Figure No. 13 below.




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         &21),'(17,$/0$7(5,$/20,77('




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characteristics. (Tr. (Knipmeyer) at 177:10-13.). These characteristics would become the

variables and formulas of the FRAP factor, and represented “the start of the idea.” (Tr.

(Knipmeyer) at 177:10-13, CX-0932C.). Dr. Knipmeyer explained that she used the May 16,

2006 Internal Document to get “the team on the same page of the problem we were trying to

solve, and then also identifying the idea of which characteristics were important for us to pay

attention to be able to actually go create physical prototypes for.” (Tr. (Knipmeyer) at 176:12-

17.). The team then went about testing prototype water filters. (Id. at 177:23-178:3.).

       Dr. Freeman, Brita’s expert witness on conception and reduction to practice, corroborated

Dr. Knipmeyer’s testimony when he testified that a skilled artisan in 2006-2007 would have

understood from the May 16, 2006 Internal Document that “they’re [i.e., the inventors] trying to

develop a detailed and perhaps predictive relationship between these variables” and that “the

inventors understood the characteristics of the filters that they were going to make and how those

impacted the properties and performance of the filters.” (Tr. (Freeman) 1536:17-25.).

       The May 16, 2006 Internal Document does not identify the FRAP formula as it appears in

the ’141 patent. However, while the Internal Document did not use all the same words as

appeared in the ’141 patent, this is not required for conception. Conception requires

corroborating evidence, but does not require that the evidence use the same words as the patentee

would use to later claim it. Teva, 661 F.3d at 1384.

       The May 16, 2006 Internal Document that Dr. Knipmeyer created discloses the following

terms as she was designing and conceiving of the elements of the ’141 patent: “block

characteristics” of “thickness,” “parity flow rate,” “NSF 53 Health Claims,” “Pb Sorbent,”

“activated carbon,” “Filter Life,” and states “Develop a relationship between block thickness . . .

insoluble Pb removal and flow rate”” (CX-0932C.). An image of this document is reproduced



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                     &21),'(17,$/0$7(5,$/20,77('
below in Figure No. 14.

        Figure No. 14: May 16, 2006 Internal Document Created by Dr. Knipmeyer




(CX-0932C (May 16, 2006 Internal Document).).

       The phrases or terms written in the May 16, 2006 Internal Document relate to what

eventually is coined the “FRAP Factor” in the ’141 patent. In his view of Dr. Knipmeyer’s work



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in the Internal Document, Dr. Freeman explained that a skilled artisan would understand that the

Internal Document showed variables that could be manipulated to influence insoluble lead

removal. (Tr. (Freeman) at 1532:24-1533:1.).

       Commenting on the May 16, 2006 Internal Document and what it disclosed, Dr. Freeman

offered his opinion that the inventors “understood what they needed to do to and how they were

going to go about doing it to achieve the invented filters.” (Tr. (Freeman) at 1535:25-1536:2.).

In other words, according to Dr. Freeman, Dr. Knipmeyer’s listing of variables, as she explained

them in the Internal Document, constituted a concrete idea of what would be involved in a viable

filter FRAP Factor and, therefore, “conception” of the idea of the ’141 patent.

                       e)     The May 16, 2006 Internal Document Does Not Support
                              Conception

       However, the May 16, 2006 Internal Document and corroborating testimony by Dr.

Knipmeyer do not support conception of the invention on May 16, 2006. The May 16, 2006

Internal Document does not include all the variables that are contained in the final FRAP factor.

The “relationship” that the document states it is developing is a “relationship between block

thickness, density (carbon granule size, binder:carbon ratio), insoluble Pb removal and flow

rate.” (CX-0932C.). However, the FRAP factor does not include density, carbon granule size,

binder:carbon ratio, and has an inverse flow rate. While thickness is related to volume, and flow

rate may encompass an inverse flow rate, the FRAP factor variables, V, f, ce, L, are not all

present in the relationship that is proposed in the May 16, 2006 Internal Document.

       Moreover, Dr. Knipmeyer explained that in trying to get the research team to work

together, she created a document, “May 16, 2006 Internal Document,” which identified “the idea

of which characteristics were important for us to pay attention to to be able to actually go create

physical prototypes for.” (Tr. (Knipmeyer) at 176:12-17 (emphasis added).). There is no


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evidence that prototypes were available that met the FRAP factor required by asserted claim 1 in

the Internal Document. Rather, Dr. Knipmeyer and her team were going to—in the future—test

prototypes. (Id.)

       As Respondents argued, convincingly, the May 16, 2006 Internal Document is more

appropriately a plan for future research and areas to focus on, which is not a “definite, settled

idea” but rather is a “general goal or research plan he [or she] hopes to pursue” that does not

suffice for conception. (RSRBr. at 2 (quoting Burroughs, 40 F.3d at 1229).).

       In Burroughs, the Federal Circuit explained that the test for conception is “whether the

idea was definite and permanent enough that one skilled in the art could understand the

invention.” Burroughs, 40 F.3d at 1228; Dawson, 710 F.3d at 1352. Conception requires a

specific and settled idea, as opposed to a general goal or research plan. Burroughs, 40 F.3d at

1228. Conception requires the inventor to describe the invention with particularity. Id.

       As explained above, the May 16, 2006 Internal Document need not use the same

language as in the ’141 patent. However, the May 16, 2006 Internal Document by itself

presented variables that are not present in the FRAP factor and also lacks recognition of some

variables that are in the FRAP equation. Conception of a “specific, settled idea” as explained by

the Federal Circuit in Teva is not embodied by the list of variables presented in the May 16, 2006

Internal Document. Nor has evidence been presented to show that prototypes of water filters that

achieved the FRAP factor were available as of May 16, 2006. They simply were not yet

available.

       Therefore, while Dr. Knipmeyer was a credible witness, the May 16, 2006 Internal

Document and her supporting testimony fail to provide support for conception of the ’141 patent

as of May 16, 2006. Dr. Freeman’s testimony is not sufficient to overcome the deficiencies in



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the asserted conception date evidence.

       Accordingly, the ’141 patent is not entitled to a conception date of May 16, 2006.

               2.     Reduction to Practice of the Invention

       Dr. Knipmeyer and her team at Brita worked to reduce to practice the invention

throughout the summer of 2006. Reduction to practice of an invention requires that an

embodiment of the claimed invention has (1) been constructed and (2) works for its intended

purpose. Teva, 661 F.3d at 1383 (citing Mycogen Plant Sci., 243 F.3d 1316, 1332 (Fed. Cir.

2001)). There must be diligence from conception to reduction to practice. Arctic Cat Inc. v.

GEP Power Prod., Inc., 919 F.3d 1320, 1331 (Fed. Cir. 2019). Diligence requires corroboration

that can be shown by inventor testimony and notebook records. Brown v. Barbacid, 436 F.3d

1376, 1380 (Fed. Cir. 2006).

       Dr. Knipmeyer testified that she and her team at Brita conducted experiments in the

summer of 2006 that were recorded in Dr. Knipmeyer’s laboratory notebooks. (Tr. (Knipmeyer)

at 179:25-181:3.). Dr. Knipmeyer and her team tested about a hundred prototypes. (Tr.

(Knipmeyer) at 189:5-8.). Dr. Knipmeyer explained that page 73 of her laboratory notebook,

dated June 7, 2006, shows a picture she drew of a pantaloon/G-Force water filter that was tested.

(Tr. (Knipmeyer) at 179:23-180:16; CX-0108C.0078). Page 91 of her laboratory notebook,

which is dated June 17, 2006, shows a drawing of another filter that was tested, a prototype

Maxtra filter. (Tr. (Knipmeyer) at 180:24-181:3; CX-018C.0096.).

                      a)       FA 3-2 Water Filter

       Dr. Knipmeyer testified about the testing of “Maxtra-shaped blocks” of an FA 3-2 filter

to a recorded result of a 200% lifetime. (Tr. (Knipmeyer) at 183:12-17, 184:2-13.). The FA 3-2

water filter had a volume of 105 cm3, contained activated carbon fiber and Alusil lead sorbent,




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and used a particulate lead challenge water that was the NSF/ANS7I 53 draft challenge lead.

(Id.). Dr. Knipmeyer explained that her team was “starting to get some good performance

against the particulate lead” using the FA 3-2 filter with “some” passing values of less than 10

parts per billion. (Id. at 184:25-185:1; CX-0108C.0100 (page 95 of laboratory notebook,

recordation date of July 5, 2006).).

                       b)      PA 3-8 Water Filter – A Working Prototype

       Dr. Knipmeyer also explained the process she used for the testing of the PA3-8 filter.

(Tr. (Knipmeyer) at 185:18-19; CX-0108C.0120.). Figure No. 15, below, shows page 115 of Dr.

Knipmeyer’s laboratory notebook with her recorded testing of filter PA 3-8. (CX-0108C.0120).

Figure No. 15, page 115 of Dr. Knipmeyer’s notebook, describes Formula PA-3 filters

manufactured on July 25, 2006, and a notebook recordation date of August 16, 2006.




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               Figure No. 15: Excerpt of Dr. Knipmeyer’s Laboratory Notebook
                           Describing Formula PA-3 Water Filters




(CX-0108C.0120 (Page 115 from Dr. Knipmeyer’s laboratory notebook) (excerpt showing
description of filters including Formula PA-3 filters manufactured on July 25, 2006, notebook
recordation date of August 16, 2006).).

       Dr. Knipmeyer testified that the PA 3-8 was manufactured on July 25, 2006, and that this

prototype had 40 percent carbon, 20 percent Alusil absorbent. (Tr. (Knipmeyer) at 185:13-22.).

This July 25, 2006 date is significant because it is the date of a working prototype, as explained

more fully below.

       Dr. Knipmeyer explained the PA 3-8 was tested against the draft NSF/ANSI 53 standard.


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(Id. at 185:23-25.). Dr. Knipmeyer recorded the results at laboratory notebook page 117,

reproduced below in Figure No. 16. (CX-0108C.0122; Tr. (Knipmeyer) at 186:3-6.).

            Figure No. 16: Excerpt of Dr. Knipmeyer’s Laboratory Notebook with
                    Lead Testing Results of Formula PA-3 Water Filters




(CX-0108C.0122 (Excerpt from page 117 of Dr. Knipmeyer’s laboratory notebook, notebook
recordation date of August 16, 2006) (excerpt of lead testing results).).

       Dr. Knipmeyer testified that she wrote down, below the recordation of the results of her

testing of the PA 3-8, PT 3-4 prototypes, that the blocks had “fast and consistent flow rates” and

“Pb removal was consistent across the test w/ passing results for PA3-8 & PT 3-4” and that she

recognized that “we found a way to meet this emerging lead challenge, this particulate lead

challenge.” (Tr. (Knipmeyer) at 186:23-187:11.). Dr. Knipmeyer’s recorded testing data show

that the water filters she tested had been manufactured on of July 25, 2006, worked for their

intended purpose, and she recognized the significance of the results.


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       Dr. Freeman, Brita’s expert, testified that using Dr. Knipmeyer’s data, he calculated a

FRAP factor of 36.5 for the PA 3-8 filter. (Tr. (Freeman) at 1542:3-13.). Dr. Freeman offered

his opinion that the PA3-8 was an actual reduction to practice of claims 1-6 of the ’141 patent,

and that he was not aware of any dispute of the actual reduction to practice. (Id. at 1542:12-24.).

       Reduction to practice of an invention requires that an embodiment of the claimed

invention has: (1) been constructed; and (2) works for its intended purpose. Teva, 661 F.3d at

1383. There was an actual reduction to practice on July 25, 2006 because: (1) a working

prototype PA 3-8 had been constructed; and (2) it worked for its intended purpose, water

filtration with sufficient lead removal that achieved the claimed FRAP factor value.

                       c)     PA 2-2 Water Filter – Another Working Prototype

       Dr. Freeman explained that the excerpts from her notebook dated August 1, 2006, shown

in Figure No. 17, below, describes the PA 2-2 filter, also called the “Maxtra” filter that contained

activated carbon (HMM 80 x 325) and lead scavenger (Alusil 40-70). (Tr. (Freeman) 1537:7-18,

1538:2-1539:13.).




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Figure No. 17: Excerpt of Dr. Knipmeyer’s Laboratory Notebook Describing Filter PA2-2




(CDX-0002.0034 (excerpts of CX-0108.0110, page 105 of Dr. Knipmeyer’s laboratory
notebook, notebook recordation date of August 1, 2006).).

       Dr. Freeman explained that consistent with the testing protocol suggested by NSF, that is

described in Section IX, above, Dr. Knipmeyer measured the flow rate after each liter of water,

Figure No. 18, below, from which an average filtration unit time for the FRAP formula could be

calculated. (Tr. (Freeman) at 1538:7-13.).




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      Figure No. 18: Excerpt of Dr. Knipmeyer’s Recording Flow Rates at Each Liter




(CDX-0002.0037 (collecting data for PA 2-2 filter from CX-0114C.0015-37 (tabulations
showing Dr. Knipmeyer’s recordation of times to filter each liter of water) (no date available).).

       Another excerpt, Figure No. 19, below, taken from Dr. Knipmeyer’s laboratory notebook

recorded on August 16, 2006, lists lead testing data of the filter PA 2-2. (CX-0108C.0129.). The

PA 2-2 water filter had lead effluent levels of 2.05 parts per billion at 151 liters, and 8.45 parts

per billion at 303 liters. (Id.). Dr. Freeman also corroborated the testing results through his

testimony. (Tr. (Freeman) 1537:7-18, 1538:2-1539:13.).




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 Figure No. 19: Excerpt of Dr. Knipmeyer’s Laboratory Notebook Showing Lead Testing
                              Results of PA2-2 Water Filter




(CX-0108C.0129 (excerpt from page 124 of Dr. Knipmeyer’s laboratory notebook, including a
line that records the lead effluent concentrations of PA2-2 water filter, notebook recordation date
of August 16, 2006).).

       Dr. Freeman calculated the FRAP formula for the PA 2-2 water filter, using data that Dr.

Knipmeyer recorded, and obtained a FRAP value of 22.9. (Tr. (Freeman) at 1540:7-11.). This

FRAP factor value also met the limitations of the FRAP formula of claim 1 of the ’141 patent

because it was less than 350. The laboratory notebook does not show a FRAP Factor value, but

Dr. Freeman’s testimony shows that the FRAP value was achieved, inherently, as shown by his

calculations.

       Respondents did not dispute the finding that the PA 3-8 and PA 2-2 water filters achieve


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the cited FRAP value. (Tr. (Freeman) at 1542:12-19.). Respondents only argued against the

conception date of May 16, 2006. (RSRBr. at 3.).

       In summary, because Dr. Knipmeyer recorded in one of her laboratory notebooks that at

least the PA 3-8 water filter and been constructed and worked for its intended purpose, and Dr.

Freeman corroborated that Dr. Knipmeyer’s test data showed that the FRAP factor had been

satisfied, there was an actual reduction to practice of an embodiment of the claimed invention of

the ’141 patent at least by July 25, 2006, the date of manufacture of the PA 3-8 water filter.

       While conception is not found as of May 16, 2006, in the event the May 16, 2006 date is

deemed conception, there was diligence from the conception through actual reduction to practice

on at least July 25, 2006 because Dr. Knipmeyer’s recorded testing data in her laboratory

notebook showed continuous testing from conception to actual reduction to practice from May

16, 2016 through August, 2006, i.e., throughout the summer of 2006, as corroborated by dated

laboratory notebook entries from May through August 2006.

                       d)     Articulation of the FRAP Factor

       Dr. Knipmeyer continued testing of water filters, as corroborated by her dated laboratory

notebook entries. She testified that she first started using the description “FRAP” sometime in

the August-September 2006 time range. (Tr. (Knipmeyer) at 192:9-12.).

       Dr. Knipmeyer also testified that she created a memorandum (“Memorandum”) on

September 19, 2006. (CX-0139C (“Memorandum”); Tr. (Knipmeyer) at 192:16-18, 193:4-10.).

The Memorandum recited the FRAP formula and the charts that would eventually issue as

Figures 21-23 in the ’141 patent. (Id. at 192:15-195:15.). In the event that the PA 3-8 and PA 2-

2 water filters are deemed to not sufficiently show actual reduction to practice of claims 1-6, the

Memorandum, CX-0139C, that describes verbatim the FRAP Factor and variables present in the



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asserted claims, in combination with Dr. Freeman’s calculations that the PA 2-2 and PA 3-8

filters achieve the cited FRAP values, proves reduction to practice.

       Accordingly, Dr. Knipmeyer’s testimony combined with her summer of 2006

contemporaneous, corroborating laboratory notebooks that showed her testing of the FRAP

variables and of filters that met her testing parameters, together with the September 19, 2006

Memorandum proves Brita’s reduction to practice of the invention of the ’141 patent. Dr.

Knipmeyer’s credible and reliable documentary and testamentary evidence is supported in Dr.

Freeman’s opinions with respect to the reduction to practice of the PA 3-8 and PA 2-2 water

filters, and in the Memorandum.

       Respondents have not clearly and convincingly proven that the ’141 patent was not

reduced to practice by July 25, 2006. It is a finding of both fact and law that Brita reduced to

practice the invention of the ’141 patent by July 25, 2006.

       It is a legal and factual finding that the invention was not conceived on May 16, 2006. It

was reduced to practice on July 25, 2006, under an inherency doctrine, and on September 19,

2006, when the FRAP factor was explicitly written in the Memorandum. The reduction to

practice of the invention is corroborated by the credible evidence of Dr. Knipmeyer’s meticulous

laboratory notebooks and internal Memoranda, and the credible testimony Dr. Knipmeyer and

Dr. Freeman.

               3.      Diligence from Actual Reduction to Practice to the Filing of the Patent
                       Application

       Following actual reduction to practice, the invention was the subject of a patent

application, the ’372 application, which was filed on October 29, 2007. Delay in making an

invention publicly known, or failure to file a patent application within a reasonable time after

first making the invention may constitute abandonment, suppression or concealment of the


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invention. Dow Chem. Co. v. Astro-Valcour, Inc., 267 F.3d 1334, 1342 (Fed. Cir. 2001).

       Here, there was a delay from July 25, 2006 until October 29, 2007, with intervening

activity, such as the articulation of the FRAP Factor in the Memorandum on September 19, 2006.

Thus, a delay in filing of over a year is present between July 25, 2006 and October 29, 2007. A

delay of slightly less than one year between actual reduction to practice and filing of an

application was not found to be unreasonably long so as to infer suppression or concealment of

the invention. Hamlin & George, 221 U.S.P.Q. 1006, *7 (June 6, 1983) (finding that the

invention was not suppressed or concealed within the meaning of 35 U.S.C. § 102(g)(pre-AIA)).

       Here, a delay of over a year is not unreasonably long to infer suppression or concealment

of the invention. There is no evidence is of record to suggest that there was suppression or

concealment. Accordingly, Brita may rely on its actual reduction to practice date of July 25,

2006. Because there was no argument with respect to suppression or concealment by the Parties,

and no adducement of evidence of the same, this argument has been waived pursuant to Ground

Rules 7.2 and 10.1.

               4.      The ’372 Application

       The ’141 patent is entitled to priority back to the filing date of the ’372 application,

which is October 29, 2007, because the ’141 patent has sufficient written description support in

the ’372 application. The ’141 patent is a CIP of the ’372 application.

       Patent law prior to enactment of the America Invents Act (“Pre-AIA”) applies here

because all filing dates are prior to March 16, 2013. 35 U.S.C. § 100 (Note). The benefit of an

earlier filing date is stated in 35 U.S.C. § 120:

       An application for patent for an invention disclosed in the manner provided by the
       first paragraph of section 112 of this title in an application previously filed in the
       United States, or as provided by section 363 of this title, which is filed by an
       inventor or inventors named in the previously filed application shall have the same


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        effect, as to such invention, as though filed on the date of the prior application,
        if filed before the patenting or abandonment of or termination of proceedings on
        the first application or on an application similarly entitled to the benefit of the filing
        date of the first application and if it contains or is amended to contain a specific
        reference to the earlier filed application. […]

35 U.S.C. § 120 (Pre-AIA) (emphases added).

        In other words, so long as the requirements of 35 U.S.C. § 112, first paragraph, are met,

the ’141 patent has priority to the parent application’s filing date, here, the filing date of the ’372

application. 35 U.S.C. § 112, first paragraph, is the written description requirement. “To satisfy

the written description requirement the disclosure of the prior application must ‘convey with

reasonable clarity to those skilled in the art that, as of the filing date sought, [the inventor] was in

possession of the invention.’ PowerOasis, Inc. v. T-Mobile USA, Inc., 522 F.3d 1299, 1306 (Fed.

Cir. 2008) (“PowerOasis”) (citing Vas–Cath Inc. v. Mahurkar, 935 F.2d 1555, 1563–64

(Fed.Cir.1991) (emphasis in original).).

        For a patent that is a CIP of a prior application, subject matter described in the prior

application that satisfies the written description requirement can entitle that patent to the benefit

of the filing date of the prior application. PowerOasis, 522 F.3d at 1306-07 (explaining that

there must be actual or inherent disclosure to comply with the written description requirement);

see also Nat. Alternatives Int’l, Inc. v. Iancu, 904 F.3d 1375, 1379 (Fed. Cir. 2018) (“Nat.

Alternatives”). Written description compliance is a question of fact. PowerOasis, 522 F.3d at

1307. Entitlement of a patent to priority of an earlier application under Section 120 is a legal

determination based on underlying fact findings. Nat. Alternatives, 904 F.3d at 1379 (citing In

re Owens, 710 F.3d 1362, 1366 (Fed. Cir. 2013)). “When the underlying facts are undisputed,

priority date determination is purely a legal question.” Nat. Alternatives, 904 F.3d at 1379

(citing Medtronic CoreValve v. Edwards Lifesciences Corp., 741 F.3d 1359, 1363 (Fed. Cir.



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2014)).

          “In CIP applications, priority is assessed on a claim-by-claim basis. An applicant can

obtain an earlier effective filing date for claims in a CIP application only if those claims find

support in an earlier-filed nonprovisional application.” Nat. Alternatives, 904 F.3d at 1383 (Fed.

Cir. 2018) (citing Transco Prods., Inc. v. Performance Contracting, Inc., 38 F.3d 551, 557 n.6

(Fed. Cir. 1994).)

          The burden of proof was addressed in Certain Adjustable Keyboard Support Systems.

Certain Adjustable Keyboard Support Systems, Inv. No. 337-TA-670, Publ. No. 4285, Comm’n

Op. at 79 (Nov. 1, 2011) (“Adjustable Keyboard”). In Adjustable Keyboard, when respondent

introduced allegedly anticipating prior art, the ultimate burden remained with respondent to

prove invalidity based on anticipating prior art, but complainant also needed to produce

sufficient evidence and argument that the priority application relied upon had written description

support for the asserted claims. Adjustable Keyboard, Comm’n Op. at 78-79 (citing

PowerOasis, 522 F.3d at 1303, 1305 (explaining the burden of invalidity by clear and convincing

evidence remains with the challenger); Pfizer, Inc. v. Apotex, Inc., 480 F.3d 1348, 1360 (Fed.

Cir. 2007) (advising patentee to introduce evidence sufficient to rebut the challenge of

invalidity); Tech. Licensing Corp. v. Videotek, Inc., 545 F.3d 1316, 1327 (Fed. Cir. 2008)

(explaining that faced with alleged prior art, patentee may antedate the prior art by “producing

sufficient evidence and argument to show that” the prior application “contains a written

description to support the limitations” in the asserted claims, and then proponent of the invalidity

defense must show that patentee “is not entitled to the benefit of the earlier filing date”)).

          Here the ’141 patent is a CIP of the earlier-filed nonprovisional ’372 application and is

entitled to the ’372 application’s filing date under Section 120 for the following reasons.



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Moreover, the PTO has already given a detailed decision in an inter partes review (“IPR”) denial

decision in which it has granted priority to the ’372 application.

                       a)      Written Description Support in the ’372 Application

       The written description requirement can be met through the inherency doctrine.

PowerOasis, 522 F.3d at 1306-07. The Federal Circuit’s Kennecott Corp. v. Kyocera

International, Inc., 835 F.2d 1419, 1420 (Fed. Cir. 1987) (“Kennecott”) holding explains the

inherency doctrine in the context of a CIP application that claims priority to a parent application.

In Kennecott, the Federal Circuit held that the new description in a subsequent application of a

microstructure did not deprive the subsequent CIP application of priority even though the

microstructure was not described in a parent application. Id. at 1423. The microstructure was

depicted in pictures in the prior application, and the same product with the same structure was

present in both the CIP application and the parent application. Id. The Federal Circuit explained

that “[u]nder the doctrine of inherent disclosure, when a specification describes an invention that

has certain undisclosed yet inherent properties, that specification serves as adequate written

description to support a subsequent patent application that explicitly recites the invention's

inherent properties.” Id.

       Here, while the FRAP factor values were not explicitly calculated in the earlier-filed

priority application, the ’372 application provided adequate written description support through

the doctrine of inherency. As explained more fully below, the ’372 application describes

gravity-fed water filters with activated carbon and lead scavenger and lists values for the

variables of the FRAP factor using the same definitions and ranges as in the ’141 patent. Dr.

Freeman was able to calculate the FRAP factor using the values provided in the ’372 application,

and found that they met the FRAP factor limitation of the asserted claims.



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       Dr. Freeman testified credibly based upon clear evidentiary support that the ’372

application provides written description support for the asserted claims of the ’141 patent. (Tr.

(Freeman) at 1544:22-1554:14.).

                      b)      The ’372 Application’s Disclosure of Water Filters with
                              Carbon and Scavenger

       Dr. Freeman testified that the ’372 application describes a gravity-fed carbon block water

filter with activated carbon and lead scavenger where the specification has a “Summary of the

Invention” at paragraph 17, as shown in Figure No. 20 below. (Id. at 1545:24-6).

                    Figure No. 20: Paragraph 17 from the ’372 application




(CX-0042 (’372 Application) at [0017].).

       Dr. Freeman opined that the ’372 application inherently discloses the FRAP factor by

describing working examples and at paragraph 118, the ’372 application describes the four

variables that appear in the FRAP factor. (Tr. (Freeman) at 1546:13-1547:1.).

       For example, Dr. Freeman testified that:



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        So the ’372 application does not have the FRAP factor explicitly written and
        disclosed in it, but I believe that the filters with this performance are inherently
        disclosed in the ’372 application.

        Q. First of all, where do you find that disclosure in the ’372 application?

        A. So the ’372 application discloses a number of working examples, and they
        also mention under the performance section, at paragraph 118, that the other
        embodiments include filters for use in gravity flow or low-pressure applications
        that meet a specific performance range of operation defined by filter volume,
        defined usage lifetime, average time of filtration, and/or lead reduction ability,
        and those are the four variables that appear in the FRAP equation.

(Tr. (Freeman) at 1546:18-1547:1; see also id. at 1545:8-1554:14 (describing written support in
the ’372 application for the asserted claims).).

        As depicted in Table No. 4 below, Table XIII of the ’372 application lists cup-shaped

filters that were made and tested, and for each filter, lists lifetime L, average filtration unit time

f, volume V in cubic centimeters, and effluent lead concentration ce in parts per billion, but fails

to explicitly calculate the FRAP factor. (Id. at 1547:23-1548:11.). Dr. Freeman testified that the

variables in the ’372 application are equivalent to the same definitions used in the ’141 patent.

(Id. at 1549:15-19.).




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                        Table No. 4: Table XIII from the ’372 application




(CX-0042 (’372 Application) at [00175]-[00176], Table XIII (showing basis for the FRAP
variables V, f, L and ce); see also Tr. (Freeman) at 1547:23-1547:6.). 60

                        c)      The ’372 Application’s Disclosure of Volume and Average
                                Filtration Unit Time and Asserted Claims 3-6

        Dr. Freeman testified that the ’372 application describes preferred embodiments with a

volume of filter media V of less than about 300 cm3 and more preferably less than about 150

cm3, which “matches up” with the ’141 patent disclosure. (Tr. (Freeman) at 1549:24-1550:8;

1553:4-11.). These same volume values are described in asserted claims 3 and 4. (JX-0022 at




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  Respondents indicated that they would file a motion to strike related to Dr. Freeman’s opinions about
Table XIII, filter PA 3-2 as not being in Dr. Freeman’s report or deposition. (Tr. (Swain) at 1548:14-19;
1650:5-9.). The motion was not subsequently filed.


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cls. 3-4.).

        Dr. Freeman testified that the ’372 application at paragraph 124 describes average

filtration unit time f in the same manner as in the ’141 patent, and paragraph 124 lists examples

of 12 minutes per liter and 6 minutes per liter. (Tr. (Freeman) at 1550:10-20; 1553:16-25.).

These same average filtration unit time values are in asserted claims 5 and 6. (JX-0022 at cls. 5-

6.).

                       d)      The ’372 Application’s Disclosure of Effluent Lead
                               Concentration

        Dr. Freeman testified that the ’372 application describes at paragraph 119 that the

effluent lead concentration in the final liter of effluent water is less than 10 micrograms per liter,

and source water is prepared as defined in the 2007 NSF/ANSI 53 protocol. (Tr. (Freeman) at

1551:4-11.). Dr. Freeman opined that source water defined by that protocol is within the scope

of source water as in asserted claim 1. (Id. at 1551:12-16.). As found above, source water

prepared according to the 2007 NSF/ANSI 53 protocol meets the limitation for source water in

asserted claim 1. (See IX(A)(2), supra.). Accordingly, the ’372 application source water

description provides written description support of the source water limitation of the FRAP

factor in asserted claim 1.

                       e)      The ’372 Application’s Disclosure of Lifetime

         Dr. Freeman testified that the ’372 application describes at paragraph 125 that the

“lifetime L may be defined as the total number of gallons that can be effectively filtered

according to claims presented by the manufacturer or seller of the filter.” (Tr. (Freeman) at

1551:4-11.). Dr. Freeman opined that source water defined by that protocol is within the scope

of source water as in asserted claim 1. (Id. at 1551:12-16.). The lifetime L in the ’372

application meets the lifetime limitation of the FRAP factor in asserted claim 1.


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                       f)     The ’372 Application’s Disclosure of FRAP Factor Values and
                              Asserted Claims 1-2

        Dr. Freeman calculated the FRAP values using the values of variables described in the

’372 application, but used a volume value of 105 cm3 as amended during the prosecution of the

’372 application. (Id. at 1548:21-1549:14; see CX-0042, page 5 of “Response to Non-Final

Office Action with a 5-month extension fee” filed on March 12, 2012 (amending volume

value).).

        Dr. Freeman determined that the FRAP factor as reflected in the ’372 application ranged

“from about 20 to something over a hundred.” (Id.). These values meet the claimed FRAP

factor values in the asserted claims 1 and 2 because they are less than 350, or less than 200. (JX-

0022 at cls. 1-2.).

                       g)     The ’372 Application’s Disclosure of Asserted Claim 23

        Dr. Freeman testified that the ’372 application has written description support for claim

23 at Figure 1, which depicts a container/pitcher, source water reservoir and filtered water

reservoir, and a cartridge in communication with the two, and a filter inside the cartridge. (Tr.

(Freeman) at 1554:5-14.). Figure 1 in combination with the disclosure of claim 1 in the ’372

application provide written description support for claim 23.

        The ’372 application describes the FRAP factor variables and water filters with sufficient

disclosure to calculate the FRAP factor values. Accordingly, the water filters described in the

’372 application provide written description support for the FRAP factor values through

inherency.

                       h)     PTAB Consideration of Priority to the ’372 Application

        The Patent Trial and Appeal Board (“PTAB”) considered and granted the priority claim

of the ’141 patent to the ’372 application. (See below.). In PowerOasis, the Federal Circuit



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explained that when the PTO has failed to consider priority claims, the patentee has some burden

to show entitlement to priority. PowerOasis, 522 F.3d at 1304-06. However, here, unlike in

PowerOasis, the PTO has considered the priority claim in a detailed decision, as explained

below.

         On March 31, 2017, the PTAB denied institution of an inter partes review (“IPR”) with

respect to the unpatentability of claims 1-24 of the ’141 patent. (JX-0023.0746 – 0770

(Prosecution history of the ’141 patent, Decision Denying Institution of Inter Partes Review,

Kaz USA, Inc. v. Brita LP, IPR 2016-01893, Paper 16 (PTAB Mar. 31, 2017)) (“IPR Denial”).).

In its decision denying institution, the PTAB found written support for the FRAP formula by

treating the FRAP factor as a property of the water filter that was inherently disclosed in the ’372

application. (RPBr. at 55; CBr. at 72-73 (citing IPR Denial at 10); IPR Denial at 13.). The IPR

denial found written description support for the ’141 patent in the ’372 application and stated:

“[t]he description of the FRAP factor in the ’141 patent is a disclosure of an inherent property of

the product disclosed in the ’372 Application, and, thus, the inclusion of the FRAP factor in the

’141 patent claims does not deprive that product of the benefit of the ’372 Application’s October

27, 2007 filing date.” (Id. (citing Kennecott, 835 F.2d at 1423).).

         In attorney argument, Respondents contended that the PTAB’s finding that there is

written support for the ’141 patent in the ’372 application is factually incorrect. (RPBr. at 55;

see also RSRBr. at 3 (citing Certain Adjustable Keyboard Support Systems, Inv. No. 337-TA-

670, Publ. No. 4285, Comm’n Op. at 79 (Nov. 1, 2011) (“Adjustable Keyboard”).).

         Here, the PTO has already given a detailed decision in the IPR Denial, which analyzed

priority to the ’372 application and found that the ’141 patent was entitled to claim priority to the

’372 application. Additionally, Brita has presented reliable, compelling, contemporaneous



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evidence that the claims have written description support in the ’372 application.

                       i)          Written Description and Enablement of the Full Scope of the
                                   Asserted Claims

       Brita argued that the ’372 application satisfies the enablement requirement. (CPBr. at 59-

60; CSBr. at 24-28). Respondents disputed that the ’372 application enables the full scope of the

asserted claims. (RPBr. at 57-60 (arguing about the breadth of the types of filters, no disclosure

of FRAP factor formula).).

       In Post-Hearing briefing, Respondents argued about possession and enablement of the

full scope of the invention. Respondents argued that the ’372 application, like the ’141 patent,

only discloses carbon block filter types and disparages non-carbon block filters. (RSRBr. at 3-4

(citing CX-0042.0031-48, 0050-53, 0136 where the ’372 application describes and claims carbon

block filters).). Respondents argued that the ’372 application, like the ’141 patent, failed to show

possession of the entire range of FRAP factor values. (Id. at 5.). Respondents contended that the

disclosure of only two volumes, 99 cm3 or 151 cm3, the best effluent concentration ce of 2.1, and

best FRAP factor value of 22, do not demonstrate possession of the full range of FRAP factor

values. (Id. (citing CX-0042.0047-49).).

       As explained more fully below, the presence of working examples in the ’372

application, and the findings of state of the art, level of skill, and nature and context of the

invention found with respect to the ’141 patent also apply to the ’372 application. (See Sections

XII(C), XII(D), which are repeated here.).

                              i.      Written Description of the Full Scope

       The ’372 application describes a working example, PA2-2, that meets the FRAP factor

limitation. (See Table 4, supra; Section XII(A)(2)(c) (reduction to practice of PA2-2).). As

discussed above, the FRAP factor is met inherently. (See Section XII(A)(4)(a), supra.).


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Moreover, the ’372 application describes, like the ’141 patent, that the “nature of the filter

meeting the following performance criteria is independent of the exact embodiment of the filter

and thus applicable to mixed media, carbon blocks, non-wovens, hollow fibers and other

filtration formats.” (CX-0042 at ¶ 118; Tr. (Freeman) at 1557:18-1558:17 (testifying that the

discussion of other filter media embodiments “ties in with all the information that a person of

skill in the art would have in the field to access to help in making that transition from one filter

media to another.”).). The ’372 application also describes that filter sheets enhance the

performance of porous composite carbon block media. (CX-0042 at ¶ 95; Tr. (Freeman) at

1558:20-1559:2.). Accordingly, like the ’141 patent, the ’372 application discloses filter media

embodiments other than carbon block.

        The factors: (a) the existing knowledge in the field of water filtration and filter types; (b)

the extent and content of the prior art of water filtration and filter types; (c) the maturity of the

science of water filtration; and (d) the predictability of filter media in gravity-fed water filters, all

support a factual finding that the disclosure of the ’372 application, like the ’141 patent, on the

described issues meet the written description requirement. (See Section XII(C)(4), (4)(iv),

infra.). The existing knowledge before 2007 also supports a factual finding that the various filter

types that have chemical and mechanical filtration were well-known in the art. (See Section

XII(C)(4)(iv), infra.).

        The weight of the evidence, together with Dr. Freeman’s testimony supports a factual

finding that the ’372 application, like the ’141 patent, discloses working examples for carbon

block technology, such that the written description requirement is met for the ’372 application.

(See Section XII(C)(4)(iv), infra.).




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                              ii.     Enablement of the Full Scope

        The findings described immediately above about written description and working

examples also apply to enablement of the full scope of the claimed invention. The findings on

the Wands factors, below on the ’141 patent, also apply to the ’372 application and are repeated

here. (See Section, XII(D).). The evidence supports a finding that the state of the art and relative

skill of a skilled artisan were advanced at the time the invention was made. (See Sections

XII(D)(2)(e), (f), infra.).

        An analysis of the relevant Wands factors favors a finding both of law, and by the facts

that support the law, that that the full scope of all the asserted claims of the ’372 application, like

the ’141 patent are enabled. Water filtration was well-known (Wands factor 5), those skilled in

the art used established techniques and materials (Wands factor 6) such that the quantity of

experimentation is not unreasonable (Wands factor 1). Although there is a lack of working

examples for the full scope (Wands factor 3), this is not detrimental when weighed against the

remaining factors. The claims are broad (Wands factor 8), but when taken in context of the

remaining Wands factors, this factor alone does not outweigh the other factors to support a

finding of undue experimentation.

        For the above reasons, it is a finding that based on an analysis of the Wands factors and

the totality of the weight of the evidence, that a person of skill in the art could practice the

invention without undue experimentation to achieve: (i) the full scope of the FRAP factor; and

(ii) carbon block filters and other types of filters.

        Accordingly, the ’372 application has possession and enablement of the disputed ranges.

        As explained above, the ’372 application has written description support for the asserted

claims that entitles the ’141 patent to priority to the ’372 application. For the foregoing reasons,



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the ’141 patent is entitled to the benefit of the filing date of the ’372 application, October 29,

2007.

        Accordingly, for the reasons explained above, the invention of the ’141 patent has actual

reduction to practice on July 25, 2006. As a matter of fact and law, the ’141 patent is entitled to

priority to October 29, 2007, the filing date of the ’372 application.

        B.     Anticipation 61

               1.      Legal Standard

        A determination that a patent is invalid as being anticipated under 35 U.S.C. § 102

requires a finding, based upon clear and convincing evidence, that each and every limitation is

found either expressly or inherently in a single prior art reference. See Celeritas Techs. Inc. v.

Rockwell Int’l Corp., 150 F.3d 1354, 1361 (Fed. Cir. 1998). Anticipation is a question of fact,

including whether a limitation, or element, is inherent in the prior art. In re Gleave, 560 F.3d

1331, 1334-35 (Fed. Cir. 2009). The limitations must be arranged or combined the same way as

in the claimed invention, although an identity of terminology is not required. Id. at 1334 (“the

reference need not satisfy an ipsissimis verbis test”); MPEP § 2131.

        In addition, the prior art reference’s disclosure must enable one of ordinary skill in the art

to practice the claimed invention “without undue experimentation.” Gleave, 560 F.3d at 1334-

35. A prior art reference that allegedly anticipates the claims of a patent is presumed enabled;

however, a patentee may present evidence of nonenablement to overcome this presumption.

Impax Labs., Inc. v. Aventis Pharmaceuticals Inc., 468 F.3d 1366, 1382 (Fed. Cir. 2006).



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  The Parties did not adduce at trial, nor did they include in their Post-Hearing briefing, evidence to
support their arguments about obviousness or whether objective indicia of nonobviousness support
nonobviousness. (Doc ID No. 783521 (Joint Outline of Issues) (Nov. 1, 2022) at 4-5.). Consequently,
Respondents have withdrawn, waived and/or abandoned arguments under 35 U.S.C. § 103 consistent with
Ground Rules 7.2 and 10.1.


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“[W]hether a prior art reference is enabling is a question of law based upon underlying factual

findings.” Gleave, 560 F.3d at 1335.

               2.     The Alleged Prior Art Products

       Respondents asserted four (4) grounds of anticipation. (RBr. at 26-51.). It is

Respondents’ burden to prove that each anticipatory product: (i) was available before Brita’s

July 25, 2006 date of conception under 35 U.S.C. § 102(a) (Pre-AIA); or (ii) was on sale or in

public use one year before the October 29, 2006 filing date of the ’372 application, to which the

’141 patent claims priority, under 35 U.S.C. § 102(b) (Pre-AIA). (See Section XII(A), supra

(Priority Date of the ’141 Patent).). For the reasons discussed below, the Brita Legacy Granular,

Dupont WF-PTC 100 (2005), and ZeroWater ZP-201 Filters constitute prior art under 35 U.S.C.

§ 102(a) (Pre-AIA) or § 102(b) (Pre-AIA) (“Prior Art Products”).

                      a)      PUR 1-Stage Filters (1450 and 1450Z)

       Mr. Mitchell, the Director of Advanced Technologies at Respondent Helen of Troy and

Respondents’ fact witness, testified that the PUR 1-Stage was sold by Proctor & Gamble at least

as early as 2003 and was continuously sold from 2005 under model numbers CRF-1450 and

CRF-1450Z (“PUR 1-Stage Filters”), both of which contained the same filter media type and

volume. (Tr. (Mitchell) at 756:19-760:3; see also RDX-0007C.0018.). In addition to Mr.

Mitchell’s testimony and the exhibits he discussed therein, Respondents relied on RPX-0150C

and RX-2250C, both of which are spreadsheets that purportedly show Walmart’s sales of the

PUR 1-Stage Filters. (RBr. at 21 (citing RPX-0150C at 16-25 (referring to UPC 72398700665

(1-Stage single pack); UPC 72398700667 (three pack); RX-2550C (same)) (other citations

omitted).). Respondents also cited to RX-0246, a Lowes sales document. (Id. (citing RX-

0246).).




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                     &21),'(17,$/0$7(5,$/20,77('
       As Brita pointed out, although the Walmart sales documents contain entries for a “1-

STAGE FILTER 1-PK” (UPC 72398700665) and “PUR ADVANTAGE 3-PACK” (UPC

72398700667), highlighted below in Table No. 5, the documents do not specifically indicate that

these entries refer to a CRF-1450 or to a CRF-1450Z filter. (CRBr. at 9; RPX-0150C; RX-

2550C.).

                               Table No. 5:




(RPX-0150C at 16 (annotated).).

       Respondents failed to cite to any additional evidence that would prove or even indicate

which filter model(s) Walmart actually sold. Moreover, as Brita noted, for the CRF-1450 and

CRF-1450Z models, the Lowes sales document, Table No. 6 below, upon which Respondents

relied lists “N/A” for the item number and the “First Sale Date” column is blank. (CRBr. at 9.).




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                      &21),'(17,$/0$7(5,$/20,77('
                                 Table No. 6:




(RX-0246C (annotated).).

       For these reasons, Respondents have not proven that the CRF-1450 and CRF-1450Z

models of the PUR 1-Stage Filters qualify as prior art under 35 U.S.C. § 102(a) or § 102(b).

                         b)    Brita Legacy Granular Filter (1999)

       Respondents’ expert, Mr. Herman, confirmed that the Brita Legacy Granular Filter

(“Brita Legacy Filter”) is prior art as shown in the ’141 patent and that it was continuously sold

in the United States from 1999 through 2006. (Tr. (Herman) at 1036:12-1038:1; JX-0022 at

Tables 3 and 5; RDX-0007C.0019.). Table Nos. 7 and 8, below, are excerpts taken from Tables

3 and 5 of the ’141 patent, respectively.

                     Table No. 7: Excerpt from Table 3 of the ’141 Patent




(JX-0022 at Table 3.).




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                      &21),'(17,$/0$7(5,$/20,77('
                     Table No. 8: Excerpt from Table 5 of the ’141 Patent




(JX-0022 at Table 5.).

       Mr. Herman analyzed the tested Brita Legacy Filters, as well as several other Brita

vintages from 1996-2005, and concluded that the Brita Legacy Filter did not materially change

from 1999 through 2005. (Tr. (Herman) at 1036:2-8.).

       Thus, Respondents have proven that the Brita Legacy Filter was known and used in the

United States under 102(a), and was sold, offered for sale, and/or in public use under 102(b) no

later than April of 2006.

                         c)   Dupont WF-PTC 100 Filter (2005 and 2007)

       As an initial matter, it appears that Respondents are no longer asserting their invalidity

ground based on the 2007 version of the Dupont WF-PTC 100 Filter. (See RPBr. at 81-83.). In

their Post-Hearing Brief, they stated that “Respondents base their claim on the 2005 versions of

the PTC-100 filters.” (RBr. at 37.). Thus, Respondents have waived or abandoned any argument

with respect to the 2007 version of the Dupont WF-PTC 100 filter under Ground Rule 10.1.

       Respondents provided evidence that the 2005 version of the Dupont WF-PTC 100 Filter

(“Dupont Filter” or “WF-PTC 100 Filter”) was offered for sale and sold starting in

                 . (Tr. (Herman) at 1042:4-1043:5; RX-0111C; RPX-108; RPX-0149C.). Brita

itself recognized the existence of the Dupont Filter in                           in internal

market competitive analyses. (Tr. (Herman) at 1043:10-1044:3; RX-0473C at BRITALP-

0059694 – 59704.). Thus, the Dupont Filter is prior art under 102(a) and 102(b) because it was



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                       &21),'(17,$/0$7(5,$/20,77('
known, used, sold, in public use and/or the subject of an offer for sale prior to July 2006.

       The corporate representative for Protect Plus, Mr. Glenn Cueman, 62 confirmed that the

initial version of the WF-PTC100 was sold                  . He also verified the Helen of Troy and

QFT tested versions of the WF-PTC 100 (QFT 4A, 4B and IT1370) are authentic versions of the

WF-PTC 100 filter that was sold in         . (RX-2605C (Cueman Dep. Tr.) at 45:11-49:4; RX-

0858 – RX-0861.). The lot code on the packaging on the tested PTC-100 filters read

                                                                        . (See RPX-0117.0006);

RPX-0108.0006 (                                         ); RX-0858 – RX-0861.).

       Accordingly, the 2005 version of the Dupont WF-PTC 100 Filter is prior art under 35

U.S.C. § 102(a) and/or § 102(b).

                       d)      ZeroWater ZF-201 Filter

       Mr. Kellam, the President of Zero Technologies LLC, testified that the ZeroWater ZF-201

Filter (“ZF-201 Filter”) was made, sold, and used in the United States at least as early as 2006

(Tr. (Kellam) 864:3-865:11), and no later than September 7, 2006 to the Home Depot. (Tr.

(Kellam) 847:19-848:17, 849:20-850:17 (referring to RX-0779C at ZTI00012883), 866:20-869:9

(discussing RX-0810C at ZTI00016437), 872:18-873:874 (discussing RX-0810C at

ZTI00016438-16440, 16545; RX-0810C at ZTI00016437, 16438-16440, 16545; RX-0779C at

ZTI00012873-12874, 12883).).

       Mr. Kellam confirmed that there were no changes to the ZF-201 Filter from its first sale

at least as early as September 7, 2006 until sometime in late 2011 or early 2012. (Tr. (Kellam)

862:14-863:4.).




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  Mr. Glenn Cueman testified during his deposition on June 16, 2022 that he was a co-founder of Protect
Plus. (RX-2605C (Cueman Dep. Tr.) at 12:1-13:18.).


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        Accordingly, the 2005 version of the ZeroWater ZF-201 Filter is prior art under 35

U.S.C. § 102(a) and/or § 102(b).

                3.      The Prior Art Products Do Not Anticipate Claim 1 of the ’141 Patent

        As an initial matter, Brita did not dispute that the PUR 1-Stage, Brita Legacy, and Dupont

Filters are “gravity-fed water filter[s] comprising filter media including at least activated carbon

and a lead scavenger.” (CPBr. at 75-85; CRBr. at 27-36; JX-0022 at cl. 1.). Brita also did not

contest any measurements regarding V, i.e., “the volume of the filter media (cm3).” (CPBr. at

75-85; CRBr. at 27-36; JX-0022 at cl. 1.).

        Brita argued that Respondents failed to demonstrate that these filters achieved a FRAP

factor less than 350. (CRBr. at 27.). Specifically, Brita contended that Mr. Herman used

erroneous or unreliable values for: (i) lifetime (L); (ii) average filtration unit over lifetime (f);

and (iii) lead effluent concentration at end of lifetime (ce). (Id.). The contested limitations are

addressed below. In sum, Respondents did not prove by clear and convincing evidence the Prior

Art Products anticipate any of the asserted claims.

                        a)        PUR 1-Stage Filters

        As discussed above in Section XII(B)(2), Respondents failed to demonstrate that the

1450 and 1450Z variants of the PUR 1-Stage were sold during the relevant time period.

Moreover, in addition to the general failures in Respondents’ testing as discussed above in

Section IX(B), Respondents failed to prove by clear and convincing evidence that claim 1 is

anticipated by the PUR 1-Stage Filters for the reasons discussed below.

                             i.     “L = filter usage lifetime claimed by a manufacturer or seller
                                    of the filter (gallons)”

        Respondents argued that the PUR 1-Stage Filters “had an NSF 53 certified lifetime of 40

gallons as of 2005 on its packaging.” (RBr. at 29 (citing Tr. (Herman) at 1049:21-1050:6; RPX-



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0110.0004-5; RPX-0111; RPX-0113).). 63 As an initial matter, the packaging upon which

Respondents relied indicate that the filters were certified under NSF 42 for the reduction of

chlorine, not for NSF 53, as shown below in Figure No. 21.

                         Figure No. 21: Packaging for PUR 1-Stage Filters




(RPX-0110.0005; see also RPX-0111.0004; RPX-0113.0006.).

          Respondents’ expert, Mr. Herman, confirmed this during the Hearing. (Tr. (Herman) at

1216:10-15.). Thus, as Brita pointed out, the PUR 1-Stage Filters are not certified for 40 gallons

under the NSF/ANSI 53 (2007) standard. (CRBr. at 34.). Nevertheless, as discussed above in

Section VIII(B) with respect to the NSF/ANSI 53 (2007) standard, the ’141 patent does not

require the NSF/ANSI 53 standard (2007).

          The packaging does specify that the PUR 1-Stage Filters have a lifetime of 40 gallons, as

Respondents contended, and as is replicated below in Figure No. 22. (RBr. at 29.).




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     Respondents also cited RX-0334C-RX-0339C. (RBr. at 29.). Those exhibits are not in evidence.


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                       Figure No. 22: Packaging for PUR 1-Stage Filters




(RPX-0113.0004; see also RPX-0110.0004; RPX-0111.0003.).

       Respondents’ reliance on the packaging that the PUR 1-Stage Filters have a lifetime of 40

gallons is entirely consistent with the specification of the ’141 patent.

       The filter usage lifetime (L) is defined as the total number of gallons that can be
       effectively filtered according to claims presented by the manufacturer or seller of
       the filter. Typically these claims are present on the product packaging in the form
       of instructions to a consumer as to a quantity of water that can be filtered before
       the filter should be changed. The lifetime claims may also be presented in the
       manufacturers or seller’s advertising. Such claims typically bear some relationship
       to some performance attribute of the filter.

(JX-0022 at 26:6-17 (emphasis added).).

       Brita argued that “Respondents offered no evidence that the PUR 1-Stage filter had a

lifetime validated by testing using the challenge water of claim 1” because “Mr. Herman relies

on the lifetime value purportedly based . . . on the packaging and the PUR 1-Stage filter’s

certification under a pre-2007 version of the NSF/ANSI 53 standard that did not have a

particulate lead requirement.” (CRBr. at 34 (citing Tr. (Herman) at 1049:21-1050:6, 1016:5-19,

1165:24-1166:7).). Contrary to Brita’s assertion, lifetime as claimed in claim 1 only requires

“filter usage lifetime claimed by a manufacture or seller of the filter (gallons).” (JX-0022 at cl.

1.). This is consistent with the adopted construction of “filter usage lifetime claimed by a


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manufacturer or seller of the filter,” i.e., “[t]he total number of gallons of water that a

manufacturer or seller has validated can be filtered before the filter is replaced.” (Markman

Order at 14.).

        There is no requirement in claim 1 or the adopted claim construction in the Markman

Order that lifetime must be “validated by testing using the challenge water of claim 1” or that it

must be certified under a standard that has a particulate lead requirement like the NSF/ANSI 53

standard (2007). The challenge water (preparation and testing) is significant for purposes of

establishing an accurate, reliable scientific methodology, as discussed above in Section IX, but it

is not relevant to whether the PUR Stage-1 Filters meet this claim limitation. Moreover, as noted

in the Markman Order, the ’141 patent references the NSF/ANSI 53 standard (2007) as a

“default method to calculate the lifetime,” and not as the only way to calculate lifetime.

(Markman Order at 16-17 (emphasis added).).

        Additionally, Brita pointed out that testing of the PUR Stage-1 Filters provided

“additional confirmation” that the PUR 1-Stage Filters’ lifetime “is not 40 gallons” because

“[e]xceeding 10 ppb in effluent lead concentration would prevent a filter from certification under

the NSF/ANSI 53 (2007) standard.” (CRBr. at 35 (citations omitted).). Again, Brita’s position

that the NSF/ANSI 53 (2007) standard is required is misguided.

        Accordingly, Respondents have proven by clear and convincing evidence that the PUR 1-

Stage Filters satisfy this claim limitation.

                             ii.     “F = average filtration unit time over lifetime L (min/liter)”

        Brita argued that Mr. Herman erroneously calculated the average filtration unit time over

lifetime because instead of measuring this parameter for each filtered liter, Mr. Herman

measured only 5 liters of the alleged 152-liter (40 gallons) lifetime. (CRBr. at 35 (citing RX-



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0985.0021-22, 0025).). However, as discussed in Section IX with respect to the Parties’ testing

protocols, Brita’s contention that every liter must be measured was expressly rejected. (See

Section IX(A), supra.).

        Mr. Herman tested four samples of the PUR 1-Stage Filters and concluded they had an

average flow rate of 6.51, 5.84, 11.16, and 6.21 min/L. (Tr. (Herman) at 1061:23-1062:11; RX-

0684; RX-0986C).). As Respondents noted, these results are consistent with the average flow

rate of 4.78 min/L Brita obtained in its own prior art testing of the PUR 1-Stage Filters. (Tr.

(Nishijima) at 359:23-360:13; RX-0555).).

        Thus, Respondents have proven by clear and convincing evidence that the PUR 1-Stage

Filters satisfy this claim limitation.

                             iii.     “ce = effluent lead concentration at end of lifetime L when
                                      source water having a pH of 8.5 contains 90-120 ppb
                                      (μg/liter) colloidal lead greater than 0.1 μm in diameter”

        As discussed in Section IX(B), the challenge water that QFT and Helen of Troy used for

their testing of the PUR 1-Stage Filter did not comply with the soluble lead requirement

specified in the claims of the ’141 patent. (See Section IX(B), supra; RX-0985.0023, 0025

(particulate lead and soluble lead levels outside limits recited by claim 1 during testing of

samples 5A, 5B, and IT1371).). Moreover, the effluent values Mr. Herman reported ranged from

ȝJ/ 4)7$ WRȝJ/ ,7  5;-0985.0002-0003.).

        As Brita noted, the inconsistent measurements of flow rates and effluent concentrations

are material because they undermine the representativeness of these filters, the overall reliability

of Mr. Herman’s testing, and whether the evidence accurately shows the inherent properties of

these filters.

        For the foregoing reasons, Respondents failed to prove by clear and convincing evidence



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that the PUR 1-Stage Filters satisfy this claim limitation.

                       b)         Brita Legacy Filter

       In addition to the general failures in Respondents’ testing as discussed above in Section

IX(B), Respondents failed to prove by clear and convincing evidence that claim 1 is anticipated

by the Brita Legacy Filter for the following reasons.

                             i.     “L = filter usage lifetime claimed by a manufacturer or seller
                                    of the filter (gallons)”

       Respondents contended that the Brita Legacy Filter “had a lifetime of 40 gallons as they

were certified for lead reduction up to 40 gallons under NSF 53 on September 4, 1998.” (RBr. at

34 (citing Tr. (Herman) at 1050:7-1051:25; RPX-0106; RPX-0107).). The packaging that

Respondents provided supports their contention, reproduced below in Figure No. 23.

                        Figure No. 23: Packaging of Brita Legacy Filter




(See RPX-0106.0002.).

       Brita raised similar arguments for the Brita Legacy Filter as it did for the PUR 1-Stage

Filters, namely, that the filter “was neither certified for 40 gallons under the NSF/ANSI 53

(2007) standard nor validated for 40 gallons under any other method using the challenge water as

recited in claim 1.” (CRBr. at 28.). However, as discussed above with respect the PUR 1-Stage

Filters, nothing in this claim limitation or in the specification of the ’141 patent requires lifetime

to be certified under the NSF/ANSI 53 (2007) standard or validated using the challenge water

recited in claim 1. (See Section XII(B)(3)(a), supra.).

       As the packaging indicates, the Brita Legacy Filter has a lifetime of 40 gallons, which the


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specification discloses is a “typical[]” way of determining lifetime. (RPX-0106.0002; JX-0022

at 26:6-13 (“Typically these claims are present on the product packaging in the form of

instructions to a consumer as to a quantity of water that can be filtered before the filter should be

changed”).). This is also expressly displayed in Table 5 of the ’141 patent. (JX-0022 at Table

5.).

       For these reasons, Respondents have proven by clear and convincing evidence that the

Brita Legacy Filter satisfies this claim limitation.

                             ii.      “F = average filtration unit time over lifetime L (min/liter)”

       Brita contended that Mr. Herman erroneously calculated the average filtration unit time

over lifetime for the same reason as the PUR 1-Stage Filters, i.e., Mr. Herman measured only 5

liters of the alleged 152-liter (40 gallons) lifetime rather than measuring every filtered liter.

(CRBr. at 29 (citing RX-0985.0021-22).). However, as discussed in Section IX with respect to

the Parties’ testing protocols, Brita’s contention that every liter must be measured was squarely

rejected. (See Section, IX(A), supra.).

       Mr. Herman tested two samples of the Brita Legacy Filter and concluded that it had an

average flow rate of 5.42 and 5.79 min/L. (Tr. (Herman) at 1062:12-2.1.). As Respondents

noted, this is consistent with the ’141 patent’s portrayal of the average flow rate of the Brita

Legacy Filter as 5.5 min/L. (RBr. at 35 (citing JX-0022 at Table 5).).

       Accordingly, Respondents have proven by clear and convincing evidence that the Brita

Legacy Filter satisfies this claim limitation.

                             iii.     “ce = effluent lead concentration at end of lifetime L when
                                      source water having a pH of 8.5 contains 90-120 ppb
                                      (μg/liter) colloidal lead greater than 0.1 μm in diameter”

       For the reasons set forth in Section IX(B) with respect to the Parties’ testing protocols,




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the challenge water used in the testing conducted at QFT and Helen of Troy did not comply with

the soluble lead requirement specified in the claims of the ’141 patent. (See RX-0985.0023

(soluble lead levels outside limits recited by claim 1 during testing of samples 3A and 3B).).

       Accordingly, Respondents failed to prove by clear and convincing evidence that the Brita

Legacy Filter satisfies this claim limitation.

                       c)         Dupont WF-PTC 100 Filter

       In addition to the general failures in Respondents’ testing as discussed above in Section

IX(B), Respondents failed to prove by clear and convincing evidence that claim 1 is anticipated

by the Dupont WF-PTC 100 Filter for the reasons discussed below.

                             i.     “L = filter usage lifetime claimed by a manufacturer or seller
                                    of the filter (gallons)”

       Respondents asserted that the WF-PTC 100 Filters sold in 2005-2008 had a gallon

lifetime stated as 40 gallons on the packaging and certified under NSF 53. (Tr. (Herman) at

1052:5-16; RPX-0103.0003-4; RPX-0104.0004; RPX-0108.0001.). The packaging, reproduced

below in Figure No. 24, that Respondents provided support this contention.

                        Figure No. 24: Packaging of WF-PTC 100 Filter




(RPX-0103.0003-4; see also RPX-0104.0004.).



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       Again, Brita argued that the WF-PTC 100 Filter “was neither certified for 40 gallons

under the NSF/ANSI 53 (2007) standard nor validated for 40 gallons under any other method

using the challenge water as recited in claim 1.” (CRBr. at 31.). For the reasons discussed above

with respect to the lifetimes of the PUR 1-Stage and Brita Legacy Filters, Brita’s argument is not

persuasive.

       Accordingly, Respondents have proved by clear and convincing evidence that the WF-

PTC 100 Filter satisfies this claim limitation.

                             ii.     “F = average filtration unit time over lifetime L (min/liter)”

       Again, Brita asserted that Mr. Herman erroneously calculated the average filtration unit

time over lifetime because he failed to measure this parameter for each filtered liter of the

alleged 152-liter (40 gallons) lifetime. (CRBr. at 32 (citing RX-0985.0021-22, 0025).).

However, as discussed in Section IX with respect to the Parties’ testing protocols, Brita’s

assertion that every liter must be measured was expressly rejected. (See Section IX(A), supra.).

       Mr. Herman tested three samples of the Dupont WF-PTC 100 Filter and concluded that

the filter had an average flow rate of 10.28, 10.60, and 5.05. (Tr. (Herman) at 1063:2-10; RX-

0986C.). As Respondents noted, this is consistent with Brita’s own contemporaneous testing of

the Dupont WF-PTC 100 Filter in 2005. (RBr. at 39.). There, Brita not only acknowledged that

the Dupont WF-PTC 100 Filter had a flow rate of around 7 - 10.4 min/liter, but also recognized

that the filters were claiming to be able to reduce lead. (Tr. (Herman) at 1068:10-1069:5; RX-

0473C at BRITALP-0059694 – 59704.).

       Thus, Respondents have proven by clear and convincing evidence that the Dupont WF-

PTC 100 Filter satisfies this claim limitation.




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                            iii.     “ce = effluent lead concentration at end of lifetime L when
                                     source water having a pH of 8.5 contains 90-120 ppb
                                     (μg/liter) colloidal lead greater than 0.1 μm in diameter”

       Like the PUR 1-Stage Filters and the Brita Legacy Filter, the challenge water QFT and

Helen of Troy used for their testing of the Dupont WF-PTC 100 filter did not comply with the

soluble lead requirement specified in the claims of the ’141 patent. (See Section IX(B), supra;

RX-0985.0023, 0025 (particulate lead and soluble lead levels outside limits recited by claim 1

during testing of samples 4A, 4B, and IT1370).

       For the foregoing reasons, Respondents failed to prove by clear and convincing evidence

that the Dupont WF-PTC 100 satisfies this claim limitation.

                       d)      ZeroWater ZF-201 Filter

       As discussed above in Section IX(E)(2), Respondents did not actually test the ZF-201

Filter but instead, “used . . . information from testing and documents from the 2006-2007 period”

to calculate the FRAP value of the ZF-201 Filter. (Tr. (Herman) at 1028:15-16.). The evidence

Respondents relied upon to prove the characteristics of the ZF-201 Filter are either undated or

dated after September 2006. Accordingly, they do not clearly demonstrate what the FRAP factor

would have been for the filter when it was allegedly first sold to Home Depot in September

2006. (See Section IX(E)(2), supra.). Moreover, because no physical samples of the ZF-201

Filter were produced in this Investigation, none of the experts were able to perform their own

analyses of the filter. (Tr. Kellam) at 898:17-899:1.). As a result, Respondents failed to offer

expert testimony that the ZF-201 Filter actually anticipates the ’141 patent.




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                4.      The Prior Art Products Do Not Anticipate Claims 2-6 and 23 of the
                        ’141 Patent

        Respondents asserted that the Prior Art Products anticipate claims 2-6 and 23 64 for the

same reasons set forth in connection with claim 1. (RBr. at 32-33, 36-37, 41-42, 50-51.).

Because the Prior Art Products do not anticipate claim 1, Respondents likewise failed to prove

by clear and convincing evidence that these products anticipate claims 2-6 and 23 of the ’141

patent. (See Section XII(B)(3), supra.).

        C.      Written Description

                1.      Written Description Requirement

        In pertinent part, 35 U.S.C. § 112, states the written description requirement:

        The specification shall contain a written description of the invention, and of the
        manner and process of making and using it, in such full, clear, concise, and exact
        terms as to enable any person skilled in the art to which it pertains, or with which
        it is most nearly connected, to make and use the same, and shall set forth the best
        mode contemplated by the inventor of carrying out his invention.

35 U.S.C. § 112 (Pre-AIA).

        A patent’s specification satisfies the written description requirement when it “reasonably

conveys to those skilled in the art that the inventor had possession of the claimed subject matter

as of the filing date.” Novartis Pharms. Corp. v. Accord Healthcare, Inc., 38 F.4th 1013, 1016

(Fed. Cir. 2022) (“Novartis”) (quoting Ariad Pharm., Inc. v. Eli Lilly & Co., 598 F.3d 1336,

1351 (Fed. Cir. 2010) (citations omitted) (“Ariad”)). In Novartis, the Federal Circuit held that



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   In their Pre-Hearing Brief, Respondents argued that the PUR 1-Stage Filters anticipate claim 4. (RPBr.
at 72 (claiming “The PUR 1-Stage Anticipates Claims 2-5” but providing no analysis with respect to
claim 4); see also Tr. (Herman) at 1011:12-21 (opining on claims 1-5 and 23).). However, in their Post-
Hearing Brief, Respondents did not allege that claim 4 is anticipated by the PUR 1-Stage Filters. (See
RBr. at 32; Tr. (Herman) at 1082:1-19 (opining on only claim 3, not claim 4, for PUR 1-Stage); RDX-
0007C.0042 (same).). Thus, any argument Respondents may try to make on this issue is waived under
Ground Rule 10.1. Accordingly, with respect to the PUR 1-Stage Filters, only claims 2, 3, 5, and 23 are
implicated.


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the written description requirement was not met because the specification did not support that a

“skilled artisan would understand a negative limitation to necessarily be present in [the]

disclosure.” Novartis, 38 F. 4th at 1020.

       The written description analysis into whether there is “possession as shown in the

disclosure” in the patent at issue is “an objective inquiry into the four corners of the specification

from the perspective of a person of ordinary skill in the art.” Ariad, 598 F.3d at 1351. The

analysis varies depending on context. Id.

       [T]he level of detail required to satisfy the written description requirement varies
       depending on the nature and scope of the claims and on the complexity and
       predictability of the relevant technology. For generic claims, we have set forth a
       number of factors for evaluating the adequacy of the disclosure, including “the
       existing knowledge in the particular field, the extent and content of the prior art,
       the maturity of the science of technology, [and] the predictability of the aspect at
       issue”

Ariad, 598 F.3d at 1351 (citations omitted); see also Juno Therapeutics, Inc. v. Kite Pharma,

Inc., 10 F. 4th 1330, 1335 (Fed. Cir. 2021) (“What is required to meet the written description

requirement ‘varies with the nature and scope of the invention at issue, and with the scientific

and technologic knowledge already in existence.’”).

       The written description requirement is separate from the enablement requirement. Ariad,

598 F.3d at 1344. In Ariad, the inventors had over “years of hard work, great skill and

extraordinary creativity” discovered, named and described “previously unknown cellular

components as a necessary predicate for their inventions” in a field of invention that was

particularly unpredictable. Id. at 1354. The patent failed to meet the written description where it

disclosed the use of three classes of molecules, but failed to sufficiently disclose molecules

capable of the claimed function of reducing NF-eB activity. Id. at 1354-55.

       Compliance with the written description requirement is a question of fact. Id. at 1354-55;



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see also Enzo Biochem, Inc. v. Gen-Probe, Inc., 323 F.3d 956, 963 (Fed. Cir. 2002) (“Enzo

Biochem”) (“Compliance with the written description requirement is essentially a fact-based

inquiry that will ‘necessarily vary depending on the nature of the invention claimed.’” (quoting

Vas-Cath Inc. v. Mahurkar, 935 F.2d 1555, 1563 (Fed. Cir. 1991) (“Vas-Cath”))).

        The written description requirement does not require examples or an actual reduction to

practice. Ariad, 598 F.3d at 1352. Filing of a patent application, i.e., a constructive reduction to

practice, that “in a definite way identifies the claimed invention can satisfy the written

description requirement.” Id. The written description need not use the same words as the

claimed invention, but a description that only renders the claimed invention obvious is also not

adequate. Id.

        Evidence of possession of the claimed invention may include “‘disclosure of sufficiently

detailed, relevant identifying characteristics . . . i.e., complete or partial structure, other physical

and/or chemical properties, functional characteristics when coupled with a known or disclosed

correlation between function and structure, or some combination of such characteristics.’” Enzo

Biochem, 323 F.3d at 954 (quoting and adopting PTO’s standard for compliance with written

description requirement; Guidelines for Examination of Patent Applications Under the 35 U.S.C.

112, 1, “Written Description” Requirement, 66 Fed. Reg. 1099, 1106 (Jan. 5, 2001) (“PTO

Guidelines”) (emphasis deleted)).

        The written description requires a comparison between the claimed invention and the

disclosure, as explained below in the PTO Guidelines.

        The analysis of whether the specification complies with the written description
        requirement calls for the examiner to compare the scope of the claim with the
        scope of the description to determine whether applicant has demonstrated
        possession of the claimed invention. Such a review is conducted from the
        standpoint of one of skill in the art at the time the application was filed and should
        include a determination of the field of the invention and the level of skill and


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        knowledge in the art. Generally, there is an inverse correlation between the level
        of skill and knowledge in the art and the specificity of disclosure necessary to
        satisfy the written description requirement. Information which is well known in
        the art need not be described in detail in the specification.

(See PTO Guidelines, 66 Fed. Reg. at 1105 (citations omitted); Manual of Patent Examining
Procedure § 2163(II)(A)(2) (“MPEP”) (June 2020) (emphasis added); see also Indivior UK Ltd.
v. Dr. Reddy's Lab'ys S.A., 18 F.4th 1323, 1328 (Fed. Cir. 2021) (“Invidior”) (describing that
claims in a parent application can provide written description support for ranges in a child
application); Ariad, 598 F.3d at 1351 (“the specification must describe an invention
understandable to that skilled artisan and show that the inventor actually invented the invention
claimed”).

        The purpose of the “written description” requirement is to “convey with reasonable

clarity to those skilled in the art that, as of the filing date sought, he or she was in possession of

the invention. The invention is, for purposes of the ‘written description’ inquiry, whatever is

now claimed.” Vas-Cath, 935 F.2d at 1563-64 (emphasis in original). In other words, the

specification must describe the claimed invention.

        To comply with the written description requirement of … pre-AIA 35 U.S.C. 112,
        first paragraph, or to be entitled to an earlier priority date or filing date under … [35
        U.S.C.] 120…, each claim limitation must be expressly, implicitly, or inherently
        supported in the originally filed disclosure. When an explicit limitation in a claim
        "is not present in the written description whose benefit is sought it must be shown
        that a person of ordinary skill would have understood, at the time the patent
        application was filed, that the description requires that limitation." Hyatt v.
        Boone, 146 F.3d 1348, 1353, 47 USPQ2d 1128, 1131 (Fed. Cir. 1998); see
        also … Yeda Research and Dev. Co. v. Abbott GMBH & Co., 837 F.3d 1341, 120
        USPQ2d 1299 (Fed. Cir. 2016) ("Under the doctrine of inherent disclosure, when
        a specification describes an invention that has certain undisclosed yet inherent
        properties, that specification serves as adequate written description to support a
        subsequent patent application that explicitly recites the invention’s inherent
        properties.") (citing Kennecott Corp. v. Kyocera Int’l, Inc., 835 F.2d 1419, 1423
        (Fed. Cir. 1987)).

(MPEP § 2163 II(A)(3)( b); see also Novartis, 38 F.4th at 1016 (“possession must be ‘shown in
the disclosure’”).).

        It is not enough that a claimed invention is ‘an obvious variant of that which is disclosed

in the specification.’ Disclosure is essential; it is ‘the quid pro quo of the right to exclude.’”



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(citations omitted).); Nuvo Pharms. (Ireland) Designated Activity Co. v. Dr. Reddy's Lab'ys Inc.,

923 F.3d 1368, 1376-77 (Fed. Cir. 2019) (“Nuvo”) (“The essence of the written description

requirement is that a patent applicant, as part of the bargain with the public, must describe his or

her invention so that the public will know what it is and that he or she has truly made the claimed

invention.”) (quoting AbbVie Deutschland GmbH & Co. v. Janssen Biotech, Inc., 759 F.3d 1285,

1298 (Fed. Cir. 2014)).

        A patent is presumed to have adequate written description. Novartis, 38 F.4th at 1019.

Clear and convincing evidence overcomes the presumption of validity. Ariad, 598 F.3d at 1354.

                2.      Arguments

        Respondents argued that the written description requirement is not met because the

disclosure does not describe the full claim scope of: (a) filter media types that could fall within

the broadly cited “filter media”; and (b) ranges of values of the FRAP factor and its variables

recited in the asserted claims.

        Respondents argued that the ’141 patent and the inventors did not show that they had

possession of filter species other than carbon block filters. (RSBr. at 12-29; RPBr. at 108-112.).

Additionally, key issues are whether the content of claims 1, 2, 3, 4, 5, 6 and 23 are adequately

disclosed in the specification of the ’141 patent as of the filing date Brita sought (or at a later

date that would satisfy black letter law.). Brita argued that there is adequate disclosure in the

specification and originally filed claims for the asserted claims. (CPBr. at 112-13; CRBr. at 46;

CSRBr. at 5-7.). 65 Brita argued that the written description inquiry is an objective inquiry into

the specification. (CSRBr. at 5-6 (citing Tr. (Freeman) at 1501:11-1502:2, 1509:23-1511:22



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  Respondents and Brita argued about written description support in the ’372 application in their
arguments about priority date. (See Section XII(A)(4), supra (discussing written description support in
the ’372 application).).


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(explaining on a claim by claim basis where written support exists in the written disclosure of the

’141 patent specification); CPBr. at 113 (citing Ariad, 598 F.3d at 1351 (“requires an objective

inquiry into the four corners of the specification.”).). Respondents argued that the broad ranges

of the FRAP factor and input variables to the FRAP factor ranges recited in the asserted claims

are unbounded and do not comply with the written description requirement. (RPBr. at 101-108;

RSBr. at 29-38.).

       In rebuttal, Brita argued that Respondents failed to consider the “four corners of the ’141

patent,” which provides express description in the specification and originally filed claims for the

asserted claims. (CSRBr. at 5-7; CRBr. at 46; CPBr. at 112-13.). Brita also argued that

Respondents seek a ‘heightened’ written description requirement that applicable black letter law

does not require. Brita argued, correctly (and as a finding of fact) that the ’141 patent reasonably

conveys that the inventors had possession of the claimed invention. (CPBr. at 112-13; CRBr. at

46; CSRBr. at 5-7.). Brita argued that there are sufficient and explicit disclosures that show that

Brita had possession of the various filter type and the content of the claims, including the

claimed ranges of FRAP factor values and FRAP factor variables when it filed the application

for the ’141 patent. (CPBr. at 112-16; CRBr. at 47-48; CSRBr. at 9-16.).

       The ’141 patent is presumed valid. Respondents have the burden to prove that the ’141

patent fails to comply with the written description requirement. Ariad, 598 F.3d at 1354. For the

reasons detailed below, Respondents have failed to prove by clear and convincing evidence that

the written description requirement is not met.

               3.      Explicit Description in the Specification

       A specification that describes the claimed invention “in a definite way” satisfies the

written description requirement. Ariad, 598 F.3d at 1352. Original claims are part of the



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original specification and in many cases will satisfy the written description requirement. Mentor

Graphics Corp. v. EVE-USA, Inc., 851 F.3d 1275, 1297 (Fed. Cir. 2017) (citing Ariad, 598 F.3d

at 1349; ScriptPro LLC v. Innovation Assocs., Inc., 833 F.3d 1336, 1341 (Fed. Cir. 2016)

(“ScriptPro”) (explaining original claims can satisfy the written description requirement, but

claims to a functionally defined genus require disclosure of species); Crown Packaging Tech.,

Inc. v. Ball Metal Beverage Container Corp., 635 F.3d 1373, 1380 (Fed. Cir. 2011)).

        The ’141 patent was filed on September 9, 2008 as U.S. Application No. 12/207,284

(“the ’284 application”). (JX-0022 at (21)-(22).).

        Brita argued that Respondents did not dispute that explicit disclosure exists in the ’284

application for the asserted claims. (CSRBr. at 5 (citing Tr. (Freeman) 1501:11-1511:22); CRBr.

at 46.). However, Respondents contended that the full scope of the ranges of FRAP factors and

filter types are not described. (RPBr. at 108-112; RSBr. at 12-29.). However, as discussed

below, Respondents lacked credible support for any dispute that explicit disclosures of the

claims, or the invention claimed does not exist. The findings of fact stem from Brita’s more

accurate and complete explanations of the explicit, detailed factual explanation for the written

description of the invention that is reflected in the specification, and on the more thorough and

credible explanations and opinions that Brita’s expert, Dr. Benny Freeman offered during the

Hearing

        Dr. Freeman, Brita’s expert, testified that the specification discloses all elements of the

asserted claims, i.e., claims 1, 2, 3, 4, 5, 6, and 23 in the original claims as filed in the ’284

application. (Tr. (Freeman) at 1508:4-14.). Dr. Freeman also testified that the specification of

the ’141 patent discloses all elements of the asserted claims at least in the testimony to which

citations are given in Chart No. 12, below. In the cited testimony below, Dr. Freeman was



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                                                       be used in granular or
                                                       “loose media” type
                                                       filters, according to
                                                       various embodiments
                                                       of the present
                                                       invention.”
   Mixed media, carbon blocks, nonwovens,              25:9-12                  1512:21-1513:1
   hollow fibers, and other filtration formats         “The nature of the
                                                       filter meeting the
                                                       following
                                                       performance criteria
                                                       is independent of the
                                                       exact embodiment of
                                                       the filter and thus
                                                       applicable to mixed
                                                       media, carbon blocks,
                                                       nonwovens, hollow
                                                       fibers, and other
                                                       filtration formats.”
   Membranes, nonwovens, depth media,                  26:30-37                 1513:2-6
   nanoparticles and nanofibers, ligands               “Other embodiments
                                                       of the present
                                                       invention include
                                                       alternate filtration
                                                       techniques such as
                                                       membranes,
                                                       nonwovens, depth
                                                       media, nanoparticles
                                                       and nanofibers,
                                                       ligands, etc.”

(JX-0022 at 6:51-52, 12:9-28, 13:31-34, 25:9-12, 37-45, 26:30-37; Tr. (Freeman) at 1501:13-
1502:2, 1509:20-1510:4, 1510:7-1511:22, 1512:21-1513:6, 1513:16-20.).

       Dr. Freeman thus compared verbatim on a claim-by-claim basis, as black letter law

suggests is required, that the original claims in the ’284 application mirror the asserted claims of

the ’141 patent, and that the specification provides the explicit basis for the asserted claims. See

Ariad, 598 F.3d at 1349.

       As Dr. Freeman testified, not only is there explicit support in the disclosure for each of



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the asserted claims, but also there are working examples of the filters that Dr. Knipmeyer

tested. 66 In this case, the working examples that Dr. Knipmeyer tested and recorded in her

Notebooks are described in the ’141 patent as “gravity fed carbon blocks [that] have been

formulated in cylindrical multiple-core blocks” and appear in Table 9, below. (JX-0022 at

27:50-53, Table 1; see also Section XII(A)(2)(b), supra (Reduction to Practice of the PA3-8

Water Filter).). Dr. Freeman testified and noted that Table 1 of the specification of the ’141

patent provides examples of filters with lead sorbent and activated carbon that Dr. Knipmeyer

made and tested. (Tr. (Freeman) at 1541:8-11 (describing the PA3-8 as a working example in

the ’141 patent), 1571:7-12 (acknowledging all working examples in the ’141 patent are for

carbon block filters).). Examples of “Filter Multiple Core” or carbon block water filters are

listed in Table 1 of the ’141 patent, reproduced in Table 9, below.




66
  Patent specifications may include working examples or prophetic examples. “A working example is
based on work actually performed. A prophetic example describes an embodiment of the invention based
on predicted results rather than work actually conducted or results actually achieved.” MPEP, § 2164.02.
In this case, the working examples are listed in Table 5 and include the PA3, PT3, P2 and cylindrical
block formulations (PA3-5, PA3-8, PT3-4, PT3-6, PT3-4 alternate housing, PT3-11, PT3-13, PT3-51,
PT3-53, P2-8 lead sorbent free (unclaimed embodiment), P2-6 lead sorbent free (unclaimed embodiment),
Block 1, Block 2). (JX-0022 at Table 5.).


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                        Table No. 9: Written Description Support for the
                        Claimed Invention at Table 1 of the ’141 Patent




(JX-0022 at Table 1.). 67

        Similarly, Dr. Freeman testified that Table 5 of the ‘141 patent, shown below in Table

No. 10, identifies the FRAP values for the working examples of the carbon block filters that meet

the asserted claim 1 limitation of a FRAP factor value of less than 350, as listed in the far right

column. (Tr. (Freeman) at 1503:5-10; Tr. (Gary Hatch) at 1412:17-1414:1 (describing Table 5

as including all working examples of the ’141 patent, but noting P2-8 and P2-6 do not have lead



67
  Table 1 and Table 5 lists three formulations of water filters: PA3, PT3 and P2. (JX-0022 at 16-21.).
They are cylindrical multiple-core blocks (“CMC” blocks) made of activated carbon in powder or fiber
form, binder and lead sorbent/lead scavenger. (Id. at 27:51-57.). Table l lists the types of activated
carbon and lead sorbent, and their content in the different formulations. A lead sorbent is a lead
scavenger. (JX-0022 at 15:39-40.).


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sorbent, and therefore do not meet the requirement of claim 1 that the filter media includes lead

scavenger).). 68 Table 5 of the ’141 patent, shown below, clearly identifies at the top of each

column each of the individual FRAP factor variables of filter usage lifetime L (gallons), average

filtration unit time over lifetime f (min/liter), volume of filter media V, effluent lead

concentration at end of lifetime ce (mg/liter), and the FRAP Factor for each water filter that was

tested.




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   At the time that Dr. Gary Hatch testified on October 13, 2022, he held a bachelor’s and master’s
degrees in chemistry from Emporia State University in Emporia, Kansas, and a PhD in analytical and
organic chemistry from Kansas State University. (Tr. (Hatch) at 1401:15-19.). He worked on water
filtration for 49 years and advises on point-of-use, point-of-entry water treatment through his firm, “Hatch
Global Consulting Services.” (Id. at 1401:21-22, 1399:11-19.). Since the 1980’s, Dr. Hatch sat on and
chaired NSF task groups to improve drinking water treatment, and wrote the first protocol that led to the
2007 NSF 53 standard. (Id. at 1403:15-1404:8.). Dr. Hatch was accepted as an expert in the fields of
water filtration, lead removal from water, and the subject matter that the ’141 patent is directed. (Id. at
1405:23-1406:7.). Based on his education and experience, Mr. Herman qualified as an expert under Rule
703 of the Federal Rules of Evidence (“FRE”).


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                 Table No. 10: Written Description Support for the Claimed
                           Invention at Table 5 of the ’141 Patent




(JX-0022 at Table 5 (ann. in ’141 patent’s Certificate of Correction).).

       The working examples that Dr. Freeman identified can be found in Table 5, and again,

are examples of filters that Dr. Knipmeyer tested for purposes of the ’284 application and the

’191 patent In support of his testimony, Dr. Freeman prepared a demonstrative, CDX-002.14,

reproduced below at Table No. 11, in which he highlighted in green those water filters from

Table 5 that meet the asserted claim 1 limitation of a FRAP factor under 350, which are the PA3-




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5, PA3-8, PT3-4, PT3-4 alternate housing, PT3-11, PT3-13, PT3-51, PT3-53, and Block 1 water

filters. (Tr. (Freeman) at 1503:3-13; CDX-0002.14.).

                Table No. 11: Working Examples in Table 5 of the ’141 Patent




(CDX-0002.14 (displaying Table 5 from the ’141 patent and particular filter formulations that
have FRAP factor values below 350 (highlighted in green) and values over 350 (highlighted in
orange).).

       Dr. Freeman also highlighted in Table No. 11, above, in orange, the prior art,

conventional water filters that did not meet the FRAP factor values required by asserted claim 1,

which are the Brita Granular, German Maxtra, and PUR 2 water filters. (Chart No. 15, supra;

Tr. (Freeman) at 1503:11-13.).

       In contrast, Dr. Hatch testified that he did not compare the originally filed claims of the

’284 application against the claims of the ’141 patent, as applicable black letter law requires, as

follows:

       Q. …let’s go back and compare the originally filed claims with the issued claims.


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        Did you consider that as part of your opinion for written description?

        A. I don’t recall that I was able to relate that to the - - relate those, as you say.

        Q. Okay. So is it fair to say you did not consider the originally filed claims when
        forming your opinion on written description?

        A. I can’t recall that I did. I don’t know.

(Tr. (Hatch) at 1448:5-14; see also Tr. (Hatch) at 1448:15-1453:6 (comparing original claims as

filed in the ’284 application with the issued claims of the ’141 patent); compare CDX-0002.19

(JX-0023.0112-15 (original claims 1-6 and 23)) with JX-0022 at cls. 1-6 and 23).).

        In other words, while Dr. Hatch initially claimed that he had formed an opinion on the

written description requirement. he later acknowledged that he had not. (Compare (Tr. (Hatch)

at 1410:9-21 (forming an opinion) with Tr. (Hatch) at 1448:5-14 (not forming an opinion).). Dr.

Hatch cannot have formed an opinion on the written description requirement, because he

contradicted himself a number of times and conceded that he had not followed black letter law

each time he was asked whether he had compared the claims in the ’284 application with the

claims of the ’141 patent and each time he answered that he had not done so. 69 In other words,

Dr. Hatch’s initial “opinion” was both legally and factually erroneous. It was not credible. By

his own later testimony, Dr. Hatch acknowledged that he did not consider the language or the

content of the originally filed claims or compare them against the filed claims of the ’141 patent

to show what the inventors had possession of when they filed the original application and how



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   Dr. Hatch acknowledged during his direct examination that he had formed an opinion only with respect
to carbon block filters. (Tr. (Hatch) at 1410:16-21 (opining that “the inventors did not possess all of the
claimed types of filters”); 1425:17-23 (describing that only working examples of carbon block filters are
present, but not other types of filters).). Dr. Hatch then proceeded to essentially acknowledge through
claim by claim examination on cross-examination that his testimony did not comport with the evidence
for written description consistent with case precedent. (Tr. (Hatch) at 1448:15-1453:6 (comparing
original claims as filed in the ’284 application with the issued claims of the ’141 patent).).



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                   [V ‫ כ‬f ‫ כ‬c_e]
         FRAP =
                     [L ‫ כ‬2]
where:
V = volume of the filter media (cm3),        At claim 1 (verbatim the same as 1449:23-
                                             asserted claim 1 volume limitation) 1450:5
f = average filtration unit time over At claim 1 (verbatim the same as 1450:6-11
lifetime L (min/liter),               asserted claim 1 filtration limitation)
ce = effluent lead concentration at end At claim 1 (verbatim the same as 1450:12-15
of lifetime L when source water having asserted claim 1 lead concentration
a pH of 8.5 contains 90-120 ppb limitation)
(μg/liter) soluble lead and 30-60 ppb
(μg/liter) colloidal lead greater than 0.1
μm in diameter, and
L = filter usage lifetime claimed by a At claim 1 (verbatim the same as 1450:16-20
manufacturer or seller of the filter asserted claim 1 lifetime limitation)
(gallons).
2. The water filter as recited in claim      At claim 2 (verbatim the same as   1451:9-12
1, wherein the filter achieves a FRAP        asserted claim 2)
factor of less than about 200.
3. The water filter as recited in claim      At claim 3 (verbatim the same as   1451:13-16
1, wherein the volume of the filter          asserted claim 3)
media (V) is less than about 300 cm3.
4. The water filter as recited in claim At claim 4 (verbatim the same as 1451:17-19
3, wherein the volume of the filter asserted claim 4)
media (V) is less than about 150 cm3.
5. The water filter as recited in claim      At claim 5 (verbatim the same as   1451:20-22
5, wherein the average filtration unit       asserted claim 5)
time (f) is less than about 12 minutes
per liter.
6. The water filter as recited in claim      At claim 6 (verbatim the same as   1451:23-24
1, wherein the average filtration unit       asserted claim 6)
time (f) is less than about 6 minutes per
liter.




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 23. A gravity-flow system for filtering At claim 23 (verbatim the same as 1452:8-17;
 water, comprising:                      asserted claim 23 preamble and 1453:4-6
                                         container limitation)
 a container having a source water
 reservoir than can hold source water
 and a filtered water reservoir that can
 hold filtered water;



 a cartridge in communication with both At claim 23 (verbatim the same as 1452:20-
 the source water reservoir and the asserted claim 23 cartridge limitation 1453:3
 filtered water reservoir, the cartridge and filter limitation)
 providing a path through which water
 can flow from the source water
 reservoir to the filtered water reservoir;
 and
 a filter as recited in claim 1 disposed
 within the cartridge.

(JX-0023.0112-13 (original claims 1-6, 23); Tr. (Hatch) at 1449:7-1450:23, 1451:13-24, 1452:8-
1453:6; compare CDX-0002.19 (JX-0023.0112-15 (original claims 1-6 and 23)) with JX-0022 at
cls. 1-6 and 23).).

        Through systematic questioning by Brita’s attorney, and by his own systematic

responses, Dr. Hatch ultimately acknowledged that the asserted claims of the ’141 patent mirror

the claims as originally filed in the ’284 application. Even without Dr. Freeman’s testimony, and

only through careful cross-examination, Dr. Hatch undermined Respondents’ argument that they

had “clear and convincing” evidence that the written description requirement was not fulfilled. 71

The cited Hatch testimony, almost without more, supports a finding that Respondents did not

prove by clear and convincing evidence that the ’141 specification does not provide written

description support for the’141 patent and the claimed invention. Nonetheless, Dr. Freeman’s

testify persuasively and credibly confirmed that the ’141 specification provides written


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  After the Hatch and Freeman testimonies, it should have been clear to Respondents that their written
description arguments were unsupported by either documentary or testamentary evidence.



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description support for the ’141 patent as does the ’284 application. (See supra.). However,

problems with Respondents’ arguments and testimony do not end with that cited portion of Dr.

Hatch’s testimony.

                4.       Filter Species Other Than Carbon Block and Boilerplate Language in
                         the Specification

        Respondents argued that the ’141 patent does not reflect that the inventors had possession

of a broad range of filter media types. Respondents also argued about boilerplate language in the

specification. These arguments are related, and addressed by the following analysis of what the

evidence supports that the specification reasonably conveys to a person skilled in the art.

                         a)      Filter Species Other Than Carbon Block

        Respondents argued that the ’141 patent does not show that the inventors had possession

of a filter species other than the carbon block filters. (RPBr. at 111; RSBr. at 12-16, 17-20.).

Respondents contended that the ’141 patent is directed to a genus of at least eight distinct types

of filter media, but the specification only possessed a limited number of carbon block water

filters. 72 73 (RSBr. at 21-23 (citing Ariad, 598 F.3d at 1350 (other citations omitted); RPBr. at


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  A genus is a group of structurally related materials, for example, structurally related chemicals. In re
Kalm, 378 F.2d 959, 963 (C.C.P.A. 1967) (describing a genus as a “group of compounds closely related
both in structure and in properties”). Brita did not present evidence on a genus/species theory because
Respondents’ motion to strike genus/species arguments was granted. (See Section II(A), supra.).
73
  Respondents contended that this Investigation is similar to another investigation, where claims to a
genus of coated optical fibers were invalid for lack of adequate written description support. (RSBr. at 22
(citing Certain UV Curable Coatings For Optical Fibers, Coated Optical Fibers, and Products
Containing the Same, Inv. No. 337-TA-1031, Comm’n Op. at 24 (June 7, 2018) (“Certain UV Curable
Coatings”) (holding claims invalid for lack of written description support for broad claims with limited
written disclosure in a context of unpredictability in attaining claimed property limitations).). However,
Certain UV Curable Coatings is distinguishable because the lack of adequate written description resulted
from the claiming of many classes of generic materials together with the finding of unpredictability. Id.
Unlike in Certain UV Curable Coatings, the ’141 patent identifies a limited number of species in the
written description, and Dr. Freeman testified that each of the species has been well studied and known
before the ’141 patent. (See Sections XII(C)(4)(e)(i), (ii) and XII(D)(2)(e), infra.). Therefore, Certain
UV Curable Coatings does not support that the written description requirement is not met.



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109.).

         In rebuttal, Brita contended that Respondents argued for a heightened written description

requirement for every potential species within the scope of the claims that is not required at law.

(CRBr. at 46; CSRBr. at 5.). Brita noted that the written description requirement test is whether

the disclosure “reasonably conveys” to those skilled in the art that the inventor possessed the

claimed subject matter, and does not require actual reduction to practice. (CPBr. at 111-12;

CRBr. at 46 (citing Ariad, 598 F.3d at 1351); CSRBr. at 4.). Brita argued that the specification

discloses numerous filters, accompanied by examples of flow rate, volume, lifetime, effluent lead

concentration, and FRAP factors that embody the claimed invention. (CPBr. at 115-19; CSRBr.

at 6 (citing JX0022 at Table 5).).

         In Ariad, the Federal Circuit explained that a description of a genus requires disclosure of

a representative number of species within the genus.

         [The Federal Circuit] held that a sufficient description of a genus instead requires
         the disclosure of either a representative number of species falling within the scope
         of the genus or structural features common to the members of the genus so that one
         of skill in the art can “visualize or recognize” the members of the genus. We
         explained that an adequate written description requires a precise definition, such
         as by structure, formula, chemical name, physical properties, or other properties,
         of species falling within the genus sufficient to distinguish the genus from other
         materials.

Ariad, 598 F.3d at 1350 (citations omitted, emphasis added).



         Respondents argued that another investigation, Certain LED Products, is also relevant here.
(RSBr. at 27 (citing Certain Light-Emitting Diode Products, Fixtures, and Components Thereof, Inv. No.
337-TA-1213, Initial Determination at 41 (Aug. 17, 2021) (“Certain LED Products”) (finding lack of
written description for a genus of devices with efficiencies above 85 LPW).). In Certain LED Products,
the patent at issue had “no indication that the inventors thought their approach involved any approach
other than BSY+R.” Id. Unlike in Certain LED Products, the ’141 patent explicitly contemplates other
embodiments of filter types, not that the invention was limited to carbon-block technology. (Tr.
(Freeman) at 1512:2-1513:6; JX-0022 at 13:30-34, 25:5-12, 26:30-37.). Thus, Certain LED Products is
distinguishable. The fact that the disclosures in the ’141 patent meet the written description requirement
is not undermined by the cited cases.


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       Asserted claim 1 recites “filter media” without limiting the type of filter media, and thus

is a generic term. Even Respondents’ expert, Dr. Hatch, whose testimony was often self-

contradictory, acknowledged generally that the term “filter media” was generic. (See Tr. (Hatch)

1453:14-1454:13 (acknowledging that the claims do not cite filter media types); RSBr. at 21-22

(arguing Brita fails to provide sufficient description for a genus of filter types (citing Ariad, 598

F.3d at 1350 (other citations omitted).). Dr. Freeman also generally acknowledged generic

“filter media” as classes of filter media. (Tr. (Freeman) at 1489:12-18.). According to the ’141

patent specification, the species of filter media include mixed media, carbon blocks, nonwovens,

hollow fibers, membranes, depth media, nanoparticles and nanofibers, and ligands. (JX-0022 at

25:9-12 (“The nature of the filter meeting the following performance criteria is independent of

the exact embodiment of the filter and thus applicable to mixed media, carbon blocks,

nonwovens, hollow fibers, and other filtration formats.”); 26:30-37 (“Other embodiments of the

present invention include alternate filtration techniques such as membranes, nonwovens, depth

media, nanoparticles and nanofibers, ligands, etc.”).).

       Respondents recognized that the “at least eight types of filter media” have been explicitly

disclosed in the specification. (See Chart No. 12, supra (listing explicit disclosure of filter media

types in the specification).). As explained in Ariad, one way to define species falling within a

genus is by name. Here, the specification of the ’141 patent identifies by name the species such

as mixed media, carbon blocks, nonwovens, hollow fibers, membranes, nonwovens, depth

media, nanoparticles and nanofibers, and ligands, in at least two (2) locations: at column 25,

lines 9-12, and column 26, lines 30-37. (JX-0022 at 25:9-12, 26:30-37.). In other words, a

skilled artisan would be able to “visualize or recognize” the members of the genus because the

specification clearly identifies the species.



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       Respondents argued that the asserted claims purport to cover any activated carbon and

any lead scavenger, which together with the filter media types can cover tens of thousands of

combinations of filter types. (RPBr. at 108; RSBr. at 13.). In rebuttal, Brita argued that the

specification discloses working examples with activated carbon and lead scavengers, and “also

disclosed additional activated carbon and lead scavengers that could be used beyond those found

in the working examples.” (CSRBr. at 12 (citing JX-0022 at 13:34-14:4 (describing sources and

types of activated carbon such as derived from “coal, or from pitch, bones, nut shells, coconut

shells, corn husks, polyacrylonitrile (PAN) polymers, charred cellulosic fibers, . . . wood, and the

like”), 15:39-45 (listing lead scavengers such as “metal ion exchange zeolite sorbents, . . . ,

aluminosilicates, . . . zirconia oxides and hydroxides.”)).

       Brita argued that activated carbon is well-known. (CSRBr. at 12 (citing Tr. (Hatch) at

1462:2-13 (acknowledging activated carbon is well-known), Tr. (Freeman) at 1527:16-19

(describing activated carbon and lead scavenger as known materials for water filters).).

       For the reasons described above, the filter media, activated carbon and lead scavenger

were known in the art. There appears to be no dispute that “filter media” is a generic term that

encompasses known species.

                       b)      Working Examples Other Than Carbon-Block Filter Media

       Respondents argued that the only working examples in the ’141 patent (see Tables 1 and

5 of the ’141 patent) are for carbon block filters. (RPBr. at 108, 100; RBr. at 76; RSBr. at 13,

23.). In rebuttal, Brita argued correctly legally that the written description requirement does not

require working examples of each species. (CPBr. at 116 (citing Cordis Corp. v. Medtronic

AVE, Inc., 339 F.3d 1352, 1365 (Fed. Cir. 2003) (“Cordis”) (“A specification may, within the

meaning of 35 U.S.C 112 para. 1, contain a written description of a broadly claimed invention



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without describing all species that [the] claim encompasses.”); CSRBr. at 9-11.). In Cordis, a

description of a preferred embodiment of certain types of openings was sufficient written

description of broadly claimed openings. Cordis, 339 F.3d at 1364-65.

       The holding in Cordis supports a factual finding that while the ’141 patent describes a

preferred embodiment of carbon block, the other broadly claimed filters, identified below and in

the ’141 patent, have adequate written description in the specification. (JX-0022 at 11:35-41

(describing carbon block water filters), Table 5 (working examples of carbon block filters).).

       Brita also argued that “a constructive reduction to practice may be sufficient if it

identifies the claimed invention and does so in a definite way.” (CSRBr. at 9 (citing Centrak,

Inc. v. Sonitor Techs., Inc., 915 F.3d 1360, 1367 (Fed. Cir. 2019) (“Centrak”)).). In Centrak, the

Federal Circuit explained that “written description is about whether the skilled reader of the

patent disclosure can recognize that what was claimed corresponds to what was described; it is

not about whether the patentee has proven to the skilled reader that the invention works, or how

to make it work, which is an enablement issue.” Centrak, 915 F.3d at 1366 (quoting Alcon

Research Ltd. v. Barr Labs., Inc., 745 F.3d 1180, 1191 (Fed. Cir. 2014)).

       In Centrak, a specification that described, in bulk, infrared technology, but mentioned

ultrasound, was an insufficient basis for generic claim language to fail the written description

requirement. Centrak, 915 F.3d at 1366-67. The Federal Circuit noted that, within the context

of the invention, infrared and ultrasonic technologies were interchangeable. Id. at 1368. While

the inventor admitted that he had not created the ultrasound embodiment, details of how to create

that embodiment could have been within the scope of a skilled artisan. Id. at 1369. Constructive

reduction to practice might suffice to show written description, and as in Ariad, “the level of

detail required to satisfy the written description requirement varies depending on the nature and



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scope of the claims and on the complexity and predictability of the relevant technology.”

Centrak, 915 F.3d at 1367 (quoting Ariad, 598 F.3d at 1351).

       Brita argued that the ’141 patent identifies the claimed invention in a definite way when

it describes that “[t]he nature of the filter meeting the following performance criteria is

independent of the exact embodiment of the filter and thus applicable to mix-media, carbon

blocks, non-wovens, hollow fibers, and other filtration formats.” (CSRBr. at 9-10 (citing JX-

0022 at 25:9-12; Tr. (Freeman) at 1515:6-14 (explaining that FRAP factor and its variables are

impacted by structure and “structure elements …could be deployed in alternate formats …to

obtain good performance.”).). Dr. Freeman testified that “common structural, chemical, or

design features” of activated carbon, lead scavenger are limited to a FRAP factor of less than

350, and the structural elements of activated carbon and lead scavenger “could be deployed in

alternate formats.” (Tr. (Freeman) at 1514:10-1515:14.). Dr. Freeman’s statement is supported,

as discussed below in XII(C)(4)(e), by “the existing knowledge in the particular field, the extent

and content of the prior art, the maturity of the science of technology, [and] the predictability of

the aspect at issue.” Ariad, 598 F.3d at 1351.

       For the reasons described below, it is a finding of fact, supported by substantial evidence,

that the nature and context of the invention supports that the written description requirement is

met. (See Section XII(C)(4)(e), below.).

                       c)      In Ipsis Verbis or Boilerplate Language in the Specification

       Respondents contended that the appearance of claim language in ipsis verbis or as

“boilerplate reservation of rights for other embodiments” does not meet the written description




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requirement. 74 (RSBr. at 24-25 (citing Nuvo, 923 F.3d at 1374).). In Nuvo, the Federal Circuit

held that a description of typical dosage amounts, without discussion or explanation of the

efficacy of those amounts, did not adequately describe an efficacy limitation. Id. at 1380. A

description that taught that a certain limitation might work was not sufficient description, despite

what a skilled artisan would have thought about its efficacy. Id. at 1381. Nuvo was

distinguished in BASF Plant Sci., LP v. Commonwealth Sci. & Indus. Rsch. Organisation, 28

F.4th 1247, 1266 (Fed. Cir. 2022) (“BASF”). In BASF, the presence of working examples and

testimony about what a person of ordinary skill in the art would have understood from the

disclosure supported that the written description requirement was met. Id.

        In rebuttal to Respondents, Brita argued that the written description inquiry is an

“objective inquiry into the four corners of the specification.” (CSRBr. at 5.); Ariad, 598 F.3d at

1351. In other words, all of the content of the specification must be considered. Brita argued,

also correctly, that “the ’141 patent discloses other embodiments and makes clear that the

invention is not limited to [the carbon block] embodiment.” (CSRBr. at 6 (citing JX-0022 at

13:30-34, 25:5-12); CPBr. at 48; see also Chart No. 12, supra (detailing disclosure of other

embodiments).).

        Chart No. 12 above lists the embodiments other than a carbon block embodiment that the

’141 patent describes: i.e., at column 13, lines 31-34, the embodiment of granular, loose media is

described rather as opposed to carbon block filters; at column 25, lines 9-12, the ’141 patent

describes that the FRAP factor applies to other embodiments of mixed media, nonwovens, and

hollow fibers as well as carbon blocks; and at column 26, lines 30-37, the ’141 patent describes




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  Respondents’ argument about the appearance of claim language in ipsis verbis in the specification is a
party admission that there is literal antecedent basis for the asserted claims in the specification.


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that the FRAP factor criteria applies to other embodiments such as membranes, nonwovens,

depth media, nanoparticles and nanofibers, and ligands. These embodiments of carbon block,

granular loose media, mixed media, nonwovens, hollow fibers, membranes, depth media,

nanoparticles and nanofibers and ligands are all included in the generic term “filter media” of the

asserted claims. Dr. Hatch admitted, again a party admission, that the ’141 patent describes

various embodiments including mixed-media, carbon blocks, nonwovens, hollow fibers, and

granular or loose media. (Tr. (Hatch) at 1454:21-1457:23.).

       Brita also counter-argued that Respondents failed to acknowledge the “existing

knowledge in the particular field, the extent and content of the prior art, the maturity of the

science of technology, [and] the predictability of the aspect at issue.” (CSRBr. at 7 (citing Ariad,

598 F.3d at 1351).). The existing knowledge, extent and content of the prior art, maturity of the

science and technology, and predictability are discussed more fully below in sections v, vi, and

vii.

       For the reasons described below, the nature and context of the invention support adequate

written description. (See Section XII(C)(4)(e), infra.).

                       d)      A Person of Ordinary Skill

       The test for written description is “from the perspective of a person of ordinary skill in

the art.” Novartis, 38 F. 4th at 1020. The analysis varies depending on context. Ariad, 598 F.3d

at 1351.

       [T]he level of detail required to satisfy the written description requirement varies
       depending on the nature and scope of the claims and on the complexity and
       predictability of the relevant technology. For generic claims, we have set forth a
       number of factors for evaluating the adequacy of the disclosure, including “the
       existing knowledge in the particular field, the extent and content of the prior art,
       the maturity of the science of technology, [and] the predictability of the aspect at
       issue.”



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Ariad, 598 F.3d at 1351 (citations omitted); see also Juno Therapeutics, Inc. v. Kite Pharma,
Inc., 10 F. 4th 1330, 1335 (Fed. Cir. 2021).

        In this Investigation, Dr. Knipmeyer, Brita’s expert, Dr. Freeman, and Respondents’

expert, Dr. Hatch, all qualified as persons of ordinary skill in the art at the time of the invention.

(Tr. (Freeman) at 1488:11-14; Tr. (Hatch) at 1405:7-10; Section VII(B) (Definition of a Person

of Ordinary Skill in the Art)).

                        e)        The Written Description Reasonably Conveys Possession

        Adequate written disclosure is present when the specification “reasonably conveys” to a

person of ordinary skill in the art that the inventors had possession of the claimed invention.

Novartis, 38 F.4th at 1016. In Ariad, the Federal Circuit recognized that the “adequacy” of a

disclosure depends on the nature and scope of the claims, and on the complexity and

predictability in the art. The Federal Circuit set forth factors to determine “adequacy” of a

disclosure when a patent claims an invention generically. Ariad, 598 F.3d at 1351.

        In this Investigation, asserted claim 1 cites “filter media” generically, without limiting the

type of filter media. (See Tr. (Hatch) 1453:14-1454:13; Tr. (Freeman) at 1489:12-18.).

Accordingly, the written description analysis below considers the Ariad factors as they apply to

the ’141 patent: (a) the existing knowledge in the field of water filtration and filter types, (b) the

extent and content of the prior art of water filtration and filter types, (c) the maturity of the

science of water filtration, and (d) the predictability of filter media in gravity-fed water filters.

Ariad, 598 F.3d at 1351. An evaluation of these factors supports a factual finding that the ’141

patent provides adequate written description for the asserted claims.

                             i.     Existing Knowledge in the Field of Water Filtration

        Respondents’ Accused Products, the PUR Plus Mario 2 Filter, PUR Plus Mario 3 Filter,

ZeroWater Replaced Filters, and LifeStraw Home Full Replacement Filter, comprise materials


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other than carbon block, i.e., mixed media, nonwoven, membrane and nanofiber filter

technology, which Respondents argued are “entirely different in form and function” from carbon

block technology. (RSBr. at 20 (citing Tr. (Nishijima) at 404:7-405:13 (describing LifeStraw

products with a hollow fiber module); Tr. (Rockstraw) at 472:22-474:7 (describing PUR Plus

filters with mixed media of activated carbon and ion exchange resin) 75, 486:24-487:11

(describing ZeroWater filters with mixed media of activated carbon and ion exchange resin),

592:19-593:2 (describing LifeStraw filter with a first stage membrane microfilter); Tr. (Hill) at

936:1-939:5 (describing LifeStraw filters with stage 1 membrane microfilter and s stage two

microfiber filter); Tr. (Mitchell) at 764:11-19 (describing PUR Plus Mario 2 & 3 filters with a

pleat pack); RPBr. at 108; RDX-0001.0020.).

       The DI Products, Brita LongLast Products and LongLast+ Products, consist of activated

carbon within a pleated filter cartridge. (See section XI(B)(2) (DI Products Practice Claim 1,

filter media limitation).). The ’141 patent itself describes “mixed media filters containing

granular carbon and ion exchange resin” that were tested included “the BRITA® gravity-flow

mixed media filter, the BRITA® Germany MAXTRA® gravity-flow mixed media filter, and the

Proctor and Gamble PUR® 2-stage gravity-flow filter with pleated microfilter.” (JX-0022 at

31:7-15.). The existing art prior to the ’141 patent consisted of mixed media filters, as

demonstrated by the prior art filters that failed the FRAP limitation and are listed in Table 5.

(See Chart No. 15, supra (Working Examples in Table 5 of the ’141 Patent).).

       Brita argued that carbon block filters are not different in form and function than other

filter media types because they function in the same manner across filter media types. (CSRBr.




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  Dr. Knipmeyer explained that “mixed media” filters comprise granular active carbon missed with ion
exchange resin. (Tr. (Knipmeyer) at 175:11-15.).


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at 9.). Brita argued that “the field had been so well-studied by the time of invention that a skilled

artisan would understand that filtration concepts were applicable across filter formats and

applications.” (CSRBr. at 9 (citing Tr. (Freeman) at 1513:16-1514:9; Tr. (Knipmeyer) at 174:4-

13, 175:8-24 (describing similarities in chemical filtration and mechanical filtration for mixed

media and carbon block filter media, wherein they both have “chemical filtration where they can

absorb ion exchange and mechanical filtration or physical filtration. Really the difference is in

the size of the particle that is used. So granular media tends to be larger sizes. Carbon block

tends to be smaller sized particles”); CX-0143C.0072 (listing testing results mixed media filters

with over 10 ppm effluent lead concentration - the “current” Brita legacy, Maxtra and PUR

filters); Tr. (Knipmeyer) at 168:5-171:22 (explaining testing results shown on CX-

0143C.0072).). In other words, Dr. Knipmeyer explained that the activated carbon may have

different sizes in different filter media of carbon block compared to mixed media, but the filter

media both perform chemical and mechanical filtration.

       Dr. Freeman testified that the “activated carbon and lead scavengers don’t know or care

what filter format they’re in. They perform their function independent of how they’re organized

and what their geometry is.” (Id. at 1513:24-1514:2.). Dr. Freeman explained that the prior art

exists to translate the teachings to make and use other species of filters. (Tr. (Freeman) at

1518:3-8.).

        Therefore, the weight of the evidence supports a finding of fact that the existing

knowledge in the field at the time of the invention that became the ’141 patent fails to support

Respondents’ argument that the various filter types are “entirely” different in form and function.

       There is no dispute that water filtration and filter media types were well-known prior to

the invention. Even Dr. Hatch admitted that “gravity-fed water filters have been known a long



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time and used in homes to provide better-tasting, safer drinking water.” (Tr. (Hatch) at 1461:14-

19.).

        Dr. Freeman described in some detail that there was extensive knowledge in the field of

water filtration and about filter media types at the time of the invention in the ’141 patent:

        Q. Were gravity-fed water filters considered a nascent technology prior to 2008?

        A. No. This technology has been around for decades, if not generations. It would
        have been one of the earliest ways that water filtration would have been
        accomplished.

        Q. And at the time of the invention, what types of filter media were known in the
        art?

        A. So there were a lot of types of filter media, things like nonwovens, there were
        the block filters, membrane filters, nanofiber filters, and several other mixed-media
        filters, several other classes of filters were well-known.

(Tr. (Freeman) at 1489:7-18.).

        Brita had the better supported argument through Dr. Freeman’s testimony and the

evidence to which he cited that the form and function of chemical and mechanical filtration

translate to at least some degree among filter types. Accordingly, the pervasive availability of

existing knowledge in the field of water filtration that existed before the ’141 patent supports a

factual finding that the disclosure of a generic filter media satisfies written description in the

’141 patent.

                             ii.     Extent and Content of the Prior Art of Water Filtration and
                                     Filter Media Types and Maturity of the Science of Water
                                     Filtration

        There also appears to be no dispute that the various filter types are well-known. Again,

Dr. Hatch acknowledged that filtration media materials in gravity-fed water filters were well-

known prior to the invention in the ’141 patent, such as loose granular carbon, nonwovens, depth

media, nanofibers, certain ligands, and zeolites. (Tr. (Hatch) at 1461:20-23, 1462:11-14,


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1465:18-1466:12.).

       Dr. Freeman corroborated Dr. Hatch’s acknowledgement and expanded on the state of the

art of water filtration that was well-known at the time of the invention by citing to several

handbooks that existed and that were descriptive on the teachings of other species of filters that

were known and used by 2007 (Tr. (Freeman) at 1518:3-8; CX-0842 (Handbook of Filter Media

Chapter 8 on membrane filters); CX-0843 (Handbook of Nonwoven Filter Media); CX-0836

(Polymer article); Tr. (Freeman) 1495:21-1496:2 (explaining the Polymer article CX-0836 as

describing nanofibrous, nonwoven mats made by electrospinning in filtration applications); RX-

0631 (Rinker application); Tr. (Freeman) at 1497:3-12 (explaining the Rinker application RX-

0631 incorporated by reference in the ’372 application and discussing nonwoven filter sheets

with porous carbon blocks); Tr. (Freeman) at 1498:15-23 (describing nanoparticles, nanofibers,

ligands as well-known in filtration).).

       Dr. Freeman also offered his uncontradicted, credible opinion and specific fact-based

testimony that known filtration concepts at the time of the ’141 invention were applicable across

filter media types. (Tr. (Freeman) at 1513:16-1514:9 (“there was so much information available,

not only in the patent, but also in the art in this really well-studied field that would allow a

person of skill in the art to take the teachings on carbon blocks in the ’141 patent and apply those

to other filter media.”)). Dr. Hatch offered no rebuttal testimony to Dr. Freeman’s testimony

about the applicability of filtration concepts to various filter media types.

       In sum, rather than being a nascent area, water filtration was well-known. (Tr. (Freeman)

at 1489:7-18.). The weight of Dr. Freeman’s uncontested and credible testimony, together with

the written evidence to which Dr. Freeman cited, leads to a factual finding that at the time of the

’141 invention, the state of the art with respect to certain known filter media was mature and



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well-known and understood. Dr. Hatch did not offer rebuttal testimony about maturity of the art.

          Accordingly, the factors with respect to the extent and content of the prior art of water

filtration and filter types, and maturity of the science of water filtration support a factual finding

that generic filter media were well-known and as described in the ’141 patent, also meet the

written description requirement.

                               iii.     Predictability of Filter Media in Gravity-Fed Water Filters

          Respondents and Brita did not argue about predictability of filter media in gravity-fed

water filters in the context of the written description requirement. However, Dr. Freeman

testified that there are numerous writings on the state of gravity-fed filters, to the point that the

field could be considered predictable:

          Q. How do those factors inform your opinion as to the enablement of the certain
          claims?

          $ 6R WKH QDWXUH RI WKH LQYHQWLRQ LV JUDYLW\ဩIHG ZDWHU ILOWHUV DQG ZH YH KHDUG
          VHYHUDOWLPHVWRGD\WKDWWKLVLVDZHOOဩNQRZQILHOGDQGKDVEHHQNQRZQIRUPDQ\
          decades if not longer.

          As a result of that, there's been a lot of study, and there's a lot of information
          available about how to make such filters, what are the components that go into
          them, how do they perform, the basic theory underpinning them so that they can be
          modeled. And so the art in that sense is rather predictable.

(Tr. (Freeman) 1519:21-1520:6 (emphasis added).).

          Dr. Hatch testified about the unpredictability about the FRAP factor itself and how FRAP

variables affect one another. (Tr. (Hatch) at 1437:12-18).). However, Dr. Hatch did not offer

rebuttal testimony about the predictability in the art about the various filter media embodiments

of gravity-fed water filters that existed in the art at least in 2007, or that are reflected in the ’141

patent.

          Based upon the weight of the evidence, and Dr. Freeman’s credible testimony, it is a



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factual finding that gravity-fed water filters and various filter media types were well-known,

studied and written about extensively in the art before 2007 to the point of being applicable to

different filter media types, and could be considered to be predictable. Moreover, it is a factual

finding that the ’141 patent’s disclosure of various filter media in gravity-fed water filters meet

the written description requirement.

                              iv.     The Nature and Context of the Invention Support Adequate
                                      Written Description

        The foregoing factors, i.e., (a) the existing knowledge in the field of water filtration and

filter types, (b) the extent and content of the prior art of water filtration and filter types, (c) the

maturity of the science of water filtration, and (d) the predictability of filter media in gravity-fed

water filters, all support a factual finding that the ’141 patent disclosures on the described issues

meet the written description requirement. Ariad, 598 F.3d at 1351 (reciting factors to evaluate

adequacy of disclosure for generic claims). The existing knowledge before 2007 also supports a

factual finding that the various filter types that have chemical and mechanical filtration were

well- known in the art. (See Section XII(C)(4)(e)(i), supra.).

        Accordingly, the weight of the evidence, together with Dr. Freeman’s often unrebutted or

corroborated testimony, as described above, supports a factual finding of fact and law that the

’141 patent discloses working examples for carbon block technology and other filter media, such

that the written description requirement is met for the ’141 patent.

                5.      Other arguments

                        a)      Carbon Block Filters Are Unique

        Respondents argued that each practicing example disclosed in the ’141 patent is a carbon-

block filter, and that the ’141 patent disparages non-carbon block filters. (RPBr. at 111; RSBr. at

13-14.). Respondents also argued that the ’141 patent describes the carbon blocks of the claimed



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filter invention as “unique” in their ability to meet the claimed FRAP factor values. (RSBr. at

23; JX-0022 at 26:63-65.). To that end, Respondents noted that Dr. Hatch testified that the ’141

patent states that no mixed media met the FRAP factor range. (Tr. (Hatch) at 1444:18-23; JX-

0022 at 26:57-65 (“Filters tested include . . . commercially available mixed media filters

produced by BRITA® and PUR®. Based on the results from testing, the FRAP factors were

calculated . . . . No mixed media filters tested met the claimed FRAP factor range due to their

inability to remove particulate lead.”), see also Chart No. 15, supra (Working Examples in Table

5 of the ’141 Patent) (including orange highlighting of water filters that do not meet the FRAP

factor limitation).)

        Respondents argued that the holding in Tronzo v. Biomet, Inc., 156 F.3d 1154, 1156 (Fed.

Cir. 1998) (“Tronzo”) supports a conclusion that a specification cannot show possession of

generic claims where the specification distinguishes the disclosed invention from the claimed

generic subject matter. (RSBr. at 16 (citing Tronzo, 156 F.3d at 1156 (finding that a disclosure

of only conical shaped cups while distinguishing prior art as inferior did not support the claimed

generic subject matter).).

        However, Brita persuasively argued that more recent precedent fits the facts of this

Investigation more closely than Tronzo. In ScriptPro, the Federal Circuit held that a focus on

one embodiment does not limit the described invention where the specification describes other

embodiments or purposes. (CSBr. at 10-11 (citing ScriptPro, 833 F.3d at 1341 (holding express

disclosure of different ways of sorting and storing, as opposed to disclosing only one way of

sorting and storing, does not limit the invention)).). In ScriptPro, the Federal Circuit explained

that a description of an embodiment as “inconvenient” does not constitute “disparagement” when

the same specification later also includes those “inconvenient aspects” as part of the invention.



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Id.

       Likewise here, while the ’141 patent states no mixed media filters met the claimed FRAP

factor values, the ’141 patent also expressly states that “[t]he FRAP factor criteria set forth

herein is applicable to all embodiments …including but not limited to mixed media (carbon and

ion exchange resin), carbon blocks . . . .” (JX-0022 at 26:30-34.). Thus, the “inconvenient

feature” of a mixed media filter is described as being part of the invention in the ’141 patent, by

analogy to ScriptPro. Therefore, the particular tested mixed media filters that do not meet the

claimed FRAP factor values do not limit the claimed invention in the context of the written

description, and the written description is met.

                       b)      New Technology

       Respondents argued that Dr. Knipmeyer “was unequivocal that Brita did not create any

practicing filters other than carbon block” and she admitted that “new technology” would be

needed to have a non-carbon block embodiment. (RSBr. at 18 (citing (Tr. (Knipmeyer) at 202:9-

204:12, RX-2607C (Knipmeyer Dep.) at 327:15-328:6.). However, as Brita correctly argued, the

written description requirement does not require actual reduction to practice. Ariad, 598 F.3d at

1352. As in Centrak, an inventor admission of not having working examples of all embodiments

is not fatal to meeting the written description requirement because the nature and context of the

invention must be considered. (See Section XII(C)(4)(e), supra.).

       The disclosure in the ’141 patent of carbon block technology is a disclosure that meets

the written description requirement because black letter law with respect to written description

does not require working examples of all embodiments. For the reasons described above, the

weight of the evidence supports a finding of fact that the inventors has possession of the

invention as disclosed in the ’141 patent in view of the nature and context of the invention, and



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that the invention as disclosed meets the written description requirement.

                       c)      Written Description of FRAP Factor Ranges

       Respondents argued the ’141 patent failed to disclose the entire performance range for all

possible values of the FRAP inputs/factor. (RPBr. at 101; RSBr. at 29.). Respondents argued

that there are insufficient working examples to disclose certain FRAP factor ranges or full,

unbounded ranges. The written description reasonably conveys possession, as supported by the

nature and context of the invention, as discussed above. (See Section XII(C)(4), supra.).

               6.      Conclusion

       The asserted claims, 1, 2, 3, 4, 5, 6 and 23, as a finding for fact and law, all have an

explicit basis in the specification and as originally filed. (See Section XII(C)(3), supra.). The

specification discloses numerous filters, accompanied by examples of flow rate, volume,

lifetime, effluent lead concentration, and FRAP Factors that embody the claimed invention. (See

Section XII(C)(4)(b), supra.). The field of water filtration and various filter types were well-

known and extensive, mature, and favored predictability, as supported by the credible testimony

of Dr. Freeman. (See Section XII(C)(4)(e)(ii), supra.). The nature and history of the invention

and prior art, which are explicitly described in the ’141 patent, also support that working

examples for all types of filter media are not required to meet the written description

requirement.

       When the specification of the ’141 patent is examined in its entirety, and when all of the

physical descriptions of filters, filter media, filters that Dr. Knipmeyer tested, the concrete

characteristics of the FRAP variables that are well-described, the disclosures of other physical

characteristics such as absorbent and lead scavengers, are considered, the weight of the evidence

supports a factual finding that the written description is met consistent with Ariad and other




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precedent cited. It is a finding that Respondents have failed to prove by clear and convincing

evidence that the written description requirement is not met by the ’141 patent.

       D.      Enablement

               1.      Legal Standard – Wands Factors

       Section 112 provides the statutory basis for the enablement requirement:

       The specification shall contain a written description of the invention, and of the
       manner and process of making and using it, in such full, clear, concise, and exact
       terms as to enable any person skilled in the art to which it pertains . . . to make and
       use the same.

35 U.S.C. § 112, ¶ 1 (Pre-AIA).

       The enablement requirement ensures that “any person skilled in the art” can “make and

use” the invention upon reading the patent. The standard for enablement is whether a person

skilled in the art can “make and use” the invention “without undue experimentation.” In re

Wands, 858 F.2d 731, 736-37 (Fed. Cir. 1988) (finding enablement where the disclosure

provided considerable direction and guidance, working examples, in combination with a high

level of skill and that methods to practice the invention were well-known).

       The Federal Circuit interprets 35 U.S.C. 112, first paragraph, as providing a written

description requirement that is separate from the enablement requirement. Ariad, 595 F.3d at

1344, 1351 (citing Vas-Cath, 935 F.2d at 1562-63). Unlike the written description requirement,

which is a question of fact, the enablement requirement is a question of law. Ariad, 595 F.3d at

1351; Amgen Inc. v. Sanofi, Aventisub LLC, 987 F.3d 1080, 1084 (Fed. Cir. 2021) (“Amgen”),

cert. granted in part sub nom. Amgen Inc. v. Sanofi, 143 S. Ct. 399 (2022) (denying certiorari as

to whether enablement is a question of law; granting certiorari as to whether the full scope of the

claimed embodiments must be enabled).

       “Sufficiently routine” experimentation that would be reasonable to the skilled artisan to


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carry out does not preclude a finding of enablement. Amgen, 987 F.3d at 1085. Lack of

enablement requires finding “undue” experimentation to make and use the invention. Factual

considerations, now known as the Wands factors, guide the inquiry as to whether a person skilled

in the art would require “undue” experimentation to make and use the invention. Amgen, 987

F.3d at 1084. “Whether undue experimentation is needed is not a single, simple factual

determination, but rather is a conclusion reached by weighing many factual considerations.”

Wands, 858 F.2d at 737.

       The Wands factors are:

       (1) the quantity of experimentation necessary,
       (2) the amount of direction or guidance presented,
       (3) the presence or absence of working examples,
       (4) the nature of the invention,
       (5) the state of the prior art,
       (6) the relative skill of those in the art,
       (7) the predictability or unpredictability of the art, and
       (8) the breadth of the claims.

Id.

       The Wands factors “are illustrative, not mandatory” and there is no requirement to

consider all of the Wands factors. Streck, Inc. v. Rsch. & Diagnostic Sys., Inc., 665 F.3d 1269,

1288 (Fed. Cir. 2012) (“Streck”) (quoting Amgen, Inc. v. Chugai Pharm. Co., 927 F.2d 1200,

1213 (Fed. Cir. 1991)). In Streck, true reticulocytes and analogs worked in the same way and

were virtually indistinguishable, and experimentation was not undue to make and use the

invention. Id. at 1290-91. A Wands analysis usually considers identification of embodiments

that are asserted to not be enabled “so that breadth is shown concretely and not just as an abstract

possibility, and how much experimentation a skilled artisan would have to undertake to make

and use those products or processes.” McRO, Inc. v. Bandai Namco Games Am. Inc., 959 F.3d

1091, 1100 (Fed. Cir. 2020) (“McRO II”) (citations omitted). In McRO II, the novel aspect of the


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invention was related to a set of rules to output mouth shapes. Id. at 1102. Lack of enablement

required a finding that the challenger “identify specifics that are or may be within the claim but

are not enabled.” Id. at 1104.

       A patent is presumed to be valid. 35 U.S.C. § 282. Therefore, lack of enablement

requires clear and convincing evidence. Streck, 665 F.3d at 1288. “Enablement is determined

from the viewpoint of persons of skill in the field of the invention at the time the patent

application was filed.” Ajinomoto Co., Inc. v. Archer-Daniels-Midland Co., 228 F.3d 1338, 1345

(Fed. Cir. 2000) (finding enablement of claims to bacterial strains where methods to practice the

invention were conventional and used well-known genetic engineering techniques). A

specification does not need to “describe how to make and use every possible variant of the

claimed invention,” but “when a range is claimed, there must be reasonable enablement of the

scope of the range.” Amgen, 987 F.3d at 1084-85 (quoting McRO II, 959 F.3d at 1100).

       While the written description requirement and enablement requirement may rise and fall

together, they need not always do so. Ariad, 598 F.3d at 1352. Unlike written description,

which is an objective inquiry into what the specification describes, the enablement analysis may

rely on the knowledge of a person skilled in the art. For example, claims may be present that do

not require undue experimentation, but an invention that has not yet been invented, cannot be

described. Id. (citing In re DiLeone, 436 F.2d 1404, 1405 (C.C.P.A Feb. 11, 1971)

(“DiLeone”)). The Federal Circuit explained in DiLeone that an invention may be enabled as

broadly claimed, but not describe the invention. DiLeone, 436 F.2d at 1405. As an example,

“consider the case where the specification discusses only compound A and contains no

broadening language of any kind. This might very well enable one skilled in the art to make and

use compounds B and C; yet the class consisting of A, B and C has not been described.”). Id. at



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n.1.

       “It is the specification, not the knowledge of one skilled in the art, that must supply the

novel aspects of an invention in order to constitute adequate enablement.” Idenix Pharm. LLC v.

Gilead Scis., Inc., 941 F.3d 1149, 1159 (Fed. Cir. 2019) (“Idenix”) (finding non-enablement

where the need to screen thousands of molecules for HCV efficacy required a large quantity of

experimentation, and rejecting that a POSA’s knowledge would guide testing to a predictable

group of compounds).

               2.      Respondents’ Arguments

       Respondents argued that the broad range of filter types is not enabled in view of the

specification that enables only a carbon block filter. (RPBr. at 113-15; RBr. at 91-93; RSBr. at

41-47.). Respondents contended that the broad functional ranges of the asserted claims are not

enabled. (RPBr. at 115-16; RBr. at 94-96; RSBr. at 47-51.). Respondents also argued that

application of the Wands factors demonstrates that the breadth of the claims are not supported.

(RPBr. at 116; RSBr. at 51-54; see also RBr. at 96-100.).

       Respondents, who had the burden of proof, grouped their Wands arguments into a group

of Wands factors 4, 2, and 3 (in their brief, Wands factors 2, 6 and 7, respectively), a group of

Wands factors 5 and 6 (in their brief, Wands factors 3 and 4, respectively), and argued more

substantively and focused on Wands factor 8 (in their brief, Wands factor 1). (RPBr. at 112-17;

RSBr. at 51-54.). Respondents broadly addressed Wands factors 1 and 8, but ultimately the

opinion of their expert, Dr. Hatch, on Wands factor 1 was conclusory. (Tr. (Hatch) at 1432:13-

1435:5 (FRAP factor values); 1438:14-1439:13 (filter media embodiments).).

       In its Pre-Hearing Brief, Brita argued that the deposition testimony of Dr. Hatch ignored

the express disclosures of the ’141 patent and failed to adequately account for the state of the



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prior art, and the knowledge and skill of a skilled artisan. (CPBr. at 120-21 (citing Freeman

Rebuttal Rep. at ¶¶ 70, 73).). 76 Brita also disputed that Dr. Hatch’s testimony was sufficient for

Respondents to sustain this lack of enablement argument based on weighing the evidence that

supports the Wands factors. (CPBr. at 120-123; CSRBr. at 18-26.).

          The Federal Circuit has explained that “[w]hether undue experimentation is needed is not

a single, simple factual determination, but rather is a conclusion reached by weighing many

factual considerations.” Amgen, 987 F.3d at 1084 (quoting Wands, 858 F.2d at 737).

“The factors set forth in Wands then provide the factual considerations that a court may consider

when determining whether the amount of that experimentation is either ‘undue’ or sufficiently

routine such that an ordinarily skilled artisan would reasonably be expected to carry it out.” Id.

at 1084-85 (citations omitted).

          As explained in more detail below, an analysis of the relevant Wands factors and the

evidence the Parties offered fails to support a finding of fact or law that undue experimentation is

required to reach the full scope of the FRAP factor, its variables, and filter media types in the

asserted claims. (See Section XII(D)(3), infra (Wands analysis); see also JX-0022 at 1:23, 1:66-

2:2.).

          Respondents have failed to prove by clear and convincing evidence that the claims,

including the full scope of the FRAP factors and types of filter media, are not enabled.

                          a)      Wands Factor 1 – Quantity of Experimentation

          Experimentation may be “considerable,” yet not rise to experimentation consistent with

non-enablement, so long as it is “merely routine” or the specification “provides a reasonable

amount of guidance.” Wyeth & Cordis Corp. v. Abbott Labs., 720 F.3d 1380, 1386 (Fed. Cir.


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     The Freeman Rebuttal Report is not in evidence.


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2013) (“Wyeth”) (quoting Johns Hopkins Univ. v. CellPro, Inc., 152 F.3d 1342, 1360-61

(Fed.Cir.1998)). In Wyeth, the Federal Circuit found that synthesizing and screening tens of

thousands of candidate compounds would require undue experimentation where the specification

provided only a starting point for further iterative research in an unpredictable and poorly

understood field. Id. at 1386.

       The analysis of undue experimentation is a “matter of degree,” and the experimentation

must not be “unduly extensive.” Cephalon, Inc. v. Watson Pharms., Inc., 707 F.3d 1330, 1338

(Fed. Cir. 2013) (“Cephalon”).

       Extensive experimentation does not necessarily render the experiments unduly
       extensive where the experiments involve repetition of known or commonly used
       techniques. See Johns Hopkins Univ. v. CellPro, Inc., 152 F.3d 1342, 1360
       (Fed.Cir.1998) (finding that the difficulty in producing certain antibodies could not
       be attributed to the shortcomings in the disclosure of the patent at issue, but rather,
       the difficulty was attributed to the technique commonly used during
       experimentation that generally required repetition). Thus, the focus “is not merely
       quantitative, since a considerable amount of experimentation is permissible, if it is
       merely routine, or if the specification in question provides a reasonable amount of
       guidance. . . .” PPG Indus., Inc., 75 F.3d at 1564 (citation and quotation omitted).

Cephalon, 707 F.3d at 1338–39.

       Respondents did not directly brief the quantity of experimentation that a person of skill

might require, Wands factor 1, in its Pre-Hearing Brief or Post-Hearing briefing. Rather,

Respondents argued that there was undue experimentation based on Wands factors 2-6 and 8.

       In its Pre-Hearing Brief, Brita stated that Dr. Freeman would testify at the Hearing about

the routine nature of testing filters. (CPBr. at 122.). Brita argued that Dr. Hatch failed to present

evidence that a longer than routine time to make and test a filter would be required to determine

that it falls within the scope of the asserted claims. (Id. at 122-23.).

       In Post-Hearing briefing, Brita argued that a skilled artisan could make other

embodiments “in relatively short time” based on routine testing, knowledge in the art, and


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foundational knowledge provided by the working examples. (CSRBr. at 23-25 (citing Tr.

(Freeman) at 1524:5-11).).

                             i.    FRAP Limitation Under 350

       While Dr. Hatch did not focus or give an opinion on “quantity” of experimentation to

reach the full range of the FRAP factor values, he did provide testimony on whether there was

undue experimentation, by relying on Wands factors 2, 3 and 8, as detailed in the excerpt of his

testimony below. (Tr. (Hatch) at 1432:13-1435:5 (FRAP factor values), 1438:14-1439:13 (filter

media embodiments).). Because there is no substantiation for Dr. Hatch’s testimony and

Respondents’ argument, Respondents have abandoned, withdrawn and/or waived any argument

on this issue under Ground Rules 7.2 and 10.1.

       Q. Dr. Hatch, with respect to the asserted claims in your enablement opinions, did
       you consider whether the specification enables a person of skill in the art to make
       the invention without undue experimentation?

       A. Yes, I did.

       Q. And, again, what was your determination?

       A. Here I list the main issues involved is, again, the absence of working examples
       showing how filters could meet those missing ranges. The working examples are
       not there.

       And there are no -- as we pointed out, there’s no direction or guidance to either
       modify the existing carbon block filters to make filters to achieve those missing
       ranges.

       And, of course, the breadth of claims that are claimed in claims 1 through 6 with
       regard to volume, flow, and the lead value and the life are such wide claims and are
       not represented by any filter in the ’141 patent.

       So one skilled in the art, just relying on prior art, would not be able to enable the
       person of skill in the art to make these working examples from these other filter
       techniques without undue experimentation.

(Tr. (Hatch) at 1432:13-1433:9.).

       At best, Dr. Hatch’s testimony was conclusory; it was given little weight or credibility.


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Much of his testimony was not accurate or complete, as cross-examination exposed (See infra.).

                             ii.     Filter Embodiments Other Than Carbon Block Filters

       Dr. Hatch and Dr. Freeman both attempted to explain why there would be undue

experimentation to make and use filters other than carbon block.

       For example, Dr. Hatch and Dr. Freeman both opined on the particular type of water filter

that uses nonwoven filter medium. Dr. Hatch testified as to the amount of experimentation to

implement the filter media disclosed in the ’141 patent, especially a nonwoven filter medium.

(Tr. (Hatch) at 1439:9-1440:21.).

       A. . . . So a person of skill in the art having perhaps only the prior art to guide him
       and nothing more, nothing in the ’141 patent to guide him, would not be able to
       make or use these other filter techniques without undue experimentation.

       Q. Okay. Dr. Hatch, weren’t mixed-media filters, membrane filters, nonwoven
       filters, depth media filters, nanoparticle filters, nanofiber filters, and ligands filters
       known in the prior art?

       A. Oh, yes, they were.

                                                 ***

       Q. Dr. Hatch, if the [mixed-media filters, membrane filters, nonwoven filters, depth
       media filters, nanoparticle filters, nanofiber filters, and ligands] filters are known
       in the art and persons of skill in the art knew about them, then why is it that it takes
       undue experimentation to implement the asserted claims of the ’141 patent into
       these filter types?

       A. Well, first of all, you have to understand the detail of experimentation and you
       have to go through -- which in my 49 years of experience -- I’ve done it many times,
       and it takes a lot of experimentation to take what’s required to remove particulate
       lead and soluble lead and incorporate that technology into a gravity-fed filter.

       Currently there are probably four or five different - - at least four or five different
       lead absorbents on the market, and you would have to take each one of those and
       study each one. They’re all probably - - I know they’re all different particle sizes,
       and how do you incorporate them into a nonwoven to allow enough of it to be there
       to absorb soluble lead and also make the nonwoven material fine enough to filter
       the extremely fine .1 micron particles of lead. I’ve done it, and it takes -- believe
       me, it takes an undue amount of experimentation.


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(Tr. (Hatch) at 1439:9-1440:21 (emphases added).).

        Dr. Hatch did not provide explicitly supported evidence with his opinion on either the

quantity of experimentation necessary to have arrived at carbon block filters or any of the filter

media that the ’141 patent discloses. Nor did he explain what undue experimentation is. All he

said was that it requires “a lot” of experimentation. (Id.).

        In contrast, Dr. Freeman provided testimony about the level of experimentation needed to

translate the teachings of a carbon block filter to, for example, a nonwoven filter. (Tr. (Freeman)

at 1521:8-12.). Dr. Freeman testified that a person of skill would know: (a) the filter volume; (b)

lead scavenger component; (c) activated carbon component; (d) “how closely compressed the

activated carbon and lead scavenger had been with their -- with the binder,” and together those

“would give an idea of the pore size that was available for filtration.” (Id. at 1521:13-18.). Dr.

Freeman explained that “because the components and raw materials that go into the filter are

going to perform their function in any filter media that they’re put into” that “after some

experimentation, but not undue experimentation,” comparable performance would be achieved.

(Tr. (Freeman) at 1521:19-1522:1 (emphases added).). 77


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  Dr. Hatch did not testify about the number of hours to bring a water filter to market. When asked
during the Hearing, Dr. Freeman acknowledged that he did not take into account that Brita took ten years
and 7,326 hours of research and development to design a nonwoven filter that practices the ’141 patent.
(Tr. (Freeman) at 1562:18-1563:6.). However, Dr. Freeman testified that he had experience in developing
an invention from the “aha moment” to “commercial products that are in the market. And in each of
those cases it took about ten years from the time of the initial discovery until the product is actually in the
market[.]” (Tr. (Freeman) at 1647:4-11.).

There is insufficient evidence that the time it took Brita was unreasonable in light of the context of the
invention and bringing the product to market. Moreover, the Federal Circuit has rejected a “numerosity”
or “exhaustion” requirement. Amgen Inc. v. Sanofi, Aventisub LLC, 850 F. App’x 794, 796 (Fed. Cir.
June 21, 2021) (denying petition for panel rehearing en banc). In its order denying rehearing en banc, the
Federal Circuit explained that that the claims in Amgen were not enabled, not only because of the
numerous species or that each and every embodiment had to be enabled, but that the specification was



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          Dr. Freeman also opined that the knowledge from the ’141 patent and carbon block filter

would apply to a mixed media filter:

          Q. . . . [C]an you explain in your opinion the degree of experimentation required
          for a person of ordinary skill in the art to take examples and disclosure in the ’141
          patent and to make a, say, a mixed media filter that met a FRAP factor of below
          350?

          A. So I think it’s important to realize that in this field it is routine to test filters to
          determine their performance. And so a person of skill in the art, if they had a head
          start from the ’141 patent and the information about the carbon block, could then
          use that knowledge and the materials to make a mixed-media filter and achieve a
          FRAP factor of less than 350 in relatively short time.

(Tr. (Freeman) at 1523:25-1524:11.).

          In other words, Dr. Freeman offered an opinion that not only discussed carbon block

filter media, but that also applies to other types of filter media that are disclosed in the ’141

patent.

          In Amgen, the Federal Circuit held that claims reciting broad functional limitations were

not enabled by a disclosure that provided only a narrow scope of working examples, inadequate

guidance, and directed to a field of invention that was unpredictable. Amgen, 987 F.3d at 1087-

88. “A substantial amount time and effort” was found required either by trial and error based on

the disclosure, or to discover antibodies de novo from millions of candidates, in order to “reach

the full scope of claimed embodiments.” Id. at 1088.

          Unlike in Amgen, which involved experimentation related to millions of candidates, Dr.

Hatch acknowledged that at least 4-5 lead scavengers are well-known, nonwovens are well-


broad, “extending far beyond the examples and guidance provided” and the “narrow and limited guidance
in the specification made far corners of the claimed landscape that were particularly inaccessible or
uncertain to make unenabled.” Id. Therefore, the amount of time it may take to produce different
embodiments is not persuasive in the context of the Wands analysis as a whole, particularly the state of
the art, which has extensive knowledge of water filtration, testing is routine, and filter media are well-
known. (See Section XII(D)(2)(e), infra (Wands Factor 5).).



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known, and the experimentation relates to how to incorporate the two together. 78 (Tr. (Hatch) at

1439:23-1440:21.). Dr. Freeman opined that testing is routine, and that the ’141 patent and

knowledge of a person having skill in the art would require some experimentation to make the

claimed filters. Dr. Hatch also testified that testing of the variables, V, f, ce, L, are easy or

routine for a person skilled in the art. (Tr. (Hatch) at 1434:16-1435:20.). Moreover, the various

embodiments of filter media themselves are well-known. (See Section XII(D)(2)(e), infra

(Wands Factor 5); Section X(C)(4), above (describing written description of filter media

embodiments).).

        As explained in Cephalon, a “considerable amount of experimentation” is acceptable if it

routine or there is guidance in the specification. Cephalon, 707 F.3d at 1339. This Investigation

is more similar to Cephalon because of the state of the art and guidance in the disclosure. (See

Sections XII(D)(2)(e), (b) infra (Wands factors 5, 2).). Unlike in Amgen, which involved an

unpredictable field of science, inadequate guidance in the specification, and a narrow scope of

disclosed examples in relation to a claim that could encompass searching among millions of

candidates, Amgen, 987 F.3d at 1087-88, this Investigation is in a well-known field of water

filtration. (See Section XII(D)(2)(e), infra). Rather than searching for new antibodies, as in

Amgen, water and its treatment are known. The state of prior art is one that includes extensive

knowledge of water filtration, testing is routine, and many filter media are well-known. (See

Section XII(D)(2)(c), infra (Wands factor 3) (describing working examples in the ’141 patent);

Section XII(D)(2)(e), infra (Wands factor 5) (describing the state of the art as described in the




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   Dr. Hatch admits that the various filter media are well-known, which is a party admission. (Tr. (Hatch)
at 1439:14-18 (“Q. Okay. Dr. Hatch, weren’t mixed-media filters, membrane filters, nonwoven filters,
depth media filters, nanoparticle filters, nanofiber filters, and ligands filters known in the prior art? A.
Oh, yes, they were.”.).


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’141 patent, and testimony of Dr. Hatch and Dr. Freeman on the state of the art.).).

       Respondents had the burden of proof to show that the quantity of experimentation favors

a finding of undue experimentation. Brita had the better supported argument, and credible

opinion, through Dr. Freeman’s testimony. Therefore, it is not clear that the quantity of

experimentation to reach the full scope of the invention rises to an impermissible amount.

Accordingly, it is a finding of fact and law that the application of the Wands factor 1 to the

evidence does not favor a finding of undue experimentation. In other words, Respondents’

evidence on Wands factor 1 was not clear and convincing.

                       b)      Wands Factor 2 – The Amount of Direction or Guidance
                               Presented

       Respondents argued that the ’141 patent lacks direction or guidance to make or use filters

with the claimed ranges of FRAP factor values in claims 1-2, the ranges of volume V in claims

3-4, the ranges of average filtration unit time f in claims 5-6, and to make and use non-carbon

block filters. (RPBr. at 114-17; RSBr. at 52-53.).

       In their Supplemental Post-Hearing Brief, Respondents grouped their argument of Wands

factors 4, 2, and 3 together (2, 6, and 7, in their brief, respectively), and argued that the ’141

patent discloses only one type of working example, carbon block filters. Each formulation of the

carbon block filter has the same activated carbon and uses one of two different lead scavengers.

(RSBr. at 52 (citing (Tr. (Hatch) at 1438:19-23 (explaining only carbon block filters are made

and tested in the ’141 patent); Tr. (Freeman) at 1561:20-23 (acknowledging working examples

are carbon block), 1572:16-1574:12 (acknowledging Table 1 describes one type of activated

carbon at one particular size, while “there’s a lot of choice in activated carbon” with respect to

type of activated carbon, mesh size, geometry, size, amounting to hundreds of types of activated

carbon).). Respondents indirectly suggested that the working examples of carbon block in the


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’141 patent are not a source of guidance for the remaining filter blocks or full range of FRAP

factor values.

       Brita argued in its Pre-Hearing Brief that Dr. Freeman would testify during the Hearing

about the type and amount of direction or guidance that the ’141 patent to make and use the

invention. (CPBr. at 122.). In Post-Hearing briefing, Brita argued that the ’141 patent describes

common structural, chemical, and design features that are applicable to filter media other than

carbon block filter media. (CSRBr. at 22 (citing (Tr. (Freeman) at 1514:17-25 (describing

common structural components of activated carbon and lead scavenger), 1579:12-16 (explaining

Figures 21-23 informs a skilled artisan of trends to expect with the FRAP factor variables); JX-

0022 at 13:30-34, 26:30-37, Fig. 21-23).).

       In support of their argument on Wands factor 2, Respondents relied on Dr. Hatch’s

testimony. Dr. Hatch testified and agreed with Brita and Dr Freeman that there are specific

working examples with specific values in the ’141 patent for volume V, average filtration unit

time f, and FRAP factor values in Table 5 of the ’141 patent. (Tr. (Hatch) at 1431:2-1432:22;

RDX-0008.0030-33.). Table No. 12, below, annotates Table 5 of the ’141 patent with red boxes

around values of volume V, average filtration unit time f, and FRAP factor.




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                            Table No. 12: Table 5 of the ’141 Patent




(RDX-0008.0034 (JX-0022 at Table 5, ann.).).

       Table 5 of the ’141 patent, reproduced above in Table 12, shows embodiments of the

invention that are working examples of the invention and labelled PA 3-5, 3-8; PT 3-4, 3-6, 3-4,

3-11, 3-13, 3-51, 3-53; Block 1 and Block 2. (JX-0022 at Table 5; Tr. (Knipmeyer) at 186:23-

187:1 (testing of PA3-5, 3-8; PT 3-4 water filters).).

       Using RDX-0008.0030-32, Dr Hatch nonetheless testified that there are “missing ranges”

in the values of Table 5 compared to the claimed ranges, especially at the lower range of the

FRAP factor value. (Tr. (Hatch) at 1431:5-1432:9; RDX-0008.0030-32.). The demonstratives

that Dr. Hatch relied upon, reproduced below in Figure Nos. 25-27, depict the missing ranges

that Respondents argued required undue experimentation.

       Figure No. 25, below, depicts the claimed ranges of FRAP factor of about 350 or less

(claim 1, in green (the higher range)), less than about 200 (claim 2, in yellow), and less than 6.7




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(the range Respondents argued require undue experimentation, in red (the lower range).)

                Figure No. 25: Scope of Enablement for FRAP Factor Values




(RDX-0008.0030 (depicting ranges of FRAP factor values, less than 350, 200, 6.7 (in green,
yellow, red, respectively).).

       Figure No. 26, below, shows the volume in the working examples of Table 5 (89 cm3 and

151 cm3, in blue), the claimed ranges of volume V less than about 300 cm3 (claim 3, in green),

less than about 150 cm3 (claim 4, in yellow) and ranges of volume other than 89 cm3 and 151

cm3 (the ranges that Respondents argued require undue experimentation, in red).).




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                    Figure No. 26: Scope of Enablement for Volume Values




(RDX-0008.0031 (excerpting volume V values of the FRAP factor from Table 5 of the ’141
patent; JX-0022 at Table 5 (ann.)).).

       Figure No. 27, below, depicts the claimed ranges of filtration f less than 12 minutes per

liter (claim 5, in green), less than 6 minutes per liter (claim 6, in yellow), and less than 4.2

minutes per liter (the range Respondents argued require undue experimentation, in red).)




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        Figure No. 27: Scope of Enablement for Average Filtration Unit Time Values




(RDX-0008.0032 (excerpting average filtration unit time f values of the FRAP factor from Table
5 of the ’141 patent); JX-0022 at Table 5 (ann.).).

        Dr. Hatch testified about the ranges depicted in Figure Nos. 25-27, above, and stated that

undue experimentation would be required to make and use the claimed invention because “as we

pointed out, there’s no direction or guidance to either modify the existing carbon block filters to

make filters to achieve those missing ranges.” (Tr. (Hatch) at 1432:23-1433:1.). 79 In other

words, Dr. Hatch relied on data taken directly from the ’141 patent and opined that the ’141

patent discloses data points, but there are gaps in those data points. Dr. Hatch argued that the




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  In related testimony on written description, Dr. Hatch testified that there are no directions for
modifying the FRAP factor values to less than 6.7, or for modifying the volume V or average filtration
unit time f. (Tr. (Hatch) at 1415:25-1416:3, 1419:2-1420:4, 1424:5-14.). Dr. Hatch testified that the
gravity-fed water filter could “virtually almost include everything” such as embodiments of “membranes,
nonwovens, depth media, nanoparticles, nanofibers and ligands” described in ’141 patent. (Id. at 1426:4-
11 (citing JX-0022 at 26:30-37).). The findings on written description, Section XII(C), above, do not
support Dr. Hatch’s testimony, which was given little weight and credibility in that Section.


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’141 patent failed to provide guidance on how to make and use the full scope of the claimed

invention, either as to FRAP values less than 6.7 or FRAP variable values of volume other than

89 cm3 and 151 cm3, and average filtration unit time values of less than 4.2 minutes per liter. (Id.

at 1431:2-1432:9.).

       Dr. Freeman, Brita’s expert on enablement, testified that the ’141 patent does include

guidance on how the FRAP factor variables. (See Section V(B), supra (defining the FRAP

factor and variables work together).). Dr. Freeman testified that the ’141 patent explains trends

in how the variables of the FRAP factor interrelate at Figures 21-23 of the ’141 patent, which are

reproduced below in Figure No. 28.

       As described in the ’141 patent: “Figure 21 is a graphical representation of filter FRAP

factors as a function of filtration unit time and volume. Figure 22 is a graphical representation of

filter FRAP factors as a function of filtration unit time and lead reduction. Figure 23 is a

graphical representation of filter FRAP factors as a function of filtration unit time and filter

lifetime.” (JX-0022 at 9:8-13).). Figures 21-23 of the ’141 patent do not represent actual

datapoints; the diamond, circle and triangle label the different lines. (Tr. (Freeman) at 1581:22-

1582:2.). Figures 21-23 of the ’141 patent show “elements of the FRAP equation taken in

pairs… And so this is designed to show how one could move the FRAP value with specific

combination of, for example, lead concentration and filtration time” in Figure 22 of the ’141

patent. (Id. at 1580:24-1581:6.).




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media other than carbon media. 80 Dr. Freeman testified that “additional guidance throughout the

specification [that] provides information to a person of skill in the art about how to -- how to

extend and expand on the working examples to other media and to other examples with different

characteristics and different materials.” (Tr. (Freeman) at 1520:22-1521:4 (emphasis added);

JX-0022 at 13:30-34 (describing carbon block and granular filters), 26:30-37 (describing filter

media embodiments of mixed media, carbon block, membranes, nonwovens, depth media,

nanoparticles and nanofibers, ligands).). Dr. Freeman explained that the working examples

provide guidance, based on a skilled artisan’s understanding of pore size and components of the

filter, to make and use filters with other filter media. (Id. at 1521:13-18, 1522:21-24; see Section

XII(D)(2)(c), infra (Wands factor 3).). In other words, Dr. Freeman provided some reasoning,

that the working examples of carbon block are guidance to make and use filters comprising other

filter media.

        Given that the testimonies are conflicting, and given that Respondents had the burden of

proof, when Dr. Freeman’s explicit reference to and discussion of Figures 21-23 is examined,

Brita and its expert have the better supported argument. The testimony of Dr. Hatch is not

accurate. Therefore, Respondents did not clearly and convincingly prove that Wands factor 2

supports a finding that the ’141 patent is not enabled. Accordingly, Wands factor 2 does not

favor a finding that there would be undue experimentation to make the claimed invention of the

’141 patent.




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  In related testimony on written description, Dr. Freeman opined about guidance in the specification.
(Tr. (Freeman) at 1513:17-1515:2 (“Because there was -- there was so much information available, not
only in the patent, but also in the art in this really well-studied field that would allow a person of skill in
the art to take the teachings on carbon blocks in the ’141 patent and apply those to other filter media.” and
common structural requirements of activated carbon and lead scavenger) (emphasis added); JX-0022 at
13:30-34, 26:30-37).).


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                        c)      Wands Factor 3 – Working Examples

        Respondents argued that there were no working examples of “granular carbon filters,

pleated paper filters or alternate filtration techniques such as membranes, nonwovens, depth

media, nanoparticles and nanofibers, ligands, etc.” to achieve the claimed FRAP factors in the

’141 patent. (RPBr. at 116.). In their Supplemental Post-Hearing Brief, Respondents grouped

their argument of Wands factors 4, 2, and 3 together (2, 6, and 7, in their brief, respectively), and

argued that the only working examples in the ’141 patent are for carbon block filter media.

(RSBr. at 52-53; see also Section XII(D)(2)(b), supra (Wands factor 2).).

        Brita indirectly argued about working examples in its Pre-Hearing Brief when Brita

argued that there are “sufficient disclosures” in the ’141 patent to enable the claimed invention.

(CPBr. at 121.). In Post-Hearing briefing, Brita argued that a skilled artisan could take the

carbon block working examples, in light of knowledge in a well-known field, to construct and

configure filters with alternative filter media. (CSRBr. at 23 (citing Tr. (Hatch) 1461:16-23

(admitting gravity-fed filters are well-known), 1465:7-1466:12) (describing well-known gravity-

fed water filters of nonwovens, depth media, nanofibers, ligands, zeolites), 1466:13-17, 1467:6-9

(configuring different filter media by a skilled artisan).). Dr. Hatch did not disagree that these

filters, filter media or configurations to obtain certain desired benefits are well-known.

        In support of Respondents’ arguments, Dr. Hatch testified that undue experimentation

would be required to make and use the claimed invention because of “the absence of working

examples showing how filters could meet those missing ranges. The working examples are not

there.” (Tr. (Hatch) at 1432:13-22; see also id. at 1433:10-19; RDX-0008.0034.). 81 As



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  In related testimony on written description, Dr. Hatch testified that are “no working examples in
the ’141 patent that exhibited a FRAP value below 6.7.” (Tr. (Hatch) at 1416:12-13.).



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discussed above for Wands factor 2, Dr. Hatch relied on data taken directly from the ’141 patent

and opined that the ’141 patent discloses data points, but there are gaps in those ranges of data

points that have no working examples. Accordingly, Dr. Hatch argued a skilled artisan could not

make and use the full scope of the claimed invention, either as to FRAP values or FRAP variable

V, f values. (Tr. (Hatch) at 1432:23-1433:1, 1433:6-9, 1434:1-7.).

        In support of Respondents’ arguments about filter media other than carbon block filter

media, Dr. Hatch opined that “they claim these other filtration techniques” but “there’s no

working examples of any of these other filtration techniques mentioned in the presentation [i.e.,

the ’141 patent].” (Tr. (Hatch) at 1438:24-1439:2.). When asked why the inventors “did not

possess these filter types,” Dr. Hatch replied “it’s actually stated in the presentation [the ’141

patent] here in column 26, lines 60-65, that . . . there are no mixed-media filters that met the

claimed FRAP factor range due to their inability to remove particulate lead[.]” 82 (Tr. (Hatch) at

1444:14-23; RDX-0008.0038.). Figure No. 29, below, highlights (in yellow with red

underscore) this statement from the specification of the ’141 patent and also lists filter media that

do not have working examples in the ’141 patent.




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   The ’141 patent states “[n]o mixed media filters tested met the claimed FRAP factor range due to their
inability to remove particulate lead.” (JX-0022 at 26:60-65.). Respondents contended that this statement
shows a disparagement and therefore non-enablement because the Federal Circuit held in AK Steel Corp.
v. Sollac and Ugine, 344 F.3d 1234, 1244 (Fed. Cir. 2003) (“AK Steel”) that enablement is not met when
the specification “teaches against” and “discourages” part of the claimed invention. (RSBr. at 45 (citing
AK Steel Corp. 344 F.3d at 1244).). In AK Steel, the specification stated that a certain silicon content
caused coating problems, which the Federal Circuit interpreted as discouraging experimentation with
coatings with that silicon content. AK Steel, 344 F.3d at 1244. However, a disparagement does not
always lead to non-enablement. Callicarate v. Wadsworth Mfg., Inc., 427 F.3d 1361, 1374 (Fed. Cir.
2005) (holding that “disparaging remarks . . . characterizing the prior art as less effective do not remove
those disclosures as enabling references”). Unlike AK Steel, the specification here recites that the
invention applies to other filter media types, including mixed-media filter types. (JX-0022 at 25:5-12,
26:30-37.). Therefore, although the ’141 patent specification does not provide working examples in the
specification, the specification specifically teaches mixed media as part of the invention.



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                Figure No. 29: Working Examples Missing in the ’141 patent




(RDX-0008.0038 (JX-0022 at 26:60-65, highlighting filter types with no working examples).).

       On cross-examination, Dr. Freeman admitted that there are no working examples of filter

media other than carbon block. (Tr. (Freeman) at 1561:16-19 (“My opinion is that the ’141

patent disclosed carbon blocks in the working -- in the working examples, and then in the

specification it also discloses other filter media”).). Nonetheless, Dr. Freeman testified that a

“routine” effort would extend the teaching of the ’141 patent to other filter media types:

       Q. Okay. And I don’t want to paraphrase, but if I understand, your opinion is,
       despite the patent not disclosing anything else, working examples of anything else
       other than carbon block, it would not really be a significant effort to go ahead and
       just design a mixed-media or a nonwoven filter that met the FRAP limitations of
       claim 1. Do I have that correct?

       A. Yes, sir, basically, using the teachings in the ’141 patent, I believe a person of
       skill in the art would be able to extend that to other media formats.

       Q. And yes or no, Dr. Freeman, that wouldn’t be a significant effort, according to
       your opinion, correct? That would be just routine?

       A. Yes, I believe that would be routine.



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(Tr. (Freeman) at 1562:4-17.).

       Brita was unable to rebut that the ’141 patent has no working examples for filter media

other than carbon block. However, this is not a case where the specification provides no

enabling disclosure. In Genentech, Inc. v. Novo Nordisk A/S, 108 F.3d 1361, 1366 (Fed. Cir.

1997) (“Genentech”), the Federal Circuit explained that where there is no basic enabling

disclosure, enablement cannot be found by relying on the skill in the art. Genentech, 108 F.3d at

1366. The novel aspects of the invention must be supplied in the specification, not by

knowledge of the skilled artisan. Id.

       Here, there is a basic enabling disclosure for carbon block water filters as shown by the

working examples of carbon block water filters with specified FRAP factor values and FRAP

variable values. (JX-0022 at Table 5, filters PA3-5, 3-8, 3-4, 3-6, 3-4 alternate housing, PT3-11,

PT3-13, PT3-51, PT3-53; see Section XII(C)(3), supra (describing written description of

working examples in the ’141 patent); Table No. 11, supra (Working Examples in Table 5 of the

’141 patent).).

       Respondents argued that the novel aspect of the invention comprises creating filters with

a FRAP under 350. (RSBr. at 44.). Respondents asserted that the novel aspect cannot be

“foisted” upon a person of ordinary skill in the art “for other filter categories.” (Id.). Brita

argued that a specification need not “describe how to make and use every possible variant of the

claimed invention.” (CSRBr. at 22 (quoting McRO II, 959 F.3d at 1100).). An analysis of all of

the Wands factors, rather than focusing on one factor, provides the better answer to these

arguments.

       Respondents had the burden of proof that the presence or absence of working examples

favors a finding of undue experimentation. The evidence shows that there is a presence of



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working examples for carbon block and granular carbon in the ’141 patent, but the absence of

working examples for filter media other than carbon block. Respondents had the better

supported argument. Accordingly, Wands factor 3 favors a finding of fact and law that there

would be undue experimentation to make the claimed invention.

                       d)      Wands Factor 4 – The Nature of the Invention

       Respondents argued that “the nature of the invention including the arbitrary nature of the

claimed FRAP factor” supports a finding that there would be undue experimentation to reach the

full scope of filters claimed in the ’141 patent. (RPBr. at 116-17.). In their Supplemental Post-

Hearing Brief, Respondents grouped their argument of Wands factors 4, 2, and 3 together (2, 6,

and 7 in their brief, respectively), but did not provide either specific argument or evidence about

the nature of the invention. (RSBr. at 52-53; see Section XII(D)(2)(b), supra (Wands Factor 2).).

       Brita argued in its Pre-Hearing Brief that Dr. Hatch’s Initial Report failed to provide a

substantive analysis of the nature of the invention (Wands factor 4) to make and use the full

scope of the asserted claims. (CPBr. at 121.). In Post-Hearing briefing, Brita argued that the

field of water filtration, possible components of gravity-fed filters, filter media, and associated

chemical and physical filtration processes were well-known, which reflect on the nature of the

invention. (CSRBr. at 18-19.).

       Dr. Hatch testified that carbon block filters were “the only nature of the invention that’s

shown” in the ’141 patent. (Tr. (Hatch) 1438:20-23.). In contrast, Dr. Freeman testified that

“the nature of the invention is gravity-fed water filters, and we’ve heard several times today that

this is a well-known field and has been known for many decades if not longer.” (Tr. (Freeman)

at 1519:21-24.).

       A patent sets forth the nature of the invention in the “Brief Summary of the Invention”



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that precedes the detailed description of the invention. 37 C.F.R. § 1.73; MPEP § 608.01(d)

(Brief Summary of the Invention). The ’141 patent explains in the “Summary of the Invention”

that the invention is gravity-fed carbon block water filters, according to one embodiment, that

satisfies certain FRAP factor values. (JX-0022 at 5:24-54.). In another embodiment, filter media

comprises particles that are not bound together. (Id. at 7:20-21.). Moreover, the invention is not

limited to exemplary embodiments. (Id. at 33:64-34:3.).

       It is a factual finding that the nature of the invention is gravity-fed water filters including,

according to one embodiment, carbon block filter media. The evidence does not clearly show

that the nature of the invention either supports or does not support a finding of undue

experimentation. Given that Respondents had the burden of proof, Wands factor 4 does not

support a finding of undue experimentation.

                       e)      Wands Factor 5 – The State of the Prior Art

       Respondents argued Wands factors 5 and 6 together. (RPBr. at 116-17; RSBr. at 53-54.).

Respondents contended that the state of the prior art and relative skill of those in the art supports

undue experimentation to reach the full scope of the claimed invention. (RPBr. at 116-17.). In

its Supplemental Post-Hearing Brief, Respondents acknowledged that a person of ordinary skill

in the art would “know how to calculate the inputs to the FRAP equation” and “would also know

about mixed-media filters, membrane filters, nonwoven filters, depth media filters, nanoparticle

filters, nanofiber filters, and ligands filters.” (RSBr. at 53 (citing Tr. (Hatch) at 1434:16-1438:8,

1439:23-1440:21).).

       Admitting this state of the art, Respondents argued that “the interrelationship of the

inputs to the FRAP equation and the results of the FRAP equation are unpredictable.” (RSBr. at

53 (citing Tr. (Hatch) at 1435:21-1438:8, 1439:23-1440:21).). Respondents also argued that the



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development of the Brita DI Products, the PUR Mario 3, and the ZeroWater filter confirm that

“the state of the art was unpredictable.” (RBr. at 99-100; RSBr. at 54.). Arguments about

predictability are addressed with respect to Wands factor 7, below. (See Section XII(D)(2)(g),

infra.).

           Brita argued in its Pre-Hearing Brief that Dr. Hatch’s Initial Report failed to provide

substantive analysis or adequately account for the state of the prior art to make and use the full

scope of the asserted claims. (CPBr. at 121.). In Post-Hearing briefing, Brita argued, with the

extensive expert testimony from Dr. Freeman as well as admissions by Dr. Hatch, that the field

of water filtration, possible components of gravity-fed filters, filter media, and associated

chemical and physical filtration processes were well-known. (CSRBr. at 18-19 (citing (Tr.

(Freeman) at 1489:7-11 (describing that the technology had been around for decades, if not

generations), 1519:21-24 (describing gravity-fed water filters as “a well-known field and has

been known for many decades if not longer”), 1520:7-12 (describing that “[t]here’s a lot of

literature, handbooks, patent literature that is available to help inform a person of skill in the art”

in enablement); Tr. (Hatch) at 1461:16-19 (agreeing that there were a number of well-known

filtration media materials used in gravity-fed water filters prior to the invention), 1462:15-25

(agreeing that activated carbon, ion exchange resins and physical barriers for filtering were well-

known).).

           As described above, Respondents acknowledged that the state of the art is developed in

that a skilled artisan could calculate the FRAP factor variables and the filter media types were

known. Brita argued in support of an advanced state of the art. As described more fully below,

the evidence supports a finding that the state of the art is advanced.

           The ’141 patent describes that “[g]ravity flow filtration systems are well-known in the



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art” and filter blocks “comprising granular activated carbon (GAC) and binder, with or without

various additives such as lead sorbent [i.e., scavenger], have been commercially available for

many years.” (JX-0022 at 1:23, 1:66-2:2.). In addition, the “Background of the Invention” of

the ’141 patent describes particles, lead-reducing sorbents (i.e., lead scavengers), adjusting

particle size, wall thickness, surface area, compression of the water filter, granular activated

carbon, and drawbacks and concerns to overcome in filtration. (Id. at 2:38-42, 3:25-27, 4:20-

52.).

        In support of the state of the prior art, Dr. Knipmeyer testified that she used well-known

testing methods for the ’141 patent. (Tr. (Knipmeyer) at 168:8-21 (describing sampling as

required under the NSF/ANSI standard), 169:7-20 (describing measuring effluent lead values in

parts per billion), 188:12-22 (describing an automated rig to run challenge water through

filters).). If Dr. Knipmeyer’s Notebooks are evaluated, it is evident that she kept meticulous

notes on a daily basis while working on what would become the ’141 patent. (See Section

XII(A)(1)(c), supra (Dr. Knipmeyer’s Laboratory Notebooks).). Her notebooks recorded the

results of experiments that were conducted repeatedly, in routine fashion. (See CX-0108C.).

        Dr. Hatch agreed and testified that the state of the art prior to the invention was well-

known. In other words, Dr. Hatch confirmed with Dr. Freeman that the other filters and

processes were well-known, such as: (a) gravity-fed water filters; (b) chemical and physical

filtration processes; (c) filtration media materials of activated carbon and ion exchange resins;

(d) physical barrier to filter out particulate lead of a certain size, but not necessarily particulate

lead; (e) nonwoven filter media; (f) depth-media filtration technique; (g) nanofibers filtration

technique; (h) ligands filtration technique; (i) zeolites in gravity-fed filters; (j) to configure the

foregoing types of media into a filter cartridge; and (k) gravity-fed water filter shape, size and



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composition could be modified to achieve certain desired benefits such as faster flow rate or

improved contaminant reduction. (Tr. (Hatch) at 1461:14-1462:21 (agreeing that gravity-fed

water filters with activated carbon and ion exchange resins, and chemical and physical filtration

were well-known), 1464:20-1465:5 (agreeing that physical barriers were well-known), 1465:18-

1468:15 (agreeing that nonwovens, depth media, nanofibers, ligands, zeolites, configuration of

media in a filter cartridge, configuration of shape and size, volume and composition of filter

media to achieve faster flow rates or improved contaminate reduction were well-known); (Tr.

(Freeman) at 1520:7-12.).).

        Dr. Freeman corroborated Dr. Hatch’s (and effectively Dr. Knipmeyer’s) testimony by

agreeing that “the state of the prior art . . . is very significant. . . . there’s a lot of these sorts of

filters available. There’s a lot of literature, handbooks, patent literature that is available to help

inform a person of skill in the art how to make and use the invention.” (Tr. (Freeman) at 1520:7-

12.). As explained below, Dr. Freeman testified and provided evidence to support Dr. Hatch’s

admission that the filter media or filtration techniques were well-known.

        Q. Were gravity-fed water filters considered a nascent technology prior to 2008?

        A. No. This technology has been around for decades, if not generations. It would
        have been one of the earliest ways that water filtration would have been
        accomplished.

        Q. And at the time of the invention, what types of filter media were known in the
        art?

        A. So there were a lot of types of filter media, things like nonwovens, there were
        the block filters, membrane filters, nanofiber filters, and several other mixed-media
        filters, several other classes of filters were well-known.

(Id. at 1489:7-18.).

        Dr. Freeman opined that the art of water filtration was vast in that “there were a very,

very large number of research articles in the scientific literature. There were handbooks and


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books published on this topic.” (Id. at 1491:7-17; CX-0842 (Handbook of Filter Media from

2002, including Chapter 8 on membrane filters); CX-0843 (Handbook of Nonwoven Filter

Media from 2007); CX-0836 (Polymer article from 2004); Tr. (Freeman) 1495:21-1496:2

(explaining the Polymer article CX-0836 as describing nanofibrous, nonwoven mats made by

electrospinning in filtration applications); RX-0631 (Rinker application published Jan. 5, 2006);

Tr. (Freeman) at 1497:3-12 (explaining the Rinker application RX-0631 incorporated by

reference in the ’141 patent and discussing nonwoven filter sheets with porous carbon blocks);

JX-0022 at 17:4-7; Tr. (Freeman) at 1498:15-23 (describing nanoparticles, nanofibers, ligands as

well-known in filtration).).

        Dr. Freeman opined that the “field was well developed. It was widely practiced.

Moreover, there was an enormous amount of information that would be available to a person of

skill in the art to assist them in filter design and filter making and then ultimately filter testing.”

(Tr. (Freeman) at 1499:3-7.).

        Dr. Freeman testified that there are certain well-known principles or relationships that if

the filter volume is reduced by half, then flow would increase through the filter. (Tr. (Freeman)

at 1586:13-17; see Section V(B), supra (FRAP factor formula)). However, he explained that

water with less contact time could provide less time for the lead scavenger remove soluble lead.

(Id. at 1586:18-23.). As a result, the effluent lead concentration would increase. (Id. at 1586:22-

23.). In addition, “it would reduce the capacity of the lead scavenger by half, which would

potentially change the lifetime L.” (Id. at 1586:23-25.). Dr. Freeman concluded that “a person

of ordinary skill in the art would be aware of these relationships.” (Id. at 1587:4-5.). To verify

these relationships would require testing, but Dr. Freeman explained that:

        we teach the science of how the performance of particle beds and filter media like
        this, how the flow rate is affected by changes, like changing the volume of the filter


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       bed, and we also teach how the variables like the amount of lead that could be taken
       up, how that would change. I taught this for 30 years in undergraduate chemical
       engineering. And a person of skill in the art would know the underlying science
       that would govern these relationships and would be able to apply that science to
       allow them to understand in general how these variables would change. And that
       background science provides a good intuition, and then you go into the laboratory
       and make the filter to ultimately determine its performance.

(Id. at 1588:22-1589:10.).

       Even with the extensive literature and knowledge of water filtration, the inventors created

a new factor, the FRAP factor. (See Section V(B), supra (FRAP factor formula).). There is no

prior art with respect to the FRAP limitation for any range of FRAP factor values or for any filter

media. (Tr. (Hatch) at 1434:9-15 (stating that the FRAP factor is not a routine or known

measurement).).

       Respondents have the burden of proof to prove that the state of the art does not support a

finding of undue experimentation. However, the evidence supports a finding that the state of the

art was advanced, which does not favor a finding under Wands factor 5 that there would be

undue experimentation to make the claimed invention.

                       f)      Wands Factor 6 – The Relative Skill of Those in the Art

       Respondents argued that the state of the prior art and relative skill of those in the art

supports undue experimentation to reach the full scope of the claimed invention. (RPBr. at 116-

17.). Respondents argued that the state of the art and the skill of the art leads to unpredictability.

(RSBr. at 53-54.). Nonetheless, Respondents failed to provide substantiated arguments about the

skill of those in the art. Respondents’ arguments about predictability are addressed in the next

section. (See Section XII(D)(2)(g), infra (Wands factor 7).).

       Brita argued in its Pre-Hearing Brief that Dr. Hatch’s Initial Report failed to provide

substantive analysis of the relative skill of those in the art (Wands factor 6) to make and use the



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full scope of the asserted claims. (CPBr. at 121.). In Post-Hearing briefing, Brita argued that the

field of water filtration, possible components of gravity-fed filters, filter media, associated

chemical and physical filtration processes, and configuration of the filter cartridges were well-

known. (CSRBr. at 9 (citing Tr. (Hatch) at 1466:13-17, 1465:7-1466:12, 1467:6-20).). Brita

contended that a skilled artisan could configure the shape and size of the known filter media in

filter cartridges. (CSRBr. at 19 (citing Tr. (Hatch) at 1467:13-20).).

       Dr. Hatch did not offer an opinion on this individual Wands factor. However, he

acknowledged that a person of skill in the art would know how to calculate the FRAP factor

variables of volume V, average filtration unit time f, effluent lead concentration ce, and lifetime

L if properly defined. (Tr. (Hatch) at 1434:18-1435:20.). Dr. Freeman opined that “a skilled

artisan would have the skills to make and test filters that are described in the ’141 patent.” (Tr.

(Freeman) at 1520:13-18).). Dr. Hatch, Dr. Freeman, and Dr. Knipmeyer all qualify of persons

of skill in the art. (RSBr. at 53; Markman Order at 7.). There is no dispute that a skilled artisan

would be able to test whether water filters meet the FRAP factor values of the asserted claims.

       Respondents had the burden of proof that there would be undue experimentation to

achieve the claimed invention. However, the evidence shows that the relative skill of a skilled

artisan was advanced at the time the invention was made. Accordingly, Wands factor 6 weighs

against a finding of fact that undue experimentation is required to make and use the claimed

invention.

                       g)      Wands Factor 7 – The Predictability of the Art

       Respondents failed to argue about predictability in their Pre-Hearing Brief. (RPBr. at

114-17.). Brita also failed to directly argue in its Pre-Hearing Brief about unpredictability.

(CPBr. at 121-23.). Thus, Brita and Respondents have abandoned, waived or withdrawn any



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argument on this issue under Ground Rule 7.2.

       Respondents had the burden of proof. However, since, neither of the Parties advanced

argument or evidence (at least explicitly) on the Wands Factor 7, given the absence of evidence

this factor is neutral when the totality of the evidence is weighed.

                       h)      Wands Factor 8 – The Breadth of the Claims

       In their Pre-Hearing Brief, Respondents argued that the ranges of FRAP factor values of

claims 1-2, ranges of volumes in claims 3-4, the ranges of average filtration unit time values in

claims 5-6, or the scope of filters alleged by Brita to be covered by the asserted claims are not

enabled. (RPBr. at 114-17 (citing RX-0951C (Hatch Rep.) at ¶¶ 424-30); see Section

XII(D)(2)(b), supra (Wands factor 2) (demonstratives illustrating the ranges of FRAP factor

values, volumes, and average filtration unit time values that Respondents argued are not

enabled).).

       Respondents contended that the broad range of filter types is not enabled. (RPBr. at 116-

17; RBr. at 94-96; RSBr. at 41-47.). Respondents asserted that the broad range of filter types is

not enabled because the specification only discloses carbon block filters, disparages mixed media

filters, would use trial and error, and requires gap-filling at the novel point of invention. (RSBr.

at 41-44.).

       Respondents argued that the ’141 patent claims functional ranges of FRAP factor values,

volume and average filtration unit time values that are broad and unbound are not enabled.

(RSBr. at 47-51.).

       In its Pre-Hearing Brief, Brita failed to directly argue about the breadth of the claims as

to filter type, FRAP Factor values, or variables of the FRAP Factor. Brita argued that a

specification need not explain every detail, and typically omits what is well-known. (CPBr. at



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120 (citing Wyeth, 720 F.3d at 1384; Cephalon, 707 F.3d at 1338-39).). Brita argued that in his

deposition testimony, Dr. Hatch ignored the express disclosures of the ’141 patent and failed to

adequately account for the state of the prior art, and the knowledge and skill of a skilled artisan.

(CPBr. at 120-21.).

       In its Supplemental Reply Post-Hearing Brief, Brita contended that the breadth of the

asserted claims is limited by the claimed: (a) activated carbon; (b) lead scavenger; (c) FRAP

factor that interrelates variables to limit the variables themselves; and (d) FRAP factor values

less than 350. (RSRBr. at 25 (citing Tr. (Freeman) at 1524:16-1525:1).). Brita argued the FRAP

factor value and its variables are enabled and not unbounded because of inherent or reasonable

boundaries. (CSRBr. at 26-30 (citing Tr. (Freeman) at 1515:16-1517:18, 1416:22-25 (explaining

the FRAP variables of volume V, average filtration unit time f, lifetime L, effluent lead

concentration ce cannot be zero because a filter must have volume, filter at some rate, have a

lifetime of some value to filter, and have some concentration of lead even if small and not

detectable; Tr. (Hatch) at 1460:21-1461:13) (acknowledging that a volume V cannot be zero,

average filtration unit time f cannot be zero, and therefore there is inherently some lower

bound).).

       The specification must provide “reasonable” enablement of the scope of the range.

Amgen, 987 F.3d at 1085. “Reasonable” enablement arises when the specification “teach[es]

those skilled in the art how to make and use the full scope of the claimed invention without

‘undue experimentation.’” McRO II, 959 F.3d at 1100 (quoting ALZA Corp. v. Andrx Pharm.,

LLC, 603 F.3d 935, 940 (Fed. Cir. 2010) (emphasis added)).

                            i.    FRAP Limitation Under 350

       In evaluating the FRAP factor limitation for breadth, Dr. Hatch considered the datapoints



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listed in Table 5 of the ’141 patent, and observed that there are two datapoints for volume V and

a range of average filtration unit time f values of 4.2-9.9 min/L. (Tr. (Hatch) at 1431:18-23,

1432:2-9.). Dr. Hatch opined that the specification describes flow rate examples down to 4.2

min/L, but that they are not enabled at some (ill-defined) value below 4.2 min/L because “once

you start getting at that very, very low flow factor, which means a very, very high flow rate, in

my opinion it would take undue experimentation to achieve a filter that would meet the very low

end of this flow range with a very high flow rate.” (Id. at 1432:2-9.).

       Additionally, Dr. Hatch compared the missing ranges for volume V, average filtration

unit time f values, and FRAP factor values, and opined “comparing the data that is presented

shows such broad missing ranges that they just don’t cover the full breadth of the claimed

ranges.” (Tr. (Hatch) at 1434:1-6.).

       Dr. Freeman did not dispute that there are missing ranges for the FRAP factor values,

volume V and average filtration unit time f values. However, Dr. Freeman explained that the

breadth of the claims are not so large when considered in combination with the other claim

limitations requiring activated carbon, lead scavenger, and a FRAP value:

           Q. . . . [H]ow do you believe breadth of claims factor weighs in terms of
           enablement of the patent claims?

           A. The claims are narrowed in the sense that they require activated carbon and
           lead scavenger, so that narrows them. They are also narrowed because they
           require this FRAP factor value of less than 350 . . . .

                                               ***

           A. And those -- those grouping of [FRAP factor] variables are interrelated with
           one another in a way that further constrains the boundaries over which claim 1
           applies, and I think that favors enablement.

(Tr. (Freeman) at 1524:16-1525:1.).

       In other words, Dr. Hatch noted the gaps in the ranges of variables and opined that this


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translates to non-enablement of the FRAP factor, while Dr. Freeman opined that the FRAP value

of less than 350 constrains the boundaries of the interrelated variables such that the FRAP factor

is enabled.

          Dr. Hatch and Dr. Freeman did not contest that there are gaps in the ranges claimed. The

issue is whether these gaps rise to non-enablement, especially for FRAP factor values less than

6.7. 83

          Respondents argued that “[w]hile functional claim language limitations are not

necessarily precluded in claims that meet the enablement requirement, such limitations pose high

hurdles in fulling the enablement requirement for claims with broad functional language.”

(RSBr. at 47 (quoting Amgen, 9987 F.3d at 1087).). Respondents asserted that the FRAP factor,

FRAP variable of volume V, and FRAP factor variable of average filtration unit time f are broad

functional claim limitations. (RSBr. at 47.). Respondents also asserted that the broad, unbound

FRAP ranges, including the range of performance variables of the FRAP limitation, effluent lead

concentration ce, lifetime L, and average filtration unit time f, are not enabled. (RSBr. at 47-48

(citing also Auto. Techs. Int'l, Inc. v. BMW of N. Am., Inc., 501 F.3d 1274, 1274 (Fed. Cir. 2007)

(“Auto Techs”); Certain Light-Emitting Diode Products, Inv. No. 337-TA-1213, ID at 35 (“1213




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   Respondents argued that the unbound ranges allow Brita to claim filters that have average filtration unit
time f (flow rates) twice as fast, volumes V twice as small, lifetimes L three times longer, lead reduction
ce forty times better, and FRAP values three hundred times better than values disclosed in the ’141 patent.
(RSBr. at 30; RPBr. at 99-100.). However, Respondents ignore the state of the art, guidance provided in
the specification, and the nature of the invention. The components of activated carbon and lead scavenger
are well-known, as also admitted in the ’141 patent. (See JX-0022 at 1:66-2:2). As Dr. Freeman testified,
“because the components and raw materials that go into the filter are going to perform their function in
any filter media that they’re put into” that “after some experimentation, but not undue experimentation,”
comparable performance would be achieved. (Tr. (Freeman) at 1521:19-1522:1 (emphases added).). (See
Section XII(D)(3), infra (an analysis of the Wands factors in totality).).



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ID”)).). 84 85

          In Amgen, the claims at issue were functionally broad because they claimed all antibodies

having two functions: (1) binding to particular PCSK9 residues; and (2) blocking PCSK9 from

binding to LDL receptors. Amgen, 987 F.3d at 1083.

          Unlike Amgen, the asserted claims do not claim a function but rather, claim a

mathematical formula, inter-related variables, and provide a performance result of a particular

FRAP factor value. The FRAP factor itself embodies structure. (See Section XII(E), infra (35

U.S.C. 101).). Accordingly, here, the bar for enablement is not as high as in Amgen because the

FRAP factor is not pure functional claiming.

          Dr. Hatch opined that a person of ordinary skill in the art would not know how to achieve

the very low end of FRAP values, i.e., a FRAP factor below 6.7. (Tr. (Hatch) at 1431:1-14.).

Dr. Freeman disagreed and opined that a person of skill would know how activated carbon and

lead scavenger influence the variables of the FRAP factor to meet the performance required in

the asserted claims. (Tr. (Freeman) at 1524:16-1525:1.). Here, again, the views of the experts

are directly opposed.

          Respondents argued that Dr. Freeman was not sure whether a FRAP under 5 was possible

given existing materials. 86 (CSBr. at 48 (citing Tr. (Freeman) at 1595:15-1596:14).).


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   Respondents argued that, like Auto Techs, Brita cannot “rely on entirely on the skill of one in the art to
figure out how to create filter types.” (RSBr. at 45.). Auto Techs is distinguishable. In Auto Techs, the
specification taught that side impact sensors were a new field. Auto. Techs, 501 F.3d at 1284. The
specification extensively described electrical sensors, but not mechanical sensors. Id. at 1285. Here,
however, water filtration and the filter media embodiments were well-known. A “patent need not teach,
and preferably omits, what is well known in the art.” Hybritech Inc. v. Monoclonal Antibodies, Inc., 802
F.2d 1367, 1384 (Fed. Cir. 1986). A full analysis of the Wands factors supports a finding of enablement.

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     See n. 87 (addressing Certain LED Products).
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     Respondents cited Pernix Ireland Pain DAC v. Alvogen Malta Operations Ltd., 323 F. Supp. 3d 566,



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        Q. As one skilled in the art at the time of the invention of the ’141 patent, were
        filters having a FRAP of less or equal to 5 obtainable in the art?

        A. I don’t know the -- I haven’t seen a filter of less than 5 at the time that I was
        deposed. I’ve since come to learn that there are filters in this matter that go down
        to .02.

(Tr. (Freeman) at 1596:8-14.).

        Respondents also argued that Dr. Knipmeyer’s deposition testimony confirmed that she

thought it was difficult to achieve FRAP values under 350. (CSBr. at 48-49 (citing RX-2607C

(Knipmeyer Dep. Tr.) at 213:22-214:6).). Dr. Knipmeyer’s testimony does not support

Respondents’ argument that she was not sure that FRAP factors under 3 were possible based on

the disclosure of the ’141 patent because she testified about a FRAP value of zero. (CSBr. at 49

(citing RX-2607C (Knipmeyer Dep. Tr.) at 227:15-20 (“Q. Would you agree with me a FRAP

of zero is wholly unrealistic? . . . [A.] Yeah. I don’t envision a place where you would have a

FRAP of zero”).).

        Respondents then argued that claims encompassing ranges that were not possible as of

the patent filing date are not enabled. (RSBr. at 49 (citing MagSil Corp. v. Hitachi Global

Storage Techs, Inc., 687 F.3d 1377, 1381 (Fed. Cir. 2012) (“MagSil”); Intel Corp. v. Tela

Innovations, Inc., 2021 WL 1222622 (N.D. Cal. Feb. 11, 2021)).). In MagSil, a claim limitation

provided a lower bound for a change of resistance (“at least 10%”), and the disclosure had

working examples which achieved at best 11.8%. MagSil, 687 F.3d at 1381. In 1995, a year


575 (D. Del. 2018) (“Pernix”), aff'd sub nom. Persion Pharms. LLC v. Alvogen Malta Operations Ltd.,
945 F.3d 1184 (Fed. Cir. 2019), for the holding that “[g]iven that the testing results would be fundamental
to determining which formulations would satisfy the asserted claims, it is apparent that, in the absence of
such testing data, the inventors cannot be said to have possessed the full scope of the claimed invention.”
(RSBr. at 55 (citing Pernix, 323 F.Supp. at 628).). Respondents argued that “the fact that the inventors
never created or tested” other embodiments of the ’141 patent, supports a finding of lack of enablement
and written description. (RSBr. at 55.). However, Pernix addresses the written description requirement
only and not the enablement requirement.



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after filing the application, the inventors could not achieve 20%; yet in 2008, a change of

resistance of 604% was achieved. Id. at 1382. The Federal Circuit found that the field had

advanced vastly after the filing of the application, and concluded that there was insufficient

disclosure to achieve recent advancements. Id.

       Here, Dr. Knipmeyer testified during her deposition that it was hard to achieve FRAP

values lower than 350 in 2006. (RX-2607C (Knipmeyer Dep. Tr.) at 213:22-214:6.). Table 5 of

the ’141 patent describes a working example at a FRAP factor value of 6.7, two orders of

magnitude lower than a FRAP factor value of 350. (JX-0022 at Table 5 (Filter “PT3-4 alternate

housing”).).

       In contrast, Respondents argued that PUR’s Mario 3 filter with “never-before-used

combinations of ion exchange resins and nonwovens” and reduced effluent lead concentration ce

below 1 ppb encompasses performance “light year[s] beyond what the inventors” could create.

(RSBr. at 47.). Although Respondents did not provide the FRAP factor for the Mario 3 filter,

achieving a lead effluent concentration of less than 1 ppb is a significant improvement in the art.

For comparison, Dr. Knipmeyer’s notebooks reflect a lead effluent average concentration of 6.9

ppb, as shown in Figure No. 30 below.

               Figure No. 30: Excerpt of Dr. Knipmeyer’s Laboratory Notebook with
                       Lead Testing Results of Formula PT3-4 Water Filter




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(CX-0108C.0122 (Excerpt from page 117 of Dr. Knipmeyer’s laboratory notebook, notebook
recordation date of August 16, 2006) (excerpt of lead testing results for water filter PT3-4).).

       Accordingly, based on at least Dr. Knipmeyer’s testing of a prototype in August 2006,

the PUR Mario 3 product improves the effluent lead concentration compared to what was

achievable in 2006, a reduction from about 7 ppb to 1 ppb.

       Respondents also argued that the PUR Mario 3 uses mixed media and weak acid ion

exchange that were disparaged by the ’141 patent. (RSBr. at 47 (citing Tr. (Mitchell) at 763:24-

765:12 (describing a new blend of three ion exchange resins with activated carbon)).). However,

the ’141 patent does not disparage as Respondents claimed. (See Section XII(C)(5)(a) (Written

Description, Other Arguments).). In ScriptPro, the Federal Circuit explained that a description

of an embodiment as “inconvenient” does not constitute “disparagement” when the same

specification later also includes those “inconvenient aspects” as part of the invention. ScriptPro,

833 F.3d at 1341.

       Here, the ’141 patent also expressly states that “[t]he FRAP factor criteria set forth herein

is applicable to all embodiments . . . including but not limited to mixed media (carbon and ion

exchange resin), carbon blocks . . . .” (JX-0022 at 26:30-34.). Carbon and ion exchange resin

comprise the media of the PUR Mario 3 product. (JX-0022 at 25:9-12.). Moreover, nonwovens

in combination with carbon blocks are described as an embodiment of the ’141 patent. (Tr.

(Freeman) at 1497:3-12 (explaining the Rinker application RX-0631 (US 2006/0000763 A1,

U.S. Application No. 10/881,517) incorporated by reference in the ’141 patent (JX-0022 at 17:4-

7) and discussing nonwoven filter sheets with porous carbon blocks).).

       Although the PUR Mario 3 does have improved lead effluent concentration, the

improvement is not as extreme as in MagSil, and the PUR Mario 3 uses filter media already

described in the ’141 patent. Accordingly, it is not clear that the holding in MagSil and the PUR


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Mario 3 product support a finding of undue experimentation.

         Respondents also argued that the testimony of Dr. Rockstraw supports a finding that the

’141 patent is not enabled. (RSBr. at 50.). Dr. Rockstraw testified that a filter meeting the

requirements of claim 1 is not possible for a volume of 2 cm3. (Tr. (Rockstraw) at 616:20-

617:6.).

         Q. . . . And despite there being no volume limitations in claim 1 of the ’141 patent,
         your opinion, you agree with me, that it is not possible to have a filter with a filter
         media volume of 2 cubic centimeters and still meet claim 1 of the ’141 patent,
         correct?

         A. Yeah, I find that hard to understand how you can make a filter with a volume
         that small that would still meet the limitations of claim 1.

         Q. There’s no examples even in the patent that even come close to 2 cubic
         centimeters, are there, Dr. Rockstraw?

         A. I don’t recall seeing one around 2 cubic centimeters, no.

(Id.).

         Dr. Rockstraw testified that a filter meeting the requirements of claim 1 is not possible

for an f value of 0.45 min/L. (Tr. (Rockstraw) at 616:20-617:6; RPBr. at 114-15).

         Q. Your opinion, sir, is that 0.45 minutes per liter is a flow rate that could only be
         DFKLHYHGE\DSUHVVXUL]HGV\VWHPQRWDJUDYLW\ဩIHGV\VWHP'LG,UHDGthe words
         of your signed expert report correctly?

         A. You read it correctly, yes.

(Tr. (Rockstraw) at 614:12-16.).

         Thus, Respondents argued that for the same reasons as the volume V variable is not

enabled, the average filtration unit time f variable is not enabled because the average filtration

unit time f value of 0.45 min/L is not possible with gravity-flow water filters, according to Dr.

Rockstraw. (RSBr. at 51.). In addition, Respondents argued that flow rates with no lower




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boundary are not enabled. (Id. at 50-51.). 87

        The doctrine of inoperable embodiments applies here. The Federal Circuit has held that

claims need not specifically exclude inoperable combinations. Atlas Powder Co. v. E.I. du Pont

De Nemours & Co., 750 F.2d 1569, 1576 (Fed. Cir. 1984); see also CFMT, Inc. v. YieldUp Int'l

Corp., 349 F.3d 1333, 1339 (Fed. Cir. 2003) (“the party asserting inoperability must show that

all disclosed alternatives are inoperative or not enabled.”). Here, although certain data points

may not be operative, Respondents failed to meet their burden of proof of clear and convincing

evidence that the FRAP factor, as a whole, is not enabled. Dr. Freeman’s testimony was more

complete and credible.

        It is also clear that a volume and flow rate cannot be zero because a filter cannot work if

it has no volume and does not filter at some rate. (Tr. (Hatch) at 1460:21-1461:13

(acknowledging that a volume V cannot be zero, average filtration unit time f cannot be zero, and

therefore there is inherently some lower bound).). Therefore, a lower bound on volume and flow

rate inherently exists at some value above zero. (Id.). The variables of the FRAP factor

interrelate, and the claims are directed to filters that meet the FRAP factor and a combination of

variables, not a particular value of a single variable.

        Respondents’ argument that certain values are not operable does not support a finding


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  Respondents argued that in Certain LED Products an efficiency was claimed without an upper bound,
yet an expert admitted that a certain efficiency was not possible, and the full scope of the asserted claims
was not enabled. (RSBr. at 50 (citing 1213 ID at 29-32).). The 1213 ID held that “[i]f part of a claimed
range is not enabled, ‘then the entire range is invalid.’” (Id. at 32 (quoting Alcon Res., 687 F.3d at 1367-
68).). Respondents argued that for the same reasons as in the 1213 ID, the asserted claims in this
Investigation are not enabled, which Respondents said is illustrated by Dr. Rockstraw’s testimony
because 2 cm3 is not possible, yet is within the claimed range. (RSBr. at 50.).

Unlike Certain LED Products, there are upper bounds on the FRAP factor. Additionally, dependent
claims 3-6 provide upper bounds for the volume V and average filtration unit time f variables, which even
Dr. Hatch acknowledged in his Hearing testimony. (Tr. (Hatch) at 1460:9-1461:13; JX-0022 at cls. 3-6.).



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that there would be undue experimentation in order to make and use the invention at issue.

Moreover, there is a finding of fact here that the FRAP factor is enabled.

                            ii.    Filter Embodiments Other Than Carbon Block Filters

       Respondents argued that the scope of the asserted claims are “exceedingly broad”

because of the many types or species of water filters, carbon or lead scavenger available. (RSBr.

at 51.). Respondents contended that there are hundreds (100s) of types of activated carbon.

(RSBr. at 51 (citing Tr. (Freeman) at 1573:23-1574:8 (admitting there is “a lot of choice” in

activated carbon)).). Respondents argued that there are dozens of types of lead scavenger.

(RSBr. at 51-52 (citing Tr. (Freeman) at 1573:5-10 (answering that there are two working

examples of lead scavengers in the ’141 patent, but additional lead scavengers known in the art

and also discussed in the ’141 patent)).). Respondents asserted that:

       there are tens of thousands of possible filter species (8 x 12 x 100s) and structure
       that could meet the structural limitations of the ’141 patent. Yet, as discussed
       throughout, the inventors had exactly one species of filter (carbon block), one size
       and kind of activated carbon, and two lead scavengers: a grand total of two working
       examples P-A and P-T.

(RSBr. at 52 (citing JX-0022 at Tables 1, 5).).

       It is not disputed that the ’141 patent discloses various filter media embodiments, various

activated carbon, and lead scavengers. These are all in the prior art. (See Section XII(D)(2)(e),

supra (Wands factor 5) (explaining that filter media, carbon and lead scavenger are well-

known).). Dr. Freeman testified that while the activated carbon and lead scavenger may take

different forms, they are all expected to behave in the same manner in the filter media. (Id.).

Accordingly, the argument that there are hundreds of activated carbon and dozens of lead

scavenger fails to take into consideration the state of the art and the guidance provided in the

specification of species that do work, as shown by the working examples. (See Sections



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XII(D)(2)(b), (c), supra (Wands factors 2, 3) (explaining guidance provided in the specification,

working examples). The claims are broad in that the filter media is not limited to carbon block

in the asserted claims. However, it is not clear that this supports a finding of undue

experimentation given the state of the art and the remaining Wands factors.

       Respondents argued that Dr. Freeman’s opinion that trial and error could fill the gap is

not sufficient. (RSBr. at 42-43 (citing Tr. (Freeman) at 1575:19-1576:6; Idenix, 941 F.3d at

1163).). Dr. Freeman testified during his deposition, that:

       a person of ordinary skill in the art would come with a lot of background about
       performance of a prior mixed media. And seeing that the components were being
       used in the specification examples here gave FRAP factors and those geometries
       that are set forth gave the FRAP factors that -- that met the claim 1 limitation, a
       person of ordinary skill in the art could use that information, then, to pick, if you
       will, the needles out of the haystack of mixed media and other formats to be able to
       practice the invention.

(Tr. (Freeman) at 1575:19-1576:6 (repeating Dr. Freeman’s deposition testimony).).

       Dr. Freeman explained during the Hearing that he meant that “the haystack” is “the

enormous amount of background information and performance about prior mixed-media” and

“someone wanting to use the ’141 patent could choose from [the haystack] the pieces that they

need to make the inventive filters, that is, the ’141 patent is only an incredibly small subset of

what was known about mixed-media filters.” (Tr. (Freeman) at 1646:2-10.).

       In Idenix, the Federal Circuit concluded that to first synthesize candidate molecules, and

then screen them for efficacy against HCV would require undue experimentation. Idenix, 941

F.3d at 1162. In contrast, here, the asserted claims already identify activated carbon and lead

scavenger. The ’141 patent identifies working examples that already incorporate activated

carbon and lead scavenger. (See Section XII(D)(2)(c), supra (Wands factor 3) (identifying

working examples).). Dr. Freeman testified that while the activated carbon and lead scavenger



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may take different forms, they are all expected to behave in the same manner in the filter media.

(Tr. (Freeman) at 1521:19-1522:1.). While the claims are broad in that the filter media is not

limited to carbon block in the asserted claims, it is not clear that this supports a finding of undue

experimentation given the state of the art and the remaining Wands factors.

       Respondents argued that Dr. Knipmeyer acknowledged that creating non-carbon block

embodiments would involve creating new technology. (RSBr. at 46 (citing (Tr. (Knipmeyer) at

327:15-328:6 (“I imagine that you could develop new technology that would -- that would meet

that requirement” of the ’141 patent)).). Brita counterargued that Dr. Knipmeyer simply

explained that she herself had not created the other filter types.

       In Centrak, an inventor’s admission of not having working examples of all embodiments

was not fatal to meeting the written description requirement because the nature and context of

the invention was also considered. (See Section XII(C)(4)(b), supra.). Here, the remaining

Wands factors, including that the state of the prior art recognizes that filter media other than

carbon block were well-known, on balance, support enablement. (See Section XII(D)(3), infra

(weighing Wands Factors).).

       The scope of the claims are broad because the filter media is not limited to carbon block

filters and FRAP factor values are limited to values of about 350 or less, or less than about 200.

(JX-0022 at cls. 1-2.). Given that Dr. Hatch and Dr. Freeman have opposing views on

enablement for FRAP factors values less than 6.7 and filter media other than carbon block, and

Respondents have the burden of proof, the arguments including those about the PUR Mario 3

filter, inoperable embodiments, and unbound ranges, better support Brita. It is a finding of fact

and law that Respondents did not meet their burden of proof with clear and convincing evidence.

Accordingly, Wands factor 8 does not support a finding of undue experimentation.



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               3.      Evidence on the Wands Factors Favors a Finding that the ’141 Patent
                       Is Enabled

       An analysis of the relevant Wands factors favors a finding both of law, and by the facts

that support the law, that that the full scope of all the asserted claims of the ’141 patent are

enabled. As discussed above, water filtration was well-known (Wands factor 5), those skilled in

the art used established techniques and materials (Wands factor 6) such that the quantity of

experimentation is not unreasonable (Wands factor 1). The specification provides sufficient

guidance (Wands factor 2) to obtain the cited FRAP factor value. Although there is a lack of

working examples for the full scope (Wands factor 3), this is not detrimental when weighed

against the remaining factors. The claims are broad (Wands factor 8), but when taken in context

of the remaining Wands factors, this factor alone does not outweigh the other factors to support a

finding of undue experimentation.

       For the above reasons, it is a finding that based on an analysis of the Wands factors and

the totality of the weight of the evidence, that a person of skill in the art could practice the

invention without undue experimentation to achieve: (i) the full scope of the FRAP factor; and

(ii) carbon block filters and other types of filters, such as mixed media, membrane, nonwoven,

depth media, nanoparticle, nanofiber or ligand filters.

       Respondents did not prove by clear and convincing evidence that the claims of the ’141

patent are not enabled. Accordingly, the asserted claims are not invalid for lack of enablement.

       E.      Patent Ineligible Subject Matter Under 35 U.S.C. § 101

       Section 101 limits patent eligible subject matter to “any new and useful process, machine,

manufacture, or composition of matter, or any new and useful improvement thereof.” 35 U.S.C.

§ 101. Under Supreme Court precedent, “applications” of abstract concepts “to a new and useful

end” remain patent eligible. Alice Corp. Pty. v. CLS Bank Intern., 573 U.S. 208, 217 (2014)


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(“Alice”) (citation omitted). Determining whether a claim is invalid for being directed to a

patent-ineligible abstract idea involves a two-step analysis. The court first determines whether

the claim is “directed to” an abstract idea, and second determines “whether the claim nonetheless

includes an ‘inventive concept’ sufficient to ‘“transform the nature of the claim” into a patent-

eligible application.’” Yu v. Apple Inc., 1 F.4th 1040 (Fed. Cir. 2021) (“Yu”) (citations omitted).

“[F]eatures that are not claimed are irrelevant as to step 1 or step 2 of the Mayo/Alice analysis.”

Am. Axle & Mfg., Inc. v. Neapco Holdings LLC, 967 F.3d 1285, 1293 (Fed. Cir. 2020)

(“American Axle”) (emphasis added) (collecting cases).

                1.      The Claims of the ’141 Patent Contain Structure and Are Patent
                        Eligible

        Respondents argued that the ’141 patent claims are invalid under Section 101 because

they are directed to an abstract idea and fail to recite a patent-eligible application of that abstract

idea. (RPBr. at 117-121; RBr. at 100-16; RSBr. at 55-64.). Complainant disagreed. (CRBr. at

41-46; CSRBr. at 30-39.).

        The Alice step one inquiry is to “determine whether the claims at issue are directed to a

patent-ineligible concept.” Alice, 573 U.S. at 217. The Federal Circuit explained that “[t]he

‘directed to’ inquiry applies a stage-one filter to claims, considered in light of the specification,

based on whether ‘their character as a whole is directed to excluded subject matter.’” Enfish,

LLC v. Microsoft Corp., 822 F.3d 1327, 1335 (Fed. Cir. 2016).

        Respondents argued that the asserted claims are directed to gravity-fed water filters that

achieve a certain FRAP value, which Respondents contended is a result-oriented abstract idea.

(RBr. at 100; RPBr. at 117.). Respondents contended:

        The ’141 Patent’s only independent claim––claim 1––clearly recites the invention
        in terms of a result: “filter media including at least activated carbon and a lead
        scavenger” that “achieves a Filter Rate and Performance (FRAP) factor of about


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       350 or less . . . .”

(RBr. at 101 (citing JX-0022 at cl.1) (emphasis in Respondents’ brief).).

       Respondents contended that the asserted claims do not recite a particular means of

“achieving” the claimed FRAP factor. (RBr. at 101.). Accordingly, Respondents argued that

“the asserted claims are directed to an aspirational goal but lack limitations about how to achieve

that goal” and are thus invalid under Section 101. (RBr. at 100-01.). Respondents argued that

“claiming a tangible system does not impute immunity under § 101” and that the asserted claims

are “directed to” a result and devoid of structure for achieving it. (RSBr. at 56.).

       In support of their Alice step one argument about the abstraction of the ’141 patent,

Respondents cite to Free Stream Media Corp. v. Alphonso Inc., 996 F.3d 1355, 1363 (Fed. Cir.

2021) (“Free Stream”) which directs the analysis to “whether the claims in the patent focus on a

specific means or method that improves the relevant technology or are instead directed to a result

or effect that itself is the abstract idea and merely invoke generic processes and machinery.”

(RBr. at 101 (citing Free Stream at 1363 (Fed. Cir. 2021) (“Free Stream”) (quoting McRO, Inc.

v. Bandai Namco Games Am. Inc., 837 F.3d 1299, 1314 (Fed. Cir. 2016) (“McRO I”)).). In Free

Stream, the Federal Circuit found that the alleged technological improvement does “nothing

more than implement a computer to achieve the abstract idea” and the claims merely improved

the abstract idea of targeting advertising. Free Stream, 996 F.3d at 1365. The Federal Circuit

also noted that while the claimed advance required a mobile device, one was not claimed, further

supporting patent ineligibility. Free Stream, 996 F.3d at 1364 n.5. In McRO I, the claims were

patent eligible as “focused on a specific asserted improvement in computer animation” where

there was no evidence that the process previously used in animation was the same as the process

claimed. McRO I, 837 F.3d at 1314.



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        Respondents argued that the claims do not cite a particular means of “achieving” the

FRAP factor, and claim 1 recites the invention in terms of a result. (RBr. at 102 (citing Affinity

Labs of Tex., LLC v. Amazonc.com Inc., 838 F.3d 1266, 1269 (Fed. Cir. 2016) (“Affinity Labs”)

(finding claims describe no more than a desired function or outcome, and directed to “a network-

based system with a customized user interface, in which the system delivers streaming content

from a network-based resource” ineligible because “‘customizing information based

on…information known about the user’ is an abstract idea”)).). Respondents argued that the

asserted claims are not limited to a specific structure and lack details about the filter, filter media,

proportions, or weight, and “[a]ll that matters under the Asserted Claims is whether its result is

achieved.” (RBr. at 103-04 (emphasis in original) (citing Interval Licensing LLC v. AOL., 896

F.3d 1335, 1343 (Fed. Cir. 2018) (explaining that Alice and its progeny reaffirm that drafting

claims in a result-oriented way such that they encompass a principle in the abstract, no matter

how implemented, is not patent eligible)).).

        Respondents also argued that the asserted claims are directed to the FRAP factor, but lack

limitations about flow rate and lead reduction, two (2) goals of the invention. (RBr. at 104-05

(citing Enfish LLC v. Microsoft Corp., 822 F.3d 1327, 1335-36 (Fed. Cir. 2016) (“Enfish”)

(finding the claims were not directed to an abstract idea but to an improvement in how computers

operate, embodied in a self-referential table different from conventional database structures);

accord Visual Memory LLC v. NVIDIA Corp., 867 F.3d 1253, 1258 (Fed. Cir. 2017) (finding

claims directed to an improved computer memory system and not to an abstract idea of

categorical data storage).).

        Yet, despite Respondents’ attorney arguments, Dr. Hatch, Respondents’ expert on water

filtration and lead removal from water, did not offer an opinion on invalidity under Section 101



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during the Hearing. (Tr. (Hatch) at 1410:9-1411:12.). Moreover, each of the cases to which

Respondents cite, and particularly Free Stream, Affinity Labs, and Enfish are distinguishable

because unlike in Free Stream, Affinity Labs, and Enfish, the ’141 patent invention is not merely

an improvement of a generic system.

        In contrast to Respondents’ argument about the abstract nature of the invention of the

’141 patent, Brita’s more persuasive argument under Alice step one is that the claims of the ’141

patent are directed to manufactured articles that are physical, tangible things, and in this instance,

filters and/or containers or pitchers with filters, and therefore, they are not abstract “ideas.”

(CPBr. at 109; CRBr. at 41.). Brita contended that the FRAP factor, which consists of four (4)

variables described and discussed above in Section V.B., is “a way to describe a gravity-fed

water filter in terms of the filter’s physical properties and characteristics.” (CRBr. at 42.).

        As Brita noted, “the parameters of the FRAP factor were the means by which the

inventors accomplished these two seemingly contradictory goals” of lead removal and flow rate.

(CRBr. at 43 (citing Tr. (Knipmeyer) at 157:12-14; RX-2602C (Saaski Deposition) at 249:22-24

(stating a goal was to match flow rates similar to those already in the marketplace)).).

        Dr. Benny Freeman, Brita’s expert on invalidity, supported Brita’s argument, without

rebuttal from Dr. Hatch. Dr. Freeman noted what the structure of the invention is when he

testified that “claim 1 starts out by calling out a gravity-fed water filter, and so that’s a physical

device, something that can be manufactured.” (Tr. (Freeman) at 1527: 13-15.). Additionally,

Dr. Freeman testified that in his opinion, the asserted claims of the ’141 patent are not directed to

a result, but to a physical article, and not “directed at just an idea.” (Tr. (Freeman) at 1528:2-6.).

Dr. Freeman then explains where structure is found, as discussed more fully below.

        Dr. Freeman testified about the physical and tangible nature of the invention, and about



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the purpose of the FRAP factor in his testimony that the FRAP variables “provide structure to

[the claimed] device.” (Tr. (Freeman) at 1530:18-19.). Dr. Freeman testified as to how the

filters denote structure:

        Q. What about the FRAP limitation in claim 1 denotes structure to a person of
        ordinary skill in the art?

        A. So the FRAP limitation really provides a compilation of key design and
        performance criteria that work together to give that FRAP value. So the volume of
        the filter media, and the filter media we've just discussed what it has to have in it,
        the filter media and the shape of the article ultimately determines the flow rate, the
        lifetime and the effluent lead concentration are intimately linked to one another.
        And so all of these variables provide structure to this device.

        Q. What about the effluent lead concentration at end of lifetime, how does that
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        A. So the effluent lead concentration at the end of the lifetime is going to depend
        upon the nature of the components, the activated carbon and the lead scavenger, the
        amount of those components, their layout, the format size and shape of the filter.
        And it will also depend on the packing of those particles in the sense that that
        impacts the filtration unit time and, therefore, the contact time of the water with the
        components of the filter.

(Tr. (Freeman) at 1530:6-15.).

        As Dr. Freeman observed, “by requiring a specific range of FRAP factors (i.e., about or

below 350 or 200), the asserted claims recited specific configurations of gravity-fed filters to

create technical improvement over the prior art.” (CSRBr. at 32 (citing Tr. (Freeman) at

1528:11-19).).

        Respondents contended that because the FRAP factor includes variables (e.g., average

filtration unit time f, effluent lead concentration ce, and lifetime L) that are performance

measurements, the claims are directed to a result. (RPBr. at 119-20; RBr. at 103.). Therefore,

according to Respondents’ argument, the FRAP factor reflects an abstract idea. However, even

if the FRAP factor is considered an abstract idea, which it is not, the Alice step one inquiry is an



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inquiry into whether the claim as a whole is directed to an abstract idea. Adasa Inc. v. Avery

Dennison Corp., 55 F.4th 900 at *5 (Fed. Cir. 2022) (examining eligibility at Alice step one by

considering an independent claim as a whole and in view of the specification).

       While the Supreme Court has recognized that “an important implicit exception” to

patentability are: “Laws of nature, natural phenomena, and abstract ideas,” or Alice step one, the

Supreme Court also cautions lower tribunals to:

       tread carefully in construing this exclusionary principle lest it swallow all of patent
       law. At some level, “all inventions …embody, use, reflect, rest upon, or apply laws
       of nature, natural phenomena, or abstract ideas.” Thus, an invention is not rendered
       ineligible for patent simply because it involves an abstract concept.
       “[A]pplication[s] of such concepts “‘to a new and useful end,’” we have said,
       remain eligible for patent protection.

Alice, 573 U.S. at 216-17 (citations omitted).

       Therefore, even if Respondents’ argument were supported, which it is not, simply

reciting an abstract idea does not end the Alice step one inquiry. While a claim may recite an

abstract idea, the Court explained, additional elements in the claim must “‘transform the nature

of the claim’ into a patent-eligible application” of the abstract idea, or Alice step two. Id. at 216

(citations omitted). See also RecogniCorp, LLC v. Nintendo Co., 855F.3d 1322, 1327 (Fed. Cir.

2017) (“Adding one abstract idea (math) to another abstract idea (encoding and decoding) does

not render the claim non-abstract”); Genetic Techs. v. Merial LLC,818 F.3d 1369, 1376, 118

USPQ2d 1541, 1546 (Fed. Cir. 2016) (eligibility “cannot be furnished by the unpatentable law of

nature (or natural phenomenon or abstract idea) itself.”).

       Respondents argued that activated carbon and lead scavenger are well-known,

conventional structures. (RSBr. at 58-59.). However, these additional elements, that of activated

carbon and a lead scavenger, are not required by the FRAP limitation but they do add additional

structure and concrete measurements/limits to the ’141 patent. (See Markman Order at 20-24


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(construing lead scavenger as a component that removes or reduces lead from water, as

understood by one of ordinary skill in the art); JX-0022 at 5:34-35.). Similarly, Respondents

seemingly failed to rebut Dr. Knipmeyer’s testimony with respect to the purpose of the

properties that the activated carbon and lead scavenger add to the structure of the FRAP factor

and the invention. (See Tr. (Knipmeyer) 158:14-17 (explaining “the volume goes to, the actual

physical nature of the filter, the media, the part that’s actively filtering and how much of it you

have, and that impacts a lot of things about the performance and experience with the filter”).

       As what appears to be an attempt at undermining Dr. Knipmeyer’s and Dr. Freeman’s

testimony, while ignoring properties that clearly add structure that belie Respondents’

arguments, Respondents argued that the asserted claims do not recite these features and instead

are directed to the abstract concept of achieving a FRAP value. (RBr. at 108.). Respondents

contended that the specification describes an asserted advance as a particular configuration of

multiple-core carbon blocks. (Id. at 109.). Relying on Yu, Respondents argued that the

specification and the claims have a mismatch between the specification configurations/features

and the asserted claims. (RBr. at 109 (citing Yu, 1 F.4th at 1045).).

       In Yu, a claim that resulted in “producing a resultant digital image from said first image

enhanced with said second image,” was held to be directed to a result or effect that was itself an

abstract idea. Yu, 1 F.4th at 1045. The practice of using pictures to enhance each other was well-

known and used for over a century. Id. at 1043. The remaining limitations of the claims,

sensors, lenses, circuity, memory, were conventional components set forth at a high degree of

generality that performed only their basic functions. Id. The Federal Circuit explained that the

specification described the unique configuration and advantages that hinged on a particular four-

lens, four-image-sensor configuration. Id. at 1044. Representative claim 1, included only a



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certain two-lens, two-image-sensor configuration, was broad in scope compared to the claimed

advance described in the specification, resulting in a mismatch between claim 1 and the

specification. Id. at 1044-45. The mismatch supported the holding that the claimed advance was

an abstract idea, and not the particular configuration described in the specification. Id. at 1045.

       As with other cases to which Respondents have cited, Yu is distinguishable. The

mismatch between the specification and the claims in Yu resulted from a specification that

described only a particular four-lens, four-image-sensor configuration, whereas the claims cited

only a two-lens, two-image-sensor configuration without color-specificity. Id. However, as

Brita correctly pointed out, claim 1 cites a FRAP factor that describes how the variables of

volume, average filtration unit time, effluent lead concentration and lifetime characteristics are

configured to obtain acceptable functioning of a water filter. (CRBr. at 44.). There is no

‘mismatch’ in how the specification and claim 1 describe the FRAP factor because they both

describe a FRAP factor value of less than 350. (JX-0022 at (57) (abstract), cl.1.). Moreover, Yu

is distinguishable because the ’141 patent is not a digital, electronic application, but rather it

describes physical products (filters) that are concrete articles of manufacture that have structure.

               2.      The ’141 Invention Is Not Directed to Natural Law

       As yet another interpretation of Alice, in American Axle, the Federal Circuit explained

that “[s]ection 101 is concerned with whether the claims are directed to a natural law, not

whether the specification has adequately described how to make and use the concretely claimed

structures and steps.” American Axle, 967 F.3d at 1302. The eligibility requirement “is that the

claim itself . . . must go beyond stating a functional result; it must identify ‘how’ that functional

result is achieved by limiting the claim scope to structures specified at some level of

concreteness, in the case of a product claim.” Id.



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          Here, some of the constituents of the filters that perform the invention, that add to the

specificity of the ’141 patent, are the volume and composition of the filter media, which a skilled

artisan can fine-tune to the desired application. (Markman Order at 8-14 (construing volume as

plain and ordinary meaning, i.e., quantity of the filter media in cubic units, as understood by one

of ordinary skill in the art), 20-24 (construing lead scavenger as a component that removes or

reduces lead from water, as understood by one of ordinary skill in the art); JX-0022 at 5:34-35,

46.).

          Although Respondents contended that claim 1 is directed to a result, and is therefore

invalid under Alice step one, (RBr. at 101-102.), Respondents ignored all of the other concrete

features of the ’141 patent that teach how the filter would work in order to eliminate certain

harmful particulates, even though it is also true that the ’141 patent provides concrete testing

limitations that are a means to insure that filters perform consistent with the terms of the ’141

patent.

          A recent Commission majority opinion and dissent show how fraught the Alice step one

analysis can be. The majority opinion in Certain Polycrystalline Diamond Compacts and

Articles Containing the Same, Inv. No. 337-TA-1236, Comm’n Op. (Oct. 26, 2022) (“Certain

Polycrystalline Diamond Compacts”), held that claims directed to performance measures were

patent ineligible. The Commission noted that:

          the ID observed that the asserted claims “recite compositions of matter that are not
          found in nature,” but they also recite “certain structural and design features (for
          example, a particular grain size and a catalyst), performance measures (G-Ratio
          . . . and thermal stability . . .), and side effects (the various electrical and magnetic
          parameters).”

Id. at 19-20 (quoting Initial Determination at 102, 104; citing Initial Determination at 100, 134
(Mar. 3, 2022) (“1236 ID”)).

          The Commission found that “the concept of stronger PDCs that achieve performance


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measures and desired magnetic and electrical properties is an abstract idea for the purposes of

Alice step one.” Certain Polycrystalline Diamond Compacts, Comm’n Op. at 24. The 1236 ID

stated that the Gratio and thermal stability were performance measurements, specifically of wear

resistance and thermal properties. Id. at 25; 1236 ID at 102. The 1236 ID found that the claim

reflected an abstract goal of certain performance measures, however achieved, rather than by

structure. 1236 ID at 105 (citing Light-Emitting Diodes at 21).

        The electrical conductivity was found in the 1236 ID to be an “indirect measure of the

effectiveness of other design choice and manufacturing variables.” 1236 ID at 103. The

electrical conductivity was not “a desirable feature as such; it is just a result of other desirable

features.” Id. The Commission held that the claimed electrical and magnetic properties were not

proven to be indicative of any specific microstructure, and agreed with the 1236 ID that the

recitation of a particular range of electrical conductivity appeared to be “gratuitous rather than

inventive.” Certain Polycrystalline Diamond Compacts Comm’n Op. at 26; 1236 ID at 104.

        Certain Polycrystalline Diamond Compacts is distinguishable. In the ’141 patent, the

FRAP factor, while in part a physical measurement, also includes performance measures of

lifetime (gallons filterable over the life of the filter), filterability by time (min/L), and ability to

reduce the amount of lead in effluent water (concentration). In the ’141 patent, the FRAP factor

variables together represent how a filter that limits or eliminates certain dangerous particulates

functions and does not merely include performance results. Moreover, the concept of the ’141

patent is not based on laws of nature such as magnetic forces or electricity as was the case in

Certain Polycrystalline Diamond Compacts. (JX-0022 at cl.1 (citing lead effluent level).).

        Here, also, unlike in Certain Polycrystalline Diamond Compacts, the inventors state that

“[g]ravity flow filtration systems are well known in the art.” (JX-0022 at 1:53.). Moreover,



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“granular activated carbon (GAC) … and lead sorbent, have been commercially available for

many years.” (Id. at 1:66-2:2; see also Tr. (Freeman) 1499:3-7 (“The field was well developed.

It was widely practiced. And there was an enormous amount of information that would be

available to a person of skill in the art to assist them in filter design and filter making and then

ultimately filter testing.”).).

        Therefore, the microstructure or processing parameters of the PDCs in Certain

Polycrystalline Diamond Compacts are not the same or even analogous to the FRAP factor

limitation because of the “enormous” amount of information about these areas already available

to the person having ordinary skill in the art. Unlike in Certain Polycrystalline Diamond

Compacts, in which there was a search for electrical conductivity as a proxy for microstructure,

design choice or manufacturing variables, claim 1 of the ’141 patent recites concrete structures

of activated carbon, lead scavenger and other variables as limited by the values that satisfy the

FRAP factor having a value less than 350. (JX-0022 at cl. 1.).

        For this Investigation, the dissent in Certain Polycrystalline Diamond Compacts applies.

See Certain Polycrystalline Diamond Compacts Comm’n Op. (Commissioner Schmidtlein,

dissenting or “Dissent” or “Dissenting Opinion”). Commissioner Schmidtlein took issue with

the majority opinion (“Opinion”) because:

        the “problematic” results and effects which the ID identifies (i.e., the measurements
        of PDC properties) are not the sort of results Federal Circuit caselaw has called into
        question. Rather, the specifications (and other record evidence) indicate that they
        are measurements that reflect structure of a composition of matter. When the claim
        elements are considered as a whole, I do not believe that any of the asserted claims
        are directed to an abstract idea.

Id. at 11-12.

        Here, the structure and purpose of the ’141 patent, and the appropriate analysis, are more

in line with the Dissent in Certain Polycrystalline Diamond Compacts. The Dissent pointed out


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that it was undisputed that the claimed properties are associated with the PCD structure. Id. at

13. The Dissent explained:

        [l]abeling certain claim elements as “performance standards,” “results” …, in my
        view, fails to appreciate that the claimed parameters are concrete, objective
        measurements for defining the invention and which reflect the diamond
        microstructures. Many properties of patented materials could be described the
        same way.

Id. at 12.

        As Commissioner Schmidtlein reasoned in her Dissent, many properties, choice of inputs,

processing parameters, and finishing steps could also be described as “performance standards,”

“results” etc. The claimed PDC was a composition of matter based on “what it is,” and that it

“results” from other design choices did not render it abstract. Id. Commissioner Schmidtlein

also argued that a manufactured composition of matter is historically patent eligible, and that the

Opinion failed to identify a case in which a composition of matter is ineligible as an abstract

idea. Id. at 14-15 (citing Diamond v. Chakrabarty, 447 U.S. 303, 308-09 (1980); Diamond v.

Diehr, 450 U.S. 175 at 184 n.8 (1980); Nat. Alternatives Int’l Inc. v. Creative Compounds LLC,

918 F.3d 1338, 1347-49 (Fed. Cir. 2019)).

        The Dissent also takes issue with the Opinion for citing Alice and Yu to argue that “the

fact that asserted claims involve physical phenomena is ‘beside the point.’” Certain

Polycrystalline Diamond Compacts Comm’n Op. at 16 (Commissioner Schmidtlein, dissenting).

The Dissent explained that “beside the point” was taken from a computer context, using generic

computers, and applying methods in the tangible world. Id. But applying cases that involve

abstract steps performed on generic computer components did not, in the Dissent’s view, support

a finding that the improved PDC, a composition of matter, to be abstract. Id.

        Finally, the FRAP factor that is quoted verbatim in Section V(B), above, is a



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mathematical formula with recognized variables that lend structure to the manner in which the

invented object ostensibly should perform based on testing and specific measurements of

particulates. 88 (CSRBr. at 31.). For example, it is clear that the volume variable, V, of the

FRAP factor, reflects a physical characteristic, i.e., the volume of the filter media. As another

example of structure and measurement, claim 3 of the ’141 patent limits the volume of the filter

media to less than 300 cm3. (JX-0022 at cl. 3.).

        In sum, it is a finding that under Alice step one, the ’141 patent is directed to a patent

eligible statutory class of invention, i.e., an article of manufacture. 35 U.S.C. § 101;

Chakrabarty, 447 U.S. at 308-09. By labeling the FRAP factor in the ’141 patent as a “result,”

Respondents arguments failed to appreciate that the water filter that is part of the invention is

defined by its structure of activated carbon and lead scavenger, while it is also characterized by a

combination of FRAP variables. For the reasons explained, Respondents have not proven by

clear and convincing evidence that the claims of the ’141 patent are directed to an abstract idea



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   Neither Respondents nor Brita argued that the FRAP factor is, as is apparent on its face, a mathematical
formula. Mathematical formulas can be patent eligible when there is an inventive application of the
formula. As the Supreme Court explained, “Even though a phenomenon of nature or mathematical
formula may be well known, an inventive application of the principle may be patented. Conversely, the
discovery of such a phenomenon cannot support a patent unless there is some other inventive concept in
its application.” Parker v. Flook, 437 U.S. 584, 594 (1978) (limiting an abstract idea to a certain
technological environment does not make it patentable). For similar reasons that an analysis of Alice
shows the claims are patent eligible, so too are they eligible under a mathematical formula analysis
because the formula has an inventive application as a water filter. In Diamond v. Diehr, the use of a well-
known mathematical equation was patent eligible in the context of a claim for curing rubber. Diamond v.
Diehr, 450 U.S. 175, 187 (1981). In contrast here, the FRAP Factor is not well-known, but is the novel
feature of the invention. The individual components, such as volume V, are well-known, but as a whole,
the FRAP factor does not embody a well-known law of physics because the variables are interrelated so
that varying one variable leads to variations in others. (Tr. (Hatch) at 1437:12-18.). For example, in
practice, doubling one variable does not double the FRAP factor because other variables also change
depending on the interrelationship of the water filter, activated carbon and lead scavenger. (Tr.
(Knipmeyer) at 219:7-11.).




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under Alice step one.

                3.      The ’141 Patent Claims Are Valid Under Alice Step Two

        If the claims of the ’141 patent are deemed directed to an abstract idea and held to be

invalid for the purposes of Alice step one, nonetheless, the claims are valid at Alice step two

because the asserted claims recite additional elements that amount to significantly more than the

abstract idea. Alice, 573 U.S. at 217–18.

        As Brita persuasively argued, at Alice step two, the asserted claims embody an inventive

concept that render the claims patent eligible because they constitute: “an arrangement of

specific physical and performance characteristics of water filters that had never been

commercially executed in the industry before.” (CSRBr. at 30 (citing EcoServices, LLC v.

Certified Aviation Servs., LLC, 830 Fed. Appx. 634, 641 (Fed. Cir. 2020) (“EcoServices”); JX-

0022-0043-44 at 26:67-27:2, 0047 at 33:15-63).). In EcoServices, the patent claims were

directed to a specific combination of units and detectors, configured in a certain way to create

improvements to jet engine washing systems. EcoServices, 830 Fed. Appx. at 643. The system

itself was new, and automation alone was not necessarily abstract. Id. at 645. At Alice step one,

the Federal Circuit considered the claims in their entirety, and concluded that “their character as

a whole” was not directed to an abstract idea. Id. at 645 (citing McRO I, 837 F.3d at 1312 (citing

Internet Patents Corp. v. Active Network, Inc., 790 F.3d 1343, 1346 (Fed. Cir. 2015))). Here, the

FRAP factor is new and embodies a new arrangement of physical structures/elements and

performance variables. (See Section XII(E)(1), supra (discussing how the FRAP factor denotes

structure).).

        Respondents repeated the same arguments for step two of Alice as they did for step one of

Alice, i.e., that the asserted claims, collectively, do not include a structure beyond “a generic



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environment in which to carry out the abstract idea.” (RBr. at 111 (quoting Yu, 1 F.4th at

1043).). Respondents contended that the recited activated carbon and lead scavenger are cited at

a high level of generality, and the asserted claims contain no structure to obtain the FRAP factor

limitation of less than 350. (Id. at 111-12 (citing Yu, 1 F.4th at 1045).).

          In Yu, at Alice step two, the claimed hardware configuration was found to be a generic

hardware limitation that served as a conduit for the abstract idea, which was the enhancement of

one image by another image. Yu, 1 F.4th at 1045. But unlike in Yu, where a digital, electronic

application is predictable, generic and conventional, the ’141 patent cites chemical compounds of

activated carbon and lead scavenger in combination with a FRAP factor. Together the claim

limitations embody something more than an alleged abstract idea of the FRAP factor because the

filter media and FRAP factor all interrelate: the volume V of filter media in the FRAP factor

interrelates with the limitation of activated carbon and lead scavenger, in combination with the

other claimed variables to obtain a FRAP value, and the results are performative and structural

and not abstract. (See Tr. (Knipmeyer) at 158:14-17.).

          Finally, as a last attempt to persuade that the ’141 patent is ineligible for patent protection

under Section 101, Respondents argued that preemption supports the finding of ineligibility.

(RPBr. at 121; RBr. at 113; RSBr. at 63-64; Tr. (Freeman) at 1530:16-1531:7.). The Alice court

explained that a concern driving the exception to patent eligibility is preemption. Alice, 573 U.S.

at 216. (citing Bilski v. Kappos, 561 U.S. 593, 611-12 (2010) (upholding the patent “would pre-

empt use of this approach in all fields, and would effectively grant a monopoly over an abstract

idea”).

          Recognizing that laws of nature, natural phenomena, and abstract ideas are “the basic

tools of scientific and technological work[,]” the Alice court explained that “monopolization of



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those tools through the grant of a patent might tend to impede innovation more than it would

tend to promote it,” thereby thwarting the primary object of the patent laws. Alice, 573 U.S. at

216 (quoting Ass'n for Molecular Pathology v. Myriad Genetics, Inc., 569 U.S. 576, 589 (2013),

Mayo Collaborative Servs. v. Prometheus Lab'ys, Inc., 566 U.S. 66, 71 (2012) (“Mayo”)). The

Alice court explained the “concern that patent law not inhibit further discovery by improperly

tying up the future use of” these building blocks of human ingenuity. Alice, 573 U.S. at 216

(quoting Mayo, 569 U.S. at 71 (citing Morse, supra, at 113)).

        Thus, Alice step two can be considered a “preemption” analysis, wherein a tribunal

distinguishes patents as “building blocks of human ingenuity” from patents that “integrate the

building blocks into something more.” Money Suite Co. v. 21st Century Ins. & Fin. Servs., Inc.,

No. CV 13-1747-GMS, 2015 WL 436160, at *4 (D. Del. Jan. 27, 2015) (citing Alice, 573 U.S. at

517). In other words, overly broad patents that claim laws of nature, natural phenomena, and

abstract ideas may improperly limit or preempt the use of those laws of nature, natural

phenomena, and abstract ideas by others, such as in commercial applications. 89

        While preemption is a concern, and the Federal Circuit explained that limiting patentable

scope may restrict preemption, and “it is not the policy of patent law to permit only narrow

claims when an inventor has made a new, broad invention. When an invention is new and

unobvious and described and enabled, commensurate patent rights are not barred on policy

grounds.” Bascom Glob. Internet Servs., Inc. v. AT&T Mobility LLC, 827 F.3d 1341, 1353 (Fed.

Cir. 2016).




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  The Federal Circuit has explained that preemption as a public policy grounds to find ineligibility under
Section 101 is not sufficient where claims meet the statutory requirements of written description,
enablement, novelty and non-obviousness. Bascom Glob. Internet Servs., Inc. v. AT&T Mobility LLC,
827 F.3d, 1353 (Fed. Cir. 2016).


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          Here, Respondents argued that “the ’141 Patent unduly preempts commercially viable

gravity-fed water filters certified under NSF/ANSI Standard 53 for lead reduction – no matter the

technology or physical characteristic.” (RBr. at 114-15 (citing Tr. (Robert Vernon Herman) at

1027:10-1028:5).). Mr. Herman, an expert witness who testified for the Respondents, testified

that in his opinion, any commercially viable product would meet the FRAP equation. (Tr.

(Herman) at 1027:10-1028:5 (stating that “I don’t think a commercially viable product would be

– that would pass NSF Standard 53, especially current versions, and not end up FRAPPing, that

meeting the FRAP equation”).). In other words, according to Mr. Herman, any water filter on

the market meeting lead requirements under the NSF standard would be preempted by the ’141

patent.

          In response to Mr. Herman’s testimony, Brita argued that preemption is not a concern

because “a filter does not have to have a FRAP under 350 to be compliant with the NSF/ANSI

53 standard.” (CRBr. at 45.). In other words, filters can be designed around the ’141 patent.

Brita’s expert, Dr. Freeman, explained that a filter “with a larger volume and a filter with a slow

flow rate, and those filters could fall outside the FRAP range but still satisfy the NSF standard on

effluent lead concentration.” (CSRBr. at 37-38 (citing (Tr. (Freeman) 1531:1-7.).

          Respondents counter-argued that Dr. Freeman’s opinion failed to include examples of

filters that would not be preempted by the ’141 patent. (RSBr. at 57, 63.). Respondents

contended that filters that Dr. Freeman suggested would not be commercially viable. (RSRBr. at

63.). For example, Respondents argued that very large volumes V or low average filtration unit

rate f to obtain a FRAP over 350 are not a viable options for countertop water pitchers nor would

they provide filtration at a satisfactory rate for consumers. (RSBr. at 63-64 (citing Tr. (Lauren

Kahn) at 291:17-292:4 (stating that consumers typically want to fill up water pitchers quickly).).



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In support of Respondents’ argument that large containers are not viable options, Respondents

cited the expert report of Dr. Rockstraw in which he opined that a ZeroWater product would

need a volume of 8,500 cm3 to achieve a FRAP factor over 350, or a volume of 4,900 cm3 to

achieve a FRAP factor over 200. (RSBr. at 63 (citing RX-1040C.0131-.132.).

       Commercial viability is not a test in patent law under Title 35, which includes 35 U.S.C.

§ 101. CFMT, Inc. v. Yieldup Int'l Corp., 349 F.3d 1333, 1338 (Fed. Cir. 2003) (examining

enablement as not requiring success in the commercial marketplace; “Title 35 does not require

that a patent disclosure enable one of ordinary skill in the art to make and use a perfected,

commercially viable embodiment absent a claim limitation to that effect.”). Brita correctly

pointed out that while desirable, there is a lack of proof that small filtration water volumes, fast

flow rates, good lead reduction, or long lifetimes are requirements for commercial viability.

(CSRBr. at 38.). There is insufficient evidence that water filters would be unduly preempted by

the ’141 patent because of commercial viability.

       Respondents argued that Commission precedent with respect to a claim directed to a

lighting device in Light Emitting Diode Products support invalidity of the ’141 patent under

Section 101. (RBr. at 115-16 (citing Certain Light-Emitting Diode Products, Fixtures, and

Components Thereof, Inv. No. 337-TA-1213, Initial Determination (Aug.17, 2021) (“Certain

LED Products”).). In Light Emitting Diode Products, Respondents pointed out that the abstract

goal of lighting efficiency, the recitation of generic structure, and the unbound nature of the

claim, gave rise to preemption and supported that the claims were directed to an abstract idea.

(RBr. at 116 (citing Certain LED Products, ID at 28).). Because “[c]laims 1 and 11 read on all

lighting devices with solid state emitters, however achieved, with wall plug efficiencies above 85

and 110 LPW” there was a threat of undue preemption. Id. at 120.



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        Respondents also argued that Commission precedent with respect to a method claim at

issue in Variable Speed Wind Turbine Generators supports invalidity of the ’141 patent under

Section 101. (RBr. at 115-16 (citing Certain Variable Speed Wind Turbine Generators and

Components Thereof, Inv. No. 337-TA-1218, Initial Determination at 118-23 (Sept. 10, 2021)

(“Variable Speed Wind Turbine Generators”).). In Variable Speed Wind Turbine Generators, a

method claim failed at Alice step two because “its method steps are defined solely by the results

they achieve.” Id. at 121. The abstract idea was implemented by a generic control system, such

that there was no patent eligible application of the abstract idea. Id.

        Unlike in Certain LED Products and Variable Speed Wind Turbine Generators, the

gravity-fed water filters at issue here use an arrangement of structure as embodied by the

combination of activated carbon, lead scavenger, and physical and performance features as

defined by the FRAP factor. (JX-0022 at cl.1.). The properties and the FRAP Factor of the ’141

patent, transform an abstract idea into something more, supporting eligibility under Alice step

two.

        For all of the reasons described, under 35 U.S.C. § 101, the argument for and evidence of

preemption are not sufficient to find ineligibility under Alice step two or more generally under 35

U.S.C. § 101. Respondents have not proven by clear and convincing evidence that the asserted

claims of the ’141 patent are invalid under 35 U.S.C. § 101.

XIII. ECONOMIC PRONG OF THE DOMESTIC INDUSTRY REQUIREMENT

        A.      Legal Standard

        The Commission may only find a violation of Section 337 “if an industry in the United

States relating to the articles protected by the patent . . . exists or is in the process of being

established.” 19 U.S.C. § 1337(a)(2) (emphases added). Typically, a complainant must show




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that a domestic industry existed at the time the complaint was filed. See Motiva LLC v. Int’l

Trade Comm’n, 716 F.3d 596, 601 n.6 (Fed. Cir. 2013).

       The domestic industry requirement consists of a “technical prong” and an “economic

prong.” See, e.g., Certain Elec. Devices, Including Wireless Commc’n Devices, Portable Music

& Data Processing Devices, & Tablet Computs., Inv. No. 337-TA-794, Order No. 88, 2012 WL

2484219, at *3 (June 6, 2012); Certain Unified Commc’ns Sys., Prods. Used with Such Sys., and

Components Thereof, Inv. No. 337-TA-598, Order No. 9 at 2 (Sept. 5, 2007) (“Communications

Systems”). A complainant satisfies the “technical prong” of the domestic industry requirement

when it proves that its activities relate to an article “protected by the patent.” See

Communications Systems, Order No. 9 at 2. A complainant satisfies the “economic prong” of the

domestic industry requirement when it demonstrates that the economic activities set forth in

subsections (A), (B), and/or (C) of Section 337(a)(3) have taken place or are taking place with

respect to the protected articles. See id.

       Subsection 337(a)(3) states that:

               (3) For purposes of paragraph (2), and industry in the United States
               shall be considered to exist if there is in the United States, with
               respect to the articles protected by the patent, copyright, trademark,
               mask work, or design concerned –

                       (A) significant investment in plant and equipment;
                       (B) significant employment of labor, or capital; or
                       (C) substantial investment in its exploitation, including
                          engineering, research and development, or licensing.

19 U.S.C. § 1337(a)(3).

       Because the criteria are listed in the disjunctive, satisfaction of any one of them will be

sufficient to meet the economic prong of the domestic industry requirement. Certain Integrated

Circuits, Chipsets and Prods. Containing Same, Inv. No. 337-TA-428, Order No. 10, Initial



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Determination (May 4, 2000) (“Integrated Circuits”) (unreviewed). Establishment of the

“economic prong” is not dependent on any “minimum monetary expenditure” and there is no

need for a complainant “to define the industry itself in absolute mathematical terms.” Certain

Stringed Musical Instruments and Components Thereof, Inv. No. 337-TA-586, Comm’n Op. at

25-26 (May 16, 2008) (“Stringed Instruments”). However, a complainant must substantiate the

nature and the significance of its activities with respect to the articles protected by the patent at

issue. Certain Printing and Imaging Devices and Components Thereof, Inv. No. 337-TA-690,

Comm’n Op. at 30 (Feb. 17, 2011) (“Imaging Devices”).

       The Commission has interpreted Sections 337(a)(3)(A) and (B) to concern “investments

in plant and equipment and labor and capital with respect to the articles protected by the patent.”

Certain Ground Fault Circuit Interrupters and Prods. Containing Same, Inv. No. 337-TA-739,

2012 WL 2394435, at *50, Comm’n Op. at 78 (June 8, 2012) (“Circuit Interrupters”) (emphasis

in original) (quoting 19 U.S.C. §§ 1337(a)(3)(A), (B)).

       When a complainant proceeds under Section 337(a)(3)(C), it is not sufficient for the

“substantial investment” under subsection (C) to merely relate to articles protected by the

asserted patents. Rather, “the complainant must establish that there is a nexus between the

claimed investment and asserted patent regardless of whether the domestic- industry showing is

based on licensing, engineering, research and development.” Certain Integrated Circuit Chips &

Prods. Containing, Inv. No. 337-TA-845, Final Initial Determination, 2013 WL 3463385, at *14

(June 7, 2013).

       In addition, the Commission has definitively stated that investments in plant and

equipment or labor and capital that relate to engineering and research and development (“R&D”)

(that are expressly identified under subsection (C)), are properly considered under subsections



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(A) and (B):

       The statutory text of section 337 does not limit sections 337(a)(3)(A) and (B) to
       investments related to manufacturing or any other type of industry. It only requires
       that the domestic investments in plant and equipment, and employment of labor or
       capital be “with respect to the articles protected by the patent.” 19 U.S.C.
       § 1337(a)(3). Moreover, even though subsection (C) expressly identifies
       “engineering” and “research and development” as exemplary investments in the
       “exploitation” of the patent, that language does not unambiguously narrow
       subsections (A) and (B) to exclude those same types of investments.

Certain Solid State Storage Drives, Stacked Elecs. Components, and Prods. Containing Same,

Inv. No. 337-TA-1097, Comm’n Op. at 8 (June 29, 2018) (“Storage Drives”); see also, e.g.,

Certain Marine Sonar Imaging Devices, Including Downscan and Sidescan Devices, Prods.

Containing the Same, and Components Thereof, Inv. No. 337-TA-921, Comm’n Op. at 57-64

(Jan. 6, 2016) (“Sonar Imaging Devices”).

       There is no mathematical threshold test or a “rigid formula” for determining whether a

domestic industry exists. Certain Male Prophylactic Devices, Inc., Inv. No. 337-TA-292,

Comm’n Op. at 39, USITC Pub. 2390 (June 1991) (“Male Prophylactic Devices”). However, to

determine whether investments are “significant” or “substantial,” the actual amounts of a

complainant’s investments or a quantitative analysis must be performed. Lelo Inc. v. Int’l Trade

Comm’n, 786 F.3d 879, 883-84 (Fed. Cir. 2015) (“Lelo”). Even after Lelo, which requires some

quantification of a complainant’s investments, there is still no bright line as to a threshold

amount that might satisfy an economic industry requirement.

       It is the complainant’s burden to show by a preponderance of evidence that each prong of

the domestic industry requirement is satisfied. Certain Prods. Containing Interactive Program

Guide and Parental Control Tech., Inv. No. 337-TA-845, Final Initial Determination, 2013 WL

3463385, at *14 (June 7, 2013.). Moreover, the Commission makes its determination by “an

examination of the facts in each investigation, the article of commerce, and the realities of the


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marketplace.” Male Prophylactic Devices, Comm’n Op. at 39 (quoting Certain Double Sided-

Floppy Disk Drives and Components Thereof, Inv. No. 337-TA-215, Comm’n Op. at 17, USITC

Pub. 1859 (May 1986)). “Commission precedent permits complainants to present evidence of

their U.S. investments using methods and approaches that are appropriate to the facts of a

particular investigation; such methods and approaches may include a comparison between

complainant’s domestic investments to the complainant’s foreign investments to inform the

contextual analysis for determining whether the claimed domestic investments are significant or

substantial.” Certain Movable Barrier Operator Sys. and Components Thereof, Inv. No. 337-

TA-1118, Comm’n Op. at 23 (Jan. 12, 2021) (internal citations omitted) (“Movable Barrier

Operator Systems”).

       In addition, as the Commission explained, it has looked to several different “contextual

indicators” to determine if a complainant’s investments and expenditures are sufficient to

constitute a domestic industry. See Certain Bone Cements, Components Thereof and Prods.

Containing the Same, Inv. No. 337-TA-1153, Comm’n Op. at 26 (Jan. 25, 2021) (“Bone

Cements”). The Commission stated:

       For instance, one methodological approach the Commission has used in both pre-
       and post-1988 investigations is “comparing complainant’s domestic expenditures
       to its foreign expenditures.” Another approach, among others, is to consider “the
       value added to the article in the United States by the domestic activities.” Indeed,
       Commission decisions have accepted a “value-added” analysis to assess whether
       an industry in the United States exists. Moreover, the Federal Circuit in Schaper
       compared the investments in the United States with “the total production process
       of [the domestic industry products],” and found that there was not “significant value
       added” to the products in the United States. In sum, as discussed above, the
       Commission’s determination as to the existence of a domestic industry must be
       assessed according to a highly fact-specific assessment of the “nature and
       significance” of the complainant’s domestic activities.

Id. at 26-27 (internal citations omitted).




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        B.      Economic Prong Overview

        Brita has proven with documentary and the testimonial support of its expert, Mr. Philip

Green, 90 and its primary fact witnesses, Mr. Joel Ramirez 91 and Mr. Barrillon, that it meets the

economic prong requirement of the domestic industry requirement (“economic prong”). (CBr: at

2 (citing Tr. (Rockstraw) at 510:6-10, 510:23-511:3; CX-0031C (LongLast+ packaging); CX-

0020.0003 (LongLast+ photographs); CDX-0008C; Tr. (Green) at 705:3-6; Tr. (Ramirez) at

626:2-4; CBr. at 76-77.). The weight of the largely uncontested evidence is that Brita has

satisfied the economic prong for plant and equipment under 1337(a)(3)(A), and for labor and

capital under 1337(a)(3)(B). (Compl. at Confidential Exs. 51, 102, 103, 130; CPBr. at 2, 73; see

also CDX-0010C (with cited exhibits omitted here).).

        Brita has invested some                     in its domestic industry since it first started

manufacturing its LongLast gravity-fed filters

                                                             (Tr. at 66:19-20; CDX-0010C.0009; CX-

0044C-0047C; CX-0049C (other cited exhibits omitted)). While not an especially large

investment numerically, and because the Commission has not adopted either a “bright line rule,”

or even a minimally quantifiable percentage or minimal investment amount, nonetheless, Brita’s




90
  When he testified during the Hearing as Brita’s expert on the economic prong of the domestic industry
requirement, Philip Green was a Principal in the firm of Hoffman Alvary & Co., LLC. Mr. Green holds
an MBA in accounting. Mr. Green is a Certified Public Accountant and a Certified Management
Accountant. He is a member of The American Society of Appraisers and of The American Institute of
Certified Public Accountants. (CX-0366; CDX-0010C.0002). Mr. Green testified on Brita’s domestic
industry, including the economic prong of the domestic industry requirement. He also testified on remedy
and bond.
91
  When he testified during the Hearing on August 18, 2022, Mr. Joel Ramirez was the former Associate
Director of Finance for Brita, LP. Mr. Ramirez testified on the financial records Brita kept in the ordinary
course of business with respect to its cost of goods sold, facility and manufacturing investments in DI
Products and in the sales of the same. (See Confidential Ex. 102 to Compl.).



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direct investments in its LongLast and LongLast+ DI Products, together with those of its

                , are sufficient to qualify as a significant domestic industry since they all relate to

the patents at issue. See Lelo, 786 F.3d at 855; Certain Carburetors and Prods. Containing Such

Carburetors, Inv. No. 337-TA-586, Comm’n Op. at 25-26 (May 16, 2008); see also Stringed

Musical Instruments, Inv. N37-TA-586, Comm’n Op., 2009 WL 5134139, at *16 (Dec. 2009.).

Commission precedent holds that a complainant may rely upon a licensee for its investments.

Certain Solid State Storage Drives, Stacked Electronics Components, and Products Containing

Same (“Solid State Storage Drives”), Inv No. 337-TA-1097, Comm’n Op. at 1, 6-10 (June 29,

2018.).

          Brita provided substantiated evidence that it conducts research and development

(“R&D”) for its DI Products in

                       (CPBr. at 135; CB at 73.). According to Brita, its own




                                                               (CBr. at 77 (citing Tr. (Ramirez) at

626:13-23 (citations omitted)).




                               (CPBr. at 136; CBr. at 77; Tr. (Barrillon) at 236-37; Confidential

Ex. 6 to Compl (                ).).




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                               . (CBr. at 77; Tr. (Barrillon) at 432:18.).

                                                                   (CBr. at 77.).

       However, there are

                 . (CBr. at 77; Tr. (Barrillon) at 436:24-437:2.). According to Brita,



                                                                                               .

(CPBr. at 135; CBr. at 77, 78.). As with reliance on a licensee, it is well-established that

domestic activities/investments of a complainant’s subcontractor may be considered for purposes

of domestic industry. Certain Male Prophylactic Devices, Inv. No. 337-TA-546, Comm’n Op. at

39 (Aug. 1, 2007).

       According to Mr. Barrillon’s testimony,

                                                                               . (CBr. at 78 (citing

Tr. (Barrillon) at 436:24-437:2).).

                                              (CBr. at 78 (citing Tr. (Barrillon) at 437:9-13).).



                                                                                 . (CBr. at 77

(citing Tr. (Barrillon) at 434:25-435:18; CX-0253C (                                  ).).

       Brita’s investments are in products protected by the ’141 patent at issue, its LongLast and

LongLast+ gravity-fed filters. See Certain Television Sets, Television Receivers, Television

Tunes, and Components Thereof, Inv. No. 337-TA-910, Comm’n Op. at 68 2015 WL 6755093,

at *36 (Oct. 30, 2015.); see also Tr. (Green) at 709:4-11.).




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       C.      Sales-based Allocation

       In order to arrive at the total investments for Brita’s LongLast and LongLast+ (rebranded

as “Elite”) filters, i.e., Brita’s domestic DI Products, Brita and its expert, Mr. Green, used a sales-

based allocation. (Tr. (Green) at 678:23-680:15; CPX-0060C; CX-0176C (

allocating based on sales).




                   (See CDX-0010C.0015; CX-0044C; CX-0176C; CX-0370C.). “A

complainant is not obligated to use a particular allocation methodology.” Certain High-Density

Fiber Optic Equip. & Components Thereof, Inv. No. 337-TA-1194, Commission Op. at 65 (Aug.

23, 2021). An allocation methodology may be appropriate to a complainant’s circumstances “as

supported by evidence in the record.” Certain Mobile Device Holders, Inv. No. 337-TA-1028,

Comm’n Op. at 18 (Mar. 22, 2018). A sales-based allocation is an acceptable method for

calculation of DI investments and “need not provide a “precise accounting” so long as the

allocations are reasonable under the circumstances. Movable Barrier Operator Systems,

Comm’n Op. at 28.

       D.      Contextual Analysis of Value Added: COGS: Global Manufacturing Context

       Brita argued that its U.S. R&D and manufacturing activities (          ) that are related to the

DI Products each add value to the LongLast and LongLast+ DI Products. As Brita argued, and

as a finding here, Brita’s investments in R&D and manufacturing activities are significant in

context. (CBr. at 84-85). Certain Batteries and Electrochemical Devices Containing Composite

Separators, Components Thereof, and Prods. Containing Same, Inv. No. 337-TA-1087, Order




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No. 32 at 4-5 (Aug. 8, 2018) (citation omitted), aff’d as modified on other grounds by Notice,

2018 WL 4331965 (Sept. 7, 2018); see also Bone Cements, Comm’n Op. at 26.



      (CBr. at 85 (citing Tr. (Ramirez) at 625:10-20, 656:12-657:6, 704:18-705-10) (

                                                     ).).

                                            In sum, by offering comparisons from a domestic value-

add perspective and also comparisons to its overseas manufacturing investments, Brita has

demonstrated the significance of the value added to its domestic investments. (See CDX-

0010C.0033-41; see also Tr. (Barrillon) at 657:11-659:3.).

        For example, from a revenue perspective, Brita noted that between

                                                                                                 .

(CDX-0010C.0059 (citations omitted)). Brita’s total net revenues from the sales of all of its

products during that same time frame totaled                   . (Id.). On average for all those

years, Brita’s net revenues from the sales of its LongLast filters were                   on average

of its total net revenues.

        Brita also observed that much of Dr. Thomas Vander Veen’s testimony was directed to

Brita’s methodology and quibbled with the value-added analysis that Brita and its expert, Mr.

Green, conducted. 92 However, Dr. Vander Veen’s analyses do not persuade against a finding

that Brita has established a domestic industry.

        As part of its contextual analysis, consistent with Bone Cements, Brita estimated that the



92
  When he testified during the Hearing, Dr. Thomas Vander Veen was Managing Director of Epsilon
Economics, Chicago. According to his C.V. (Ex. 4 to RPSt.), Dr. Vander Veen is an expert, inter alia, in
applying economics to intellectual property, international trade and complex disputes. Dr. Vander Veen
was called by Respondents to provide his analysis and opinions on Brita’s economic domestic industry,
and on remedy and bond.


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                                                            (RX-0918C.0001 (Green Report

Exhibits J-1); see also CDX-0010C.0033-37; CX-0060C). Dr. Vander Veen contended initially

that the value added was only       but then during the Hearing, acknowledged that the valued

added of the Brita filter and system together amounted to at best, a                 ,” but their own

expert’s testimony at the Hearing contradicts that assertion. (Tr. (Vander Veen at 1252:19-

1253:11 (opining that there is          value-add for the LongLast filters and         domestic

value add for the systems). Moreover, both Brita and Respondents’ experts agree that about

of Brita’s overall cost of goods for a LongLast filter relates to

           . (Tr. (Green) at 694:2-5; Tr. (Vander Veen) at 1299:15-20.).



                                                                                               (CBr.

at 87 (citing Tr. (Barrillon) at 434:25-435:18; id. at 437:9-13.). Brita also compared its U.S.

COGS to Global COGs and the percentage that the DI Products represent. (See generally CDX-

0010C.0001-44 and exhibits cited, and specifically CDX-0010C.0035-44.). While Dr. Vander

Veen contested that exact figure that the COGS represent that are attributable to Brita’s domestic

manufacturing, he agreed with Brita that approximately              of Brita’s overall cost of goods

for its DI Products relate to                                                    . (See CDX-

0010C.0037 (showing

                          of total cost of goods; CDX-0010C.0036 (Showing

                                           based on CPX-0060C; see also CDX-0016C.0006; Tr.

(Green) at 694:2-5 and Tr. (Vander Veen) at 1299:15-20 (agreeing that

                                                                    ).).



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       Dr. Vander Veen did not dispute that without its LongLast filters, which are assembled in

the United States, Brita would not be able to commercialize its DI Products since the LongLast+

filters also depend upon the LongLast filters. (CBr. at 74 (citing Tr. (Vander Veen at 1286:3-

20).). Moreover,                                                                      to Brita’s

filter housing and pitchers. (Tr. (Ramirez) at 625:21-626-12.).

       Dr. Vander Veen testified that it would be a better approach to assess ‘significance’ by

“compar[ing] cost to cost or revenue to revenue.” (See CBr. at 87 (citing Tr. (Vander Veen) at

1299:4-11 (discussing CDX-0016C); see also CX-0252C (                              ); Tr. (Green) at

689:18-690:12.). However, as Brita noted, even with this approach,

                                                        . (Tr. (Vander Veen) at 1295:22-

1296:2.). Moreover,

      for each LongLast system, which includes a filter and pitcher. (Id. at 1296:7-11.). Using

Dr. Vander Veen’s approach of comparing revenue to revenue shows that

                             total revenue per filter and system. (Id. at 1298:5-17.). Even if Dr.

Vander Veen’s comparison methods are adopted, they too show that there is a significant value

added to Brita’s DI Products. (CBr. at 88.).

       However, as Brita noted, notwithstanding Dr. Vander Veen’s critique of Brita’s “value

added” analysis, Dr. Vander Veen also agreed that

                              in order to have filters to sell. (CBr. at 74 (citing (Tr.) Vander

Veen at 1289:12-24.)). In sum, the significance of Brita’s expenditures in the U.S. is apparent

when compared against foreign expenditures, as reflected even in the analysis of Brita’s COGS.

See, e.g., Certain Plant-Derived Recombinant Human Serum Albumens (“rHSA”) and Prods.

Containing Same, Inv. No. 337-TA-1238, Initial Determination at 106 (April 7, 2022).



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(CDX-0010C.0031 (Green) (other exhibit citations omitted).).

       As reflected in Table No. 13 above,



                                                             . (CBr. at 79 (citing Tr. (Barrillon)

at 674:14-675:22; CX-0237C (                              ); CX-0249C; CX-0247C; CDX-

0010C.0001 (Photographs of                                     ); see also CX-0238C; CX-0240C;

CX-0245C; CX-0237C; CX-0268C; CX-0247C; CX-0249C; CX-0378C.).

       From

                                                  . (CDX-0010C.0015 (citing CX-0050C; CX-

0181C, CX-0373C; CX-0376C; CPX-0025C; CPX-0065C.). That investment is only the amount

that Brita allocated to the DI Products from total investments of            during the years

mentioned, with different allocation percentages ascribed to the DI Products for each year, i.e.,

                                                                     . (CDX-0010C.0015 (citing

CX-0050C; CX-0181C; CX-0373-0376C; CPX-0025C; CPX-0065C.).

       However, the allocation percentage that Brita used to calculate



                         square feet of the total. (Tr. (Green) at 675:24-676:3; Tr. (Ramirez) at

633:3-634:24; CPX-0059C; CX-0144C (other citations omitted).).

                                                                                       (See Tr.

(Green) at 676:9-12.). This expense was further allocated based on Mr. Ramirez’s explanation

that

                                                                               . (Id. at 676:13-


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677:5; Tr. (Ramirez) at 633:25-635:6, 635:20-636:4 (explaining the



                                                  ).). The total investment in the

                                                        . (Tr. (Green) at 677:17-20; see also

CDX-0010C.0013-15 (showing exhibit evidence pertaining to same).).

       The final investment in                    that is shown in Table No. 13 for Brita’s



                                                                                       in the

ordinary course of business. (Tr. (Green) at 680:16-681:5, 678:23-680:15; CPX-0060C; CX-

0176C (                                             ).). Again, Brita argued that a sales-based

allocation factor is also appropriate to apply here because Brita considers its

                                                               (Tr. (Ramirez) at 630:19-631:12

(noting that a

                           ); see also CPX-0063C; CX-0179C

            ; CDX-0010C.0016-19 (demonstrating evidence pertaining to same).

       F.        Brita’s Investments Under 1337(a)(3)(B): Labor and Capital

       Brita and         combined investments in labor and capital for Brita’s DI Products from

                                                                     . (See CDX-0010C.0031

(other exhibits omitted here.). Given the context of the investments as described above, Brita’s

labor and capital investments are significant. (CBr. at 80-81.).

       Brita’s investments, as reflected in Table No. 14, below, include




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(Barrillon) at 440:2-24 (explanation that

                                                                                             ; Tr.

(Green at 682:14-683:2).).

       Another category of Brita’s labor and capital investments, shown in Table 14, above, are

Brita’s R&D expenditures in labor and capital of about

                                                                        . (Tr. (Green) at 683:5-

684:22). According to Brita, these investments include Brita R&D’s expenditures in salaries and

benefits for employees on the

                                                                  (CBr. at 82 (citing Tr. (Ramirez)

at 651:1-653:17).).

       Brita’s Contact Center support is described above. The remaining categories of Brita’s

capital and labor expenditures (i.e.,



                                                (Tr. (Green) at 684:23-686:5.) They do not

duplicate Brita’s other recorded capital and labor investments as shown in Table 14. (Id.). In

sum, it is a finding that Brita’s own direct investments in labor and capital, together with those of

     , are significant.

XIV. RECOMMENDATION ON REMEDY AND BOND

       In the event of a finding of violation of Section 337, Brita has requested that the

Commission issue a limited exclusion order (“LEO”) and cease and desist orders (“CDOs”).

(CPBr. at 146-48; CBr. at 93-96.). Brita also has requested that the Commission impose a bond

of at least 100% of the entered value during the Presidential Review Period (“PRP”). (CPBr. at

148-50; CBr. at 96-99.).



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       This decision recommends: (1) Limited Exclusion Orders with a certification provision

against the PUR, ZeroWater, and LifeStraw Respondents; (2) Cease and Desist Orders against

the PUR and LifeStraw Respondents; (3) and that a 100% bond of the entered value be imposed

during the PRP on the PUR and ZeroWater Respondents; and (ii) a bond rate of $6 per unit be

imposed during the PRP on the LifeStraw Respondent.

       A.      Legal Standard

       Pursuant to Commission Rule 210.42, an ALJ must issue a recommended determination

on: (i) an appropriate remedy if the Commission finds a violation of Section 337, and (ii) an

amount, if any, of the bond to be posted. 19 C.F.R. § 210.42(a)(1)(ii). When a Section 337

violation has been found, as here, “the Commission has the authority to enter an exclusion order,

a cease and desist order, or both.” Certain Flash Memory Circuits and Prods. Containing the

Same, Inv. No. 337-TA-382, Comm’n Opinion on the Issues Under Review and on Remedy, the

Public Interest and Bonding, at 26 (June 9, 1997). The Commission has broad discretion in

selecting the form, scope, and extent of the remedy in a section 337 proceeding. Viscofan, S.A. v.

U.S. Int ’I Trade Comm’n, 787 F.2d 544, 548 (Fed. Cir. 1986).

       When a violation of Section 337 is found, the Commission may issue either a limited

exclusion order (“LEO”), directed against products manufactured by or on behalf of named

parties found in violation, or a GEO, directed against all infringing products. See 19 U.S.C.

§ 1337(d).

       Additionally, a CDO is appropriate where the evidence demonstrates the presence of

commercially significant inventory in the United States. 19 U.S.C. § 1337(f); see also Certain

Crystalline Cefadroxil Monohydrate, Inv. No. 337-TA-293, Comm’n Opinion, USITC Pub. No.

2391, 1991 WL 790061 at *30-32 (June 1991).



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        Infringing articles may enter upon the payment of a bond during the sixty-day

Presidential Review Period. 19 U.S.C. § 1337(j)(3). The bond is to be set at a level sufficient to

“offset any competitive advantage resulting from the unfair method of competition or unfair act

enjoyed by persons benefiting from the importation.” Certain Dynamic Random Access

Memories, Components Thereof and Prods. Containing Same, Inv. No. 337- TA-242, Comm’n

Opinion, 1987 WL 450856 at 37 (Sept. 21, 1987).

        B.      Limited Exclusion Orders Against the PUR, ZeroWater, and LifeStraw
                Respondents Are Warranted

        This decision finds a violation of Section 337 based on infringement of the ’141 patent by

the PUR, ZeroWater, and LifeStraw Respondents. Therefore, the issuance of LEOs against these

Respondents are warranted. See 19 U.S.C. § 1337(d) (“If the Commission determines, as a result

of an investigation under this section, that there is a violation of this section, it shall direct that

the articles concerned, imported by any person violating the provision of this section, be

excluded from entry into the United States . . . .”).

        ZeroWater argued that any limited exclusion order the Commission issues should name

Zero Technologies LLC (“Zero Technologies”) only and not Culligan International Co.

(“Culligan”). (RRBr. at 28.). However, a Culligan employee, Mr. Judd Larned, confirmed that

Zero Technologies is a business unit under Culligan and 100% owned by Culligan. 93 (See CX-

0693C (Larned Dep. Tr.) at 15:21-22, 16:14-16.). “[I]t is not Commission practice to insulate

parent companies from the unfair importation, sale for importation, or sale after importation acts

of their subsidiaries or affiliates.” Certain Access Control Systems and Components Thereof,




93
  At the time of his deposition on May 6, 2022, Mr. Judd Larned was employed by Culligan
International. (CX-0693C (Larned Dep. Tr.) at 10:6-7.). He was the President of Culligan Water, a
business unit of Culligan International. (CX-0693C (Larned Dep. Tr.) at 10:8-15.).


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Inv. No. 337-TA-1016, Final ID at 24 (Oct. 23, 2017), unreviewed in pertinent part by 83 Fed.

Reg. 13517-19 (Mar. 29, 2018) (finding that each Respondent satisfied the importation

requirement and noting that if parent companies were insulated from the unfair importation “it

would be incredibly easy to circumvent limited exclusion orders”); see also Certain Air Mattress

Systems, Components Thereof, and Methods of Using the Same, Inv. No. 337-TA-971, Comm’n

Op. at 66 (June 20, 2017) (“the Commission has determined to issue an LEO prohibiting the

unlicensed entry of infringing air mattress systems, components thereof, and methods of using

the same . . . that are manufactured abroad by or on behalf of, or imported by or on behalf of

Respondents, or their affiliated companies, parents, subsidiaries, or other related business

entities, or their successor or assigns.”).

        Neither Respondents nor their experts argued for any exception or carve-out to a limited

exclusion order. (See Tr. (Vander Veen) at 1269:9-13 (“Q. You’ve not opined any carve outs to

a limited exclusion order are appropriate in this investigation, correct? A. I have not done an

analysis based on the scope of an exclusion order.”).).

        This decision also recommends including a certification provision. The Commission now

generally includes a certification provision in every exclusion order because it is something that

“CBP typically requests.” Certain Road Construction Machines & Components Thereof, Inv.

No. 337-TA-1088, Comm’n Op., 2019 WL 6003332, at *27 (July 15, 2019); Certain Composite

Aerogel Insulation Materials and Methods for Manufacturing the Same, Inv. No. 337-1003,

Comm’n Op., at 62 (Feb. 22, 2018) (explaining that “the Commission’s standard practice for the

past several years [is] to include certification provisions in exclusion orders to aid CBP”). The

Commission’s typical certification provision gives CBP discretion to require “persons seeking to

import covered articles that are potentially subject to [the] Order” to “certify that they are



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                       &21),'(17,$/0$7(5,$/20,77('
familiar with the terms of [the] Order, that they have made appropriate inquiry, and thereupon

state that, to the best of their knowledge and belief, the products being imported are not excluded

from entry” under the order. See e.g., Certain High-Density Fiber Optic Equipment and

Components Thereof, Inv. No. 337-TA-1194, General Exclusion Order, at 3-4 (Aug. 3, 2021).

        C.      Cease and Desist Orders Against the PUR and LifeStraw Respondents Are
                Warranted

        Brita’s expert, Mr. Philip Green, testified that the PUR, LifeStraw, and ZeroWater

Respondents maintain commercially significant inventories of the Accused Products in the

United States. 94 (Tr. (Green) at 709:12-710:1, 711:16-22; CDX-0010C.0046-48 (citing evidence

pertaining to same).

        Testimonial and documentary evidence reflect that PUR maintains a commercially

significant inventory of the Accused PUR Plus Products in the United States. As of April 22,

2022, PUR maintained an inventory of approximately                        of Accused PUR Plus

Products with an inventory value of approximately                     (Tr. (Green) at 710:2-11; CX-

0414C (Green Ex. Q-5 showing PUR inventory); CX-0492C (PUR inventory). According to

PUR sales information, Mr. Green also determined that this inventory level amounted to

approximately               of sales. (Tr. (Green) at 710:12-17; CX-0409C – CX-0411C (Green

Exs. Q, Q-1, and Q-2 reviewing inventory and sales); CX-0494C (PUR sales); CDX-0010C.0048

(demonstrating evidence pertaining to same).).

        The record evidence also reflects that LifeStraw maintained a commercially significant

inventory                                         of Accused LifeStraw Home Products worth




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  When he testified on August 19, 2022, Mr. Philip Green was the founder and Principal of Hoffman
Alvary Company LLC. (CPSt. at Att. D.). Brita identified Mr. Green as an expert to testify about, inter
alia, the “appropriate remedy.” (Id. at 3.).


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approximately              . (Tr. (Green) at 710:18-22; CX-0413C (Green Ex. Q-4 showing

LifeStraw inventory); CX-0313C (LifeStraw inventory).). According to LifeStraw’s sales

information, Mr. Green determined that this inventory amounts to approximately                   of

sales. (Tr. (Green) at 710:22-25; CX-0317C (LifeStraw sales); CX-0409C – CX-0411C (Green

Exs. Q, Q-1, Q-2 reviewing inventory and sales); CDX-0010C.0048 (demonstrating evidence

pertaining to same).).

       PUR and LifeStraw did not dispute that a CDO is appropriate. (See RPBr. at 143-45.).

Thus, PUR and LifeStraw have abandoned, waived or withdrawn any argument on this issue

under Ground Rule 7.2. Therefore, a CDOs against PUR and LifeStraw are appropriate.

       With regard to ZeroWater, Brita failed to prove that a CDO is warranted. Mr. Green

concluded that ZeroWater’s inventory is commercially significant, but his analysis appears to be

mistaken, and thus not persuasive or credible. During the Hearing, Mr. Green provided the

following testimony:

       Q. What about the ZeroWater Respondents accused products?

       A. So the ZeroWater Respondents accused products, they had -- it’s sort of an
       unusual circumstance. The value of the inventory is about               but the
       units don’t make a lot of sense considering the value of the inventory.

       So I can see that they have a significant inventory value in dollar terms, but I didn’t
       have anything to sort of evaluate that in terms of real -- what those really mean.
       And I also didn’t have any sales information from them.

(Tr. (Green) at 711:1-11 (emphasis added).).

       As Respondents pointed out, ZeroWater’s                  valued at               means that

each unit would have a value of nearly          . (RRBr. at 29.). Brita’s own analysis values each

unit at around    . (Tr. (Green) at 714:3-12 referencing CDX-0010C.0050.). In view of Brita’s

calculated value of each unit and the acknowledgement by Brita’s own expert that the




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        value given the number of units “don’t make a lot of sense,” Brita has not met its burden

of proof to demonstrate that ZeroWater has significant inventory in the United States. Thus, a

CDO against Respondent ZeroWater is not appropriate.

       D.      Bond During the Presidential Review Period Is Warranted

       Brita requested a recommendation that the Commission impose a bond during the PRP of

100% of the entered value of the products at issue. (CPBr. at 149; CBr. at 97-98.). For the

reasons discussed below, the value of the bond entered during the PRP should be set at: (i) 100%

for PUR and ZeroWater; and (ii) $6 per unit based on the filter price differential for LifeStraw.

       The Commission frequently sets the bond based on the difference in sales prices between

the patented domestic product and the infringing product. See, e.g., Certain Microsphere

Adhesives, Process for Making Same, and Prods. Containing Same, Including Self-Stick

Repositionable Notes, Inv. No. 337-TA-366, USITC Pub. No. 3949, Comm’n Opinion at 24 (Jan.

1996). In other instances, when a direct comparison between a patentee’s product and the

accused product is not possible, the Commission has set the bond at a reasonable royalty rate.

See, e.g., Certain Integrated Circuit Telecommunication Chips and Prods. Containing Same,

Including Dialing Apparatus, Inv. No. 337-TA-337, Comm. Opinion at 41-43 (Aug. 3, 1993).

Commission precedent allows for a 100 percent bond when it is not practical or possible to set

the bond based on price differential. Certain Voltage Regulators, Components Thereof and

Prods. Containing Same, Inv. No. 337-TA-564, Comm’n Opinion at 79 (Public Version Oct. 19,

2007). The purpose of the bond is to protect the complainant from any injury. 19 U.S.C.

§ 1337(j)(3); 19 C.F.R. §§ 210.42(a)(1)(ii), 210.50(a)(3).

       Complainants bear the burden of establishing the need for a bond, including the amount

of bond. See, e.g., Certain Rubber Antidegradants, Components Thereof & Prods. Containing



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Same, USITC Pub. No. 3975, Inv. No. 337-TA-533, Comm’n Opinion at 40 (April 2008);

Certain Coenzyme Q10 Prods. and Methods of Making Same, Inv. No. 337-TA-790, Initial and

Recommended Determination (Sept. 27, 2012) (recommending Commission not impose a bond

because complainant failed in its burden to demonstrate the appropriate bond amount); Certain

Mobile Telephones and Wireless Commc’n Devices Featuring Digital Cameras, and

Components Thereof, Inv. No. 337-TA-703, Recommended Determination (Jan. 24, 2011)

(recommending no bond because complainant did not meet its burden in providing evidence on

the necessity of a bond); Certain Liquid Crystal Display Devices and Prods. Containing the

Same, Inv. No. 337-TA-631, Comm’n Opinion at 27-28 (July 14, 2009) (setting zero bond

because complainant “simply claimed that it was impossible to conduct a price differential

analysis” and “should not benefit from a lack of any effort to identify” relevant pricing

information, particularly that which is in its possession).

       Mr. Green testified that Respondents’ Accused Products compete with the DI Products in

the U.S. market. (Tr. (Green) at 712:15-23, 715:15-22 (explaining that the parties compete

because “when Brita loses a sale of a container to one of the Respondents, it’s also losing future

sales of filters”).). The bond should be sufficient to protect Brita from any injury caused by the

continued importation and presence in the market of high-performance gravity-fed water filters

and products containing the same that infringe the asserted claims of the ’141 patent during the

PRP. Thus, a bond of zero percent would not be appropriate because it would not protect Brita

from harm caused by lost DI Product sales. (Id. at 715:15-22.).

       To the extent a bond equal to 100% of entered value is not awarded, Mr. Green

determined that a price differential may be appropriate at least with respect to LifeStraw. For the

price differential analysis for LifeStraw, Mr. Green compared LifeStraw’s average price to retail



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for the Accused LifeStraw Products, including filters and containers, with Brita’s average price

to retail for the DI Products. (Id. at 713:8-714:2.). He found that a price differential of

approximately $6 per unit exists with respect to the Accused LifeStraw Products. (Id.; see also

CX-0420C (Green Ex. R summarizing price differentials); CX-0422C (Green Ex. R-2 showing

Brita price to retail); CX-0423C (Green Ex. R-3 showing LifeStraw price to retail); CX-0191C

(Brita price list); CX-0318C (LifeStraw sales); CDX-0010C.0050 (demonstrating evidence

pertaining to same).). Because LifeStraw did not provide any rebuttal argument in Respondents’

Pre-Hearing or Post-Hearing Reply Brief, LifeStraw has abandoned, waived or withdrawn any

argument on this issue under Ground Rules 7.2 and 10.1. (See RPBr. at 143-45; RRBr. at 28-

30.).

        For the foregoing reasons, a bond rate based on the $6 filter price differential is

appropriate for LifeStraw.

        With regard to PUR and ZeroWater, Mr. Green explained that he considered the Accused

PUR Plus and ZeroWater Products’ prices at retail based on the evidence of record. (Tr. (Green)

at 713:8-714:14).). He

                                                                          . (Id.). However, Mr.

Green explained that because he did not have information to compare their pricing to retail, he

concluded that a price differential was not a reliable indication of the amount of bond that would

be appropriate. (Id. at 714:3-12; CX-0420C (Green Ex. R summarizing price differentials); CX-

0421C (Green Ex. R-1 showing Brita price at retail); CX-0424C (Green Ex. R-4 showing PUR

price at retail); CX-0429C (Green Ex. R-9 showing ZeroWater price at retail); CX-0191C (Brita

price list); CX-0461C (PUR sales); CDX-0010C.0050 (demonstrating evidence pertaining to

same). Accordingly, a bond equal to 100% of entered value is appropriate with respect to the



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Accused PUR Plus and ZeroWater Products. (Tr. (Green) at 712:6-14; CDX-0010C.0049

(demonstrating evidence pertaining to same).).

       Dr. Vander Veen, ZeroWater’s economic expert, opined that a zero percent bond was

appropriate because the DI Products have a lower price-per-gallon than the Accused ZeroWater

Products. (Tr. (Vander Veen) at 1264:21-1267:1.). However, his analysis in this context is

irrelevant. Dr. Vander Veen agreed that a price-per-gallon comparison only shows consumers

how to save money per gallon. (Tr. (Vander Veen) at 1279:4-10; CDX-0016C.0002 (Vander

Veen cross demonstrative pertaining to same).). Dr. Vander Veen did not provide a direct retail

or consumer price comparison. As Mr. Green explained, Dr. Vander Veen’s approach based on

a price-per-gallon does not protect Brita from injury flowing from infringing imports during the

PRP. (Tr. (Green) at 715:1-14 (explaining that “price differential based on cost savings to a

consumer . . . doesn’t make any sense” and “[h]ow much water somebody drinks is not the

measure of a bond”).). Thus, Dr. Vander Veen’s opinion has been given little, if any, weight.

       Respondents argued that Brita failed to produce evidence of a bond that would be

necessary to protect Brita from harm due to the continued importation of the Accused PUR Plus

Products during the PRP. (RRBr. at 28.). Respondents claimed that there is no harm to Brita

through the importation and sale of PUR filters because “PUR replacement filters cannot be used

on Brita pitchers and vice versa.” (Id.). According to Respondents, “[s]ales of Brita filters are

not impacted by the existence of replacement PUR filters as PUR filters cannot be used in Brita

pitchers. Thus, Brita’s consumers are not choosing PUR filters over Brita filters when it comes

to replacements.” (Id.). Respondents’ assertions are not persuasive. As Mr. Green explained,

when Brita loses a sale of a LongLast container to PUR, Brita also loses future LongLast filter

sales. (Tr. (Green) at 715:15-22.). In other words, for example, the market competition is for



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replacement of a Brita water pitcher and filter in combination if a PUR water pitcher and filter is

withdrawn from the marketplace because of PUR’s violation of Section 337 and any LEOs that

may issue. Therefore, a bond of zero percent would not be appropriate because it would not

protect Brita from harm caused by lost DI Product sales.

        For the reasons discussed above, a bond rate of 100% of the entered value of their

products at issue is appropriate for PUR and ZeroWater.

XV.     WAIVER OR WITHDRAWAL OF RESPONDENTS’ DEFENSES

        Respondents did not raise in its Pre-Hearing Brief or offer any evidence during the

Hearing to support:

        (1) PUR Respondents’ Fourth Affirmative Defense (unenforceability), Fifth Affirmative

Defense (prosecution history estoppel), Sixth Affirmative Defense (ensnarement), Seventh

Affirmative Defense (waiver), and Ninth Affirmative Defense (license and exhaustion). (Doc.

ID No. 763740 (PUR Resp.) (Feb. 22, 2022) at 32-33.).

        (2) ZeroWater Respondents’ Third Affirmative Defense (unenforceability), Sixth

Affirmative Defense (Relief Not in Public Interest). (Doc. ID No. 763725 (Feb. 22, 2022) at 25-

27.).

        (3) LifeStraw Respondent’s Third Affirmative Defense (estoppel, acquiescence, laches

and waiver), Fifth Affirmative Defense (public interest), Sixth Affirmative Defense (prosecution

history estoppel), Seventh Affirmative Defense (inventorship), Ninth Affirmative Defense (lack

of unfair acts). (Doc. ID No. 763712 (LifeStraw Respondent) (Feb. 22, 2022) at 23-25.).

        Respondents’ Pre-Hearing Brief argued the Affirmative Defenses of standing,

unenforceability, equitable estoppel and improper inventorship. (RPBr. at 133-43.).

Respondents did not adduce at trial, nor did they include in their Post-Hearing briefing, evidence



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to support their Affirmative Defenses of unenforceability, equitable estoppel and improper

inventorship. (Doc ID No. 783521 (Joint Outline of Issues) (Nov. 1, 2022) at 5-6; RBr. at 116-

21.).

        Consequently, other than the Affirmative Defense of standing, it is a finding of this

decision that PUR Respondents, ZeroWater Respondents, and LifeStraw Respondents have

withdrawn, waived and/or abandoned their Affirmative Defenses consistent with Ground Rules

7.2 and 10.1. Kinik Co. v. Int’l Trade Comm’n, 362 F.3d 1359, 1367 (Fed. Cir. 2004).

XVI. CONCLUSIONS OF FACT OR LAW: THIS INITIAL DETERMINATION FINDS
     A SECTION 337 VIOLATION BASED UPON INFRINGEMENT OF U.S.
     PATENT NO. 8,167,141

        1.     Brita has satisfied jurisdiction and standing requirements.

        2.     Importation has been satisfied.

        3.     Claims 1-6 and 23 of U.S. Patent No. 8,167,141 are valid and have been found to
               be practiced by the Accused Products.

        4.     At least one of Brita’s DI Products practices one or more claims of U.S. Patent
               No. 8,167,141.

        5.     Brita’s domestic R&D activities with respect to its DI Products have been found
               to satisfy the economic prong of the domestic industry requirement under 19
               U.S.C. § 337(a)(3)(A) and (B).

        6.     PUR, ZeroWater, and LifeStraw Respondents have violated Section 337 of the
               Tariff Act of 1930, as amended, by importing into the United States, selling for
               importation, or selling within the United States after importation certain gravity-
               fed water filters that infringe claims 1-6 and 23 of U.S. Patent No. 8,167,141.

        7.     Limited Exclusion Orders against the PUR, ZeroWater and LifeStraw
               Respondents; Cease and Desist Orders against the PUR and LifeStraw
               Respondents; a 100% Bond of the entered value of the Accused Products against
               PUR and ZeroWater Respondents during the Presidential Review Period; and a $6
               per unit bond rate against the LifeStraw Respondent during the Presidential
               Review Period are recommended.

        The lack of discussion of any matter raised by the Parties, or any portion of the record,

does not indicate that it has not been considered. Rather, any such matter(s) or portion(s) of the


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record has/have been determined to be irrelevant, immaterial or meritless. Arguments made on

briefs, which were otherwise unsupported by record evidence or legal precedent, have been

accorded no weight.

XVII. CONCLUSION AND ORDER

       This Initial Determination on Violation of Section 337 of the Tariff Act of 1930 is

certified to the Commission. All orders and documents, filed with the Secretary, including the

exhibit lists enumerating the exhibits received into evidence in this Investigation, that are part of

the record, as defined in 19 C.F.R. § 210.38(a), are not certified, since they are already in the

Commission’s possession in accordance with Commission Rules. See 19 C.F.R. § 210.38(a). In

accordance with 19 C.F.R. § 210.39(c), all material found to be confidential under 19 C.F.R.

§ 210.5 is to be given in camera treatment.

       After the Parties have provided proposed redactions of confidential business information

(“CBI”) that have been evaluated and accepted, the Secretary shall serve a public version of this

ID upon all parties of record. The Secretary shall serve a confidential version upon counsel who

are signatories to the Protective Order (Order No. 1) issued in this Investigation.

       Pursuant to 19 C.F.R. § 210.42(h), this Initial Determination shall become the

determination of the Commission unless a party files a petition for review pursuant to 19 C.F.R.

§ 210.43(a) or the Commission, pursuant to 19 C.F.R. § 210.44, orders on its own motion a

review of the Initial Determination or certain issues therein.

       Within fourteen (14) business days of the date of this document, the Parties shall jointly

submit to the Office of the Administrative Law Judges through McNamara337@usitc.gov a

statement whether they seek to have any confidential portion of this document. That is the

courtesy copy pursuant to Ground Rule 1.3.2. Any party seeking redactions to the public version



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must submit to this office through McNamara337@usitc.gov a copy of a proposed public version

of this document pursuant to Ground Rule 1.10 with colored highlighting clearly indicating any

portion asserted to contain confidential business information. The Parties’ submission shall also

include an index identifying the pages of this document where proposed redactions are located.

The Parties’ submission concerning the public version of this document need not be filed with

the Commission Secretary.

SO ORDERED.




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Certain High-Performance Gravity-Fed Water Filters and Products Containing the Same;
                                                                                                            337-1294 Violation
Inv. No. 337-TA-1294 (Violation)


                                                CERTIFICATE OF SERVICE




        I, Lisa R. Barton, hereby certify that the parties listed have entered an appearance in the above captioned
        investigation, and a copy of the PUBLIC CERTIFICATE OF SERVICE was served upon the following parties
        via first class mail and air mail where necessary.



        Document     Security           Document Type Official Rec'd Date        Title
        804714       Public             Opinion,         09/22/2023 01:11 PM     Commission Opinion
                                        Commission




        Service Date:         September 22, 2023




                                                                                           /s/
                                                                          Lisa R. Barton
                                                                          U.S. International Trade Commission
                                                                          500 E Street, S.W.
                                                                          Suite 112
                                                                          Washington, D.C. 20436




Service Date:      September 22, 2023                    Appx37       PDF Generated on:         September 22, 2023
                         Case: 24-1098      Document: 49-1       Page: 384         Filed: 08/02/2024
Certain High-Performance Gravity-Fed Water Filters and Products Containing the Same;                     337-1294 Violation
Inv. No. 337-TA-1294 (Violation)

                                                CERTIFICATE OF SERVICE




On behalf of Complainant Brita LP:                            On behalf of Respondent Vestergaard Frandsen Inc.:

Paul A. Ainsworth, Lead Representative                        Jeffrey R. Gargano, Lead Representative
Sterne, Kessler, Goldstein & Fox                              K&L Gates LLP
1101 K Street, NW 10th Floor                                  70 W. Madison St., Suite 3100
Washington, District of Columbia 20005, United States         Chicago, Illinois 60602, United States
2023712600 -- voice                                           13123721121 -- voice
202-371-2540 -- fax                                           312-827-8000 -- fax
painsworth@skgf.com                                           jeffrey.gargano@klgates.com
Electronic Service                                            Electronic Service

On behalf of Respondent Helen of Troy Limited;Kaz USA:


Adam D. Swain, Lead Representative
Alston & Bird LLP
950 F St. NW
Washington, District of Columbia 20004, United States
202-239-3622 -- voice
adam.swain@alston.com
Electronic Service

On behalf of Respondent Culligan International Co.;Zero
Technologies, LLC:

Jared Brandyberry, Lead Representative
Baker and Hostetler
1801 California St.
Suite 4400
Denver, Colorado 80212, United States
3037644072 -- voice
202-861-1783 -- fax
jbrandyberry@bakerlaw.com
Electronic Service




Service Date:         September 22, 2023                  Appx37     PDF Generated on:         September 22, 2023
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                                                                                              US008167141B2


c12) United States Patent                                                  (10) Patent No.:                US 8,167,141 B2
       Knipmeyer et al.                                                    (45) Date of Patent:                         May 1, 2012


(54)   GRAVITYFLOWFILTER                                              (56)                     References Cited

(75)   Inventors: Elizabeth L. Knipmeyer, Pleasanton,                                   U.S. PATENT DOCUMENTS
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(73)   Assignee: Brita LP, Oakland, CA (US)                                           FOREIGN PATENT DOCUMENTS
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( *) Notice:       Subject to any disclaimer, the term of this                                    (Continued)
                   patent is extended or adjusted under 35
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(22)   Filed:      Sep.9,2008                                                                     (Continued)

(65)                  Prior Publication Data                          Primary Examiner - Nam Nguyen
                                                                      Assistant Examiner - Madeline Gonzalez
       US 2009/0001011 Al           Jan. 1,2009                       (74) Attorney, Agent, or Firm - Stacy H. Combs
                Related U.S. Application Data                         (57)                      ABSTRACT
(63)   Continuation-in-part of application No. 11/858,765,            A gravity-fed carbon block water filter in one embodiment
       filed on Sep. 20, 2007, and a continuation-in-part of          includes a filter block comprising multiple sub-blocks each
       application No. 11/927,372, filed on Oct. 29, 2007,            comprising filter media walls surrounding and defining a
       which is a continuation-in-part of application No.             cavity for receiving fluid. Each of the sub-blocks is connected
       10/881,517, filed on Jun. 30, 2004, now abandoned.             to at least one otherof the sub-blocks by filter media of which
                                                                      the filter block is made. In one approach, the filter media
(60)   Provisional application No. 60/846,162, filed on Sep.          includes about 20-90 wt% activated carbon, and about 5-50
       20, 2006.                                                      wt % binder. In another approach, a lead concentration in a
                                                                      final liter of effluent water filtered by the filter is less than
(51) Int. CI.                                                         about 10 µg,'liter after about 151 liters (40 gallons) of source
     B0JD 27102               (2006.01)                               water filtration, the source water having a pH of 8.5 and
     B0JD 39102               (2006.01)                               containing 135-165 ppb total lead with 30-60 ppb being col-
     BOID 24/00               (2006.01)                               loidal lead greater than 0.1 µm in diameter. A gravity-fed
(52) U.S. CI. ........ 210/464; 210/266; 210/282; 210/486;            water filter in other embodiments has no specified shape but
                                        210/502.1; 210/283            achieves a FRAP factor of about 350 or less.
(58) Field of Classification Search ........................ None
     See application file for complete search history.                                  24 Claims, 27 Drawing Sheets

                                                                           1C




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                                                                        Page2


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                                                                    Appx379
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                                  Appx380
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                                  FIG.2




                                  Appx381
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                                  FIG. 3




                                  Appx382
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                                                                 16




                                                                    19


                          FIG_ 4




                                  Appx383
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                  w'                                      w'
                         18a          21a
                                     FIG. 5




                                     Appx384
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        ~                 17b                          32          17b



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                                     FIG. 6




                                     Appx385
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                                  FIG. 7




                                   Appx386
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                                                                    36




 18b




                             FIG. 8




                                  Appx387
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                                                                  FIG. 9




                                                                       Appx388
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                                          108'
                                              FIG. 1OF




          FIG. 1OB




    114
                             112



          FIG. 1OE

                                                    FIG. 1OA



                                   Appx389
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                                                                 FIG. 10H


                                                Appx390
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              FIG. 101


                              100'




                                               FIG. 1OJ


                                  Appx391
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           FIG. 1OK




     FIG. 1OM


                            Appx392
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                       --+11F                                       FIG. 11 F
            FIG. 1 1D
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             FIG. 11 B                                      FIG. 11 C
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                                                  203
    201

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    220


             FIG. 11 E

                                                                     FIG. 11 A


                                                        Appx393
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      soo,                                                ~-r---313
              c____..,.•~

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    -t-
    128                           128                           303
                                        301


            FIG. 12C                      323
                                                FIG. 12A




                                  301




            FIG. 128                    FIG. 12F

    100,. ·.·.•
      301
                             303
                             323




            FIG. 12D
                                                   FIG. 12E


                                   Appx394
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                                                                        414

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  400         FIG. 13C

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                                               421      • L___,....
                                                         FIG. 13A
                                                                    424

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                FIG. 138




                                                        FIG. 13E
                FIG. 13D




                                         Appx395
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                                              FIG. 14E
              FIG. 14C                          (PRIOR ART)
               (PRIOR ART)
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              FIG. 14A                        FIG. 148
               (PRIOR ART)                       (PRIOR ART)




              FIG. 14D
               (PRIOR ART)




                                  Appx396
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                ---r1s£                    600,




                .....+,sr                              FIG. 15E
           FIG. 15C                                       (PRIOR ART)
              (PRIOR ART)

    600"
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           FIG. 158
              (PRIOR ART)
    600,

                                                       FIG. 15A
                                                          (PRIOR ART)




          FIG. 15D
              (PRIOR ART)




                                           Appx397
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                                                                                   FIG. 16E


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                 FIG. 168




                                                                                   FIG. 16D



                                                              Appx398
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                                                                                                              US 8,167,141 B2
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                                                                                            FIG. 17B
                            FIG. 17A
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                     911




                                                       FIG. 17C                            FIG. 170




                                                                                Appx399
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                                            FIG. 188


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              FIG. 19C                          "-~


                                  Appx401
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              FIG. 20A




                                              FIG. 208


                                  Appx402
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    \            FRAP Factor as a function of Filtration Unit Time
                               and Filter Volume
                800
                700                                                    •• .. ,FRAP lirnit
                                                                       _..,_1oovoIume
          s'" 600
          t.) 500                                                      ---150 volume
          tO
         u. 400                                                        -+-200volume
         0..
         <(     300
         a:
         i1..   200
                100
                  Q
                      0      5          10       15        20
                           Filtration Unit Time {minJliter)

                                  FIG. 21

  2200

   \              FRAP Factor as a Funtion of FiltratiQn Unit Tim• •nd Lc,ad
                                   Reduction Performance

                800                                                ,. .. - • FRAP limit


         -
         ~nl 500
         I.I.
                700
                600
                                                                  ._..,_ 5 wh el!iuont Pb
                                                                  -e-10 ppb effluent.Pb
                                                                  -+-15 ppb effluent Pb
         0..
                400
         <
         0:::
              300
         u. 200
                100
                  0
                      0      5        10         15        20
                          Filtration Unit Time (min.lliter)

                                  FIG. 22




                                             Appx403
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  2300

   \           FRAP Factor as a Function of Filtration Unit
                       Time and Filter Lifetime
            800 ______________...,,...,
                                                                • ~ ~ . FRAP limit
            700
                                                               •-41r-40 gallon lifetime
         £ 600                                                  .,....._20 gallon ilfetime
          ~· 500
         u. 400                                                 -+-so gallon !ifetirne
         Cl.
         <C 300
         a:
         LL. 200
             100
              0-------------___...
                   0       5         10       15        20
                       Filtration Unit Volume (min./titer)


                                FIG. 23




                                      Appx404
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                                                     2400

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                                             2402


                                             2404




                      FIG. 24
                                                     2500

                                                     )


                                                2504




                      FIG. 25

                                  Appx405
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                                      Filter FRAP Ratings

          800 - - - - - - - - - - - - - - -....... - - - - - - - - - - . 1
                                                                     ! • • • • FRAP limit
          700-
          600.                                                          ♦          GUP-,Shaped


     i                           •                                      A          current candle


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          200
          100 ..
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                                                                                   german maxtra
                                                                                   Pl:IR 2staQe: with
                                                                                   timer
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            0 ---••:~..,-- - - - - - - - - - - - -
                                                                        •          cylindrical
                                                                         ~.,       multiple-core
              0         5      10     15     20
                        Filtration Unit Time (mlnJHfer)




   2700                                       Fig. 26

    \
                                          Filter FRAP Rctting

          800 ·'--~~--~~~~~~~~~- ~ - - - - - - - ~
                                 - • • • FRAP limit
                                                                                                        j
                                                                         ♦         cup:shaped           'j
          500                                                           A          current candle       !
          400 • •.............  lit.. . . . .. . . ... .. . .... .                                   j
                   ~. -- •.• - - - ~ * -- ~ # . • • • • . . • w                    g~rroan rnaxtn,   :
          300                                                                                       !
          200-·     ~                                                              PlJR 2 staoe With!
                                                                                   timer             i
          1~-- .w*. . .                                                            cylindric~!       j

                   0        20        40       60               1                  m1,1ltiple0 core     ,
                                                                                                        1.



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                       Effluent Pb Concentration (ppb)




                                              Fig. 27



                                              Appx406
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                                                       US 8,167,141 B2
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                GRAVITY FLOW FILTER                                  tives such as lead sorbent, have been commercially available
                                                                     for many years. The raw materials are extruded or com-
                  RELATED APPLICATIONS                               pressed into molds to form hollow, cylindrical or "tubular"
                                                                     blocks. Examples of conventional carbon blocks are given in
    This application is a continuation-in-part of application        Heskett U.S. Pat. No. 3,538,020, Degen U.S. Pat. Nos. 4,664,
Ser. No. 11/858,765, filed Sep. 20, 2007, which claims the           683 and 4,665,050, "Amway" U.S. Pat. No. 4,753,728, and
benefit of Provisional Patent Application No. 60/846,162,            Koslow U.S. Pat. Nos. 5,019,311 and 5,147,722 and 5,189,
filed Sep. 20, 2006. This application is continuation-in-part of     092.
application Ser. No. 11/927,372, filed Oct. 29, 2007, which is           The fluid-flow path through these hollow, cylindrical acti-
a continuation-in-part of application Ser. No. 10/881,517, 10 vated carbon blocks is generally radial. In out-side-in flow
filed Jun. 30, 2004 now abandoned.                                   schemes, housing structure and internals distribute water to
                                                                     the outer cylindrical surface of the block, and the water flows
                 FIELD OF THE INVENTION                              radially through the inner, cylindrical wall to the hollow axial
                                                                     space at the center axis of the block. From the hollow axial
    The present invention relates to gravity flow filtration sys- 15 space or perforated tube therein, the filtered water flows out of
tems, and more particularly, this invention relates to carbon        the filter at either at the bottom end or the top end of the filter,
block and granular filters having rapid flow rates and excel-        depending upon how the internals and ports have been
lent filtration performance.                                         designed.
                                                                         These tubular filters have a single outside diameter "OD"
            BACKGROUND OF THE INVENTION                           20 (the outer cylindrical wall) and a single inside diameter "ID"
                                                                     (the inner cylindrical wall), with the two diameters defining a
    The use of home water treatment systems to treat tap water       wall thickness. The cylindrical volume, minus the hollow
continues to grow dramatically in the U.S. and abroad, in part       space volume, defines the volume of filtering media. These
because of heightened public awareness of the health con-            tubular shapes have end surfaces opposing each other axially.
cerns associated with the consumption of untreated tap water. 25 These end surfaces are typically sealed to end caps to cause
    Several different methods are known for filtration of water,     fluid to flow in a radial direction rather than around the end
and various devices and apparatus have been designed and are         surfaces of the block. The ID, OD, and axial length define the
commercially available. These methods and devices vary               surface areas, volume, and mass of the tubular-shaped acti-
depending on whether the application is for industrial use or        vated carbon block. Activated carbon blocks can be varied in
for household use.                                                30 outside diameter, inside diameter, and length in order to
    Water treatment for household use is typically directed to       achieve a specified volume and surface area of media.
providing safer drinking water. The methods and devices                  The materials used to make radial-flow activated carbon
typically used in households for water treatment can be clas-        blocks, as shown in the above-referenced patents and as dis-
sified into two basic types. One type is a pressurized system,       cussed above, are typically carbon particles ranging from
such as a faucet mount system, and typically uses a porous 35 12x30 US mesh to 80x325 US mesh (Koslow states 0.1 to
carbon block as part of the filtration system. The other type is     3,000 micrometers) and thermoplastic or thermo-set binders
a low pressure system, such as a pour-through pitcher system,        that are common to the art and disclosed in the referenced
and typically uses activated carbon granules as part of the          patents. Other materials can be blended with the carbon par-
filtration system.                                                   ticles and binder particles such as lead-reducing sorbents.
    Filtration of water in a pressurized system has the advan- 40        Particle size, wall thickness, surface area, and compression
tage of the pressure to drive the filtration through the carbon      can all be adjusted separately to achieve a desired pressure
block and therefore does not usually face problems of achiev-        drop through a filter. Use of smaller carbon particles,
ing desired flow rate while maintaining effective filtration of      increased compression, or thicker walls will generally
contaminants. However, when carbon blocks designed for               increase pressure drop and increase contaminant removal.
pressurized systems are applied to gravity fed systems, they 45 Use of larger carbon particles, less compression, or thinner
fail to produce the desired flow rates consistently over time.       walls will generally decrease pressure drop and decrease
    Filtration of water in a low pressure system faces the chal-     contaminant removal. Larger diameters (OD and ID) for
lenge of undesirable contaminants while maintaining a                cylindrical blocks will decrease pressure drop by increasing
desired high flow rate. However, when carbon blocks                  surface area available to the fluid. A large OD carbon block
designed for pressurized systems are applied to gravity flow 50 with a small ID will have more pressure drop than the same
systems, they fail to produce the desired flow rates consis-         carbon block with a larger inside ID, as the length of the fluid
tently over time.                                                    path through the block is longer.
    Gravity flow filtration systems are well known in the art.       Corrugated Filter Sheets for Air Filtration
Such systems include pour-through carafes, water coolers                 Clapham, in U.S. Pat. No. 3,721,072, produces a low-
and refrigerator water tanks, which have been developed by 55 pressure air filter by providing a monolithic extended surface
The Clorox Company (BRITA®), Culligan™, Rubber-                      filter sheet, in the form of a wave pattern. Each wave of the
maid™ and Glacier Pure™.                                             extended surface consists of a peak and a trough extending
    Typically, these systems are filled with tap water from          along the entire length of the filter body to the outside bound-
municipal supplies or rural wells, as the user wishes to             ary of the filter. ('072 FIG. 1). Clapham's wave forms are
remove chlorine and/or lead or other contaminants, or to 60 much smaller than the overall dimensions of the filter body,
generally improve the taste and odor of the water. These             for example, thirteen waves in a single filter body, and the
devices continue to be very popular, especially in view of the       filter body is substantially wider and longer than it is thick, for
emphasis on healthy drinking water and in view of the                example, typically more than 10 times as long (or at least
expense and inconvenience of purchasing bottled water.               more than 5 times as long) and also more than 10 times as
Prior Filter Blocks                                               65 wide (or at least more than 5 times as wide) as the thickness of
    Filter blocks for water filtration comprising granular acti-     the filter body. Therefore, the filter body may be considered a
vated carbon (GAC) and binder, with or without various addi-         corrugated filter sheet or plate. Clapham' s sheet-like or plate-




                                                             Appx407
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                                                        US 8,167,141 B2
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like filter body may be placed in a frame, extending around            together, large voids can form between the granules. As water
the periphery of the filter body, made of"metal, glass, wood,          passes through the packed filter bed, it flows through the
plastic, paperboard, and the like ... or bonded carbon integral        voids. Much of the water in the voids does not come into
to the filter."                                                        direct contact with a granule surface where contaminants can
    Chapman, in U.S. Pat. Nos. 6,322,615 and 6,056,809, dis-           be adsorbed. Contaminant molecules must diffuse through
closes corrugated sheets for air filtration, wherein, as in            the water in the voids to granule surfaces in order to be
Clapham, the peaks and troughs extend all the way to the               removed from the water. Thus, the larger the voids, the larger
outside boundary of the filter, the wave forms are much                the contaminant diffusion distances. In order to allow con-
smaller than the overall dimensions of the filter body, and the        taminants to diffuse over relatively long distances, long con-
filter body may be considered a corrugated sheet or plate. 10 tact time is required for large granular media to remove a
Methods of making this corrugated filter body comprise roll-           significant amount of contaminant molecules from the water.
ing the filter material between rollers with multiple V-shaped             Conversely, small granules (i.e., 100-150 µm) form small
tools forming the peaks and troughs in the extended surface of         voids when packed together, and contaminants in water
the filter body.                                                       within the voids have small distances over which to diffuse in
    Gelderland, et al., in U.S. Pat. No. 6,413,303, disclose 15 order to be adsorbed on a granule surface. As a result, shorter
activated carbon air filters made oflayers of corrugated paper         contact time between the water and the filter media is required
sheets coated in carbon and binder. Insley, et al., in U.S. Pat.       to remove the same amount of contaminant molecules from
No. 6,280,824, disclose polymeric film layers comprising               the water for filter media with small granules than for filter
filtration media and each having a corrugated shape. Gelder-           media with large granules.
land, et al. and Insley, et al. each teach flow being through the 20       But there are some drawbacks to using filter media with
open spaces defined by the corrugates (parallel to the corru-          small granules. Water flow can be slow because the packing of
gate troughs), rather than through the corrugated plates (i.e.         the granules can be very dense, resulting in long filtration
parallel, rather than transverse, to the plane of each plate).         times. Also, small granules can be more difficult to retain
Granular Activated Carbon Media for Water Filtration                   within the filter cartridge housing.
    Granular activated carbon (GAC), without binder and with 25            Good flow distribution in the filter is of primary concern in
or without various additives such as lead sorbent, has been            low pressure or gravity flow systems such as in water pitcher
used in water filtration for years. The granular activated car-        devices, water cooler devices, and other systems mentioned
bon is typically loaded into a compartment inside a filter             above, because flow distribution affects filtration effective-
housing to act as a filter or carbon "bed." The housing and            ness and the time at which "breakthrough" of contaminates
internals are adapted to contain the otherwise-loose granules 30 occurs, and, hence, the time at which the filter should be
in place in the compartment, and to distribute water to the            changed out. As these filtration systems typically do not con-
inlet of the bed and collect the water at the outlet of the bed.       tain any means for monitoring filtration effectiveness or
A bed ofGAC, with optional other granular media or addi-               breakthrough, and, at most, have means for measuring total
tives, is the media of choice for low pressure or gravity flow         water that has passed through the filter, it is important that
applications, because of the relatively low pressure drop 35 good flow distribution be maintained to maximize use of
through the bed of granules; no binder is present and, hence,          media, and, hence, to maximize the filtration effectiveness for
no binder fills the spaces between the carbon granules to              a given volume of filtered water. If channeling occurs at any
interfere with the flow. The interstitial spaces between the           time during the filter life, the effectiveness of the filter and/or
granules allow water flow through the bed with good media              the effective filter capacity is reduced, and the filtered water
contact but without the pressure drop that might be expected 40 quality may drop if the filter is not changed out.
in a compressed, binder-formed block.                                      Good water flow rate through the filter is also of primary
    These gravity-flow filtration devices typically feature rela-      concern in low pressure or gravity flow water systems such as
tively small, disposable and replaceable filter cartridges that        a water pitcher device, water cooler device, or the like
are inserted into the device and used for several weeks of             because this affects how quickly filtered water from a freshly-
normal use. Examples of these devices and/or of filters that 45 water-filled device may be used. Typically, these devices are
are designed for these devices are disclosed in U.S. Design            kept in the refrigerator or on a countertop, and so their total
Pat. No. 416,163, U.S. Design Pat. No. 398,184, U.S. Pat. No.          volume is kept at an amount that is reasonable for such spaces
5,873,995, U.S. Pat. No. 6,638,426, and U.S. Pat. No. 6,290,           and that is of a reasonable weight to carry. Users of such
646. The filters for these devices are entirely or substantially       devices typically do not want to wait a long time for the
comprised of beds of granular media.                                50 filtered water. Therefore, reasonable flow rate through the
    The filtration cartridge typically employed in pour-through        filter is important for customer satisfaction and to gain a
(or gravity flow) systems hold blended media of approxi-               competitive edge in the marketplace. As these water filtration
mately 20x50 mesh granular activated carbon and either an              devices typically utilize only gravity to force the water
ion exchange resin, which most typically contains a weak               through the filters, achieving adequate flowrate of water
acid cation exchange resin, or a natural or artificial zeolite that 55 through the filter is problematic, especially in view of the goal
facilitates the removal of certain heavy metals, such as lead          of effective contaminant removal and long filter life. The goal
and copper. Weak acid cation exchange resins can reduce the            oflow pressure drop for high flowrates would drive the design
hardness of the water slightly, and some disadvantages are             toward short granular filter beds, but the goal of effective
also associated with their use: first, they require a long contact     contaminant removal and long life without breakthrough
time to work properly, which limits the flow rate to about 60 would drive the design to in the opposite direction, toward
one-third liter per minute; second, they take up a large amount        long filter beds. Further, achieving adequate flowrate is also
of space inside the filter (65% of the total volume) and thus          problematic because the carbon-based granular media that
limit the space available for activated carbon.                        are used in the filters in question tend to be slightly hydro-
    A further problem associated with blended media of granu-          phobic. Therefore, while excellent water-media contact is
lar carbon and ion exchange resin is that they have limited 65 needed for good flow distribution and good flow rates, the
contaminant removal capability due to particle size and pack-          media actually tends to resist wetting by the water it is
ing geometry of the granules. When large granules are packed           intended to filter.




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    Therefore, conventional filters for water pitcher devices         ment, the binder material has a melt index that is less than 1.0
have typically included GAC beds about 2-6 inches deep.               g/10 min as determined by ASTM D 1238 at 190° C. and 15
Further, important procedures in the installation of a filter into    kg load.
one of these water pitcher devices are the pre-rinse and the              In another embodiment, the structure of the filter block is
pre-wet steps recommended by manufacturers of the devices 5 characterized by having been compressed no less than about
and the filters. These procedures involve rinsing the filter and      10% by volume during fabrication of the filter.
then soaking the fresh filter in water for several minutes prior          In yet another embodiment, the water filter fits within a
to inserting the filter into the device. These procedures are         container    having a volume of less than about 20 in3 . In
explained by the manufacturers as steps that remove carbon            another   embodiment,   the filter fits within a container having a
                                                                                                           3
                                                                   10 volume of less than about 10 in .
fines that may reside in the fresh filter, and that wet the
                                                                         A gravity-fed carbon block water filter according to
granular or particulate carbon media to achieve better flow
                                                                      another embodiment of the present invention includes a solid
distribution and flow rates after the filter is installed in the
                                                                      profile filter block comprising multiple sub-blocks, each of
device.                                                               the sub-blocks comprising filter media walls surrounding and
    It is believed that there is room for improvement in the 15 defining a cavity for receiving fluid, and each of the sub-
filters used for gravity flow water filtration devices, such as       blocks being connected to at least one other of the sub-blocks
water pitchers, carafes, countertop tanks, and water coolers          by filter media of which the filter block is made. A lead
and other filters that are used for low pressure systems (such        concentration in a final liter of effluent water filtered by the
as 30 psi or less).                                                   filter is less than about 10 µg/liter after about 151 liters (40
    It would be useful to have gravity flow filters that exhibit 20 gallons) of source water filtration, the source water having a
both good water flow rates and high contaminant reduction.            pH of 8.5 and containing 135-165 parts per billion total lead
                                                                      with 30-60 parts per billion thereof being colloidal lead
               SUMMARY OF THE INVENTION                               greater than 0.1 µmin diameter.
                                                                          In one approach, the water filter may include about 5-40 wt
    A gravity-fed carbon block water filter according to one 25 % of additional active material including a lead scavenger. A
embodiment of the present invention includes a solid profile          preferred lead scavenger is a zirconia oxide or hydroxide. The
filter block comprising multiple sub-blocks, each of the sub-         filter may achieve a Filter Rate and Performance (FRAP)
blocks comprising filter media walls surrounding and defin-           factor of about 350 or less according to the formula above.
ing a cavity for receiving fluid, and each of the sub-blocks              The water filter preferably has an average flow rate of at
being connected to at least one other of the sub-blocks by 30 least 0.1 liter per minute through the filter with a head pres-
filter media of which the filter block is made. The filter media      sure of between approximately 0.1 and 1.0 psi.
includes about 20-90 wt % activated carbon particles, and                 While many types of binder materials may be used, one
about 5-50 wt % binder material, the binder material being            binder material is hydrophobic. Also, the binder material has
interspersed with the activated carbon particles.                     a melt index that is less than 1.8 g/10 min as determined by
    In one approach, the water filter may include about 5-40 wt 35 ASTMD 1238 at 190° C. and 15 kg load. In another embodi-
% of additional active material including a lead scavenger. A         ment, the binder material has a melt index that is less than 1.0
preferred lead scavenger is a zirconia oxide or hydroxide. The        g/10 min as determined by ASTM D 1238 at 190° C. and 15
filter may achieve a Filter Rate and Performance (FRAP)               kg load.
factor of about 350 or less according to the following formula:           In yet another embodiment, the structure of the filter block
                                                                   40 is characterized by having been compressed no less than
                                                                      about 10% by volume during fabrication of the filter.
                                 [V*f*c,]
                          FRAP= ~                                         In one embodiment, the water filter fits within a container
                                                                      having a volume ofless than about 20 in3 . In another embodi-
                                                                      ment, the water filter fits within a container having a volume
                                                                                                3
where:                                                             45 of less than about 10 in .
                                      3
V=volume of the filter media (cm ),                                      A gravity-fed water filter according to yet another embodi-
f=average filtration unit time over lifetime L (min/liter),           ment of the present invention includes filter media including
ce =effluent lead concentration at end of lifetime L when             at least activated carbon and a lead scavenger, where the filter
    source water having a pH of 8.5 contains 90-120 ppb (µg/          achieves a Filter Rate and Performance (FRAP) factor of
    liter) soluble lead and 30-60 ppb (µg/liter) colloidal lead 50 about 350 or less according to the formula above.
    greater than 0.1 µm in diameter, and                                  In another embodiment, the filter achieves a FRAP factor
L=filter usage lifetime claimed by a manufacturer or seller of        ofless than about 200.
    the filter (gallons).                                                 In some embodiments, the volume of the filter media (V) is
    In another embodiment, a lead concentration in a final liter      less than about 300 cm3 . In other embodiments, the volume of
of effluent water filtered by the filter is less than about 10 55 the filter media (V) is less than about 150 cm3 .
µg/liter after about 151 liters? (40 gallons) of source water             In some embodiments, the average filtration unit time (f) is
filtration, the source water having a pH of8.5 and containing         less than about 12 minutes per liter. In other embodiments, the
135-165 parts per billion total lead with 30-60 parts per bil-        average filtration unit time (f) is less than about 6 minutes per
lion thereof being colloidal lead greater than 0.1 µmin diam-         liter.
eter.                                                              60     In one approach, the filter media is present in the form of a
    The water filter preferably has an average flow rate of at        block, which may include a binder material interspersed with
least 0.1 liter per minute through the filter with a head pres-       particles of the activated carbon. In one embodiment, the
sure of between approximately 0.1 and 1.0 psi.                        binder material has a melt index that is less than 1.8 g/10 min
    While many types of binder materials may be used, one             as determined by ASTMD 1238 at 190° C. and 15 kg load. In
binder material is hydrophobic. Also, the binder material has 65 another embodiment, the binder material has a melt index that
a melt index that is less than 1.8 g/10 min as determined by          is less than 1.0 g/10 min as determined by ASTM D 1238 at
ASTMD 1238 at 190° C. and 15 kg load. Inanotherembodi-                190° C. and 15 kg load.




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   The block fits within a container having a volume of less            FIGS. lOA-F are a perspective view, a front view, a side
than about 20 in3 . In another embodiment, the block fits           view, a top view, a bottom view, and an axial cross-sectional
within a container having a volume of less than about 10 in3 .      view, respectively, of one embodiment of the invented multi-
   In another embodiment, the block may comprise multiple           core block.
sub-blocks, each of the sub-blocks comprising filter media              FIG. 1 0G is a perspective view of the embodiment of FI GS.
walls surrounding and defining a cavity for receiving fluid.        1 0A-F, with a bead/ring ofadhesive added for sealing and end
The block may have an exterior space, gap, or recess between        of the filter block to a housing structure.
at least a portion of the multiple sub-blocks. In yet another           FIGS. lOH-J are a side view, a front view and a perspective
embodiment, the multiple sub-blocks compromises a filter            view of the embodiment of FIGS. lOA-G, with a hidden
                                                                 10
wall surrounding at least four-sides.                               structure shown in dashed lines.
   In one approach, the block has an open top for receiving             FIGS. lOK and Lare perspective cross-sectional views of
unfiltered water into a cavity thereof.                             the embodiment ofFIGS. lOA-J, taken transverse to the plane
   A median sidewall thickness of the block may be less than        separating the two sub-blocks of the filter block. FIG. lOL
about 0.6 inch in some embodiments, and less than about 0.4 15 includes hidden structure in dashed lines.
inch in others.                                                         FIGS. lOM and N are perspective cross-sectional views of
   A structure of the block may be characterized by having          the embodiment of FIGS. lOA-L, taken along the plane that
been compressed no more than 10% by volume during fabri-            separates the two sub-blocks of the filter block. FIG. lON
cation of the filter.                                               includes hidden structure in dashed lines.
   In other embodiments, the filter media comprises primarily 20        FIGS. llA-F are a perspective view, a front view, a side
particles that are not bound together.                              view, a top view, a bottom view, and an axial cross-sectional
   A gravity-flow system for filtering water according to an        view, respectively, of another embodiment of the invented
embodiment includes a container having a source water res-          multi-core block.
ervoir than can hold source water and a filtered water reser-           FIGS. 12A-F are a perspective view, an axial cross-sec-
voir that can hold filtered water; a cartridge in communication 25 tional view, a top view, a bottom view, a front view, and a side
with both the source water reservoir and the filtered water         view, respectively, of yet another embodiment of the invented
reservoir, the cartridge providing a path through which water       multi-core block.
can flow from the source water reservoir to the filtered water          FIGS. 13A-E, show a perspective view, a front view, a top
reservoir; and a filter as recited above disposed within the        view,   a bottom view, an axial cross-sectional view, respec-
cartridge. In one embodiment, the cartridge has an aperture 30 tively, of yet another embodiment of the invented multi-core
                                                                    block.
through a sidewall thereof for allowing at least egress of air
                                                                        FIGS. 14A-E are two opposing side views, a top view, a
into the filtered water reservoir.
                                                                    bottom view, and an axial cross-sectional view of a prior art
   Other aspects and advantages of the present invention will
                                                                    cylindrical activated carbon filter block.
become apparent from the following detailed description, 35             FIGS. 15A-E are a perspective view, a side view, top and
which, when taken in conjunction with the drawings, illus-          bottom views, and a cross-sectional view of a cup-shaped
trate by way of example the principles of the invention.            filter block.
                                                                        FIGS. 16A-E are a front view; a perspective, transverse
       BRIEF DESCRIPTION OF THE DRAWINGS                            cross-sectional view (transverse to the plane between the
                                                                 40 sub-blocks); a perspective cross-sectional view (on the plane
   For a fuller understanding of the nature and advantages of       between the sub-blocks); a bottom view; and a perspective,
the present invention, reference should be made to the fol-         cross-sectional view taken diagonally through the filter block,
lowing detailed description read in conjunction with the            respectively, of an alternate embodiment of the invented filter
accompanying drawings.                                              block. These figures portray one embodiment of a brace or
   FIG. 1 is a cross-section, side elevation view of a pour- 45 partition provided in the filter block external indentation for
through carafe having a gravity-flow filtration cartridge with      strengthening/reinforcing the filter block.
a carbon block filter installed therein.                                FIGS. 17A-D are a perspective view, a top view, a first
   FIG. 2 is a cross-section, side elevation view of an embodi-     perspective cross-sectional view and a second perspective
ment of a filtration cartridge with a carbon block filter           cross-sectional view, respectively, of another embodiment of
installed therein.                                               50 the invented filter block, wherein the block comprises a single
   FIG. 3 is a top plan view of the filtration cartridge cover      cavity at its first end, which single cavity opens into (com-
shown in FIG. 2.                                                    municates with) two cavities about midway along its length,
   FIG. 4 is a bottom plan view of the filtration cartridge cup     and wherein this block has no glue recess at its first end but
shown in FIG. 2.                                                    rather a flat end surface for sealing to a housing or internals
   FIG. 5 is a cross-section, side elevation view of an inside- 55 structure. The cross-sectional view in FIG.17C is taken along
out water flow path through the filtration cartridge assembly       a transverse plane (perpendicular to the plane that separates
shown in FIG. 2.                                                    the two sub-blocks) and the view in FIG. 17D is taken on said
   FIG. 6 is a cross-section, side elevation view of an embodi-     plane that separates the sub-blocks).
ment of a filtration cartridge having a carbon block filter             FIGS. 18A and 18B are a perspective and a perspective
installed therein.                                               60 cross-sectional view, respectively, of another embodiment of
   FIG. 7 is a top plan view of the filtration cartridge cover      the invented filter block that is similar to the embodiment of
shown in FIG. 6.                                                    FIGS. 17A-D except that this block has a glue recess encir-
   FIG. 8 is a bottom plan view of the filtration cartridge cup     cling its first end.
shown in FIG. 6.                                                        FIGS. 19A-C are a perspective, a perspective transverse (to
   FIG. 9 is a cross-section, side elevation view of an outside- 65 the plane between the sub-blocks) cross-sectional view, and a
in water flow path through the filtration cartridge shown in        perspective cross-sectional view along the plane between the
FIG. 6.                                                             sub-blocks, respectively.




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    FIGS. 20A and B illustrate alternate embodiments of the             and the like; polyarylene oxides; polyarylates; polyaryl
invented multiple sub-block filter blocks comprising inden-             ethers, such as poly(oxy-2,6-dimethyl-1,4-phenylene) or
tations into the filter block, wherein the indentations extend          poly(p-phenylene oxide), and the like; polysulfones; polyaryl
into sides of the filter block and not into the bottom of the filter    sulfones, such as poly( oxy-l ,4-phenylenesulfonyl-1,4-phe-
block. Thus, the sub-blocks of these filters are attached/con- 5 nyleneoxy-l,4-phenylene-isopropylidene-l ,4-phenylene),
nected, rather than being separated/spaced at their bottom              poly-(sulfonyl-1,4-phenyleneoxy- l ,4-phenylenesulfonyl-4,
ends.                                                                   4'-biphenylene), and the like; polycarbonates, such as poly
    FIG. 21 is a graphical representation of filter FRAP factors        (bisphenol A) or poly(carbonyldioxy-1,4-phenyleneisopro-
as a function of filtration unit time and volume.                       pylidene-l,4-phenylene), and the like; polyesters, such as
    FIG. 22 is a graphical representation of filter FRAP factors 10 poly( ethylene terephthalate ), poly(tetramethylene terephtha-
as a function of filtration unit time and lead reduction.               late ), poly(cyclohexylene-1,4-dimethylene terephthalate) or
    FIG. 23 is a graphical representation of filter FRAP factors        poly( oxymethylene-1,4-cyclohexylenemethyleneoxy-
as a function of filtration unit time and filter lifetime.              terephthaloyl), and the like; polyaryl sulfides, such as poly(p-
    FIG. 24 illustrates a representative configuration of a filter      phenylene sulfide) or poly(thio-1,4-phenylene ), and the like;
set-up having virtually unlimited effluent flow.                     15
                                                                        polyimides, such as poly(pyromellitimido-1,4-phenylene),
    FIG. 25 depicts a representative configuration of a filter
set-up where the exit point for effluent water is present               and the like; polyolefins, such as polyethylene, polypropy-
towards the top of the housing.                                         lene, poly(l-butene), poly(2-butene ), poly(l-pentene), poly
    FIG. 26 is a chart depicting the FRAP ratings for mixed             (2-pentene ), poly(3-methy1-1-pentene), poly( 4-methy l- l -
media filters currently on the market along with cup-shaped 20 pentene), and the like; vinyl polymers, such as poly(vinyl
and multiple core gravity flow carbon blocks as a function of           acetate), poly(vinylidene chloride), poly(vinyl chloride),
filtration unit volume.                                                 polyvinlyl halides, polyvinyl esters, polyvinyl ethers, poly-
    FIG. 27 is a chart depicting the FRAP ratings for mixed             vinyl sulfates, polyvinyl phosphates, polyvinyl amines and
media filters currently on the market along with cup-shaped             the like; diene polymers, such as 1,2-poly-1,3-butadiene, 1,4-
and multiple core gravity flow carbon blocks as a function of 25 poly-1,3-butadiene, polyisoprene, polychloroprene, and the
lead reduction performance.                                             like; polystyrenes; copolymers of the foregoing, such as acry-
                                                                        lonitrile-butadiene-styrene (ABS) copolymers, and the like;
     DETAILED DESCRIPTION OF THE INVENTION                              polyoxidiazoles; polytriazols; polycarbodiimides; phenol-
                                                                        formaldehyde resins; melamine-formaldehyde resins; form-
    The following description is made for the purpose of illus- 30 aldehydeureas; and the like; co-polymers and block inter-
trating the general principles of the present invention and is          polymers thereof; and derivatives and combinations thereof.
not meant to limit the inventive concepts claimed herein.                  The thermoplastic binders further include ethylenevinyl
                                                                        acetate copolymers (EVA), ultra-highmolecularweightpoly-
                          DEFINITIONS
                                                                     35
                                                                        ethylene (UHMWPE), very high molecular weight polyeth-
    In describing the embodiments of the present invention, the         ylene   (VHMWPE), nylon, polyethers such as polyethersul-
following terms will be employed, and are intended to be                fone, ethylene-acrylic acid copolymer, ethylene-methacrylic
defined as indicated below.                                             acid copolymer, ethylene-methylacrylate copolymer, polym-
    The term "activated carbon," as used herein, means highly           ethylmethacrylate,        polyethylmethacrylate,       polybutyl-
porous carbon having a random or amorphous structure, and 40 methacrylate, and copolymers/mixtures thereof.
may have such additional or alternative properties as may be               The term "low melt index polymeric material," as used
presented or implied from the discussion of activated carbon            herein, means a polymeric material having a melt index less
below.                                                                  than 1.8 g/l0min., asdeterminedbyASTMD 1238 at 190° C.
    The term "binder," as used herein, means a material that            and 15 kg load. The term thus includes both ultra high and
promotes cohesion of aggregates or particles. Many binders 45 very high molecular weight polyethylene.
may be used, for example, thermoplastic binder, thermo-set                 The term "colloidal lead" or "particulate lead" as used
binder, etc. The term "binder" thus includes polymeric and/or           herein, means lead aggregates or compounds having a size
thermoplastic materials that are capable of softening and               greater than 0.1 µm in diameter. The term "soluble lead" as
becoming "tacky" at elevated temperatures and hardening                 used herein means lead in ionic form or lead in aggregates or
when cooled. Such thermoplastic binders include, but are not 50 compounds smaller than 0.1 µmin diameter.
limited to, end-capped polyacetals, such as poly( oxymethyl-               The term "incorporating," as used herein, means including,
ene) or polyformaldehyde, poly(trichloroacetaldehyde), poly             such as including a functional element of a device, apparatus
(n-valeraldehyde), poly(acetaldehyde), poly(propionalde-                or system. Incorporation in a device may be permanent, such
hyde ), and the like; acrylic polymers, such as polyacrylamide,         as a non-removable filter cartridge in a disposable water fil-
poly(acrylic acid), poly(methacrylic acid), poly(ethyl acry- 55 tration device, or temporary, such as a replaceable filter car-
late), poly(methyl methacrylate), and the like; fluorocarbon            tridge in a permanent or semi-permanent water filtration
polymers, such as poly(tetrafluoroethylene), perfluorinated             device.
ethylene-propylene copolymers, ethylene-tetrafluoroethyl-                  Filter performance can be defined in various ways. For the
ene copolymers, poly( chlorotrifluoroethylene), ethylene-               purposes of the instant invention, good filter performance
chlorotrifluoroethylene copolymers, poly(vinylidene fluo- 60 means some or all of the following:
ride), poly(vinyl fluoride), and the like; polyamides, such as             Removal of at least 99.95% of particles greater than 3 µm
poly(6-aminocaproic acid) or poly(E-caprolactam), poly                         in size from the source water until the water flow rate has
(hexamethylene adipamide), poly(hexamethylene sebacam-                         been reduced by approximately 75% from an initial
ide ), poly(l 1-aminoundecanoic acid), and the like; polyara-                  water flow rate;
mides, such as poly(imino-1,3-phenyleneiminoisophthaloyl) 65               Reduction oflead concentration to no more than 15 ppb in
or poly(m-phenylene isophthalamide), and the like;                             80 gallons of source water that has an initial lead con-
parylenes, such as poly-p-xylylene, poly(chloro-p-xylylene ),                  centration of 150 ppb;




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    Reduction of colloidal lead from a solution containing 45         filtered by the carbon block is less than about 10 µg/liter
       ppb of colloidal lead and 105 ppb of soluble lead. The         throughout approximately 151 liters (40 gallons) of source
       effluent concentration of all forms of lead is reduced to      water filtration, the source water having a pH of 8.5 and
       less than 15 ppb.                                              containing 135-165 parts per billion total lead with 30-60 ppb
    Reduction of chloroform concentration to no more than 80 5 thereof being colloidal lead greater than 0.1 µm in diameter.
       ppb in 80 gallons of source water that has an initial          The water has an average flow rate of at least 0.1 liter per
       chloroform concentration of 450 ppb.                           minute through the filter with a head pressure of between
    Reduction for all challenges is evaluated by measuring the        approximately 0.1 and 1.0 psi.
       given contaminant concentration in the effluent water              In a further embodiment of the present invention, a gravity-
       collected throughout the testing lifetime of the filter at IO fed water filter (block or granular) includes filter media
       defined intervals, including but not limited to the initial
                                                                      including at least activated carbon and a lead scavenger. The
       effluent after filter conditioning, 50%, 100%, 180%,
                                                                      filter achieves a Filter Rate and Performance (FRAP) factorof
       200% of the claimed filter lifetime.
    In general, water moves through gravity flow water filters        about 350 or less according to the following formula:
with head pressures less than 1 pound per square inch (psi). 15
Good flow rates for gravity flow water filters with head pres-
sures in this range are rates faster than about 0.010 liters/min
(or about 0.026 gallons/min), and preferably faster than about
0.20 liters/min (or about 0.05 gallons/min). In general, con-
ventional, loose media, gravity-flow carbon filters have flow 20 where:
rates between about 0.125 liters/minute and 0.250 liters/             V=volume of the filter media (cm 3 ),
minute. Heretofore known conventional carbon block filters            f=average filtration unit time over lifetime L (min/liter),
vary in their flow rate performance and, as they are usually          ce=effluent lead concentration at end of lifetime L when
used only in faucet-mount systems, are subject to wider                   source water having a pH of8.5 contains 90-120 ppb (µg/
ranges of head pressure due to variations in household water 25           liter) soluble lead and 30-60 ppb (µg/liter) colloidal lead
pressures than are loose media filters. Typical carbon block              greater than 0.1 µmin diameter
filters can have flow rates around3.5 liters/min (or about 0.75       L=filter usage lifetime claimed by a manufacturer or seller of
gallons/min) with head pressures around 60 psi. In general,              the filter (gallons).
flow rates of water through most block filters under the low              In yet another embodiment, a gravity-fed carbon block
pressure (less than 1 psi) conditions found in gravity flow 30 water filter includes activated carbon particles, and a binder
systems is unacceptably slow.                                         material interspersed with the activated carbon particles,
    As will be appreciated by one having ordinary skill in the        wherein the binder material has a melt index that is less than
art, the gravity flow filters described herein have many advan-       1.8 g/l0minat 190° C. and 15 kg load. In yet another embodi-
tages.                                                                ment, the binder material has a melt index that is less than 1.0
    In one embodiment of the invention, a gravity-fed carbon 35 g/10 min at 190° C. and 15 kg load.A structure of the block is
block water filter, described in detail below, generally              characterized by having been compressed less than about
includes a solid profile filter block comprising multiple sub-        10% by volume during fabrication of the filter. Water passing
blocks, each of the sub-blocks comprising filter media walls          through the filter has an average flow rate of at least 0.1 liter
surrounding and defining a cavity for receiving fluid, and each       per minute through the filter with a head pressure of between
of the sub-blocks being connected to at least one other of the 40 approximately 0.1 and 1.0 psi.
sub-blocks by filter media of which the filter block is made.            As alluded to, the aforementioned filters may be imple-
The filter media includes about 20-90 wt % activated carbon           mented in a low pressure or gravity-flow system for filtering
particles and about 5-50 wt % binder material, the binder             water. In general, a gravity-flow system for filtering water
material being interspersed with the activated carbon par-            may include a container having a source water reservoir that
ticles.                                                            45 can hold source water and a filtered water reservoir that can
    In another embodiment of the invention, a gravity-fed car-        hold filtered water; a cartridge in communication with both
bon block water filter includes a solid profile filter block          the source water reservoir and the filtered water reservoir, the
comprising multiple sub-blocks, each of the sub-blocks com-           cartridge providing a path through which water can flow from
prising filter media walls surrounding and defining, on at least      the source water reservoir to the filtered water reservoir; and
four sides, a cavity for receiving fluid, and each of the sub- 50 a carbon block filter as recited above disposed within the
blocks being connected to at least one other of the sub-blocks        cartridge. An illustrative gravity-flow system for filtering
by filter media of which the filter block is made. A total lead       water is shown in FIG. 1.
concentration (colloidal and soluble) in a liter of effluent              Referring to FIG. 1, there is shown a filter cartridge 10
water filtered by the carbon block is less than about 10 µg/liter     installed in a pour-through water carafe 1. The filter cartridge
throughout approximately 151 liters (40 gallons) of source 55 10 has a carbon block filter 20 inside. In operation, source
water filtration, the source water having a pH of 8.5 and             water W flowing from upper reservoir 11 to lower reservoir 13
containing 135-165 parts per billion (ppb) total lead with            is channeled through a plurality of openings (not shown) in
30-60 ppb thereof being colloidal lead greater than 0.1 µmin          cover 12, directly into interior space 15 of filter cup 14.
diameter.                                                             Inorganic and organic contaminants are removed from the
    In yet another embodiment a gravity-fed carbon block 60 source water W, as the source water W moves through the
water filter includes activated carbon particles, a binder mate-      filter 20, thus transforming the source water W into filtered
rial interspersed with the activated carbon particles, and a lead     water W'. The filtered water W' flows into cavity 22 of the
scavenger coupled to at least one of the activated carbon             filter 20 and out through bottom 16 of the filter cup 14 into
particles and binder material, the lead scavenger being for           lower reservoir 13.
removing lead from water. The filter fits within a container 65           In an alternate embodiment, source water W flowing from
having a volume of less than about 20 in3 . A total lead con-         the upper reservoir 11 to the lower reservoir 13 is charmeled
centration (colloidal and soluble) in a liter of effluent water       through a plurality of openings (not shown) in the cover 12,




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directly into the filter cavity 22. Inorganic and organic con-        alternative embodiment, the carbon content is in the range of
taminants are removed from the source water W, as the source          approximately 30-80%, by weight. In yet another embodi-
water W moves through the filter 20, thus transforming the            ment, the carbon content is in the range of approximately
source water W into filtered water W'. The filtered water W'          30-50% by weight.
flows from the filter 20 directly out through the bottom 16 of        Binder
the filter cup 14 and into the lower reservoir 13.                        The binder can contain any of the aforementioned binder
    Although a pour-through carafe has been used to illustrate        materials. The binder can be a low melt index polymeric
the filter 20, the filter 20 can be employed in combination with      material, as described above. In other arrangements, the
any water pitcher, bottle, carafe, tank, water cooler or other        binder can contain a higher melt index material, that is, a
gravity-flow filtration system. The embodiments of the inven- 10 material with a melt index that is greater than 1.8 g/10 min as
tion should thus not be construed as being limited in scope to        determined by ASTM D 1238 at 190° C. and 15 kg load.
filtering water only in pour-through carafes.                         Preferred binders are also hydrophobic.
    Further, multiple filters may be present in a single device,          Low melt index polymeric materials having a melt index
such as the aforementioned water pitcher, bottle, carafe, tank,       less than approximately 1.8 g/10 min as determined by ASTM
water cooler or other gravity-flow filtration system. The filters 15 D 1238 at 190° C. and 15 kg load, such as VHMWPE or
may have the same construction, shape, and/or properties; or          UHMWPE, are well known in the art. Low melt index binders
may be different. The filters may be arranged for concurrent          do not flow easily when heated, but become only tacky
flow (e.g., to increase filtering speed), and/or may filter the       enough to bind granules together without covering much of
fluid in stages (e.g., one filter acts as a prefilter). Advantages    the surface of the granules.
of embodiments having two filters include increased flow 20               In some arrangements, binder materials that have high melt
rates, decreased frequency of filter changes, etc.                    index values, that is, melt indices greater than those ofVHM-
    The filter 20 can contain activated carbon that is bonded         WPE or UHMWPE, such as poly(ethylene-co-acrylic acid)
with a binder to form an integrated, porous, composite, car-          or low density polyethylene, can also be used. Even though
bon block. The activated carbon can be in the form of particles       high melt index materials can tend to melt and flow when
or fibers. In some embodiments, the filter 20 includes at least 25 heated, careful choice of binder particle size and processing
one additional active material, such as ceramic or zeolite            conditions can make these materials very effective for form-
particles. The active material(s) can also be bound together          ing porous composite blocks for water filtration. These bind-
with the carbon and the binder within the porous composite            ers and their use in water filtration have been disclosed by
block.                                                                Taylor et al. in U.S. patent application Ser. No. 10/756,478,
    Several potential filter materials are described below. 30 filed Jan. 12, 2004, which is included by reference herein.
While the discussion will tend to focus on block filters, it              As will be appreciated by one having ordinary skill in the
should be understood that the various materials may be used           art, the type of binder used to construct the filter 20 can affect
in granular or "loose media" type filters, according to various       the initial flow rate of water through the filter, since carbon is
embodiments of the present invention.                                 more hydrophilic than most binders or other actives. Initially,
Activated Carbon                                                   35 the filter 20 is dry and when it is placed in contact with water,
    Activated carbon from any source can be used, such as that        it may or may not absorb the water readily and thus allow for
derived from bituminous coal or other forms of coal, or from          immediate water flow. Filters made with UHMWPE or VHM-
pitch, bones, nut shells, coconut shells, com husks, polyacry-        WPE with a low melt index tend to absorb water more readily
lonitrile (PAN) polymers, charred cellulosic fibers or materi-        than filters made with EVA or LDPE. Also, by maximizing
als, wood, and the like.                                           40 the available surface area of the carbon, one can achieve a
    Activated carbon granules can, for example, be formed             carbon block that is hydrophilic and readily absorbs water. As
directly by activation of coal or other materials, or by grinding     a result, binders that neither flow nor deform significantly
carbonaceous material to a fine powder, agglomerating it with         when melted, but simply become tacky, maximize the avail-
pitch or other adhesives, and then converting the agglomerate         able carbon surface area and thus maximize the water absorp-
to activated carbon. Different types of activated carbon can be 45 tivity of the carbon block. Other binders that have a tendency
used in combination or separately, e.g., 90% coconut carbon           to melt during processing can also provide a large available
and 10% bituminous carbon.                                            carbon surface area when they have very small particle sizes.
    In one embodiment of the invention, the mesh size of the              In order to minimize the amount of carbon particle surface
activated carbon is approximately 80x325 U.S. mesh. Illus-            area covered/blocked by binder, especially-preferred binders
trative carbon particle size distributions are as follows:         50 comprise at least one binder having less than or equal to 10
    80x325 Activated Carbon (d(0.1)=18.6 um, d(0.5)=87.1              g/min melt index, or, more preferably, 0.1-10 g/min melt
um, d(0.9)=191.3 um)                                                  index and especially 1-10 g/minmeltindex by ASTMD1238
    80x325 Activated Carbon (d(0.1)=15.5 um, d(0.5)=73.8              or DIN 53735 at 190 degrees C. and 15 kilograms. Binders
um, d(0.9)=154.3 um)                                                  from these ranges may be selected that become tacky enough
    In another embodiment of the invention, the mesh size of 55 to bind the media particles together in a solid profile, but that
the activated carbon is approximately 80x200 U.S. mesh.               maintain a high percentage of the media particle surface area
    In yet another embodiment of the invention, the mesh size         uncovered/unblocked and available for effective filtration.
of the activated carbon is approximately 50x200 U.S. mesh.            Further, binders from these ranges may be selected that leave
    In some arrangements, the activated carbon has an average         many interstitial spaces/passages open in the solid profile; in
particle size such that it can pass through a screen of350 mesh 60 other words, it is desirable to have the binder not completely
or less (e.g., an average particle size of less than about 350        fill the gaps between media particles. With binders in these
mesh-about 40 µm). In one arrangement, the activated carbon           ranges, blocks have been made according to embodiments of
has a mean particle size in the range of70-220 µm. In another         the invention that have excellent pressure drop. It is believed
arrangement, the activated carbon has a mean particle size in         that this excellent, low pressure drop results from the various
the range of 70-90 µm.                                             65 block shapes and the porosity and high amount of interstitial
    In another embodiment of the invention, the carbon content        spaces and passages through the solid profile. A high amount
is in the range of approximately 20-90%, by weight. In an             of porosity is desirable, and, when combined with the high




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amount of"bulk" surface area for the block (bulk surface area         flange 42 may also be present to channel the unfiltered water
meaning the exposed surfaces of the block, including the              into the cavity 22 of the composite block 20.
cavities described above), the preferred embodiments are                  FIG. 3 is a top view of the cover 12 of the filter cartridge 10
effective in delivering fluid to the media of the block, effective    of FIG. 2, showing an exemplary embodiment of the inven-
in fluid flow through the porous block, and effective in fluid        tion. In this example, the entrance openings 17a are shown
flow out of the media in the block.                                   grouped near the centerof the cover 12. Although the entrance
    In one embodiment, the binder content is in the range of          openings 17a are shown as round holes arranged in a square
approximately 5-50%, by weight. In another embodiment,                array, it will be appreciated that other opening shapes, such a
the binder content is in the range of approximately 20-45%,           slots or slits and other arrangements of the openings, can be
                                                                   10
by weight. In yet another embodiment, the binder content is in        employed.
the range of approximately 35-40% by weight.                              FIG. 4 is a bottom view of the cup 14 of the filter cartridge
    In one embodiment of the invention, the binder particles          10 of FIG. 2, showing an exemplary embodiment of the
are in the range of approximately 5-150 µm. In an alternative         invention. In this arrangement, the exit openings are distrib-
embodiment, the binder particles are in the range of approxi- 15 uted in a circle concentric to an outer edge 19 of the cup
mately 100-150 µm. In another embodiment, the binder par-             bottom 16. Although the exit openings 18a are shown as
ticles are approximately 110 µm.                                      round holes, it will be appreciated that other shapes, such a
Actives                                                               slots or slits, can be employed.
    One or more additional active materials (or actives) can be           FIG. 5 is a schematic cross section showing a water flow
included in the carbon block filter. The active(s) can contain 20 path through the filter cartridge 10 and the carbon block filter
ceramic particles, zeolite particles, zirconia, aluminosilicate,      20. When the cap 12 is exposed to a body or flow of source
silica gel, alumina, metal oxides/hydroxides, inert particles,        water W, the source water W flows into and through the
sand, surface charge-modified particles, clay, pyrolyzed ion-         entrance openings 17a in the cap 12, and enters into the inner
exchange resin, silver, zinc and halogen based antimicrobial          space 22 of the filter 20. The water W then flows through an
compounds, acid gas adsorbents, arsenic reduction materials, 25 interior wall 2 la of the filter 20, out an exterior wall 2 lb of the
iodinated resins, and mixtures thereof.                               filter 20, and into the outer space 15. In passing through the
    In one embodiment, the actives constitute between about           filter 20, the source water W becomes purified water W'. The
0.01 wt % and 70 wt % of the porous composite block. In               purified water W' exits the filter cartridge 10 through the exit
other arrangements, the actives constitute between about 10           openings 18a.
wt% and 40 wt% of the porous composite block. In another 3
arrangement, the actives constitute between about 20% and
                                                                    °     FIG. 6 is a schematic cross section of a filter housing or
                                                                      cartridge 30 that contains a porous composite carbon block
30%, by weight, of the porous composite block.
                                                                      filter 20, according to another embodiment of the invention.
    In one embodiment of the invention, the actives have a
                                                                      The cartridge includes a cover 32 and a cup 34. The cover 32
mean particle size in the range of approximately 10 to 100 µm.
In another embodiment, the actives have a mean particle size 35 can be attached to the cup 34 after the filter 20 is placed inside
in the range of approximately 20-70 µm. In an alternative             the cup 34. Within the interior space of the cartridge 30 there
embodiment, the actives have a mean particle size in the range        is an outer space 35 outside the porous composite carbon
of approximately 1 to 50 µm.                                          block 20 and an inner space 22 within the bore of the porous
    Preferred actives include lead scavengers, e.g., lead sor-        composite carbon block 20. The cover 32 includes a plurality
bents, or arsenic removal additives. Illustrative lead scaven- 40 of entrance openings 17b near the periphery of the cover 32.
gers include metal ion exchange zeolite sorbents such as              The entrance openings 17b are adapted to allow water to enter
Engelhard' s ATS™ and aluminosilicates such as Selecto Sci-           into the inner space 22. The bottom 36 of the cup 34 includes
entific' s Alusil™. Particularly preferred lead scavengers are        a plurality of exit openings 18b. The exit openings 18b are
zirconia oxides and hydroxides. Lead scavengers may be                adapted to allow water to exit from the outer space 35 and/or
present in the amounts recited above for actives in general. A 45 the porous composite carbon block 20.
preferred range oflead scavenger content is about 5-40% by                FIG. 7 is a top view of the cover 32 of the filter cartridge 30
weight.                                                               of FIG. 6, showing an exemplary embodiment of the inven-
Filter Cartridge/Filter Assemblies                                    tion. In this arrangement, the entrance openings are distrib-
    Filter blocks presented herein can be employed in most, if        uted in a circle concentric with an outer edge 38 of the cover
not all, gravity-flow filtration cartridges adapted to receive 50 32. Although the entrance openings 17b are shown as round
same. FIG. 2 is a schematic cross section of a filter housing or      holes arranged in a square array, it will be appreciated that
cartridge 10 that contains a porous composite carbon block            other opening shapes, such a slots or slits and other arrange-
filter 20, according to an embodiment of the invention. The           ments of the openings, can be employed.
cartridge includes a cover 12 and a cup 14. The cover 12 can              FIG. 8 is a bottom view of the cup 34 of the filter cartridge
be attached to the cup 14 after the filter 20 is placed inside the 55 30 of FIG. 6, showing an exemplary embodiment of the
cup 14. Within the interior space of the cartridge 10 there is an     invention. In this example, the exit openings 18b are shown as
outer space 15 outside the porous composite carbon block 20           grouped near the center of the cup bottom 36. Although the
and an inner space or cavity 22 within the bore of the porous         exit openings 18b are shown as round holes, it will be appre-
composite carbon block 20. The cover 12 includes a plurality          ciated that other shapes, such a slots or slits, can be employed.
of entrance openings 17a near the center of the cover 12. The 60          FIG. 9 is a schematic cross section showing a water flow
entrance openings 17a are adapted to allow water to enter into        path through the filter cartridge 30 and the carbon block filter
the inner space 22. The bottom 16 of the cup 14 includes a            20. When the cap 32 is exposed to a body or flow of source
plurality of exit openings 18a. The exit openings 18a are             water W, the source water W flows into and through the
adapted to allow water to exit from the outer space 15 and/or         entrance openings 17b in the cap 32 and enters into the outer
the porous composite carbon block 20. The cartridge may 65 space 35 of the filter 20. The water W then flows through an
have an aperture 40 through a sidewall thereof for allowing at        exteriorwall 21b of the filter 20, out aninteriorwall 2la of the
least egress of air into the treated water compartment. A             filter 20, and into the inner space 22. In passing through the




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filter 20, the source water W becomes purified water W'. The           scheme, may allow fluid to flow out of each sub-block toward
purified water W' exits the filter cartridge 30 through the exit       the exterior cavity for collection and flow out of the filter
openings 18b.                                                          cartridge or housing. Such an exterior or external cavity, in an
    Additional components and features may also be present,            outside-in flow-scheme, may allow fluid to flow into each
such as filter sheets, as described in U.S. patent application         sub-block from said exterior cavity. This way, substantially
Ser. No. 10/881,517 to Rinker et al., which is herein incorpo-         all of the filter media of a sub-block is accessible to fluid for
rated by reference.                                                    filtration, rather than just the media near the outer circumfer-
Filter Block Shapes and Dimensions                                     ence of the block.
    Block filters can have many shapes, such as cylinders,                 Embodiments comprising multiple-core, multiple-cavity,
sheets, solids, cubes, parallelepipeds, etc. Illustrative shapes 10 and/or multiple-sub-block solid profile filter media will work
are presented below.                                                   with many different block sizes; for example, large and small,
    Factors influencing the final dimensions of a filter block         and long and short block shapes. The preferred blocks may be
include the dimensions of the cartridge housing the filter             considered three-dimensional rather than sheet-like or sub-
block, desired properties and efficacy of the filter, etc.             stantially two-dimensional. The filter blocks of the preferred
    The wall thickness and the external surface area of the 15 embodiments comprise activated carbon block consisting of
carbon block filter can influence the flow rate of water               activated carbon particles/granules and binder particles that
through the filter. In one embodiment, the median wall thick-          are formed to contain multiple sub-blocks, with a preferred
ness is in the range of approximately 0.15 in. to 0.60 in. In          additive being lead sorbent such as Alusil™ or ATS™ or
other arrangements, the wall thickness is less than about 0.40         arsenic removal additives. Optionally, instead of, or in addi-
in., e.g., approximately 0.20 in. to 0.40 in. The filter block can 20 tion to, carbon particles/granules, activated carbon fibers may
have an outside diameter between about 1.5 in. to 4.0 in., and         be used with binder to connect them and hold them in the solid
a length between about 1.0 in. to 4.0 in.                              profile. Also, other filtration or treatment media may be used,
    For most portable gravity-fed systems, a smaller size of the       in place of or in addition to, activated carbon.
filter block is preferred. In preferred embodiments, the filter            Preferably, the opening of each cavity is located at a com-
block will provide many of the benefits presented herein, and 25 mon first axial end, and the sub-blocks extend from that
yet fit within a container having a volume of less than about          common end generally parallel to each other but preferably
24.4 in3 (400 cm3 ), and more preferably less than about 20            clustered around, or arranged symmetrically around, the cen-
in3 . In more preferred embodiments, the filter block will             ter axis of the block rather than on a single plane. One or more
provide many of the benefits presented herein, and yet fit             exterior cavities may be located, for example, at or near the
within a container having a volume of less than about 10 in3 . 30 central axis of the block, at the opposite, second axial end, for
In an illustrative embodiment, the filter block fits within a          separating the sub-blocks at or near the second axial end.
container having a volume of about 8.6±0.5 in.                            Alternatively, embodiments according to the invention
    Similar container dimensions may also be used for                  may include a single cavity that, farther along the axial length,
embodiments of the present invention that are based on                 branches into multiple cavities. The opening of the single
granular media.                                                     35 cavity is located at a first axial end of the block, the multiple
    The foregoing dimensions may or may not match the actual           cavities begin at some point or points along the length of the
container (e.g., cartridge shell) housing the filter block or          block, and the closed ends (or capped ends) of the multiple
granular media as sold.                                                cavities typically lie at the second axial end opposite the
    Preferred embodiments of the invention seek to maximize            single cavity opening. One or more exterior cavities may be
the volume of a filtration media block media in a given car- 40 located, for example, at or near the central axis of the block at
tridge or housing total volume, while decreasing pressure              the second end, for separating the sub-blocks at or near the
drop. Each single filter block is preferably three-dimensional,        second end.
with three dimensions that are of the same order of magni-                Alternatively, embodiments may include a first set of mul-
tude, and each single filter block according to the invention          tiple cavities at one end of the block, branching into different
may be considered to comprise multiple, substantially sepa- 45 numbers or shapes of multiple cavities contained within a
rate but connected, filtration units or "cores" and, most pref-        second set of the cavities generally midway along the length
erably, to comprise multiple filter sub-blocks. This multiple          of the block. The openings of the first set of multiple cavities
sub-block structure is preferably accomplished by providing            are located at a first axial end of the filter and the closed or
a block with multiple cavities, wherein each cavity, defined           capped ends of the second set of cavities is typically at the
by a cavity surface(s), extends deep into the block. The mu!- 50 opposite end of the filter block. One or more exterior cavities
tip le cavities allow water to flow deep inside the filter block to    may be located, for example, at or near the central axis of the
access the media of the sub-block (in the case wherein the             block at the second end, for separating the sub-blocks at or
cavities are at the inlet to the block) or that allows water to be     near the second end.
collected from each filtration sub-block (in the case wherein              Referring to FIGS. l0A-N, llA-F, 12A-F, 13A-F, 16A-E,
the cavities are at the outlet from the block). The cavities may 55 17A-D, 18A-B, and 19A-C, there are shown several, but not
be D-shaped, circular, triangular, polygonal, or other shapes          the only, embodiments of a multiple-core filter block, along
in cross-section or in end-view. These cavities may be                 with a hollow, cylindrical filter block in FIGS. 14A-E and a
described as internal or interior cavities, whether they are           cup-shaped filter block in FIGS. 15A-E, also embodiments of
used for fluid-inlets (in inside-out flow) or fluid outlets (in        the present invention.
outside-in flow), as they are generally inside the block, rather 60        The overall shape of the filter block may or may not be
than on the outer surface of the block.                                cylindrical (round in cross-section or end-view) and, instead
    The blocks preferably also comprise an exterior or external        may be square, oval, triangular, or other shapes in cross-
cavity in the outer surface of the block to separate portions of       section and/or in end-view. The filter block may be consid-
the sub-blocks to provide a space between exterior surfaces of         ered a three-dimensional solid profile, which has three dimen-
said portions of the sub-blocks (said exterior surfaces "fac- 65 sions that are preferably on the same order of magnitude. For
ing" the exterior cavity) for fluid access out of or into said         example, preferred embodiments may be dimensioned to
sub-blocks. Such an exterior cavity, in an inside-out flow-            have an axial length within the range of 1/2-10 times the




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diameter of the filter block, more preferably 1/3-5 times the           112 extends into the bottom outer surface of the block creat-
diameter, and most preferably 1-5 times the diameter. For               ing a slot surface portion 114 of the outer surface of the block,
these calculations, the largest diameter of the block may be            further separating the two sub-blocks and providing access
used, as many of the blocks are tapered in diameter. In non-            for water in between the sub-blocks (either water entering the
cylindrical blocks, the axial length is preferably within the 5 block from the outside of the block (outside-in flow) or water
range ofl/3- l 0 times the width, more preferably 1/2-5 times the       exiting the block (inside-out flow).
width, and most preferably, 1-5 times; and within the range of              A lip, depression, or other ring structure 116 preferably
1/2-10 times the depth, more preferably 1/2-5 times the depth,          surrounds the top end of the block, as a recess for receiving
and most preferably, 1-5 times the depth.                               adhesive for sealing the top end of the filter to a housing, thus,
    Also, the shape of each of the filtration sub-blocks, con- 10
                                                                        preventing water from bypassing around the top end of the
nected together into the single solid block, may be cylindrical,
                                                                        filter. The block structure, combined with the adhesive or
conical, or square, oval, triangular, or other shapes in cross-
                                                                        other seal, may eliminate the need to place a plastic plate at
section. The multi-core filter blocks, which are preferably
made substantially of activated carbon, sorbents, powders,              the top end of the filter. This way, water flow may be con-
and/or carbon or other fibers, are bound together sufficiently 15 trolled, for example, in the case of inside-out flow, the water
to maintain the solid profile. The multi-core shape serves to           enters only at the cavities openings 106 and flows generally
increase surface area and volume of material that is active for         radially through preferably all the generally axial block walls
filtration and contaminant removal. The multi-core filter               (illustrated as 121, 122, 123, 124 in FIG. l0F) and typically
block comprises a plurality of sub-blocks, each of which                also flow generally axially through radial walls (shown as 125
comprises a filter wall surrounding at least four sides, and 20 and 126 in FIG. lOF). In the case of outside-in flow, the water
preferably five sides, of an interior hollow cavity or space. In        enters only at the outer surface (102 and 114) and flows
other words, multiple filter walls connect to each other, so that       generally radially through the axial walls (121, 122, 123, 124)
each cavity is surrounded on all four sides and, optionally, at         inward to the cavities 104 and typically may also flow axially
one of its ends (fifth side). Note that the "four sides" are used       through radial walls 35, 36 into the cavities 104.
representatively to describe enclosure on all sides surround- 25            The block in FIGS. l0A-F, in one preferred version and
ing a given axis, but not necessarily the ends, and so should be        size, has a major outside diameter of 1.95 inches, a wall
construed to encompass embodiments not traditionally hav-               thickness of about 0.26 inches, and a length of about 3 inches.
ing four sides, such as triangles, cylinders, etc. The filter walls     This results in 5.41 cubic inches of volume and a surface area
defining the sub-blocks may connect to each other all the way           substantially increased by the walls 108, 108' of the interior
to the end of the block, or, there may be one or more cavities 30 cavities 104 and walls 114 of exterior cavity slot 112.
separating the sub-blocks along at least a part of the sub-                 The filter block 200 of FIGS. llA-F comprises multiple
blocks, such a slots, holes, or other shapes of exterior cavities.      generally cylindrical sub-blocks 201, 202, 203, 204 or four
    The preferred configurations include at least one end of            "cores" of media that are connected together by a top plate
each cavity being closed, preferably by additional filter wall          206 of media with openings 208 into the cavities 211, 212,
that extends radially. This radial filter wall has a thickness 35 213, 214. Top plate 206 need not be, and preferably is not, a
sufficient to close, and, in effect, to "seal" each cavity, and/or      separate structure, but is instead integral with the multiple
to properly filter any fluid that passes through it. With the           sub-blocks. In cross-section, as viewed along line B-B, one
radial filter wall at least as thick as the axial filter walls, the     may see just two of the sub-blocks 202, 204 and just two of the
fluid will tend to flow radially through the generally-axial            cavities 212, 214. Again, there is an opening/space between
filter walls, but, if the fluid does flow axially through the radial 40 the sub-blocks (in this embodiment, channel 220) that allows
filter wall, the fluid will be appropriately filtered. In most          water access between the sub-blocks, preferably either to
embodiments, the cavity walls that create the inside surface            reach the outer surface of the sub-block portions "facing"
areas do not protrude through the entire length of the block            each other for flow outside-in even in the area between the
shape and so the radial filter wall, instead of a housing plate or      sub-blocks, or for water collection between the blocks after
cap, serves to close one end of the cavities. In less-preferred 45 inside-out flow out of the sub-blocks.
embodiments wherein the cavities protrude through the entire                Block 200 in one preferred version and size has a major
length of the block shape, an additional sealing plate, or cap          outside diameter of about 1.95 inches, a length of about 3
may be used to maintain radial flow through the axial filter            inches, and a wall thickness of about 0.26 inches, a volume of
walls.                                                                  5 .6 cubic inches, and a surface area substantially increased by
    The activated carbon block shapes shown in FIGS. l0A-N 50 the interior cavities 211, 212, 213, 214, and exterior cavity/
through 13A-F have shapes that can be described as a mul-               channel 220.
tiple cavity mold. The filter block 100 in FIGS. 1 0A-F may be              Block 300 in FIGS. 12A-F comprises multiple (three) gen-
described as a "two-core" or "two-sub-block" filter block,              erally semi-cylindrical sub-blocks 301, 302, 303 or three
wherein each of the two sub-blocks 101, 103 may be called               "cores" of media that are connected together at their tops at
generally semi-cylindrical or a generally D-shaped sub- 55 top portion 306 having openings 308 into the cavities 311,
block. Also, filter block 100 is preferably provided with a             312, 313. In cross-section, as viewed along line C-C, one may
tapered outer axial surface 102 outer diameter from larger at           see just one of the sub-blocks 303 and just one of the cavities
the top end to smaller at the bottom end, and having two                313. Again, there is an opening/space between the sub-blocks
generally D-shaped cavities 104 extending axially in the                (in this embodiment, slot 320 with slot arms 321, 322, 323)
block. The cavities 104 have D-shaped openings 106, both at 60 that allows water access between the sub-blocks, preferably
the top end, with the cavity preferably maintaining generally           either to reach the outer surface of the sub-block portions
a D-shape throughout the length of the cavity, but with the             "facing" each other for flow outside-in even in the area
size of the cross-sectional D-shape becoming smaller toward             between the sub-blocks, or for water collection between the
the bottom end of the cavity in view of the preferred slanted           blocks after inside-out flow out of the sub-blocks.
inner walls or cavity surfaces 108. Preferably both "sides" of 65           Block 300 in one preferred version and size has a major
the cavity wall (108, 108') are slanted/tapered, to ease                outside diameter of about 1.95 inches, a length of about 3
removal from the mold. An exterior cavity in the form of slot           inches, a wall thickness of about 0.26 inches, a volume of 6.31




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cubic inches, and a surface area substantially increased by           volume, while providing excellent filtration performance and
interior cavities 311, 312, 313, and exterior cavity 320 (slot        life and good flow-rates, will be particularly beneficial for
portions 321, 322, 323).                                              said pitcher or tank applications.
    Block 400 in FIGS. 13A-E comprises multiple (four) gen-              FIGS. 16 A-E portray one, but not the only, embodiment of
erally semi-cylindrical sub-blocks 401,402,403,404 or four 5 a filter block 800 that includes a brace 822 or partition divid-
"cores" of media that are connected together at their tops at         ing or extending into the indentation space. Filter block 800 is
top portion 406 having openings 408 into the cavities 411,            similar to filter block 100, in FIGS. lOA-M, except that the
412,413,414. In cross-section, as viewed along line D-D, one          brace 810 extend between and connects the two sub-blocks in
may see just two of the sub-blocks 401, 403, and just two of          a portion of the indentation space. As seen to the best advan-
the cavities 411, 413. Again, there is an opening/space 10 tage in FIG. 16C, this brace 810 does extend substantially all
between the sub-blocks (in this embodiment, slot 420 with             the way along the length of the sub-blocks, but there is still an
slot arms 421, 422, 423, 424) that allows water access                indentation on each side of the brace 810 that separates/
between the sub-blocks, preferably either to reach the outer          spaced the sub-blocks. Thus, it may be said that there are two
surface of the sub-block portions "facing" each other for flow        indentations 821, 822 extending into the filter block 800
outside-in even in the area between the sub-blocks, or for 15 (from the bottom and the side of the filter block) along a
water collection between the blocks after inside-out flow out         substantial amount of the length of the sub-blocks. The rein-
of the sub-blocks.                                                    forcement of the brace 810 helps prevent the filter block
    Block 400 in one preferred version and size has a major           sub-blocks from snapping off or otherwise being damaged,
outside diameter of about 1.95 inches, a length of about 3            and, because of the presence of the two indentations, said
inches, a wall thickness of about 0.26 inches, a volume of 6.42 20 brace 810 preferably does not significantly reduce fluid
cubic inches, and a surface area substantially increased by           access to the surfaces of the indentation. The brace 810 is
interior cavities 411, 412, 413, and 414, and exterior cavity         preferably thin and tapered, to minimize its impact (reduc-
420 (slot arms 421, 422, 423, 424).                                   tion) on the indentation surface area.
    FIGS. 14A-E show an activated carbon block 500 using a               FIGS. 17A-D portrays an alternative embodiment of the
cylindrical structure. For the sake of comparison, the hollow 25 invented filter block 900 comprising a single cavity 911 at a
cylindrical block 500 in FIGS.14A-E may be formed to have             first end opening into two cavities 912, 913 part way along the
the same major outside diameter (about 1.95 inch), the same           length of the filter block. This filter block 900 may be
length (about 3 inches), and the wall thickness (about 0.26           described as having a single filtration unit/sub-block at said
inches) as the example sizes ofblocks 100,200,300,400. The            first end and two sub-blocks 901, 902 an opposite end of the
hollow, cylindrical block in FIGS. 14A-E has an ID of about 30 filter block 900, wherein the cavity 911 of the first sub-block
1.43 inches. One may note that, in this cylindrical block 500,        901 is in fluid communication with the cavities 912, 913 of the
the interior surface/space substantially matches the exterior         other sub-blocks 902, 903. Thus, this is one example of a
surface; that is, the inner surface is a cylinder and the outer       branched cavity arrangement.
surface is a cylinder. The block 500 does not have additional            FIGS. 18A-B portray a filter block 1000 that is that same as
cavities or cavity surfaces, either on the interior or the exte- 35 block 900 in FIGS. 17A-D except that block 1000 has a glue
rior, to add to the fluid-accessible surface area.                    depression ring 1026 around the top of the block. This depres-
    FIGS. 15A-E illustrate that one may add a "bottom" to the         sion may receive glue, or otherwise seal, to a housing or
cylindrical block, making a standard single-cup filter block          internals member for controlling fluid flow.
600 having an axial cylindrical wall and a radial bottom wall.           FIGS. 19 A-C portray an alternative filter block 1100 for a
One may see that the cup in FIGS. 15A-E may be formed to 40 shorter housing, wherein the filter block 1100 and its sub-
have the same major outside diameter (about 1.95 inch), the           blocks 1101, 1102 are wider (W) than they are tall (T). This
same length (about 3 inches), and the wall thickness (about           block 1100 has two D-shaped cavities 1111, 1112 in a first
0.26 inches) as the example sizes of blocks 100,200,300,              end and a slot 1122 (another example of an indentation) in the
400, 500. Block 600 has an ID of about 1.43 inches. The total         second, opposing end separating portions of the two sub-
surface area of this block 600 is about 36.67 square inches, but 45 blocks 1101, 1102.
the flowable surface area (minus one end surface that is typi-           FIGS. 20A and 20B illustrates alternative embodiments
cally sealed to housing or internals) is about 35.29 square           1200, 1300 of multicore, multiple-sub-block filter blocks
inches, which is below the multi-core embodiments. One may            wherein multiple cavities are supplied to form the multiple
note that, in this cup-shaped block 600, the interior surface/        sub-blocks, and indentations are also supplied to further sepa-
space substantially match the exterior surface; that is, the 50 rate the sub-blocks to provide additional fluid access to inner
inner surface is a cup-shape and the outer surface is a cup-          regions of the filter block. The indentations are provided in
shape. The block 600 does not have additional cavities or             the form of gaps/spaced between the sub-blocks in regions
cavity surfaces, either on the interior or the exterior, to add to    generally midway along the length of the sub-blocks but not
the fluid-accessible surface area.                                    at the bottom of the sub-blocks. These filter blocks are some,
    Itis clear from the examples inFIGS. lA-Fthrough13A-E, 55 but the only, embodiments that comprise indentation(s) that
all having the same overall diameter and overall length as the        extend into the filter block at the other than an end of the filter.
cylindrical block (FIGS. 14A-E) and the cup-shaped block              These indentations/gaps/spaces may be described as extend-
(FIGS. 15A-E), that multiple-core activated carbon block              ing into a side/sides of the filter block or extending radially
shapes according to many embodiments of the invention will            into the filter block, Thus, it may be seen that, in some
increase inlet or outlet surface area (and preferably both) for 60 embodiments, indentations may extend into a central region
a given volume of activated carbon material and for a given           of the filter block but not into either end of an elongated filter
filter cartridge volume, housing volume, or "package" vol-            block. It may be noted that the bottom end of filter block 1200
ume. An important design feature for a filter cartridge in a          comprises a solid bottom plate connecting the sub-blocks,
gravity-flow water pitcher or tank is to minimize the total           wherein, in some embodiments there may be a seam/interface
space that a cartridge or filter housing takes up (also called the 65 between the bottom plate and the sub-blocks comprising pref-
filter "package" volume) inside the pitcherortank. Therefore,         erably a layer of adhesive, glue, or melted and/or re-solidified
embodiments of the invention that minimize the package                binder directly connecting the bottom plate to the sub-blocks.




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It may be noted that the bottom ends of the sub-blocks of filter     Processing
block 1300 are preferable integrally connected with each                 A carbon block filter can be manufactured using conven-
other rather than comprising a glued or bonded seam/inter-           tional manufacturing techniques and apparatus. In one
face.                                                                embodiment, the binder, carbon granules, and other actives
   Many, but not all, embodiments of the multiple-sub-block          are mixed uniformly to form a substantially homogeneous
sold profile filters use activated carbon and thermo-set binder,     blend. The blend is then fed into a mold having an inner
and the preferred proportions may range from about 5 up to           surface conforming to the desired outer surface of the block
about 70 weight percent binder, and 95 down to about 30              filter, and that has an upwardly projecting member or mem-
weight percent activated carbon plus additives. More prefer-         bers that define the cavity of the resultant block filter. The
                                                                  10 mold is heated to a temperature in the range of approximately
able, many embodiments comprise 10-50 weight percent
                                                                     175-205° C. The optional, but preferred, compression may
binder and 90 down to 50 weight percent activated carbon
                                                                     take place before heating, during heating, and/or after heat-
plus additives.
                                                                     ing. Compression, if performed, is preferably performed at a
   An especially preferred composition, for example, for             pressure of less than about 100 psi. After cooling, the result-
gravity flow or low-pressure filter blocks according to 15 ing porous composite carbon block is removed from the mold
embodiments of the inventions is: 30-50 wt-% binder(s),              and trimmed, if necessary.
28-52 wt-% powdered or granular activated carbon, and                    As noted above, in the processing of the carbon block,
18-22 wt-% lead removal media, wherein the total of the              compression can be applied in order to achieve a more con-
binder, activated carbon and lead removal media 100-%. Fil-          sistent and stronger carbon block than can be achieved using
ter blocks, in the shape represented by FIGS. lOA-N, have 20 a sintering process as commonly practiced in the porous
been made from about 40 wt-% UHMWPE binder, about 38                 plastics industry. Compression can facilitate good contact
wt-% powdered activated carbon, and about 22 wt-% lead               between powdered or granular media and binder particles by
removal (Alusil™) media. Activated carbon size distribution          pressing the powdered media into the binder. Compression
such as the following was used: Dl0 of about 10-30 microns;          can also prevent cracking and shrinkage of the carbon block
D50 of about 70-100 microns; and D90 of about 170-200 25 while the filter is cooling in the mold. Thus, in one embodi-
microns. These blocks, made in the shape of FIGS. l0A-N              ment of the invention, a compression that reduces the fill
have been found to perform effectively in water filtration,          height of the mold in the range of approximately 0%-30% is
including obtaining lead removal results that meet the recent        employed. In some arrangements, the compression reduces
NSF Standard 53 for lead in drinking water (less than 10 ppb         the fill height of the mold in the range of approximately
lead, that is less than 10 ppb total of soluble and particulate 30 5-20% or 10-20%. In other arrangements, the compression
lead), while also achieving a flow rate of 1 liter per 4-7           reduces the fill height of the mold by no more than approxi-
minutes flow rate of water filtration. It is noteworthy that the     mately 10%. In yet another arrangement, no compression is
multiple-sub-block filter block providing this excellent per-        applied.
formance had only about a 2 inch outer diameter and about a              Molding or otherwise forming the embodiments shown in
3 inch axial length, comprised only binder, activated carbon 35 FIGS. 10-13 and 16-19 may pose particular problems due to
and lead sorbent in a solid profile, and did not contain any ion     the preferred sub-block structure and the deep penetration of
exchange resin or zeolite (which are conventionally used in          the cavities into the sub-blocks. Unless special adaptation is
gravity flow filters for metals removal). Such performance           made in many embodiments, blemishes, holes, tom or
could result a filter cartridge, for a water carafe or other         destroyed sub-block walls, and/or other imperfections in the
gravity flow apparatus, of overall dimensions of less than 3 40 block may occur during separation of the block and the mold/
inches in diameter and less than 5 inches in length, for             tools. As a filter block with uniform flow distribution is an
example, meeting the recent NSF Standard 53 for lead                 important object of these embodiments, such imperfections
removal. The inventors also believe that this performance            are usually not acceptable. Therefore, the embodiments
may be achieved, with embodiments of the multiple-sub-               shown include adaptations in the block shape, to allow for
block filters, over a long filter life.                           45 proper removal of the block from the mold or other forming
   Embodiments presented herein, including the multi-core,           tools. The adaptations may include orientation of the sub-
multi-cavity, or multi-sub-block solid profile media, may be         blocks to be "clustered" around a central axis, shape and
used in liquid filtration applications and also in air or other      diameter of the cavities adapted to minimize thin portions
gaseous material filtration applications. While the filters in       extending transverse to the direction in which the block is
the drawings, and the terminology used herein, are shown or 50 removed from the block, and tapering/slanting of the outside
described in terms of "up" and "down," the filters are not           surface of the block, including the exterior cavity surfaces,
limited to a particular orientation; various housings and inter-     and/or the internal surfaces forming the interior cavities.
nals may be used, as will be understood by one of average            These adaptations allow fabrication of various embodiments
skill after viewing this disclosure and the accompanying             that achieve the objectives of a relatively large volume of
drawings, that may place the filters in various orientations 55 media, with a low pressure drop, good flow distribution,
other than those shown.                                              coupled with durability and performance consistency.
   Thus, one may see, from the above discussion of interior              When forming the embodiments shown in FI GS. 10-13 and
cavities, that the multiple sub-block form of the preferred          16-19, the mixture of media components and binder(s) may
embodiments may include, for example: a block that has               be placed in a mold, and may optionally be compressed with
multiple, connected filtration units or sub-blocks extending 60 a piston or weight on the mixture for example, and heated to
all along the block length; a block with a first axial end region    make the binder tacky enough to stick to the media particles,
that comprises a single filtration unit or sub-block, transition-    thus, holding them together in a solid profile when cooled.
ing to a middle or second axial end region comprising mul-           Typically, heating in a 400-500 degree F. oven for about 30
tiple filtration units/sub-blocks; or a block with a first axial     minutes will effectively heat the mixture to reach the desired
end region comprising multiple, connected filtration units/ 65 amount of binder tackiness. The optional, but preferred, com-
sub-blocks transitioning to middle or second axial end region        pression may take place before heating, during heating, and/
comprising different multiple filtration units/sub-blocks.           or after heating. The optional compression that reduces the




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volume of the mixture about 10-20 percent is preferred, but                                         -continued
this may vary and may extend to a greater or lesser range of
                                                                                      Chlorine                  0.25-0.75 mg/L
compression.                                                                          PH                           8.3-8.6
Performance
    Some embodiments include filters for use in gravity and 5
low pressure applications that meet a specific performance                 The filter usage lifetime (L) is defined as the total number
range of operation defined by filter volume, define_d usa~e             of gallons that can be effectively filtered according to claims
lifetime, average time of filtration, and/or lead reduction abil-       presented by the manufacturer or seller of the filter. Typically
ity. The nature ofthe filter meeting the following performance          these claims are present on the product packaging in the form
criteria is independent of the exact embodiment of the filter 10 of instructions to a consumer as to a quantity of water that can
and thus applicable to mixed-media, carbon blocks, non-                 be filtered before the filter should be changed. The lifetime
wovens, hollow fibers and other filtration formats.                     claims may also be presented in the manufacturer's or seller's
FRAP Factor                                                             advertising. Such claims typically bear some relationship to
    In one approach, the performance range is defined by a              some performance attribute of the filter. Typically, filter usage
factor accounting for all of the above listed attributes. The 15 lifetime claims require a substantiation process, and in some
factor is designated the Filter Rate and Performance Factor             cases, a competitor may be able to challenge such claims in a
(FRAP) Factor. Preferred filters have a FRAP Factor ranging             judicial or non-judicial process.
from 0-350, preferably less than about 200, as defined by the              During FRAP testing, the source water is gravity-fed in
following formula:                                                      batches of 1 liter. Preferably, the testing is performed in the
                                                                     20 container for which the subject filter is designed.

                                  [V•f•c,]
                                                                           FRAP performance testing may be conducted according to
                          FRAP=~                                        the NSF/ANSI 53 protocol. Requirements and procedures of
                                                                        the NSF/ANSI 53 protocol are available in a document
                                                                     25 entitled "Drinking water treatment units-Health effects",
where:                                                                  available from NSF International, 789 North Dixboro Road,
V=volume of the filter media (cm3 ),                                    P.O. Box 130140AnnArbor, Mich. 48113-0140, USA (Web:
f=average filtration unit time over lifetime L (min/liter),             http://www.nsf.org), and which is herein incorporated by ref-
c =effluent lead concentration at end of lifetime L when                erence.
  • source water having a pH of8.5 contains 90-120 ppb (µg/ 30             The FRAP factor criteria set forth herein is applicable to all
    liter) soluble lead and 30-60 ppb (µg/liter) colloidal lead         embodiments of pour through filters including but not limited
    greater than 0.1 µm in diameter                                     to mixed media (carbon and ion exchange resin), carbon
L=filter usage lifetime claimed by a manufacturer or seller of          blocks with any type and size of carbon and binder material
    the filter (gallons).                                               with and without lead sorbent. Other embodiments of the
    The filter volume (V) is defined as the volume of filtering 35 present invention include alternate filtration techniques such
media or active media. This equates to the hydrated bed                 as membranes, nonwovens, depth media, nanoparticles and
volume for mixed media filters and the mold volume for the              nanofibers, ligands, etc.
carbon block filters. In preferred embodiments, the volume of              FIGS. 21-23 are graphical representations of filter FRAP
the filter media (V) is less than about 300 cm3 , and more              factors  as a function of filtration unit time and volume, lead
preferably less than about 150 cm3 •                         .     . 40 reduction, and filter lifetime, respectively.
    The average filtration unit time (f) is defined as the time 1t         FIG. 21 is a chart 2100 graphically depicting the FRAP
takes to filter one liter of water averaged over all filtered liters    factor as a function of filtration unit time for filters having
in the defined filter lifetime. In preferred embodiments, the           three different volumes (V). As shown, the larger the volume
average filtration unit time (f) is less than about 1~ minutes          and longer filtration unit time (f), the higher the FRAP factor.
per liter, and more preferably less than about 6 mmutes per 45             FIG. 22 is a chart 2200 graphically depicting the FRAP
liter.                                                                  factor as a function of filtration unit time for filters relative to
    The effluent lead concentration (c,) is the amount of total         lead reduction performance. As shown, the better the lead
lead (soluble and colloidal) remaining in the water after fil-          removal and shorter the filtration unit time (f), the lower the
tration for the last liter of water filtered in the defined filter      FRAP factor.
lifetime when the influent (source) challenge water is pH 8.5 50           FIG. 23 is a chart 2300 graphically depicting the FRAP
water containing 150± 15 ppb of total lead with 30± 10% being           factor as a function of filtration unit time for filters relative to
colloidal lead greater than 0.1 µmin diameter.                          lead reduction performance. As shown, the shorter the filter
    Preferably, the source water is prepared as defined in the          lifetime (L) and longer the filtration unit time (f), the higher
NSF/ANSI 53 protocol (2007). Illustrative source water                  the FRAP factor.
specifications according to the NSF/ANSI 53 protocol (2007) 55             Several gravity fed carbon blocks and mixed media filters
are as follows:                                                         have been tested for flow rate and lead reduction capability
    135-165 ppb total lead content                                      against the defined lead challenge water. Filters tested include
    20-40% oflead in colloidal form, size greater than 0.1 µm           several formulations of carbon blocks along with commer-
    greater than 20% of the colloidal lead must be in the 0.1 µm        cially available mixed media filters produced by BRITA®
to 1.2 µm size range.                                                60
                                                                        and PUR®. Based on the results from testing, the FRAP
    Hardness, alkalinity, chlorine content and pH of the water          factors were calculated for each filter and reported below. No
is specified as follows:                                                mixed media filters tested met the claimed FRAP factor range
                                                                        due to their inability to remove particulate lead. The formu-
                                                                        lations of gravity fed carbon blocks disclosed are unique in
               Haxdness                   90-110 mg/L                65 there ability to meet the required FRAP factor. The
               Alkalinity                 90-110 mg/L                   "Examples" below include many examples of gravity flow
                                                                        carbon blocks that have a FRAP factor ofless than 350. It is




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not believed that any currently-marketed gravity-flow filters           Toe following Table lists some of the formulations used in
have a FRAP factor ofless than 350.                                  the following examples.
   Preferably, a lead concentration in a final liter of effluent
water filtered by the filter is less than about 10 µg/liter after                              TABLE 1
approximately 151 liters (40 gallons) of source water filtra- 5
                                                                     Filter
tion, the source water having a pH of 8.5 and containing             Multiple
135-165 parts per billion total lead with 30-60 ppb thereof          Core      Lead
being colloidal lead greater than 0.1 µmin diameter, fed in          (FIGS.    Sorbent    Carbon    %Lead      %     %       Fill
                                                                     l0A-F):   Type       Type      Sorbent Carbon Binder Weight
batches of about one liter with a head pressure of between
                                                                  10
approximately 0.1 and 1.0 psi.                                       PA3-5     Alusil™ 1  PAC 2       20      40     40     36.5
                                                                     PA3-8           Alusil           PAC             20          40         40         36.0
                        EXAMPLES                                     PT3-4           ATS 3            PAC             20          40         40         39.5
                                                                     PT3-6           ATS              PAC             20          40         40         39.5
                                                                     PT3-5           ATS              PAC             20          40         40         39.5
   Embodiments of the present invention are further illus-           alternate
trated by the following examples. The examples are for illus-     15 housing
trative purposes only and thus should not be construed as            PT3-11          ATS              PAC             20          40         40        40.0
                                                                     PT3-13          ATS              PAC             20          40         40        40.0
limitations in any way.                                              PT3-51          ATS              PAC             20          40         40        40.0
   All scientific and technical terms employed in the                PT3-53          ATS              PAC             20          40         40        40.0
examples have the same meanings as understood by one with            P2-8            NIA              PAC              0          60         40        40.0
ordinary skill in the art. Unless specified otherwise, all com-   20 P2-6            NIA              PAC              0          60         40        40.0
ponent or composition percentages are "by weight," e.g., 30            1 Alusil - Selecto Scientific, Inc., 3980 Lakefield Court, Suwanee, GA 30024 Sodium
wt%.                                                                   Alumina silicate lead sorbent with diameter 40-70 µm.
                                                                       2 PAC - powder activated carbon with size 80 x 325 mesh.
                                                                       3 ATS Engelhard corporation 101 Wood Ave. Iselin, NJ 08830 Titanium Silicate zeolite lead
                          Example 1                                    sorbent with 25-30 µm diameter.
                                                                  25
   As noted above, various sizes and types of media may be                                   Example3A
used. Many, but not all, embodiments may use activated car-
bon particles and thermo-set binder. In multiple-core filter
                                                                      CMC blocks formulated with powder carbon fiber in vary-
blocks as illustrated in FIGS. 10-13 and 16-19, illustrative
                                                                   ing ratios with lead sorbent and 40% ultra high molecular
proportions of the various filter materials may be in the range 30
of 5-45 weight percent binder, 95-35 weight percent activated      weight polyethylene binder with a melt flow less than 1.0 g/10
carbon particles such as granular activated carbon "GAC"           min.  as determined by ASTM D 1238 at 190° C. and 15 kg
and, more preferably, 20-40 weight percent binder and 60-30        load were tested by the method described in Example 3A. The
weight percent activated carbon particles such as GAC.A lead       results are shown in Table 2. PAl blocks contained 40 wt. %
or arsenic sorbent may be added, typically in place of a 35 binder, 50 wt.% powder carbon fiber (HMM 80x320), and 10
portion of the GAC.                                                wt. % Alusil™ lead sorbent. PA2 blocks contained 40 wt. %
                                                                   binder, 45 wt. % powder carbon fiber, and 15 wt. % Alusil™
                           Example2                                lead sorbent. PA3 blocks contained 40 wt. % binder, 40 wt.%
                                                                   powder carbon fiber, and 20 wt. % Alusil™ lead sorbent. PT2
   In multiple-core filter blocks as illustrated in FIGS. 10-13 40 blocks contained 40 wt. % binder, 50 wt. % powder carbon
and 16-19, examples of compositions are: 45-80 weight%,            fiber, and 10 wt. % ATS lead sorbent. All blocks were tested
10-15 weight % lead sorbent (such as Alusil™ 40-70, or             with unrestricted flow through the filter except PT3-4. PT3-4
others); and 10-40 weight % binder particles. The activated        was tested in an alternate housing set-up in which the exit
carbon may be 80x325 mesh. An activated carbon with size           point for water from the filter was moved from the bottom of
distribution such the following, for example, may be used: 45 the filter towards the top. This restricted the flow rate in the
D10 10-20 microns; D50 80-90 microns; and D90 180-200              block and forced the water to have extended contact with the
microns.                                                           block.
                                                                      FIG. 24 illustrates a representative configuration of a filter
                        Examples 3A-E                              set-up 2400 having unlimited flow. In this example, a filter
                                                                50 block 2402 is present in a housing 2404. Flow is unrestricted
   Gravity fed carbon blocks have been formulated in cylin-        through the block 2402 and exits at the bottom of the housing
drical multiple-core blocks (referred to as "CMC'' blocks)         2404. There is no long term contact between the block 2402
having a shape as shown in FIGS. lOA-F. Toe blocks shapes          and filtered water.
provide large surface areas in the given volumes. The blocks          FIG. 25 depicts a representative configuration of a filter
are comprised of activated carbon in powder or fiber form, 55 set-up 2500 with a filter block 2502, where the exit point for
low melt flow high molecular weight binder, and a lead sor-        water from the housing 2504 is moved from the bottom of the
bent material.                                                     housing 2504 towards the top. In this case, the flow is
   Toe CMC blocks in this example have a volume of approxi-        restricted. Water is forced to stay in contact with the block
mately 80 cm3 with and internal surface area of 265.7 cm2 .        2502 longer as the housing 2504 fills with water before it exits
The CMC blocks tested have masses ranging from 35 to 38 g. 60 at the upper holes.
   The CMC blocks were evaluated for flow rate performance            Lead challenge water was formulated with 150 ppb lead
and lead reduction performance against colloidal lead chal-        with 45 ppb in colloidal form (size >0.1 microns). The col-
lenge water prepared as defined in NSF/ANSI 53 Protocol            loidal lead is a challenge for gravity fed filters to remove
(2007). In addition to testing the gravity fed carbon blocks,      whilst maintaining rapid filtrations rates (<7 min./liter). Toe
several mixed media filters, containing granular activated 65 flow rates were measured by filling a liter reservoir of a
carbon and ion exchange resin, were tested for comparative         standard Brita® pitcher with the lead challenge water. Toe
performance.                                                       time required for the water to filter through the filtration




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                              29                                                                                  30
material was recorded and the resulting effluent water was                   reported includes both colloidal and particulate form. The
tested as indicated in Table 2. The filtrate effluents were                  lead concentration was measured using an atomic adsorption
collected after 3, 76, 151, 227, 273, and 303 liters of challenge            spectrometer. The concentration of lead in the effluent and
water had been filtered. This corresponds to 2, 50, 100, 150,                influent (challenge) water are displayed in ppb. Effluent val-
180, and 200% of filter life. The total lead concentrations                  ues less than 10 ppb are desirable.

                                                                                             TABLE2
                                          Liters Filtered                            3L        76 L     151 L      227 L    273 L    303 L     average

                                          PA3-5

                                          Effluent Total Pb Cone. (ppb)               8.68       7.94      9.53      9.05     10.95   11.87       9.7
                                          Influent Total Pb Cone. (ppb)            161.9      153.5     149.7     158.9     162.6   156.2       157
                                          Influent Sol. Pb Con. (ppb)              112.8      108.8     106.7     116.1     112.4   109.8
                                          % Colloidal Particulate Influent           30.3       29.1      28.7      26.9      30.9    29.7       29
                                          % Total Pb Removed                         94.6       94.8      93.6      94.3      93.3    92.4
                                          Flow Rate (min.lliter)                   0:05:00    0:04:32   0:04:30   0:03:28   0:03:28 0:03:30    0:04:09
                                          PA3-8

                                          Effluent Total Pb Cone. (ppb)               7.24       5.86      7.45      7.01     8.21     8.47       7.4
                                          Influent Total Pb Cone. (ppb)            166.7      156.6     150.2      169.8    165.3    161.3      162
                                          Influent Sol. Pb Con. (ppb)              115.9      111.9     104.9      116.6    112.4    109
                                          % Colloidal Particulate Influent           30.5       28.5      30.2      31.3     32.0     32.4       31
                                          % Colloidal Particulate > 1.2 microns      39.2       31.8      23.0                                   31
                                          % Total Pb Removed                         95.7       96.3      95.0      95.9    95.0       94.7
                                          Flow Rate (min./liter)                   0:04:48    0:04:18   0:04:18   0:03:34 0:03:35    0:03:39   0:04:03
                                          PT3-4

                                          Effluent Total Pb Cone. (ppb)               6.76       5.42      6.25      6.67      7.84    8.55       6.9
                                          Influent Total Pb Cone. (ppb)            163.3      157.2     150       166.1     161.2   160.1       160
                                          Influent Sol. Pb Con. (ppb)              114.5      108.2     108.1     116       114.1   112.6
                                          % Colloidal Particulate Influent           29.9       31.2      27.9      30.2      29.2    29.7       30
                                          % Total Pb Removed                         95.9       96.6      95.8      96.0      95.1    94.7
                                          Flow Rate (min./liter)                   0:05:19    0:04:31   0:04:29   0:03:39   0:03:36 0:03:37    0:04:13
                                          PT3-6

                                          Effluent Total Pb Cone. (ppb)               7.09     11.37     13.29      14.17     14.35   14.62      12.5
                                          Influent Total Pb Cone. (ppb)             166.8     158.3     151.3     169.5     182.8   168.6       166
                                          Influent Sol. Pb Con. (ppb)               118.7     111.5     106       115.8     113.5   112
                                          % Colloidal Particulate Influent           28.8      29.6      29.9       31.7      37.9    33.6       32
                                          % Colloidal Particulate>1.2 microns                                       36.5      53.1    42.0       44
                                          % Total Pb Removed                         95.7       92.8      91.2      91.6      92.1    91.3
                                          Flow Rate (min./liter)                   0:20:19    0:04:22   0:04:08   0:03:02   0:03:06 0:03:05    0:03:51
                                          PT3-4 - alternate housing

                                          Effluent Total Pb Cone. (ppb)               1.17      5.08       1.25      3.75      5.08    6.43       3.8
                                          Influent Total Pb Cone. (ppb)             127.5     154.6     135.9     131.4     126     131.8       135
                                          Influent Sol. Pb Con. (ppb)               106.7     109.6     105.6       90.6      88.6    84.6
                                          % Colloidal Particulate Influent           16.3      29.1       22.3      31.1      29.7    35.8       27
                                          % Colloidal Particulate>1.2 microns                             39.3      25.5      17.1    23.5       26
                                          % Total Pb Removed                         99.1       96.7      99.1      97.1      96.0    95.1
                                          Flow Rate (min./liter)                   0:06:20    0:06:02   0:05:26   0:05:28   0:05:42 0:05:31    0:05:36
                                          PT3-ll

                                          Effluent Total Pb Cone. (ppb)               7.69       6.94      8.46      5.42    3.34    4.21         6.0
                                          Influent Total Pb Cone. (ppb)            181.6      172.1     164.5     148.5   142     134.4         157
                                          Influent Sol. Pb Con. (ppb)              133        119.7     118.6       98.9    87.9    84.8
                                          % Colloidal Particulate Influent           26.8       30.4      27.9      33.4    38.1    36.9         32
                                          % Total Pb Removed                         95.8       96.0      94.9      96.4    97.6    96.9
                                          Flow Rate (min)                          0:04:32    0:04:20   0:04:23   0:03:54 0:03:54 0:03:49      0:04:09
                                          PT3-13

                                          Effluent Total Pb Cone. (ppb)               8.78       7.73      9.2       3.7       4.16    4.62       6.4
                                          Influent Total Pb Cone. (ppb)            185        170.5     167.5     145.6     133     127.1       155
                                          Influent Sol. Pb Con. (ppb)              120.9      108.2     116.2       97.9      91      85.6
                                          % Colloidal Particulate Influent           34.6       36.5      30.6      32.8      31.6    32.7       33
                                          % Total Pb Removed                         95.3       95.5      94.5      97.5      96.9    96.4
                                          Row Rate (min)                           0:04:25    0:04:11   0:04:15   0:03:57   0:03:49 0:03:52    0:04:04



   All CMC blocks exhibited fast flow rates around 4 min./ 60          Powder-carbon CMC blocks with a higher fill weight of
liter with good lead reduction performance. Two blocks              material than the blocks above have also been tested. While
reduce lead to below 10 ppb for 200% of filter life. The block      the results are not shown, they demonstrate slightly slower
tested with alternate housing showed improved lead reduc-           flow rates. The Alusil™ containing blocks with higher fill
tion performance but also had slow flow rates, averaging 5:36       weights exhibit decreased lead removal ability compared to
min./liter. The flow rate in the alternate block can be tuned by 65 the lower fill weight blocks. This may be due to inconsistent
changing the size, number and location of the water exit            packing in the filter mold resulting in areas of high and low
holes.                                                              compaction. This would result in areas of preferential flow.




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                                   31                                                                              32
Areas with high flow rates would be used up more quickly.                        carbon in powder or fiber form, low melt flow high molecular
The ATS containing blocks performed better at the higher fill                    weight binder of 1.0 g/10 min. as determined by ASTM D
weight. This may be due to the higher density of ATS. The                        1238 at 190° C. and 15 kg load, and a lead sorbent material.
ATS containing formula may require more material to                              For the CMC block the surface area in contact with unfiltered
achieve the same compression as the Alusil™ blocks.                        5     water is defined as the interior portion and the upper surface
                                                                                 above the lip (116, FIG. 10A). For the cylindrical block, the
                                Example3B                                        surface area in contact with unfiltered water is defined as the
                                                                                 exterior surface, but not the upper or lower end surfaces.
    Mixed media filters containing granular carbon and ion                                                 TABLE4
exchange resin were tested by the method described in 10
Example 3A. The results are shown in Table 3. The filters                                                    CMCBlock               Cylindrical Block
                                                                                                            (FIGS. l0A-F)            (FIGS. 14A-E)
tested were the current BRITA® gravity-flow mixed media
filter, the BRITA® Germany MAXTRA® gravity-flow                                                         . . 2                   . . 2
                                                                     Shape                              m,1n,       cm,cm3 ,    m,1n,        cm,cm3 ,
mixed media filter, and the Proctor and Gamble PUR®                  Units                              g, g/in2    g, g/cm3    g, g/in2     g, g/cm3
2-stage gravity-flow filter with pleated microfilter. All filters 15 volume of block                      5.41          88.67    9.21         151.00
were prepped according the manufactures directions, which            surface area in                     13.90          89.64   24.66         159.44
included 15 min. of soaking. All filters were tested in the          contact with unfiltered
pitcher provided by the manufacturers.                               water

                                             TABLE3
Liters Filtered                      3L       76L      151 L     227 L   273 L     303 L   average

Brita Granular

Effluent Total Pb Cone. (ppb)       39.30   40.86   42.21   42.50   46.15   41.27           42.05
Influent Total Pb Cone. (ppb)      170.10 160.00 182.70 171.90 167.60 164.70               169.50
Influent Sol. Pb Con. (ppb)        118.30 109.90 107.60 117.50 116.90 115.40
% Colloidal Particulate lnfluent    30.5%   31.3% 41.1% 31.6% 30.3% 29.9%                   32.5%
% Total Pb Removed                  76.9    74.5    76.9    75.3    72.5    74.9
Flow Rate (min./liter)             0:02:50 0:06:05 0:05:28 0:05:59 0:06:17 0:06:33         0:05:32
Maxtra 55 :45

Effluent Total Pb Cone. (ppb)       36.43     40.85   43.77   45.46   46.04   45.59   43.02
Influent Total Pb Cone. (ppb)      170.00    159.90 153.20 165.80 164.10 166.60 163.27
Influent Sol. Pb Con. (ppb)        119.40    110.00 104.50 113.80 115.00 113.00
% Colloidal Particulate lnfluent    29.8%     31.2% 31.8% 31.4% 29.9% 32.2%           31.0%
% Total Pb Removed                  78.6      74.5    71.4    72.6    71.9    72.6
Flow Rate (min./liter)             0:04:41   0:04:51 0:04:51 0:04:39 0:04:40 0:04:42 0:04:44
PUR2stage

Effluent Total Pb Cone. (ppb)        4.85   26.06   30.24         NA     NA         NA      20.38
Influent Total Pb Cone. (ppb)      170.60 159.00 152.20           NA     NA         NA     160.60
Influent Sol. Pb Con. (ppb)        117.50 113.20 110.70           NA     NA         NA
% Colloidal Particulate lnfluent    31.1%   28.8% 27.3%           NA     NA         NA      29.1%
% Total Pb Removed                  97.2    83.6    80.1
Flow Rate (min./liter)             0:08:15 0:22:59 0:16:53        NA     NA         NA     0:16:02
PUR2stage

Effluent Total Pb Cone. (ppb)        2.89     32.38     38.60     NA     NA         NA      24.62
Influent Total Pb Cone. (ppb)      161.10    165.20    158.00     NA     NA         NA     161.43
% Total Pb Removed                  98.2      80.4      75.6
Flow Rate (min./liter)             0:08:13   0:12:15   0:12:30    NA     NA         NA     0:18:52
PUR2stage

Effluent Total Pb Cone. (ppb)        2.95     32.56     39.56     NA     NA         NA      25.02
Influent Total Pb Cone. (ppb)      162.20    138.70    149.40     NA     NA         NA     150.10
% Total Pb Removed                  98.2      76.5      73.5
Flow Rate (min./liter)             0:07:35   0:12:41   0:10:58    NA     NA         NA     0:15:29



    All mixed media filters tested fail to adequately reduce                                         TABLE 4-continued
total lead concentrations by 50% (7 5 liters) of filter life. The 55
mixed media filters with the pleated micro filter screen have                                                CMCBlock               Cylindrical Block
passing lead removal at 3 liters but then fail at higher quan-                                              (FIGS. l0A-F)            (FIGS. 14A-E)
tities. The pleated micro filter results in slow flow rates with
                                                                                                        . . 2                   .    . 2
averages great than 15 min./liter over the lifespan of the filter    Shape                              m,1n,       cm,cm3 ,    ill, Ill ,   cm,cm3 ,
(151 liters).                                                     60 Units                              g, g/in2    g, g/cm3    g, g/in2     g, g/cm 3

                                Example4                                     Wall thickness               0.26           0.66       0.52       1.33
                                                                             fill weight low             36.00          36.00
  Gravity fed carbon blocks were formed in two shapes: a                     fill weight high            43.00          43.00
multiple-core block (referred to as "CMC'' block) having a                65 block density low            6.65           0.41       6.56       0.40
shape as shown in FIGS. 10A-F, and a cylindrical block as                    block density high           7.95           0.48       7.70       0.47
showninFIGS.14A-E. The blocksarecomprisedofactivated




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                                       33                                                                        34
                          TABLE 4-continued                                          above-described exemplary embodiments, but should be
                                                                                     defined only in accordance with the following claims and
                                   CMCBlock                 Cylindrical Block        their equivalents.
                                  (FIGS. l0A-F)              (FIGS. 14A-E)
                            .    . 2                    .    . 2
Shape                       111,lil,    cm,cm3 ,        lil,lll,    cm,cm3 ,           What is claimed is:
Units                       g, g/in2        g, g/cm3    g, g/in2     g, g/cm3
                                                                                       1. A gravity-fed water filter, comprising:
surface area in                 2.57         1.01           2.68                       filter media including at least activated carbon and a lead
contact with unfiltered                                                                    scavenger;
water/volume
                                                                                       wherein the filter achieves a Filter Rate and Performance
                                                                                10
                                                                                           (FRAP) factor of about 350 or less according to the
  As noted in the Table above, the CMC blocks provide large                               following formula:
surface areas in the given volumes.

                                 Example5                                                                     [V•f•c,]
                                                                                15                         FRAP=~
   The following Table lists FRAP Factor Data for five filter
shapes/types, the filters having formulations as presented
above in Examples 3A-E, except as noted. Within the mul-                 where:
tiple-core blocks (FIGS. lOA-F), three different formulations            V=volume of the filter media (cm3),
are displayed (PA3, PT3, P2). Within the multiple-core 20
                                                                          f=average filtration unit time over lifetime L (min/liter),
blocks a wide range of preferred FRAP factors are demon-                  ce =effluent lead concentration at end of lifetime L when
strated, ranging from 16.6 up to 223.1 FRAP.                                 source water having a pH of 8.5 contains 90-120 ppb
   Also shown are cylindrical filters. The mixed media filters               (µg/liter) soluble lead and 30-60 ppb (µg/liter) colloidal
fall above the preferred FRAP range (0-350).                                 lead greater than 0.1 µm in diameter, and
                                                                   25     L=filter usage lifetime claimed by a manufacturer or seller
                                                                             of the filter (gallons).
                             TABLES
                                                                          2. The water filter as recited in claim 1, wherein the filter
                        L            f         V    c.      FRAP      achieves a FRAP factor ofless than about 200.
                    (gallons) (min/liter) (cm3 ) (mg/liter) Factor        3. The water filter as recited in claim 1, wherein the volume
                                                                   30 of the filter media (V) is less than about 300 cm3 .
                        Filter Multiple-Core:
                                                                          4. The water filter as recited in claim 3, wherein the volume
PA3-5                  40           4.6        89   9.5      58.6     of the filter media (V) is less than about 150 cm3 •
PA3-8                  40           4.4        89   7.5      45.7         5. The water filter as recited in claim 1, wherein the average
PT3-4                  40           4.2        89   6.3      38.7
PT3-6                  40           4.6        89  13.3      78.5
                                                                      filtration  unit time (f) is less than about 12 minutes per liter.
PT3-4 alternate        40           4.6        89   1.3      16.6  35     6. The water filter as recited in claim 5, wherein the average
housing                                                               filtration unit time (f) is less than about 6 minutes per liter.
PT3-11                 40           4.4        89   8.5      51.2         7. The water filter as recited in claim 1, wherein the filter
PT3-13                 40           4.2        89   9.2      52.7
PT3-51                 40           5.7        89   3.8      36.2
                                                                      media is present in the form of a block.
PT3-53                 40            5.1       89   2.3      24.2         8. The water filter as recited in claim 7, further comprising
P2-8 lead sorbent      40           3.4        89  52.8     208.4  40 a binder material interspersed with particles of the activated
free                                                                  carbon.
P2-6 lead sorbent      40           2.3        89  87.1     223.1
free
                                                                          9. The water filter as recited in claim 8, wherein the binder
                         Cylindrical Block:                           material has a melt index that is less than 1.8 g/10 min as
                                                                      determined by ASTM D 1238 at 190° C. and 15 kg load.
Block 1                40          17.0       151   9.2     357.7  45     10. The water filter as recited in claim 8, wherein the binder
Block2                 40           9.9       151  14.6     308.2
                            Mixed Media:
                                                                      material has a melt index that is about 1.0 g/10 min as deter-
                                                                      mined by ASTM D 1238 at 190° C. and 15 kg load.
Brita Granular         40           5.5       128  42.2     386.7         11. The water filter as recited in claim 7, wherein the filter
German Maxtra          40           4.9       145  43.8     402.3     fits within a container having a volume of less than about 20
Pur 2 stage            40          16.0       141  30.2     911.4
                                                                   50 in3.
w/timer
Pur 2 stage            40          10.4       141  36.6     706.8         12. The water filter as recited in claim 7, wherein the filter
w/timer                                                               fits within a container having a volume ofless than about 10
Pur 2 stage            40          11.0       141  38.6     785.9     in3 .
w/timer
                                                                          13. The water filter as recited in claim 7, wherein the block
                                                                   55 comprises multiple sub-blocks, each of the sub-blocks com-
    FIGS. 26 and 27 are charts 2600, 2700 depicting the FRAP          prising filter media walls surrounding and defining a cavity
ratings as presented in Table 5 for mixed media filters cur-          for receiving fluid.
rently on the market along with cup-shaped and multiple core              14. The water filter as recited in claim 7, wherein the block
gravity flow carbon blocks as a function of filtration unit           comprises multiple sub-blocks, each of the sub-blocks com-
volume and lead reduction performance, respectively. As 60 prising filter media walls surrounding and defining on four
shown, the multiple-core filters all had FRAP factors below           sides a cavity for receiving fluid.
350, while the mixed media and cylindrical filters had FRAP               15. The water filter as recited in claim 13, wherein the block
factors above 350.                                                    has an exterior space, gap, or recess between at least a portion
    While various embodiments have been described above, it           of the multiple sub-blocks.
should be understood that they have been presented by way of 65           16. The water filter as recited in claim 7, wherein the block
example only, and not limitation. Thus, the breadth and scope         has an open top for receiving unfiltered water into a cavity
of a preferred embodiment should not be limited by any of the         thereof.




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  17. The water filter as recited in claim 7, wherein a median           23. A gravity-flow system for filtering water, comprising:
sidewall thickness of the block is less than about 0.6 inch.             a container having a source water reservoir than can hold
   18. The water filter as recited in claim 7, wherein a median             source water and a filtered water reservoir that can hold
sidewall thickness of the block is less than about 0.4 inch.                filtered water;
   19. The water filter as recited in claim 7, wherein a structure       a cartridge in communication with both the source water
of the block is characterized by having been compressed no                  reservoir and the filtered water reservoir, the cartridge
more than 10% by volume during fabrication of the filter.                   providing a path through which water can flow from the
   20. The water filter as recited in claim 1, wherein the filter           source water reservoir to the filtered water reservoir; and
media comprises primarily particles that are not bound                   a filter as recited in claim 1 disposed within the cartridge.
together.                                                          10    24. The gravity-flow system as recited in claim 23, wherein
   21. The water filter as recited in claim 1, wherein the filter     the cartridge has an aperture through a sidewall thereof for
media is present in the form of granular carbon.                      allowing at least egress of air into the filtered water reservoir.
   22. The water filter as recited in claim 1, wherein the lead
scavenger is a zirconia oxide or hydroxide.                                                    * * * * *




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                                                 Page:             12/12/2023
                                                                Filed: 08/02/2024




       UNITED STATES INTERNATIONAL TRADE COMMISSION

                              WASHINGTON, DC 20436


                                    December 11, 2023


Hon. Jarrett B. Perlow, Clerk
U.S. Court of Appeals for the Federal Circuit
Office of the Clerk
717 Madison Place, NW
Washington, DC 20439

RE:    24-1098 Brita LP v. International Trade Commission

Dear Mr. Perlow:

Pursuant to Rule 17 of the rules of this Court, and Rule 17(b) of the Federal Rules of
Appellate Procedure, we hereby transmit a certified list of the agency record in
Investigation No. 337-TA-1294 – Certain High-Performance Gravity-Fed Water
Filters and Products Containing the Same.

This list is filed in connection with the above-referenced appeal.

                                    Sincerely,


                                    Lisa R. Barton
                                    Secretary to the Commission

Enclosure:
  Certified List




                                      Appx427
          Case:
       Case:    24-1098 Document:
             24-1098      Document: 23
                                  49-1               Page: 2435 Filed:
                                                     Page:             12/12/2023
                                                                    Filed: 08/02/2024
INVESTIGATION REPORT                                       Date/Time: 12/11/2023, 12:00 PM
Investigation No. 337-TA-1294                                                 Page 1 of 44
                                                                       Total Records = 486

  Official Received   Doc ID - Sec Level     Investigation Information (Document Type, Document Ti-
         Date                                tle, Filed By, Firm, On Behalf Of)
     12/27/2021        (759243 - Public)     Complaint, Public Complaint and Exhibits 1-90, filed by Paul
                                             Ainsworth of Sterne, Kessler, Goldstein & Fox, on behalf of
                                             Brita LP
     12/27/2021        (759253 - Public)     Complaint, Public Complaint and Exhibits 91-160, filed by Paul
                                             Ainsworth of Sterne, Kessler, Goldstein & Fox, on behalf of
                                             Brita LP
     12/27/2021       (759256 - Confiden-    Complaint, Confidential Exhibits to the Complaint, filed by Paul
                             tial)           Ainsworth of Sterne, Kessler, Goldstein & Fox, on behalf of
                                             Brita LP
     12/27/2021        (759263 - Public)     Complaint, Appendices A and B, filed by Paul Ainsworth of
                                             Sterne, Kessler, Goldstein & Fox, on behalf of Brita LP
     12/27/2021        (759319 - Public)     Notice, Receipt of Complaint; Solicitation of Comments Relat-
                                             ing to the Public Interest, filed by Lisa R. Barton of USITC, on
                                             behalf of Office of the Secretary
     01/10/2022        (759964 - Public)     Comments/Response to Comments, Proposed Respondent's
                                             Brita GmbH Statement on the Public Interest, filed by Ursula
                                             Day of Law Firm of Ursula B. Day, on behalf of Brita GmbH
                                             and Mavea LLC
     01/10/2022        (759984 - Public)     Notice, 86 FR 74421 F.R. Notice of Receipt of Complaint; So-
                                             licitation of Comments Relating to the Public Interest, filed by
                                             Lisa R. Barton of USITC, on behalf of Office of the Secretary
     01/10/2022        (760106 - Public)     Complaint, First Public Supplement to the Complaint, filed by
                                             Paul Ainsworth of Sterne, Kessler, Goldstein & Fox, on behalf
                                             of Brita LP
     01/10/2022       (760110 - Confiden-    Complaint, First Confidential Supplement to the Public Com-
                             tial)           plaint, filed by Paul Ainsworth of Sterne, Kessler, Goldstein &
                                             Fox, on behalf of Brita LP
     01/13/2022        (760466 - Public)     Comments/Response to Comments, Complainant's Reply to
                                             Proposed Respondent Brita GmbH's Statement on the Public
                                             Interest, filed by Paul Ainsworth of Sterne, Kessler, Goldstein
                                             & Fox, on behalf of Brita LP
     01/19/2022        (760882 - Public)     Correspondence - USITC, Letter to Jeffrey R. Gargano Deny-
                                             ing Request for Leave to File Public Interest Comments out of
                                             Time, filed by Lisa R. Barton of USITC, on behalf of Office of
                                             the Secretary
     01/25/2022        (761327 - Public)     Notice, Institution of Investigation, filed by Lisa R. Barton of
                                             USITC, on behalf of Office of the Secretary
     01/26/2022        (761416 - Public)     Notice, Assignment of ALJ McNamara, filed by MaryJoan
                                             McNamara of USITC, on behalf of Administrative Law Judge
     01/27/2022        (761532 - Public)     Notice of Appearance, Notice of Appearance of Alston & Bird
                                             LLP on Behalf of Helen of Troy Limited and Kaz USA; Desig-
                                             nation of Adam D. Swain as Lead Counsel, filed by Adam
                                             Swain of Alston & Bird LLP, on behalf of Kaz USA, Inc. and
                                             Helen of Troy Limited




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    01/27/2022      (761594 - Public)    Notice of Appearance, Notice of Appearance of Sterne, Kess-
                                         ler, Goldstein & Fox on Behalf of Brita LP; Designation of Paul
                                         A. Ainsworth as Lead Counsel, filed by Paul Ainsworth of
                                         Sterne, Kessler, Goldstein & Fox, on behalf of Brita LP
    01/28/2022      (761698 - Public)    Notice of Appearance, Notice of Appearance of K and L Gates
                                         LLP on Behalf of Vestergaard Frandsen Inc.; Designation of
                                         Jeffrey R. Gargano as Lead Counsel, filed by Jeffrey Gargano
                                         of K&L Gates LLP, on behalf of Vestergaard Frandsen Inc.
                                         d/b/a LifeStraw
    01/28/2022      (761710 - Public)    Notice of Appearance, Notice of Appearance of Russ August &
                                         Kabat on Behalf of Mavea LLC and Brita GmbH; Designation
                                         of Matthew D. Aichele as Lead Counsel, filed by Matthew
                                         Aichele of Russ August & Kabat, on behalf of Brita GmbH and
                                         Mavea LLC
    01/28/2022      (761764 - Public)    Notice of Appearance, Notice of Appearance of Baker and
                                         Hostetler on Behalf of Culligan International Co. and Zero
                                         Technologies, LLC; Designation of Jared Brandyberry as Lead
                                         Counsel, filed by Jared Brandyberry of Baker & Hostetler LLP,
                                         on behalf of Zero Technologies, LLC and Culligan International
                                         Co.
    01/31/2022      (761820 - Public)    Order, 1 Protective Order, filed by MaryJoan McNamara of
                                         USITC, on behalf of Administrative Law Judge
    01/31/2022      (761916 - Public)    PO Subscription, Agreement to Be Bound by Adam D. Swain,
                                         Pamela Holland Councill, Karlee N. Wroblewski, Katherine D.
                                         Rubschlager, and John McGrath, filed by Adam Swain of Al-
                                         ston & Bird LLP, on behalf of Kaz USA, Inc. and Helen of Troy
                                         Limited
    01/31/2022      (761924 - Public)    Request for Confidential Materials, Request for Confidential
                                         Materials on Behalf of Kaz USA, Inc. and Helen of Troy Lim-
                                         ited, filed by Adam Swain of Alston & Bird LLP, on behalf of
                                         Kaz USA, Inc. and Helen of Troy Limited
    01/31/2022      (761959 - Public)    Notice of Appearance, Notice of Appearance of Calfee, Halter
                                         & Griswold LLP on Behalf of EcoLife Technologies, Inc. and
                                         Qingdao Ecopure Filter Co., Ltd d/b/a WaterdropDirect; Desig-
                                         nation of Todd Tucker as Lead Counsel, filed by Todd Tucker
                                         of Calfee, Halter & Griswold LLP, on behalf of EcoLife Tech-
                                         nologies, Inc. and Qingdao Ecopure Filter Co., Ltd.
    01/31/2022      (761963 - Public)    PO Subscription, Agreement to Be Bound by the Protective Or-
                                         der of Todd R. Tucker, Joshua M. Ryland, Jack R. Smith, Yi-
                                         zhou Liu, Joshua A. Friedman, Ashley J. Earle, and Brian P.
                                         Doney, filed by Todd Tucker of Calfee, Halter & Griswold LLP,
                                         on behalf of EcoLife Technologies, Inc. and Qingdao Ecopure
                                         Filter Co., Ltd.
    01/31/2022      (761965 - Public)    Request for Confidential Materials, Request for Confidential
                                         Materials on Behalf of EcoLife Technologies, Inc. and Qingdao
                                         Ecopure Filter Co., Ltd. d/b/a WaterdropDirect, filed by Todd
                                         Tucker of Calfee, Halter & Griswold LLP, on behalf of EcoLife
                                         Technologies, Inc. and Qingdao Ecopure Filter Co., Ltd.




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    02/01/2022      (761982 - Public)    PO Subscription, Agreement to Be Bound by the Protective Or-
                                         der of Paul A. Ainsworth, Kyle E. Conkin, Alex Covington, Uma
                                         Everett, Davin Guinn, Josephine Kim, Robert Niemeier, Debo-
                                         rah Sterling, Grace Tuyiringire, and Kathleen Wills, filed by
                                         Paul Ainsworth of Sterne, Kessler, Goldstein & Fox, on behalf
                                         of Brita LP
    02/01/2022      (761983 - Public)    PO Subscription, Agreement to Be Bound by the Protective Or-
                                         der of Matthew D. Aichele, Brett Cooper, Seth Hasenour, and
                                         Drew B. Hollander, filed by Matthew Aichele of Russ August &
                                         Kabat, on behalf of Brita GmbH and Mavea LLC
    02/01/2022      (761984 - Public)    Request for Confidential Materials, Request for Confidential
                                         Materials on Behalf of Mavea LLC and Brita GmbH, filed by
                                         Matthew Aichele of Russ August & Kabat, on behalf of Brita
                                         GmbH and Mavea LLC
    02/01/2022      (762030 - Public)    PO Subscription, Agreement to Be Bound by the Protective Or-
                                         der of Jared A. Brandyberry, John S. Letchinger; Cassandra J.
                                         Simmons; Jeffrey J. Lyons, and Derek M. Freitas, filed by
                                         Jared Brandyberry of Baker & Hostetler LLP, on behalf of Zero
                                         Technologies, LLC and Culligan International Co.
    02/01/2022      (762031 - Public)    Request for Confidential Materials, Request for Confidential
                                         Materials on Behalf of Zero Technologies, LLC and Culligan In-
                                         ternational Co., filed by Jared Brandyberry of Baker &
                                         Hostetler LLP, on behalf of Zero Technologies, LLC and Culli-
                                         gan International Co.
    02/01/2022      (762071 - Public)    PO Subscription, Agreement to Be Bound by the Protective Or-
                                         der of Jeffrey Gargano, Devon Beane, Philip Kunz, Michael
                                         Murphy, and Nelson Hua, filed by Jeffrey Gargano of K&L
                                         Gates LLP, on behalf of Vestergaard Frandsen Inc. d/b/a
                                         LifeStraw
    02/01/2022      (762075 - Public)    Request for Confidential Materials, Request for Confidential
                                         Materials on Behalf of Vestergaard Frandsen Inc. d/b/a
                                         LifeStraw, filed by Jeffrey Gargano of K&L Gates LLP, on be-
                                         half of Vestergaard Frandsen Inc. d/b/a LifeStraw
    02/02/2022      (762223 - Public)    Order, 2 Notice of Ground Rules, filed by MaryJoan McNamara
                                         of USITC, on behalf of Administrative Law Judge
    02/04/2022      (762510 - Public)    Notice, 87 FR 4913 F.R. Notice of Institution of Investigation,
                                         filed by Lisa R. Barton of USITC, on behalf of Office of the
                                         Secretary
    02/08/2022      (762715 - Public)    Correspondence, Proof of Service of Complaint, filed by Paul
                                         Ainsworth of Sterne, Kessler, Goldstein & Fox, on behalf of
                                         Brita LP
    02/08/2022      (762777 - Public)    Order, 3 Proposed Scheduling Order, filed by MaryJoan
                                         McNamara of USITC, on behalf of Administrative Law Judge
    02/09/2022      (762825 - Public)    PO Subscription, Agreement to Be Bound by the Protective Or-
                                         der of Ewa Wojciechowska, filed by Jeffrey Gargano of K&L
                                         Gates LLP, on behalf of Vestergaard Frandsen Inc. d/b/a
                                         LifeStraw




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    02/09/2022      (762872 - Public)    PO Subscription, Agreement to Be Bound by the Protective Or-
                                         der of Robert Stout, filed by Paul Ainsworth of Sterne, Kessler,
                                         Goldstein & Fox, on behalf of Brita LP
    02/10/2022      (762972 - Public)    Motion, 1294-001 4 Pur Respondents' Unopposed Motion for
                                         an Extension of Time to Respond to the Complaint and Notice
                                         of Investigation, filed by Adam Swain of Alston & Bird LLP, on
                                         behalf of Kaz USA, Inc. and Helen of Troy Limited
    02/11/2022      (763027 - Public)    Order, 1294-001 4 Granting Pur Respondents’ Unopposed Mo-
                                         tion for an Extension of Time to Respond to the Complaint and
                                         Notice of Investigation [Docket No. 1294-001], filed by Mar-
                                         yJoan McNamara of USITC, on behalf of Administrative Law
                                         Judge
    02/11/2022      (763088 - Public)    Motion, 1294-002 ZeroWater, Aqua Crest, Mavea LLC, Brita
                                         GmbH, and Vestergaard Frandsen Inc. Respondents' Unop-
                                         posed Motion to Extend the Deadlines to Respond to the Com-
                                         plaint and Notice of Investigation, filed by Jared Brandyberry of
                                         Baker & Hostetler LLP, on behalf of Zero Technologies, LLC,
                                         Culligan International Co., EcoLife Technologies, Inc., Qingdao
                                         Ecopure Filter Co., Ltd., Mavea LLC, Brita GmbH, and
                                         Vestergaard Frandsen Inc. d/b/a LifeStraw

    02/14/2022      (763177 - Public)    Order, 1294-002 5 Granting Pur Respondents' Unopposed Mo-
                                         tion for an Extension of Time to Respond to the Complaint and
                                         Notice of Investigation, filed by MaryJoan McNamara of
                                         USITC, on behalf of Administrative Law Judge
    02/15/2022      (763298 - Public)    Order, 1294-002 5 Granting Movant Respondents’ Unopposed
                                         Motion for an Extension of Time to Respond to the Complaint
                                         and Notice of Investigation [Docket No. 1294-002], filed by
                                         MaryJoan McNamara of USITC, on behalf of Administrative
                                         Law Judge
    02/15/2022      (763308 - Public)    Response/Submission to ALJ Order, The Parties’ Joint Pro-
                                         posed Procedural Schedule, filed by Paul Ainsworth of Sterne,
                                         Kessler, Goldstein & Fox, on behalf of Brita LP, EcoLife Tech-
                                         nologies, Inc., Qingdao Ecopure Filter Co., Ltd., Kaz USA, Inc.,
                                         Helen of Troy Limited, Zero Technologies, LLC, Culligan Inter-
                                         national Co., Mavea LLC, and Brita GmbH
    02/16/2022      (763347 - Public)    PO Subscription, Agreement to Be Bound by the Protective Or-
                                         der of Todd R. Tucker and Dustin D. Likens, filed by Todd
                                         Tucker of Calfee, Halter & Griswold LLP, on behalf of EcoLife
                                         Technologies, Inc. and Qingdao Ecopure Filter Co., Ltd.
    02/16/2022      (763381 - Public)    Motion, 1294-003 6 Brita LP’s Motion for Leave to File a First
                                         Amended Complaint Based on the Issuance of a Certificate of
                                         Correction, filed by Paul Ainsworth of Sterne, Kessler, Gold-
                                         stein & Fox, on behalf of Brita LP
    02/17/2022      (763430 - Public)    Order, 1294-003 6 Granting Complainant’s Unopposed Motion
                                         to Amend Complaint [Motion Docket No. 1294-003], filed by
                                         MaryJoan McNamara of USITC, on behalf of Administrative
                                         Law Judge




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    02/17/2022      (763449 - Public)     Order, 7 Adopted Procedural Schedule, filed by MaryJoan
                                          McNamara of USITC, on behalf of Administrative Law Judge
    02/17/2022      (763477 - Public)     Answer to Complaint, Respondents EcoLife Technologies Inc.
                                          and Ecopure Filter Co., Ltd’s Response to the Complaint and
                                          Notice of Investigation, filed by Todd Tucker of Calfee, Halter &
                                          Griswold LLP, on behalf of EcoLife Technologies, Inc. and
                                          Qingdao Ecopure Filter Co., Ltd.
    02/17/2022     (763478 - Confiden-    Answer to Complaint, Confidential Exhibit A to Respondents
                          tial)           EcoLife Technologies Inc. and Ecopure Filter Co., Ltd.’s Re-
                                          sponse to the Complaint and Notice of Investigation, filed by
                                          Todd Tucker of Calfee, Halter & Griswold LLP, on behalf of
                                          EcoLife Technologies, Inc. and Qingdao Ecopure Filter Co.,
                                          Ltd.
    02/18/2022      (763517 - Public)     Complaint, Brita LP’s First Amended Complaint under Section
                                          337 of the Tariff Act of 1930, as Amended, filed by Paul Ains-
                                          worth of Sterne, Kessler, Goldstein & Fox, on behalf of Brita
                                          LP
    02/22/2022      (763602 - Public)     Notice of Appearance, Supplemental Notice of Appearance;
                                          Additional Attorneys from Calfee, Hatler & Griswold LLP on
                                          Behalf of EcoLife Technologies, Inc. and Qingdao Ecopure Fil-
                                          ter Co., Ltd d/b/a WaterdropDirect, filed by Todd Tucker of
                                          Calfee, Halter & Griswold LLP, on behalf of EcoLife Technolo-
                                          gies, Inc. and Qingdao Ecopure Filter Co., Ltd.
    02/22/2022      (763712 - Public)     Answer to Complaint, Respondent Vestergaard Frandsen
                                          Inc.'s Response to First Amended Complaint and Notice of In-
                                          vestigation, filed by Jeffrey Gargano of K&L Gates LLP, on be-
                                          half of Vestergaard Frandsen Inc. d/b/a LifeStraw
    02/22/2022     (763717 - Confiden-    Answer to Complaint, Confidential Exhibit A to Respondent
                          tial)           Vestergaard Frandsen Inc.'s Response to First Amended
                                          Complaint and Notice of Investigation, filed by Jeffrey Gargano
                                          of K&L Gates LLP, on behalf of Vestergaard Frandsen Inc.
                                          d/b/a LifeStraw
    02/22/2022      (763718 - Public)     Answer to Complaint, Verification to Respondent Vestergaard
                                          Frandsen Inc’s Response to First Amended Complaint and No-
                                          tice of Investigation, filed by Jeffrey Gargano of K&L Gates
                                          LLP, on behalf of Vestergaard Frandsen Inc. d/b/a LifeStraw
    02/22/2022      (763723 - Public)     Answer to Complaint, Brita GmbH Mavea LLC's Response to
                                          the Complaint and Notice and Investigation, filed by Matthew
                                          Aichele of Russ August & Kabat, on behalf of Brita GmbH and
                                          Mavea LLC
    02/22/2022      (763725 - Public)     Answer to Complaint, Respondents Zero Technologies, LLC,
                                          and Culligan International Co.'s Response to the Complaint
                                          and Notice of Investigation, filed by Jared Brandyberry of
                                          Baker & Hostetler LLP, on behalf of Zero Technologies, LLC
                                          and Culligan International Co.




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    02/22/2022     (763726 - Confiden-    Answer to Complaint, Confidential Exhibit 1 to Respondents
                          tial)           Brita GmbH and Mavea LLC's Response to the Complaint and
                                          Notice of Investigation, filed by Matthew Aichele of Russ Au-
                                          gust & Kabat, on behalf of Brita GmbH and Mavea LLC
    02/22/2022     (763728 - Confiden-    Answer to Complaint, Confidential Exhibit A to Respondents
                          tial)           Kaz USA, Inc. and Helen of Troy Limited's Response to Brita
                                          LP's Complaint and Notice of Investigation, filed by Adam
                                          Swain of Alston & Bird LLP, on behalf of Kaz USA, Inc. and
                                          Helen of Troy Limited
    02/22/2022      (763740 - Public)     Answer to Complaint, PUR Respondents' Response to the
                                          Complaint and Notice of Investigation, filed by Adam Swain of
                                          Alston & Bird LLP, on behalf of Kaz USA, Inc. and Helen of
                                          Troy Limited
    02/23/2022      (763745 - Public)     Answer to Complaint, Verification of Response to the Com-
                                          plaint and Notice of Investigation, filed by Adam Swain of Al-
                                          ston & Bird LLP, on behalf of Kaz USA, Inc. and Helen of Troy
                                          Limited
    02/25/2022      (764054 - Public)     Other, Stipulation among the Parties Concerning Certain Pro-
                                          cedural and Discovery Matters, filed by Paul Ainsworth of
                                          Sterne, Kessler, Goldstein & Fox, on behalf of Brita LP, EcoL-
                                          ife Technologies, Inc., Qingdao Ecopure Filter Co., Ltd., Kaz
                                          USA, Inc., Helen of Troy Limited, Zero Technologies, LLC, Cul-
                                          ligan International Co., Vestergaard Frandsen Inc. d/b/a
                                          LifeStraw, Mavea LLC, and Brita GmbH
    03/01/2022      (764240 - Public)     Response/Submission to ALJ Order, 7 Brita LP’s Notice of Pa-
                                          tent Priority Dates/Dates of Conception, filed by Paul Ains-
                                          worth of Sterne, Kessler, Goldstein & Fox, on behalf of Brita
                                          LP
    03/03/2022      (764398 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of Amy E. Hayden, filed by Matthew Aichele of Russ Au-
                                          gust & Kabat, on behalf of Brita GmbH and Mavea LLC
    03/09/2022      (764955 - Public)     Notice of Appearance, Supplemental Notice of Appearance;
                                          Additional Attorney from Merchant and Gould on Behalf of
                                          Qingdao Ecopure Filter Co., Ltd., filed by Joshua Hartman of
                                          Merchant and Gould, on behalf of Qingdao Ecopure Filter Co.,
                                          Ltd.
    03/09/2022      (764956 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of Joshua Hartman, filed by Joshua Hartman of Merchant
                                          and Gould, on behalf of Qingdao Ecopure Filter Co., Ltd.
    03/10/2022      (765084 - Public)     Notice of Appearance, Supplemental Notice of Appearance;
                                          Additional Attorney from Merchant & Gould P.C. on Behalf of
                                          Qingdao Ecopure Filter Co., Ltd.; Designation of Joshua Hart-
                                          man as Lead Counsel, filed by Joshua Hartman of Merchant
                                          and Gould, on behalf of Qingdao Ecopure Filter Co., Ltd.

    03/10/2022      (765096 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of David Shackelford., filed by Matthew Aichele of Russ
                                          August & Kabat, on behalf of Brita GmbH and Mavea LLC




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    03/11/2022      (765137 - Public)     Answer to Complaint, Exhibit 1 to Zero Technologies, LLC and
                                          Culligan International Co.’s February 22, 2022 Response to
                                          the Complaint and Notice of Investigation, filed by Jared Bran-
                                          dyberry of Baker & Hostetler LLP, on behalf of Zero Technolo-
                                          gies, LLC and Culligan International Co.
    03/11/2022      (765138 - Public)     Discovery Statement, Report of the Discovery Committee for
                                          February 2022, filed by Paul Ainsworth of Sterne, Kessler,
                                          Goldstein & Fox, on behalf of Brita LP, EcoLife Technologies,
                                          Inc., Qingdao Ecopure Filter Co., Ltd., Kaz USA, Inc., Helen of
                                          Troy Limited, Zero Technologies, LLC, Culligan International
                                          Co., Vestergaard Frandsen Inc. d/b/a LifeStraw, Mavea LLC,
                                          and Brita GmbH
    03/11/2022     (765219 - Confiden-    Response/Submission to ALJ Order, 7 Complainant Brita LP’s
                          tial)           Disclosure of Domestic Industry Products, filed by Paul Ains-
                                          worth of Sterne, Kessler, Goldstein & Fox, on behalf of Brita
                                          LP
    03/15/2022      (765465 - Public)     Order, 8 Regarding Management Teleconference Scheduled
                                          for March 17, 2022, filed by MaryJoan McNamara of USITC,
                                          on behalf of Administrative Law Judge
    03/16/2022      (765543 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of Peter S. Cartwright, Philip Green, Regu P. Regunathan,
                                          David A. Rockstraw, and Neil Elliot Spingarn, filed by Paul
                                          Ainsworth of Sterne, Kessler, Goldstein & Fox, on behalf of
                                          Brita LP
    03/17/2022      (765698 - Public)     Voting Sheet, OUII-22-009, filed by Lisa R. Barton of USITC,
                                          on behalf of Office of the Secretary
    03/18/2022      (765787 - Public)     Transcript, Discovery Management Conference (Pages 1-48),
                                          filed by MaryJoan McNamara of USITC, on behalf of Adminis-
                                          trative Law Judge
    03/18/2022      (765808 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of Christopher Gallo, filed by Paul Ainsworth of Sterne,
                                          Kessler, Goldstein & Fox, on behalf of Brita LP
    03/18/2022      (765822 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of Thomas W. Davison, filed by Adam Swain of Alston &
                                          Bird LLP, on behalf of Kaz USA, Inc. and Helen of Troy Limited
    03/21/2022      (765955 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of Dr. Thomas Vander Veen, filed by Jared Brandyberry of
                                          Baker & Hostetler LLP, on behalf of Zero Technologies, LLC
                                          and Culligan International Co.
    03/22/2022      (766012 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of Lauren Watt, filed by Paul Ainsworth of Sterne, Kessler,
                                          Goldstein & Fox, on behalf of Brita LP
    03/22/2022      (766089 - Public)     Motion, 1294-004 Respondents EcoLife Technologies, Inc. and
                                          Qingdao Ecopure Filter Co., Ltd.’s Unopposed Motion to With-
                                          draw Certain Affirmative Defenses, filed by Todd Tucker of
                                          Calfee, Halter & Griswold LLP, on behalf of EcoLife Technolo-
                                          gies, Inc. and Qingdao Ecopure Filter Co., Ltd.




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    03/25/2022      (766512 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of Phillip D. Wolfe, filed by Jared Brandyberry of Baker &
                                          Hostetler LLP, on behalf of Zero Technologies, LLC and Culli-
                                          gan International Co.
    03/25/2022     (766657 - Confiden-    Answer to Complaint, First Amended Confidential Exhibit A to
                          tial)           Respondent Vestergaard Frandsen Inc.’s Response to First
                                          Amended Complaint and Notice of Investigation, filed by Jef-
                                          frey Gargano of K&L Gates LLP, on behalf of Vestergaard
                                          Frandsen Inc. d/b/a LifeStraw
    03/28/2022      (766736 - Public)     Other, Stipulation Extending Time for Non-Party KX Technolo-
                                          gies, LLC's Response to Respondents' Subpoena Duces Te-
                                          cum and Ad Testificandum, filed by Robert Curcio of DeLio Pe-
                                          terson & Curcio LLC, on behalf of KX Technologies, LLC,
                                          EcoLife Technologies, Inc., Qingdao Ecopure Filter Co., Ltd.,
                                          Kaz USA, Inc., Helen of Troy Limited, Mavea LLC, and Brita
                                          GmbH
    03/28/2022      (766769 - Public)     Other, Stipulation Extending the Deadline to Respond to Re-
                                          spondents' Subpoena Duces Tecum and Ad Testificandum to
                                          Bruce D. Saaski, filed by Jared Brandyberry of Baker &
                                          Hostetler LLP, on behalf of Zero Technologies, LLC, Culligan
                                          International Co., EcoLife Technologies, Inc., Qingdao Eco-
                                          pure Filter Co., Ltd., Mavea LLC, Brita GmbH, and
                                          Vestergaard Frandsen Inc. d/b/a LifeStraw
    03/28/2022      (766771 - Public)     Other, Stipulation Extending the Deadline to Respond to Re-
                                          spondents' Subpoena Duces Tecum and Ad Testificandum to
                                          Omnipure Filter Company, Inc., filed by Jared Brandyberry of
                                          Baker & Hostetler LLP, on behalf of Zero Technologies, LLC,
                                          Culligan International Co., EcoLife Technologies, Inc., Qingdao
                                          Ecopure Filter Co., Ltd., Mavea LLC, Brita GmbH, and
                                          Vestergaard Frandsen Inc. d/b/a LifeStraw
    03/28/2022      (766774 - Public)     Other, Stipulation Extending the Deadline to Respond to Re-
                                          spondents' Subpoena Duces Tecum and Ad Testificandum to
                                          Roger P. Reid, filed by Jared Brandyberry of Baker & Hostetler
                                          LLP, on behalf of Zero Technologies, LLC, Culligan Interna-
                                          tional Co., Ecolife Technologies, Inc., Qingdao Ecopure Filter
                                          Co., Ltd., Kaz USA, Inc., Helen of Troy Limited, Mavea LLC,
                                          Brita Gmbh, and Roger P. Reid
    03/28/2022      (766777 - Public)     Other, Stipulation Extending the Deadline to Respond to Re-
                                          spondents' Subpoena Duces Tecum and Ad Testificandum to
                                          Water Quality Association, filed by Jared Brandyberry of Baker
                                          & Hostetler LLP, on behalf of Zero Technologies, LLC, Culligan
                                          International Co., EcoLife Technologies, Inc., Qingdao Eco-
                                          pure Filter Co., Ltd., Kaz USA, Inc., Helen of Troy Limited,
                                          Mavea LLC, Brita Gmbh, Vestergaard Frandsen Inc. d/b/a
                                          LifeStraw, and Water Quality Association




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    03/29/2022      (766791 - Public)     Response/Submission to ALJ Order, Joint Response regarding
                                          Public Interest Discovery, filed by Paul Ainsworth of Sterne,
                                          Kessler, Goldstein & Fox, on behalf of Brita LP, Zero Technol-
                                          ogies, LLC, Culligan International Co., and Vestergaard Frand-
                                          sen Inc. d/b/a LifeStraw
    03/29/2022     (766794 - Confiden-    Motion, 1294-005 13 Joint Motion to Terminate Investigation
                          tial)           as to Mavea Respondents Based on Settlement and Request
                                          for Shortened Time to Respond, filed by Paul Ainsworth of
                                          Sterne, Kessler, Goldstein & Fox, on behalf of Brita LP, Mavea
                                          LLC, and Brita GmbH
    03/29/2022      (766851 - Public)     Other, Stipulation regarding Respondents' Subpoena Duces
                                          Tecum and Ad Testificandum to NSF International Extending
                                          the Deadline to Respond, filed by Jared Brandyberry of Baker
                                          & Hostetler LLP, on behalf of Zero Technologies, LLC, Culligan
                                          International Co., Ecolife Technologies, Inc., Qingdao Ecopure
                                          Filter Co., Ltd., Kaz USA, Inc., Helen of Troy Limited,
                                          Vestergaard Frandsen Inc. d/b/a LifeStraw, and NSF Interna-
                                          tional
    03/31/2022      (767094 - Public)     Notice of Prior Art, Respondents Kaz USA, Inc., Helen of Troy
                                          Limited, Zero Technologies, LLC, Culligan International Co.,
                                          Vestergaard Frandsen Inc. d/b/a LifeStraw, EcoLife Technolo-
                                          gies, Inc. and Qingdao Ecopure Filter Co., Ltd.s Notice of Prior
                                          Art, filed by Adam Swain of Alston & Bird LLP, on behalf of Kaz
                                          USA, Inc., Helen of Troy Limited, Zero Technologies, LLC, Cul-
                                          ligan International Co., Vestergaard Frandsen Inc. d/b/a
                                          LifeStraw, EcoLife Technologies, Inc., and Qingdao Ecopure
                                          Filter Co., Ltd.
    04/04/2022      (767281 - Public)     Other, Stipulation Extending the Deadline to Respond to Re-
                                          spondents' Subpoena Duces Tecum and Ad Testificandum to
                                          Edward B. Rinker, filed by Paul Ainsworth of Sterne, Kessler,
                                          Goldstein & Fox, on behalf of Zero Technologies, LLC, Culli-
                                          gan International Co., Ecolife Technologies, Inc., Qingdao Eco-
                                          pure Filter Co., Ltd., Kaz USA, Inc., Helen of Troy Limited,
                                          Mavea LLC, Brita Gmbh, and Edward B. Rinker
    04/04/2022      (767282 - Public)     Other, Stipulation Extending the Deadline to Respond to Re-
                                          spondents' Subpoena Duces Tecum and Ad Testificandum to
                                          Alex Tipton, filed by Paul Ainsworth of Sterne, Kessler, Gold-
                                          stein & Fox, on behalf of Zero Technologies, LLC, Culligan In-
                                          ternational Co., Ecolife Technologies, Inc., Vestergaard Frand-
                                          sen Inc. d/b/a LifeStraw, Qingdao Ecopure Filter Co., Ltd., Kaz
                                          USA, Inc., Helen of Troy Limited, and Alex Tipton
    04/05/2022      (767357 - Public)     Other, Stipulation Extending Time for Non-Party Procter &
                                          Gamble Company's Response to Respondents' Subpoena Du-
                                          ces Tecum, filed by Adam Swain of Alston & Bird LLP, on be-
                                          half of Procter & Gamble Company, Kaz USA, Inc., and Helen
                                          of Troy Limited
    04/05/2022      (767428 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of Benny Dean Freeman, filed by Paul Ainsworth of Sterne,
                                          Kessler, Goldstein & Fox, on behalf of Brita LP




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    04/06/2022      (767497 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of Jason F. Hoffman, filed by Jared Brandyberry of Baker &
                                          Hostetler LLP, on behalf of Zero Technologies, LLC and Culli-
                                          gan International Co.
    04/07/2022      (767552 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of Timothy S. Schwarz, filed by Jared Brandyberry of
                                          Baker & Hostetler LLP, on behalf of Zero Technologies, LLC
                                          and Culligan International Co.
    04/08/2022      (767785 - Public)     Witness List, Complainant Brita LP’s Identification of Expert
                                          Witnesses, filed by Paul Ainsworth of Sterne, Kessler, Gold-
                                          stein & Fox, on behalf of Brita LP
    04/08/2022      (767791 - Public)     Witness List, Respondents' Identification of Expert Witnesses,
                                          filed by Adam Swain of Alston & Bird LLP, on behalf of Kaz
                                          USA, Inc., Helen of Troy Limited, Zero Technologies, LLC, Cul-
                                          ligan International Co., Vestergaard Frandsen Inc. d/b/a
                                          LifeStraw, EcoLife Technologies, Inc., and Qingdao Ecopure
                                          Filter Co., Ltd.
    04/12/2022     (767950 - Confiden-    Motion Response/Reply, 1294-005 ZeroWater's Opposition to
                          tial)           Joint Motion to Terminate as to Brita GmbH, filed by Jared
                                          Brandyberry of Baker & Hostetler LLP, on behalf of Zero Tech-
                                          nologies, LLC and Culligan International Co.
    04/12/2022      (767952 - Public)     Discovery Statement, Report of the Discovery Committee for
                                          March 2022, filed by Paul Ainsworth of Sterne, Kessler, Gold-
                                          stein & Fox, on behalf of Brita LP, EcoLife Technologies, Inc.,
                                          Qingdao Ecopure Filter Co., Ltd., Kaz USA, Inc., Helen of Troy
                                          Limited, Zero Technologies, LLC, Culligan International Co.,
                                          Vestergaard Frandsen Inc. d/b/a LifeStraw, Mavea LLC, and
                                          Brita GmbH
    04/12/2022      (767956 - Public)     Motion, 1294-006 Joint Unopposed Motion to Amend the Pro-
                                          cedural Schedule, filed by Adam Swain of Alston & Bird LLP,
                                          on behalf of Kaz USA, Inc., Helen of Troy Limited, Zero Tech-
                                          nologies, LLC, Culligan International Co., Vestergaard Frand-
                                          sen Inc. d/b/a LifeStraw, EcoLife Technologies, Inc., and Qing-
                                          dao Ecopure Filter Co., Ltd.
    04/12/2022      (767981 - Public)     Order, 1294-006 9 Granting Joint Motion for Extension [Motion
                                          Docket 1294-006], filed by MaryJoan McNamara of USITC, on
                                          behalf of Administrative Law Judge
    04/13/2022      (768068 - Public)     Other, Stipulation Extending the Deadline to Respond to Com-
                                          plainant's Subpoena Duces Tecum and Ad Testificandum to
                                          the Argonide Corporation, filed by Paul Ainsworth of Sterne,
                                          Kessler, Goldstein & Fox, on behalf of Brita LP and the Argo-
                                          nide Corporation
    04/13/2022      (768163 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of Robert Herman, filed by Adam Swain of Alston & Bird
                                          LLP, on behalf of Kaz USA, Inc. and Helen of Troy Limited




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    04/14/2022      (768279 - Public)    PO Subscription, Agreement to Be Bound by the Protective Or-
                                         der of Mia Shrosbree and Amy Summons., filed by Jared Bran-
                                         dyberry of Baker & Hostetler LLP, on behalf of Zero Technolo-
                                         gies, LLC and Culligan International Co.
    04/14/2022      (768315 - Public)    Response/Submission to ALJ Order, Joint Claim Construction
                                         Chart, filed by Paul Ainsworth of Sterne, Kessler, Goldstein &
                                         Fox, on behalf of Brita LP, AquaCrest Group, Qingdao Eco-
                                         pure Filter Co., Ltd., EcoLife Technologies, Inc., Kaz USA, Inc.,
                                         Helen of Troy Limited, Zero Technologies, LLC, Culligan Inter-
                                         national Co., and Vestergaard Frandsen Inc. d/b/a LifeStraw
    04/18/2022      (768483 - Public)    Other, Importation Stipulation between Complainant and Aqua-
                                         Crest Respondents, filed by Paul Ainsworth of Sterne, Kessler,
                                         Goldstein & Fox, on behalf of Brita LP, EcoLife Technologies,
                                         Inc., and Qingdao Ecopure Filter Co., Ltd.
    04/18/2022      (768524 - Public)    Other, Stipulation Extending the Deadline to Respond to Re-
                                         spondents’ Subpoena Duces Tecum and Ad Testificandum to
                                         Ahlstrom-Munksjo Filtration LLC, filed by Jared Brandyberry of
                                         Baker & Hostetler LLP, on behalf of Ahlstrom-Munksjo Filtra-
                                         tion LLC, Zero Technologies, LLC, Culligan International Co.,
                                         Vestergaard Frandsen Inc. d/b/a LifeStraw, EcoLife Technolo-
                                         gies, Inc., and Qingdao Ecopure Filter Co., Ltd.
    04/18/2022      (768537 - Public)    Notice of Appearance, Notice of Limited Appearance of Nixon
                                         Peabody LLP on Behalf of Non-Party Lifetime Brands, Inc.;
                                         Designation of Evan Langdon as Lead Counsel, filed by Evan
                                         Langdon of Nixon Peabody LLP, on behalf of Lifetime Brands,
                                         Inc.
    04/18/2022      (768541 - Public)    Other, Stipulation Extending Time for Non-Party Lifetime
                                         Brands, Inc.'s Response to Respondents' Subpoena Duces
                                         Tecum and Ad Testificandum, filed by Evan Langdon of Nixon
                                         Peabody LLP, on behalf of Lifetime Brands, Inc., Kaz USA,
                                         Inc., and Helen of Troy Limited
    04/19/2022      (768584 - Public)    PO Subscription, Agreement to Be Bound by the Protective Or-
                                         der of Brooke Ryan, Daniel Long, and Catherine Gonzalez,
                                         filed by Adam Swain of Alston & Bird LLP, on behalf of Kaz
                                         USA, Inc. and Helen of Troy Limited
    04/19/2022      (768596 - Public)    Order, 10 Scheduling a Management Conference for April 21
                                         at 2:00 P.M., filed by MaryJoan McNamara of USITC, on be-
                                         half of Administrative Law Judge
    04/20/2022      (768801 - Public)    Witness List, Complainant Brita LP's Tentative List of Wit-
                                         nesses for Evidentiary Hearing, filed by Paul Ainsworth of
                                         Sterne, Kessler, Goldstein & Fox, on behalf of Brita LP
    04/20/2022      (768803 - Public)    Witness List, The Pur Respondents' Tentative List of Wit-
                                         nesses, filed by Adam Swain of Alston & Bird LLP, on behalf of
                                         Kaz USA, Inc. and Helen of Troy Limited
    04/20/2022      (768805 - Public)    Witness List, EcoLife and Ecopure's Tentative List of Wit-
                                         nesses for the Evidentiary Hearing, filed by Todd Tucker of
                                         Calfee, Halter & Griswold LLP, on behalf of EcoLife Technolo-
                                         gies, Inc. and Qingdao Ecopure Filter Co., Ltd.




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    04/21/2022     (768807 - Confiden-    Witness List, The ZeroWater Respondents' Tentative List of
                          tial)           Witnesses, filed by Jared Brandyberry of Baker & Hostetler
                                          LLP, on behalf of Zero Technologies, LLC and Culligan Inter-
                                          national Co.
    04/21/2022      (768813 - Public)     Witness List, Respondent Vestergaard Frandsen Inc.'s Tenta-
                                          tive List of Witnesses for the Evidentiary Hearing, filed by Jef-
                                          frey Gargano of K&L Gates LLP, on behalf of Vestergaard
                                          Frandsen Inc. d/b/a LifeStraw
    04/21/2022      (768833 - Public)     Motion Response/Reply, 1294-005 Declaration of Cassandra
                                          J. Simmons Justifying Confidentiality of Exhibits, filed by Jared
                                          Brandyberry of Baker & Hostetler LLP, on behalf of Zero Tech-
                                          nologies, LLC and Culligan International Co.
    04/21/2022      (768834 - Public)     Motion Response/Reply, 1294-005 ZeroWater's Opposition to
                                          Motion to Terminate as to Brita GmbH, filed by Jared Brandy-
                                          berry of Baker & Hostetler LLP, on behalf of Zero Technolo-
                                          gies, LLC and Culligan International Co.
    04/21/2022      (768835 - Public)     Motion, 1294-005 Unopposed Motion to Withdrawal ZeroWater
                                          Respondents' Opposition to Joint Motion to Terminate the In-
                                          vestigation as to Brita GmbH, filed by Jared Brandyberry of
                                          Baker & Hostetler LLP, on behalf of Zero Technologies, LLC
                                          and Culligan International Co.
    04/21/2022      (768891 - Public)     Motion, 1294-007 Unopposed Motion for Leave to File Tenta-
                                          tive Witness List out of Time by ZeroWater Respondents, filed
                                          by Jared Brandyberry of Baker & Hostetler LLP, on behalf of
                                          Zero Technologies, LLC and Culligan International Co.
    04/21/2022      (768895 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of T. Cy Walker, filed by Jared Brandyberry of Baker &
                                          Hostetler LLP, on behalf of Zero Technologies, LLC and Culli-
                                          gan International Co.
    04/22/2022      (768924 - Public)     Transcript, Discovery Management Conference (Pages 1-60),
                                          filed by MaryJoan McNamara of USITC, on behalf of Adminis-
                                          trative Law Judge
    04/22/2022      (769000 - Public)     Order, 1294-005 11 Granting Unopposed Motion to Withdraw
                                          ZeroWater Respondents’ Opposition to Joint Motion to Termi-
                                          nate the Investigation as to Certain Respondents [Doc. Id No.
                                          768835], filed by MaryJoan McNamara of USITC, on behalf of
                                          Administrative Law Judge
    04/25/2022      (769060 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of Patricia Bidonde and Christian Bidonde, filed by Adam
                                          Swain of Alston & Bird LLP, on behalf of Kaz USA, Inc. and
                                          Helen of Troy Limited
    04/26/2022      (769151 - Public)     Motion, 1294-008 Joint Motion to Amend the Procedural
                                          Schedule, filed by Paul Ainsworth of Sterne, Kessler, Goldstein
                                          & Fox, on behalf of Kaz USA, Inc., Helen of Troy Limited, Zero
                                          Technologies, LLC, Culligan International Co., Vestergaard
                                          Frandsen Inc. d/b/a LifeStraw, EcoLife Technologies, Inc.,
                                          Qingdao Ecopure Filter Co., Ltd., and Brita LP




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    04/26/2022      (769152 - Public)     Other, Technology Stipulation, filed by Paul Ainsworth of
                                          Sterne, Kessler, Goldstein & Fox, on behalf of Kaz USA, Inc.,
                                          Helen of Troy Limited, Zero Technologies, LLC, Culligan Inter-
                                          national Co., Vestergaard Frandsen Inc. d/b/a LifeStraw, EcoL-
                                          ife Technologies, Inc., Qingdao Ecopure Filter Co., Ltd., and
                                          Brita LP
    04/26/2022      (769223 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of Janet McHugh and Shawn Budd, filed by Paul Ainsworth
                                          of Sterne, Kessler, Goldstein & Fox, on behalf of Brita LP

    04/27/2022      (769301 - Public)     Order, 1294-008 12 Granting Joint Motion to Amend Proce-
                                          dural Schedule [Motion Docket No. 1294-008], filed by Mar-
                                          yJoan McNamara of USITC, on behalf of Administrative Law
                                          Judge
    04/28/2022      (769394 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of Rachel Gard, Billy Fahnert, and Yongmei Liu, filed by
                                          Paul Ainsworth of Sterne, Kessler, Goldstein & Fox, on behalf
                                          of Brita LP
    04/28/2022      (769419 - Public)     Other, Stipulation Extending the Deadline to Respond to Re-
                                          spondents' Subpoena Duces Tecum and Ad Testificandum to
                                          Lowe's Company, Inc., filed by Todd Tucker of Calfee, Halter &
                                          Griswold LLP, on behalf of Kaz USA, Inc., Helen of Troy Lim-
                                          ited, Zero Technologies, LLC, Culligan International Co.,
                                          Vestergaard Frandsen Inc. d/b/a LifeStraw, EcoLife Technolo-
                                          gies, Inc., Qingdao Ecopure Filter Co., Ltd., and Lowe’s Com-
                                          pany, Inc.
    04/29/2022      (769523 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of Xinxin XIE, filed by Todd Tucker of Calfee, Halter &
                                          Griswold LLP, on behalf of EcoLife Technologies, Inc. and
                                          Qingdao Ecopure Filter Co., Ltd.
    05/02/2022      (769598 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of Donna Kazaitis and Joseph Salinas, filed by Paul Ains-
                                          worth of Sterne, Kessler, Goldstein & Fox, on behalf of Brita
                                          LP
    05/02/2022      (769603 - Public)     Other, Stipulation Extending the Deadline to Respond to Re-
                                          spondents' Subpoena Duces Tecum and Ad Testificandum to
                                          Walmart Inc., filed by Todd Tucker of Calfee, Halter & Griswold
                                          LLP, on behalf of EcoLife Technologies, Inc. and Qingdao Eco-
                                          pure Filter Co., Ltd.
    05/03/2022      (769702 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of Charlie McGrath, filed by Adam Swain of Alston & Bird
                                          LLP, on behalf of Kaz USA, Inc. and Helen of Troy Limited
    05/03/2022     (769713 - Confiden-    ID/RD - Other Than Final on Violation, 1294-005 13 Initial De-
                          tial)           termination Granting Joint Motion to Terminate the Investiga-
                                          tion with Respect to Mavea Respondents Based on Settlement
                                          [Motion Docket No. 1294-005], filed by MaryJoan McNamara
                                          of USITC, on behalf of Administrative Law Judge




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    05/03/2022      (769714 - Public)     ID/RD - Other Than Final on Violation, 1294-005 13 Initial De-
                                          termination Granting Joint Motion to Terminate the Investiga-
                                          tion with Respect to Mavea Respondents Based on Settlement
                                          [Motion Docket No. 1294-005], filed by MaryJoan McNamara
                                          of USITC, on behalf of Administrative Law Judge
    05/03/2022      (769752 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of Victoria Spataro, filed by Adam Swain of Alston & Bird
                                          LLP, on behalf of Kaz USA, Inc. and Helen of Troy Limited
    05/03/2022      (769761 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of John Harmonson and Malcolm Peplow, filed by Paul
                                          Ainsworth of Sterne, Kessler, Goldstein & Fox, on behalf of
                                          Brita LP
    05/04/2022     (769841 - Confiden-    Brief Filed With ALJ, Complainant Brita's Opening Claim Con-
                          tial)           struction Brief, filed by Paul Ainsworth of Sterne, Kessler,
                                          Goldstein & Fox, on behalf of Brita LP
    05/04/2022     (769873 - Confiden-    Brief Filed With ALJ, Respondents' Joint Markman Brief, filed
                          tial)           by Adam Swain of Alston & Bird LLP, on behalf of Kaz USA,
                                          Inc., Helen of Troy Limited, Zero Technologies, LLC, Culligan
                                          International Co., Vestergaard Frandsen Inc. d/b/a LifeStraw,
                                          EcoLife Technologies, Inc., and Qingdao Ecopure Filter Co.,
                                          Ltd.
    05/04/2022      (769878 - Public)     Other, Joint Stipulation regarding Claim Construction, filed by
                                          Paul Ainsworth of Sterne, Kessler, Goldstein & Fox, on behalf
                                          of Kaz USA, Inc., Helen of Troy Limited, Zero Technologies,
                                          LLC, Culligan International Co., Vestergaard Frandsen Inc.
                                          d/b/a LifeStraw, EcoLife Technologies, Inc., Qingdao Ecopure
                                          Filter Co., Ltd., and Brita LP
    05/05/2022     (769931 - Confiden-    Brief Filed With ALJ, Corrected Exhibit RXM-0020C, filed by
                          tial)           Adam Swain of Alston & Bird LLP, on behalf of Kaz USA, Inc.,
                                          Helen of Troy Limited, Zero Technologies, LLC, Culligan Inter-
                                          national Co., Vestergaard Frandsen Inc. d/b/a LifeStraw, EcoL-
                                          ife Technologies, Inc., and Qingdao Ecopure Filter Co., Ltd.

    05/05/2022      (769972 - Public)     Pre-Hearing Statement, Respondents' Markman Hearing Pro-
                                          posal and Pre-Hearing Statement, filed by Adam Swain of Al-
                                          ston & Bird LLP, on behalf of Kaz USA, Inc., Helen of Troy
                                          Limited, Zero Technologies, LLC, Culligan International Co.,
                                          Vestergaard Frandsen Inc. d/b/a LifeStraw, EcoLife Technolo-
                                          gies, Inc., and Qingdao Ecopure Filter Co., Ltd.
    05/05/2022      (769975 - Public)     Response/Submission to ALJ Order, 7 Complainant Brita LP's
                                          Markman Hearing Proposal and Pre-Hearing Statement, filed
                                          by Paul Ainsworth of Sterne, Kessler, Goldstein & Fox, on be-
                                          half of Brita LP
    05/06/2022      (770064 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of Stephen Kunin, filed by Paul Ainsworth of Sterne, Kess-
                                          ler, Goldstein & Fox, on behalf of Brita LP




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    05/06/2022      (770065 - Public)     Motion, 1294-009 15 Joint Motion to Take Deposition out of
                                          Time, filed by Paul Ainsworth of Sterne, Kessler, Goldstein &
                                          Fox, on behalf of Brita LP, Kaz USA, Inc., and Helen of Troy
                                          Limited
    05/06/2022      (770125 - Public)     Motion, 1294-010 Joint Motion to Take Depositions out of
                                          Time, filed by Paul Ainsworth of Sterne, Kessler, Goldstein &
                                          Fox, on behalf of Brita LP and Vestergaard Frandsen Inc. d/b/a
                                          LifeStraw
    05/09/2022      (770138 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of John C. Crittenden, Ph.D., filed by Todd Tucker of
                                          Calfee, Halter & Griswold LLP, on behalf of EcoLife Technolo-
                                          gies, Inc. and Qingdao Ecopure Filter Co., Ltd.
    05/09/2022      (770155 - Public)     Order, 1294-010 14 Granting Joint Motion to Take Depositions
                                          after Close of Fact Discovery [Doc. Id No. 770125}, filed by
                                          MaryJoan McNamara of USITC, on behalf of Administrative
                                          Law Judge
    05/09/2022      (770157 - Public)     Order, 1294-009 15 Granting Joint Motion to Take Deposition
                                          after Close of Fact Discovery [Motion Docket No. 1294-009],
                                          filed by MaryJoan McNamara of USITC, on behalf of Adminis-
                                          trative Law Judge
    05/10/2022      (770313 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of Joseph Harrison, filed by Adam Swain of Alston & Bird
                                          LLP, on behalf of Kaz USA, Inc. and Helen of Troy Limited
    05/10/2022      (770356 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of Dana Welch and Adam Cerro, filed by Paul Ainsworth of
                                          Sterne, Kessler, Goldstein & Fox, on behalf of Brita LP
    05/11/2022     (770417 - Confiden-    Other, Importation Stipulation between Complainant and Pur
                          tial)           Respondents, filed by Paul Ainsworth of Sterne, Kessler, Gold-
                                          stein & Fox, on behalf of Brita LP, Kaz USA, Inc., and Helen of
                                          Troy Limited
    05/11/2022      (770418 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of Matthew Goldstein and Kathy Claypoole, filed by Paul
                                          Ainsworth of Sterne, Kessler, Goldstein & Fox, on behalf of
                                          Brita LP
    05/11/2022      (770419 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of Fred Walker, filed by Paul Ainsworth of Sterne, Kessler,
                                          Goldstein & Fox, on behalf of Brita LP
    05/11/2022      (770491 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of Marjorie Peters and Curtis Roginski, filed by Paul Ains-
                                          worth of Sterne, Kessler, Goldstein & Fox, on behalf of Brita
                                          LP
    05/11/2022      (770505 - Public)     Brief Filed With ALJ, Respondents' Joint Markman Brief, filed
                                          by Adam Swain of Alston & Bird LLP, on behalf of Kaz USA,
                                          Inc., Helen of Troy Limited, Zero Technologies, LLC, Culligan
                                          International Co., Vestergaard Frandsen Inc. d/b/a LifeStraw,
                                          EcoLife Technologies, Inc., and Qingdao Ecopure Filter Co.,
                                          Ltd.




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    05/11/2022     (770506 - Confiden-    Brief Filed With ALJ, Complainant Brita's Rebuttal Claim Con-
                          tial)           struction Brief, filed by Paul Ainsworth of Sterne, Kessler,
                                          Goldstein & Fox, on behalf of Brita LP
    05/12/2022      (770559 - Public)     Discovery Statement, Report of the Discovery Committee for
                                          April 2022, filed by Paul Ainsworth of Sterne, Kessler, Gold-
                                          stein & Fox, on behalf of Kaz USA, Inc., Helen of Troy Limited,
                                          Zero Technologies, LLC, Culligan International Co.,
                                          Vestergaard Frandsen Inc. d/b/a LifeStraw, EcoLife Technolo-
                                          gies, Inc., Qingdao Ecopure Filter Co., Ltd., and Brita LP

    05/12/2022      (770585 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of Gary Hatch, filed by Adam Swain of Alston & Bird LLP,
                                          on behalf of Kaz USA, Inc. and Helen of Troy Limited
    05/12/2022      (770586 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of Alison Webster, John Parkman, and Dylan Keisler, filed
                                          by Jared Brandyberry of Baker & Hostetler LLP, on behalf of
                                          Zero Technologies, LLC and Culligan International Co.
    05/12/2022      (770612 - Public)     Notice of Appearance, Supplemental Notice of Appearance;
                                          Additional Attorney from Calfee, Halter & Griswold LLP on Be-
                                          half of EcoLife Technologies, Inc. and Qingdao Ecopure Filter
                                          Co., Ltd., filed by Todd Tucker of Calfee, Halter & Griswold
                                          LLP, on behalf of EcoLife Technologies, Inc. and Qingdao Eco-
                                          pure Filter Co., Ltd.
    05/12/2022      (770613 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of Kyle T. Deighan, filed by Todd Tucker of Calfee, Halter
                                          & Griswold LLP, on behalf of EcoLife Technologies, Inc. and
                                          Qingdao Ecopure Filter Co., Ltd.
    05/12/2022      (770636 - Public)     Brief Filed With ALJ, Complainant Brita's Opening Claim Con-
                                          struction Brief, filed by Paul Ainsworth of Sterne, Kessler,
                                          Goldstein & Fox, on behalf of Brita LP
    05/13/2022      (770664 - Public)     Other, Importation Stipulation between Complainant and Re-
                                          spondents, filed by Paul Ainsworth of Sterne, Kessler, Gold-
                                          stein & Fox, on behalf of Brita LP and Vestergaard Frandsen
                                          Inc. d/b/a LifeStraw
    05/16/2022      (770830 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of Daniel Holmstock, filed by Paul Ainsworth of Sterne,
                                          Kessler, Goldstein & Fox, on behalf of Brita LP
    05/16/2022      (770885 - Public)     Motion, 1294-011 Respondents' Unopposed Motion to Amend
                                          the Procedural Schedule, filed by Adam Swain of Alston & Bird
                                          LLP, on behalf of Kaz USA, Inc., Helen of Troy Limited, Zero
                                          Technologies, LLC, Culligan International Co., Vestergaard
                                          Frandsen Inc. d/b/a LifeStraw, EcoLife Technologies, Inc., and
                                          Qingdao Ecopure Filter Co., Ltd.
    05/17/2022      (770985 - Public)     Motion, 1294-012 16 Pur Respondents' Motion to Take Third
                                          Party Deposition out of Time and Request for Expedited Treat-
                                          ment and Shortened Response Time, filed by Adam Swain of
                                          Alston & Bird LLP, on behalf of Kaz USA, Inc. and Helen of
                                          Troy Limited




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    05/17/2022     (771001 - Confiden-    Response/Submission to ALJ Order, Respondents' Joint Mark-
                          tial)           man Reply in Support of Indefiniteness, filed by Jeffrey Gar-
                                          gano of K&L Gates LLP, on behalf of Kaz USA, Inc., Helen of
                                          Troy Limited, Zero Technologies, LLC, Culligan International
                                          Co., Vestergaard Frandsen Inc. d/b/a LifeStraw, EcoLife Tech-
                                          nologies, Inc., and Qingdao Ecopure Filter Co., Ltd.
    05/18/2022      (771066 - Public)     Order, 1294-011 16 Granting Respondents’ Unopposed Motion
                                          for Amendment to Scheduling Order [Motion Docket No. 1294-
                                          011] and Granting Pur Respondents’ Motion to Take Deposi-
                                          tion out of Time [Motion Docket No. 1294-012], filed by Mar-
                                          yJoan McNamara of USITC, on behalf of Administrative Law
                                          Judge
    05/18/2022      (771109 - Public)     Brief Filed With ALJ, Complainant Brita's Rebuttal Claim Con-
                                          struction Brief, filed by Paul Ainsworth of Sterne, Kessler,
                                          Goldstein & Fox, on behalf of Brita LP
    05/23/2022      (771318 - Public)     Motion, 1294-013 13 Complainant's Unopposed Motion to
                                          Amend the Procedural Schedule, filed by Paul Ainsworth of
                                          Sterne, Kessler, Goldstein & Fox, on behalf of Brita LP
    05/24/2022      (771411 - Public)     Notice, 13 Commission Determination Not to Review an Initial
                                          Determination Granting a Joint Motion to Terminate the Investi-
                                          gation as to Two Respondents Based on Settlement, filed by
                                          Lisa R. Barton of USITC, on behalf of Office of the Secretary

    05/24/2022      (771412 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of Melissa Kuester and Kristine Gao, filed by Paul Ains-
                                          worth of Sterne, Kessler, Goldstein & Fox, on behalf of Brita
                                          LP
    05/24/2022      (771442 - Public)     Order, 1294-013 17 Granting Complainant’s Unopposed Mo-
                                          tion to Amend the Procedural Schedule [Motion Docket No.
                                          1294-013], filed by MaryJoan McNamara of USITC, on behalf
                                          of Administrative Law Judge
    05/25/2022      (771557 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of Sarah Howard and Brian Sparks, filed by Paul Ainsworth
                                          of Sterne, Kessler, Goldstein & Fox, on behalf of Brita LP

    05/26/2022      (771643 - Public)     Order, 18 Scheduling the Markman Hearing for June 2, 2022
                                          and Instructions for Discovery Disputes, filed by MaryJoan
                                          McNamara of USITC, on behalf of Administrative Law Judge
    05/27/2022      (771764 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of Theresa Vorkapic and Adam Nudelman, filed by Jared
                                          Brandyberry of Baker & Hostetler LLP, on behalf of Zero Tech-
                                          nologies, LLC and Culligan International Co.
    05/27/2022      (771769 - Public)     Brief Filed With ALJ, Respondents' Joint Markman Reply in
                                          Support of Indefiniteness, filed by Adam Swain of Alston & Bird
                                          LLP, on behalf of Kaz USA, Inc., Helen of Troy Limited, Zero
                                          Technologies, LLC, Culligan International Co., Vestergaard
                                          Frandsen Inc. d/b/a LifeStraw, EcoLife Technologies, Inc., and
                                          Qingdao Ecopure Filter Co., Ltd.




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    05/31/2022      (771880 - Public)     Voting Sheet, GC-22-160, filed by Lisa R. Barton of USITC, on
                                          behalf of Office of the Secretary
    05/31/2022      (771889 - Public)     Other, Stipulation between Complainant and Pur Respondents,
                                          filed by Paul Ainsworth of Sterne, Kessler, Goldstein & Fox, on
                                          behalf of Brita LP, Kaz USA, Inc., and Helen of Troy Limited
    05/31/2022      (771969 - Public)     Motion, 1294-014 19 Complainant Brita LP’s Motion for Partial
                                          Termination of the Investigation with Respect to Certain As-
                                          serted Claims, filed by Paul Ainsworth of Sterne, Kessler,
                                          Goldstein & Fox, on behalf of Brita LP
    06/01/2022      (771985 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of Pierre Kressmann, filed by Paul Ainsworth of Sterne,
                                          Kessler, Goldstein & Fox, on behalf of Brita LP
    06/01/2022      (772019 - Public)     ID/RD - Other Than Final on Violation, 1294-014 19 Initial De-
                                          termination Granting Complainant’s Motion for Partial Termina-
                                          tion of the Investigation with Respect to Certain Asserted
                                          Claims [Motion Docket No. 1294-014], filed by MaryJoan
                                          McNamara of USITC, on behalf of Administrative Law Judge

    06/01/2022     (772024 - Confiden-    Response/Submission to ALJ Order, 18 Respondents' Mark-
                          tial)           man Demonstratives, filed by Adam Swain of Alston & Bird
                                          LLP, on behalf of Kaz USA, Inc., Helen of Troy Limited, Zero
                                          Technologies, LLC, Culligan International Co., Vestergaard
                                          Frandsen Inc. d/b/a LifeStraw, EcoLife Technologies, Inc., and
                                          Qingdao Ecopure Filter Co., Ltd.
    06/01/2022      (772028 - Public)     Response/Submission to ALJ Order, Brita's Markman Presen-
                                          tation, filed by Paul Ainsworth of Sterne, Kessler, Goldstein &
                                          Fox, on behalf of Brita LP
    06/08/2022      (772579 - Public)     Response/Submission to ALJ Order, Joint Proposed Schedule
                                          for Briefing of Non-Party KX Issues, filed by Paul Ainsworth of
                                          Sterne, Kessler, Goldstein & Fox, on behalf of Brita LP, Kaz
                                          USA, Inc., Helen of Troy Limited, and KX Technology LLC
    06/08/2022      (772616 - Public)     Order, 21 Amending Ground Rules, filed by MaryJoan
                                          McNamara of USITC, on behalf of Administrative Law Judge
    06/08/2022      (772629 - Public)     Order, 20 Granting Joint Proposed Schedule for Briefing of
                                          Non-Party KX Issues [Doc. Id No. 772579}, filed by MaryJoan
                                          McNamara of USITC, on behalf of Administrative Law Judge
    06/09/2022      (772676 - Public)     Transcript, Discovery Management Conference (Pages 1-63),
                                          filed by MaryJoan McNamara of USITC, on behalf of Adminis-
                                          trative Law Judge
    06/09/2022     (772677 - Confiden-    Transcript, Markman Hearing (Pages 1-184) (with excerpts),
                          tial)           filed by MaryJoan McNamara of USITC, on behalf of Adminis-
                                          trative Law Judge
    06/09/2022      (772678 - Public)     Transcript, Markman Hearing (Pages 1-184) (with excerpts),
                                          filed by MaryJoan McNamara of USITC, on behalf of Adminis-
                                          trative Law Judge




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    06/09/2022     (772752 - Confiden-    Order, 22 Orders regarding June 2, 2022 Management Confer-
                          tial)           ence, filed by MaryJoan McNamara of USITC, on behalf of Ad-
                                          ministrative Law Judge
    06/09/2022      (772781 - Public)     Response/Submission to ALJ Order, Joint Proposed Schedule
                                          for Certain Expert Rebuttal Reports, filed by Paul Ainsworth of
                                          Sterne, Kessler, Goldstein & Fox, on behalf of Kaz USA, Inc.,
                                          Helen of Troy Limited, Zero Technologies, LLC, Culligan Inter-
                                          national Co., Vestergaard Frandsen Inc. d/b/a LifeStraw, EcoL-
                                          ife Technologies, Inc., Qingdao Ecopure Filter Co., Ltd., and
                                          Brita LP
    06/09/2022     (772785 - Confiden-    Motion, 1294-015 Respondents' Motion to Strike Undisclosed
                          tial)           Conception and Reduction to Practice Theories in Dr. Benny
                                          Freeman's Expert Report and Request for Shortened Re-
                                          sponse Time, filed by Adam Swain of Alston & Bird LLP, on
                                          behalf of Kaz USA, Inc., Helen of Troy Limited, Zero Technolo-
                                          gies, LLC, Culligan International Co., Vestergaard Frandsen
                                          Inc. d/b/a LifeStraw, EcoLife Technologies, Inc., and Qingdao
                                          Ecopure Filter Co., Ltd.
    06/10/2022      (772861 - Public)     Order, 23 Granting Joint Proposed Schedule for Certain Expert
                                          Rebuttal Reports [Doc. Id No. 772781], filed by MaryJoan
                                          McNamara of USITC, on behalf of Administrative Law Judge
    06/10/2022     (772880 - Confiden-    Order, 1294-015 24 Granting Respondents’ Request for Short-
                          tial)           ened Response Time to Respondents’ Motion to Strike [Motion
                                          Docket No. 1294-015], filed by MaryJoan McNamara of
                                          USITC, on behalf of Administrative Law Judge
    06/13/2022      (773048 - Public)     Notice of Appearance, Notice of Limited Appearance of DeLio
                                          Peterson and Curcio LLC on Behalf of Non-Party KX Technol-
                                          ogies, LLC; Designation of Robert Curcio as Lead Counsel,
                                          filed by Robert Curcio of DeLio Peterson & Curcio LLC, on be-
                                          half of KX Technologies, LLC
    06/13/2022     (773055 - Confiden-    Motion, 1294-016 Non-Party KX Technologies, LLC's Motion
                          tial)           for Protective Order, filed by Robert Curcio of DeLio Peterson
                                          & Curcio LLC, on behalf of KX Technologies, LLC
    06/14/2022      (773086 - Public)     Response/Submission to ALJ Order, 22 Joint Proposed
                                          Schedule for Briefing of Common-Interest Privilege Dispute,
                                          filed by Paul Ainsworth of Sterne, Kessler, Goldstein & Fox, on
                                          behalf of Brita LP, Zero Technologies, LLC, and Culligan Inter-
                                          national Co.
    06/14/2022     (773143 - Confiden-    Motion, 1294-017 Aqua Crest and PUR Respondents’ Motion
                          tial)           to Strike Portions of Dr. David A. Rockstraw’s Expert Report
                                          for Presenting a Previously Undisclosed Theory of Infringe-
                                          ment and Request for Shortened Response Time, filed by
                                          Todd Tucker of Calfee, Halter & Griswold LLP, on behalf of
                                          EcoLife Technologies, Inc., Qingdao Ecopure Filter Co., Ltd.,
                                          Kaz USA, Inc., and Helen of Troy Limited
    06/15/2022      (773152 - Public)     Motion Response/Reply, 1294-017 Complainant Brita LP's Op-
                                          position to Respondents' Request for Shortened Response
                                          Time, filed by Paul Ainsworth of Sterne, Kessler, Goldstein &
                                          Fox, on behalf of Brita LP




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    06/15/2022      (773153 - Public)     Order, 25 Granting Joint Proposed Schedule for Briefing of
                                          Common-Interest Privilege Dispute [Doc. ID No. 773086], filed
                                          by MaryJoan McNamara of USITC, on behalf of Administrative
                                          Law Judge
    06/15/2022      (773218 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of Robert L. Hails, filed by Jared Brandyberry of Baker &
                                          Hostetler LLP, on behalf of Zero Technologies, LLC and Culli-
                                          gan International Co.
    06/16/2022      (773243 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of April Reid and Karl Starkweather, filed by Adam Swain
                                          of Alston & Bird LLP, on behalf of Kaz USA, Inc. and Helen of
                                          Troy Limited
    06/16/2022      (773326 - Public)     Motion, 1294-015 24 Respondents' Motion to Strike Undis-
                                          closed Conception and Reduction to Practice Theories in Dr.
                                          Benny Freeman's Expert Report and Request for Shortened
                                          Response Time, filed by Adam Swain of Alston & Bird LLP, on
                                          behalf of Kaz USA, Inc., Helen of Troy Limited, Zero Technolo-
                                          gies, LLC, Culligan International Co., Vestergaard Frandsen
                                          Inc. d/b/a LifeStraw, EcoLife Technologies, Inc., and Qingdao
                                          Ecopure Filter Co., Ltd.
    06/16/2022     (773337 - Confiden-    Motion Response/Reply, 1294-015 Complainant Brita LP's Op-
                          tial)           position to Respondents' Motion to Strike Conception and Re-
                                          duction to Practice Theories in Dr. Benny Freeman's Expert
                                          Report, filed by Paul Ainsworth of Sterne, Kessler, Goldstein &
                                          Fox, on behalf of Brita LP
    06/17/2022      (773438 - Public)     Response/Submission to ALJ Order, 22 Omnipure's Response
                                          to Judge McNamara's Order No. 22, filed by Ken Pedersen of
                                          Omnipure Filter Company, Inc. Roger Reid, and Bruce Saaski,
                                          on behalf of Omnipure Filter Company, Inc. Roger Reid, and
                                          Bruce Saaski
    06/17/2022     (773448 - Confiden-    Motion, 1294-018 Complainant Brita LP's Motion for Protective
                          tial)           Order, filed by Paul Ainsworth of Sterne, Kessler, Goldstein &
                                          Fox, on behalf of Brita LP
    06/17/2022     (773455 - Confiden-    Motion, 1294-019 Respondents’ Motion for Summary Determi-
                          tial)           nation of No Violation Due to Invalidity of U.S. Patent No.
                                          8,167,141, filed by Jared Brandyberry of Baker & Hostetler
                                          LLP, on behalf of Zero Technologies, LLC, Culligan Interna-
                                          tional Co., EcoLife Technologies Inc., Qingdao Ecopure Filter
                                          Co., Ltd, Vestergaard Frandsen Inc. d/b/a LifeStraw, Kaz USA,
                                          Inc., and Helen of Troy Limited.
    06/21/2022      (773534 - Public)     Motion, 1294-017 Aqua Crest and Pur Respondents’ Motion to
                                          Strike Portions of Dr. David A. Rockstraw’s Expert Report for
                                          Presenting a Previously Undisclosed Theory of Infringement
                                          and Request for Shortened Response Time, filed by Todd
                                          Tucker of Calfee, Halter & Griswold LLP, on behalf of EcoLife
                                          Technologies, Inc., Qingdao Ecopure Filter Co., Ltd., Kaz USA,
                                          Inc., and Helen of Troy Limited




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    06/21/2022      (773548 - Public)     Notice, 19 Commission Determination Not to Review an Initial
                                          Determination Granting Complainant’s Unopposed Motion for
                                          Partial Withdrawal of Certain Claims, filed by Lisa R. Barton of
                                          USITC, on behalf of Office of the Secretary
    06/21/2022     (773559 - Confiden-    Motion, 1294-016 34 PUR Respondents Opposition to KX
                          tial)           Technologies LLC's Motion for a Protective Order, filed by
                                          Adam Swain of Alston & Bird LLP, on behalf of Kaz USA, Inc.
                                          and Helen of Troy Limited
    06/22/2022      (773611 - Public)     Voting Sheet, GC-22-196, filed by Lisa R. Barton of USITC, on
                                          behalf of Office of the Secretary
    06/22/2022      (773670 - Public)     Motion, 1294-016 Non-Party KX Technologies, LLC's Motion
                                          for Protective Order, filed by Robert Curcio of DeLio Peterson
                                          & Curcio LLC, on behalf of KX Technologies, LLC
    06/23/2022      (773750 - Public)     Motion, 1294-019 Respondents’ Motion for Summary Determi-
                                          nation of No Violation Due to Invalidity of U.S. Patent No.
                                          8,167,141, filed by Jared Brandyberry of Baker & Hostetler
                                          LLP, on behalf of Zero Technologies, LLC, Culligan Interna-
                                          tional Co., EcoLife Technologies Inc., Qingdao Ecopure Filter
                                          Co., Ltd, Vestergaard Frandsen Inc. d/b/a LifeStraw, Kaz USA,
                                          Inc., and Helen of Troy Limited.
    06/24/2022      (773869 - Public)     Motion Response/Reply, 1294-015 Complainant Brita LP's Op-
                                          position to Respondents' Motion to Strike Conception and Re-
                                          duction to Practice Theories in Dr. Benny Freeman's Expert
                                          Report, filed by Paul Ainsworth of Sterne, Kessler, Goldstein &
                                          Fox, on behalf of Brita LP
    06/24/2022     (773937 - Confiden-    Motion Response/Reply, 1294-017 Complainant Brita LP’s Op-
                          tial)           position to Aqua Crest and PUR Respondents’ Motion to Strike
                                          Portions of the Expert Report of David A. Rockstraw, Ph.D.,
                                          P.E., filed by Paul Ainsworth of Sterne, Kessler, Goldstein &
                                          Fox, on behalf of Brita LP
    06/24/2022     (773941 - Confiden-    Motion Response/Reply, 1294-018 Memorandum in Opposi-
                          tial)           tion to Complainant Brita LP's Motion for Protective Order, filed
                                          by Jared Brandyberry of Baker & Hostetler LLP, on behalf of
                                          Zero Technologies, LLC and Culligan International Co.
    06/27/2022      (773945 - Public)     Motion, 1294-018 36 Complainant Brita LP's Motion for Protec-
                                          tive Order, filed by Paul Ainsworth of Sterne, Kessler, Gold-
                                          stein & Fox, on behalf of Brita LP
    06/27/2022     (774022 - Confiden-    Motion Response/Reply, 1294-018 Complainant Brita LP’s Re-
                          tial)           sponse to PUR’s Opposition to KX Technologies LLC’s Motion
                                          for a Protective Order, filed by Paul Ainsworth of Sterne, Kess-
                                          ler, Goldstein & Fox, on behalf of Brita LP
    06/28/2022      (774038 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of Leslie Todd, Chris Melton, and Brendon Cuenca, filed by
                                          Adam Swain of Alston & Bird LLP, on behalf of Kaz USA, Inc.
                                          and Helen of Troy Limited
    06/28/2022      (774045 - Public)     Exhibit, Post-Trial, CXM-0001 - CXM-0037, filed by Paul Ains-
                                          worth of Sterne, Kessler, Goldstein & Fox, on behalf of Brita
                                          LP




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    06/28/2022     (774048 - Confiden-    Exhibit, Post-Trial, CXMC-0017C - CXMC-0036C, filed by Paul
                          tial)           Ainsworth of Sterne, Kessler, Goldstein & Fox, on behalf of
                                          Brita LP
    06/28/2022      (774051 - Public)     Exhibit, Post-Trial, JXM-0001 - JXM-0003, filed by Paul Ains-
                                          worth of Sterne, Kessler, Goldstein & Fox, on behalf of Brita
                                          LP
    06/28/2022      (774052 - Public)     Exhibit, Post-Trial, RXM-0001 - RXM-0026, filed by Adam
                                          Swain of Alston & Bird LLP, on behalf of EcoLife Technologies,
                                          Inc.
    06/28/2022     (774053 - Confiden-    Exhibit, Post-Trial, RXMC-0007C - RXMC-0025C, filed by
                          tial)           Adam Swain of Alston & Bird LLP, on behalf of EcoLife Tech-
                                          nologies, Inc.
    06/28/2022      (774067 - Public)     Order, 22 Orders regarding June 2, 2022 Management Confer-
                                          ence, filed by MaryJoan McNamara of USITC, on behalf of Ad-
                                          ministrative Law Judge
    06/28/2022      (774070 - Public)     Order, 1294-015 24 Granting Respondents’ Request for Short-
                                          ened Response Time to Respondents’ Motion to Strike [Motion
                                          Docket No. 1294-015], filed by MaryJoan McNamara of
                                          USITC, on behalf of Administrative Law Judge
    06/29/2022      (774193 - Public)     Motion, 1294-021 Joint Motion to Take Depositions out of
                                          Time, filed by Paul Ainsworth of Sterne, Kessler, Goldstein &
                                          Fox, on behalf of Kaz USA, Inc., Helen of Troy Limited, Zero
                                          Technologies, LLC, Culligan International Co., Vestergaard
                                          Frandsen Inc. d/b/a LifeStraw, EcoLife Technologies, Inc.,
                                          Qingdao Ecopure Filter Co., Ltd., and Brita LP
    06/29/2022      (774201 - Public)     Witness List, The Pur Respondents' Amended Tentative List of
                                          Witnesses, filed by Adam Swain of Alston & Bird LLP, on be-
                                          half of Kaz USA, Inc. and Helen of Troy Limited
    06/29/2022      (774269 - Public)     Motion, 1294-021 Corrected Joint Motion to Take Depositions
                                          out of Time, filed by Paul Ainsworth of Sterne, Kessler, Gold-
                                          stein & Fox, on behalf of Brita LP, EcoLife Technologies, Inc.,
                                          Qingdao Ecopure Filter Co., Ltd., Vestergaard Frandsen Inc.
                                          d/b/a LifeStraw, Kaz USA, Inc., and Helen of Troy Limited
    06/29/2022      (774271 - Public)     Motion, 1294-020 Corrected Joint Motion to Amend the Proce-
                                          dural Schedule, filed by Paul Ainsworth of Sterne, Kessler,
                                          Goldstein & Fox, on behalf of Brita LP, EcoLife Technologies,
                                          Inc., Qingdao Ecopure Filter Co., Ltd., Vestergaard Frandsen
                                          Inc. d/b/a LifeStraw, Kaz USA, Inc., and Helen of Troy Limited

    06/30/2022      (774309 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of Michelle Yohler, Joel Coriat, and Dylan Keisler, filed by
                                          Jared Brandyberry of Baker & Hostetler LLP, on behalf of Zero
                                          Technologies, LLC and Culligan International Co.
    06/30/2022      (774381 - Public)     Motion Response/Reply, 1294-019 Complainant Brita LP's Op-
                                          position to Respondents' Motion for Summary Determination of
                                          No Violation Due to Invalidity of U.S. Patent No. 8,167,141,
                                          filed by Paul Ainsworth of Sterne, Kessler, Goldstein & Fox, on
                                          behalf of Brita LP




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    07/01/2022      (774472 - Public)    Motion Response/Reply, 1294-017 Complainant Brita LP’s Op-
                                         position to Aqua Crest and PUR Respondents’ Motion to Strike
                                         Portions of the Expert Report of David A. Rockstraw, Ph.D.,
                                         P.E., filed by Paul Ainsworth of Sterne, Kessler, Goldstein &
                                         Fox, on behalf of Brita LP
    07/04/2022      (774479 - Public)    Motion, 1294-022 Motion for Leave to File Statement of Mate-
                                         rial Facts out of Time and Request for Shortened Response
                                         Time, filed by Jared Brandyberry of Baker & Hostetler LLP, on
                                         behalf of Zero Technologies, LLC and Culligan International
                                         Co.
    07/05/2022      (774485 - Public)    PO Subscription, Agreement to Be Bound by the Protective Or-
                                         der of Amanda Gorrono, filed by Paul Ainsworth of Sterne,
                                         Kessler, Goldstein & Fox, on behalf of Brita LP
    07/05/2022      (774486 - Public)    Order, 1294-021 26 Granting Corrected Joint Motion to Take
                                         Depositions after Close of Expert Discovery [Motion Docket
                                         No. 1294-021], filed by MaryJoan McNamara of USITC, on be-
                                         half of Administrative Law Judge
    07/05/2022      (774487 - Public)    Motion Response/Reply, 1294-022 Complainant Brita LP's Op-
                                         position to Respondents' Motion for Leave to File Statement of
                                         Material Facts out of Time, filed by Paul Ainsworth of Sterne,
                                         Kessler, Goldstein & Fox, on behalf of Brita LP
    07/05/2022      (774606 - Public)    Motion Response/Reply, 1294-016 Complainant Brita LP’s Re-
                                         sponse to PUR’s Opposition to KX Technologies LLC’s Motion
                                         for a Protective Order, filed by Paul Ainsworth of Sterne, Kess-
                                         ler, Goldstein & Fox, on behalf of Brita LP
    07/07/2022      (774866 - Public)    PO Subscription, Agreement to Be Bound by the Protective Or-
                                         der of Mitchell Mahon, filed by Paul Ainsworth of Sterne, Kess-
                                         ler, Goldstein & Fox, on behalf of Brita LP
    07/08/2022      (774921 - Public)    Order, 1294-020 27 Granting Joint Motion to Amend Proce-
                                         dural Schedule [Motion Docket No. 1294-020], filed by Mar-
                                         yJoan McNamara of USITC, on behalf of Administrative Law
                                         Judge
    07/11/2022      (775008 - Public)    Motion Response/Reply, 1294-018 Memorandum in Opposi-
                                         tion to Complainant Brita LP's Motion for Protective Order, filed
                                         by Jared Brandyberry of Baker & Hostetler LLP, on behalf of
                                         Zero Technologies, LLC and Culligan International Co.
    07/12/2022      (775085 - Public)    PO Subscription, Agreement to Be Bound by the Protective Or-
                                         der of Tina Alfaro and David Campbell, filed by Paul Ainsworth
                                         of Sterne, Kessler, Goldstein & Fox, on behalf of Brita LP

    07/12/2022      (775167 - Public)    PO Subscription, Agreement to Be Bound by the Protective Or-
                                         der of Ryan Black and Gene Aronov, filed by Jeffrey Gargano
                                         of K&L Gates LLP, on behalf of Vestergaard Frandsen Inc.
                                         d/b/a LifeStraw
    07/13/2022      (775262 - Public)    PO Subscription, Agreement to Be Bound by the Protective Or-
                                         der of Matthew Goldstein and Glen Fortner, filed by Paul Ains-
                                         worth of Sterne, Kessler, Goldstein & Fox, on behalf of Brita
                                         LP




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    07/14/2022      (775394 - Public)     Order, 1294-019 28 Denying ZeroWater’s Motion for Leave to
                                          File Statement of Material Facts out of Time [Motion Docket
                                          No. 1294-022] and Denying Respondents’ Motion for Summary
                                          Determination [Motion Docket No. 1294-019], filed by Mar-
                                          yJoan McNamara of USITC, on behalf of Administrative Law
                                          Judge
    07/15/2022     (775504 - Confiden-    Order, 1294-018 29 Ordering Production of Certain Brita Docu-
                          tial)           ments for in Camera Inspection, and Identification of Attorneys
                                          for Certain Documents [Motion Docket No. 1294-018], filed by
                                          MaryJoan McNamara of USITC, on behalf of Administrative
                                          Law Judge
    07/18/2022     (775726 - Confiden-    Brief Filed With ALJ, Respondents' Pre-Hearing Brief, filed by
                          tial)           Adam Swain of Alston & Bird LLP, on behalf of Kaz USA, Inc.,
                                          Helen of Troy Limited, Zero Technologies, LLC, Culligan Inter-
                                          national Co., Vestergaard Frandsen Inc. d/b/a LifeStraw, EcoL-
                                          ife Technologies, Inc., and Qingdao Ecopure Filter Co., Ltd.

    07/18/2022     (775727 - Confiden-    Brief Filed With ALJ, Brita LP's Pre-Hearing Brief, filed by Paul
                          tial)           Ainsworth of Sterne, Kessler, Goldstein & Fox, on behalf of
                                          Brita LP
    07/18/2022     (775728 - Confiden-    Pre-Hearing Statement, Respondents' Pre-Hearing Statement,
                          tial)           filed by Jared Brandyberry of Baker & Hostetler LLP, on behalf
                                          of Zero Technologies, LLC, Culligan International Co., EcoLife
                                          Technologies Inc., Qingdao Ecopure Filter Co., Ltd,
                                          Vestergaard Frandsen Inc. d/b/a LifeStraw, Kaz USA, Inc., and
                                          Helen of Troy Limited.
    07/18/2022      (775731 - Public)     Motion, 1294-023 Joint Motion for Receipt into Evidence with-
                                          out a Sponsoring Witness, filed by Paul Ainsworth of Sterne,
                                          Kessler, Goldstein & Fox, on behalf of Kaz USA, Inc., Helen of
                                          Troy Limited, Zero Technologies, LLC, Culligan International
                                          Co., Vestergaard Frandsen Inc. d/b/a LifeStraw, EcoLife Tech-
                                          nologies, Inc., Qingdao Ecopure Filter Co., Ltd., and Brita LP

    07/19/2022     (775825 - Confiden-    Response/Submission to ALJ Order, 29 Correspondence to
                          tial)           ALJ McNamara regarding Order No. 29, filed by Paul Ains-
                                          worth of Sterne, Kessler, Goldstein & Fox, on behalf of Brita
                                          LP
    07/20/2022     (775842 - Confiden-    Pre-Hearing Statement, Complainant Brita LP's Pre-Hearing
                          tial)           Statement, filed by Paul Ainsworth of Sterne, Kessler, Gold-
                                          stein & Fox, on behalf of Brita LP
    07/20/2022     (775922 - Confiden-    Order, 30 Construing Certain Terms of U.S. Patent No.
                          tial)           8,167,141 (Markman Claim Construction), filed by MaryJoan
                                          McNamara of USITC, on behalf of Administrative Law Judge
    07/21/2022     (776008 - Confiden-    Motion, 1294-024 Complainant Brita LP's Motion for Leave to
                          tial)           File a Corrected Pre-Hearing Brief, filed by Paul Ainsworth of
                                          Sterne, Kessler, Goldstein & Fox, on behalf of Brita LP




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    07/22/2022      (776020 - Public)     Motion Response/Reply, 1294-024 Respondents' Opposition
                                          to Brita LP's Motion for Leave to File a Corrected Pre-Hearing
                                          Brief, filed by Adam Swain of Alston & Bird LLP, on behalf of
                                          Kaz USA, Inc., Helen of Troy Limited, Zero Technologies, LLC,
                                          Culligan International Co., Vestergaard Frandsen Inc. d/b/a
                                          LifeStraw, EcoLife Technologies, Inc., and Qingdao Ecopure
                                          Filter Co., Ltd.
    07/22/2022      (776046 - Public)     Response/Submission to ALJ Order, 27 Complainant Brita
                                          LP's Submission regarding Confidentiality of Certain Hearing
                                          Exhibits, filed by Paul Ainsworth of Sterne, Kessler, Goldstein
                                          & Fox, on behalf of Brita LP
    07/22/2022     (776084 - Confiden-    Response/Submission to ALJ Order, 7 Declaration of Jeffrey
                          tial)           R. Gargano Justifying Confidentiality of Exhibits, filed by Jef-
                                          frey Gargano of K&L Gates LLP, on behalf of Vestergaard
                                          Frandsen Inc. d/b/a LifeStraw
    07/22/2022      (776085 - Public)     Response/Submission to ALJ Order, 7 Declaration of Adam D.
                                          Swain Justifying Confidentiality of Exhibits, filed by Adam
                                          Swain of Alston & Bird LLP, on behalf of Kaz USA, Inc. and
                                          Helen of Troy Limited
    07/22/2022     (776086 - Confiden-    Motion, 1294-025 35 Complainant Brita LP's Motion in Limine
                          tial)           No. 1 to Preclude the Testimony of Robert Herman, filed by
                                          Paul Ainsworth of Sterne, Kessler, Goldstein & Fox, on behalf
                                          of Brita LP
    07/22/2022     (776088 - Confiden-    Response/Submission to ALJ Order, Declaration of Todd R.
                          tial)           Tucker Justifying Confidentiality of Physical and Demonstrative
                                          Exhibits, filed by Todd Tucker of Calfee, Halter & Griswold
                                          LLP, on behalf of EcoLife Technologies, Inc. and Qingdao Eco-
                                          pure Filter Co., Ltd.
    07/22/2022     (776093 - Confiden-    Response/Submission to ALJ Order, Declaration of Todd R.
                          tial)           Tucker Justifying Confidentiality of Physical and Demonstrative
                                          Exhibits, filed by Todd Tucker of Calfee, Halter & Griswold
                                          LLP, on behalf of EcoLife Technologies, Inc. and Qingdao Eco-
                                          pure Filter Co., Ltd.
    07/22/2022     (776094 - Confiden-    Motion, 1294-026 37 Respondents' Motion in Limine No. 1 to
                          tial)           Exclude Brita's Belated Contentions on the Brita Legacy Filter,
                                          filed by Adam Swain of Alston & Bird LLP, on behalf of Kaz
                                          USA, Inc., Helen of Troy Limited, Zero Technologies, LLC, Cul-
                                          ligan International Co., Vestergaard Frandsen Inc. d/b/a
                                          LifeStraw, EcoLife Technologies, Inc., and Qingdao Ecopure
                                          Filter Co., Ltd.
    07/22/2022     (776096 - Confiden-    Motion, 1294-027 Complainant's Motion in Limine No. 2 to Ex-
                          tial)           clude the Testimony of Dr. Gary Hatch, filed by Paul Ainsworth
                                          of Sterne, Kessler, Goldstein & Fox, on behalf of Brita LP

    07/22/2022      (776097 - Public)     Response/Submission to ALJ Order, Declaration of Jared
                                          Brandyberry Justifying Confidentiality of Exhibits, filed by Jared
                                          Brandyberry of Baker & Hostetler LLP, on behalf of Zero Tech-
                                          nologies, LLC and Culligan International Co.




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    07/25/2022      (776101 - Public)     Response/Submission to ALJ Order, 27 Joint Outline of Is-
                                          sues, filed by Paul Ainsworth of Sterne, Kessler, Goldstein &
                                          Fox, on behalf of Kaz USA, Inc., Helen of Troy Limited, Zero
                                          Technologies, LLC, Culligan International Co., Vestergaard
                                          Frandsen Inc. d/b/a LifeStraw, EcoLife Technologies, Inc.,
                                          Qingdao Ecopure Filter Co., Ltd., and Brita LP
    07/25/2022      (776132 - Public)     Order, 1294-023 31 Granting Joint Motion for Receipt into Evi-
                                          dence without a Sponsoring Witness [Motion Docket No. 1294-
                                          023], filed by MaryJoan McNamara of USITC, on behalf of Ad-
                                          ministrative Law Judge
    07/27/2022      (776389 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of Roy Campos, Ken Kotarski, and Veronica Pena, filed by
                                          Adam Swain of Alston & Bird LLP, on behalf of Kaz USA, Inc.
                                          and Helen of Troy Limited
    07/27/2022      (776398 - Public)     Motion, 1294-017 Notice of Withdrawal of Aqua Crest and Pur
                                          Respondents' Motion to Strike Portions of Dr. David Rock-
                                          straw's Expert Report, filed by Adam Swain of Alston & Bird
                                          LLP, on behalf of EcoLife Technologies, Inc., Qingdao Ecopure
                                          Filter Co., Ltd., Kaz USA, Inc., and Helen of Troy Limited

    07/28/2022      (776411 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of Karine Beers, filed by Paul Ainsworth of Sterne, Kessler,
                                          Goldstein & Fox, on behalf of Brita LP
    07/28/2022      (776423 - Public)     Order, 1294-024 32 Regarding Complainant Brita LP’s Motion
                                          for Leave to File a Corrected Pre-Hearing Brief [Motion Docket
                                          No. 1294-024}, filed by MaryJoan McNamara of USITC, on be-
                                          half of Administrative Law Judge
    07/29/2022      (776559 - Public)     Response/Submission to ALJ Order, 32 Brita LP's Response
                                          to Order No. 32, filed by Paul Ainsworth of Sterne, Kessler,
                                          Goldstein & Fox, on behalf of Brita LP
    07/29/2022      (776573 - Public)     Response/Submission to ALJ Order, Declaration of Todd R.
                                          Tucker Justifying Confidentiality of Exhibits, filed by Todd
                                          Tucker of Calfee, Halter & Griswold LLP, on behalf of EcoLife
                                          Technologies, Inc. and Qingdao Ecopure Filter Co., Ltd.
    07/29/2022      (776575 - Public)     Response/Submission to ALJ Order, Declaration of Todd R.
                                          Tucker Justifying Confidentiality of Physical and Demonstrative
                                          Exhibits, filed by Todd Tucker of Calfee, Halter & Griswold
                                          LLP, on behalf of EcoLife Technologies, Inc. and Qingdao Eco-
                                          pure Filter Co., Ltd.
    07/29/2022     (776586 - Confiden-    Motion Response/Reply, 1294-027 Respondents' Opposition
                          tial)           to Motion in Limine No. 2, filed by Adam Swain of Alston & Bird
                                          LLP, on behalf of Kaz USA, Inc., Helen of Troy Limited, Zero
                                          Technologies, LLC, Culligan International Co., Vestergaard
                                          Frandsen Inc. d/b/a LifeStraw, EcoLife Technologies, Inc., and
                                          Qingdao Ecopure Filter Co., Ltd.




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    07/29/2022     (776588 - Confiden-    Motion Response/Reply, 1294-025 Respondents' Opposition
                          tial)           to Complainant's Motion in Limine No. 1, filed by Adam Swain
                                          of Alston & Bird LLP, on behalf of Kaz USA, Inc., Helen of Troy
                                          Limited, Zero Technologies, LLC, Culligan International Co.,
                                          Vestergaard Frandsen Inc. d/b/a LifeStraw, EcoLife Technolo-
                                          gies, Inc., and Qingdao Ecopure Filter Co., Ltd.
    07/29/2022      (776592 - Public)     Response/Submission to ALJ Order, 32 Letter to ALJ
                                          McNamara regarding Order No. 32, filed by Jared Brandyberry
                                          of Baker & Hostetler LLP, on behalf of Zero Technologies, LLC
                                          and Culligan International Co.
    07/29/2022     (776593 - Confiden-    Motion Response/Reply, 1294-026 Complainant Brita LP's Op-
                          tial)           position to Respondents' Motion in Limine No. 1, filed by Paul
                                          Ainsworth of Sterne, Kessler, Goldstein & Fox, on behalf of
                                          Brita LP
    08/02/2022      (776817 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of JC Rozendaal and Byron Pickard, filed by Paul Ains-
                                          worth of Sterne, Kessler, Goldstein & Fox, on behalf of Brita
                                          LP
    08/02/2022     (776873 - Confiden-    Order, 1294-015 33 Denying-in-Part and Granting-in-Part Re-
                          tial)           spondents’ Motion to Strike Undisclosed Conception and Re-
                                          duction to Practice Theories in Dr. Benny Freeman’s Expert
                                          Report [Motion Docket No. 1294-015], filed by MaryJoan
                                          McNamara of USITC, on behalf of Administrative Law Judge
    08/02/2022      (776914 - Public)     Response/Submission to ALJ Order, 32 Reply Letter to ALJ
                                          McNamara regarding Order No. 32, filed by Jared Brandyberry
                                          of Baker & Hostetler LLP, on behalf of Zero Technologies,
                                          LLC, Culligan International Co., EcoLife Technologies Inc.,
                                          Qingdao Ecopure Filter Co., Ltd, Vestergaard Frandsen Inc.
                                          d/b/a LifeStraw, Kaz USA, Inc., and Helen of Troy Limited.
    08/02/2022      (776915 - Public)     Response/Submission to ALJ Order, 32 Letter from Complain-
                                          ant to ALJ McNamara regarding Order No. 32, filed by Paul
                                          Ainsworth of Sterne, Kessler, Goldstein & Fox, on behalf of
                                          Brita LP
    08/03/2022     (777005 - Confiden-    Order, 1294-016 34 Granting Non-Party KX Technologies,
                          tial)           LLC's Motion for Protective Order [Motion Docket No. 1294-
                                          016], filed by MaryJoan McNamara of USITC, on behalf of Ad-
                                          ministrative Law Judge
    08/04/2022      (777080 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of Alex Rennick, filed by Paul Ainsworth of Sterne, Kessler,
                                          Goldstein & Fox, on behalf of Brita LP
    08/05/2022     (777221 - Confiden-    Order, 1294-025 35 Denying without Prejudice Complainant’s
                          tial)           Motions in Limine [Motion Docket Nos. 1294-025 and 1294-
                                          027], filed by MaryJoan McNamara of USITC, on behalf of Ad-
                                          ministrative Law Judge
    08/05/2022     (777251 - Confiden-    Order, 1294-018 36 Granting in-Part and Denying in-Part Com-
                          tial)           plainant Brita LP’s Motion for Protective Order [Motion Docket
                                          No. 1294-018], filed by MaryJoan McNamara of USITC, on be-
                                          half of Administrative Law Judge




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    08/08/2022      (777339 - Public)     Other, Stipulation among the Parties Concerning Exhibit Dis-
                                          closures, filed by Paul Ainsworth of Sterne, Kessler, Goldstein
                                          & Fox, on behalf of Kaz USA, Inc., Helen of Troy Limited, Zero
                                          Technologies, LLC, Culligan International Co., Vestergaard
                                          Frandsen Inc. d/b/a LifeStraw, EcoLife Technologies, Inc.,
                                          Qingdao Ecopure Filter Co., Ltd., and Brita LP

    08/08/2022      (777414 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of Jonha Blum, filed by Paul Ainsworth of Sterne, Kessler,
                                          Goldstein & Fox, on behalf of Brita LP
    08/09/2022     (777522 - Confiden-    Order, 1294-026 37 Denying Respondents’ Motion in Limine
                          tial)           [Motion Docket No. 1294-026], filed by MaryJoan McNamara
                                          of USITC, on behalf of Administrative Law Judge
    08/11/2022      (777718 - Public)     Order, 1294-018 29 Ordering Production of Certain Brita Docu-
                                          ments for in Camera Inspection, and Identification of Attorneys
                                          for Certain Documents [Motion Docket No. 1294-018], filed by
                                          MaryJoan McNamara of USITC, on behalf of Administrative
                                          Law Judge
    08/11/2022      (777720 - Public)     Order, 30 Construing Certain Terms of U.S. Patent No.
                                          8,167,141 (Markman Claim Construction), filed by MaryJoan
                                          McNamara of USITC, on behalf of Administrative Law Judge
    08/11/2022      (777731 - Public)     Response/Submission to ALJ Order, Joint Motion for Receipt
                                          of Evidence without a Witness, filed by Jared Brandyberry of
                                          Baker & Hostetler LLP, on behalf of Kaz USA, Inc., Helen of
                                          Troy Limited, Zero Technologies, LLC, Culligan International
                                          Co., Vestergaard Frandsen Inc. d/b/a LifeStraw, EcoLife Tech-
                                          nologies, Inc., Qingdao Ecopure Filter Co., Ltd., and Brita LP

    08/12/2022      (777773 - Public)     Other, Amended Stipulation among the Parties Concerning Ex-
                                          hibit Disclosures, filed by Paul Ainsworth of Sterne, Kessler,
                                          Goldstein & Fox, on behalf of Kaz USA, Inc., Helen of Troy
                                          Limited, Zero Technologies, LLC, Culligan International Co.,
                                          Vestergaard Frandsen Inc. d/b/a LifeStraw, EcoLife Technolo-
                                          gies, Inc., Qingdao Ecopure Filter Co., Ltd., and Brita LP

    08/12/2022      (777791 - Public)     Order, 38 Granting Joint Motion for Receipt into Evidence with-
                                          out a Sponsoring Witness [Doc. Id No. 777731], filed by Mar-
                                          yJoan McNamara of USITC, on behalf of Administrative Law
                                          Judge
    08/15/2022      (777934 - Public)     Order, 1294-004 39 Granting Unopposed Motions [Motion
                                          Docket Nos. 1294-004 and 1294-007], filed by MaryJoan
                                          McNamara of USITC, on behalf of Administrative Law Judge
    08/15/2022      (778044 - Public)     Order, 40 Procedures for Evidentiary Hearing on Webex Com-
                                          mencing on August 17, 2022, filed by MaryJoan McNamara of
                                          USITC, on behalf of Administrative Law Judge




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    08/15/2022      (778050 - Public)    PO Subscription, Agreement to Be Bound by the Protective Or-
                                         der of Amanda Lin, filed by Todd Tucker of Calfee, Halter &
                                         Griswold LLP, on behalf of EcoLife Technologies, Inc. and
                                         Qingdao Ecopure Filter Co., Ltd.
    08/15/2022      (778066 - Public)    Motion Response/Reply, 1294-025 Respondents' Opposition
                                         to Complainant's Motion in Limine No. 1, filed by Adam Swain
                                         of Alston & Bird LLP, on behalf of Kaz USA, Inc., Helen of Troy
                                         Limited, Zero Technologies, LLC, Culligan International Co.,
                                         Vestergaard Frandsen Inc. d/b/a LifeStraw, EcoLife Technolo-
                                         gies, Inc., and Qingdao Ecopure Filter Co., Ltd.
    08/15/2022      (778067 - Public)    Motion Response/Reply, 1294-027 Respondents' Opposition
                                         to Motion in Limine No. 2, filed by Adam Swain of Alston & Bird
                                         LLP, on behalf of Kaz USA, Inc., Helen of Troy Limited, Zero
                                         Technologies, LLC, Culligan International Co., Vestergaard
                                         Frandsen Inc. d/b/a LifeStraw, EcoLife Technologies, Inc., and
                                         Qingdao Ecopure Filter Co., Ltd.
    08/15/2022      (778082 - Public)    Motion, 1294-028 48 Brita LP and Non-Party Dr. Benny D.
                                         Freeman’s Motion to Quash Respondents’ Subpoena Ad Tes-
                                         tificandum to Dr. Benny D. Freeman, filed by Paul Ainsworth of
                                         Sterne, Kessler, Goldstein & Fox, on behalf of Brita LP

    08/16/2022      (778153 - Public)    Motion, 1294-026 Motion in Limine No. 1 to Exclude Brita's Be-
                                         lated Contentions on the Brita Legacy Filter, filed by Adam
                                         Swain of Alston & Bird LLP, on behalf of Kaz USA, Inc., Helen
                                         of Troy Limited, Zero Technologies, LLC, Culligan International
                                         Co., Vestergaard Frandsen Inc. d/b/a LifeStraw, EcoLife Tech-
                                         nologies, Inc., and Qingdao Ecopure Filter Co., Ltd.
    08/16/2022      (778175 - Public)    Motion Response/Reply, 1294-028 Respondents' Opposition
                                         to Brita LP and Non-Party Dr. Benny D. Freeman's Motion to
                                         Quash Respondents' Subpoena Ad Testificandum to Dr.
                                         Benny D. Freeman, filed by Jeffrey Gargano of K&L Gates
                                         LLP, on behalf of Kaz USA, Inc., Helen of Troy Limited, Zero
                                         Technologies, LLC, Culligan International Co., Vestergaard
                                         Frandsen Inc. d/b/a LifeStraw, EcoLife Technologies, Inc., and
                                         Qingdao Ecopure Filter Co., Ltd.
    08/16/2022      (778180 - Public)    Notice of Withdrawal of Appearance, Notice of Withdrawal of
                                         Appearance of Brian P. Doney from Calfee, Halter & Griswold
                                         LLP on Behalf of Ecolife Technologies, Inc. and Qingdao Eco-
                                         pure Filter Co., Ltd., filed by Brian Doney of Calfee, Halter &
                                         Griswold LLP, on behalf of EcoLife Technologies, Inc. and
                                         Qingdao Ecopure Filter Co., Ltd.
    08/17/2022      (778195 - Public)    Response/Submission to ALJ Order, Witness Certification,
                                         filed by Paul Ainsworth of Sterne, Kessler, Goldstein & Fox, on
                                         behalf of Brita LP
    08/17/2022      (778225 - Public)    Response/Submission to ALJ Order, 40 Witness Certification,
                                         filed by Jerome Barrillon of KX Technologies, LLC, on behalf of
                                         Brita LP




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    08/18/2022      (778255 - Public)     Response/Submission to ALJ Order, Witness Certification,
                                          filed by Paul Ainsworth of Sterne, Kessler, Goldstein & Fox, on
                                          behalf of Brita LP
    08/18/2022     (778263 - Confiden-    Transcript, Evidentiary Hearing (Pages 1-272) (with excerpts),
                          tial)           filed by MaryJoan McNamara of USITC, on behalf of Adminis-
                                          trative Law Judge
    08/18/2022      (778264 - Public)     Transcript, Evidentiary Hearing (Pages 1-272) (with excerpts),
                                          filed by MaryJoan McNamara of USITC, on behalf of Adminis-
                                          trative Law Judge
    08/18/2022      (778284 - Public)     Response/Submission to ALJ Order, Certifications of Rob Her-
                                          man and Mike Mitchell regarding Hearing Testimony, filed by
                                          Adam Swain of Alston & Bird LLP, on behalf of Kaz USA, Inc.
                                          and Helen of Troy Limited
    08/18/2022      (778295 - Public)     Response/Submission to ALJ Order, Certifications of Douglas
                                          Kellam and Thomas Vander Veen regarding Hearing Testi-
                                          mony, filed by Jared Brandyberry of Baker & Hostetler LLP, on
                                          behalf of Zero Technologies, LLC and Culligan International
                                          Co.
    08/19/2022      (778315 - Public)     Response/Submission to ALJ Order, Certification of Dr. John
                                          C. Crittenden regarding Hearing Testimony, filed by Todd
                                          Tucker of Calfee, Halter & Griswold LLP, on behalf of EcoLife
                                          Technologies, Inc. and Qingdao Ecopure Filter Co., Ltd.
    08/19/2022     (778322 - Confiden-    Transcript, Evidentiary Hearing (Pages 273-532) (with ex-
                          tial)           cerpts), filed by MaryJoan McNamara of USITC, on behalf of
                                          Administrative Law Judge
    08/19/2022      (778323 - Public)     Transcript, Evidentiary Hearing (Pages 273-532) (with ex-
                                          cerpts), filed by MaryJoan McNamara of USITC, on behalf of
                                          Administrative Law Judge
    08/19/2022      (778336 - Public)     Response/Submission to ALJ Order, Joint Motion for Receipt
                                          of Evidence without a Witness, filed by Jared Brandyberry of
                                          Baker & Hostetler LLP, on behalf of Kaz USA, Inc., Helen of
                                          Troy Limited, Zero Technologies, LLC, Culligan International
                                          Co., Vestergaard Frandsen Inc. d/b/a LifeStraw, EcoLife Tech-
                                          nologies, Inc., Qingdao Ecopure Filter Co., Ltd., and Brita LP

    08/19/2022      (778342 - Public)     Response/Submission to ALJ Order, Certification of Alison Hill
                                          regarding Hearing Testimony, filed by Jeffrey Gargano of K&L
                                          Gates LLP, on behalf of Vestergaard Frandsen Inc. d/b/a
                                          LifeStraw
    08/22/2022      (778398 - Public)     Response/Submission to ALJ Order, Certification of Aiden
                                          Shengda Zhang regarding Hearing Testimony, filed by Todd
                                          Tucker of Calfee, Halter & Griswold LLP, on behalf of EcoLife
                                          Technologies, Inc. and Qingdao Ecopure Filter Co., Ltd.
    08/22/2022     (778407 - Confiden-    Transcript, Evidentiary Hearing (Pages 533-821) (with ex-
                          tial)           cerpts), filed by MaryJoan McNamara of USITC, on behalf of
                                          Administrative Law Judge




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    08/22/2022      (778408 - Public)     Transcript, Evidentiary Hearing (Pages 533-821) (with ex-
                                          cerpts), filed by MaryJoan McNamara of USITC, on behalf of
                                          Administrative Law Judge
    08/23/2022     (778510 - Confiden-    Transcript, Evidentiary Hearing (Pages 822-1122) (with ex-
                          tial)           cerpts), filed by MaryJoan McNamara of USITC, on behalf of
                                          Administrative Law Judge
    08/23/2022      (778511 - Public)     Transcript, Evidentiary Hearing (Pages 822-1122) (with ex-
                                          cerpts), filed by MaryJoan McNamara of USITC, on behalf of
                                          Administrative Law Judge
    08/23/2022      (778554 - Public)     Response/Submission to ALJ Order, List of the Parties Agreed
                                          upon Admitted Exhibits, filed by Paul Ainsworth of Sterne,
                                          Kessler, Goldstein & Fox, on behalf of Brita LP
    08/24/2022     (778589 - Confiden-    Transcript, Evidentiary Hearing (Pages 1123-1381) (with ex-
                          tial)           cerpts), filed by MaryJoan McNamara of USITC, on behalf of
                                          Administrative Law Judge
    08/24/2022      (778590 - Public)     Transcript, Evidentiary Hearing (Pages 1123-1381) (with ex-
                                          cerpts), filed by MaryJoan McNamara of USITC, on behalf of
                                          Administrative Law Judge
    08/25/2022      (778744 - Public)     Order, 41 Granting Joint Motion for Receipt into Evidence with-
                                          out a Sponsoring Witness [Doc. Id No. 778336], filed by Mar-
                                          yJoan McNamara of USITC, on behalf of Administrative Law
                                          Judge
    08/25/2022      (778754 - Public)     Order, 1294-016 34 Granting Non-Party KX Technologies,
                                          LLC’s Motion for Protective Order [Motion Docket No. 1294-
                                          016], filed by MaryJoan McNamara of USITC, on behalf of Ad-
                                          ministrative Law Judge
    08/25/2022      (778770 - Public)     Response/Submission to ALJ Order, Letter from Paul Ains-
                                          worth to ALJ McNamara regarding Final Hearing Date, filed by
                                          Paul Ainsworth of Sterne, Kessler, Goldstein & Fox, on behalf
                                          of Brita LP
    08/29/2022      (778949 - Public)     Order, 42 Continued Evidentiary Hearing Schedule, filed by
                                          MaryJoan McNamara of USITC, on behalf of Administrative
                                          Law Judge
    08/29/2022     (778985 - Confiden-    Response/Submission to ALJ Order, Declarations in Response
                          tial)           to Administrative Law Judge McNamara's Instructions during
                                          Hearing, filed by Paul Ainsworth of Sterne, Kessler, Goldstein
                                          & Fox, on behalf of Brita LP
    08/30/2022      (779000 - Public)     Order, 1294-015 33 Denying-in-Part and Granting-in-Part Re-
                                          spondents’ Motion to Strike Undisclosed Conception and Re-
                                          duction to Practice Theories in Dr. Benny Freeman’s Expert
                                          Report [Motion Docket No. 1294-015], filed by MaryJoan
                                          McNamara of USITC, on behalf of Administrative Law Judge
    08/30/2022      (779002 - Public)     Order, 1294-025 35 Denying without Prejudice Complainant’s
                                          Motions in Limine [Motion Docket Nos. 1294-025 and 1294-
                                          027], filed by MaryJoan McNamara of USITC, on behalf of Ad-
                                          ministrative Law Judge




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    08/30/2022      (779015 - Public)     Order, 1294-026 37 Denying Respondents’ Motion in Limine
                                          [Motion Docket No. 1294-026], filed by MaryJoan McNamara
                                          of USITC, on behalf of Administrative Law Judge
    08/30/2022      (779049 - Public)     Order, 1294-018 36 Granting in-Part and Denying in-Part Com-
                                          plainant Brita LP’s Motion for Protective Order [Motion Docket
                                          No. 1294-018], filed by MaryJoan McNamara of USITC, on be-
                                          half of Administrative Law Judge
    08/31/2022     (779196 - Confiden-    Response/Submission to ALJ Order, Letter from Complainant
                          tial)           Brita LP to ALJ McNamara Submitting Ramirez Declaration
                                          Pursuant to Instructions at August 19 Hearing, filed by Paul
                                          Ainsworth of Sterne, Kessler, Goldstein & Fox, on behalf of
                                          Brita LP
    09/01/2022     (779233 - Confiden-    Response/Submission to ALJ Order, Letter from Respondents
                          tial)           Submitting Affidavits Pursuant to ALJ McNamara's Instructions
                                          during the Pre-Hearing Conference, filed by Adam Swain of Al-
                                          ston & Bird LLP, on behalf of Kaz USA, Inc., Helen of Troy
                                          Limited, Zero Technologies, LLC, Culligan International Co.,
                                          Vestergaard Frandsen Inc. d/b/a LifeStraw, EcoLife Technolo-
                                          gies, Inc., and Qingdao Ecopure Filter Co., Ltd.
    09/08/2022      (779715 - Public)     Motion, 1294-029 43 Complainant Brita LP's Motion to With-
                                          draw the Complaint as to Respondents Ecolife Technologies,
                                          Inc. and Qingdao Ecopure Filter Co., Ltd., filed by Paul Ains-
                                          worth of Sterne, Kessler, Goldstein & Fox, on behalf of Brita
                                          LP
    09/09/2022      (779890 - Public)     Exhibit List, Complainant Brita LP's Final Admitted Exhibit List,
                                          filed by Paul Ainsworth of Sterne, Kessler, Goldstein & Fox, on
                                          behalf of Brita LP
    09/09/2022     (779896 - Confiden-    Brief Filed With ALJ, Complainant Brita LP's Initial Post-Hear-
                          tial)           ing Brief, filed by Paul Ainsworth of Sterne, Kessler, Goldstein
                                          & Fox, on behalf of Brita LP
    09/09/2022     (779902 - Confiden-    Brief Filed With ALJ, Respondents' Initial Post-Hearing Brief,
                          tial)           filed by Adam Swain of Alston & Bird LLP, on behalf of Kaz
                                          USA, Inc., Helen of Troy Limited, Zero Technologies, LLC, Cul-
                                          ligan International Co., and Vestergaard Frandsen Inc. d/b/a
                                          LifeStraw
    09/09/2022     (779904 - Confiden-    Exhibit List, Respondents' Proposed Hearing Exhibit List, filed
                          tial)           by Adam Swain of Alston & Bird LLP, on behalf of Kaz USA,
                                          Inc., Helen of Troy Limited, Zero Technologies, LLC, Culligan
                                          International Co., and Vestergaard Frandsen Inc. d/b/a
                                          LifeStraw
    09/12/2022      (779908 - Public)     Response/Submission to ALJ Order, 27 Joint Outline of Is-
                                          sues, filed by Paul Ainsworth of Sterne, Kessler, Goldstein &
                                          Fox, on behalf of Kaz USA, Inc., Helen of Troy Limited, Zero
                                          Technologies, LLC, Culligan International Co., Vestergaard
                                          Frandsen Inc. d/b/a LifeStraw, EcoLife Technologies, Inc.,
                                          Qingdao Ecopure Filter Co., Ltd., and Brita LP




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    09/19/2022     (780600 - Confiden-    Brief Filed With ALJ, Respondents' Reply Post-Hearing Brief,
                          tial)           filed by Jared Brandyberry of Baker & Hostetler LLP, on behalf
                                          of Kaz USA, Inc., Helen of Troy Limited, Zero Technologies,
                                          LLC, Culligan International Co., and Vestergaard Frandsen
                                          Inc. d/b/a LifeStraw
    09/19/2022     (780601 - Confiden-    Brief Filed With ALJ, Complainant Brita LP's Reply Post-Hear-
                          tial)           ing Brief, filed by Paul Ainsworth of Sterne, Kessler, Goldstein
                                          & Fox, on behalf of Brita LP
    09/20/2022      (780609 - Public)     Response/Submission to ALJ Order, 27 Joint Outline of Is-
                                          sues, filed by Paul Ainsworth of Sterne, Kessler, Goldstein &
                                          Fox, on behalf of Kaz USA, Inc., Helen of Troy Limited, Zero
                                          Technologies, LLC, Culligan International Co., Vestergaard
                                          Frandsen Inc. d/b/a LifeStraw, EcoLife Technologies, Inc.,
                                          Qingdao Ecopure Filter Co., Ltd., and Brita LP
    09/22/2022      (780862 - Public)     ID/RD - Other Than Final on Violation, 1294-029 43 Initial De-
                                          termination Granting Complainant's Motion to Terminate the
                                          Investigation with Respect to Respondents Ecolife Technolo-
                                          gies, Inc. and Qingdao Ecopure Filter Co, Inc. [Motion Docket
                                          No. 1294-029], filed by MaryJoan McNamara of USITC, on be-
                                          half of Administrative Law Judge
    09/23/2022      (780907 - Public)     Order, 44 Regarding Deadlines and Page Limits for Post-Hear-
                                          ing Briefing, filed by MaryJoan McNamara of USITC, on behalf
                                          of Administrative Law Judge
    10/04/2022     (781636 - Confiden-    Exhibit, Post-Trial, CDX-0001C - CDX-0017C, filed by Paul
                          tial)           Ainsworth of Sterne, Kessler, Goldstein & Fox, on behalf of
                                          Brita LP
    10/04/2022      (781637 - Public)     Exhibit, Post-Trial, CPX-0002 - CPX-0003, filed by Paul Ains-
                                          worth of Sterne, Kessler, Goldstein & Fox, on behalf of Brita
                                          LP
    10/11/2022      (781930 - Public)     Notice, 43 Commission Determination Not to Review an Initial
                                          Determination Granting Complainant's Unopposed Motion to
                                          Terminate the Investigation as to Two Respondents Based on
                                          Withdrawal, filed by Katherine M. Hiner of USITC, on behalf of
                                          Office of the Secretary
    10/11/2022      (782013 - Public)     Order, 45 Procedures for Continued Evidentiary Hearing on
                                          Webex to Be Held on October 13, 2022, filed by MaryJoan
                                          McNamara of USITC, on behalf of Administrative Law Judge
    10/13/2022      (782181 - Public)     Response/Submission to ALJ Order, Certification of Dr. Gary
                                          Hatch regarding Hearing Testimony, filed by Adam Swain of
                                          Alston & Bird LLP, on behalf of Kaz USA, Inc. and Helen of
                                          Troy Limited
    10/14/2022      (782281 - Public)     Response/Submission to ALJ Order, Witness Certification of
                                          Benny Freeeman, filed by Paul Ainsworth of Sterne, Kessler,
                                          Goldstein & Fox, on behalf of Brita LP
    10/14/2022      (782296 - Public)     Exhibit List, Brita LP's Final Admitted Exhibit List, filed by Paul
                                          Ainsworth of Sterne, Kessler, Goldstein & Fox, on behalf of
                                          Brita LP




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    10/17/2022     (782401 - Confiden-    Exhibit, Post-Trial, CPX-0011C - CPX-0068C, filed by Paul
                          tial)           Ainsworth of Sterne, Kessler, Goldstein & Fox, on behalf of
                                          Brita LP
    10/17/2022     (782414 - Confiden-    Exhibit, Post-Trial, CX-0001C - CX-0464C Part 2 of 2, filed by
                          tial)           Paul Ainsworth of Sterne, Kessler, Goldstein & Fox, on behalf
                                          of Brita LP
    10/17/2022     (782436 - Confiden-    Exhibit, Post-Trial, CX-0466C - CX-0957C, filed by Paul Ains-
                          tial)           worth of Sterne, Kessler, Goldstein & Fox, on behalf of Brita
                                          LP
    10/17/2022      (782449 - Public)     Exhibit, Post-Trial, CX-0010 Part 1 of 4 - CX-0961, filed by
                                          Paul Ainsworth of Sterne, Kessler, Goldstein & Fox, on behalf
                                          of Brita LP
    10/17/2022     (782476 - Confiden-    Exhibit List, Respondents' Confidential Exhibit List, filed by
                          tial)           Adam Swain of Alston & Bird LLP, on behalf of Kaz USA, Inc.,
                                          Helen of Troy Limited, Zero Technologies, LLC, Culligan Inter-
                                          national Co., and Vestergaard Frandsen Inc. d/b/a LifeStraw

    10/17/2022      (782487 - Public)     Exhibit, Post-Trial, JX-0001 - JX-0023 Part 2 of 2, filed by Paul
                                          Ainsworth of Sterne, Kessler, Goldstein & Fox, on behalf of
                                          Brita LP
    10/17/2022     (782488 - Confiden-    Exhibit, Post-Trial, JX-0019C, filed by Paul Ainsworth of
                          tial)           Sterne, Kessler, Goldstein & Fox, on behalf of Brita LP
    10/18/2022     (782501 - Confiden-    Exhibit, Post-Trial, CPX-0011C - CPX-0152C, filed by Paul
                          tial)           Ainsworth of Sterne, Kessler, Goldstein & Fox, on behalf of
                                          Brita LP
    10/18/2022     (782502 - Confiden-    Exhibit, Post-Trial, RDX-0001C - RDX-0020C, filed by Adam
                          tial)           Swain of Alston & Bird LLP, on behalf of EcoLife Technologies,
                                          Inc.
    10/18/2022      (782503 - Public)     Exhibit, Post-Trial, RDX-0015 - RDX-0021, filed by Adam
                                          Swain of Alston & Bird LLP, on behalf of EcoLife Technologies,
                                          Inc.
    10/18/2022     (782504 - Confiden-    Exhibit, Post-Trial, RPX-0002C - RPX-0209C, filed by Adam
                          tial)           Swain of Alston & Bird LLP, on behalf of EcoLife Technologies,
                                          Inc.
    10/18/2022      (782505 - Public)     Exhibit, Post-Trial, RPX-0103 - RPX-0153, filed by Adam
                                          Swain of Alston & Bird LLP, on behalf of EcoLife Technologies,
                                          Inc.
    10/18/2022     (782506 - Confiden-    Exhibit, Post-Trial, RX-0111C - RX-2613C, filed by Adam
                          tial)           Swain of Alston & Bird LLP, on behalf of EcoLife Technologies,
                                          Inc.
    10/18/2022      (782507 - Public)     Exhibit, Post-Trial, RX-0084 - RX-2579, filed by Adam Swain of
                                          Alston & Bird LLP, on behalf of EcoLife Technologies, Inc.
    10/19/2022     (782620 - Confiden-    Transcript, Evidentiary Hearing (Pages 1382-1656) (with ex-
                          tial)           cerpts), filed by MaryJoan McNamara of USITC, on behalf of
                                          Administrative Law Judge




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    10/19/2022      (782623 - Public)     Transcript, Evidentiary Hearing (Pages 1382-1656) (with ex-
                                          cerpts), filed by MaryJoan McNamara of USITC, on behalf of
                                          Administrative Law Judge
    10/19/2022     (782658 - Confiden-    Order, 46 Regarding Certain Brita LP’s Documents Clawed
                          tial)           Back on the Basis of Privilege, filed by MaryJoan McNamara of
                                          USITC, on behalf of Administrative Law Judge
    10/19/2022     (782660 - Confiden-    Order, 47 Regarding Respondents’ Objection during the Evi-
                          tial)           dentiary Hearing with Respect to Certain Brita Exhibits Cited in
                                          Dr. Rockstraw’s and Mr. Green’s Demonstratives, filed by Mar-
                                          yJoan McNamara of USITC, on behalf of Administrative Law
                                          Judge
    10/20/2022      (782719 - Public)     Order, 1294-028 48 Denying as Moot Brita LP and Non-Party
                                          Dr. Benny D. Freeman’s Motion to Quash Respondents’ Sub-
                                          poena Ad Testificandum to Dr. Benny D. Freeman [Motion
                                          Docket No. 1294-028], filed by MaryJoan McNamara of
                                          USITC, on behalf of Administrative Law Judge
    10/24/2022     (782958 - Confiden-    Brief Filed With ALJ, Complainant Brita LP’s Supplemental
                          tial)           Post-Hearing Brief, filed by Paul Ainsworth of Sterne, Kessler,
                                          Goldstein & Fox, on behalf of Brita LP
    10/24/2022     (782967 - Confiden-    Brief Filed With ALJ, Respondents' Supplemental Post-Hear-
                          tial)           ing Brief, filed by Adam Swain of Alston & Bird LLP, on behalf
                                          of Kaz USA, Inc., Helen of Troy Limited, Zero Technologies,
                                          LLC, Culligan International Co., and Vestergaard Frandsen
                                          Inc. d/b/a LifeStraw
    10/25/2022      (782970 - Public)     Response/Submission to ALJ Order, 27 Joint Outline of Is-
                                          sues, filed by Paul Ainsworth of Sterne, Kessler, Goldstein &
                                          Fox, on behalf of Brita LP, Kaz USA, Inc., Helen of Troy Lim-
                                          ited, Zero Technologies, LLC, Culligan International Co., and
                                          Vestergaard Frandsen Inc. d/b/a LifeStraw
    10/25/2022      (782973 - Public)     Correspondence, Letter to ALJ McNamara from Jeffrey Gar-
                                          gano regarding LifeStraw, filed by Jeffrey Gargano of K&L
                                          Gates LLP, on behalf of Vestergaard Frandsen Inc. d/b/a
                                          LifeStraw
    10/27/2022      (783185 - Public)     Motion, 1294-030 Joint Motion to Enlarge the Page Limit for
                                          Supplemental Post-Hearing Briefing to 70 Pages, filed by Paul
                                          Ainsworth of Sterne, Kessler, Goldstein & Fox, on behalf of
                                          Brita LP, Kaz USA, Inc., Helen of Troy Limited, Zero Technolo-
                                          gies, LLC, Culligan International Co., and Vestergaard Frand-
                                          sen Inc. d/b/a LifeStraw
    10/27/2022      (783187 - Public)     Exhibit, Post-Trial, CDX-0002, filed by Paul Ainsworth of
                                          Sterne, Kessler, Goldstein & Fox, on behalf of Brita LP
    10/27/2022      (783189 - Public)     Exhibit, Post-Trial, CX-0343 - CX-0962, filed by Paul Ainsworth
                                          of Sterne, Kessler, Goldstein & Fox, on behalf of Brita LP
    10/27/2022      (783210 - Public)     Correspondence, Letter from Paul Ainsworth to ALJ
                                          McNamara regarding Lifestraw's Request, filed by Paul Ains-
                                          worth of Sterne, Kessler, Goldstein & Fox, on behalf of Brita
                                          LP




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    10/28/2022     (783310 - Confiden-    Motion, 1294-031 Unopposed Motion to Submit Corrected
                          tial)           Supplemental Post-Hearing Brief, filed by Adam Swain of Al-
                                          ston & Bird LLP, on behalf of Kaz USA, Inc., Helen of Troy
                                          Limited, Zero Technologies, LLC, Culligan International Co.,
                                          and Vestergaard Frandsen Inc. d/b/a LifeStraw
    10/28/2022      (783347 - Public)     Correspondence, Respondents' Notice of Supplemental Au-
                                          thority - October 26, 2022, filed by Jared Brandyberry of Baker
                                          & Hostetler LLP, on behalf of Kaz USA, Inc., Helen of Troy
                                          Limited, Zero Technologies, LLC, Culligan International Co.,
                                          and Vestergaard Frandsen Inc. d/b/a LifeStraw
    10/31/2022      (783404 - Public)     Order, 1294-030 49 Granting Joint Motion to Enlarge Page
                                          Limit for Supplemental Post-Hearing Briefing [Motion Docket
                                          No. 1294-030], filed by MaryJoan McNamara of USITC, on be-
                                          half of Administrative Law Judge
    10/31/2022      (783405 - Public)     Order, 1294-031 50 Granting Unopposed Motion to Submit
                                          Corrected Supplemental Post-Hearing Brief [Motion Docket
                                          No. 1294-031], filed by MaryJoan McNamara of USITC, on be-
                                          half of Administrative Law Judge
    10/31/2022     (783482 - Confiden-    Brief Filed With ALJ, Respondents' Reply Supplemental Post-
                          tial)           Hearing Brief, filed by Jared Brandyberry of Baker & Hostetler
                                          LLP, on behalf of Kaz USA, Inc., Helen of Troy Limited, Zero
                                          Technologies, LLC, Culligan International Co., and
                                          Vestergaard Frandsen Inc. d/b/a LifeStraw
    10/31/2022     (783487 - Confiden-    Brief Filed With ALJ, Complainant Brita LP’s Supplemental
                          tial)           Post-Hearing Reply Brief, filed by Paul Ainsworth of Sterne,
                                          Kessler, Goldstein & Fox, on behalf of Brita LP
    11/01/2022      (783521 - Public)     Response/Submission to ALJ Order, 27 Joint Outline of Is-
                                          sues, filed by Paul Ainsworth of Sterne, Kessler, Goldstein &
                                          Fox, on behalf of Brita LP, Kaz USA, Inc., Helen of Troy Lim-
                                          ited, Zero Technologies, LLC, Culligan International Co., and
                                          Vestergaard Frandsen Inc.Brita LP, Kaz USA, Inc., Helen of
                                          Troy Limited, Zero Technologies, LLC, Culligan International
                                          Co., and Vestergaard Frandsen Inc. d/b/a LifeStraw
    11/07/2022      (783956 - Public)     Notice of Withdrawal of Appearance, Notice of Withdrawal of
                                          Appearance of Cassandra J. Simmons from Baker & Hostetler
                                          LLP on Behalf of Zero Technologies, LLC and Culligan Interna-
                                          tional Co., filed by Jared Brandyberry of Baker & Hostetler
                                          LLP, on behalf of Zero Technologies, LLC and Culligan Inter-
                                          national Co.
    11/09/2022      (784089 - Public)     Voting Sheet, GC-22-327, filed by Katherine M. Hiner of
                                          USITC, on behalf of Office of the Secretary
    11/10/2022      (784262 - Public)     Correspondence, Letter from Paul Ainsworth to ALJ
                                          McNamara regarding Order Nos. 47 and 48, filed by Paul Ains-
                                          worth of Sterne, Kessler, Goldstein & Fox, on behalf of Brita
                                          LP




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    11/14/2022      (784357 - Public)     Motion, 1294-032 Respondents' Unopposed Motion for Leave
                                          to Submit an Errata to the Evidentiary Hearing Transcripts,
                                          filed by Adam Swain of Alston & Bird LLP, on behalf of Kaz
                                          USA, Inc., Helen of Troy Limited, Zero Technologies, LLC, Cul-
                                          ligan International Co., and Vestergaard Frandsen Inc. d/b/a
                                          LifeStraw
    11/14/2022      (784393 - Public)     Brief Filed With ALJ, Respondents' Notice of Errata to Post-
                                          Hearing Brief, filed by Adam Swain of Alston & Bird LLP, on
                                          behalf of Kaz USA, Inc., Helen of Troy Limited, Zero Technolo-
                                          gies, LLC, Culligan International Co., and Vestergaard Frand-
                                          sen Inc. d/b/a LifeStraw
    11/14/2022      (784394 - Public)     Order, 46 Regarding Certain Brita LP’s Documents Clawed
                                          Back on the Basis of Privilege, filed by MaryJoan McNamara of
                                          USITC, on behalf of Administrative Law Judge
    11/14/2022      (784398 - Public)     Order, 47 Regarding Respondents’ Objection during the Evi-
                                          dentiary Hearing with Respect to Certain Brita Exhibits Cited in
                                          Dr. Rockstraw’s and Mr. Green’s Demonstratives, filed by Mar-
                                          yJoan McNamara of USITC, on behalf of Administrative Law
                                          Judge
    11/21/2022      (784935 - Public)     Order, 1294-032 51 Granting Unopposed Motion for Leave to
                                          Submit an Errata to the Evidentiary Hearing Transcript [Motion
                                          Docket No. 1294-032], filed by MaryJoan McNamara of
                                          USITC, on behalf of Administrative Law Judge
    12/16/2022     (786498 - Confiden-    Transcript, Corrected Evidentiary Hearing (Pages 1382-1656)
                          tial)           (with excerpts), filed by MaryJoan McNamara of USITC, on be-
                                          half of Administrative Law Judge
    12/16/2022      (786499 - Public)     Transcript, Corrected Evidentiary Hearing (Pages 1382-1656)
                                          (with excerpts), filed by MaryJoan McNamara of USITC, on be-
                                          half of Administrative Law Judge
    01/19/2023      (788297 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of Will Milliken, filed by Paul Ainsworth of Sterne, Kessler,
                                          Goldstein & Fox, on behalf of Brita LP
    01/30/2023      (788927 - Public)     ID/RD - Other Than Final on Violation, 52 Initial Determination
                                          Extending the Target Date, filed by MaryJoan McNamara of
                                          USITC, on behalf of Administrative Law Judge
    02/24/2023      (791088 - Public)     Notice, Commission Determination Not to Review an Initial De-
                                          termination Extending the Target Date for Completion of the In-
                                          vestigation, filed by Lisa R. Barton of USITC, on behalf of Of-
                                          fice of the Secretary
    02/28/2023      (791356 - Public)     Notice, Notice: Issuance of Initial Determination on Violation of
                                          Section 337, filed by MaryJoan McNamara of USITC, on behalf
                                          of Administrative Law Judge
    02/28/2023     (791360 - Confiden-    ID/RD - Final on Violation, Initial Determination on Violation of
                          tial)           Section 337 and Recommended Determination on Remedy
                                          and Bond, filed by MaryJoan McNamara of USITC, on behalf
                                          of Administrative Law Judge




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                                                              Filed: 08/02/2024
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    03/01/2023      (791507 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of George Summerfield, filed by Jeffrey Gargano of K&L
                                          Gates LLP, on behalf of Vestergaard Frandsen Inc. d/b/a
                                          LifeStraw
    03/02/2023      (791556 - Public)     Notice, Request for Statements on the Public Interest, filed by
                                          Lisa R. Barton of USITC, on behalf of Office of the Secretary
    03/02/2023      (791626 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of John D. Haynes, filed by Adam Swain of Alston & Bird
                                          LLP, on behalf of Kaz USA, Inc. and Helen of Troy Limited
    03/07/2023      (791929 - Public)     Notice, 88 FR 14177 F.R. Notice of Request for Statements on
                                          the Public Interest, filed by Lisa R. Barton of USITC, on behalf
                                          of Office of the Secretary
    03/13/2023     (792339 - Confiden-    Petition for Review; and Response to, Respondents' Summary
                          tial)           of Petition for Review, filed by Adam Swain of Alston & Bird
                                          LLP, on behalf of Kaz USA, Inc., Helen of Troy Limited, Zero
                                          Technologies, LLC, Culligan International Co., and
                                          Vestergaard Frandsen Inc. d/b/a LifeStraw
    03/13/2023     (792351 - Confiden-    Petition for Review; and Response to, Complainant Brita LP's
                          tial)           Petition for Commission Review of Initial and Recommended
                                          Determination, filed by Paul Ainsworth of Sterne, Kessler,
                                          Goldstein & Fox, on behalf of Brita LP
    03/13/2023     (792365 - Confiden-    Petition for Review; and Response to, Respondents' Petition
                          tial)           for Review of the Final Initial Determination, filed by Adam D.
                                          Swain of Alston & Bird LLP, on behalf of Kaz USA, Inc., Helen
                                          of Troy Limited, Zero Technologies, LLC, Culligan International
                                          Co., and Vestergaard Frandsen Inc. d/b/a LifeStraw
    03/20/2023      (792806 - Public)     Petition for Review; and Response to, Respondents’ Petition
                                          for Review of the Final Initial Determination, filed by Jeffrey
                                          Gargano of K&L Gates LLP, on behalf of Kaz USA, Inc., Helen
                                          of Troy Limited, Zero Technologies, LLC, Culligan International
                                          Co., and Vestergaard Frandsen Inc. d/b/a LifeStraw
    03/20/2023      (792810 - Public)     Petition for Review; and Response to, Complainant Brita LP's
                                          Petition for Commission Review of Initial and Recommended
                                          Determination, filed by Paul Ainsworth of Sterne, Kessler,
                                          Goldstein & Fox, on behalf of Brita LP
    03/21/2023     (792852 - Confiden-    Petition for Review; and Response to, Complainant Brita LP's
                          tial)           Summary of Response to Respondents' Petition for Commis-
                                          sion Review, filed by Paul A. Ainsworth of Sterne, Kessler,
                                          Goldstein & Fox, on behalf of Brita LP
    03/21/2023     (792860 - Confiden-    Petition for Review; and Response to, Complainant Brita LP's
                          tial)           Response to Respondents' Petition for Commission Review of
                                          Initial Determination, filed by Paul Ainsworth of Sterne, Kess-
                                          ler, Goldstein & Fox, on behalf of Brita LP




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    03/21/2023      (792861 - Public)     Petition for Review; and Response to, Respondents' Response
                                          to Complainant's Petition for Review, filed by Jared Brandy-
                                          berry of Baker & Hostetler LLP, on behalf of Kaz USA, Inc.,
                                          Helen of Troy Limited, Zero Technologies, LLC, Culligan Inter-
                                          national Co., and Vestergaard Frandsen Inc. d/b/a LifeStraw

    03/22/2023      (792892 - Public)     ID/RD - Final on Violation, Initial Determination on Violation of
                                          Section 337 and Recommended Determination on Remedy
                                          and Bond, filed by MaryJoan McNamara of USITC, on behalf
                                          of Administrative Law Judge
    03/28/2023      (793293 - Public)     Petition for Review; and Response to, Complainant Brita LP's
                                          Summary of Response to Respondents' Petition for Commis-
                                          sion Review, filed by Paul Ainsworth of Sterne, Kessler, Gold-
                                          stein & Fox, on behalf of Brita LP
    03/28/2023      (793294 - Public)     Petition for Review; and Response to, Complainant Brita LP's
                                          Response to Respondents' Petition for Commission Review of
                                          Initial Determination, filed by Paul Ainsworth of Sterne, Kess-
                                          ler, Goldstein & Fox, on behalf of Brita LP
    03/30/2023      (793421 - Public)     Brief on Review/Remedy, Complainant Brita LP's Statement
                                          on the Public Interest, filed by Paul Ainsworth of Sterne, Kess-
                                          ler, Goldstein & Fox, on behalf of Brita LP
    03/30/2023      (793433 - Public)     Brief on Review/Remedy, Respondent Vestergaard Frandsen
                                          Inc.’s Statement on the Public Interest, filed by Jeffrey Gar-
                                          gano of K&L Gates LLP, on behalf of Vestergaard Frandsen
                                          Inc. d/b/a LifeStraw
    03/30/2023     (793438 - Confiden-    Brief on Review/Remedy, Respondents Zero Technologies,
                          tial)           LLC's and Culligan International Co.'s Public Interest State-
                                          ment, filed by Jared Brandyberry of Baker & Hostetler LLP, on
                                          behalf of Zero Technologies, LLC and Culligan International
                                          Co.
    03/30/2023      (793440 - Public)     Brief on Review/Remedy, Pur Respondents' 19 CFR 210.50
                                          Statement on the Public Interest, filed by Adam Swain of Al-
                                          ston & Bird LLP, on behalf of Kaz USA, Inc. and Helen of Troy
                                          Limited
    03/31/2023      (793491 - Public)     Brief on Review/Remedy, Public Interest Comments of Dr.
                                          Shane Walker of the University of Texas El Paso, filed by
                                          Adam Swain of Alston & Bird LLP, on behalf of Dr. Shane
                                          Walker
    03/31/2023      (793492 - Public)     Brief on Review/Remedy, Respondents Zero Technologies,
                                          LLC's and Culligan International Co.'s Public Interest State-
                                          ment, filed by Jared Brandyberry of Baker & Hostetler LLP, on
                                          behalf of Zero Technologies, LLC and Culligan International
                                          Co.
    04/10/2023      (794032 - Public)     Voting Sheet, GC-23-034, filed by Lisa R. Barton of USITC, on
                                          behalf of Office of the Secretary
    04/28/2023      (795101 - Public)     Brief on Review/Remedy, Written Comments of U.S. Senator
                                          Thomas R. Carper, filed by Thomas R. Carper of United States
                                          Senate, on behalf of United States Senate




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    05/01/2023      (795242 - Public)    Notice, Commission Determination to Extend the Date for De-
                                         ciding Whether to Review the Final Initial Determination, filed
                                         by Lisa R. Barton of USITC, on behalf of Office of the Secre-
                                         tary
    05/02/2023      (795287 - Public)    Voting Sheet, GC-23-113, filed by Lisa R. Barton of USITC, on
                                         behalf of Office of the Secretary
    05/23/2023      (797064 - Public)    Brief on Review/Remedy, Written Comments, filed by Daniel T.
                                         Kildee of Congress of the United States, on behalf of Congress
                                         of the United States
    05/23/2023      (797066 - Public)    Brief on Review/Remedy, Written Comments, filed by Brian
                                         Fitzpatrick of Congress of the United States, on behalf of Con-
                                         gress of the United States
    05/23/2023      (797067 - Public)    Brief on Review/Remedy, Written Comments, filed by Ro
                                         Khanna of Congress of the United States, on behalf of Con-
                                         gress of the United States
    05/23/2023      (797068 - Public)    Brief on Review/Remedy, Written Comments, filed by Elissa
                                         Slotkin of Congress of the United States, on behalf of Con-
                                         gress of the United States
    05/23/2023      (797070 - Public)    Brief on Review/Remedy, Written Comments, filed by Nancy
                                         Mace of Congress of the United States, on behalf of Congress
                                         of the United States
    05/23/2023      (797071 - Public)    Brief on Review/Remedy, Written Comments, filed by Deborah
                                         K. Ross of Congress of the United States, on behalf of Con-
                                         gress of the United States
    05/23/2023      (797073 - Public)    Brief on Review/Remedy, Written Comments, filed by Hillary J.
                                         Scholten of Congress of the United States, on behalf of Con-
                                         gress of the United States
    05/23/2023      (797075 - Public)    Brief on Review/Remedy, Written Comments, filed by Debbie
                                         Dingell of Congress of the United States, on behalf of Con-
                                         gress of the United States
    05/23/2023      (797077 - Public)    Brief on Review/Remedy, Written Comments, filed by Lizzie
                                         Fletcher of Congress of the United States, on behalf of Con-
                                         gress of the United States
    05/23/2023      (797078 - Public)    Brief on Review/Remedy, Written Comments, filed by James
                                         P. McGovern of Congress of the United States, on behalf of
                                         Congress of the United States
    05/23/2023      (797084 - Public)    Brief on Review/Remedy, Written Comments, filed by Gerald
                                         E. Connolly of Congress of the United States, on behalf of
                                         Congress of the United States
    05/23/2023      (797086 - Public)    Brief on Review/Remedy, Written Comments, filed by Teresa
                                         Leger Fernández of Congress of the United States, on behalf
                                         of Congress of the United States
    05/23/2023      (797088 - Public)    Brief on Review/Remedy, Written Comments, filed by Made-
                                         leine Dean of Congress of the United States, on behalf of Con-
                                         gress of the United States




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    05/23/2023      (797089 - Public)    Brief on Review/Remedy, Written Comments, filed by Haley M.
                                         Stevens of USITC, on behalf of Congress of the United States
    05/23/2023      (797090 - Public)    Brief on Review/Remedy, Written Comments, filed by Raúl M.
                                         Grijalva of Congress of the United States, on behalf of Con-
                                         gress of the United States
    05/23/2023      (797092 - Public)    Brief on Review/Remedy, Written Comments, filed by Grace
                                         Meng of Congress of the United States, on behalf of Congress
                                         of the United States
    05/23/2023      (797095 - Public)    Brief on Review/Remedy, Written Comments, filed by Richard
                                         E. Neal of Congress of the United States, on behalf of Con-
                                         gress of the United States
    05/24/2023      (797151 - Public)    Motion, 1294-033C Respondents' Motion for Leave to File No-
                                         tice of Supplemental Authority regarding Respondents' Petition
                                         for Review of the Initial Determination, filed by Jeffrey Gargano
                                         of K&L Gates LLP, on behalf of Kaz USA, Inc., Helen of Troy
                                         Limited, Zero Technologies, LLC, Culligan International Co.,
                                         and Vestergaard Frandsen Inc. d/b/a LifeStraw
    06/06/2023      (797887 - Public)    Brief on Review/Remedy, Written Comments, filed by Brett
                                         Guthrie of Congress of the United States, on behalf of Con-
                                         gress of the United States
    06/06/2023      (797888 - Public)    Brief on Review/Remedy, Written Comments, filed by James
                                         Comer of Congress of the United States, on behalf of Con-
                                         gress of the United States
    06/06/2023      (797889 - Public)    Brief on Review/Remedy, Written Comments, filed by Hal Rog-
                                         ers of Congress of the United States, on behalf of Congress of
                                         the United States
    06/06/2023      (797890 - Public)    Brief on Review/Remedy, Written Comments, filed by Morgan
                                         McGarvey of Congress of the United States, on behalf of Con-
                                         gress of the United States
    06/26/2023      (799283 - Public)    Brief on Review/Remedy, Written Comments of Wes Moore,
                                         Governor of Maryland, filed by Wes Moore of Governor of Mar-
                                         yland, on behalf of Governor of Maryland
    06/26/2023      (799340 - Public)    Brief on Review/Remedy, Written Comments, filed by Benja-
                                         min L. Cardin of United States Senate, on behalf of United
                                         States Senate
    06/26/2023      (799341 - Public)    Brief on Review/Remedy, Written Comments, filed by Chris
                                         Van Hollen of United States Senate, on behalf of United States
                                         Senate
    06/27/2023      (799429 - Public)    Brief on Review/Remedy, Written Comments of Andy Beshear,
                                         Governor of Kentucky, filed by Andy Beshear of Governor of
                                         Kentucky, on behalf of Governor of Kentucky
    06/27/2023      (799430 - Public)    Brief on Review/Remedy, Written Comments, filed by Andrew
                                         R. Garbarino of Congress of the United States, on behalf of
                                         Congress of the United States




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    06/28/2023      (799504 - Public)     Notice, Commission Determination to Review in Part a Final
                                          Initial Determination Finding a Violation of Section 337; Re-
                                          quest for Written Submissions on Issues under Review and on
                                          Remedy, the Public Interest, and Bonding; Extension of the
                                          Target Date, filed by Lisa R. Barton of USITC, on behalf of Of-
                                          fice of the Secretary
    06/28/2023      (799525 - Public)     Voting Sheet, GC-23-141, filed by Lisa R. Barton of USITC, on
                                          behalf of Office of the Secretary
    07/05/2023      (799824 - Public)     Notice, 88 FR 42950 F.R. Notice of Commission Determination
                                          to Review in Part a Final Initial Determination Finding a Viola-
                                          tion of Section 337; Request for Written Submissions on Is-
                                          sues under Review and on Remedy, the Public Interest, and
                                          Bonding; Extension of the Target Date, filed by Lisa R. Barton
                                          of USITC, on behalf of Office of the Secretary
    07/11/2023      (800098 - Public)     Brief on Review/Remedy, Public Comments of Public
                                          Knowledge and Public Interest Patent Law Institute, filed by
                                          Kathleen Burke of Public Knowledge, on behalf of Public
                                          Knowledge
    07/14/2023     (800382 - Confiden-    Brief on Review/Remedy, Complainant Brita LP's Statement
                          tial)           on Remedy, the Public Interest, and Bonding, filed by Paul
                                          Ainsworth of Sterne, Kessler, Goldstein & Fox, on behalf of
                                          Brita LP
    07/14/2023     (800389 - Confiden-    Brief on Review/Remedy, Respondents' Response to the
                          tial)           Commission Notice of Review, filed by Adam Swain of Alston
                                          & Bird LLP, on behalf of Kaz USA, Inc., Helen of Troy Limited,
                                          Zero Technologies, LLC, Culligan International Co., and
                                          Vestergaard Frandsen Inc. d/b/a LifeStraw
    07/19/2023      (800522 - Public)     Brief on Review/Remedy, Respondents' Response to the
                                          Commission Notice of Review, filed by Adam Swain of Alston
                                          & Bird LLP, on behalf of Kaz USA, Inc., Helen of Troy Limited,
                                          Zero Technologies, LLC, Culligan International Co., and
                                          Vestergaard Frandsen Inc. d/b/a LifeStraw
    07/19/2023      (800524 - Public)     Brief on Review/Remedy, Complainant Brita LP's Statement
                                          on Remedy, the Public Interest, and Bonding, filed by Paul
                                          Ainsworth of Sterne, Kessler, Goldstein & Fox, on behalf of
                                          Brita LP
    07/21/2023     (800706 - Confiden-    Brief on Review/Remedy, Complainant Brita LP's Reply to Re-
                          tial)           spondents' Statement on Remedy, the Public Interest, and
                                          Bonding, filed by Paul Ainsworth of Sterne, Kessler, Goldstein
                                          & Fox, on behalf of Brita LP
    07/21/2023     (800735 - Confiden-    Brief on Review/Remedy, Respondents' Reply in Response to
                          tial)           the Commission Notice of Review, filed by Adam Swain of Al-
                                          ston & Bird LLP, on behalf of Kaz USA, Inc., Helen of Troy
                                          Limited, Zero Technologies, LLC, Culligan International Co.,
                                          and Vestergaard Frandsen Inc. d/b/a LifeStraw




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    07/24/2023     (800785 - Confiden-    Motion, 1294-034C Complainant Brita LP’s Motion to Strike
                          tial)           Waived Arguments and New Evidence in Respondents’ Reply
                                          in Response to the Commission Notice of Review, filed by Paul
                                          Ainsworth of Sterne, Kessler, Goldstein & Fox, on behalf of
                                          Brita LP
    07/25/2023      (800829 - Public)     Correspondence, Request for Commission Consideration of
                                          Comments from Consumer Brands Association, filed by Jo-
                                          seph T. Aquilina of Consumer Brands Association, on behalf of
                                          Consumer Brands Association
    07/25/2023      (800834 - Public)     Correspondence, Request for Commission Consideration of
                                          KX’s Public Interest Comments Originally Filed on July 21,
                                          2023, filed by Paul Ainsworth of Sterne, Kessler, Goldstein &
                                          Fox, on behalf of KX Technologies, LLC
    07/25/2023      (800835 - Public)     Brief on Review/Remedy, Complainant Brita LP's Reply to Re-
                                          spondents' Statement on Remedy, the Public Interest, and
                                          Bonding, filed by Paul Ainsworth of Sterne, Kessler, Goldstein
                                          & Fox, on behalf of Brita LP
    07/25/2023      (800837 - Public)     Brief on Review/Remedy, Respondents' Reply in Response to
                                          the Commission Notice of Review, filed by Jared Brandyberry
                                          of Baker & Hostetler LLP, on behalf of Kaz USA, Inc., Helen of
                                          Troy Limited, Zero Technologies, LLC, Culligan International
                                          Co., and Vestergaard Frandsen Inc. d/b/a LifeStraw
    07/27/2023      (800948 - Public)     Correspondence - USITC, Granting KX Technologies' Request
                                          for Leave to File Public Interest Comments out of Time, filed by
                                          Lisa R. Barton of USITC, on behalf of Office of the Secretary
    07/27/2023      (800949 - Public)     Correspondence - USITC, Granting CBA's Request for Leave
                                          to File Public Interest Comments out of Time, filed by Lisa R.
                                          Barton of USITC, on behalf of Office of the Secretary
    08/01/2023      (801341 - Public)     Notice of Appearance, Notice of Change of Address for Lead
                                          Counsel Law Firm Sterne, Kessler, Goldstein & Fox, P.L.L.C.
                                          on Behalf of Brita LP, filed by Paul Ainsworth of Sterne, Kess-
                                          ler, Goldstein & Fox, on behalf of Brita LP
    08/02/2023     (801519 - Confiden-    Motion Response/Reply, 1294-034C Respondents' Opposition
                          tial)           to Brita LP's Motion to Strike Arguments and Evidence in Re-
                                          spondents' Reply in Response to the Commission Notice of
                                          Review, filed by Jared Brandyberry of Baker & Hostetler LLP,
                                          on behalf of Kaz USA, Inc., Helen of Troy Limited, Zero Tech-
                                          nologies, LLC, Culligan International Co., and Vestergaard
                                          Frandsen Inc. d/b/a LifeStraw
    08/07/2023      (801758 - Public)     Correspondence, National Association of Manufacturers' Re-
                                          quest to File Public Interest Comments, filed by Ken Monahan
                                          of National Association of Manufacturers, on behalf of National
                                          Association of Manufacturers
    08/08/2023      (801892 - Public)     Correspondence - USITC, Granting Request for Leave to File
                                          Public Interest Comments out of Time, filed by Lisa R. Barton
                                          of USITC, on behalf of Office of the Secretary




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    08/08/2023     (801935 - Confiden-    Motion, 1294-035C Complainant Brita LP’s Motion for Leave to
                          tial)           Submit Reply in Support of Its Motion to Strike Waived Argu-
                                          ments and New Evidence in Respondents’ Reply in Response
                                          to the Commission Notice of Review, filed by Paul Ainsworth of
                                          Sterne, Kessler, Goldstein & Fox, on behalf of Brita LP

    08/18/2023      (802694 - Public)     Motion Response/Reply, 1294-035C Respondents' Opposition
                                          to Brita LP's Motion for Leave to Submit Reply in Support of Its
                                          Motion to Strike Waived Arguments and New Evidence in Re-
                                          spondents' Reply in Response to the Commission Notice of
                                          Review, filed by Adam Swain of Alston & Bird LLP, on behalf of
                                          Kaz USA, Inc., Helen of Troy Limited, Zero Technologies, LLC,
                                          Culligan International Co., and Vestergaard Frandsen Inc.
                                          d/b/a LifeStraw
    09/19/2023      (804507 - Public)     Notice, Commission’s Final Determination Finding No Violation
                                          of Section 337; Termination of the Investigation, filed by Lisa
                                          R. Barton of USITC, on behalf of Office of the Secretary
    09/19/2023     (804508 - Confiden-    Opinion, Commission, Commission Opinion, filed by Lisa R.
                          tial)           Barton of USITC, on behalf of Office of the Secretary
    09/22/2023      (804714 - Public)     Opinion, Commission, Commission Opinion, filed by Lisa R.
                                          Barton of USITC, on behalf of Office of the Secretary
    09/26/2023      (804819 - Public)     Notice, 88 FR 66053 F.R. Notice of Commission’s Final Deter-
                                          mination Finding No Violation of Section 337; Termination of
                                          the Investigation, filed by Lisa R. Barton of USITC, on behalf of
                                          Office of the Secretary
    10/20/2023      (806582 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of Seth Lloyd and Deanne Maynard, filed by Paul Ains-
                                          worth of Sterne, Kessler, Goldstein & Fox, on behalf of Brita
                                          LP
    11/02/2023      (807731 - Public)     PO Subscription, Agreement to Be Bound by the Protective Or-
                                          der of Alaina J. Lakawicz, filed by Jared Brandyberry of Baker
                                          & Hostetler LLP, on behalf of Zero Technologies, LLC and Cul-
                                          ligan International Co.
    12/11/2023      (807776 - Public)     Other, Certified List, 24-1098 – Brita LP v. ITC, filed by Lisa R.
                                          Barton of USITC, on behalf of Office of the Secretary

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                                                       86,QWHUQDWLRQDO7UDGH&RPPLVVLRQ




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                                                           Filed: 08/02/2024




      UNITED STATES INTERNATIONAL TRADE COMMISSION

                            WASHINGTON, DC 20436


                         CERTIFICATE OF SERVICE

      I, Lisa R. Barton, hereby certify that on this 11th of December, 2023 a true and

correct copy of the attached CERTIFIED LIST was served via electronic service,

upon the following:

On Behalf of Brita LP:

Deanne Maynard, Esq.
MORRISON & FOERSTER LLP
2100 L Street, NW, Suite 900
Washington, DC 20037
Email: dmaynard@mofo.com

On Behalf of Zero Technologies, LLC and Culligan International Co.:

Jon Letchinger, Esq.
BAKER & HOSTETLER LLP
One North Wacker Drive, Suite 4500
Chicago, IL 60606
Email: jletchinger@bakerlaw.com

On Behalf of Vestergaard Frandsen Inc. d/b/a LifeStraw:

Jeffrey Gargano, Esq.
K&L GATES LLP
70 Madison Street, Suite 3300
Chicago, IL 60602
Email: jeffrey.gargano@klgates.com




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                                                      Filed: 08/02/2024




      UNITED STATES INTERNATIONAL TRADE COMMISSION

                          WASHINGTON, DC 20436


On Behalf of Kaz USA, Inc. and Helen of Troy Limited:

Adam Swain, Esq.
ALSTON & BIRD LLP
950 F Street, NW
Washington, DC 20004
Email: adam.swain@alston.com




                                      Lisa R. Barton, Secretary
                                      U.S. International Trade Commission




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          /LIH6WUDZ+RPH:DWHU)LOWHU3LWFKHU
          /LIH6WUDZ+RPH'LVSHQVHU
          .LUNODQG6LJQDWXUH:DWHU)LOWHU
          .LUNODQG6LJQDWXUH)LOWHUHG:DWHU3LWFKHU
          %ULWD6XVWDLQDELOLW\5HF\FOLQJ 5HGXFLQJ:DVWH
          ' %&RPSDQ\3URILOH(FR/LIH7HFKQRORJLHV,QF
          &DOLIRUQLD6HFUHWDU\RI6WDWH%XVLQHVV6HDUFK(FR/LIH7HFKQRORJLHV,QF
          :DWHU)LOWHUFRP3DJHIRU$TXD&UHVW3URGXFWV
          :DOPDUW6HOOHU3DJHIRU(FR/LIH7HFKQRORJLHV,QF
          $TXD&UHVW)LOWHUFRP+RPHSDJH
          %ULWD/RQJ/DVW&RQWDLQHU0RQWHUH\:DWHU)LOWHU3LWFKHU
          :DWHUGURSILOWHUFRP+RPHSDJH
          :DWHU'URS)LOWHUFRP&RQWDFW8V3DJH
          :DWHU)LOWHUFRP+RPHSDJH
          :DWHU)LOWHUFRP&RQWDFW8V3DJH
          4LQJGDR(FRSXUH)LOWHU&R/WG+RPHSDJH
          16),QWHUQDWLRQDO/LVWLQJIRU4LQJGDR(FRSXUH)LOWHU&R/WG
          .D]86$,QF)LOLQJLQ0DVVDFKXVHWWV&RUSRUDWH'LYLVLRQ
          +HOHQRI7UR\.6XEVLGLDU\/LVWLQJ
          3XUFRP7HUPVDQG&RQGLWLRQV
          3XU3OXV)LOWHU3DFNDJLQJ/DEHO
          +HOHQRI7UR\/WG6(&)RUP. )< 
          +HOHQRI7UR\3UHVV5HOHDVHRI3XU$FTXLVLWLRQ
          3XU3OXV&XS'LVSHQVHU
          =HUR7HFKQRORJLHV//&'HODZDUH'HSWRI6WDWH
          =HUR7HFKQRORJLHV//&,PSRUW5HFRUGV
          =HUR:DWHU+RPHSDJH
          =HURZDWHU7UDGHPDUN5HJLVWUDWLRQ
          &XOOLJDQ,QWHUQDWLRQDO&R'HODZDUH'HSWRI6WDWH
          &XOOLJDQ,QWHUQDWLRQDO/RFDWLRQV
          =HUR7HFKQRORJLHV//&&RPSDQ\,QYHVWLJDWRU5HSRUW
          &XOOLJDQ&RUSRUDWH%UDQGV


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    ([                                          'HVFULSWLRQ
           9HVWHUJDDUG)UDQGVHQ,QF0DU\ODQG&RUSRUDWLRQ6HDUFK
           9HVWHUJDDUG)UDQGVHQ,QF' %&RPSDQ\3URILOH
           /LIH6WUDZ+RPHSDJH
           /LIHVWUDZFRP3ULYDF\3ROLF\
           /LIH6WUDZ:DUUDQW\DQG5HWXUQV3ROLF\
           /LIH6WUDZ%DFN3DFNDJLQJ/DEHO
           0DYHD//&+RPHSDJH
           '('LYLVLRQRI&RUSRUDWLRQV3DJHIRU0DYHD//&
           &RQILGHQWLDO'HFODUDWLRQRI-RH0F6KDQH
           7LPHV$UWLFOH3RXULQJ,W2Q
           0DYHD±+HOS:HESDJH
           ,PSRUW*HQLXV5HFRUGIRU0DYHD
           %ULWD,QWHUQDWLRQDO3DJH
           %ULWD*PE+,PSULQW
           863725HSRUWIRU0DYHD0DUN
           ,PDJHVIRU'RPHVWLF,QGXVWU\&ODLP&KDUWIRUWKH¶3DWHQW±/RQJODVW3URGXFWV
           ,PDJHVIRU'RPHVWLF,QGXVWU\&ODLP&KDUWIRUWKH¶3DWHQW±/RQJODVW3URGXFWV
              $TXD&UHVW%ULWD3LWFKHUV&RPSDUDEOH:DWHU)LOWHU3DFN5HSODFHPHQW:DOPDUW
     
              /LVWLQJ
           &RQILGHQWLDO/LVWRI/LFHQVHHV
           3XEOLF3DLU$SSOLFDWLRQ'DWDIRU
           3XEOLF3DLU&RQWLQXLW\'DWDIRU
           3XEOLF3DLU$SSOLFDWLRQ'DWDIRU
           3XEOLF3DLU$SSOLFDWLRQ'DWDIRU
           &HUWLILHG$VVLJQPHQW5HFRUGIRU863DWHQW$SSOLFDWLRQ1R
           5HLG6DDVNL2PQLSXUH$VVLJQPHQWIRU863DWHQW$SSOLFDWLRQ1R
           2PQLSXUH%ULWD$VVLJQPHQWIRU863DWHQW$SSOLFDWLRQ1R
           ,QIULQJHPHQW&ODLP&KDUWIRUWKH¶3DWHQWIRU$TXD&UHVW*URXS
           ,QIULQJHPHQW&ODLP&KDUWIRUWKH¶3DWHQWIRU3XU*URXS
           ,QIULQJHPHQW&ODLP&KDUWIRUWKH¶3DWHQWIRU=HUR:DWHU*URXS
           ,QIULQJHPHQW&ODLP&KDUWIRUWKH¶3DWHQWIRU/LIH6WUDZ5HVSRQGHQW
           ,QIULQJHPHQW&ODLP&KDUWIRUWKH¶3DWHQWIRU0DYHD*URXS
           ZDWHUILOWHUFRPSURGXFWOLVWLQJZLWK(FR/LIHIRRWHU
           (FR/LIH5HVSWR$P&RPSO,Q,QY1R
           :DWHUGURS&RQWDFW8V
           ,PSRUW*HQLXV5HFRUGIRU4LQJGDRDQG(FR/LIH
           $TXD&UHVW3DFNDJLQJ
           'HFODUDWLRQRI5LFN1LVKLMLPD
           'HFODUDWLRQRI'X9RQ)OR\G
           $TXD&UHVW3DFN)LOWHU
           3XU3OXV)LOWHU5HFHLSW
           3XU3OXV3LWFKHU)LOWHU
           3XU3OXV)LOWHU3DFNDJLQJ%RWWRP
           =HUR7HFKQRORJLHV&DOLIRUQLD6HFUHWDU\RI6WDWH)LOLQJ


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    ([                                           'HVFULSWLRQ
           =HUR7HFKQRORJLHV//&3URGXFW$VVHPEO\/DEHO
           =HUR:DWHU5HSODFHPHQW)LOWHU3DFN5HFHLSW
           =HUR:DWHU)LOWHU
           =HUR:DWHU3DFN)URQW3DFNDJHZLWK/DEHO
           =HUR:DWHU3DFN%R[3DFNDJLQJ
           =HUR:DWHU3DFNDJLQJ (QODUJHG9LHZ 
           /LIH6WUDZ5HSODFHPHQW)LOWHUV5HFHLSW
           /LIH6WUDZ)LOWHU
           9HVWHUJDDUG)UDQGVHQ,QF/LIH6WUDZ3URGXFW/DEHO
           .LUNODQG)LOWHU&DUWULGJH3DFNDJLQJ
           &RVWFR:DWHU)LOWUDWLRQ3URGXFWV/LVWLQJ
           &RVWFR5HFHLSW±.LUNODQG6LJQDWXUH3URGXFWV
           .LUNODQG:DWHU)LOWHU
           .LUNODQG6LJQDWXUH)LOWHUHG:DWHU3LWFKHU%DFN3DFNDJLQJ
          'RPHVWLF,QGXVWU\&ODLP&KDUWIRUWKH¶3DWHQW±/RQJODVW3URGXFWV
          'RPHVWLF,QGXVWU\&ODLP&KDUWIRUWKH¶3DWHQW±/RQJODVW3URGXFWV
          &RQILGHQWLDO-RHO5DPLUH]'HFODUDWLRQIRU'RPHVWLF,QGXVWU\(FRQRPLF3URQJ
          &RQILGHQWLDO$GGHQGXPWR'RPHVWLF,QGXVWU\(FRQRPLF3URQJ'HFODUDWLRQ
          ,PDJHVIRU,QIULQJHPHQW&ODLP&KDUWIRUWKH$TXD&UHVW*URXS
          ,PDJHVIRU,QIULQJHPHQW&ODLP&KDUWIRUWKH3XU*URXS
          ,PDJHVIRU,QIULQJHPHQW&ODLP&KDUWIRUWKH=HUR*URXS
          ,PDJHVIRU,QIULQJHPHQW&ODLP&KDUWIRUWKH/LIH6WUDZ5HVSRQGHQW
          ,PDJHVIRU,QIULQJHPHQW&ODLP&KDUWIRUWKH0DYHD*URXS
          .LUNODQG6LJQDWXUH:DWHU)LOWHUSDFNVHW ,PDJH 
          /LIH6WUDZ+RPH3LWFKHU'LVSHQVHU)LOWUDWLRQ3HUIRUPDQFH6KHHW
          /LIH6WUDZ+RPH(YLGHQFH'RVVLHU
          /LIH6WUDZ+RPH'LVSHQVHU:DWHU)LOWHU'LVSHQVHU
              $TXD&UHVW16)&HUWLILHG5HSODFHPHQW:DWHU)LOWHU&RPSDWLEOHZLWK%ULWD
    
              (IIHFWLYH)LOWUDWLRQ3HUIRUPDQFH
          =HUR:DWHU3HUIRUPDQFH5HVXOWV
          =HUR:DWHU)$4V
          3XU3OXV:DWHU3LWFKHU5HSODFHPHQW)LOWHUZLWK/HDG5HGXFWLRQSDFN
          3XU3OXV3LWFKHU)LOWHU3DFN
          %ULWD:DWHU)LOWHU3LWFKHUV
          %ULWD)LOWHUHG:DWHU'LVSHQVHUVIRU<RXU+RPH
          %ULWD8OWUDPD[:DWHU'LVSHQVHUZLWK/RQJODVW)LOWHU
          %ULWD:KDW'RHV%ULWD)LOWHU2XWB&KORULQH 0RUH
          %ULWD/RQJODVW5HSODFHPHQW)LOWHUV
          %ULWD/RQJODVWILOWHUXVHUJXLGH
          8VHU0DQXDO/LIH6WUDZ+RPH:DWHU)LOWHU'LVSHQVHU
          8VHU0DQXDO/LIH6WUDZ+RPH:DWHU)LOWHU3LWFKHU
          $TXD&UHVW,QVWDOODWLRQ,QVWUXFWLRQV
          =HUR:DWHU$VVHPEO\,QVWUXFWLRQV
          .LUNODQG6LJQDWXUH:DWHU)LOWHUSDFNVHW


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    ([                                           'HVFULSWLRQ
          How LifeStraw Activated Carbon + Ion Exchange Filters Work?$UWLFOH
          &RQILGHQWLDO'HFODUDWLRQRI-HURPH%DUULOORQ
          %ULWD3DWHQWV:HEVLWH
          .LUNODQG)LOWHU&DUWULGJH3DFNDJLQJ6LGH
          (OHFWURQLF5HFHLSWIRU$TXD&UHVW:DWHU)LOWHU5HSODFHPHQWV±3DFN
          $TXD&UHVW)LOWHU3DFNDJLQJ
          5HFHLSWIRU3XUZDWHUILOWHUSURGXFWVIURP7DUJHWORFDWLRQ
          3XU3OXV3LWFKHU3DFNDJLQJ)URQW
          3XU3OXV3LWFKHU3DFNDJLQJ%RWWRP
          3XU3OXV)LOWHU5HSODFHPHQW3DFNDJLQJ)URQW
          3XU3OXV)LOWHU5HSODFHPHQW3DFNDJLQJ%RWWRP
          5HFHLSWIRU=HUR:DWHUSLWFKHUDQGUHSODFHPHQWILOWHUSURGXFWVIURP7DUJHWORFDWLRQ
    
              =HUR:DWHU&XS5HDG\3RXU)LOWHU3LWFKHU3DFNDJLQJ
      
          =HUR:DWHU6WDJH5HSODFHPHQW)LOWHU3DFNDJLQJ)URQW
          =HUR:DWHU6WDJH5HSODFHPHQW)LOWHU3DFNDJLQJ%RWWRP
          (OHFWURQLF5HFHLSWIRU/LIH6WUDZ+RPH)LOWHU3LWFKHU.LWV
          /LIH6WUDZ+RPH)LOWHU3LWFKHU.LW3DFNDJLQJ
              5HFHLSWIRU.LUNODQG6LJQDWXUH:DWHU)LOWHU3LWFKHUDQG&DUWULGJHIURPD&RVWFR
    
              ORFDWLRQ
          .LUNODQG6LJQDWXUH:DWHU)LOWHU3LWFKHU3DFNDJLQJ
          .LUNODQG6LJQDWXUH:DWHU)LOWHU&DUWULGJH3DFNDJLQJ
          &RQILGHQWLDO%ULWD/RQJODVW3DFNDJLQJ
          &RQILGHQWLDO%ULWD/RQJODVW3DFNDJLQJ
          3XU3LWFKHUDQG'LVSHQVHU0DQXDO
          .LUNODQG3LWFKHU,QVWUXFWLRQV
          $PD]RQ5HFHLSWIRU$TXD&UHVW:DWHU)LOWHUV
          :DOPDUW/LVWLQJIRU3XU3OXV:DWHU)LOWHU
          3XU3OXV)LOWHU3DFNDJLQJ)URQW
          /LIH6WUDZ+RPH5HSODFHPHQW)LOWHU3DFNDJLQJ7RS
          /LIH6WUDZ+RPH5HSODFHPHQW)LOWHU3DFNDJLQJ&RQWHQWV
          /LIH6WUDZ+RPH5HSODFHPHQW)LOWHU.LW3DFNDJLQJ%DFN
          5HFHLSWIRU/LIH6WUDZ+RPH:DWHU)LOWHU3LWFKHU
          /LIH6WUDZ+RPH:DWHU)LOWHU3LWFKHU3DFNDJLQJ)URQW
          /LIH6WUDZ+RPH:DWHU)LOWHU3LWFKHU3DFNDJLQJ%DFN




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                                       $33(1',;/,67

    $SSHQGLFHV                                  'HVFULSWLRQ
        $      &HUWLILHG3URVHFXWLRQ+LVWRU\RI863DWHQW1R
        %      3DWHQWVDQG$SSOLFDEOH3DJHVRI7HFKQLFDO5HIHUHQFHV0HQWLRQHGLQWKH
                3URVHFXWLRQ+LVWRU\RI863DWHQW1R
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,    ,1752'8&7,21

            &RPSODLQDQW%ULWD/3 KHUHLQDIWHU³&RPSODLQDQW´RU³%ULWD´ UHTXHVWVWKDWWKH

8QLWHG6WDWHV,QWHUQDWLRQDO7UDGH&RPPLVVLRQLQVWLWXWHDQLQYHVWLJDWLRQLQWRYLRODWLRQVRI

6HFWLRQRIWKH7DULII$FWRIDVDPHQGHG86&([KLELWLVDFHUWLILHG

FRS\RI863DWHQW1RSDWHQW WKH³¶3DWHQW´ 

            %ULWD¶VDOOHJDWLRQVDUHEDVHGRQWKHXQODZIXOLPSRUWDWLRQLQWRWKH8QLWHG6WDWHV

VDOHIRULPSRUWDWLRQLQWRWKH8QLWHG6WDWHVDQGVDOHZLWKLQWKH8QLWHG6WDWHVDIWHULPSRUWDWLRQRI

FHUWDLQJUDYLW\IHGZDWHUILOWHUVDQGSURGXFWVFRQWDLQLQJWKHVDPHWKDWLQIULQJHWKH¶3DWHQW

ZKLFKLVRZQHGE\%ULWD6SHFLILFDOO\%ULWDDOOHJHVWKDWWKHVHSURGXFWVLQIULQJHRQHRUPRUHRI

WKHIROORZLQJSDWHQWFODLPV LQGHSHQGHQWFODLPVKRZQLQEROGXQGHUOLQH 

               863DWHQW1R                  $VVHUWHG&ODLPV

                                       


            7KHDERYHOLVWHGFODLPVRIWKH¶3DWHQWDUHFROOHFWLYHO\UHIHUUHGWRKHUHLQDV

WKH³$VVHUWHG&ODLPV´

            7KHDFFXVHGSURGXFWVDUHFHUWDLQKLJKSHUIRUPDQFHJUDYLW\IHGZDWHUILOWHUVDQG

SURGXFWVFRQWDLQLQJWKHVDPH7KLVLQFOXGHVFHUWDLQZDWHUILOWHUVDQGFRQWDLQHUILOWUDWLRQ

V\VWHPVLQFOXGLQJSLWFKHUVDQGGLVSHQVHUV

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                   :DWHU)LOWHU                          3LWFKHU


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               7KHSURSRVHG5HVSRQGHQWVDUHJURXSHGE\DQH[DPSOHKLJKSHUIRUPDQFH

JUDYLW\IHGZDWHUILOWHUWKDWHDFK5HVSRQGHQWKDVLPSRUWHGVROGIRULPSRUWDWLRQRUVROGDIWHU

LPSRUWDWLRQWKDWLQIULQJHVGLUHFWO\RULQGLUHFWO\RQHRUPRUH$VVHUWHG&ODLPV

               7KH$TXD&UHVW*URXSLQFOXGHVSURSRVHG5HVSRQGHQWV(FR/LIH7HFKQRORJLHV

,QFDQG4LQJGDR(FRSXUH)LOWHU&R/WG7KH$TXD&UHVW*URXSKDVLPSRUWHGVROGIRU

LPSRUWDWLRQRUVROGDIWHULPSRUWDWLRQKLJKSHUIRUPDQFHJUDYLW\IHGZDWHUILOWHUVDQGSURGXFWV

FRQWDLQLQJWKHVDPHWKDWLQIULQJHRQHRUPRUH$VVHUWHG&ODLPV ³$FFXVHG$TXD&UHVW

3URGXFW V ´ 7KH$FFXVHG$TXD&UHVW3URGXFWVLQFOXGHFHUWDLQZDWHUILOWHUSURGXFWVVXFKDV

WKH$TXD&UHVW$4./5HSODFHPHQW3LWFKHU:DWHU)LOWHUZKLFKLVVROGDWDPD]RQFRPDQG

RWKHUORFDWLRQVSee, e.g.([KLELWDW $PD]RQOLVWLQJIRU$TXD&UHVW:DWHU)LOWHUV SDFN 

([KLELWDW :DOPDUW/LVWLQJIRU$TXD&UHVW:DWHU)LOWHU)LWV%ULWD 

               7KH3XU*URXSLQFOXGHV.D]86$,QF ³.D]´ DQG+HOHQRI7UR\/LPLWHG

    ³+HOHQRI7UR\/LPLWHG´ 7KH3XU*URXSKDVLPSRUWHGVROGIRULPSRUWDWLRQRUVROGDIWHU

LPSRUWDWLRQKLJKSHUIRUPDQFHJUDYLW\IHGZDWHUILOWHUVDQGSURGXFWVFRQWDLQLQJWKHVDPHWKDW

LQIULQJHRQHRUPRUH$VVHUWHG&ODLPV ³$FFXVHG3XU3URGXFW V ´ 7KH$FFXVHG3XU3URGXFWV

LQFOXGHFHUWDLQZDWHUILOWHUSURGXFWVVXFKDVWKH3XU3OXV3LWFKHU)LOWHUDQGZDWHUFRQWDLQHUV

VROGZLWKVXFKILOWHUVVXFKDVWKH3XU3OXV&XS3LWFKHU7KHVHH[DPSOH$FFXVHG3XU3URGXFWV

DUHVROGDWSXUFRPZDOPDUWFRPDPD]RQFRPDQGRWKHUORFDWLRQVSee, e.g.([KLELWDW

    3XU3OXV3URGXFWV/LVWLQJ ([KLELWDW 3XU5HSODFHPHQW)LOWHUV3DJH 

               7KH=HUR:DWHU*URXSLQFOXGHVSURSRVHG5HVSRQGHQWV=HUR7HFKQRORJLHV

//&DQG&XOOLJDQ,QWHUQDWLRQDO&R7KH=HUR:DWHU*URXSKDVLPSRUWHGVROGIRULPSRUWDWLRQ

RUVROGDIWHULPSRUWDWLRQKLJKSHUIRUPDQFHJUDYLW\IHGZDWHUILOWHUVDQGSURGXFWVFRQWDLQLQJWKH

VDPHWKDWLQIULQJHRQHRUPRUH$VVHUWHG&ODLPV ³$FFXVHG=HUR:DWHU3URGXFW V ´ 7KH




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$FFXVHG=HUR:DWHU3URGXFWVLQFOXGHFHUWDLQZDWHUILOWHUSURGXFWVVXFKDVWKH=HUR:DWHU

6WDJH5HSODFHPHQW)LOWHUDQGZDWHUFRQWDLQHUVVROGZLWKVXFKILOWHUVVXFKDVWKH=HUR:DWHU

5HDG\3RXU:DWHU3LWFKHUVSee, e.g.([KLELWDW =HUR:DWHU5HSODFHPHQW)LOWHUV±

3DFN ([KLELWDW =HUR:DWHU5HSODFHPHQW)LOWHUV3DFN ([KLELWDW =HUR:DWHU

6WDJH:DWHU3LWFKHUVDQG'LVSHQVHUV3URGXFWV/LVW ([KLELWDW =HUR:DWHU&XS:DWHU

)LOWHU3LWFKHU 7KHVHH[DPSOH$FFXVHG=HUR:DWHU3URGXFWVDUHVROGDW]HURZDWHUFRP

ZDOPDUWFRPORZHVFRPHED\FRPDPD]RQFRPDQGRWKHUORFDWLRQV

              5HVSRQGHQW9HVWHUJDDUG)UDQGVHQ,QF ³9HVWHUJDDUG´RU³/LIH6WUDZ

5HVSRQGHQW´ KDVLPSRUWHGVROGIRULPSRUWDWLRQRUVROGDIWHULPSRUWDWLRQKLJKSHUIRUPDQFH

JUDYLW\IHGZDWHUILOWHUVDQGSURGXFWVFRQWDLQLQJWKHVDPHWKDWLQIULQJHRQHRUPRUH$VVHUWHG

&ODLPV ³$FFXVHG/LIH6WUDZ3URGXFW V ´ 7KH$FFXVHG/LIH6WUDZ3URGXFWVLQFOXGHFHUWDLQ

ZDWHUILOWHUSURGXFWVVXFKDVWKH/LIH6WUDZ+RPH)XOO5HSODFHPHQW)LOWHUDQGZDWHUFRQWDLQHUV

VROGZLWKVXFKILOWHUVVXFKDVWKH/LIH6WUDZ+RPH&XS3LWFKHU7KHVHH[DPSOH$FFXVHG

/LIH6WUDZ3URGXFWVDUHVROGDWOLIHVWUDZFRPDQGRWKHUORFDWLRQVSee, e.g.([KLELWDW

    /LIH6WUDZ+RPH)XOO5HSODFHPHQW)LOWHU ([KLELWDW /LIH6WUDZ+RPH:DWHU)LOWHU

3LWFKHU ([KLELWDW /LIH6WUDZ+RPH'LVSHQVHU 

             7KH0DYHD*URXSLQFOXGHVSURSRVHG5HVSRQGHQWV0DYHD//&DQG%ULWD

*PE+2QLQIRUPDWLRQDQGEHOLHIWKH0DYHD*URXSVHOOVZDWHUILOWHUSURGXFWVXQGHUSULYDWH

ODEHOWRRWKHUUHWDLOFXVWRPHUVLQFOXGLQJ&RVWFR:KROHVDOH&RUSRUDWLRQ7KH0DYHD*URXSKDV

LPSRUWHGVROGIRULPSRUWDWLRQRUVROGDIWHULPSRUWDWLRQKLJKSHUIRUPDQFHJUDYLW\IHGZDWHU

ILOWHUVDQGSURGXFWVFRQWDLQLQJWKHVDPHWKDWLQIULQJHRQHRUPRUH$VVHUWHG&ODLPV ³$FFXVHG

0DYHD3URGXFW V ´ 7KH$FFXVHG0DYHD3URGXFWVLQFOXGHFHUWDLQZDWHUILOWHUSURGXFWVVXFKDV

WKH.LUNODQG6LJQDWXUH:DWHU)LOWHUDQGZDWHUFRQWDLQHUVVROGZLWKVXFKILOWHUVVXFKDVWKH




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.LUNODQG6LJQDWXUH)LOWHUHG:DWHU3LWFKHUSee, e.g.([KLELWDW .LUNODQG6LJQDWXUH

:DWHU)LOWHU ([KLELWDW .LUNODQG6LJQDWXUH)LOWHUHG:DWHU3LWFKHU 7KHVHH[DPSOH

$FFXVHG0DYHD3URGXFWVDUHVROGDW&RVWFRDPD]RQFRPDQGRWKHUORFDWLRQV

             &ROOHFWLYHO\WKH$FFXVHG$TXD&UHVW3URGXFWVWKH$FFXVHG3XU3URGXFWVWKH

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3URGXFWVDUHUHIHUHQFHGKHUHLQDVWKH³$FFXVHG3URGXFWV´

             7KH$FFXVHG3URGXFWVDUHLPSRUWHGVROGIRULPSRUWDWLRQDQGRUVROGDIWHU

LPSRUWDWLRQE\RURQEHKDOIRIWKHSURSRVHG5HVSRQGHQWVZLWKRXWDQ\OLFHQVHRUDXWKRUL]DWLRQ

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             %ULWDUHTXHVWVDOLPLWHGH[FOXVLRQRUGHUXQGHU86& G  EDUULQJ

IURPHQWU\LQWRWKH8QLWHG6WDWHVDQ\JUDYLW\IHGZDWHUILOWHUVDQGSURGXFWVFRQWDLQLQJWKHVDPH

WKDWLQIULQJHRQHRUPRUH$VVHUWHG&ODLPVDQGWKDWDUHLPSRUWHGLQWRWKH8QLWHG6WDWHVVROGIRU

LPSRUWDWLRQLQWRWKH8QLWHG6WDWHVDQGRUVROGLQWKH8QLWHG6WDWHVDIWHULPSRUWDWLRQE\RURQ

EHKDOIRIRQHRUPRUHSURSRVHG5HVSRQGHQWV

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SURKLELWLQJWKHSURSRVHG5HVSRQGHQWVDQGWKHLUDIILOLDWHVVXEVLGLDULHVSUHGHFHVVRUVVXFFHVVRUV

DJHQWVDQGDVVLJQVIURPLPSRUWLQJVHOOLQJRIIHULQJIRUVDOHPDUNHWLQJDGYHUWLVLQJ

GLVWULEXWLQJWUDQVIHUULQJ H[FHSWIRUH[SRUWDWLRQ VROLFLWLQJ8QLWHG6WDWHVDJHQWVRUGLVWULEXWRUV

DQGDLGLQJRUDEHWWLQJRWKHUHQWLWLHVLQWKHLPSRUWDWLRQVDOHIRULPSRUWDWLRQVDOHDIWHU

LPSRUWDWLRQWUDQVIHU H[FHSWIRUH[SRUWDWLRQ RUGLVWULEXWLRQRIJUDYLW\IHGZDWHUILOWHUVDQG

SURGXFWVFRQWDLQLQJWKHVDPHWKDWLQIULQJHRQHRUPRUH$VVHUWHG&ODLPV

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              %ULWDKDVLGHQWLILHGH[DPSOHSURGXFWVEDVHGRQLQIRUPDWLRQWKDWLVSXEOLFO\DYDLODEOHDW
WKLVWLPH7KHLGHQWLILHGH[DPSOHVRI$FFXVHG3URGXFWVKHUHLQLVQRQOLPLWLQJDQG%ULWDUHVHUYHV
WKHULJKWWRLGHQWLI\DGGLWLRQDOLQIULQJLQJSURGXFWVGXULQJGLVFRYHU\


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           %ULWDIXUWKHUVHHNVWKHLPSRVLWLRQRIDERQGXSRQLPSRUWDWLRQRILQIULQJLQJ

SURGXFWVGXULQJWKHGD\3UHVLGHQWLDOUHYLHZSHULRGSXUVXDQWWR86& M 

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              7KH&RPSODLQDQW

           %ULWD/3LVDQ2QWDULROLPLWHGSDUWQHUVKLSRUJDQL]HGXQGHUWKHODZVRI&DQDGD

ZLWKDQRIILFHDW)DXERXUJGX/DF1HXFKDWHO1(6ZLW]HUODQG7KH&ORUR[&RPSDQ\

LVWKHXOWLPDWHSDUHQWRI%ULWD/3%ULWD/3RZQVWKHULJKWVWRWKHXVHRIWKH%ULWDQDPHDQG

WUDGHPDUNVLQWKH$PHULFDV

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%ULWDLV$PHULFD¶VEUDQGRIZDWHUILOWUDWLRQDQGKDVEHHQ$PHULFD¶VWUXVWHGVRXUFHRIILOWHUHG

ZDWHUIRURYHU\HDUV,WLVDOHDGHULQWKHFRQVXPHUZDWHUILOWHUSURGXFWPDUNHWEHFDXVHRILWV

DELOLW\WRSURYLGHILOWHUSURGXFWVWKDWPHHWFRQVXPHUQHHGVLQDJUDYLW\IHGV\VWHP&RQVXPHUV

ZDQWZDWHUILOWHUSURGXFWVWKDWDUHFRPSDFWZRUNTXLFNO\UHPRYHFRQWDPLQDQWVDQGSURGXFH

JUHDWWDVWLQJZDWHU%ULWDZDVWKHILUVWWRPHHWWKDWQHHG%ULWD¶VFRPSHWLWRUVDUHQRZPDUNHWLQJ

SURGXFWVWKDWOLNH%ULWD¶V/RQJ/DVWILOWHUSURGXFWVUHGXFHFRQWDPLQDQWVLQGULQNLQJZDWHU

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UHGXFLQJRQH¶VSODVWLFIRRWSULQWE\HOLPLQDWLQJVLQJOHXVHSODVWLFERWWOHV$VLQJOHSHUVRQ¶VXVH

RID%ULWDZDWHUILOWHUUHSODFHVXSWRVLQJOHXVHSODVWLFERWWOHVSHU\HDUDQGODVW\HDU%ULWD

FXVWRPHUVUHSODFHGELOOLRQVLQJOHXVHSODVWLFZDWHUERWWOHV([KLELWDW %ULWD

6XVWDLQDELOLW\5HF\FOLQJ 5HGXFLQJ:DVWH %\XVLQJ%ULWDZDWHUILOWHUSURGXFWVFRQVXPHUV

FDQUHGXFHSODVWLFGULQNKHDOWKLHUZDWHUDQGVDYHPRQH\

           %ULWD¶V'RPHVWLF,QGXVWU\3URGXFWV ³',3URGXFWV´ ZKLFKDUHSURWHFWHGE\WKH

¶3DWHQWDUHKLJKSHUIRUPDQFHJUDYLW\IHGZDWHUILOWHUSURGXFWV7KH\LQFOXGHWKH/RQJ/DVW


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DQG/RQJ/DVWILOWHUVDQGFRQWDLQHUVWKDWXVHWKHVDPHLQFOXGLQJEXWQRWOLPLWHGWRWKH

0HWUR6R+R8OWUDPD[-HW%ODFN6SDFH6DYHU$PDOIL*UDQG&RORU6HULHV3DFLILFD&DSUL

0LQL3OXV0DULQD0RQWHUH\:DYHDQG(YHU\GD\SLWFKHUDQGGLVSHQVHUV\VWHPV%ULWD¶V',

3URGXFWVODVWWKUHHWLPHVORQJHUDQGUHPRYHPRUHFRQWDPLQDQWVWKDQPDQ\RWKHUFRPSHWLWRUV

DOORZLQJFRQVXPHUVWRUHSODFHWKHLU%ULWDZDWHUILOWHUVOHVVIUHTXHQWO\%ULWD¶V',3URGXFWV

LQFOXGHILOWHUPHGLDZLWKHQKDQFHGFRQWDPLQDQWUHPRYDORIOHDGFDGPLXPFKORULQHPHUFXU\

FODVVSDUWLFXODWHDVEHVWRVDQGEHQ]HQH

             $GRPHVWLFLQGXVWU\DVUHTXLUHGE\86& D  DQG  H[LVWVLQWKH

8QLWHG6WDWHVUHODWLQJWRWKH',3URGXFWV%ULWD¶VGRPHVWLFLQGXVWU\LQFOXGHVVLJQLILFDQW

LQYHVWPHQWVLQSODQWDQGHTXLSPHQWDQGVLJQLILFDQWHPSOR\PHQWRIODERUDQGFDSLWDOLQWKH%ULWD

',3URGXFWV

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3URGXFWV D PDQXIDFWXUH$FFXVHG3URGXFWVDQGVHOOWKHPIRULPSRUWDWLRQ E VHOO$FFXVHG

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GLVWULEXWH$FFXVHG3URGXFWVDQG G VHOO$FFXVHG3URGXFWVWRFRQVXPHUVDQGRWKHUHQWLWLHVDIWHU

WKRVHSURGXFWVKDYHEHHQLPSRUWHGLQWRWKH8QLWHG6WDWHV

                     $TXD&UHVW*URXS

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             2QLQIRUPDWLRQDQGEHOLHISURSRVHG5HVSRQGHQW(FR/LIH7HFKQRORJLHV,QFLVD

GRPHVWLFVWRFNFRPSDQ\RUJDQL]HGXQGHUWKHODZVRIWKHVWDWHRI&DOLIRUQLDZLWKLWVSULQFLSDO

SODFHRIEXVLQHVVDW($MD[&LUFOH&LW\RI,QGXVWU\&DOLIRUQLDSee ([KLELWDW

 ' %&RPSDQ\3URILOH(FR/LIH7HFKQRORJLHV,QF ([KLELWDW &DOLIRUQLD6HFUHWDU\

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             2QLQIRUPDWLRQDQGEHOLHI5HVSRQGHQW(FR/LIH7HFKQRORJLHV,QFPDUNHWVDQG

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([KLELWDW :DWHU)LOWHUFRP3DJHIRU$TXD&UHVW3URGXFWV  PDUNHWLQJDQGVHOOLQJ

GR]HQVRI$TXD&UHVWZDWHUILOWHUSURGXFWVDQGLGHQWLI\LQJ(FR/LIH7HFKQRORJLHV,QFDVWKH

FRQWDFW  ([KLELWDW :DOPDUW6HOOHU3DJHIRU(FR/LIH7HFKQRORJLHV,QF  VKRZLQJ

(FR/LIH7HFKQRORJLHV,QFVHOOLQJ$TXD&UHVWZDWHUILOWHUSURGXFWV ([KLELWDW

    $TXD&UHVW)LOWHUFRP+RPHSDJH  PDUNHWLQJ$TXD&UHVWZDWHUILOWHUSURGXFWVZLWK(FR/LIH

HPDLOFRQWDFW ([KLELWDW $TXD&UHVW%ULWD3LWFKHUV&RPSDUDEOH:DWHU)LOWHU3DFN

5HSODFHPHQW:DOPDUW/LVWLQJ  VWDWLQJWKDWWKHSURGXFWLV³>V@ROGDQGVKLSSHGE\(FROLIH

7HFKQRORJLHV,QF´ (FR/LIH7HFKQRORJLHV,QFKDVDOVRDGPLWWHGLQLWV5HVSRQVHWRWKH

&RPSODLQWLQ,QY1R7$WKDWLWLVD&DOLIRUQLDFRPSDQ\WKDW³VHOOVZDWHUILOWHUVDQG

RWKHUZDWHUILOWHUSURGXFWVXQGHUWKHEUDQGQDPH>@«$48$&5(67´([KLELW

    (FR/LIH5HVSWR$P&RPSOLQ,QY1R (FR/LIH7HFKQRORJLHV,QFKDVDOVRDGPLWWHG

WKDWLWLPSRUWVDQGVHOOVDIWHULPSRUWDWLRQUHSODFHPHQWZDWHUILOWHUVXQGHUWKHEUDQGQDPH$TXD

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              7KH$TXD&UHVWEUDQGLVZULWWHQDQGXVHGDVERWKRQHZRUG ³$48$&5(67´ DQGWZR
ZRUGV ³$48$&5(67´ See, e.g.([KLELWDW $PD]RQ/LVWLQJIRU$TXD&UHVW 


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              2QLQIRUPDWLRQDQGEHOLHI(FR/LIH7HFKQRORJLHV,QFPDLQWDLQVPXOWLSOH

ZHESDJHVUHODWLQJWRZDWHUILOWHUSURGXFWVSee, e.g.([KLELWDWDQGDW

    :DWHUGURSILOWHUFRP+RPHSDJHDQG&RQWDFW8V3DJH  LGHQWLI\LQJ(FR/LIH7HFKQRORJLHV,QF

DVWKHFRQWDFW ([KLELWDWDQGDW :DWHU)LOWHUFRP+RPHSDJHDQG&RQWDFW8V3DJH 

    DOVRLGHQWLI\LQJ(FR/LIH7HFKQRORJLHV,QFDVWKHFRQWDFW ([KLELWDW

    $TXD&UHVW)LOWHUFRP+RPHSDJH  LGHQWLI\LQJWKHSRLQWRIFRQWDFWDVVHUYLFH#HFROLIHILOWHUFRP

DQGLGHQWLI\LQJWKHVDPHSKRQHQXPEHUDQGKRXUVRIRSHUDWLRQDVOLVWHGRQ:DWHUGURSILOWHUFRP

DQG:DWHU)LOWHUFRPIRU(FR/LIH7HFKQRORJLHV,QF 2QLQIRUPDWLRQDQGEHOLHI(FR/LIH

7HFKQRORJLHV,QFPDUNHWVDQGVHOOVWKH$FFXVHG$TXD&UHVW3URGXFWVLQWKH8QLWHG6WDWHVSee,

e.g.([KLELWDW $PD]RQOLVWLQJIRU$TXD&UHVW:DWHU)LOWHUV SDFN 

              2QLQIRUPDWLRQDQGEHOLHI(FR/LIHZRUNVZLWK4LQJGDR(FRSXUH)LOWHU&R/WG

WRPDQXIDFWXUHLWV$TXD&UHVWEUDQGHGSURGXFWVLQ&KLQDSee ([KLELWDW :DWHUGURS

&RQWDFW8V  (FR/LIH¶VZHEVLWH ZZZZDWHUGURSILOWHUFRP OLVWLQJ$TXD&UHVWZDWHUILOWHU

SURGXFWVIRUVDOHDQGLGHQWLI\LQJ4LQJGDR(FRSXUH)LOWHU&R/WGDVWKH&KLQHVH

³>P@DQXIDFWXUHU´ 

                           E    4LQJGDR(FRSXUH)LOWHU&R/WG

              2QLQIRUPDWLRQDQGEHOLHISURSRVHG5HVSRQGHQW4LQJGDR(FRSXUH)LOWHU&R

/WGLVDFRPSDQ\RUJDQL]HGDQGRSHUDWLQJRXWRI4LQJGDR&KLQDZLWKLWVSULQFLSDOSODFHRI

EXVLQHVVDW1R<LVKHQJEDL5RDG(QYLURQPHQWDO3URWHFWLRQ,QGXVWU\=RQH-LPR4LQJGDR

6KDQGRQJ3URYLQFH5HSXEOLFRI&KLQDSee([KLELWDW 4LQJGDR(FRSXUH)LOWHU

&R/WG+RPHSDJH 

              2QLQIRUPDWLRQDQGEHOLHI4LQJGDR(FRSXUH)LOWHU&R/WGPDQXIDFWXUHVWKH

ZDWHUILOWHUSURGXFWVDQGVHOOVWKHPWRFRQVXPHUVZRUOGZLGHLQFOXGLQJLQWKH8QLWHG6WDWHVId.

    H[SODLQLQJWKDW4LQJGDR(FRSXUH)LOWHU&R/WGLV³RQHRIWKHELJJHVWZDWHUILOWHU


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PDQXIDFWXUHUVZLWKDQDQQXDORXWSXWRIRYHUPLOOLRQ>DQG@PRUHWKDQHPSOR\HHV´DQG

LQGLFDWLQJWKDWLWVWDUJHWPDUNHWLQFOXGHVWKH8QLWHG6WDWHV Id2QLQIRUPDWLRQDQGEHOLHI

4LQJGDR(FRSXUH)LOWHU&R/WGLVDVVRFLDWHGZLWK(FR/LIH7HFKQRORJLHV,QFSee, e.g.

([KLELWDW 16),QWHUQDWLRQDO/LVWLQJIRU4LQJGDR(FRSXUH)LOWHU&R/WG  4LQJGDR

(FRSXUH)LOWHU&R/WG¶VFRPSDQ\ZHEVLWHLGHQWLILHGDV³KWWSZZZZDWHUGURSILOWHUFRP´

ZKLFKLQWXUQLGHQWLILHV(FR/LIH7HFKQRORJLHV,QFDVWKHSRLQWRIFRQWDFWsee ([KLELWDW

    :DWHUGURS)LOWHU+RPHSDJH 2QLQIRUPDWLRQDQGEHOLHIWKH$FFXVHG$TXD&UHVW3URGXFWVDUH

PDQXIDFWXUHGLQ&KLQDE\4LQJGDR(FRSXUH)LOWHU&R/WG

                     3XU*URXS

             7KH3XU*URXS5HVSRQGHQWVDUHLQYROYHGLQWKHVDOHIRULPSRUWDWLRQ

LPSRUWDWLRQDQGVDOHDIWHULPSRUWDWLRQRIWKH$FFXVHG3XU3URGXFWVLQYLRODWLRQRI6HFWLRQ

                         D     .D]86$,QF

             2QLQIRUPDWLRQDQGEHOLHISURSRVHG5HVSRQGHQW.D]86$,QFLVDFRPSDQ\

RUJDQL]HGXQGHUWKHODZVRIWKHVWDWHRI0DVVDFKXVHWWVZLWKLWVSULQFLSDOSODFHRIEXVLQHVVDW

+HOHQ2I7UR\3OD]D(O3DVR7H[DVSee([KLELWDW .D]86$,QF)LOLQJLQ

0DVVDFKXVHWWV&RUSRUDWH'LYLVLRQ 2QLQIRUPDWLRQDQGEHOLHI.D]86$,QFLVDVXEVLGLDU\RI

+HOHQRI7UR\/LPLWHGSee ([KLELWDW +HOHQRI7UR\.6XEVLGLDU\/LVWLQJ 

             )XUWKHURQLQIRUPDWLRQDQGEHOLHI.D]86$,QFLVLQYROYHGLQWKH

PDQXIDFWXUHGLVWULEXWLRQVDOHIRULPSRUWDWLRQLPSRUWDWLRQDQGVDOHDIWHULPSRUWDWLRQRIWKH

LQIULQJLQJ3XU3URGXFWVLQFOXGLQJE\OLVWLQJWKHLQIULQJLQJ3XU3URGXFWVIRUVDOHRQLWVZHEVLWH

ZZZSXUFRPSee, e.g.([KLELWDW 3XUFRP7HUPVDQG&RQGLWLRQV  LGHQWLI\LQJ.D]

86$,QFDVWKHRSHUDWRURIWKHSXUFRPZHEVLWH 3URGXFWSDFNDJLQJIRUWKHDFFXVHG3XU3OXV

3LWFKHU)LOWHUDOVRLQFOXGHVDODEHOWKDWVWDWHV³'LVWULEXWHGE\.D]86$,QFD+HOHQRI7UR\

FRPSDQ\´See ([KLELWDW 3XU3OXV)LOWHU3DFNDJLQJ/DEHO 


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                        E     +HOHQRI7UR\/LPLWHG

            2QLQIRUPDWLRQDQGEHOLHI+HOHQRI7UR\/LPLWHGLVLQFRUSRUDWHGLQ%HUPXGD

ZLWKLWVSULQFLSDOSODFHRIEXVLQHVVDW+HOHQRI7UR\3OD]D(O3DVR7H[DVSee([KLELW

DW +HOHQRI7UR\/WG6(&)RUP. )< 2QLQIRUPDWLRQDQGEHOLHI+HOHQRI

7UR\/LPLWHGLVWKHXOWLPDWHFRUSRUDWHSDUHQWRI.D]86$,QFSee ([KLELWDW +HOHQRI

7UR\.6XEVLGLDU\/LVWLQJ 

            2QLQIRUPDWLRQDQGEHOLHI+HOHQRI7UR\/LPLWHGRUJDQL]HVGLUHFWVDXWKRUL]HV

DSSURYHVRURWKHUZLVHSDUWLFLSDWHVLQWKHPDQXIDFWXUHGLVWULEXWLRQVDOHIRULPSRUWDWLRQ

LPSRUWDWLRQDQGVDOHDIWHULPSRUWDWLRQLQWKH8QLWHG6WDWHVRIWKH$FFXVHG3XU3URGXFWV+HOHQ

RI7UR\/LPLWHGRZQVWKH3XUEUDQGZKLFKLWDFTXLUHGLQIURP3URFWRUDQG*DPEOHSee

([KLELWDW +HOHQRI7UR\3UHVV5HOHDVHRI3XU$FTXLVLWLRQ +HOHQRI7UR\/LPLWHGVHOOV

SURGXFWVXQGHUWKH3XUEUDQGDQGVHOOVZDWHUILOWUDWLRQSURGXFWVLQFOXGLQJ³SLWFKHUEDVHGZDWHU

ILOWUDWLRQV\VWHPV´([KLELWDW +HOHQRI7UR\/WG6(&)RUP. )< 7KH

SDFNDJLQJRIWKHDFFXVHG3XU3OXV3LWFKHU)LOWHUVWDWHV³'LVWULEXWHGE\.D]86$,QFD+HOHQ

RI7UR\FRPSDQ\´([KLELWDW 3XU3OXV)LOWHU3DFNDJLQJ/DEHO ,WDOVRVWDWHV³385LVD

WUDGHPDUNRI+HOHQRI7UR\/LPLWHG´Id.

                    =HUR:DWHU*URXS

            7KH=HUR:DWHU*URXS5HVSRQGHQWVDUHLQYROYHGLQWKHVDOHIRULPSRUWDWLRQ

LPSRUWDWLRQDQGVDOHDIWHULPSRUWDWLRQRIWKH$FFXVHG=HUR:DWHU3URGXFWVLQYLRODWLRQRI

6HFWLRQ

                        D     =HUR7HFKQRORJLHV//&

            2QLQIRUPDWLRQDQGEHOLHISURSRVHG5HVSRQGHQW=HUR7HFKQRORJLHV//&LVD

OLPLWHGOLDELOLW\FRPSDQ\RUJDQL]HGXQGHUWKHODZVRIWKHVWDWHRI'HODZDUHKDYLQJDSULQFLSDO

SODFHRIEXVLQHVVDW1HVKDPLQ\,QWHUSOH[6XLWH7UHYRVH3$See([KLELWDW


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    =HUR7HFKQRORJLHV//&6HFUHWDU\RI6WDWH)LOLQJ ([KLELWDW =HUR7HFKQRORJLHV//&

&RPSDQ\,QYHVWLJDWRU5HSRUW 

              2QLQIRUPDWLRQDQGEHOLHI=HUR7HFKQRORJLHVPDQXIDFWXUHVGLVWULEXWHVVHOOVIRU

LPSRUWDWLRQLPSRUWVDQGVHOOVDIWHULPSRUWDWLRQLQWKH8QLWHG6WDWHVWKH$FFXVHG=HUR:DWHU

3URGXFWV2QLQIRUPDWLRQDQGEHOLHI=HUR7HFKQRORJLHV//&LPSRUWHGWKH$FFXVHG3URGXFWVDW

OHDVWLQIURP&KLQDWRYDULRXVORFDWLRQVLQ&DOLIRUQLDSee ([KLELWDW =HUR

7HFKQRORJLHV//&,PSRUW5HFRUGV =HUR7HFKQRORJLHV//&XVHVLWVZHESDJH

ZZZ]HURZDWHUFRPWRWUDQVDFWEXVLQHVVLQWKH8QLWHG6WDWHVLQFOXGLQJE\OLVWLQJWKH

LQIULQJLQJ=HUR:DWHU3URGXFWVIRUVDOHSee ([KLELWDW =HUR:DWHU5HSODFHPHQW)LOWHUV±

3DFN 7KHZZZ]HURZDWHUFRPZHESDJHDOVRDWWULEXWHVWKHFRS\ULJKWWR=HUR7HFKQRORJLHV

//&See ([KLELWDW =HUR:DWHU+RPHSDJH $GGLWLRQDOO\=HUR7HFKQRORJLHV//&RZQV

WKHWUDGHPDUNVWR=(52:$7(5See ([KLELWDW =HURZDWHU7UDGHPDUN5HJLVWUDWLRQ 

                          E     &XOOLJDQ,QWHUQDWLRQDO&R

              2QLQIRUPDWLRQDQGEHOLHISURSRVHG5HVSRQGHQW&XOOLJDQ,QWHUQDWLRQDO&RLVD

FRUSRUDWLRQRUJDQL]HGXQGHUWKHODZVRIWKHVWDWHRI'HODZDUHDQGKDYLQJDSULQFLSDOSODFHRI

EXVLQHVVDW:+LJJLQV5RDG6XLWH5RVHPRQW,/See ([KLELWDW

    &XOOLJDQ,QWHUQDWLRQDO&R'HODZDUH'HSWRI6WDWH ([KLELWDW &XOOLJDQ,QWHUQDWLRQDO

/RFDWLRQV 

              2QLQIRUPDWLRQDQGEHOLHI&XOOLJDQ,QWHUQDWLRQDO&RLVLQYROYHGLQWKH

PDQXIDFWXUHGLVWULEXWLRQVDOHIRULPSRUWDWLRQLPSRUWDWLRQDQGVDOHDIWHULPSRUWDWLRQRIWKH

$FFXVHG=HUR:DWHU3URGXFWV&XOOLJDQ,QWHUQDWLRQDO&RLVWKHSDUHQWFRPSDQ\RI=HUR

7HFKQRORJLHV//&See ([KLELWDW =HUR7HFKQRORJLHV//&&RPSDQ\,QYHVWLJDWRU

5HSRUW $OVR&XOOLJDQ,QWHUQDWLRQDO&R¶VZHEVLWHOLVWV=HUR:DWHUDVRQHRILWVEUDQGVDQG

SURYLGHVDOLQNWRZZZ]HURZDWHUFRPSee ([KLELWDW &XOOLJDQ&RUSRUDWH%UDQGV 


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                     /LIH6WUDZ5HVSRQGHQW

             7KH/LIH6WUDZ5HVSRQGHQWLVLQYROYHGLQWKHVDOHIRULPSRUWDWLRQLPSRUWDWLRQ

DQGVDOHDIWHULPSRUWDWLRQRIWKH$FFXVHG/LIH6WUDZ3URGXFWVLQYLRODWLRQRI6HFWLRQ

                         D     9HVWHUJDDUG)UDQGVHQ,QF

             2QLQIRUPDWLRQDQGEHOLHISURSRVHG5HVSRQGHQW9HVWHUJDDUG)UDQGVHQ,QFLVD

UHJLVWHUHGGRPHVWLFFRUSRUDWLRQRUJDQL]HGXQGHUWKHODZVRI0DU\ODQGZLWKDSULQFLSDOSODFHRI

EXVLQHVVDW:2VWHQG6W6XLWH%DOWLPRUH0'See([KLELWDW 9HVWHUJDDUG

)UDQGVHQ,QF0DU\ODQG&RUSRUDWLRQ6HDUFK ([KLELWDW 9HVWHUJDDUG)UDQGVHQ,QF' %

&RPSDQ\3URILOH 

             2QLQIRUPDWLRQDQGEHOLHI9HVWHUJDDUG)UDQGVHQ,QFLVLQYROYHGLQWKH

PDQXIDFWXUHGLVWULEXWLRQVDOHIRULPSRUWDWLRQLPSRUWDWLRQDQGVDOHDIWHULPSRUWDWLRQRIWKH

$FFXVHG/LIH6WUDZ3URGXFWV2QLQIRUPDWLRQDQGEHOLHI9HVWHUJDDUG)UDQGVHQ,QFXVHVLWV

ZHESDJHKWWSVOLIHVWUDZFRPWRWUDQVDFWEXVLQHVVDWOHDVWE\OLVWLQJWKHLQIULQJLQJ/LIH6WUDZ

SURGXFWVIRUVDOHSee([KLELWDW /LIH6WUDZ+RPH:DWHU)LOWHU3LWFKHU ([KLELWDW

    /LIH6WUDZ+RPHSDJH 2QLQIRUPDWLRQDQGEHOLHIOLIHVWUDZFRPLVRSHUDWHGE\9HVWHUJDDUG

)UDQGVHQ,QFSee([KLELWDW /LIHVWUDZFRP3ULYDF\3ROLF\LGHQWLI\LQJ9HVWHUJDDUG

)UDQGVHQ,QFDVWKHUHVSRQVLEOHHQWLW\LQWKHSULYDF\SROLF\ ([KLELWDW /LIH6WUDZ

:DUUDQW\DQG5HWXUQV3ROLF\LGHQWLI\LQJ9HVWHUJDDUG)UDQGVHQ,QFDVWKHSDUW\LVVXLQJD

ZDUUDQW\IRU/LIH6WUDZSURGXFWV 3DFNDJLQJIRUWKHLQIULQJLQJ/LIH6WUDZSURGXFWVDOVROLVWV

9HVWHUJDDUG)UDQGVHQ,QFDQGIXUWKHULQGLFDWHVWKHSURGXFWVDUHPDGHLQ6RXWK.RUHDSee

([KLELWDW /LIH6WUDZ%DFN3DFNDJLQJ/DEHO 

                     0DYHD*URXS

             7KH0DYHD*URXSDUHLQYROYHGLQWKHVDOHIRULPSRUWDWLRQLPSRUWDWLRQDQGVDOH

DIWHULPSRUWDWLRQRIWKH$FFXVHG0DYHD3URGXFWVLQYLRODWLRQRI6HFWLRQ


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                        D     0DYHD//&

           2QLQIRUPDWLRQDQGEHOLHISURSRVHG5HVSRQGHQW0DYHD//&LVDGRPHVWLF

OLPLWHGOLDELOLW\FRPSDQ\RUJDQL]HGXQGHUWKHODZVRIWKH6WDWHRI'HODZDUHDQGPDLQWDLQLQJD

SULQFLSDOSODFHRIEXVLQHVVDW%ODNHQVKLS5RDG6XLWH:HVW/LQQ2UHJRQSee

([KLELWDW 0DYHD//&+RPHSDJH ([KLELWDW '('LYLVLRQRI&RUSRUDWLRQV3DJH

IRU0DYHD//& 

           2QLQIRUPDWLRQDQGEHOLHI0DYHD//&LVDVXEVLGLDU\RI%ULWD*PE+See

([KLELW &RQILGHQWLDO'HFODUDWLRQIURP-RH0F6KDQH 2QLQIRUPDWLRQDQGEHOLHI%ULWD

*PE+LQLWLDOO\ODXQFKHG0DYHDWRHVWDEOLVKD1RUWK$PHULFDQFRQVXPHUEUDQGIRUZDWHU

ILOWUDWLRQSURGXFWVLQFOXGLQJZDWHUILOWUDWLRQSLWFKHUVSee ([KLELWDW 7LPHV$UWLFOH

3RXULQJ,W2Q 0DYHD//&QRZSXUSRUWVWREHDSULYDWHODEHOVXSSOLHULQ1RUWK$PHULFDSee

([KLELWDW 0DYHD±+HOS:HESDJH 2QLQIRUPDWLRQDQGEHOLHI%ULWD*PE+VXSSOLHV

SULYDWHODEHOZDWHUILOWHUVXQGHUWKH³.LUNODQG´EUDQGQDPHIRUWKH&RVWFR&RPSDQ\See

([KLELW &RQILGHQWLDO'HFODUDWLRQIURP-RH0F6KDQH 2QLQIRUPDWLRQDQGEHOLHI0DYHDLV

LQYROYHGLQWKHGLVWULEXWLRQVDOHIRULPSRUWDWLRQLPSRUWDWLRQDQGVDOHDIWHULPSRUWDWLRQRIWKH

$FFXVHG0DYHD3URGXFWVWRJHWKHUZLWK%ULWD*PE+See, e.g.([KLELWDW ,PSRUW*HQLXV

5HFRUGIRU0DYHD  OLVWLQJ0DYHD//&DVWKHFRQVLJQHHIRULPSRUWHGZDWHUILOWHUV\VWHPVDQG

FDUWULGJHVWKDWDUHVKLSSHGE\%ULWD*PE+IURPWKH8QLWHG.LQJGRPWRD8QLWHG6WDWHVSRUWLQ

:LOPLQJWRQ1RUWK&DUROLQD 

                        E     %ULWD*PE+

           2QLQIRUPDWLRQDQGEHOLHISURSRVHG5HVSRQGHQW%ULWD*PE+LVDIRUHLJQ

FRUSRUDWLRQRUJDQL]HGXQGHUWKHODZVRI*HUPDQ\DQGPDLQWDLQLQJDSULQFLSDOSODFHRIEXVLQHVV




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DW+HLQULFK+HUW]6WU7DXQXVVWHLQ*HUPDQ\See([KLELWDW %ULWD,QWHUQDWLRQDO

3DJH ([KLELWDW %ULWD*PE+,PSULQW 2QLQIRUPDWLRQDQGEHOLHILQFOXGLQJEDVHGRQ

%ULWD*PE+¶VRZQHUVKLSRIWKH0DYHDWUDGHPDUNV0DYHD//&LVDQDIILOLDWHRI%ULWD*PE+

See, e.g. ([KLELWDW 863725HSRUWIRU0DYHD0DUN ([KLELWDW 7LPHV$UWLFOH

3RXULQJ,W2Q 

           2QLQIRUPDWLRQDQGEHOLHI%ULWD*PE+RUJDQL]HVGLUHFWVDXWKRUL]HVDSSURYHV

RURWKHUZLVHSDUWLFLSDWHVLQWKHPDQXIDFWXUHGLVWULEXWLRQVDOHIRULPSRUWDWLRQLPSRUWDWLRQDQG

VDOHDIWHULPSRUWDWLRQLQWKH8QLWHG6WDWHVRIWKH$FFXVHG0DYHD3URGXFWV2QLQIRUPDWLRQDQG

EHOLHI%ULWD*PE+VXSSOLHVSULYDWHODEHOZDWHUILOWHUVXQGHUWKH³.LUNODQG´EUDQGQDPHIRUWKH

&RVWFR&RPSDQ\See ([KLELW &RQILGHQWLDO'HFODUDWLRQIURP-RH0F6KDQH 

,,,   7+(7(&+12/2*,(6$1'352'8&76$7,668(

              %DFNJURXQG2I7KH7HFKQRORJ\

           7KHWHFKQRORJLHVDWLVVXHLQWKLV,QYHVWLJDWLRQUHODWHWRKLJKSHUIRUPDQFHJUDYLW\

IHGZDWHUILOWHUVDQGSURGXFWVFRQWDLQLQJWKHVDPH/RZSUHVVXUHZDWHUILOWUDWLRQV\VWHPVKDYH

JURZQLQSRSXODULW\GXHWRDKHLJKWHQHGSXEOLFDZDUHQHVVRIKHDOWKFRQFHUQVRIXQWUHDWHGWDS

ZDWHU7DSZDWHU¶VTXDOLW\YDULHVDFURVVWKH8QLWHG6WDWHVEXWLVJHQHUDOO\IHGE\VXUIDFHZDWHU

DQGJURXQGZDWHU([KLELW &HUWLILHG&RS\RI863DWHQW1R 6XUIDFHZDWHUFDQ

EHKLJKLQFRQWDPLQDQWVVXFKDVFKORULQHZKLOHJURXQGZDWHULVKLJKLQVHGLPHQWV3ULRUDUW

JUDYLW\IHGRUORZSUHVVXUHILOWHUVRIWHQIDLOHGWRSURGXFHDGHTXDWHIORZUDWHVDQGSHUIRUPDQFH

FRQVLVWHQWO\RYHUWLPH%ULWD¶V',3URGXFWVUHGXFHFULWLFDOFRQWDPLQDQWVLQGULQNLQJZDWHUVXFK

DVVROXEOHDQGSDUWLFXODWHOHDGZKLOHPDLQWDLQLQJKLJKIORZUDWHVRYHUORQJILOWHUOLIHWLPHV



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              :KLOH%ULWD*PE+VKDUHVDFRPPRQQDPHZLWK%ULWD/3%ULWD*PE+LVQRWDQ
DIILOLDWHRI%ULWD/3RUWKH&ORUR[&RPSDQ\


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                  %ULWD¶V',3URGXFWVLQFOXGHWKH/RQJ/DVWDQG/RQJ/DVWILOWHUVDQGFRQWDLQHU

ILOWUDWLRQV\VWHPV HJSLWFKHURUDGLVSHQVHUV\VWHPV XVHGZLWKWKHVHILOWHUVSee([KLELWDW

DQG([KLELWDW FRPSLODWLRQRILPDJHVVKRZLQJ%ULWD',3URGXFWILOWHUV ([KLELW

    %ULWD¶V0RQWHUH\:DWHU)LOWHU3LWFKHUZLWK/RQJ/DVW)LOWHU 




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             &URVVVHFWLRQRI/RQJODVW)LOWHU                             /RQJODVW)LOWHU

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                 ([KLELW %ULWD¶V0RQWHUH\:DWHU)LOWHU3LWFKHUZLWK/RQJ/DVW)LOWHU 
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              1RQ7HFKQLFDO'HVFULSWLRQRIWKH$FFXVHG3URGXFWV

           3XUVXDQWWR&RPPLVVLRQ5XOH D  WKH$FFXVHG3URGXFWVDUHJUDYLW\

IHGZDWHUILOWHUVWKDWPHHWDFRPELQDWLRQRIKLJKSHUIRUPDQFHFULWHULDUHODWLQJWRILOWHUUDWHDQG

OHDGYROXPHOHDGUHGXFWLRQDQGOLIHWLPHXVDJHDQGZDWHUFRQWDLQHUSURGXFWVWKDWDUHVROGZLWK

VXFKILOWHUV7KHDFFXVHGZDWHUILOWHUVDUHFRPPRQO\VROGWRJHWKHUZLWKFRQWDLQHUVRUDUHVROGDV

DUHSODFHPHQWILOWHUVFRPPRQO\LQSDFNDJHVFRQWDLQLQJPXOWLSOHILOWHUV7RXVHWKH$FFXVHG

3URGXFWVZDWHULVSRXUHGLQWRWKHWRSRIWKHFRQWDLQHUDQGWKHZDWHULVIHGE\JUDYLW\WKURXJK

WKHILOWHU$VWKHZDWHUIORZVWKURXJKWKHILOWHUFRQWDPLQDQWV LQFOXGLQJOHDG DUHUHPRYHG7KH

ILOWHUHGZDWHULVFROOHFWHGLQWKHERWWRPRIWKHFRQWDLQHUDQGIORZVRXWWKURXJKWKHFRQWDLQHU

VSRXWRURXWOHWIRUFRQVXPSWLRQ

              7KH$FFXVHG3URGXFWV

           7KH$FFXVHG3URGXFWVLQFOXGHDWOHDVWWKH$TXD&UHVW$4./5HSODFHPHQW

3LWFKHU:DWHU)LOWHUVIRUWKH$TXD&UHVW*URXSWKH3XU3OXV3LWFKHU)LOWHUVDQG3XU3OXV

3LWFKHUVIRUWKH3XU*URXSWKH=HUR:DWHU6WDJH5HSODFHPHQW)LOWHUVDQG=HUR:DWHU5HDG\

3RXU:DWHU3LWFKHUVIRUWKH=HUR:DWHU*URXSWKH/LIH6WUDZ+RPH)XOO5HSODFHPHQW)LOWHUV

DQG/LIH6WUDZ+RPH3LWFKHUVIRUWKH/LIH6WUDZ5HVSRQGHQWDQGWKH.LUNODQG6LJQDWXUH:DWHU

)LOWHUDQG.LUNODQG6LJQDWXUH)LOWHUHG:DWHU3LWFKHUIRUWKH0DYHD*URXS

     5HVSRQGHQW*URXS                       )LOWHU                   )LOWHU &RQWDLQHU

     $TXD&UHVW*URXS                         ;                                 

     3XU*URXS                                ;                                ;

     =HUR:DWHU*URXS                          ;                                ;

     /LIH6WUDZ5HVSRQGHQW                     ;                                ;

     0DYHD*URXS                              ;                                ;




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                      $TXD&UHVW*URXS

              7KH$FFXVHG$TXD&UHVW3URGXFWVLQFOXGHDWOHDVWWKH$TXD&UHVW$4./

5HSODFHPHQW3LWFKHU:DWHU)LOWHUSee, e.g([KLELWDW $PD]RQOLVWLQJIRU$TXD&UHVW

:DWHU)LOWHU SDFN  LGHQWLI\LQJWKH$48$&5(67$4./5HSODFHPHQW3LWFKHU:DWHU

)LOWHU 7KH$TXD&UHVW$4./5HSODFHPHQW3LWFKHU:DWHU)LOWHUPDUNHWLQJPDWHULDOV

VSHFLI\WKDWWKHILOWHULVDUHSODFHPHQWIRUDQG³>F@RPSDWLEOHZLWK%ULWD«/RQJODVWILOWHU´Id.DW

$QLQIULQJHPHQWFODLPFKDUWVKRZLQJKRZWKH$FFXVHG$TXD&UHVW3URGXFWVSUDFWLFHWKH

FODLPVRIWKH¶3DWHQWLVSURYLGHGLQ([KLELW




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                           $TXD&UHVW$4./5HSODFHPHQW3LWFKHU:DWHU)LOWHU

                      3XU*URXS

              7KH$FFXVHG3XU3URGXFWVLQFOXGHWKH3XU3OXV3LWFKHU)LOWHUDQG3XU3OXV

3LWFKHUVDQG'LVSHQHUVLQYDULRXVTXDQWLWLHVLQFOXGLQJDWOHDVWWKH3LWFKHU)LOWHUSDFN3LWFKHU

)LOWHUSDFN&XS3LWFKHUV&XS3LWFKHUVDQG&XS'LVSHQVHUSee e.g([KLELWDW

    3XU5HSODFHPHQW)LOWHUV3DJH ([KLELWDW 3XU3URGXFWV/LVWLQJ ([KLELW 3XU3OXV




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&XS'LVSHQVHU $QLQIULQJHPHQWFODLPFKDUWVKRZLQJKRZWKH$FFXVHG3XU3URGXFWVSUDFWLFH

FODLPVRIWKH¶3DWHQWLVSURYLGHGLQ([KLELW




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                                         3XU3OXV3LWFKHU)LOWHU




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                     3XU3OXV3LWFKHU                      3XU3OXV'LVSHQVHU

                    =HUR:DWHU*URXS

           7KH$FFXVHG=HUR:DWHU3URGXFWVLQFOXGHWKH=HUR:DWHUVWDJH)LOWHUVDQG

=HUR:DWHUFRQWDLQHUVVROGZLWKVXFKILOWHUVVXFKDVWKH=HUR:DWHU5HDG\3RXU:DWHU)LOWHU

3LWFKHUVDQG'LVSHQVHUVWKH:DWHU&RROHU)LOWUDWLRQ6\VWHPWKH&XS5HDG\3RXU*ODVV


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:DWHU'LVSHQVHUDQGWKH&XS5RXQG:DWHU3LWFKHUSee e.g.([KLELWDW =HUR:DWHU

5HSODFHPHQW)LOWHUV3DFN ([KLELWDW =HUR:DWHU&XS:DWHU)LOWHU3LWFKHU ([KLELW

DW =HUR:DWHU6WDJH:DWHU3LWFKHUVDQG'LVSHQVHUV3URGXFWV/LVW $QLQIULQJHPHQWFODLP

FKDUWVKRZLQJKRZWKH$FFXVHG=HUR:DWHU3URGXFWVSUDFWLFHFODLPVRIWKH¶3DWHQWLV

SURYLGHGLQ([KLELW




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                                   =HUR:DWHU6WDJH)LOWHUV

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                   =HUR:DWHU5HDG\3RXU:DWHU)LOWHU3LWFKHUDQG'LVSHQVHU

                    /LIH6WUDZ5HVSRQGHQW

           7KH$FFXVHG/LIH6WUDZ3URGXFWVLQFOXGHWKH/LIH6WUDZ+RPH)XOO5HSODFHPHQW

)LOWHUZKLFKFRPSULVHVDPHPEUDQHPLFURILOWHUDQGDQDFWLYDWHGFDUERQLRQH[FKDQJHILOWHU

WKH/LIH6WUDZ+RPH3LWFKHUDQGWKH/LIH6WUDZ+RPH'LVSHQVHUSee e.g([KLELWDW

/LIH6WUDZ+RPH)XOO5HSODFHPHQW)LOWHU ([KLELWDW /LIH6WUDZ+RPH:DWHU)LOWHU

3LWFKHU ([KLELWDW /LIH6WUDZ+RPH'LVSHQVHU $QLQIULQJHPHQWFODLPFKDUWVKRZLQJ

KRZWKH$FFXVHG/LIH6WUDZ3URGXFWVSUDFWLFHFODLPVRIWKH¶3DWHQWLVSURYLGHGLQ([KLELW

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                           /LIH6WUDZ+RPH)XOO5HSODFHPHQW)LOWHU




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         /LIH6WUDZ+RPH:DWHU)LOWHU3LWFKHU              /LIH6WUDZ+RPH'LVSHQVHU

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                    0DYHD*URXS

            7KH$FFXVHG0DYHD3URGXFWVLQFOXGHWKH.LUNODQG6LJQDWXUH:DWHU)LOWHUDQG

.LUNODQG6LJQDWXUH)LOWHUHG:DWHU3LWFKHUSee e.g([KLELWDW .LUNODQG6LJQDWXUH

)LOWHUHG:DWHU3LWFKHU ([KLELWDW .LUNODQG6LJQDWXUH:DWHU)LOWHU $QLQIULQJHPHQW

FODLPFKDUWVKRZLQJKRZWKH$FFXVHG0DYHD3URGXFWVSUDFWLFHFODLPVRIWKH¶3DWHQWLV

SURYLGHGLQ([KLELW




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                        .LUNODQG6LJQDWXUH:DWHU)LOWHU

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                    .LUNODQG6LJQDWXUH)LOWHUHG:DWHU3LWFKHU




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               1RQ7HFKQLFDO'HVFULSWLRQRIWKH¶3DWHQW

            %ULWDGLVFRYHUHGDQGGHYHORSHGDQHZFODVVRIJUDYLW\IHGZDWHUILOWHUVWKDW

LPSURYHZDWHUVDIHW\E\HQKDQFLQJUHPRYDORIVROXEOHDQGFROORLGDOOHDGIURPGULQNLQJZDWHU

ZKLOHDWWKHVDPHWLPHDFKLHYLQJIDVWIORZUDWHVVXLWDEOHDQGGHVLUDEOHIRUDKRPHZDWHU

ILOWUDWLRQV\VWHPSee ([KLELW &HUWLILHG&RS\RI863DWHQW1R 3ULRUDUWJUDYLW\

IHGZDWHUILOWHUVGLGQRWDFKLHYHWKHVHREMHFWLYHVDQGFRXOGQRWPHHWWKHPRUHVWULQJHQW

$16,16)/VWDQGDUGVIRUOHDGUHPRYDODGRSWHGLQZLWKRXWPDNLQJVXEVWDQWLDOVDFULILFHV

RQVL]HVHUYLFHOLIHDQGIORZUDWH

            7KH¶3DWHQWWLWOHG³*UDYLW\)ORZ)LOWHU´LVGLUHFWHGWRJUDYLW\IHGILOWHUVWKDW

KDYHUDSLGIORZUDWHVDQGH[FHOOHQWOHDGILOWUDWLRQSHUIRUPDQFHId7KHFODLPHGILOWHUVGRQRW

LQYROYHDSUHVVXUHGLIIHUHQWLDORWKHUWKDQJUDYLW\SRZHUHGGRZQZDUGIORZ7KHGHVFULEHGILOWHUV

PHHWDVSHFLILFSHUIRUPDQFHUDQJHRIRSHUDWLRQGHILQHGE\ILOWHUYROXPHGHILQHGXVDJHOLIHWLPH

DYHUDJHWLPHRIILOWUDWLRQDQGRUOHDGUHGXFWLRQDELOLW\7KH¶3DWHQWGHVFULEHVDPHWULFIRU

ZDWHUILOWHUSHUIRUPDQFHWKDWDFFRXQWVIRUDOORIWKHVHDWWULEXWHVZKLFKLWFDOOVWKH)LOWHU5DWH

DQG3HUIRUPDQFH ³)5$3´ )DFWRU7KH)5$3)DFWRULVGHILQHGE\WKHIROORZLQJIRUPXODDV

UHFLWHGLQ&ODLP




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  $OOQRQWHFKQLFDOGHVFULSWLRQVRIWKHSDWHQWVKHUHLQDUHSUHVHQWHGWRJLYHDJHQHUDOEDFNJURXQG
RIWKRVHSDWHQWV7KHVHVWDWHPHQWVDUHQRWLQWHQGHGWREHXVHGQRUVKRXOGWKH\EHXVHGIRU
SXUSRVHVRISDWHQWFODLPFRQVWUXFWLRQ&RPSODLQDQWVSUHVHQWWKHVHVWDWHPHQWVVXEMHFWWRDQG
ZLWKRXWZDLYHURILWVULJKWWRDUJXHWKDWFODLPWHUPVVKRXOGEHFRQVWUXHGLQDSDUWLFXODUZD\
XQGHUFODLPLQWHUSUHWDWLRQMXULVSUXGHQFHDQGWKHUHOHYDQWHYLGHQFH


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              VLVWKHILOWHUPHGLDYROXPHfLVWKHDYHUDJHILOWUDWLRQXQLWWLPHRYHUILOWHU

OLIHWLPH7KHHIIOXHQWOHDGFRQFHQWUDWLRQceLVWKHDPRXQWRIWRWDOOHDG VROXEOHDQGFROORLGDO 

UHPDLQLQJLQWKHZDWHUDIWHUILOWUDWLRQIRUWKHODVWOLWHURIZDWHUILOWHUHGLQWKHGHILQHGILOWHU

OLIHWLPH7KHILOWHUXVDJHOLIHWLPH/LVWKHWRWDOQXPEHURIJDOORQVWKDWFDQEHHIIHFWLYHO\ILOWHUHG

DFFRUGLQJWRFODLPVSUHVHQWHGE\WKHPDQXIDFWXUHURUVHOOHURIWKHILOWHULQSURGXFWSDFNDJLQJRU

DGYHUWLVLQJ

              &ODLPRIWKHµSDWHQWFODLPVJUDYLW\IHGZDWHUILOWHUVWKDWFRPSULVH

DFWLYDWHGFDUERQDOHDGVFDYHQJHUDQGKDYHD)5$3IDFWRUEHORZ

                 ,GHQWLILFDWLRQDQG2ZQHUVKLSRIWKH¶3DWHQW

              863DWHQW1RZDVGXO\DQGODZIXOO\LVVXHGE\WKH8QLWHG6WDWHV

3DWHQWDQG7UDGHPDUN2IILFHRQ0D\WRFRLQYHQWRUV(OL]DEHWK/.QLSPH\HU7RQL/

/\QFK5RJHU35HLG%UXFH'6DDVNL7KHOLVWHGDVVLJQHHLV%ULWD/3([KLELW7KH¶

3DWHQWZLOOH[SLUHRQ'HFHPEHU1RQH[FOXVLYHOLFHQVHVWRWKH¶3DWHQWDUHOLVWHGLQ

&RQILGHQWLDO([KLELW &RQILGHQWLDO/LVWRI/LFHQVHHV 

              7KH¶3DWHQWLVVXHGIURP863DWHQW$SSOLFDWLRQ1RZKLFKZDV

ILOHGRQ6HSWHPEHU ³WKH¶DSSOLFDWLRQ´ See ([KLELWDW 3XEOLF3DLU

$SSOLFDWLRQ'DWDIRU 7KH¶DSSOLFDWLRQLVDFRQWLQXDWLRQLQSDUWRI863DWHQW

$SSOLFDWLRQ1RZKLFKZDVILOHGRQ2FWREHU ³WKHµDSSOLFDWLRQ´ See

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FRQWLQXDWLRQLQSDUWRI86$SSOLFDWLRQ1RZKLFKZDVILOHGRQ-XQH

    ³WKHµDSSOLFDWLRQ´ 7KH¶DSSOLFDWLRQDQGWKH¶DSSOLFDWLRQFRUUHVSRQGWR

.QLSPH\HUDQG5LQNHUUHVSHFWLYHO\See([KLELWDW 3XEOLF3DLU$SSOLFDWLRQ'DWDIRU




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 DQG([KLELWDW 3XEOLF3DLU$SSOLFDWLRQ'DWDIRU 7KH¶3DWHQW

FODLPVWKHSULRULW\EHQHILWRIERWK.QLSPH\HUDQG5LQNHU

           $FHUWLILHGFRS\RIWKH¶3DWHQWLVDWWDFKHGDV([KLELW$FHUWLILHGFRS\RI

WKHDVVLJQPHQWIURPWKHQDPHGLQYHQWRUV.QLSPH\HUDQG/\QFKWR%ULWDLVDWWDFKHGDV([KLELW

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)LOWHU&RPSDQ\,QFLVDWWDFKHGDV([KLELW 5HLG6DDVNL2PQLSXUH$VVLJQPHQWIRU86

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&RPSDQ\,QFWR%ULWDLVDWWDFKHGDV([KLELW 2PQLSXUH%ULWD$VVLJQPHQWIRU863DWHQW

$SSOLFDWLRQ1R $FHUWLILHGFRS\RIWKHSURVHFXWLRQKLVWRU\RIWKH¶3DWHQWLV

LQFOXGHGDV$SSHQGL[$&RSLHVRIWKHSDWHQWDQGDSSOLFDEOHSDJHVRIHDFKWHFKQLFDOUHIHUHQFH

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           2QLQIRUPDWLRQDQGEHOLHIWKHDFWVRIHDFKRIWKHHQWLWLHVLGHQWLILHGZLWKLQWKH

5HVSRQGHQWVJURXSVLH$TXD&UHVW*URXS3XU*URXS=HUR:DWHU*URXS/LIH6WUDZ

5HVSRQGHQWDQG0DYHD*URXSLQIULQJHWKH¶3DWHQWDQGYLRODWH6HFWLRQ D  % L 

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WKURXJKPDUNLQJRQLWVSDFNDJLQJDQGWKURXJKSURYLGLQJDGLUHFWUHIHUHQFHWRDSXEOLFO\

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:HEVLWH 

           7KH$TXD&UHVW*URXS3XU*URXS=HUR:DWHU*URXS/LIH6WUDZ5HVSRQGHQW

DQG0DYHD*URXS5HVSRQGHQWVDUHDZDUHRIWKHLULQIULQJHPHQWRIWKH¶3DWHQWDWOHDVWIURP


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WKHGDWHRIVHUYLFHRIWKLV&RPSODLQWDQGWKH3XU*URXSDQG=HUR:DWHU*URXSDUHDOVRDZDUHDW

OHDVWIURPWKHGDWHRIVHUYLFHRIWKHSDUDOOHOGLVWULFWFRXUWFRPSODLQWVLQWKH'LVWULFW&RXUWRI

'HODZDUH &LYLO$FWLRQ1RQRW\HWDYDLODEOH DQG:HVWHUQ'LVWULFWRI7H[DV &LYLO$FWLRQ1R

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                            ,QSDUWLFXODU5HVSRQGHQW.D]86$,QFZDVDZDUHRIWKH¶3DWHQWEHIRUHWKH

GDWHRIWKLV&RPSODLQWDVLWZDVWKHSHWLWLRQHUIRUinter partesUHYLHZRIWKH¶3DWHQWLQ

EHIRUHWKH3DWHQW7ULDODQG$SSHDO%RDUG

                            $GGLWLRQDOO\5HVSRQGHQW%ULWD*PE+ZDVDZDUHRIWKH¶3DWHQWDWOHDVWDVRI

1RYHPEHUZKHQ%ULWD/3QRWLILHGLWRIWKHLQIULQJHPHQW

                            7KH5HVSRQGHQWV¶H[HPSODU\$FFXVHG3URGXFWVLQIULQJHWKHIROORZLQJ$VVHUWHG

&ODLPV

                                                 5HSUHVHQWDWLYH                                ¶3DWHQW
                                                                              ¶3DWHQW'LUHFW
                                                   $FFXVHG3URGXFWV                              ,QGLUHFW
                                                                              ,QIULQJHPHQW
                                                                                                  ,QIULQJHPHQW
    $TXD&UHVW




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                             7HFKQRORJLHV,QF
                                                   5HSODFHPHQW3LWFKHU                   
                             4LQJGDR(FRSXUH      :DWHU)LOWHU
                             )LOWHU&R/WG
                             .D]86$,QF
                                                   3XU3OXV3LWFKHU)LOWHU    
    *URXS




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                             +HOHQRI7UR\        DQG3XU3OXV3LWFKHU                
    3XU




                             /LPLWHG
                             =HUR7HFKQRORJLHV                                                            
                                                   =HUR:DWHU5HSODFHPHQW
    /LIH6WUDZ =HUR:DWHU




                             //&                  )LOWHUVDQG=HUR:DWHU      
    5HVSRQGHQW *URXS




                             &XOOLJDQ             5HDG\3RXU:DWHU                    
                             ,QWHUQDWLRQDO&R    3LWFKHU
                                                                                                            
                                                   /LIH6WUDZ+RPH)XOO
                             9HVWHUJDDUG          5HSODFHPHQW)LOWHUDQG
                                                                                  
                             )UDQGVHQ,QF        WKH/LIH6WUDZ+RPH
                                                   3LWFKHU

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                                       5HSUHVHQWDWLYH                                 ¶3DWHQW
                                                                     ¶3DWHQW'LUHFW
                                         $FFXVHG3URGXFWV                               ,QGLUHFW
                                                                     ,QIULQJHPHQW
                                                                                         ,QIULQJHPHQW
                                         .LUNODQG6LJQDWXUH
                                         :DWHU)LOWHUDQG            
                   %ULWD*PE+
                                         .LUNODQG6LJQDWXUH                    
                                         )LOWHUHG:DWHU3LWFKHU

                    ,QIULQJHPHQWRIWKH¶3DWHQW

                 5HVSRQGHQWVLQIULQJHWKH$VVHUWHG&ODLPVRIWKH¶3DWHQWGLUHFWO\DQGRU

LQGLUHFWO\E\FRQWULEXWRU\LQIULQJHPHQW5HVSRQGHQWVLQIULQJHWKLVFODLPE\LPSRUWLQJVHOOLQJ

IRULPSRUWDWLRQDQGRUVHOOLQJDIWHULPSRUWDWLRQLQWRWKH8QLWHG6WDWHVWKHDFFXVHGJUDYLW\IHG

ZDWHUILOWHUVDQGSURGXFWVFRQWDLQLQJWKHVDPH2QLQIRUPDWLRQDQGEHOLHIWKH$FFXVHG3URGXFWV

VDWLVI\DOOFODLPOLPLWDWLRQVRIWKH$VVHUWHG&ODLPVDWWKHWLPHRILPSRUWDWLRQLQWRWKH8QLWHG

6WDWHV

                 $WWDFKHGDV([KLELWVDUHUHSUHVHQWDWLYHFODLPFKDUWVVKRZLQJ

LQIULQJHPHQWRIWKH$VVHUWHG&ODLPVRIWKH¶3DWHQWE\H[HPSODU\$FFXVHG3URGXFWVIRUHDFK

5HVSRQGHQW*URXSSee([KLELW ,QIULQJHPHQW&ODLP&KDUWIRUWKH¶3DWHQWIRU$TXD

&UHVW*URXS ([KLELW ,QIULQJHPHQW&ODLP&KDUWIRUWKH¶3DWHQWIRU3XU*URXS ([KLELW

 ,QIULQJHPHQW&ODLP&KDUWIRUWKH¶3DWHQWIRU=HUR:DWHU*URXS ([KLELW

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    ,QIULQJHPHQW&ODLP&KDUWIRUWKH¶3DWHQWIRU0DYHD*URXS 

                 7KH$FFXVHG3URGXFWVDQGLWVFRPSRQHQWVGLUHFWO\LQIULQJHWKH$VVHUWHG&ODLPV

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GRFWULQHRIHTXLYDOHQWVXQGHU86& D E\PDNLQJXVLQJRIIHULQJWRVHOORUVHOOLQJ




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ZLWKLQWKH8QLWHG6WDWHVRULPSRUWLQJLQWRWKH8QLWHG6WDWHVWKH$FFXVHG3URGXFWVDQG

FRPSRQHQWVWKHUHRI

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GRFWULQHRIHTXLYDOHQWVXQGHU86& F E\LPSRUWLQJLQWRWKH8QLWHG6WDWHVRIIHULQJ

WRVHOORUVHOOLQJZLWKLQWKH8QLWHG6WDWHVFRPSRQHQWVRIWKH$FFXVHG3URGXFWVZKLFKFRQVWLWXWH

DPDWHULDOSDUWRIWKHLQYHQWLRQRIWKH¶3DWHQWZLWKNQRZOHGJHWKDWVXFKFRPSRQHQWVDUH

HVSHFLDOO\PDGHRUHVSHFLDOO\DGDSWHGIRUXVHLQDQLQIULQJHPHQWRIWKH¶3DWHQWDQGQRWD

VWDSOHDUWLFOHRUFRPPRGLW\RIFRPPHUFHVXLWDEOHIRUVXEVWDQWLDOQRQLQIULQJLQJXVH

9,   5(6321'(176¶81/$:)8/$1'81)$,5$&76

              ,PSRUWDWLRQDQG6DOH

           2QLQIRUPDWLRQDQGEHOLHIWKH$FFXVHG3URGXFWVDUHPDQXIDFWXUHGRYHUVHDVDQG

WKHQVROGIRULPSRUWDWLRQLQWRWKH8QLWHG6WDWHVE\5HVSRQGHQWVRURQWKHLUEHKDOILPSRUWHGLQWR

WKH8QLWHG6WDWHVE\5HVSRQGHQWVRURQWKHLUEHKDOIDQGRUVROGDIWHULPSRUWDWLRQE\

5HVSRQGHQWVRURQWKHLUEHKDOI

           7KHVSHFLILFLQVWDQFHVVHWIRUWKEHORZDUHUHSUHVHQWDWLYHH[DPSOHVRI

5HVSRQGHQWV¶XQODZIXODFWV

                    $TXD&UHVW*URXS

           3URSRVHG5HVSRQGHQWV(FR/LIH7HFKQRORJLHV,QFDQG4LQJGDR(FRSXUH)LOWHU

&R/WGNQRZLQJO\DQGLQWHQWLRQDOO\RUJDQL]HGLUHFWDXWKRUL]HDSSURYHRURWKHUZLVH

SDUWLFLSDWHLQWKHXQODZIXODQGLQIULQJLQJFRQGXFWDOOHJHGKHUHLQLQFOXGLQJWKHPDQXIDFWXUH

GLVWULEXWLRQVDOHIRULPSRUWDWLRQLPSRUWDWLRQDQGVDOHDIWHULPSRUWDWLRQLQWKH8QLWHG6WDWHVRI

WKHLQIULQJLQJ$TXD&UHVW3URGXFWV

           2QLQIRUPDWLRQDQGEHOLHI(FR/LIH7HFKQRORJLHV,QFRUJDQL]HVGLUHFWV

DXWKRUL]HVDSSURYHVRURWKHUZLVHSDUWLFLSDWHVLQWKHPDQXIDFWXUHGLVWULEXWLRQVDOHIRU


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LPSRUWDWLRQLPSRUWDWLRQDQGVDOHDIWHULPSRUWDWLRQLQWKH8QLWHG6WDWHVRIWKHLQIULQJLQJ$TXD

&UHVW3URGXFWV(FR/LIH7HFKQRORJLHV,QFVHOOVLWVSURGXFWVWKURXJKLWVRZQZHEVLWHV

    ZZZZDWHUGURSILOWHUFRPDQGZZZZDWHUILOWHUFRP ([KLELWDW([KLELWDW

    RIIHULQJILOWHUSURGXFWVIRUVDOHDQGLGHQWLI\LQJ(FR/LIH7HFKQRORJLHV,QFDVWKHFRQWDFWSRLQW

IRUERWKZHEVLWHV 2QLQIRUPDWLRQDQGEHOLHI(FR/LIH7HFKQRORJLHVDOVRRIIHUVLWVSURGXFWV

LQFOXGLQJWKHLQIULQJLQJ$TXD&UHVW3URGXFWIRUVDOHDWRWKHURQOLQHUHWDLOHUVLQFOXGLQJ

$PD]RQFRP([KLELWDW $PD]RQ ([KLELWDW :DOPDUW (FR/LIH7HFKQRORJLHV,QF

KDVDOVRDGPLWWHGLQLWVUHVSRQVHWRWKH&RPSODLQWLQ,QY1R7$WKDWLWLVD

&DOLIRUQLDFRPSDQ\WKDW³VHOOVZDWHUILOWHUVDQGRWKHUZDWHUILOWHUSURGXFWVXQGHUWKHEUDQG

QDPH>@«$48$&5(67´([KLELW (FR/LIH5HVSWR$P&RPSO,Q,QY1R

 (FR/LIH7HFKQRORJLHV,QFKDVDOVRDGPLWWHGWKDWLWLPSRUWVDQGVHOOVDIWHULPSRUWDWLRQ

UHSODFHPHQWZDWHUILOWHUVXQGHUWKHEUDQGQDPH$TXD&UHVWId

              2QLQIRUPDWLRQDQGEHOLHI4LQJGDR(FRSXUH)LOWHU&R/WGRUJDQL]HVGLUHFWV

DXWKRUL]HVDSSURYHVRURWKHUZLVHSDUWLFLSDWHVLQWKHPDQXIDFWXUHGLVWULEXWLRQVDOHIRU

LPSRUWDWLRQLPSRUWDWLRQRUVDOHDIWHULPSRUWDWLRQLQWKH8QLWHG6WDWHVRIWKHLQIULQJLQJ$TXD

&UHVW3URGXFWV(FR/LIH¶VZHEVLWH ZZZZDWHUGURSILOWHUFRP ZKLFKOLVWV$TXD&UHVWZDWHU

ILOWHUSURGXFWVIRUVDOHLGHQWLILHV4LQJGDR(FRSXUH)LOWHU&R/WGDVWKH&KLQHVH

³>P@DQXIDFWXUHU´([KLELWDW :DWHUGURS&RQWDFW8V 7KHZHEVLWHIRU4LQJGDR(FRSXUH

)LOWHU&R/WGDOVRVWDWHVWKDWLWKDV³GHVLJQHGHQJLQHHUHGDQGGHOLYHUHGPRUHWKDQZDWHU

SXULILFDWLRQSURGXFWVLQFOXGLQJ«ZDWHUILOWHUSLWFKHUV´([KLELWDW 4LQJGDR(FRSXUH)LOWHU

&R/WG+RPHSDJH 4LQJGDR(FRSXUH)LOWHU&R/WGDGPLWWHGLQLWV5HVSRQVHWRWKH

&RPSODLQWLQ,QY1R7$WKDWLWPDQXIDFWXUHVZDWHUILOWHUSURGXFWVXQGHUWKHEUDQG

QDPH$TXD&UHVWLQ&KLQD([KLELWDQGVHOOVZDWHUILOWHUVXQGHUWKHEUDQGQDPH$TXD




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&UHVW([KLELW,PSRUWDWLRQUHFRUGVDOVRLQGLFDWHWKDW4LQJGDR(FRSXUH)LOWHU&R/WG

LVWKHFRQVLJQHHDQGVKLSSHUIRUZDWHUILOWHUVVKLSSHGIURP4LQJGDR&KLQDWRWKH1HZ

<RUN1HZ-HUVH\UHJLRQRIWKH8QLWHG6WDWHV([KLELWDW ,PSRUW*HQLXV5HFRUGIRU

4LQJGDRDQG(FR/LIH 

             2QLQIRUPDWLRQDQGEHOLHIWKH$FFXVHG$TXD&UHVW3URGXFWVDUHSDFNDJHGLQ

YDULRXVTXDQWLWLHVLQFOXGLQJDWOHDVWWZRSDFNDQGVL[SDFNFRQILJXUDWLRQV([KLELWDW

    $TXD&UHVW3DFNDJLQJ 

                   Specific Instances of Importation of the Accused Aqua Crest Product

             5HSUHVHQWDWLYH$FFXVHG$TXD&UHVW3URGXFWVZHUHSXUFKDVHGRQ$SULO

DQG6HSWHPEHU2Q$SULODWZRSDFNRI$TXD&UHVW$4./5HSODFHPHQW

3LWFKHU:DWHU)LOWHUZDVSXUFKDVHGRQZZZDPD]RQFRPDQGVKLSSHGWRDQDGGUHVVLQ

3OHDVDQWRQ&DOLIRUQLD([KLELW 'HFODUDWLRQIURP5LFN1LVKLMLPD 2Q6HSWHPEHU

DWZRSDFNRI$TXD&UHVW$4./5HSODFHPHQW3LWFKHU:DWHU)LOWHUZDVSXUFKDVHG

IURPZZZDPD]RQFRPDQGVKLSSHGWRDQDGGUHVVLQ%DOWLPRUH0'([KLELW

    'HFODUDWLRQRI'X9RQ)OR\G ([KLELWDW $TXD&UHVW3DFN)LOWHU 




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                               ([KLELWDW $TXD&UHVW3DFN)LOWHU 

           7KHSDFNDJLQJIRUDQH[HPSODU\$FFXVHG$TXD&UHVW3URGXFWSXUFKDVHGRQ

$SULOVKRZVWKDWWKHLQIULQJLQJSURGXFWZDVPDGHLQ&KLQD([KLELWDW $TXD

&UHVW3DFNDJLQJ ([KLELW 'HFODUDWLRQRI5LFN1LVKLMLPD 




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                           ([KLELW $TXD&UHVW)LOWHU3DFNDJLQJ 


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                     ([KLELW $TXD&UHVW)LOWHU3DFNDJLQJ (QODUJHG9LHZ 

             7KHSDFNDJLQJIRUDQH[HPSODU\$FFXVHG$TXD&UHVW3URGXFWSXUFKDVHGRQ

6HSWHPEHUVKRZVWKDWWKHLQIULQJLQJSURGXFWZDVPDGHLQ&KLQD([KLELWDW

    $TXD&UHVW3DFNDJLQJ ([KLELW 'HFODUDWLRQRI'X9RQ)OR\G 




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                      ([KLELWDW $TXD&UHVW3DFNDJLQJ/DEHOIRU3DFN 




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            ([KLELWDW $TXD&UHVW3DFNDJLQJ/DEHOIRU3DFN (QODUJHG9LHZ 

            7KHUHIRUHWKHVHH[DPSOHVVKRZWKDWWKH$FFXVHG$TXD&UHVW3URGXFWLV

LPSRUWHGDQGVROGDIWHULPSRUWDWLRQLQWRWKH8QLWHG6WDWHV

                     3XU*URXS

            2QLQIRUPDWLRQDQGEHOLHISURSRVHG5HVSRQGHQWV+HOHQRI7UR\/LPLWHGDQG

.D]86$,QFNQRZLQJO\DQGLQWHQWLRQDOO\RUJDQL]HGLUHFWDXWKRUL]HDSSURYHRURWKHUZLVH

SDUWLFLSDWHLQWKHXQODZIXODQGLQIULQJLQJFRQGXFWDOOHJHGKHUHLQLQFOXGLQJWKHPDQXIDFWXUH

GLVWULEXWLRQVDOHIRULPSRUWDWLRQLPSRUWDWLRQDQGVDOHDIWHULPSRUWDWLRQLQWKH8QLWHG6WDWHVRI

WKHLQIULQJLQJ3XU3URGXFWV

            2QLQIRUPDWLRQDQGEHOLHI+HOHQRI7UR\/LPLWHGRUJDQL]HVGLUHFWVDXWKRUL]HV

DSSURYHVRURWKHUZLVHSDUWLFLSDWHVLQWKHPDQXIDFWXUHGLVWULEXWLRQVDOHIRULPSRUWDWLRQ

LPSRUWDWLRQDQGVDOHDIWHULPSRUWDWLRQLQWKH8QLWHG6WDWHVRIWKHLQIULQJLQJ3XU3URGXFWV+HOHQ

RI7UR\/LPLWHGRZQVWKH3XUEUDQGZKLFKLWDFTXLUHGLQIURP3URFWRUDQG*DPEOH

([KLELWDW +HOHQRI7UR\3UHVV5HOHDVHRI3XU$FTXLVLWLRQ +HOHQRI7UR\/LPLWHG¶V

UHJXODWRU\ILOLQJVVWDWHWKDWLWVHOOVSURGXFWVXQGHUWKH3XUEUDQGDQGWKDWLWVHOOVZDWHUILOWUDWLRQ

V\VWHPVLQFOXGLQJ³SLWFKHUEDVHGZDWHUILOWUDWLRQV\VWHPV´([KLELWDW +HOHQRI7UR\

/WG6(&)RUP. )< 5HJXODWRU\ILOLQJVDOVRVWDWHWKDW³>D@OORI>+HOHQRI7UR\

/LPLWHG¶V@SURGXFWVDUHPDQXIDFWXUHGE\XQDIILOLDWHGFRPSDQLHVPRVWRIZKLFKDUHLQWKH)DU


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(DVWSULQFLSDOO\LQ&KLQD)RUILVFDOILQLVKHGJRRGVPDQXIDFWXUHGLQWKH)DU(DVW

FRPSULVHGDSSUR[LPDWHO\RIWRWDOILQLVKHGJRRGVSXUFKDVHG´([KLELWDW+HOHQRI

7UR\LVDOVRWKHSDUHQWRISURSRVHG5HVSRQGHQWV.D]86$,QF ([KLELWDW  +HOHQRI

7UR\.6XEVLGLDU\/LVWLQJ ZKLFKRQLQIRUPDWLRQDQGEHOLHILVLQYROYHGLQWKHPDQXIDFWXUH

GLVWULEXWLRQVDOHIRULPSRUWDWLRQLPSRUWDWLRQDQGVDOHDIWHULPSRUWDWLRQRIWKHLQIULQJLQJ3XU

3URGXFWVLQFOXGLQJE\OLVWLQJWKHLQIULQJLQJ3XU3URGXFWVIRUVDOHRQLWVZHEVLWH

           2QLQIRUPDWLRQDQGEHOLHI.D]86$,QFRUJDQL]HVGLUHFWVDXWKRUL]HV

DSSURYHVRURWKHUZLVHSDUWLFLSDWHVLQWKHPDQXIDFWXUHGLVWULEXWLRQVDOHIRULPSRUWDWLRQ

LPSRUWDWLRQDQGVDOHDIWHULPSRUWDWLRQLQWKH8QLWHG6WDWHVRIWKHLQIULQJLQJ3XU3URGXFWV

3URGXFWSDFNDJLQJIRUDQLQIULQJLQJ3XU3URGXFWLQFOXGHVDODEHOWKDWVWDWHV³'LVWULEXWHGE\.D]

86$,QFD+HOHQRI7UR\&RPSDQ\´ZLWKD0DVVDFKXVHWWV8QLWHG6WDWHVDGGUHVV([KLELW

DW 3XU3OXV)LOWHU3DFNDJLQJ/DEHO 7KHLQIULQJLQJ3XU3URGXFWVDUHDOVRRIIHUHGIRUVDOHDW

ZZZSXUFRP([KLELWDW 3XU3OXV3URGXFWV/LVWLQJ 7KHWHUPVDQGFRQGLWLRQVRI

ZZZSXUFRPLGHQWLI\.D]86$,QFDVWKHRSHUDWRURIWKHZHEVLWH([KLELWDW 3XUFRP

7HUPVDQG&RQGLWLRQV 

           2QLQIRUPDWLRQDQGEHOLHIWKH$FFXVHG3XU3URGXFWVDUHSDFNDJHGLQYDULRXV

TXDQWLWLHVDQGDUHSDFNDJHGERWKZLWKDQGZLWKRXWDSLWFKHURUGLVSHQVHU([KLELWDW 3XU

3OXV)LOWHU3DFNDJLQJ/DEHO ([KLELWDW 3XU3OXV3URGXFWV/LVWLQJ ([KLELWDW 3XU

5HSODFHPHQW)LOWHUV3DJH 

                    Specific Instances of Importation of the Accused Pur Products

           5HSUHVHQWDWLYH$FFXVHG3XU3URGXFWVZHUHSXUFKDVHGRQ$SULODQG

6HSWHPEHU2Q$SULOD3XU3OXV3LWFKHU)LOWHUDQG3XU3OXV3LWFKHUZHUH

SXUFKDVHGDWD7DUJHWUHWDLOHUORFDWLRQLQ'XEOLQ&DOLIRUQLD([KLELW 'HFODUDWLRQIURP

5LFN1LVKLMLPD 2Q6HSWHPEHUD3XU3OXV3LWFKHU)LOWHU±3DFNZDVSXUFKDVHG


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RQOLQHDWZZZZDOPDUWFRPDQGSLFNHGXSDWDORFDO:DOPDUWORFDWLRQLQ0DU\ODQG([KLELW

DW 3XU3OXV)LOWHU5HFHLSW ([KLELW 'HFODUDWLRQRI'X9RQ)OR\G 




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                             ([KLELW 3XU3OXV3LWFKHU)LOWHU 
                                                          
           7KHSDFNDJLQJIRUH[HPSODU\$FFXVHG3XU3URGXFWVSXUFKDVHGRQ$SULO

VKRZWKDWWKHLQIULQJLQJSURGXFWVZHUHPDGHLQ0H[LFRDQGGLVWULEXWHGE\³.D]86$,QFD

+HOHQRI7UR\&RPSDQ\´See ([KLELWDW 3XU3OXV3LWFKHU3DFNDJLQJ%RWWRP ([KLELW

 3XU3OXV)LOWHU5HSODFHPHQW3DFNDJLQJ%RWWRP ([KLELW 'HFODUDWLRQRI5LFN

1LVKLMLPD 




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              ([KLELW 3XU3OXV3LWFKHU3DFNDJLQJ%RWWRP (QODUJHG9LHZ 




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        ([KLELW 3XU3OXV)LOWHU5HSODFHPHQW3DFNDJLQJ%RWWRP (QODUJHG9LHZ 

          7KHSDFNDJLQJIRUDQH[HPSODU\$FFXVHG3XU3URGXFWSXUFKDVHGRQ6HSWHPEHU

VKRZVWKDWWKHLQIULQJLQJSURGXFWZDVPDGHLQ0H[LFRDQGGLVWULEXWHGE\³.D]86$

,QFD+HOHQRI7UR\&RPSDQ\´See ([KLELWDW 3XU3OXV)LOWHU3DFNDJLQJ%RWWRP 

([KLELW 'HFODUDWLRQRI'X9RQ)OR\G 7KHSDFNDJLQJDOVRLQFOXGHVDQLPDJHRIWKH

+HOHQRI7UR\ORJR([KLELWDW 3XU3OXV)LOWHU3DFNDJLQJ%RWWRP .




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                        ([KLELWDW 3XU3OXV)LOWHU3DFNDJLQJ%RWWRP 




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              ([KLELWDW 3XU3OXV)LOWHU3DFNDJLQJ%RWWRP (QODUJHG9LHZ 

           7KHUHIRUHWKHVHH[DPSOHVVKRZWKDWWKH$FFXVHG3XU3URGXFWVDUHLPSRUWHGDQG

VROGDIWHULPSRUWDWLRQLQWRWKH8QLWHG6WDWHV

                     =HUR:DWHU*URXS

           3URSRVHG5HVSRQGHQWV=HUR7HFKQRORJLHV//&DQG&XOOLJDQ,QWHUQDWLRQDO&R

NQRZLQJO\DQGLQWHQWLRQDOO\RUJDQL]HGLUHFWDXWKRUL]HDSSURYHRURWKHUZLVHSDUWLFLSDWHLQWKH

XQODZIXODQGLQIULQJLQJFRQGXFWDOOHJHGKHUHLQLQFOXGLQJWKHPDQXIDFWXUHGLVWULEXWLRQVDOHIRU

LPSRUWDWLRQLPSRUWDWLRQDQGVDOHDIWHULPSRUWDWLRQLQWKH8QLWHG6WDWHVRIWKHLQIULQJLQJ

=HUR:DWHU3URGXFWV



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              2QLQIRUPDWLRQDQGEHOLHI=HUR7HFKQRORJLHV//&NQRZLQJO\DQGLQWHQWLRQDOO\

RUJDQL]HVGLUHFWVDXWKRUL]HVDSSURYHVRURWKHUZLVHSDUWLFLSDWHVLQWKHXQODZIXODQGLQIULQJLQJ

FRQGXFWDOOHJHGKHUHLQLQFOXGLQJWKHPDQXIDFWXUHGLVWULEXWLRQVDOHIRULPSRUWDWLRQ

LPSRUWDWLRQDQGVDOHDIWHULPSRUWDWLRQLQWKH8QLWHG6WDWHVRIWKHLQIULQJLQJ=HUR:DWHU

3URGXFWV2QLQIRUPDWLRQDQGEHOLHI=HUR7HFKQRORJLHV//&KDVLPSRUWHG³&DUWULGJH

&RPSRQHQWV´³&XS5HDG\3RXU3L>W@FKHU´DQG³$FFHVVRU\WR=HUR:DWHU)LOWHU´LQ

IURP&KLQDWRYDULRXVORFDWLRQVLQ&DOLIRUQLD([KLELWDW =HUR7HFKQRORJLHV//&

,PSRUW5HFRUGV =HUR7HFKQRORJLHV//&XVHV]HURZDWHUFRPWRWUDQVDFWEXVLQHVVLQFOXGLQJ

E\OLVWLQJWKHLQIULQJLQJ=HUR:DWHU3URGXFWVIRUVDOH([KLELWDW =HUR:DWHU5HSODFHPHQW

)LOWHUV±3DFN 7KHZZZ]HURZDWHUFRPZHESDJHDOVRDWWULEXWHVWKHFRS\ULJKWWR=HUR

7HFKQRORJLHV//&([KLELWDW =HUR:DWHU+RPHSDJH $GGLWLRQDOO\=HUR7HFKQRORJLHV

//&RZQVWKHWUDGHPDUNVWR=(52:$7(5([KLELWDW =HURZDWHU7UDGHPDUN

5HJLVWUDWLRQ 

              2QLQIRUPDWLRQDQGEHOLHI&XOOLJDQ,QWHUQDWLRQDO&RNQRZLQJO\DQG

LQWHQWLRQDOO\RUJDQL]HVGLUHFWVDXWKRUL]HVDSSURYHVRURWKHUZLVHSDUWLFLSDWHVLQWKHXQODZIXO

DQGLQIULQJLQJFRQGXFWDOOHJHGKHUHLQLQFOXGLQJWKHPDQXIDFWXUHGLVWULEXWLRQVDOHIRU

LPSRUWDWLRQLPSRUWDWLRQDQGVDOHDIWHULPSRUWDWLRQLQWKH8QLWHG6WDWHVRIWKHLQIULQJLQJ

=HUR:DWHU3URGXFWV2QLQIRUPDWLRQDQGEHOLHI&XOOLJDQ,QWHUQDWLRQDO&RLVWKHSDUHQW

FRPSDQ\RI=HUR7HFKQRORJLHV//&([KLELWDW =HUR7HFKQRORJLHV//&&RPSDQ\

,QYHVWLJDWRU5HSRUWLGHQWLI\LQJ&XOOLJDQ,QWHUQDWLRQDO&RDVWKHSDUHQWRI=HUR7HFKQRORJLHV

//& ([KLELWDW =HUR7HFKQRORJLHV&DOLIRUQLD6HFUHWDU\RI6WDWH)LOLQJLGHQWLI\LQJ

&XOOLJDQ,QWHUQDWLRQDO&RDVWKHPDQDJHURI=HUR7HFKQRORJLHV//& &XOOLJDQ,QWHUQDWLRQDO




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&R¶VZHEVLWHOLVWV=HUR:DWHUDVRQHRILWVEUDQGVDQGSURYLGHVDOLQNWRZZZ]HURZDWHUFRP

([KLELWDW &XOOLJDQ&RUSRUDWH%UDQGV 

             2QLQIRUPDWLRQDQGEHOLHIWKH$FFXVHG=HUR:DWHU3URGXFWVDUHSDFNDJHGLQ

YDULRXVTXDQWLWLHVDQGDUHSDFNDJHGERWKZLWKDQGZLWKRXWDSLWFKHURUGLVSHQVHU([KLELWDW

    =HUR7HFKQRORJLHV//&3URGXFW$VVHPEO\/DEHO ([KLELWDW =HUR:DWHU6WDJH:DWHU

3LWFKHUVDQG'LVSHQVHUV3URGXFWV/LVW ([KLELWDW =HUR:DWHU5HSODFHPHQW)LOWHUV

3DFN ([KLELWDW =HUR:DWHU&XS:DWHU)LOWHU3LWFKHU 

                   Specific Instance of Importation of the Accused ZeroWater Products

             5HSUHVHQWDWLYH$FFXVHG=HUR:DWHU3URGXFWVZHUHSXUFKDVHGRQ$SULO

DQG$XJXVW2Q$SULOD=HUR:DWHU5HSODFHPHQW)LOWHUV3DFNZDV

SXUFKDVHGDWD7DUJHWUHWDLOHUORFDWLRQLQ'XEOLQ&DOLIRUQLD([KLELW 'HFODUDWLRQIURP

5LFN1LVKLMLPD 2Q$XJXVWD=HUR:DWHU5HSODFHPHQW)LOWHUV3DFNZDVSXUFKDVHG

IURP]HURZDWHUFRPDQGVKLSSHGWRDQDGGUHVVLQ%DOWLPRUH0DU\ODQG([KLELWDW

    =HUR:DWHU5HSODFHPHQW)LOWHUV3DFN5HFHLSW ([KLELW 'HFODUDWLRQRI'X9RQ

)OR\G 




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                                 ([KLELWDW =HUR:DWHU)LOWHU 


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              7KHSDFNDJLQJRIH[HPSODU\$FFXVHG=HUR:DWHU3URGXFWVSXUFKDVHGRQ$SULO

VKRZWKDWWKHLQIULQJLQJSURGXFWVZHUHDVVHPEOHGLQ0H[LFRIURPLPSRUWHG

FRPSRQHQWV([KLELWDW =HUR:DWHU&XS5HDG\3RXU)LOWHU3LWFKHU3DFNDJLQJ 

([KLELWDW =HUR:DWHU6WDJH5HSODFHPHQW)LOWHU3DFNDJLQJ)URQW ([KLELWDW

    =HUR:DWHU6WDJH5HSODFHPHQW)LOWHU3DFNDJLQJ%RWWRP ([KLELW 'HFODUDWLRQRI

5LFN1LVKLMLPD 3DFNDJLQJIRUWKHSXUFKDVHG=HUR:DWHU&XS5HDG\3RXU)LOWHU3LWFKHUDOVR

LGHQWLILHV³=HUR7HFKQRORJLHV//&´RQWKHSDFNDJLQJSee ([KLELWDW




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                 ([KLELW =HUR:DWHU&XS5HDG\3RXU)LOWHU3LWFKHU3DFNDJLQJ 




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       ([KLELW =HUR:DWHU&XS5HDG\3RXU)LOWHU3LWFKHU3DFNDJLQJ (QODUJHG9LHZ 



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                 ([KLELW =HUR:DWHU6WDJH5HSODFHPHQW)LOWHU3DFNDJLQJ)URQW 




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                 ([KLELW =HUR:DWHU6WDJH5HSODFHPHQW)LOWHU3DFNDJLQJ%RWWRP 

               7KHSDFNDJLQJRIDQH[HPSODU\$FFXVHG=HUR:DWHU3URGXFWSXUFKDVHGRQ

$XJXVWVKRZVWKDWWKHLQIULQJLQJSURGXFWZDVDVVHPEOHGLQ0H[LFRIURPLPSRUWHG

FRPSRQHQWVDQGLQFOXGHVWKHQDPHRI=HUR7HFKQRORJLHV//&RI7UHYRVH3$([KLELWDW

    =HUR7HFKQRORJLHV//&3URGXFW$VVHPEO\/DEHO ([KLELW 'HFODUDWLRQRI'X9RQ

)OR\G 




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           ([KLELWDW =HUR:DWHU3DFN)URQW3DFNDJHZLWK/DEHO 




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         ([KLELWDW =HUR7HFKQRORJLHV//&3URGXFW$VVHPEO\/DEHO 




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                       ([KLELWDW =HUR:DWHU3DFN%R[3DFNDJLQJ 




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                     ([KLELWDW =HUR:DWHU3DFNDJLQJ (QODUJHG9LHZ 

           7KHUHIRUHWKHVHH[DPSOHVVKRZWKDWWKH$FFXVHG=HUR:DWHU3URGXFWVDUH

LPSRUWHGDQGVROGDIWHULPSRUWDWLRQLQWRWKH8QLWHG6WDWHV

                    /LIH6WUDZ5HVSRQGHQW

        3URSRVHG5HVSRQGHQW9HVWHUJDDUG)UDQGVHQ,QFNQRZLQJO\DQGLQWHQWLRQDOO\

RUJDQL]HVGLUHFWVDXWKRUL]HVDSSURYHVRURWKHUZLVHSDUWLFLSDWHVLQWKHXQODZIXODQGLQIULQJLQJ

FRQGXFWDOOHJHGKHUHLQLQFOXGLQJWKHPDQXIDFWXUHGLVWULEXWLRQVDOHIRULPSRUWDWLRQ

LPSRUWDWLRQDQGVDOHDIWHULPSRUWDWLRQLQWKH8QLWHG6WDWHVRIWKHLQIULQJLQJ/LIH6WUDZ3URGXFWV



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           2QLQIRUPDWLRQDQGEHOLHI9HVWHUJDDUG)UDQGVHQ,QFXVHVZZZOLIHVWUDZFRP

WRWUDQVDFWEXVLQHVVDWOHDVWE\OLVWLQJWKHLQIULQJLQJ/LIH6WUDZ3URGXFWVIRUVDOHSee([KLELW

DW /LIH6WUDZ+RPH:DWHU)LOWHU3LWFKHU ([KLELWDW /LIH6WUDZ+RPHSDJH 2Q

LQIRUPDWLRQDQGEHOLHIOLIHVWUDZFRPLVRSHUDWHGE\9HVWHUJDDUG)UDQGVHQ,QFSee([KLELW

DW /LIHVWUDZFRP3ULYDF\3ROLF\LGHQWLI\LQJ9HVWHUJDDUG)UDQGVHQ,QFDVWKHUHVSRQVLEOH

HQWLW\LQWKHSULYDF\SROLF\ ([KLELWDW /LIH6WUDZ:DUUDQW\DQG5HWXUQV3ROLF\

LGHQWLI\LQJ9HVWHUJDDUG)UDQGVHQ,QFDVWKHSDUW\LVVXLQJDZDUUDQW\IRU/LIH6WUDZSURGXFWV 

3DFNDJLQJIRUWKHLQIULQJLQJ/LIH6WUDZ3URGXFWVDOVROLVWV9HVWHUJDDUG)UDQGVHQ,QFDQG

IXUWKHULQGLFDWHVWKHSURGXFWVDUHPDGHLQ6RXWK.RUHD([KLELWDW /LIH6WUDZ%DFN

3DFNDJLQJ/DEHO 

           2QLQIRUPDWLRQDQGEHOLHIWKH$FFXVHG/LIH6WUDZ3URGXFWVDUHSDFNDJHGLQ

YDULRXVTXDQWLWLHVDQGDUHSDFNDJHGERWKZLWKDQGZLWKRXWDSLWFKHU([KLELWDW

    /LIH6WUDZ+RPH:DWHU)LOWHU3LWFKHU 

                   Specific Instance of Importation of the Accused LifeStraw Products

           5HSUHVHQWDWLYH$FFXVHG/LIH6WUDZ3URGXFWVZHUHSXUFKDVHGRQ$SULO

$XJXVWDQG6HSWHPEHU2Q$SULOD/LIH6WUDZ+RPH&XS)LOWHUZDV

SXUFKDVHGRQZZZOLIHVWUDZFRPDQGVKLSSHGWRDQDGGUHVVLQ3OHDVDQWRQ&DOLIRUQLD([KLELW

 5HFHLSWIRU/LIH6WUDZ+RPH)LOWHU3LWFKHU.LWV ([KLELW 'HFODUDWLRQRI5LFN

1LVKLMLPD 2Q$XJXVWD/LIH6WUDZ+RPH)XOO5HSODFHPHQW)LOWHU.LWZKLFKLQFOXGHV

WKH/LIH6WUDZ0HPEUDQH0LFURILOWHUDQG/LIH6WUDZ$FWLYDWHG&DUERQ,RQ([FKDQJH)LOWHU

ZDVSXUFKDVHGRQOLIHVWUDZFRPDQGVKLSSHGWRDQDGGUHVVLQ%DOWLPRUH0DU\ODQG([KLELW

DW /LIH6WUDZ5HSODFHPHQW)LOWHUV5HFHLSW ([KLELW 'HFODUDWLRQRI'X9RQ

)OR\G 2Q6HSWHPEHUD/LIH6WUDZ+RPH:DWHU)LOWHU3LWFKHUZDVSXUFKDVHGIURP




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/LIHVWUDZFRPDQGGHOLYHUHGWRDQDGGUHVVLQ%DOWLPRUH0DU\ODQGSee([KLELWDW

    5HFHLSWIRU/LIH6WUDZ+RPH:DWHU)LOWHU3LWFKHU ([KLELW 'HFODUDWLRQRI'X9RQ

)OR\G 




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                                 ([KLELWDW /LIH6WUDZ)LOWHU 

           7KHSDFNDJLQJIRUDQH[HPSODU\$FFXVHG/LIH6WUDZ3URGXFWSXUFKDVHGRQ$SULO

VKRZVWKDWLWZDV³PDGHLQ6RXWK.RUHD´DQGLGHQWLILHV9HVWHUJDDUG)UDQGVHQ,QFSee

([KLELW /LIH6WUDZ+RPH)LOWHU3LWFKHU.LW3DFNDJLQJ 




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                 ([KLELW /LIH6WUDZ+RPH)LOWHU3LWFKHU.LW3DFNDJLQJ 




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         ([KLELW /LIH6WUDZ+RPH)LOWHU3LWFKHU.LW3DFNDJLQJ (QODUJHG9LHZ 

        7KHSDFNDJLQJIRUDQH[HPSODU\$FFXVHG/LIH6WUDZ3URGXFWSXUFKDVHGRQ

$XJXVWLQ%DOWLPRUH0DU\ODQGVKRZVWKDWWKHLQIULQJLQJSURGXFWZDVPDGHLQ6RXWK




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.RUHDDQGLQFOXGHVDOLVWLQJRI³$SURGXFWE\/LIH6WUDZ´ZLWK9HVWHUJDDUG)UDQGVHQ,QF

([KLELWDW /LIH6WUDZ3URGXFW/DEHO ([KLELWDW /LIH6WUDZ%DFN3DFNDJLQJ/DEHO 

([KLELW 'HFODUDWLRQRI'X9RQ)OR\G 




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             ([KLELWDW 9HVWHUJDDUG)UDQGVHQ,QF/LIH6WUDZ3URGXFW/DEHO 




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                      ([KLELWDW /LIH6WUDZ%DFN3DFNDJLQJ/DEHO 

        7KHSDFNDJLQJIRUDQH[HPSODU\$FFXVHG/LIH6WUDZ3URGXFWSXUFKDVHGRQ

6HSWHPEHUVKRZVWKDWLWZDVPDGHLQ6RXWK.RUHDDQGLGHQWLILHV9HVWHUJDDUG



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)UDQGVHQ,QF([KLELW /LIH6WUDZ+RPH:DWHU)LOWHU3LWFKHU3DFNDJLQJ)URQW ([KLELW

    /LIH6WUDZ+RPH:DWHU)LOWHU3LWFKHU3DFNDJLQJ%DFN ([KLELW 'HFODUDWLRQRI

'X9RQ)OR\G 




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                ([KLELW /LIH6WUDZ+RPH:DWHU)LOWHU3LWFKHU3DFNDJLQJ)URQW 




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        ([KLELW /LIH6WUDZ+RPH:DWHU)LOWHU3LWFKHU3DFNDJLQJ%DFN (QODUJHG9LHZ 

           7KHUHIRUHWKHVHH[DPSOHVVKRZWKDWWKH$FFXVHG/LIH6WUDZ3URGXFWVDUH

LPSRUWHGDQGVROGDIWHULPSRUWDWLRQLQWRWKH8QLWHG6WDWHV


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                      0DYHD*URXS

           3URSRVHG5HVSRQGHQWV0DYHD//&DQG%ULWD*PE+NQRZLQJO\DQG

LQWHQWLRQDOO\RUJDQL]HGLUHFWDXWKRUL]HDSSURYHRURWKHUZLVHSDUWLFLSDWHLQWKHXQODZIXODQG

LQIULQJLQJFRQGXFWDOOHJHGKHUHLQLQFOXGLQJWKHPDQXIDFWXUHGLVWULEXWLRQVDOHIRULPSRUWDWLRQ

LPSRUWDWLRQDQGVDOHDIWHULPSRUWDWLRQLQWKH8QLWHG6WDWHVRIWKHLQIULQJLQJ0DYHD3URGXFWV

           2QLQIRUPDWLRQDQGEHOLHI0DYHD//&LVDVXEVLGLDU\RI%ULWD*PE+See

([KLELW &RQILGHQWLDO'HFODUDWLRQIURP-RH0F6KDQH 0DYHD//&WKURXJKLWVZHEVLWH

SXUSRUWVWREHD³OHDGLQJSURYLGHURI3ULYDWH/DEHOVROXWLRQVLQ1RUWK$PHULFD´([KLELWDW

    0DYHD±+HOS:HESDJH ,QWKHFRQVXPHUSURGXFWVLQGXVWU\D³SULYDWHODEHO´SURGXFWUHIHUVWR

DSURGXFWWKDWLVVROGXQGHUWKHEUDQGQDPHRIDWKLUGSDUW\See ([KLELW &RQILGHQWLDO

'HFODUDWLRQIURP-RH0F6KDQH ,PSRUWDWLRQUHFRUGVOLVW0DYHD//&DVWKHFRQVLJQHHIRU

LPSRUWHGZDWHUILOWHUV\VWHPVDQGFDUWULGJHVWKDWDUHVKLSSHGE\%ULWD*PE+IURPWKH8QLWHG

.LQJGRPWRD8QLWHG6WDWHVSRUWLQ:LOPLQJWRQ1RUWK&DUROLQD([KLELWDW ,PSRUW*HQLXV

5HFRUGIRU0DYHD 

           2QLQIRUPDWLRQDQGEHOLHI%ULWD*PE+LVWKHSDUHQWFRPSDQ\RI0DYHD//&

DQGRZQVWKHWUDGHPDUNVIRU0$9($See ([KLELWDW 86372UHSRUWIRU0DYHD0DUN 

%ULWD¶V*PE+¶VDIILOLDWLRQZLWK0DYHDKDVEHHQSXEOLFO\UHSRUWHGRQIRU\HDUV([KLELWDW

 7LPHV$UWLFOH3RXULQJ,W2Q 2QLQIRUPDWLRQDQGEHOLHI%ULWD*PE+NQRZLQJO\DQG

LQWHQWLRQDOO\RUJDQL]HVGLUHFWVDXWKRUL]HVDSSURYHVRURWKHUZLVHSDUWLFLSDWHVLQWKHXQODZIXO

DQGLQIULQJLQJFRQGXFWDOOHJHGKHUHLQLQFOXGLQJWKHPDQXIDFWXUHGLVWULEXWLRQVDOHIRU

LPSRUWDWLRQLPSRUWDWLRQDQGVDOHDIWHULPSRUWDWLRQLQWKH8QLWHG6WDWHVRIWKH$FFXVHG0DYHD

3URGXFWV

           2QLQIRUPDWLRQDQGEHOLHISURSRVHG0DYHD*URXS5HVSRQGHQWVVXSSO\SULYDWH

ODEHOZDWHUILOWHUVIRUDWOHDVWWKH&RVWFR&RPSDQ\See ([KLELW &RQILGHQWLDO'HFODUDWLRQ


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IURP-RH0F6KDQH 7KH&RVWFRSULYDWHODEHOZDWHUILOWHULVVROGXQGHUWKHEUDQGQDPH

³.LUNODQG´Id.

           2QLQIRUPDWLRQDQGEHOLHIWKH$FFXVHG0DYHD3URGXFWVDUHSDFNDJHGLQYDULRXV

TXDQWLWLHVDQGDUHSDFNDJHGERWKZLWKDQGZLWKRXWDSLWFKHURUGLVSHQVHU([KLELWDW

    .LUNODQG6LJQDWXUH:DWHU)LOWHU3DFNDJLQJ ([KLELWDW &RVWFR:DWHU)LOWUDWLRQ

3URGXFWV/LVWLQJ 

                  Specific Instance of Importation of the Accused Mavea Products

           5HSUHVHQWDWLYH$FFXVHG0DYHD3URGXFWVZHUHSXUFKDVHGRQ$SULODQG

2FWREHU2Q$SULOD.LUNODQG6LJQDWXUH:DWHU)LOWHU3LWFKHUDQG.LUNODQG

6LJQDWXUH:DWHU)LOWHUSDFNVHWZHUHSXUFKDVHGIURPD&RVWFRORFDWLRQLQ/LYHUPRUH

&DOLIRUQLD([KLELWDW 5HFHLSWIRU.LUNODQG6LJQDWXUH:DWHU)LOWHU3LWFKHUDQG)LOWHU 

([KLELW 'HFODUDWLRQRI5LFN1LVKLMLPD 2Q2FWREHUD.LUNODQG6LJQDWXUH

:DWHU)LOWHU3LWFKHUDQG.LUNODQG6LJQDWXUH:DWHU)LOWHUSDFNVHWZHUHSXUFKDVHGIURP

&RVWFRFRPDQGVKLSSHGWRDQDGGUHVVLQ%DOWLPRUH0DU\ODQG([KLELWDW &RVWFR

5HFHLSW±.LUNODQG6LJQDWXUH3URGXFWV ([KLELW 'HFODUDWLRQRI'X9RQ)OR\G 




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                               ([KLELWDW .LUNODQG:DWHU)LOWHU 


           7KHSDFNDJLQJIRUH[HPSODU\$FFXVHG0DYHD3URGXFWVSXUFKDVHGRQ$SULO

VKRZVWKDWWKHSLWFKHUDQGILOWHUVZHUHPDGHLQ*HUPDQ\DQGWKH8QLWHG.LQJGRP

UHVSHFWLYHO\([KLELW .LUNODQG6LJQDWXUHZDWHU)LOWHU3LWFKHU3DFNDJLQJ ([KLELW

    .LUNODQG6LJQDWXUH:DWHU)LOWHU&DUWULGJH3DFNDJLQJ ([KLELW 'HFODUDWLRQRI5LFN

1LVKLMLPD 




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            ([KLELW .LUNODQG6LJQDWXUH:DWHU)LOWHU3LWFKHU3DFNDJLQJ 




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                  ([KLELW .LUNODQG6LJQDWXUH:DWHU)LOWHU&DUWULGJH3DFNDJLQJ 




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         ([KLELW .LUNODQG6LJQDWXUH:DWHU)LOWHU&DUWULGJH3DFNDJLQJ (QODUJHG9LHZ 

           7KHSDFNDJLQJIRUDQH[HPSODU\$FFXVHG0DYHD3URGXFWSXUFKDVHGRQ2FWREHU

VKRZVWKDWWKHLQIULQJLQJSURGXFWZDVPDGHLQWKH8.([KLELWDW .LUNODQG)LOWHU

&DUWULGJH3DFNDJLQJ ([KLELW 'HFODUDWLRQRI'X9RQ)OR\G 7KHIURQWRIWKHSDFNDJH

DOVRVWDWHV³)LWVLQPRVWSLWFKHUVIURP%ULWD´DQGDFNQRZOHGJHVWKDW³%ULWDLVDUHJLVWHUHG

WUDGHPDUNRI%ULWD/3ZLWKZKRP.LUNODQG6LJQDWXUHLVQRWDIILOLDWHG´ ([KLELWDW

    .LUNODQG)LOWHU&DUWULGJH3DFNDJLQJ  7KHSDFNDJLQJIRUWKH.LUNODQGZDWHUILOWHUVWDWHVWKDWLW




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ZDVFHUWLILHGXQGHUWKH16)DQG$16,LQGXVWU\VWDQGDUGV³LQD0$9($FXSSLWFKHU

V\VWHP´([KLELW .LUNODQG)LOWHU&DUWULGJH3DFNDJLQJ6LGH 

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                           ([KLELW .LUNODQG)LOWHU&DUWULGJH3DFNDJLQJ 

        7KHSDFNDJLQJIRUWKH.LUNODQGEUDQGZDWHUSLWFKHUVWDWHVWKDWLWZDVPDGHLQ

*HUPDQ\See ([KLELWDW .LUNODQG6LJQDWXUH)LOWHUHG:DWHU3LWFKHU%DFN3DFNDJLQJ 

([KLELW 'HFODUDWLRQRI'X9RQ)OR\G 




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                ([KLELW .LUNODQG6LJQDWXUH)LOWHUHG:DWHU3LWFKHU%DFN3DFNDJLQJ 




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    ([KLELW .LUNODQG6LJQDWXUH)LOWHUHG:DWHU3LWFKHU%DFN3DFNDJLQJ (QODUJHG9LHZ 

        7KHUHIRUHWKHVHH[DPSOHVVKRZWKDWWKH$FFXVHG0DYHD3URGXFWVDUHLPSRUWHG

DQGVROGDIWHULPSRUWDWLRQLQWRWKH8QLWHG6WDWHV




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        7KH$FFXVHG3URGXFWVDUHFODVVLILHGXQGHUDWOHDVWWKHIROORZLQJVXEKHDGLQJRI

WKH+DUPRQL]HG7DULII6FKHGXOHRIWKH8QLWHG6WDWHV7KHVHFODVVLILFDWLRQVDUH

H[HPSODU\LQQDWXUHDQGQRWLQWHQGHGWRUHVWULFWWKHVFRSHRIDQ\H[FOXVLRQRUGHURURWKHU

UHPHG\RUGHUHGE\WKH&RPPLVVLRQ

9,,, 7+('20(67,&,1'8675<5(/$7,1*727+(¶3$7(17

        $GRPHVWLFLQGXVWU\XQGHU6HFWLRQV D  $ DQG D  % H[LVWVLQWKH

8QLWHG6WDWHVWKURXJK%ULWD¶VHPSOR\PHQWRISODQWHTXLSPHQWODERUDQGFDSLWDOWRZDUGWKH

UHVHDUFKGHYHORSPHQWGHVLJQHQJLQHHULQJSURGXFWVXSSO\FKDLQTXDOLW\DVVXUDQFHFRQVXPHU

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     Case: 24-1098            Document: 49-1            Page: 551      Filed: 08/02/2024




                               VERIFICATION OF COMPLAINT

        I, Joel Ramirez. declare, in accordance with the provisions of Rule 201.4(c) and

21 O. l 2(a). that the following statements are true:

        I.      I am the Associate Director of Corporate Financial Planning and Analysis at

Clorox Company, and I am duly authorized by Brita LP to execute this verification of the

foregoing Complaint;

        2.      I have read the Complaint and I am aware of its contents;

        3.      To the best of my knowledge. information, and belief founded after reasonable

inquiry, the allegations and statements made in the Complaint are well-grounded in fact and are

warranted by existing law or a good-faith argument for the extension, modification, or reversal of

existing law;

        4.      The Complaint is not being presented for any improper purpose;

        5.      I declare under the penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.




Executed on December 23, 2021
                                                        Joel R~rez




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                      UNITED STATES INTERNATIONAL TRADE COMMISSION

                                                       Washington, D.C.

 In the Matter of

 CERTAIN HIGH-PERFORMANCE                                                        Inv. No. 337-TA-1294
 GRAVITY-FED WATER FILTERS AND
 PRODUCTS CONTAINING THE SAME


ORDER NO. 30:                            CONSTRUING CERTAIN TERMS OF U.S. PATENT NO.
                                         8,167,141 (MARKMAN CLAIM CONSTRUCTION)

                                                          (July 20, 2022)

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                               Table of Abbreviations
Compl.         Complaint

CMBr.          Complainant’s Initial Markman Brief

RMBr.          Respondents’ Initial Markman Brief

CSMBr.         Complainants’ Supplemental Markman Brief

RSMBr.         Respondents’ Supplemental Markman Brief

CXM            Complainant’s Markman Exhibit

RXM            Respondents’ Markman Exhibit

JXM            Joint Markman Exhibit

MHr’g Tr.      Markman Hearing Transcript




                                            ii



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I.        BACKGROUND

          On January 31, 2022, the Commission instituted this Investigation pursuant to subsection

(b) of Section 337 of the Tariff Act of 1930, as amended, to determine:

          whether there is a violation of subsection (a)(l)(B) of section 337 in the
          importation into the United States, the sale for importation, or the sale within the
          United States after importation of certain products identified in paragraph (2) by
          reason of infringement of one or more of claims 1-6, 20-21, and 23-24 of the ’141
          patent 1[.]

87 Fed. Reg. 4913 (Jan. 31, 2022).

          The Notice of Investigation (“NOI”) names as complainant: Brita LP of Neuchatel NE,

Switzerland (“Brita”). Id. The NOI names as respondents: EcoLife Technologies, Inc. of City of

Industry, CA and Qingdao Ecopure Filter Co., Lt. of Shandong Province, China (collectively,

“Aqua Crest” respondents); Kaz USA, Inc. of El Paso, TX and Helen of Troy Limited of El

Paso, TX (collectively, “PUR” respondents); Zero Technologies, LLC of Trevose, PA and

Culligan International Co. of Rosemont, IL (collectively, “ZeroWater” respondents); Vestergaard

Frandsen Inc. of Baltimore, MD (“LifeStraw”); Mavea LLC of West Linn, OR; and Brita GmbH

of Taunusstein, Germany (collectively, “Respondents,” and with Brita, the “Parties”). Id.

          Respondents Mavea LLC and Brita GmbH have been terminated from the investigation

based on a settlement agreement. 2 (See Order No. 13 (May 3, 2022), unreviewed, Comm’n

Notice, (May 24, 2022).).

          The Commission terminated the investigation as to claims 20, 21 and 24 based on the

withdrawal of the allegations pertaining to those claims. (See Order No. 19 (June 1, 2022),

unreviewed, Comm’n Notice (June 21, 2022).).


1
    The asserted patent is U.S. Patent No. 8,137,141 (“the ’141 patent”). 87 Fed. Reg. 4913.
2
  References to Respondents and/or Parties in the rest of this document do not include the terminated
respondents.


                                                      1



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       On April 14, 2022, pursuant to Order No. 7 (“Adopted Procedural Schedule”), the Parties

filed a Joint Claim Construction Chart (“JCCC”). The JCCC contains two (2) agreed upon claim

terms and five (5) disputed claim terms that the Parties asked to be construed. (Doc. ID No.

768315 (Apr. 14, 2022).).

       Additionally, each of the Parties filed a Markman Brief. (CMBr., Doc. ID No. 769841

(May 4, 2022) (Brita); RMBr., Doc. ID No. 769873 (May 4, 2022) (Respondents).).

       On May 11, 2022, Brita filed a Supplemental Markman Brief. (CSMBr., Doc. ID No.

770506 (May 11, 2022).). On May 17, 2022, Respondents filed a Supplemental Markman Brief.

(RSMBr., Doc. ID No. 771001 (May 17, 2022).).

       Pursuant to Order No. 18, a Markman hearing was held on June 2, 2022 (“Markman

Hearing”). (Order No. 18 (May 26, 2022); see also MHr’g Tr., Doc. ID No. 772677 (June 9,

2022).).

II.    THE ASSERTED PATENT AND CLAIMS AT ISSUE

       The ’141 patent is entitled “Gravity Flow Filter.” (JXM-0001 at (54).). The ’141 patent

was filed on September 9, 2008 as U.S. Patent Application No. 12/207,484 (“the ’484

application”). (Id. at (22).). The ’484 application is a continuation-in-part of U.S. Patent

Application No. 11/858,765, filed on September 20, 2007, and a continuation-in-part of U.S.

Patent Application No. 11/927,372, filed on October 29, 2007. (Id. at (63).). The ’484

application claims priority to U.S. Provisional Application No. 60/846,162, filed on September

20, 2006. (Id. at (60).). The ’141 patent issued on May 1, 2012 and names Elizabeth L.

Knipmeyer, Toni L. Lynch, Roger P. Reid and Bruce D. Saaski as co-inventors. (Id. at (45),

(75).). Brita owns by assignment all right, title and interest, in and to the ’141 patent. (See

Compl. at ¶ 62, Exs. 66-68.).




                                                  2



                                            Appx4517
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        The ’141 patent is generally directed to gravity-fed water filters comprising filter media

including activated carbon. (JXM-0001 at Abstract.). The filters have a performance

characterized by a “Filter Rate and Performance” (“FRAP”) factor of about 350 or less. (Id.; see

also id. at 12:13-28.).

III.    TERMS CONSTRUED IN THIS ORDER

        Claim terms are construed in this Order solely for the purposes of this Section 337

Investigation. Only claim terms in controversy need to be construed, and then only to the extent

necessary to resolve the controversy. Vanderlande Indus. Nederland BV v. Int’l Trade Comm.,

366 F.3d 1311, 1323 (Fed. Cir. 2004); Vivid Tech., Inc. v. Am. Sci. & Eng’g, Inc., 200 F.3d 795,

803 (Fed. Cir. 1999).

        As the Investigation proceeds, including during the evidentiary hearing (“Hearing”)

scheduled to be held August 17-19, 22-23, 2022, the Parties will be limited to the constructions

adopted in this Order. Ground Rule 1.14 states that “[t]he parties will be bound by their claim

construction positions set forth on the date they are required to submit a joint list showing each

party’s final proposed construction of the disputed claim terms and will not be permitted to alter

these absent a timely showing of good cause.” Modified or new constructions set forth for the

first time in post-hearing briefs will be considered waived unless a party agrees with the other on

a construction, thereby conceding its position.

        Similarly, it will not be appropriate for any party to seek additional claim construction

during the Hearing or merely to state that a claim term that may be implicated in an expert report

or expert testimony has either a “plain or ordinary” meaning. (See G.R. 1.14.). If any party

posits a “plain and ordinary meaning,” it must be explained with a detailed rationale. (Id.

(stating “any party … who relies on the plain and ordinary meaning of the patent language at

issue (without elaboration) may not subsequently elaborate or rely on a different proposed


                                                  3



                                           Appx4518
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construction...”). More to the point, there should not be any new, let alone previously disclosed

claim terms that have an alleged “plain and ordinary” meaning without clear explanations. Ipse

dixit arguments are not sufficient.

IV.     APPLICABLE LAW 3

        Claim construction begins with the language of the claims themselves. Claims should be

given their ordinary and customary meaning as understood by a person of ordinary skill in the

art, viewing the claim terms in the context of the entire patent. Phillips, 415 F.3d at 1312-13. In

some cases, the plain and ordinary meaning of claim language is readily apparent and claim

construction will involve little more than “the application of the widely-accepted meaning of

commonly understood words.” Id. at 1314. In other cases, claim terms have a specialized

meaning and it is necessary to determine what a person of ordinary skill in the art would have

understood disputed claim language to mean by analyzing “the words of the claims themselves,

the remainder of the specification, the prosecution history, and extrinsic evidence concerning

relevant scientific principles, as well as the meaning of technical terms, and the state of the art.”

Id. (quoting Innova/Pure Water, Inc. v. Safari Water Filtration Sys., Inc., 381 F.3d 1111, 1116

(Fed. Cir. 2004)).

        The claims themselves provide substantial guidance with regard to the meaning of

disputed claim language. Phillips, 415 F.3d at 1314. “[T]he context in which a term is used in

the asserted claim can be highly instructive.” Id. Similarly, other claims of the patent at issue,

regardless of whether they have been asserted against respondents, may show the scope and

meaning of disputed claim language. Id.


3
 The constructions of the disputed claim terms generally follow and apply the law as described above.
To the extent possible, the case law that applies to a construction is either identified explicitly, or
implicitly in adopting a party’s argument or construction.



                                                    4



                                              Appx4519
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       In cases in which the meaning of a disputed claim term in the context of the patent’s

claims is uncertain, the specification is the “single best guide to the meaning of a disputed term.”

Id. at 1321. Moreover, “[t]he construction that stays true to the claim language and most

naturally aligns with the patent’s description of the invention will be, in the end, the correct

construction.” Id. at 1316. As a general rule, however, the particular examples or embodiments

discussed in the specification are not to be read into the claims as limitations. Id. at 1323.

       The prosecution history may also explain the meaning of claim language, although “it

often lacks the clarity of the specification and thus is less useful for claim construction

purposes.” Id. at 1317. The prosecution history consists of the complete record of the patent

examination proceedings before the U.S. Patent and Trademark Office (“PTO”), including cited

prior art. Id. The prosecution history may reveal “how the inventor understood the invention

and whether the inventor limited the invention in the course of prosecution, making the claim

scope narrower than it would otherwise be.” Id.

       If the intrinsic evidence is insufficient to establish the clear meaning of a claim, a court

may resort to an examination of the extrinsic evidence. Zodiac Pool Care, Inc. v. Hoffinger

Indus., Inc., 206 F.3d 1408, 1414 (Fed. Cir. 2000). Extrinsic evidence may shed light on the

relevant art, and “consists of all evidence external to the patent and prosecution history,

including expert and inventor testimony, dictionaries, and learned treatises.” Phillips, 415 F.3d

at 1317. In evaluating expert testimony, a court should disregard any expert testimony that is

conclusory or “clearly at odds with the claim construction mandated by the claims themselves,

the written description, and the prosecution history, in other words, with the written record of the

patent.” (Id. at 1318.). Moreover, expert testimony is only of assistance if, with respect to the

disputed claim language, it identifies what the accepted meaning in the field would be to one




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skilled in the art. Symantec Corp. v. Comput. Assocs. Int’l, Inc., 522 F.3d 1279, 1289 n.3., 1290-

91 (Fed. Cir. 2008). Testimony that recites how each expert would construe the term should be

accorded little or no weight. Id. Extrinsic evidence is inherently “less reliable” than intrinsic

evidence, and “is unlikely to result in a reliable interpretation of patent claim scope unless

considered in the context of the intrinsic evidence.” Phillips, 415 F.3d at 1318-19.

        Extrinsic evidence is a last resort: “[i]n those cases where the public record

unambiguously describes the scope of the patented invention, reliance on any extrinsic evidence

is improper.” Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1583 (Fed. Cir. 1996).

V.      PERSON OF ORDINARY SKILL IN THE ART

        A.      Legal Standard

        A hypothetical person is a person of ordinary skill and “ordinary creativity.” KSR Int’l

Co. v. Teleflex, Inc., 550 U.S. 398, 420 (2007). “Factors that may be considered in determining

[the] level of ordinary skill in the art include: (1) the educational level of the inventor[s]; (2) type

of problems encountered in the art; (3) prior art solutions to the problems; (4) rapidity with

which inventions are made; (5) sophistication of the technology; and (6) educational level of

active workers in the field.” Envtl. Designs Ltd. v. Union Oil Co. of California, 713 F.2d 693,

696-97 (Fed. Cir. 1983) (citations omitted). “These factors are not exhaustive but merely a guide

to determining the level of ordinary skill in the art.” Daiichi Sankyo Co. v. Apotex, Inc., 501

F.3d 1254, 1256 (Fed. Cir. 2007).). The hypothetical person of skill is also separately presumed

to have knowledge of all the relevant prior art in the field. Custom Accessories, Inc. v. Jeffrey-

Allan Indus., Inc., 807 F.2d 693, 697 (Fed. Cir. 1983).

        B.      The Adopted Definition

        Brita proposed that as of the priority dates of the ’141 Patent, a person of ordinary skill in

the art would have had:


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       a bachelor’s degree (or equivalent) in chemical engineering, chemistry, or sanitary
       engineering (or a similar field) and either a Ph.D. (or equivalent) in chemical
       engineering, chemistry, or sanitary engineering (or a similar field) or at least three
       years of experience working with liquid filtration systems (or in a similar field);
       or (ii) at least seven years of experience working with liquid filtration systems (or
       in a similar field).

(CMBr. at 7.).

       Respondents’ Markman brief failed to propose a definition of a person of ordinary skill in

the art. However, Brita understands that Respondents’ proposed a person of ordinary skill in the

art would have had either: (1) at least a bachelor’s degree in chemical or mechanical engineering,

chemistry, biochemistry, or similar science or engineering studies with at least one year of post-

graduate or industry work experience in filtering technologies, or (2) at least five years of

industry work experience in filtering technologies. (Id. at 8.).

       The Parties’ definitions have slight differences in the subject areas of the bachelor’s

degree or the amount of work experience needed. Brita’s definition requires experience with

liquid filtration systems, while Respondents’ definition describes filtration in general, rather than

liquid filtration. A combination of the two definitions is adopted as capturing the level of skill

required of a person of ordinary skill of art, that of a combination of education and experience, or

many years of experience in the industry.

       For this Investigation, a person of ordinary skill in the art would have had:

       either: (1) at least a bachelor’s degree in chemical or mechanical engineering,
       chemistry, biochemistry, or similar science or engineering studies with at least one
       year of post-graduate or industry work experience in liquid filtration systems (or in
       a similar field), or (2) at least five years of industry work experience in liquid
       filtration systems (or in a similar field).




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        Brita’s proposed construction is adopted because it is consistent with the language of the

claim and the specification. Markman v. Westview Instruments, Inc., 52 F.3d 967, 979 (Fed. Cir.

1995), aff'd, 517 U.S. 370, 116 S. Ct. 1384, 134 L. Ed. 2d 577 (1996) (construing claims in light

of the language of the claims, specification and prosecution history). 5 Claim 1 defines the

volume of the filter media in cubic units (“V=volume of the filter media (cm3)”), and the term

“filter media” has antecedent basis in the claim at lines 3-4 where it is defined as “filter media

including at least activated carbon and a lead scavenger.” (JXM-0001 at 34:7-8, 19.). The

specification repeats the same definition of volume, and also describes “potential filter

materials,” as block filters or “granular or ‘loose media’ type filters” (13:30-34) that may

include: activated carbon (13:35-14:4), binder (14:5-15:17) and actives (15:18-47). (Id. at 12:21,

13:30-15:47.). The filter media, according to the specification, may include activated carbon,

binder and actives. Claim 1 already requires at least activated carbon and a lead scavenger,

which is a preferred type of active. (Id. at 15:39.). Therefore, in view of the language of the

claims and consistent with the specification, the plain and ordinary meaning, i.e., a quantity of

the filter media in cubic units, is adopted as the claim construction.

        Respondents’ proposed construction that includes the words “filtering media or active

media” is unhelpful. (RMBr. at 9.). The claim already requires “filter media” as proper

antecedent basis for defining the term “volume.” Respondents do not explain the significance of

“filtering” compared to “filter” media, and even use the term interchangeably. (RMBr. at 14

(describing the ’141 patent at 6:53-55 as the “largest volume of filtering media disclosed in the

’141 Patent is 300 cm3: …the volume of the filter media (V) is less than 300 cm3”) (emphasis

added).). Moreover, it is redundant to require “active media” in the proposed construction


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 The prosecution history does not illuminate the claim construction because of the first-action allowance
without discussion of the claim limitation in dispute. (See JXM-0002.0714-18.).


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because both the claim and specification already describe that the filter media includes active

media, as best understood, because the filter media includes at least “activated carbon” and a

type of “actives,” also known as “active materials.” (JXM-0001 at 13:35-40, 15:19-39.).

       Respondents argue that the term “volume” is indefinite because it is unclear what to

measure to obtain the volume of a gravity-fed filter. (RMBr. at 9-10.). Respondents explain that

claim 1 requires the filter media to include at least activated carbon and a lead scavenger, but that

it is unclear whether volumes of “foam distributors, mesh filter screens, membrane layers, non-

woven layers, or ligands” that may be present in filters should also be included in calculating the

volume. (RMBr. at 11.).

       As an initial matter, Brita contends that this is an untimely dispute because the meaning

of “filter media” was not proposed for construction. (CSMBr. at 4.). However, as ZeroWater

points out, ZeroWater argued the term was indefinite in the JCCC filed on April 14, 2022.

(RSMBr. at 5.). In addition, a volume cannot be calculated until it is known what is being

measured to obtain the volume. (Id.).

       The definiteness requirement requires that a person of ordinary skill in the art ascertain

with “reasonable certainty” the scope of the invention when viewed in light of the specification

and prosecution history. Nautilus, Inc. v. Biosig Instruments, Inc., 572 U.S. 898, 910–11 (2014).

       The ’141 patent states that the FRAP factor criteria, which include volume, are “not

limited to” mixed media or carbon blocks. (JXM-0001 at 26:30-34.). Rather, “the present

invention” includes other techniques such as “membranes, nonwovens, depth media,

nanoparticles and nanofibers, ligands, etc.” (JXM-0001 at 26:34-37.). This is further supported

by Brita’s expert who explained that “[a]s a non limiting example…the activated carbon, lead

scavengers, membranes, or other active ingredients …that serve to filter the water or to




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distribute the water” would be considered “filter media.” (CXM-0035C at ¶ 30 (emphasis

added).).

       Brita argues that “filter media” includes the “active materials, binders or other

components relevant to filtering water” without directly describing the other filtering media that

may be present, such as membranes. (CSMBr. at 4.). Respondents argue in response that Brita

provides “[n]o support … for where these ‘other components relevant to filtering water’ are

found in the ’141 Patent.” (RSMBr. at 6-7.).

       On the one hand, the ’141 patent describes “potential filter materials,” as block filters or

“granular or ‘loose media’ type filters” (13:30-34), and that these filter media include: activated

carbon (13:35-14:4), binder (14:5-15:17) and actives (15:18-7). These filter materials are not in

dispute. On the other hand, when viewed in light of the specification, the filter media is not so

limiting and includes other embodiments with other filter media:

       The FRAP factor criteria set forth herein is applicable to all embodiments of pour
       through filters including but not limited to mixed media (carbon and ion exchange
       resin), carbon blocks with any type and size of carbon and binder material with
       and without lead sorbent. Other embodiments of the present invention include
       alternate filtration techniques such as membranes, nonwovens, depth media,
       nanoparticles and nanofibers, ligands, etc.

(JXM-0001 at 26:30-37 (emphasis added).).

       Therefore, the volume, V, includes the volume of filter media, but is not limited to mixed

media volume or carbon block volume within the gravity-fed filter because the volume may also

include the volume of membranes or other features associated with filtering techniques that may

be present in the filter. Respondents have not proven with clear and convincing evidence that the

volume criterion of the FRAP formula is indefinite.

       Respondents also argue it is unclear how to measure volume. (RMBr. at 11-13.).

Respondents argue that there are different formulas or techniques that give different results, or



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that it is unclear how to measure the volume of other filter media such as mesh, pleated, sheet-

like filters, or filters with multiple elements. (Id. at 11-12.).

        As an example, the specification describes volume as the “cylindrical volume minus the

hollow space volume” compared to “mold volume for the carbon block filters.” (Id. at 11 (citing

JXM-0001 at 2:22-23, 25:34-37).). However, Respondents have not explained adequately how

these provide different values. The ’141 patent comprises carbon block filters that can be heated

and compressed to reduce the volume. One of ordinary skill would expect different volumes as

described in the specification for the two types of filters that are compressed or are not

compressed. (JXM-0001 at 24:66-25:3.).

        As another example, Respondents point to a definition “mold volume for the carbon

block filters” (JXM-0001 at 25:34-38) compared to a calculation by using CAD drawings.

(RMBr. at 11-12.). However, Brita notes that these techniques measure the same volume

because whether the calculations arrive at volume by measuring the solid media or the void

space, the end result is a volume of the filter media. (CSMBr. at 9.).

        Brita persuasively argues that the ’141 patent discusses various guidance on how to

measure volume because of different filter types, but in the context of filter design; these are not

conflicting definitions for determining volume of filter media. (CSMBr at 6-7.). Brita’s expert

explains that “[w]hether the media is loose granules, a non-woven sheet, a solid block, or some

other form, skilled artisans are able to and routinely do measure the volume…without specialized

instruction.” (CSMBr. at 7 (citing CXM-0035C ((Decl. of Dr. Regu Regunathan) at ¶ 35.).

Respondents also acknowledge that the principle of volume is readily understandable. (RMBr. at

9.).

        To rebut Respondents’ proposition that the many methodologies render the claim




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limitation indefinite, Brita cites Ethicon Endo-Surgery, Inc. v. Covidien, Inc. for the proposition

that determining a parameter by multiple methods is not sufficient to find indefiniteness.

Ethicon Endo-Surgery, Inc. v. Covidien, Inc. 796 F.3d 1312, 1319 (Fed. Cir. 2015). In Ethicon,

the use of different methods to measure a parameter provided slight variations, but Ethicon’s

witness explained that, if repeated, the average of all the measurements would be similar. Id. at

1320. The Federal Circuit explained that “natural variances in real-world testing conditions” did

not render the claim indefinite. Id. Thus, as in Ethicon, here, the volume may be calculated by

different methodologies, but the same volume is measured. Inconsequential differences in

volume, which may be due to real-world testing conditions, are not enough to render the

limitation indefinite. Respondents have not proven that the different methodologies provide a

consequential difference in volume so as to rise to clear and convincing evidence of

indefiniteness.

       Moreover, as explained above, Respondents acknowledge that volume is readily

understandable. (RMBr. at 9.). A skilled artisan is well aware of how to measure volume.

(CSMBr. at 7 (citing CXM-0035C (Regunathan Decl.) at ¶ 35.). There is no clear and

convincing evidence that calculation of volume in cubic units renders the metes and bounds of

the claim indefinite.

       As an alternative to indefiniteness, ZeroWater asserts as an alternative construction a

volume less than 400 cm3. (RMBr. at 9.). ZeroWater believes that because the specification

does not disclose filter media above 400 cm3, the inventors did not possess volumes above 400

cm3. (Id. at 13.). However, this would improperly read a limitation from an embodiment

described in the specification into the claim. Hill-Rom Services, Inc. v. Stryker Corp., 755 F.3d

1367, 1371 (Fed. Cir. 2014) (“While we read claims in view of the specification, of which they




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filtration, including obtaining lead removal results that meet the recent NSF Standard 53 for lead

in drinking water”).).

       Brita substitutes the word “validated” to the proposed construction for the claim language

that cites the word “claimed.” Brita explains that “claimed,” as in the context of claim 1, would

be interpreted in light of the NSF/ANSI 53 standard, which is also clearly incorporated by

reference into the ’141 patent with details about where the standard can be found. (CMBr. at 17;

JXM-0001 at 26:23-29.). Cook Biotech Inc. v. Acell, Inc., 460 F.3d 1365, 1376 (Fed. Cir. 2006)

(describing incorporation by reference when described clearly that the material is effectively part

of the host patent specification and the material’s location is clearly indicated; explaining

“[w]hether and to what extent material has been incorporated by reference into a host document

is a question of law”.). In making that inquiry about incorporation by reference, “the standard of

one reasonably skilled in the art should be used to determine whether the host document

describes the material to be incorporated by reference with sufficient particularity.” Zenon Env't,

Inc. v. U.S. Filter Corp., 506 F.3d 1370, 1378–79 (Fed. Cir. 2007) (citations omitted).

       The ’141 patent describes the NSF/ANSI 53 standard, where it can be located, and the

purpose of incorporating by reference to provide “FRAP performance testing” that may use the

“requirements and procedures” of the standard to calculate the lifetime as part of the FRAP

formula. (JXM-0001 at 26:22-29.). This is incorporation by reference with sufficient

particularity. Because the NSF/ANSI 53 standard is incorporated by reference, it is also intrinsic

evidence available for claim construction.

       Brita notes that the NSF/ANSI 53 standard states that a purpose of the NSF/ANSI 53

standard is to “specif[y] the minimum product literature and labeling information that a

manufacturer shall supply to authorized representatives and system owners.” (JXM-0003.0011




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(NSF/ANSI 53 – 2007) at § 1.1.).

        A person having ordinary skill in the art would be aware of the NSF/ANSI 53 standard, at

the time of the invention, for at least the reason that it is incorporated by reference into the ’141

patent, but also by being skilled in the art of water filtration. One of ordinary skill at the time of

the invention would understand that the word “claimed” in claim 1 refers to limits imposed by

the NSF/ANSI 53 standard in advertising the effectiveness of a filter. (See JXM-0003.0089 at §

8.1.2 (stating that the filter/system is provided with “rated capacity/rated service life in liters

(gallons); … Each unique model designation shall not claim a capacity or service life greater

than the least reduction capacity or service life that has been verified through testing to

NSF/ANSI 53.”).

        The NSF/ANSI 53 standard describes “verified through testing,” which encompasses the

proposed the proposed claim construction term of “validated.” (Id.). Importantly, the standard is

not required as the method of “validation” because of the permissive language used in the

specification of the ’141 patent. (JXM-0001 at 26:22 (stating that the standard “may” be used

for FRAP testing).).

        Therefore, in view of the language of the claims and consistent with the specification

describing lifetime in terms of gallons and also validated, Brita’s proposed construction is

adopted as the claim construction.

        Respondents argue that the lifetime limitation is indefinite because a method of

calculating a filter’s lifetime is not described in the ’141 patent. (RMBr. at 17.). The

definiteness requirement requires that a person of ordinary skill in the art ascertain with

“reasonable certainty” the scope of the invention when viewed in light of the specification and

prosecution history. Nautilus, 572 U.S. at 910–11. Because the NSF/ANSI 53 standard is




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incorporated by reference, the patent explains at least a default method to calculate the lifetime

as described in the NSF/ANSI 53 standard. (See JXM-0003.082 at § 7.4.3.6 (describing a

protocol test of lead reduction claims).). In addition, a person having ordinary skill in the art

would understand the NSF/ANSI 53 standard and understand the meaning of “lifetime,” and

determine a method of determining the lifetime. For example, the lifetime could use what is

described in the other language of the claim as its method of defining challenge water when the

lifetime is validated. (Id. at 34:22-24.).

       Respondents assert that there are different methods of calculating lifetime. (RMBr. at

17.). However, as discussed above, the ’141 patent incorporates the NSF/ANSI 53 standard by

reference, so a default methodology is described for a lifetime calculation. While different

methods may provide different results, the same parameter is calculated, e.g., based on the

claim’s definition of challenge water. (JXM-0001 at 34:22-24.). Respondents argue that the

“marketing” claims would provide wildly different “claims” such as a five-gallon lifetime.

(RMBr. at 17.). However, one of ordinary skill in the art, as explained above, would understand

the word “claims” in the context of the standard that limits what can be claimed on packaging

according to the methodology of the standard. Respondents have not proved that any differences

in calculations are consequential so as to provide clear and convincing evidence of

indefiniteness. Ethicon, 796 F.3d at 1319. Respondents’ reliance on Dow Chemical Co. v. Nova

Chemicals Corp. (Canada) does not apply here because the specification clearly guides, while

not required, the skilled artisan to calculate lifetime according to a standard incorporated by

reference for the purpose of FRAP performance testing. (RMBr. at 17 (citing Dow Chemical Co.

v. Nova Chemicals Corp. (Canada), 803 F.3d 620, 634-35 (Fed. Cir. 2015) (describing choosing

among different methods leading to different results without guidance from the specification).).




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        Respondents also argue that the lifetime is indefinite because it can depend on which

contaminant is filtered or the quality of the challenge water. (RMBr. at 18.). However, this is

addressed by the other language of the claim that defines the challenge water that can be used.

(JXM-0001 at 34:22-24.). Brita argues that the lifetime is based on the claimed lead reduction

performance. (CSMBr. at 15.). However, there is no reason to limit the validated lifetime to

iron when the standard describes that other heavy metals may be reduced. (See JXM-0003.077

(describing reduction of barium, cadmium, chromium, copper, mercury and selenium).).

        Respondents point out that the ’141 patent concedes that the lifetime can be challenged.

(RMBr. at 19; JXM-0001 at 26:16-17 (stating a “competitor may be able to challenge such

claims in a judicial or non-judicial process” when explaining how to define “lifetime (L)”).).

However, while lifetime could be challenged, such a challenge is not inconsistent with “claims”

to a “lifetime” that are not guided by the standard incorporated by reference.

        Because the claims are described with reasonable certainty, taken in context of the claim

and the specification as a whole, Respondents have not provided clear and convincing evidence

that the lifetime limitation is indefinite.

        Respondents also argue about the standard changing over time. (RSMBr. at 13.).

However, the standard incorporated by reference with sufficient particularity at the time the

invention was made does not change with time. In other words, the 2007 NSF/ANSI standard

does not change with time.

        Respondents argue that incorporating a standard into a claim’s scope in terms of reliance

on essential material is improper, and cite to Jetaire Aerospace, LLC v. Aersale Inc. (RSMBr. at

14.). Because a copy of Jetaire has not been provided in accordance with Ground Rule 11.2, it

has not been considered. (See Order No. 2 (Feb. 2, 2022) at G.R. 11.2).).




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       As to incorporating essential material, Respondents are correct that essential material can

only be incorporated by reference to a U.S. Patent or U.S. Patent Publication. (RSMBr. at 1-2

(citing 37 C.F.R. § 1.57(d)(2) (2007).). However, nonessential material in the form of non-

patent publications may be incorporated by reference. 37 C.F.R. § 1.57(e). While Rule 57 does

not define nonessential material, the Federal Circuit has relied on the U.S. Patent and

Trademark’s Office Manual of Patent Examining Procedure (“MPEP”) definition of

“nonessential material” as “subject matter referred to for purposes of indicating the background

of the invention or illustrating the state of the art.” Droplets, Inc. v. E*TRADE Bank, 887 F.3d

1309, 1319 (Fed. Cir. 2018) (citing MPEP § 608.01(p) I.A).). Incorporating the 2007 NSF/ANSI

53 standard apprises one of the state of the art as it applies to determining lifetime for water

filters. The ’141 patent states that the standard may be used, but does not require it when

determining the meaning of lifetime. (JXM-0001 at 26:22.). The standard is therefore

nonessential material.

       Brita’s proposed claim construction merely cites “validated” but does not explain how the

validation occurs. On the one hand, the specification guides what validation is by providing the

2007 standard because the standard explains how to calculate lifetime. On the other hand, other

methods of lifetime could be used other than that tied to the standard. Respondents argue that

time, efficacy, performance, rate, among many others, could be used to determine a filter’s

lifetime. (RMBr. at 18.). Ultimately, the claim requires a lifetime based on gallons. Moreover,

the specification together with the other language of the claim that describe challenge water

guides one of skill as to how the lifetime may be calculated with reasonable certainty. (JXM-

0001 at 26:22-29; 34:22-24).




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       Brita’s proposed construction is also consistent with the patent specification’s discussion

of the term “lead scavenger.” Lead scavengers are described as one type of “active material” or

“active” that can be used in a gravity-fed water filter. (Id. at 5:34-35, 15:18-26, 15:39-40.). The

patent specification characterizes a lead scavenger as a “[p]referred active[],” and identifies “lead

sorbents” as one example. (Id. at 15:39-40.). The ’141 patent also provides a list of

“[i]llustrative lead scavengers” and some “[p]articularly preferred lead scavengers.” (Id. at

15:40-47 (identifying, inter alia, “metal ion exchange zeolite sorbents,” “aluminosilicates,” and

“zirconia oxides and hydroxides,” which are included in Aqua Crest’s proposed construction).).

In describing one embodiment of the claimed invention, the ’141 patent explains that the lead

scavenger “remov[es] lead from water.” (Id. at 11:64-65 (emphasis added).).

       In addition, the patentee’s use of “lead scavenger” is consistent with how the term

“scavenger” is generally defined in the art. For instance, McGraw Hill’s Dictionary of Scientific

and Technical Terms (4th ed. 1989) (“McGraw Hill’s Scientific Dictionary”) defines

“scavenger” as “[a] substance added to a mixture or other system to remove or inactivate

impurities.” (CXM-0007.0005 (emphases added).). The following technical dictionaries define

the term using language similar to that used in the ’141 patent and McGraw Hill’s Scientific

Dictionary:

           x   John Wiley & Sons, Hawley’s Condensed Chemical Dictionary (14th ed. 2001)
               (CXM-0008) (defining “scavenger” in chemistry as “any substance added to a
               system or mixture to consume or inactivate traces of impurities”) (emphasis
               added);

           x   Oxford University Press, A Dictionary of Chemistry (5th ed. 2004) (CXM-0006)
               (defining “scavenger” as “[a] reagent that removes a trace component from a
               system or that removes a reactive intermediate from a reaction”) (emphases
               added); and

           x   McGraw-Hill, Grant & Hackh’s Chemical Dictionary (5th ed. 1987) (CXM-
               0009) (defining “scavenger” as “[a] purifying substance; as, metallic lithium
               which removes impurities from alloys”) (emphases added).


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        The definitions provided above consistently characterize a “scavenger” as, inter alia, a

substance or reagent that “removes,” inactivates,” or “purifies.” As Brita points out, here, the

term “scavenger” is modified by the word “lead,” which specifies what is being removed, i.e.,

lead. (CMBr. at 21.). Thus, one of ordinary skill in the art would understand the term “lead

scavenger,” as used in the ’141 patent in the context of gravity-fed water filters, to mean a

component that removes or reduces lead from water.

        Respondents are divided on the proper construction of this term. PUR, LifeStraw, and

ZeroWater assert that this term should be given its plain and ordinary meaning. (See, e.g., JCCC

at 4.). Absent a proposed definition beyond a “plain and ordinary meaning,” it is unclear

whether PUR, LifeStraw, and ZeroWater substantively dispute Brita’s proposed construction.

Nevertheless, construing this term to have its plain and ordinary meaning, without more, does

not resolve the dispute between the Parties. Accordingly, Brita’s construction, which is

consistent with the disclosures of the ’141 patent and the common understanding of a skilled

artisan for this term, is adopted. See O2 Micro Int’l Ltd. v. Beyond Innovation Tech. Co., 521

F.3d 1351, 1361 (Fed. Cir. 2008) (finding that “[a] determination that a claim term ‘needs no

construction’ or has the ‘plain and ordinary meaning’ may be inadequate when a term has more

than one ‘ordinary’ meaning or when reliance on a term’s ‘ordinary’ meaning does not resolve

the parties’ dispute”).

        Aqua Crest disagrees with Brita’s proposed construction and the other Respondents’

“plain and ordinary meaning” proposal. (See, e.g., JCCC at 4.). Aqua Crest contends that the

term “lead scavenger” should be construed to mean “metal ion exchange zeolite sorbents,

aluminosilicates, and zirconia oxides and hydroxides.” (Id.). Aqua Crest’s construction

inappropriately relies on a section of the specification that enumerates exemplary lead




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scavengers. The ’141 patent explains that: “[i]llustrative lead scavengers include metal ion

exchange zeolite sorbents such as Engelhard’s ATS™ and aluminosilicates such as Selecto

Scientific's Alusil™,” and “[p]articularly preferred lead scavengers are zirconia oxides and

hydroxides.” (JXM-0001 at 15:39-44 (emphases added).). The specification explicitly describes

the identified lead scavengers, which Aqua Crest has included in its proposed construction, as

“illustrative” and/or “particularly preferred.” (Id.; JCCC at 4.).

       In contravention of a well-settled canon of claim construction, Aqua Crest’s proposed

construction improperly seeks to limit the claims to some preferred embodiments disclosed in the

’141 patent. Phillips, 415 F.3d at 1323-1324 (cautioning against “confining the claims to

[disclosed] embodiments”); see also Kara Tech. Inc. v. Stamps.com Inc., 582 F.3d 1341, 1348

(Fed. Cir. 2009) (“The claims, not specification embodiments, define the scope of patent

protection. The patentee is entitled to the full scope of his claims, and we will not limit him to

his preferred embodiment or import a limitation from the specification into the claims.”) (citation

omitted). Moreover, there is nothing in the intrinsic evidence suggesting that the patentee

intended to limit lead scavengers to only those embodiments. Phillips, 415 F.3d at 1323-1324;

Kara Tech., 582 F.3d at 1348; see also Woods v. DeAngelo Marine Exhaust, Inc., 692 F.3d 1272,

1283 (Fed. Cir. 2012) (“The specification need not describe every embodiment of the claimed

invention, and the claims should not be confined to the disclosed embodiments—even when the

specification discloses only one embodiment . . . .”) (citations omitted); Catalina Marketing Int’l,

Inc. v. Coolsavings.com, Inc., 289 F.3d 801, 811 (Fed. Cir. 2002) (reversing district court

construction that limited “point of sale” to “consumer store” because the patent explained that a

consumer store was merely an example).




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Moreover, claim 1 explicitly recites that “average filtration unit time over lifetime L” is to be

measured in “(min/liter).” (Id. at 34:20.).

        Again, Respondents are divided on the proper construction of this term. Two (2) of the

Respondents, Aqua Crest and PUR, propose that the term “average filtration unit time over

lifetime L” be given its plain and ordinary meaning. As with the “lead scavenger” term,

construing this term to have its plain and ordinary meaning, without more, does not resolve the

dispute between the Parties. O2 Micro Int’l, 521 F.3d at 1361. Accordingly, the “plain and

ordinary meaning” is not adopted.

        The remaining two (2) Respondents, LifeStraw and ZeroWater, argue that this term is

indefinite. (RMBr. at 20.). LifeStraw and ZeroWater allege that the ’141 patent “fails to inform

those of ordinary skill in the art how to test for, measure, or calculate an ‘average filtration unit

time over lifetime L.’” (Id. (citing RXM-0020 (Decl. of Dr. Joseph Harrison) at ¶¶ 31-36).).

However, as Brita notes, the patent specification defines the “average filtration unit time over

lifetime L” as “the time it takes to filter one liter of water averaged over all filtered liters in the

defined filter.” (CSMBr. at 20 (citing JXM-0001 at 25:40-42, 28:64-29:2 (describing measuring

flow rate by filling reservoir and measuring the time it took for the water to flow through the

filter at various sample points over the lifetime)).). This disclosure provides the scope of the

claim with reasonable certainty to one of ordinary skill in the art. For example, a person of

ordinary skill would recognize from the ’141 patent that the parameter being measured is the

flow rate of water through the filter (i.e., the time it takes one liter of water to pass through the

filter) and that the variable “f” claimed by the ’141 patent is intended to be an average value.

(CXM-0035C (Regunathan Decl.) at ¶¶ 54-55.).




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        LifeStraw and ZeroWater seek to introduce uncertainty into this term by suggesting

hypothetical scenarios or variables that would “likely” affect the average filtration unit time

measurements. (RMBr. at 20-21.). LifeStraw and ZeroWater present the following 4 (four)

scenarios as examples of variables that could lead to “different” or “divergent” test results: (i)

“measuring the filtration time over a filter’s lifetime in a single consecutive session” versus

“testing designed to simulate actual use conditions, conducted intermittently over an extended

period of time”; (ii) “type and make-up of water used in the test (e.g., distilled water, dirty water,

etc.)”; (iii) “temperature of the water used in the filtration test; and (iv) “how the filter is prepped

(e.g., dry versus pre-wetted).” 6 (Id. at 21.). However, as Brita points out, each of the variables

LifeStraw and ZeroWater claim is not specified in the ’141 patent is addressed in either the ’141

patent or the intrinsic record, which includes the NSF/ANSI 53 (2007) standard. (CSMBr. at

21.).

        For example, LifeStraw and ZeroWater argue that whether all liters in a filter’s rate

lifetime are passed at once or whether there are rest periods between filtering water would

“likely” produce “dramatically different results[.]” (RMBr. at 20.). However, as the ’141 patent


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  Brita cites Vifor Fresenius Med. Care Renal Pharma Ltd. v. Lupin Atlantis Holdings SA, No. 18-390-
LPS, 2019 WL 4222673 (D. Del. Sept. 5, 2019) for the proposition that “whether or not variables are
‘likely’ to give different results is not the legal standard.” (CSMBr. at 21.). Brita states that in Vifor, “the
defendant and its expert argued that the claim was indefinite because there were different methods to
calculate a claimed parameter [i.e., iron release rate] and that the exemplary method in the patent also
lacked specificity with regard to certain variables and testing parameters.” (Id. (citing Vifor, 2019 WL
4222673 at *4.). As Brita explains, the court rejected that position and criticized the defendant’s expert
for “speak[ing] only in generalities,” and for failing “to provide evidence that the different methods . . .
would, in fact, produce different results.” (Id. (quoting Vifor, 2019 WL 4222673 at *5).). Respondents
argue that Vifor does not apply because the “average filtration unit time” calculation at issue here is
different than the “iron release rate” calculation at issue in Vifor. (RSMBr. at 17.). According to
Respondents, in Vifor, the specification of the patent “provided a specific example calculation and
identified ‘European Pharmacopeia chapter 2.9.3’ as detailing the relevant standards and procedures by
which the claimed rate was calculated.” (Id. (citing Vifor, 2019 WL 4222673 at *4).). Because the court
ultimately concluded that the record lacked clear and convincing evidence of indefiniteness based a
“battle of expert declarations,” Vifor does not support unequivocally either Brita’s proposition or
Respondents’ rebuttal position. Vifor, 2019 WL 4222673 at *5.


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explains and a skilled artisan would readily understand, the flow rate being measured is the flow

rate of water during lead reduction testing pursuant to NSF/ANSI 53. (See JXM-0001 at 23:26-

32 (describing flow rates achieved during lead removal testing pursuant to NSF/ANSI 53),

26:22-29 (“FRAP performance testing may be conducted according to the NSF/ANSI 53

protocol,” and incorporating NSF/ANSI 53 (2007)), 29:61-64 (describing evaluating flow rate

and lead reduction of filter block pursuant to NSF/ANSI 53 (2007)).). Claim 1 itself makes clear

that the filtration unit time is measured over the lifetime (L) and that lifetime in turn is based on

the lifetime utilized in lead reduction testing. (Id. at 34:20-26; see also CMBr. at 15.).

       The NSF/ANSI (2007) standard specifies that for gravity-flow type filters, addition of

water during testing is according to “the manufacturer’s recommended use pattern,” or if no

recommended pattern exists, “the systems shall be operated on the basis of four times the bed

volume per batch. The cycle shall include a rest period of 15 to 60 [seconds] between batches,

timed from the cessation of streamed flow.” (JXM-0003.0086 at ¶ 7.4.3.7.3.). Thus, a skilled

artisan would understand that the filter’s product literature should be consulted in case a use

pattern is recommended, and that testing should be conducted in accordance with that pattern.

(See e.g., CXM-0027C (ZeroWater Performance Data Sheet) (identifying a service flow rate of

2.0 gallons per day); CXM-0035C (Regunathan Decl.) at ¶ 57.). If no pattern is provided, the

NSF/ANSI 53 standard provides a default method. Thus, there is no uncertainty to one of

ordinary skill as to when water should be added when measuring the average filtration unit time.

       LifeStraw and ZeroWater also contend that the ’141 patent does not specify the

composition and type of water to be used in measuring the filtration unit time. (RMBr. at 21;

RXM-0020C (Harrison Decl.) at ¶ 33.). As Brita notes, claim 1 explicitly provides the

parameters of the water used for testing. (JXM-0001 at 34:21-24 (describing challenge water




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parameters); see also id. at 23:26-32, 26:22-29, 29:61-64 (each describing flow rate testing using

challenge water prepared according to NSF/ANSI 53).). Dr. Harrison’s suggestion that the flow

rate testing could be conducted using a different type of water than that used for lead reduction

testing is contradicted by the patent specification and contrary to the industry standard that a

skilled artisan would follow. (See CXM-0035C (Regunathan Decl.) at ¶ 58.).

          LifeStraw and ZeroWater similarly argue that different water temperatures may result in

differing flow rates. (RMBr. at 21; RXM-0020C (Harrison Decl.) at ¶ 34.). Again, this

contention fails to acknowledge the teachings disclosed in the NSF/ANSI 53 standard. (JXM-

0003.0083 at ¶ 7.4.3.5.2.3 (specifying lead reduction testing be conducted with water at 20°C

with an allowed variance of plus or minus 2.5°C); see also CXM-0035C (Regunathan Decl.) at

¶ 59.).

          Additionally, LifeStraw and ZeroWater claim that the initial filter preparation may

impact the measurement. (RMBr. at 21.). Again, a person of ordinary skill, informed by the

’141 patent and the intrinsic record, would be able to determine with reasonable certainty the

scope of the claim. NSF/ANSI 53 requires that filters be tested “after establishment of the

manufacturer’s recommended use pattern.” (JXM-0003.0086 at ¶ 7.4.3.7.3.). The standard also

requires the manufacturer to publish “conditioning procedures” with its filters. (JXM-0003.0088

at ¶ 8.1.1.). One of ordinary skill would recognize that the filter should be prepared or

conditioned in accordance with the manufacturer’s instructions. (CXM-0035C (Regunathan

Decl.) at ¶¶ 60-61.). Thus, LifeStraw and ZeroWater have failed to specifically identify any

“variables” that the intrinsic record does not address with guidance for skilled artisans.

          LifeStraw and ZeroWater also contend that this term is indefinite because there are

purportedly multiple ways to calculate the average filtration unit time over lifetime L. (RMBr. at




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21.). In support of their position, LifeStraw and ZeroWater reference the testimony of several

inventors of the ’141 patent: Mr. Bruce Saaski, Mr. Roger Reid, and Dr. Elizabeth Knipmeyer.

(Id.). With respect to Mr. Saaski, LifeStraw and ZeroWater rely upon his deposition testimony

at 136:14-20 to support their assertion that Mr. Saaski “confirmed” there are at least “two ways”

of calculating a filter’s “average filtration unit time over lifetime L (min/liter).” (Id. (citing

RXM-0008C (Saaski Dep. Tr.) at 136:14-20).). However, this testimony relates to the lifetime

(L) and not the average filtration unit time (f) and is thus inapposite.

        Q. Okay. And here we have L over lifetime, L. I guess we should clarify what L
        is.

        A. Typically L, depending upon – there are two ways of doing it. That’s the
        amount of water over the lifetime. So in this case, the lifetime is probably 300
        liters, because we don’t have a monitor on it.

(RXM-0008C (Saaski Dep. Tr.) at 136:14-20.).

        Moreover, references to Mr. Saaski’s deposition testimony at 137-140 and 175-179 are

unpersuasive and do not support LifeStraw and ZeroWater’s position that the data in Tables 2

and 3 of the ’141 patent may be calculated in a different way than the “f” in Table 5 of the ’141

patent. (RMBr. at 21.). Although Mr. Saaski appears to be comparing some of the average flow

rates shown in Tables 2 and 3 to (f) shown in Table 5, his testimony is far from an unequivocal

assertion that would support LifeStraw’s and ZeroWater’s position. Rather, his testimony is rife

with vague and confusing observations about the data contained in the Tables.

        Q. So if we take a look at Table 2, I’m just trying to do the calculations and
        figure out what’s going on because there are a lot of calculations.

        A. Yeah, they have the liters up there, so they went to 303.

        Q. Okay. So they went to 303, and then we have a lifetime average of 409. But
        in -- if you kind of look at Table 5 for PA3-5, I think if we look at the F, we have
        a 4.6; is that correct?

        A. Yeah, that’s the minutes per liter. That’s how fast it’s flowing.


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      A. Yeah. I’m just wondering. The only question I would have is Table 5
      doesn’t have the “Liters Filtered” column on top of it. So my question is are we
      looking at the same data points here? Are they averaging three liters, 76, 151,
      227, and 273, and they’re averaging something different in Table 5? That
      would be my only question is I don’t see that table -- like, these are almost like
      sample point-type things right here where we took individual samples. So my
      question would be if you took these times here and you averaged it, is that how
      you get the 409, and that basically the average wasn’t at the same sample
      points?

      Q. That’s my question too.

      A. I don’t know the answer to that, unfortunately. But that kind of -- what it
      looks like to me is that these are averages from specific sample points like at
      376, 151.

(RXM-0008C (Saaski Dep. Tr.) at 137:13-25, 139:2-21 (emphases added).).

      Q. So if we are looking at the -- some questions about the flow rate of these
      filters. So I’m looking at Table 3 and then also Table 5 where they do the FRAP
      calculations. So for Brita Granular filter, it seems like we have -- in the flow rate,
      we have 5.5 minutes per liter in Table 5 and as the average in Table 3, correct?

      A. That’s correct.

      Q. And if we look at the German Maxtra, in Table 3, we have 4 minutes and 44
      seconds. And then we have 4.9 in the F, in the Table 5; is that correct?

      A. Okay. Which one are you looking at? Which column in this table here?
      Table 3, comparing it to this here?

      Q. Yeah. I was -- well, I was looking at both of them, actually. But if you’re
      comparing it here, yeah, so we have 4.4 as an average in PB-309. It’s the -- the
      table is split?

      A. You’re looking at 4 minutes, 41 -- you’re looking at that first column?

      Q. Um-hmm.

      A. Okay. Yeah, I see that. That matches up with Table 3 in the patent there.

      Q. Does it match up with Table 5?

      A. No. And the reason why it’s probably not, again, is I think it’s the same
      thing that we had when we looked at this before. If you’re looking at this table
      here, your taking flow rates at those sample points right here. And in Table 5,


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          you don’t see that top column of liters filtered. So this may be the average of all
          those, where these are basically the flow rate at each of those sample points.
          Again, you may want to take those flow rates and average them and see if they
          correspond to this table. But I think that’s what you’re seeing is you’re
          comparing an average versus a sample point. So here, you have a flow rate
          minutes per liter in Table 3, right, but it’s not really an average flow of minutes
          per liter, where in this table, you’re looking at an average. I think that’s where the
          discrepancy is.

          Q. Okay. So we don’t -- and we don’t have the data in –

          A. Yeah, you don’t have that column because I think they averaged it for this
          table. I think if you take that, that’s what will happen.

(Id. at 175:24-177:24 (emphases added).).

          LifeStraw and ZeroWater also rely on Mr. Reid’s following testimony with respect to the

average filtration time over lifetime calculation: “Q. And then for F, it says, ‘The average

filtration unit time over lifetime L, minutes per liter.’ Do you understand how to measure the

average filtration time over lifetime? . . . A. I don’t know.” (RXM-0007C (Reid Dep. Tr.) at

94:4-11.). 7 However, LifeStraw and ZeroWater failed to mention Mr. Reid’s earlier testimony

which confirmed that he had no involvement in developing the FRAP equation recited in claim 1

of the ’141 patent. (Id. at 93:5-7.). Thus, Mr. Reid’s testimony is given little, if any, weight.

          Additionally, LifeStraw and ZeroWater point to Dr. Knipmeyer’s testimony to claim that

the measurement of filtration unit volume is indefinite. (RMBr. at 21.). During her deposition,

Dr. Knipmeyer was asked a hypothetical question about whether flow rate values would vary

between different filter/container systems. (RXM-0019C (Knipmeyer Dep. Tr.) at 141:2-

142:25.). She answered that in the context of the hypothetical, she could “imagine” that

variations were possible from one filter/container system to the next. (Id. at 142:24-25.). As




7
    Respondents incorrectly cited to RXM-0007C at 93:4-11. (RMBr. at 21.).


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Brita notes, it is not surprising that different filter systems would yield different flow rates.

(CSMBr. at 24.). Dr. Knipmeyer’s testimony is not compelling.

        Furthermore, LifeStraw and ZeroWater cite to a document from the development project

that led to the invention claimed in the ’141 patent. (RMBr. at 22 (citing RXM-0017C at

BRITALP-0024782).). Specifically, LifeStraw and ZeroWater point to two (2) flow rate

measurements, one labeled “Rig Flow Rate (min)” and one labeled “Omnipure Flow Rate

(min),” and claim that the fact that these values differ renders the term indefinite. (RMBr. at

22.). However, LifeStraw and ZeroWater did not present any evidence to demonstrate that these

values are the “average filtration unit time over lifetime L.” As Brita points out, they appear to

be single flow rate measurements taken at a single point in time after three (3) liters of water

have been passed through the filter. (CSMBr. at 25.). Accordingly, these measurements are

neither an average nor a measurement of flowrate over the entire lifetime L, as claim 1 requires.

(See RXM-0008C (Saaski Dep. Tr.) at 83:1-84:2 (distinguishing a single flow rate measurement

from an average of flow rate over the lifetime).

        LifeStraw and ZeroWater also argue that the term is indefinite because the ’141 patent

discloses testing based on “the manufacture[r]s[’] directions.” (RMBr. at 22 (citing JXM-0001

at 31:9-18).). LifeStraw and ZeroWater claim that because a manufacturer could theoretically

change its directions, a filter may “sometimes fall[] within the scope of the claims” and at “other

times . . . [may] not.” (Id.). This is pure speculation. Along similar lines, LifeStraw and

ZeroWater contend that “[d]efining the methodology on a product-by-product basis” is

problematic. To the contrary, the ’141 patent does not define methodology on a product-by-

product basis. Rather, the testing method for all products consistently involves complying with

manufacturer instructions.




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       For the reasons discussed above, LifeStraw and ZeroWater have failed to show by clear

and convincing evidence that the term is indefinite. See, e.g., Tech. Licensing Corp. v. Videotek,

Inc., 545 F.3d 1316, 1327 (Fed. Cir. 2008). Additionally, for the foregoing reasons, Brita’s

proposed construction is adopted. The term “average filtration unit time over lifetime L” is

construed to mean “[t]he average time (in minutes) that it takes to filter one liter of water over

the filter usage lifetime a component that removes or reduces lead from water.”

VII.   PROCEEDINGS GOING FORWARD

       A.      Supplementation in Response to This Order

       The Parties may not file supplemental expert reports in response to this Order. No

additional discovery will be permitted because of this Order. No re-argument of the claims

construed in this Order may occur.

       As the Parties proceed in this Investigation, they will be expected to notify Chambers of

any issues that have become moot or have been eliminated for any reason through a filing on

EDIS. The Parties’ required outlines that must identify any issues, claims, defenses, prior art,

theories, or any other content that was originally asserted or argued, should identify all issues or

contentions and claims that have been dropped or become moot for any reason.

       The Parties should redact from expert reports they intend to use during the Hearing, and

from any other documents upon which they intend to rely, any issues, claims, defenses, prior art,

theories, or any other content that has been rendered moot or disallowed as a result of this or

other Orders, or termination from this Investigation of patent claims or allegations. The Parties

must file on EDIS any expert reports or other documents upon which they intend to rely that

have been redacted for the reasons stated above, and send copies to Chambers via

McNamara337@usitc.gov.




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       B.      Streamlining the Investigation

       To the extent that this Markman Order will enable the Parties to streamline the

Investigation, the Parties are encouraged to resolve promptly each issue in this Investigation for

which there is no reasonable dispute or little, or weak, evidentiary support.

       C.      Settlement

       It is strongly recommended that the Parties take informal opportunities to engage in

settlement.

VIII. CONCLUSION

       Constructions of the disputed claim terms are hereby adopted by this Order.

       Within fourteen (14) business days of the date of this document, each party shall submit

to the Office of the Administrative Law Judges through McNamara337@usitc.gov a statement

whether it seeks to have any confidential portion of this document. That is the courtesy copy

pursuant to Ground Rule 1.3.2. Any party seeking redactions to the public version must submit

to this office through McNamara337@usitc.gov a copy of a proposed public version of this

document pursuant to Ground Rule 1.10 with yellow highlighting clearly indicating any portion

asserted to contain confidential business information.

SO ORDERED.




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                UNITED STATES INTERNATIONAL TRADE COMMISSION

                                          Washington, D.C.


    In the Matter of
                                                                          Inv. No. 337-TA-1294
    CERTAIN HIGH-PERFORMANCE
    GRAVITY-FED WATER FILTERS AND
    PRODUCTS CONTAINING THE SAME


ORDER NO. 33:                   DENYING-IN-PART AND GRANTING-IN-PART
                                RESPONDENTS’ MOTION TO STRIKE UNDISCLOSED
                                CONCEPTION AND REDUCTION TO PRACTICE
                                THEORIES IN DR. BENNY FREEMAN’S EXPERT
                                REPORT [MOTION DOCKET NO. 1294-015]

                                            (August 2, 2022)

I. INTRODUCTION

         On June 9, 2022, Respondents Kaz USA, Inc. and Helen of Troy Limited (collectively,

“PUR”), Respondents Zero Technologies, LLC and Culligan International Co. (collectively,

“ZeroWater”), Respondent Vestergaard Frandsen Inc. d/b/a LifeStraw (“LifeStraw”), and

Respondents EcoLife Technologies, Inc. and Qingdao Ecopure Filter Co., Ltd. (collectively,

“Aqua Crest Respondents,” and collectively “Respondents”) filed a motion (“Motion”) 1 and

accompanying memorandum in support of the Motion (“Memorandum”) to strike paragraphs 7,

44, 49-50, 52-219 and 296 of the expert report of Dr. Benny D. Freeman, who is the expert

witness for Complainant Brita LP (“Brita,” and with Respondents, the “Parties.”). 2 (Motion



1
 The Motion was filed pursuant to leave granted during the June 2, 2022 case management conference.
(Doc. ID No. 772676 (June 2, 2022) at 21:24-22:18.).
2
  In accordance with Ground Rule 2.2, Respondents certify that the Parties met and conferred in order to
resolve the issues in their Motion at least two (2) days before the Respondents filed their Motion. (Mot.
at 3.). Respondents reported that Brita opposed the Motion. (Id.).



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Docket No. 1294-015 (June 9, 2022); Mot. at 1, Ex. 5 (May 24, 2022) (Freeman Rep.)).

Respondents also request a shortened response time of June 16, 2022. (Mot. at 3.). On June 10,

2022, Order Number 24 granted the request for a shortened response time. (Order No. 24 (June

10, 2022).).

       Respondents argue that paragraphs 7, 44, 49-50, 52-219 and 296 of Dr. Freeman’s report

present “five brand new reduction to practice dates as well as an entirely new theory on priority.”

(Mot. at 1.). The five (5) allegedly new reduction to practice dates are May 17, 2022, June 22,

2066, June 28, 2006, July 14, 2006, and July 25, 2006. (Id. at 2.). These alleged new dates

correspond to reduction of practice of 35 filters, also allegedly newly identified by Brita only in

the voluminous documents that Brita provided to Respondents, but some of which were not

specifically disclosed in Brita’s contentions. (Id., Mem. at 1.). Respondents also allege that

Brita raised a new theory about a “genus” of water filters in Dr. Freeman’s report. (Mot. at 1.).

       Respondents claim that the allegedly new reduction to practice dates and new “genus”

theory were not disclosed in the “Brita LP’s Notice of Patent Priority Dates/Dates of

Conception” (“Notice of Priority Dates”) or contention interrogatory responses relating to

priority. (Mot. at 2; Doc. ID No. 764240 (Notice of Priority Dates) (Mar. 1, 2022).).

Respondents deposed inventors Bruce Saaski and Roger Reid on April 13-14, 2022. (Mem. at

5.). Only after that, on April 27, 2022, Brita disclosed an allegedly new June 7, 2006 reduction

to practice date in a third supplemental response to Interrogatory No. 20 (“Third Supplemental

Response.”) (Id. at 5; Mot., Ex. 1 at 4 (“Complainant Brita LP’s Fourth Supplemental Objection

and Response to Respondents Kaz USA, Inc., Helen of Troy Limited, Zero Technologies, LLC,

Culligan International Co., and Vestergaard Frandsen Inc’s First Set of Interrogatories (No.

20)”).). However, as noted below, Respondents had opportunities to question other key



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witnesses on the issues on which they say they have been prejudiced. On April 29, 2022 and

May 3, 2022, Respondents conducted depositions of Toni Lynch and Elizabeth Knipmeyer.

(Id.). Nine (9) days after the Third Supplemental Response was filed, fact discovery ended on

May 6, 2022. (Id.).

       Brita’s Third Supplemental Response states the “claimed invention was conceived and

reduced to practice in connection with Project Carbonado, which was a technology discovery

project that began in 2006.” (Third Supplemental Response at 4.). Brita states that the invention

was conceived by May 16, 2006 and that the invention was reduced to practice by at least June 7,

2006. (Id. at 4-5). The Third Supplemental Response cites to the deposition testimony of Bruce

Saaski on April 13, 2022, deposition testimony of Roger Reid on April 14, 2022, deposition

testimony of Brent Simmons on April 15, 202, and to documents drafted by Toni Lynch and

Elizabeth Knipmeyer. (Id.).

       Respondents assert that they have suffered prejudice by not being able to explore

meaningfully the basis for Brita’s theories and positions during the fact discovery period. (Id. at

9-10.). Respondents contend that the allegedly new theories and positions should have been

addressed during document discovery and depositions, and that Brita could have fully addressed

them in responsive contentions if they had been disclosed earlier. (Id.).

       More specifically, Respondents assert that they have been prejudiced because: (i) the new

genus theory was not disclosed in Brita’s contention responses, (ii) the June 7, 2006 reduction to

practice date in the Third Supplemental Response was provided after the depositions of two of

the inventors, (iii) the five allegedly new reduction to practice dates in Dr. Freeman’s report were

provided after the depositions of all inventors, (iv) Brita produced 2,000 lab notebook pages, but

the identity of the thirty-five filters in Dr. Freeman’s report were not identified, and (v) even if



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the depositions covered some of the thirty-five filters, Respondents were not able to tie them to

the new reduction to practice dates. (Id. at 10.).

         Because of Brita’s allegedly “new conception and reduction to practice theories” that

Respondents claim Brita did not disclose timely as required by the Ground Rules and Adopted

Procedural Schedule, Respondents have moved to strike the identified paragraphs described

above from Dr. Freeman’s expert report. (Id. at 6.).

       On June 16, 2022, Brita filed its opposition (“Opposition”) to Respondents’ Motion.

(Doc. ID No. 773337 (June 16, 2022.). Brita asserts that Respondents were given notice on

March 1, 2022, by the statement in the Notice of Priority Dates that inventions in U.S. Patent No.

8,167,141 (“the ’141 patent”), the lone patent at issue, were conceived by May 16, 2006 and

“diligently reduced to practice at least before September 20, 2006.” (Opp’n. at 1; Notice of

Priority Dates at 1).

       Brita argues that Respondents conducted discovery of all four (4) inventors and two (2)

corporate representatives with knowledge of the May 16 – September 20, 2006, time period for

conception and reduction to practice since early March 2002. (Opp’n. at 1.).

       Brita contends that they provided sufficient and timely interrogatory responses. (Id. at 7-

8.). On March 8, 2022, Brita: (i) incorporated the Notice of Priority Dates into Interrogatory

Nos. 19 and 20, and (ii) cited “several supporting documents, including lab notebook No. 8782

of inventor Elizabeth Knipmeyer (BRITALP-0024701–897) (‘Notebook No. 8782’), which

included her work from May 2006 through December 2006.” (Id. at 3 (citing Ex. A at 10-12

(First Supplemental Response to Interrogatories) (stating “information responsive to

Interrogatory No. 19 can be derived from the following Bates-numbered documents: BRITALP-

0000001 – BRITALP-0000050; BRITALP-0002889 – BRITALP-0002936; BRITALP-0002937



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– BRITALP-0002986; BRITALP-0003467; BRITALP-0003470 – BRITALP-0003471;

BRITALP-0004572 – BRITALP-0005225; BRITALP-0005226 – BRITALP-0005464;

BRITALP-0005465 – BRITALP-0005545; BRITALP-0024701 – BRITALP-0024897; and

BRITALP-0024898 – BRITALP-0025101”).).

       As Brita notes, on April 1, 2022, Brita supplemented interrogatory responses to state: (i)

“[c]onception occurred by May 16, 2006” and cited by Bates-number to a “Candle Gravity Block

Initial Plan” document drafted by Elizabeth Knipmeyer, (ii) “testing and prototyping of carbon

blocks … began at least by May 2006” and that inventors Bruce Saaski and Roger Reid

manufactured several embodiment filters, (iii) testing of those embodiment filters between June

7, 2006 and September 6, 2006 and as reflected “in multiple notebook entries kept by Toni

Lynch and Elizabeth Knipmeyer” with citation by Bates number, (iv) citing to memoranda by

Elizabeth Knipmeyer to show summaries of experiments, observations and conclusions by the

inventors, (v) disclosing some embodiments in U.S. Application Nos. 60/846,162; 11/858,765;

11/927,372; 12/207,284; and (vi) citing to a memorandum dated September 18, 2006 by

Elizabeth Knipmeyer specifying the Filter Rate and Performance Factor formula. (Id. (citing to

Ex. B (Second Supplemental Response to Interrogatory No. 20) at 38-39 (Apr. 1, 2022)).).

       On April 27, 2022, Brita filed the Third Supplemental Response with the June 7, 2006

reduction to practice date. (Id. at 4 (citing Mot., Ex. 1 at 5).). Brita states that Dr. Knipmeyer

was deposed on May 3, 2022. Brita also notes that Respondents questioned Dr. Knipmeyer

about her Notebook No. 8782 and filter development in 2006. (Id. (citing Ex. C (Knipmeyer

Dep. Tr.) 291:2-9, 300:5-310:2).). Brita states that Respondents asked Mr. Saaski on April 13,

2022, and Mr. Reid on April l4, 2022, about conception and reduction to practice of certain filter

embodiments. (Id. (citing to Ex. D (Saaski Tr.) at 94:8-102:4 (asking about testing of different



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filter shapes), Ex. E (Reid Tr.) at 45:1-15, 48:8-18, 64:5-65:1, 66:23-68:13 (querying the time

frame for when Carbonado first started).). Additionally, on April 15, 2022, Respondents

questioned Mr. Brent Simmons who corroborated the June 7, 2006 date for the “G-Force”

product water filter. (Id. (citing to Ex.F (Simmons Tr.) at 118:3-120:17).).

       Brita argues that Dr. Freeman’s expert report is:

       based on invention records Brita disclosed in its interrogatory responses and
       identified as containing evidence of the embodiments made and tested by the
       inventors. Central to Dr. Freeman’s analysis is Laboratory Notebook No. 8782
       (BRITALP-0024701-897), which was produced to Respondents on March 7, was
       first identified by bates number in Brita’s March 8 interrogatory responses, see
       Ex. A at 11-12, and was the subject of questioning during Dr. Knipmeyer’s
       deposition.

(Id. at 5.). Brita identifies in its Opposition the five (5) allegedly new reduction to practice dates

and the September 19, 2006 reduction to practice date and how the dates are linked to the thirty-

five filters in Dr. Freeman’s report, Notebook No. 8782, questioning during deposition of Dr.

Knipmeyer, an Excel file produced on March 22, 2006, U.S. Patent Application number and/or

interrogatory responses. (Id. at 5-7.). Brita argues that the above described evidence were all

produced and identified during fact discovery. (Id. at 7.).

       Brita argues that Respondents have attempted to change Ground Rule 4 requirements and

ITC precedent concerning contentions. (Id. (citing Certain UV Curable Coatings for Optical

Fibers, Inv. No. 337-TA-1031, Order No. 23 at 5 (“Contentions are meant to provide a forum for

litigation of the substantive issues; they are merely designed to streamline the discovery

process.”).). Brita argues that Dr. Freeman’s report analyzes the evidence, but “does not provide

new theories or rely on unproduced evidence” in his report. (Opp’n. at 7 (citing Certain Digital

Cameras, Software, and Components Thereof, Inv. No. 337-TA-1059, Order No 43 at 5 (Jan. 29,

2018) (denying striking of portions of expert reports where “Complainants’ experts appear to



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explicate and explain with more detail the positions or information that Complainants had

provided and for which Respondents had notice.”)). Brita argues that the allegedly new

reduction to practice dates (a range of May 17, 2006 through September 19, 2006) all fall within

the timeline first stated in the Notice of Priority Dates, that of May 16, 2006 through September

20, 2006. (Opp’n. at 8.).

        With respect to the allegedly new genus theory, Brita argues that Respondents have

acknowledged that the ’141 patent covers “any gravity-fed water filter that complies with the

applicable NSF standard.” (Id. at 1 (citing to Doc. ID No. 763725 (Feb. 22, 2022) (Zero

Respondents’ Response to Complaint)).). Brita argues that the Complaint uses the term “class”

when it states that the ’141 patent had “discovered and developed a new class of gravity-fed

water filters.” (Opp’n. at 2 (citing to Complaint at ¶ 56).).

II.    DISCUSSION AND ORDER

       Brita has the stronger arguments. Brita has maintained the same conception date of May

16, 2006 since its filing of the Notice of Priority Dates on March 1, 2022. (Doc. ID No. 764240

at 1.). Because date the invention was conceived has not changed, Respondents were at all times

during this Investigation on notice of the May 16, 2006 date.

       Additionally, Brita’s Notice of Priority Dates also includes the phrase that the “inventions

claimed… were … diligently reduced to practice at least before September 20, 2006.” (Notice of

Priority Dates at 1.). The alleged new actual reduction-to-practice dates, i.e. May 17, 2022, June

22, 2066, June 28, 2006, July 14, 2006, and July 25, 2006, in Dr. Freeman’s expert report all fall

within the date range provided in the Notice of Priority Dates, that is, between May 16, 2006 and

September 20, 2006. (Notice of Priority Dates at 1; Mot., Ex.5 (Freeman Rep.) at ¶ 7).




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                                            Appx5388
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        In this instance, Respondents have suffered no prejudice. Narrowing the time frame of

May 16, 2006 and September 20, 2006, as Respondents claim Brita has done, does not change

the date of conception as a starting point for the time frame and the basis for which prior art must

be found. When an invention has been conceived, prior invention also requires a search for

diligence in reduction to practice. See Fox Grp., Inc. v. Cree, Inc., 700 F.3d 1300, 1304 (Fed.

Cir. 2012) (explaining “invention thereof by the applicant” in section 102(g) is determined

based, among other things, on conception and reduction to practice). However, Respondents

have at all times known of May 16, 2006 as a date of conception, and that naturally follows with

evidence proving diligence in reduction to practice. Respondents did not object to the Notice of

Priority Dates that clearly stated the time frame at hand. 3

        Respondents argue that full discovery was not possible without knowledge of the exact

dates. However, that argument lacks some merit. Although Brita narrowed the time frame for

its priority dates, Respondents were on notice to conduct full discovery as to diligence in

reduction to practice following the date the invention was conceived, which included all of the

allegedly new reduction to practice dates.

        As Brita points out, contention interrogatories streamline the discovery process, but “are

not meant to provide a forum for litigation of the substantive issues.” (Opp’n. at 7 (citing

Certain UV Curable Coatings, Order No. 23 at 5 (citing Certain Set-Top Boxes, and Hardware

and Software Components Thereof, Inv. No. 337-TA-761, Order No. 27 (Nov. 21, 2011) at 2



3
  Respondent Kaz USA, Inc. filed in the U.S. Patent and Trademark Office a petition to institute an inter
partes review of the ’141 patent in 2016 in which granting priority dates of related applications were at
issue. Kaz USA, Inc. v. Brita LP, No. IPR2016-01893, 2017 WL 1215793, at *6 (P.T.A.B. Mar. 31,
2017). Kaz, therefore, was aware of the issue surrounding the alleged priority dates in 2017. Kaz
presumably informed the remaining Respondents in this Investigation about the priority date/reduction to
practice issue and certainly had an opportunity to do so. Consequently, this raises another question about
the lack of merit to Respondents’ claims of lack of knowledge or prejudice.


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(finding sufficient disclosures in Complaint and interrogatory responses to put party on notice

with respect to contentions and the obligation to discover or compel more information)).). Thus,

although Brita did not individually identify all 35 filters in their contention interrogatories, all of

the evidence was provided to Respondents, as explained more fully below.

        As early as March 8, 2022, Brita provided Respondents with evidence, cited by Bates

number, that included inventor Dr. Knipmeyer’s laboratory notebook No. 8782, BRITALP-

0024701–897 (“Notebook No.8782”). (Opp’n. at 3 (citing Ex. A at 10-12 (First Supplemental

Response to Interrogatories).). While the details of the notebook were not explained in the First

Supplemental Interrogatory Response, the evidence itself was produced.

        To the extent Respondents did not appreciate the significance of Brita’s first identified

conception-reduction-to-practice, May 16, 2006 – September 20, 2006 time frame,

Respondents’ interest should have piqued on April 27, 2022, when they were provided with a

June 7, 2006 actual reduction-to-practice date. (Mem. at 4 (citing Ex. 1 at 4-6) (stating the

“invention was reduced to practice at least by June 7, 2006” with citations to evidence as part of

the Third Supplemental Response to Interrogatory No. 20).). Having received the June 7, 2006

date with time remaining in fact discovery and prior to the May 3, 2022 deposition of Dr.

Elizabeth Knipmeyer, co-inventor of the ’141 patent and Brita’s corporate designee on

conception and reduction to practice, Respondents had adequate notice to use Dr. Knipmeyer’s

deposition to explore the potentially different conception and reduction to practice dates that

Brita asserted. (Opp’n. at 4 (stating Dr. Knipmeyer as corporate designee).).

        Respondents had sufficient notice of the time frame in which to participate in discovery

when Brita filed its Notice of Priority Date and the contention responses provided the evidence.

        Respondents argue that Brita had the obligation to identify the 35 filters that form the



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                                             Appx5390
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basis of the allegedly new reduction to practice dates. (Mem. at 7.). Respondents cite to Certain

Two-Way Radio Equipment and Systems for the requirement that Complainant should know the

exact date of conception and reduction to practice before it files its Ground Rule 4 Notice.

Certain Two-Way Radio Equipment and Systems, Related Software and Components Thereof,

Inv. No. 337-TA-1053, Order No. 34 (Jan. 16, 2018) at 6. Ground Rule 4 also requires that.

        While it may be unusual to allow so many dates for reduction to practice in the Notice of

Priority Dates where Ground Rule 4 requires one for each asserted patent, or if applicable

because of differences in priority dates, for each asserted patent claim, under the facts of this

Investigation, Brita initially provided one conception date and has not changed that date. 4 Brita

provided five (5) new reduction to practice dates within the initial Notice of Patent Priority Dates

of “prior to September 20, 2006.” Respondents were placed on notice of the May 16, 2006 –

September 20, 2006 time frame in keeping with the purpose of Ground Rule 4. 5 (Order No.7,

G.R. 4 at n.21 (explaining the “purpose of this notice in light of the expeditious nature of these

proceedings is to help delineate the boundaries of the search for prior art.”).



4
  Ground Rule 4 states:
         Complainant(s) must file on or before the date set in the procedural schedule, a notice
         setting forth the alleged priority date21 for each asserted patent, and if applicable because
         of differences in priority dates, for each asserted patent claim. Such notice will be binding
         on Complainant(s) and may not be amended absent a timely written motion showing
         good cause.
(Order No. 7, Att. A at G.R. 4 (Feb. 2, 2022).). Footnote 21 to the term “alleged prior date” states:
         This disclosure should make clear what date(s) Complainant(s) intend to rely on for
         asserting priority of invention, if at all, as Complainant(s) are presumed to be in
         possession of dates of conception and reduction to practice for the asserted patent
         claim(s). Likewise, if Complainant(s) intend to rely on an earlier related or foreign
         application to the asserted patent claim(s), the priority disclosure should also make this
         clear. The purpose of this notice in light of the expeditious nature of these proceedings is
         to help delineate the boundaries of the search for prior art.
(Id. at n. 21.).
5
 Respondents did not object to the many reduction to practice dates that were contained in the Notice of
Priority Dates that Brita filed on March 1, 2022.


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       However, Brita has failed to explain why it did not identify the 35 filters explicitly.

Brita certainly should have been aware of the contents of Dr. Knipmeyer’s notebooks, plus the

contents of the Bates numbered documents that Brita produced to Respondents. Respondents

contend that Brita’s production of 2,000 pages of Dr. Knipmeyer’s lab notebook pages was too

large for them to question meaningfully the inventors about the notebooks or their how their

notebooks relate to the filters. (Mem. at 10.).

       Dr. Freeman identified 35 filters on May 22, 2022, in his expert report. (Mot., Ex. 5.).

The 35 filters encompass filters with six prefixes (13, 15, FA, FT, PA, PT): the Formula 13

filters (pages 18-22), Formula 14 filters (pages 23-25), Formula FA filters (Pages 25- 30, 31-32),

Formula FT filters (pages 30-31, 32-33), Formula PA filters (pages 33-41, 44-45), and Formula

PT filters (pages 37, 39, 41, 45), which appear to be related filters of six (6) different types.

(Mot., Ex. 5 at 18-45.).

       While the Parties do not state how many other types of filters are in Dr. Knipmeyer’s

notebook pages, Brita argues that “[c]entral to Dr. Freeman’s analysis is Laboratory Notebook

No. 8782 (BRITALP-0024701–897)” that was produced to Respondents early in discovery on

March 7, 2022. (Opp’n. at 5.). In other words, rather than specifically identify the 35 filters,

Brita provided a large range of Bates-numbered documents. (Opp’n., Ex. A at 11-12.).

Moreover, Respondents questioned Dr. Knipmeyer about her 2006 laboratory notebook during

her deposition on May 3, 2022 with respect to testing against multiple conditions of lead and

variability in filter testing in general. (See Opp’n. at 5 (citing Knipmeyer Deposition, Ex. C,

Dep. Tr. 291:2–9; 300:5–310:2.).

       While the Parties, including Respondents, asked Dr. Knipmeyer about testing in general,

as referenced in the citations to Dr. Knipmeyer’s deposition, cited above, Respondents had the



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evidence that pointed to the 35 filters. Brita notes specifically that Respondents questioned Dr.

Knipmeyer on the Formula 13 filters and that therefore Respondents were aware of the evidence

and had the opportunity to question Dr. Knipmeyer on all of the filters in her notebook, or ask

her which filters were salient. (Id. at 5.). However, it appears that Respondents’ questioning

was general and Respondents did not inquire about information related to reduction to practice of

the Formula 13 filters. (Id. (citing Ex. C (Knipmeyer Tr.) at 300:14-25.). Dr. Freeman’s expert

report describes testing of water filters PA3-5, PA3-8, PT3-4, and PT3-6 (¶ 197) that came from

Dr. Knipmeyer’s notebooks. There is additional evidence that Brita made available to

Respondents. Brita’s Response to Respondents’ Interrogatory No. 20 also describes Bates-

numbered documents, not the individual filters themselves, but does cite to the filters in U.S.

Application number 12/207,284 at Table 5. (Opp’n, Ex. G at 19.).

             Figure 1. Chart explaining basis for Dr. Freeman’s Expert Report




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(Id. excerpt (highlighting in Ex. G).).

       As reflected in part from Exhibit G shown above, Brita produced documents to

Respondents with some degree of particularity, for example, some filters were identified.

However, overall, large numbers of documents were cited by Bates number.

       In short, Respondents had Dr. Knipmeyer’s laboratory notebook and they questioned her

during her May 3, 2022 deposition about its contents. Respondents were, thus, able to ask her

about conception and reduction to practice as of May 19, 2006. Respondents were on sufficient

notice to ask about filters at issue during the relevant time frame.

       In similar circumstances, a motion to strike was denied where the “expert appears to

explicate and explain with more detail the positions or information that Complainants had

provided and for which Respondents had notice.” Certain Digital Cameras, Software, and

Components Thereof, Inv. No. 337-TA-1059, Order No. 43 at 5 (Apr. 5, 2018). The same

situation applies here. Brita provided evidence and notice of the relevant patent dates, and Dr.

Freeman analyzed that evidence in the expert report. Dr. Freeman appears to explicate and

explain with more detail the information that Brita had provided and for which Respondents had

notice. Dr. Freeman’s analysis of reduction to practice dates is appropriate.

       However, in contrast to Brita’s argument about the priority dates and filters,

Respondents’ argument that Brita provided them with a new “genus” theory is persuasive.

Respondents state that “genus” does not appear in any contention responses. Although the term

“class” that Brita used in the Complaint at ¶ 56 has similar meaning to term “genus” that Dr.

Freeman used in his expert report, as Respondents point out, “genus” is “a specific term of art in

patent law that would put Respondents on notice of Brita’s priority argument, if it had been

made.” (Mem. at 2, 8.). Respondents are persuasive in that a theory relying on genus-species is



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           Case: 24-1098         Document: 49-1 Page: 603               Filed: 08/02/2024
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specific to patent law. Brita’s use of the word “class” in the Complaint is not sufficient basis to

claim a genus/species theory. Rather than being mere “form over substance” as Brita argued, the

term has a specific meaning in patent law. Therefore, the genus/species theory is stricken from

Dr. Freeman’s report.

          For the foregoing reasons, Respondents have not been prejudiced by Brita’s serial

disclosures of conception and priority dates that fell within the same time frame as Brita’s first

described conception and reduction to practice dates of May 16, 2006 and September 20, 2006.

That Respondents apparently failed to appreciate the significance of the evidence presented to

them is not sufficient to deny evidence contained in Dr. Freeman’s report because the evidence

was presented in during fact discovery and prior to deposition of Brita’s corporate designee on

conception and reduction to practice dates.

          Finally, a question must be raised as to why Respondents did not ask to file a motion to

compel, or raise the issue of Brita’s production of evidence and the content of the evidence

much sooner that the filing of the Motion at issue. However, as explained above, Respondents

knew at close to the start of discovery the time frame of priority dates that Brita alleged.

          Accordingly, the allegedly new reduction to practice dates of May 17, 2022, June 22,

2006, June 28, 2006, July 14, 2006, and July 25, 2006 may remain in Dr. Freeman’s expert

report and are not stricken. However, the genus/species theory is stricken from Dr. Freeman’s

report.

          Therefore, consistent with maintaining the reduction to practice dates but striking of a

genus theory from Dr. Freeman’s expert report, the Motion, Motion Docket No. 1294-015, is

hereby denied-in-part and granted-in-part.




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       Within fourteen (14) business days of the date of this document, each party shall submit

to the Office of the Administrative Law Judges through McNamara337@usitc.gov a statement

whether it seeks to have any confidential portion of this document. That is the courtesy copy

pursuant to Ground Rule 1.3.2. Any party seeking redactions to the public version must submit

to this office through McNamara337@usitc.gov a copy of a proposed public version of this

document pursuant to Ground Rule 1.10 with yellow highlighting clearly indicating any portion

asserted to contain confidential business information.

SO ORDERED.




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                                          Appx5396
                    Case: 24-1098           Document: 49-1        Page: 605         Filed: 08/02/2024
Certain High-Performance Gravity-Fed Water Filters and Products Containing the Same;
                                                                                                          337-1294 Violation
Inv. No. 337-TA-1294 (Violation)

                                                CERTIFICATE OF SERVICE




        I, Lisa R. Barton, hereby certify that the attached document has been served via EDIS upon the Commission
        OUII Investigative Attorney and the following parties as indicated, upon the date listed below.




        Document     Security           Document Type Official Rec'd Date       Title
        779000       Public             Order           08/30/2022 09:46 AM     Denying-in-Part and Granting-in-
                                                                                Part Respondents’ Motion to Strike
                                                                                Undisclosed Conception and Red...




        Service Date:         August 30, 2022




                                                                                         /s/
                                                                        Katherine M. Hiner
                                                                        U.S. International Trade Commission
                                                                        500 E Street, S.W.
                                                                        Suite 112
                                                                        Washington, D.C. 20436




Service Date:      August 30, 2022                                    PDF Generated on:        August 30, 2022


                                                       Appx5397
                       Case: 24-1098       Document: 49-1        Page: 606
Certain High-Performance Gravity-Fed Water Filters and Products Containing the Same;
                                                                                    Filed: 08/02/2024
                                                                                                          337-1294 Violation
Inv. No. 337-TA-1294 (Violation)

                                                CERTIFICATE OF SERVICE




On behalf of Complainant Brita LP:                            On behalf of Respondent Ecolife Technologies,
                                                              Inc.;Qingdao Ecopure Filter Co., Ltd d/b/a WaterdropDirect:
Paul A. Ainsworth, Lead Representative
Sterne, Kessler, Goldstein & Fox                              Todd Tucker, Lead Representative
1100 New York Avenue NW                                       Calfee, Halter & Griswold LLP

Washington, District of Columbia 20005, United States         1405 East Sixth Street
2023712600 -- voice                                           Cleveland, Ohio 44114, United States
202-371-2540 -- fax                                           216-622-8231 -- voice
painsworth@skgf.com                                           ttucker@calfee.com
Electronic Service                                            Electronic Service

On behalf of Respondent Helen of Troy Limited;Kaz USA:        On behalf of Respondent Vestergaard Frandsen Inc.:


Adam D. Swain, Lead Representative                            Jeffrey R. Gargano, Lead Representative
Alston & Bird LLP                                             K&L Gates LLP
950 F St. NW                                                  70 W. Madison St., Suite 3100
Washington, District of Columbia 20004, United States         Chicago, Illinois 60602, United States
202-239-3622 -- voice                                         13123721121 -- voice
adam.swain@alston.com                                         312-827-8000 -- fax
Electronic Service                                            jeffrey.gargano@klgates.com
                                                              Electronic Service
On behalf of Respondent Culligan International Co.;Zero
Technologies, LLC:

Jared Brandyberry, Lead Representative
Baker and Hostetler
1801 California St.
Suite 4400
Denver, Colorado 80212, United States
3037644072 -- voice
202-861-1783 -- fax
jbrandyberry@bakerlaw.com
Electronic Service




Service Date:         August 30, 2022                                 PDF Generated on:         August 30, 2022


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       Case: 24-1098        Document: 49-1   Page: 607     Filed: 08/02/2024


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                   UNITED STATES INTERNATIONAL TRADE COMMISSION
                                    Washington, D.C.


In the Matter of

CERTAIN HIGH-PERFORMANCE                       Investigation No. 337-TA-1294
GRAVITY-FED WATER FILTERS AND
PRODUCTS CONTAINING THE SAME



                       RESPONDENTS’ PETITION FOR REVIEW OF
                         THE FINAL INITIAL DETERMINATION




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Art filter where contemporaneous testing data is available, it amounts to a rudimentary mathematical

exercise. It is undisputed that the ZeroWater Prior Art filter was a gravity fed filter, containing activated

carbon and a lead scavenger, that fit in a system with a source and filtered water reservoir (i.e., the J-20

system). Therefore, the anticipation analysis comes down to whether the contemporaneous testing data

shows a FRAP or 350 or less (i.e., claim 1) or 200 or less (i.e., claim 2). This type of mathematical exercise

does not require expert testimony. Thus, even if Mr. Herman’s testimony is not considered, the ZeroWater

Prior Art filter can still be found to anticipate the Asserted Claims.

        Federal Circuit precedent makes clear that expert testimony is not required when the anticipation

analysis is easily understandable. Meyer Intellectual Props. Ltd. v. Bodum, Inc., 690 F.3d 1354, 1374 (Fed.

Cir. 2012); see also Intercontinental Great Brands LLC v. Kellogg N. Am. Co., 869 F.3d 1336, 1348 (Fed.

Cir. 2017) (“[W]e have recognized that some cases involve technologies and prior art that are simple enough

that no expert testimony is needed.”); In re Brimonidine Patent Litig., 643 F.3d 1366, 1376 (Fed. Cir. 2011)

(“There is no invariable requirement that a prior art reference be accompanied by expert testimony.”); Wyers

v. Master Lock Co., 616 F.3d 1231, 1242 (Fed. Cir. 2010) (“expert testimony is not required when the

references and the invention are easily understandable.”). There are no contested issues here that require

expert testimony, and the data necessary to compute FRAP is readily available in contemporaneous

documents. Thus, expert testimony is not necessary, and the ID erred by seemingly requiring it.

        Because the ID committed multiple legal and factual errors the ruling on the ZeroWater Prior Art

should be reversed and, as demonstrated above, the Asserted Claims should be found invalid under 35

U.S.C. § 102(b) in light of the ZeroWater Prior Art.

X.      CLAIM CONSTRUCTION ERRORS

        The Markman Order erred in rejecting Respondents’ argument that “lifetime” is indefinite, and in

adopting a construction that wrongly imported the NSF/ANSI 53 standard into the term. Both reasons

provide a sufficient basis to overturn the ID.

        A.       The Markman Order Erred in Finding “Lifetime” Not Invalid as Indefinite

        The Markman Order committed legal error by not finding the claim term “filter usage lifetime

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claimed by a manufacturer or seller of the filter” indefinite under 35 U.S.C. § 112. (Order 30 at 14-20.).

Lifetime is subjective, and therefore indefinite, because multiple lifetimes can be “claimed” by a

manufacturer and seller for the exact same filter. This limitation, and the intrinsic record, do not limit what

the manufacturer or seller can select as the “claimed” lifetime. Thus, under the FRAP formula the exact

same filter can infringe at one “claimed” lifetime but not-infringe at another “claimed” lifetime.

         Federal Circuit law makes clear that “the existence of multiple methods leading to different results

without guidance in the patent or the prosecution history as to which method should be used renders the

claims indefinite.” Dow Chem. Co. v. Nova Chems. Corp. (Canada), 803 F.3d 620, 634-35 (Fed. Cir. 2015).

Stated another way, a claim term fails to provide sufficient notice of its scope if it depends “on the

unpredictable vagaries of any one person’s opinion” and is “purely subjective.” Datamize, LLC v. Plumtree

Software, Inc., 417 F. 3d 1342, 1353 (Fed. Cir. 2005); see also Interval Licensing LLC v. AOL, Inc., 766 F.

3d 1364, 1371 (Fed. Cir. 2014). “Lifetime” depends on what the manufacturer or seller elects to claim and

is therefore a subjective metric that clouds the scope of the Asserted Claims. This alone renders the

Asserted Claims indefinite under Federal Circuit precedent.

         “Lifetime” is one of four variables in the FRAP formula metric that defines the scope of the

Asserted Claims, materially impacting the ultimate FRAP calculation in both direct and indirect ways. The

lifetime value has a direct impact in that, as the lifetime in gallons increases, the FRAP value decreases

(and vice versa) but the lifetime value also has a more profound impact on FRAP since ce is measured “at

lifetime (L).”29 (JX-0022.0047 at 34:20-26.). The specification’s guidance on lifetime (L) comes in a single

paragraph:

         The filter usage lifetime (L) is defined as the total number of gallons that can be effectively
         filtered according to claims presented by the manufacturer or seller of the filter. Typically
         these claims are present on the product packaging in the form of instructions to a
         consumer as to a quantity of water that can be filtered before the filter should be changed.
         The lifetime claims may also be presented in the manufacturer’s or seller’s advertising.
         Such claims typically bear some relationship to some performance attribute of the filter.
         Typically, filter usage lifetime claims require a substantiation process, and in some cases,
         a competitor may be able to challenge such claims in a judicial or non-judicial process.


29
     Average filtration rate (f) is also impacted by the lifetime value since f is measured “over lifetime (L).”

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(Id. at 26:6-17 (emphasis added).). The specification explains that lifetime is often presented by the

manufacturer or seller in gallons on product packaging or advertising and is often related to a performance

attribute of the filter (e.g., contaminant reduction), and thus can “require a substantiation process.” (Id.).

The specification, as with the actual claim language, fails to provide any guidance as to which contaminant

or testing controls can be considered a “claimed” lifetime when calculating a filter’s FRAP value.

        The existence of multiple lifetime values for the same exact filter is caused by the varying

performance of a filter when removing different contaminants according to different NSF/ASNI Standards

and versions of such NSF/ASNI Standards (i.e., the substantiation process). Hundreds of contaminants

(e.g., lead, chlorine, nitrates, chromium, copper, mercury, selenium, PFOA/PFOS) are evaluated under

different NSF Standards (e.g., Standards 42, 53, 401) and versions of such NSF/ANSI Standards (e.g., NSF

53 (2006) vs. NSF 53 (2007)). (See, e.g., CX-0010.0020-23 (NSF/ANSI (2007) Standard 53 Tables 1 and

2 listing just contaminants evaluated under Standard 53); CX-0010.0123 (showing NSF/ANSI Standards

as of 2007, such as Standard 42 and Standard 53 for “Drinking water treatment units”); CX-0010.0004

(showing 26 revisions to the NSF Standards from 1981-2007).). Accordingly, depending on which

substantiation process is being used, a manufacturer or seller may claim many different lifetimes (e.g., 50

gallons for chlorine under NSF/ANSI Standard 42 or 20 gallons for lead under NSF 53 (2019)). And, the

manufacturer or seller has complete discretion as to what contaminant reduction claim(s) it wants to make

along with the corresponding lifetime in gallons. For example, if the manufacturer or seller only wanted to

claim chlorine reduction under NSF 42 because that contaminant reduction claim allows for a higher

lifetime for the filter, the manufacturer or seller is free to do so under the NSF Standards.

        The record contains multiple examples of how different lifetime values yields either an infringing

FRAP value or non-infringing FRAP value for the same exact filter. First, the ID cites lead pH 8.5 testing

under NSF 53 (2016) as corroborating evidence when finding that the Accused ZeroWater Product

possessed a 20-gallon lifetime. (ID at 89 (citing CX-0581C.0002.). In the ID, the ALJ found the Accused

ZeroWater Filter infringed claim 1 of the ’141 patent by assigning a V of 550, a f of 11.8, a ce of 0.14, and

a lifetime L of 20, which yielded a FRAP of 22.7. (ID at 83.). But, using the exact same Accused ZeroWater

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Filter the NSF test results (shown in CX-0581C.0003) would yield a non-infringing filter if ZeroWater

elected to claim a 50 or 60 gallon lifetime based on another contaminant (e.g., chlorine) reduction claim.

The Accused ZeroWater Filter’s (ce) values at such lifetimes (see 250% corresponding to 50 gallons and

300% corresponding to 60 gallons ) are                  μg/L and would therefore raise the FRAP calculation

to more than five times the 350 limit in the Asserted Claims (e.g., ((V of       *(f of      *(ce of    )/((L of

50)*2) = FRAP of 1752.3).

        While the change in lifetime (L) affects the resulting FRAP value, the more significant impact is

caused because effluent lead (ce) is measured at the end of lifetime and as the lifetime (L) changes, ce

dramatically increases in a non-linear fashion resulting in a FRAP above 350 at higher lifetimes (L). If a

manufacturer or seller wants to present a certification under the NSF/ASNI Standard on product packaging,

then under NSF rules it must present the corresponding lifetime in gallons on the product packaging. (Order

30 at 16.). Furthermore, if multiple certifications are presented on product packaging, then the lowest

corresponding lifetime in gallons must be displayed. Id. But nothing in the Asserted Claims, or more

specifically the lifetime limitation, requires certification under an NSF/ANSI Standard. Accordingly,

ZeroWater could elect to remove its lead reduction claim (as it did with the ZeroWater Redesign Products)30

and then claim a higher lifetime at 50-gallons or 60-gallons corresponding to another contaminant reduction

ability or corresponding to no contaminant reduction ability whatsoever. At this higher 40-gallon, 50-

gallon, or 60-gallon lifetime, the same exact ZeroWater filter would not infringe.

        Second, during this Investigation Brita alleged that the Aqua Crest Respondents Product No. 7023B

infringed the Asserted Claims. The Aqua Crest Product No. 7023B is not certified under any NSF/ANSI

Standard for contaminant reduction. (CDX-0008C.75.). To identify a lifetime (L) for the Aqua Crest

Accused Product, Brita’s expert, Dr. Rockstraw, relied on product literature that included four enumerated

lifetimes in gallons (8 gallons, 15 gallons, 25 gallons, and 40 gallons) and additional ranges in gallons (e.g.,



30
   For example, the ZeroWater Accused Product was certified at 22.5 gallons for mercury reduction in
2012 under NSF/ANSI 53 as compared with 20 gallons for lead. (Cf. RX-0740C at ZTI00002832 with CX-
0581C.0002.).

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8 gallons or less) dependent on the TDS reading for the source water. (CX-0166; see also CDX-0008C.61,

70, 73-78.). Brita argued that it could arbitrarily chose one of the lifetime values (i.e., 15 gallons) to show

infringement under the Asserted Claims. (CDX-0008C.73-78 (using a L of 15 gallons and corresponding

(ce) value of 1.48 μg/L to yield a FRAP or 88.8.).) But it was demonstrated at trial based on Brita’s own

testing at a different lifetime (L) of 20 gallons (just at the mid-point of the range for that given source water)

for the same exact filter, under the same Brita testing, had a (ce) value of 10.5 μg/L and a resulting FRAP

value above 350. (Tr. (Rockstraw) at 555:12-564:15.). Brita then dismissed the Aqua Crest product from

this investigation. (See Order No. 43.). Here, the same exact filter infringed at one “claimed” lifetime but

did not infringe at a second “claimed” lifetime. Brita’s untenable infringement allegation against AquaCrest

is, in fact, one of the clearest signs that the Asserted Claims are in fact indefinite because of the ambiguous

lifetime limitation.

        Despite this, the Markman Order rejected Respondents’ indefiniteness argument, finding that NSF

53 (2007) is incorporated by reference into the ’141 patent and provided “a default method to calculate the

lifetime.” (Order 30 at 16-17.). This conclusion fails to address the actual deficiency in “lifetime.” The

Markman Order focused on the substantiation process that could be related to a “claimed” lifetime, but

missed the foundational issue—that a “claimed” lifetime can change on the whim of business decision by

a manufacturer or seller. Various lifetimes for a filter could be substantiated through testing (such as the

incorporated NSF 53 (2007)), but the manufacturer or seller has many contaminants and testing standards

to choose from. Thus, without any change to the structure, design, or performance of a filter, a change in

marketing can move the same infringing filter outside the scope of the Asserted Claims.

        The Markman Order and ID acknowledge this ambiguity but fail to come to the proper legal

conclusion that the lifetime limitation is indefinite. The Markman Order rejected Brita’s argument that

only a lifetime related to lead testing is appropriate and goes on to acknowledge the ambiguity in the term

stating, “other methods of lifetime could be used other than that tied to the standard,” but then failed to

provide any further explanation about those “other methods” or how to resolve the uncertainty created by

having multiple lifetimes for the same filter. (Order 30 at 18-19.). The ID continued to reject Brita’s

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argument that a lifetime can only be related to lead reduction under NSF 53 (2007) (ID at 162), stating that

“nothing in this claim limitation or in the specification of the ’141 patent requires lifetime to be certified

under the NSF 53 (2007) standard.” (ID at 164-165.). But no clarity is provided in the ID, which finds

lifetimes based on (i) a 40-gallon lifetime claimed on product packaging of the PUR-1 filter related to

chlorine reduction under NSF 42 (2005) (ID at 159-162), (ii) a 40-gallon lifetime claimed on product

packaging of the Brita Legacy filter related to lead reduction under NSF 53 (1997) (testing done in 1998)

(ID at 164-165), and (iii) a 40-gallon lifetime claimed on product packaging of the Dupont WF-PTC 100

Filter related to some contaminant reduction under NSF 53 (2005). (ID at 166-167.). The only clear

guidance provided with respect to “lifetime” is that “the claim requires a lifetime based on gallons.” (Id.)

Thus, the Markman Order and ID readily acknowledge that a filter’s lifetime is highly subjective based on

the contaminant the manufacturer or seller elects to use to present the “claimed” lifetime. Such vagaries in

a subjective metric cannot survive under 35 U.S.C. § 112. Thus, the Commission should reverse the

Markman Order’s legal error and find the Asserted Claims invalid as indefinite because of the “filter usage

lifetime claimed by a manufacturer or seller of the filter” limitation.

        B.       The Markman Order Erroneously Construed “Lifetime”

        The Markman Order commits legal error when it construed “filter usage lifetime claimed by a

manufacturer or seller of the filter” in claim 1 as “[t]he total number of gallons of water that a manufacturer

or seller has validated can be filtered before the filter is replaced.” This construction, which reads out of

the claim “claimed by a manufacturer or seller” and substitutes into the claim “that a manufacturer or seller

has validated” violates Federal Circuit precedent and should be reversed. See Callicrate v. Wadsworth

Mfg., Inc., 427 F.3d 1361, 1369 (Fed. Cir. 2005) (finding construction that reads out express claim

limitations was incorrect); Generation II Orthotics Inc. v. Med. Tech. Inc., 263 F.3d 1356, 1365 (Fed. Cir.

2001) (explaining that a construction cannot “revise or ignore the explicit language of the claims”). If

“lifetime” limitation is not found indefinite, then the plain and ordinary meaning of the limitation should

be adopted and “claimed by a manufacturer or seller” returned to the claim language. This argument is

further addressed infra. See generally, Section X.

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        A patentee is required to “define precisely what his invention is” because it is “unjust to the public,

as well as an evasion of the law, to construe it in a manner different from the plain import of its terms.”

White v. Dunbar, 119 U.S. 47, 52 (1886); see also Phillips v. AWH Corp., 415 F.3d 1303, 1314 (Fed. Cir.

2005), cert. denied, 546 U.S. 1170 (2006) (en banc). Here, both the claim language and the specification

demonstrate the Markman Order’s error. The claim itself states that lifetime (L) is the “filter usage lifetime

claimed by a manufacturer or seller of the filter (gallons).” The plain language of this term refers to a

lifetime in gallons claimed by the manufacturer or seller of a filter. If the inventors wanted lifetime to be

defined as what “manufacturer or seller has validated,” then they would have included that language in the

claim. The lead inventor, Dr. Knipmeyer, acknowledged as much—internal memoranda, drafted by Dr.

Knipmeyer, which Brita alleged evidenced conception of the FRAP formula (CX-0139C), demonstrates

how the limitation could have been written without encompassing what the manufacturer or seller

“claimed.” Here, Dr. Knipmeyer defined lifetime as “the filter usage lifetime is defined as the total number

of gallons that can be filtered before the filter requires replacement.” (CX-0139C; Tr. (Knipmeyer) at

223:24-224:25.). But this language did not end up in the specification, let alone the claims. In other words,

the inventors considered defining lifetime based on validation but instead chose to define lifetime in the

claim based on what is “claimed by a manufacturer or sell” (i.e., a marketing claim on product packaging

or advertising). The wholesale reading out of “claimed by” thus constitutes fundamental legal error.

        The Markman Order misunderstands the specification when finding support for its adopted

construction. (Order 30 at 14-16.). Substitution of a “validated” lifetime for a “claimed” lifetime is

nowhere supported in the intrinsic record. The term “validated” does not even appear in the specification.

Instead, the specification defines the term based on “claims presented by the manufacturer or seller of the

filter.” (JX-0022 at 26:6-8.). This definition requires that the manufacturer or seller of the filter

affirmatively present a lifetime in gallons. Next, the specification provides the only examples of how a

manufacturer or seller presents a lifetime claim, which are in the product packaging or advertising. (Id. at

26:8-13.). Again, the only examples provided in the specification for how a lifetime is presented are

marketing claims on packaging or advertising. Finally, the specification explains that the “[s]uch claims”

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are typically related to performance of the filter and typically require substantiation. Nothing in this

explanation states or implies that a lifetime can be “claimed” through testing only that it is typically related

to or substantiated by testing. This understanding is reinforced by the actual claim where the “performance

attribute of the filter” (ce) is related to the lifetime—i.e., (ce) is determined “at end of lifetime (L).”

Likewise, nothing from the specification permits the rewriting of a marketing claim—“claimed”—to permit

a lifetime in gallons be identified through testing—“validated.” Left wholly unexplained in the Markman

Order is how a competitor could even know what the “claimed” lifetime is for a given filter (to know what

to challenge) if the lifetime is not present on product packaging, literature, or advertising. The plain

language of the claim, the definition provided in the specification, and the examples provided in the

specification make it clear that a lifetime in gallons must be claimed by the manufacturer or seller.

        The Markman Order incorporated the NSF 53 (2007) standard to allegedly support the adopted

construction including “validated” in the place of “claimed.” (Order No. 30 at 19.). But, the Markman

Order’s discussion of NSF 53 (2007) in the context of a lifetime again reinforces that it is understood to be

a marketing claim. The citations in the Markman Order discuss how the NSF rules affect the lifetime that

a manufacturer or seller can place on product literature or advertising. (Id. (explaining that “a purpose of

the NSF/ANSI 53 standard is to ‘specif[y] the minimum product literature and labeling information that a

manufacturer shall supply to authorized representatives and system owners.’” (quoting (NSF 53 (2007) at

§ 1.1))).). This reinforces that lifetime is a marketing claim and that there was no reason to substitute

“validated” for “claimed.” This also is in line with the specification’s guidance that lifetime typically is

related to a substantiation process. But NSF 53 (2007) cannot be deemed as justification to rewrite the

unambiguous claim language in contradiction of the actual specification. The Markman Order also states

“the standard is not required as the method of ‘validation’ because of the permissive language used in the

specification of the ’141 patent.” It is unclear how the standard can, on the one hand support rewriting a

claim’s plain language, yet, on the other hand, not be required to “validate” a lifetime. The Markman Order,

respectfully, repeatedly violates basic tenets of claim construction and fails to bring clarity to the scope of

the claims, and should thus be reversed and the plain and ordinary meaning of the term should be adopted.

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                             &21),'(17,$/0$7(5,$/20,77('
                   UNITED STATES INTERNATIONAL TRADE COMMISSION
                                    Washington, D.C.


In the Matter of

CERTAIN HIGH-PERFORMANCE                       Investigation No. 337-TA-1294
GRAVITY-FED WATER FILTERS AND
PRODUCTS CONTAINING THE SAME



                       RESPONDENTS’ PETITION FOR REVIEW OF
                         THE FINAL INITIAL DETERMINATION




                                    Appx6718
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                                           &21),'(17,$/0$7(5,$/20,77('
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                                &21),'(17,$/0$7(5,$/20,77('
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                        &21),'(17,$/0$7(5,$/20,77('
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                              &21),'(17,$/0$7(5,$/20,77('
Art filter where contemporaneous testing data is available, it amounts to a rudimentary mathematical

exercise. It is undisputed that the ZeroWater Prior Art filter was a gravity fed filter, containing activated

carbon and a lead scavenger, that fit in a system with a source and filtered water reservoir (i.e., the J-20

system). Therefore, the anticipation analysis comes down to whether the contemporaneous testing data

shows a FRAP or 350 or less (i.e., claim 1) or 200 or less (i.e., claim 2). This type of mathematical exercise

does not require expert testimony. Thus, even if Mr. Herman’s testimony is not considered, the ZeroWater

Prior Art filter can still be found to anticipate the Asserted Claims.

        Federal Circuit precedent makes clear that expert testimony is not required when the anticipation

analysis is easily understandable. Meyer Intellectual Props. Ltd. v. Bodum, Inc., 690 F.3d 1354, 1374 (Fed.

Cir. 2012); see also Intercontinental Great Brands LLC v. Kellogg N. Am. Co., 869 F.3d 1336, 1348 (Fed.

Cir. 2017) (“[W]e have recognized that some cases involve technologies and prior art that are simple enough

that no expert testimony is needed.”); In re Brimonidine Patent Litig., 643 F.3d 1366, 1376 (Fed. Cir. 2011)

(“There is no invariable requirement that a prior art reference be accompanied by expert testimony.”); Wyers

v. Master Lock Co., 616 F.3d 1231, 1242 (Fed. Cir. 2010) (“expert testimony is not required when the

references and the invention are easily understandable.”). There are no contested issues here that require

expert testimony, and the data necessary to compute FRAP is readily available in contemporaneous

documents. Thus, expert testimony is not necessary, and the ID erred by seemingly requiring it.

        Because the ID committed multiple legal and factual errors the ruling on the ZeroWater Prior Art

should be reversed and, as demonstrated above, the Asserted Claims should be found invalid under 35

U.S.C. § 102(b) in light of the ZeroWater Prior Art.

X.      CLAIM CONSTRUCTION ERRORS

        The Markman Order erred in rejecting Respondents’ argument that “lifetime” is indefinite, and in

adopting a construction that wrongly imported the NSF/ANSI 53 standard into the term. Both reasons

provide a sufficient basis to overturn the ID.

        A.       The Markman Order Erred in Finding “Lifetime” Not Invalid as Indefinite

        The Markman Order committed legal error by not finding the claim term “filter usage lifetime

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                                &21),'(17,$/0$7(5,$/20,77('
claimed by a manufacturer or seller of the filter” indefinite under 35 U.S.C. § 112. (Order 30 at 14-20.).

Lifetime is subjective, and therefore indefinite, because multiple lifetimes can be “claimed” by a

manufacturer and seller for the exact same filter. This limitation, and the intrinsic record, do not limit what

the manufacturer or seller can select as the “claimed” lifetime. Thus, under the FRAP formula the exact

same filter can infringe at one “claimed” lifetime but not-infringe at another “claimed” lifetime.

         Federal Circuit law makes clear that “the existence of multiple methods leading to different results

without guidance in the patent or the prosecution history as to which method should be used renders the

claims indefinite.” Dow Chem. Co. v. Nova Chems. Corp. (Canada), 803 F.3d 620, 634-35 (Fed. Cir. 2015).

Stated another way, a claim term fails to provide sufficient notice of its scope if it depends “on the

unpredictable vagaries of any one person’s opinion” and is “purely subjective.” Datamize, LLC v. Plumtree

Software, Inc., 417 F. 3d 1342, 1353 (Fed. Cir. 2005); see also Interval Licensing LLC v. AOL, Inc., 766 F.

3d 1364, 1371 (Fed. Cir. 2014). “Lifetime” depends on what the manufacturer or seller elects to claim and

is therefore a subjective metric that clouds the scope of the Asserted Claims. This alone renders the

Asserted Claims indefinite under Federal Circuit precedent.

         “Lifetime” is one of four variables in the FRAP formula metric that defines the scope of the

Asserted Claims, materially impacting the ultimate FRAP calculation in both direct and indirect ways. The

lifetime value has a direct impact in that, as the lifetime in gallons increases, the FRAP value decreases

(and vice versa) but the lifetime value also has a more profound impact on FRAP since ce is measured “at

lifetime (L).”29 (JX-0022.0047 at 34:20-26.). The specification’s guidance on lifetime (L) comes in a single

paragraph:

         The filter usage lifetime (L) is defined as the total number of gallons that can be effectively
         filtered according to claims presented by the manufacturer or seller of the filter. Typically
         these claims are present on the product packaging in the form of instructions to a
         consumer as to a quantity of water that can be filtered before the filter should be changed.
         The lifetime claims may also be presented in the manufacturer’s or seller’s advertising.
         Such claims typically bear some relationship to some performance attribute of the filter.
         Typically, filter usage lifetime claims require a substantiation process, and in some cases,
         a competitor may be able to challenge such claims in a judicial or non-judicial process.


29
     Average filtration rate (f) is also impacted by the lifetime value since f is measured “over lifetime (L).”

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                                 &21),'(17,$/0$7(5,$/20,77('
                                                 Appx6818
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                               &21),'(17,$/0$7(5,$/20,77('
(Id. at 26:6-17 (emphasis added).). The specification explains that lifetime is often presented by the

manufacturer or seller in gallons on product packaging or advertising and is often related to a performance

attribute of the filter (e.g., contaminant reduction), and thus can “require a substantiation process.” (Id.).

The specification, as with the actual claim language, fails to provide any guidance as to which contaminant

or testing controls can be considered a “claimed” lifetime when calculating a filter’s FRAP value.

        The existence of multiple lifetime values for the same exact filter is caused by the varying

performance of a filter when removing different contaminants according to different NSF/ASNI Standards

and versions of such NSF/ASNI Standards (i.e., the substantiation process). Hundreds of contaminants

(e.g., lead, chlorine, nitrates, chromium, copper, mercury, selenium, PFOA/PFOS) are evaluated under

different NSF Standards (e.g., Standards 42, 53, 401) and versions of such NSF/ANSI Standards (e.g., NSF

53 (2006) vs. NSF 53 (2007)). (See, e.g., CX-0010.0020-23 (NSF/ANSI (2007) Standard 53 Tables 1 and

2 listing just contaminants evaluated under Standard 53); CX-0010.0123 (showing NSF/ANSI Standards

as of 2007, such as Standard 42 and Standard 53 for “Drinking water treatment units”); CX-0010.0004

(showing 26 revisions to the NSF Standards from 1981-2007).). Accordingly, depending on which

substantiation process is being used, a manufacturer or seller may claim many different lifetimes (e.g., 50

gallons for chlorine under NSF/ANSI Standard 42 or 20 gallons for lead under NSF 53 (2019)). And, the

manufacturer or seller has complete discretion as to what contaminant reduction claim(s) it wants to make

along with the corresponding lifetime in gallons. For example, if the manufacturer or seller only wanted to

claim chlorine reduction under NSF 42 because that contaminant reduction claim allows for a higher

lifetime for the filter, the manufacturer or seller is free to do so under the NSF Standards.

        The record contains multiple examples of how different lifetime values yields either an infringing

FRAP value or non-infringing FRAP value for the same exact filter. First, the ID cites lead pH 8.5 testing

under NSF 53 (2016) as corroborating evidence when finding that the Accused ZeroWater Product

possessed a 20-gallon lifetime. (ID at 89 (citing CX-0581C.0002.). In the ID, the ALJ found the Accused

ZeroWater Filter infringed claim 1 of the ’141 patent by assigning a V of 550, a f of 11.8, a ce of 0.14, and

a lifetime L of 20, which yielded a FRAP of 22.7. (ID at 83.). But, using the exact same Accused ZeroWater

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                                                Appx6819
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                                 &21),'(17,$/0$7(5,$/20,77('
Filter the NSF test results (shown in CX-0581C.0003) would yield a non-infringing filter if ZeroWater

elected to claim a 50 or 60 gallon lifetime based on another contaminant (e.g., chlorine) reduction claim.

The Accused ZeroWater Filter’s (ce) values at such lifetimes (see 250% corresponding to 50 gallons and

300% corresponding to 60 gallons ) are                  μg/L and would therefore raise the FRAP calculation

to more than five times the 350 limit in the Asserted Claims (e.g., ((V of       *(f of      *(ce of    )/((L of

50)*2) = FRAP of 1752.3).

        While the change in lifetime (L) affects the resulting FRAP value, the more significant impact is

caused because effluent lead (ce) is measured at the end of lifetime and as the lifetime (L) changes, ce

dramatically increases in a non-linear fashion resulting in a FRAP above 350 at higher lifetimes (L). If a

manufacturer or seller wants to present a certification under the NSF/ASNI Standard on product packaging,

then under NSF rules it must present the corresponding lifetime in gallons on the product packaging. (Order

30 at 16.). Furthermore, if multiple certifications are presented on product packaging, then the lowest

corresponding lifetime in gallons must be displayed. Id. But nothing in the Asserted Claims, or more

specifically the lifetime limitation, requires certification under an NSF/ANSI Standard. Accordingly,

ZeroWater could elect to remove its lead reduction claim (as it did with the ZeroWater Redesign Products)30

and then claim a higher lifetime at 50-gallons or 60-gallons corresponding to another contaminant reduction

ability or corresponding to no contaminant reduction ability whatsoever. At this higher 40-gallon, 50-

gallon, or 60-gallon lifetime, the same exact ZeroWater filter would not infringe.

        Second, during this Investigation Brita alleged that the Aqua Crest Respondents Product No. 7023B

infringed the Asserted Claims. The Aqua Crest Product No. 7023B is not certified under any NSF/ANSI

Standard for contaminant reduction. (CDX-0008C.75.). To identify a lifetime (L) for the Aqua Crest

Accused Product, Brita’s expert, Dr. Rockstraw, relied on product literature that included four enumerated

lifetimes in gallons (8 gallons, 15 gallons, 25 gallons, and 40 gallons) and additional ranges in gallons (e.g.,



30
   For example, the ZeroWater Accused Product was certified at 22.5 gallons for mercury reduction in
2012 under NSF/ANSI 53 as compared with 20 gallons for lead. (Cf. RX-0740C at ZTI00002832 with CX-
0581C.0002.).

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                                  &21),'(17,$/0$7(5,$/20,77('
8 gallons or less) dependent on the TDS reading for the source water. (CX-0166; see also CDX-0008C.61,

70, 73-78.). Brita argued that it could arbitrarily chose one of the lifetime values (i.e., 15 gallons) to show

infringement under the Asserted Claims. (CDX-0008C.73-78 (using a L of 15 gallons and corresponding

(ce) value of 1.48 μg/L to yield a FRAP or 88.8.).) But it was demonstrated at trial based on Brita’s own

testing at a different lifetime (L) of 20 gallons (just at the mid-point of the range for that given source water)

for the same exact filter, under the same Brita testing, had a (ce) value of 10.5 μg/L and a resulting FRAP

value above 350. (Tr. (Rockstraw) at 555:12-564:15.). Brita then dismissed the Aqua Crest product from

this investigation. (See Order No. 43.). Here, the same exact filter infringed at one “claimed” lifetime but

did not infringe at a second “claimed” lifetime. Brita’s untenable infringement allegation against AquaCrest

is, in fact, one of the clearest signs that the Asserted Claims are in fact indefinite because of the ambiguous

lifetime limitation.

        Despite this, the Markman Order rejected Respondents’ indefiniteness argument, finding that NSF

53 (2007) is incorporated by reference into the ’141 patent and provided “a default method to calculate the

lifetime.” (Order 30 at 16-17.). This conclusion fails to address the actual deficiency in “lifetime.” The

Markman Order focused on the substantiation process that could be related to a “claimed” lifetime, but

missed the foundational issue—that a “claimed” lifetime can change on the whim of business decision by

a manufacturer or seller. Various lifetimes for a filter could be substantiated through testing (such as the

incorporated NSF 53 (2007)), but the manufacturer or seller has many contaminants and testing standards

to choose from. Thus, without any change to the structure, design, or performance of a filter, a change in

marketing can move the same infringing filter outside the scope of the Asserted Claims.

        The Markman Order and ID acknowledge this ambiguity but fail to come to the proper legal

conclusion that the lifetime limitation is indefinite. The Markman Order rejected Brita’s argument that

only a lifetime related to lead testing is appropriate and goes on to acknowledge the ambiguity in the term

stating, “other methods of lifetime could be used other than that tied to the standard,” but then failed to

provide any further explanation about those “other methods” or how to resolve the uncertainty created by

having multiple lifetimes for the same filter. (Order 30 at 18-19.). The ID continued to reject Brita’s

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                                                 Appx6821
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                                  &21),'(17,$/0$7(5,$/20,77('
argument that a lifetime can only be related to lead reduction under NSF 53 (2007) (ID at 162), stating that

“nothing in this claim limitation or in the specification of the ’141 patent requires lifetime to be certified

under the NSF 53 (2007) standard.” (ID at 164-165.). But no clarity is provided in the ID, which finds

lifetimes based on (i) a 40-gallon lifetime claimed on product packaging of the PUR-1 filter related to

chlorine reduction under NSF 42 (2005) (ID at 159-162), (ii) a 40-gallon lifetime claimed on product

packaging of the Brita Legacy filter related to lead reduction under NSF 53 (1997) (testing done in 1998)

(ID at 164-165), and (iii) a 40-gallon lifetime claimed on product packaging of the Dupont WF-PTC 100

Filter related to some contaminant reduction under NSF 53 (2005). (ID at 166-167.). The only clear

guidance provided with respect to “lifetime” is that “the claim requires a lifetime based on gallons.” (Id.)

Thus, the Markman Order and ID readily acknowledge that a filter’s lifetime is highly subjective based on

the contaminant the manufacturer or seller elects to use to present the “claimed” lifetime. Such vagaries in

a subjective metric cannot survive under 35 U.S.C. § 112. Thus, the Commission should reverse the

Markman Order’s legal error and find the Asserted Claims invalid as indefinite because of the “filter usage

lifetime claimed by a manufacturer or seller of the filter” limitation.

        B.       The Markman Order Erroneously Construed “Lifetime”

        The Markman Order commits legal error when it construed “filter usage lifetime claimed by a

manufacturer or seller of the filter” in claim 1 as “[t]he total number of gallons of water that a manufacturer

or seller has validated can be filtered before the filter is replaced.” This construction, which reads out of

the claim “claimed by a manufacturer or seller” and substitutes into the claim “that a manufacturer or seller

has validated” violates Federal Circuit precedent and should be reversed. See Callicrate v. Wadsworth

Mfg., Inc., 427 F.3d 1361, 1369 (Fed. Cir. 2005) (finding construction that reads out express claim

limitations was incorrect); Generation II Orthotics Inc. v. Med. Tech. Inc., 263 F.3d 1356, 1365 (Fed. Cir.

2001) (explaining that a construction cannot “revise or ignore the explicit language of the claims”). If

“lifetime” limitation is not found indefinite, then the plain and ordinary meaning of the limitation should

be adopted and “claimed by a manufacturer or seller” returned to the claim language. This argument is

further addressed infra. See generally, Section X.

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                                                Appx6822
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                                  &21),'(17,$/0$7(5,$/20,77('
        A patentee is required to “define precisely what his invention is” because it is “unjust to the public,

as well as an evasion of the law, to construe it in a manner different from the plain import of its terms.”

White v. Dunbar, 119 U.S. 47, 52 (1886); see also Phillips v. AWH Corp., 415 F.3d 1303, 1314 (Fed. Cir.

2005), cert. denied, 546 U.S. 1170 (2006) (en banc). Here, both the claim language and the specification

demonstrate the Markman Order’s error. The claim itself states that lifetime (L) is the “filter usage lifetime

claimed by a manufacturer or seller of the filter (gallons).” The plain language of this term refers to a

lifetime in gallons claimed by the manufacturer or seller of a filter. If the inventors wanted lifetime to be

defined as what “manufacturer or seller has validated,” then they would have included that language in the

claim. The lead inventor, Dr. Knipmeyer, acknowledged as much—internal memoranda, drafted by Dr.

Knipmeyer, which Brita alleged evidenced conception of the FRAP formula (CX-0139C), demonstrates

how the limitation could have been written without encompassing what the manufacturer or seller

“claimed.” Here, Dr. Knipmeyer defined lifetime as “the filter usage lifetime is defined as the total number

of gallons that can be filtered before the filter requires replacement.” (CX-0139C; Tr. (Knipmeyer) at

223:24-224:25.). But this language did not end up in the specification, let alone the claims. In other words,

the inventors considered defining lifetime based on validation but instead chose to define lifetime in the

claim based on what is “claimed by a manufacturer or sell” (i.e., a marketing claim on product packaging

or advertising). The wholesale reading out of “claimed by” thus constitutes fundamental legal error.

        The Markman Order misunderstands the specification when finding support for its adopted

construction. (Order 30 at 14-16.). Substitution of a “validated” lifetime for a “claimed” lifetime is

nowhere supported in the intrinsic record. The term “validated” does not even appear in the specification.

Instead, the specification defines the term based on “claims presented by the manufacturer or seller of the

filter.” (JX-0022 at 26:6-8.). This definition requires that the manufacturer or seller of the filter

affirmatively present a lifetime in gallons. Next, the specification provides the only examples of how a

manufacturer or seller presents a lifetime claim, which are in the product packaging or advertising. (Id. at

26:8-13.). Again, the only examples provided in the specification for how a lifetime is presented are

marketing claims on packaging or advertising. Finally, the specification explains that the “[s]uch claims”

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                                &21),'(17,$/0$7(5,$/20,77('
are typically related to performance of the filter and typically require substantiation. Nothing in this

explanation states or implies that a lifetime can be “claimed” through testing only that it is typically related

to or substantiated by testing. This understanding is reinforced by the actual claim where the “performance

attribute of the filter” (ce) is related to the lifetime—i.e., (ce) is determined “at end of lifetime (L).”

Likewise, nothing from the specification permits the rewriting of a marketing claim—“claimed”—to permit

a lifetime in gallons be identified through testing—“validated.” Left wholly unexplained in the Markman

Order is how a competitor could even know what the “claimed” lifetime is for a given filter (to know what

to challenge) if the lifetime is not present on product packaging, literature, or advertising. The plain

language of the claim, the definition provided in the specification, and the examples provided in the

specification make it clear that a lifetime in gallons must be claimed by the manufacturer or seller.

        The Markman Order incorporated the NSF 53 (2007) standard to allegedly support the adopted

construction including “validated” in the place of “claimed.” (Order No. 30 at 19.). But, the Markman

Order’s discussion of NSF 53 (2007) in the context of a lifetime again reinforces that it is understood to be

a marketing claim. The citations in the Markman Order discuss how the NSF rules affect the lifetime that

a manufacturer or seller can place on product literature or advertising. (Id. (explaining that “a purpose of

the NSF/ANSI 53 standard is to ‘specif[y] the minimum product literature and labeling information that a

manufacturer shall supply to authorized representatives and system owners.’” (quoting (NSF 53 (2007) at

§ 1.1))).). This reinforces that lifetime is a marketing claim and that there was no reason to substitute

“validated” for “claimed.” This also is in line with the specification’s guidance that lifetime typically is

related to a substantiation process. But NSF 53 (2007) cannot be deemed as justification to rewrite the

unambiguous claim language in contradiction of the actual specification. The Markman Order also states

“the standard is not required as the method of ‘validation’ because of the permissive language used in the

specification of the ’141 patent.” It is unclear how the standard can, on the one hand support rewriting a

claim’s plain language, yet, on the other hand, not be required to “validate” a lifetime. The Markman Order,

respectfully, repeatedly violates basic tenets of claim construction and fails to bring clarity to the scope of

the claims, and should thus be reversed and the plain and ordinary meaning of the term should be adopted.

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              UNITED STATES INTERNATIONAL TRADE COMMISSION
                               Washington, D.C.



  In the Matter of

  CERTAIN HIGH-PERFORMANCE                                   Investigation No. 337-TA-1294
  GRAVITY-FED WATER FILTERS AND
  PRODUCTS CONTAINING THE SAME


  NOTICE OF A COMMISSION DETERMINATION TO REVIEW IN PART A FINAL
 INITIAL DETERMINATION FINDING A VIOLATION OF SECTION 337; REQUEST
  FOR WRITTEN SUBMISSIONS ON ISSUES UNDER REVIEW AND ON REMEDY,
  THE PUBLIC INTEREST, AND BONDING; EXTENSION OF THE TARGET DATE

AGENCY:        U.S. International Trade Commission.

ACTION:        Notice.

SUMMARY: Notice is hereby given that the U.S. International Trade Commission
(“Commission”) has determined to review in part a final initial determination (“ID”) of the
presiding administrative law judge (“ALJ”), finding a violation of section 337. The Commission
requests written submissions from the parties on the issues under review and submissions from
the parties, interested government agencies, and other interested persons on the issues of remedy,
the public interest, and bonding, under the schedule set forth below. The Commission has
determined to grant Respondents’ motion for leave to file a notice of supplemental authority and
to extend the target date for completion of this investigation to September 19, 2023.

FOR FURTHER INFORMATION CONTACT: Panyin A. Hughes, Office of the General
Counsel, U.S. International Trade Commission, 500 E Street, S.W., Washington, D.C. 20436,
telephone (202) 205-3042. Copies of non-confidential documents filed in connection with this
investigation may be viewed on the Commission’s electronic docket (EDIS) at
https://edis.usitc.gov. For help accessing EDIS, please email EDIS3Help@usitc.gov. General
information concerning the Commission may also be obtained by accessing its Internet server at
https://www.usitc.gov. Hearing-impaired persons are advised that information on this matter can
be obtained by contacting the Commission’s TDD terminal, telephone (202) 205-1810.

SUPPLEMENTARY INFORMATION: On January 31, 2022, the Commission instituted this
investigation based on a complaint filed by Brita LP (“Brita”) of Neuchatel NE, Switzerland. 87
FR 4913 (Jan. 31, 2022). The complaint, as supplemented, alleged violations of section 337 of
the Tariff Act of 1930, as amended, 19 U.S.C. 1337, based upon the importation into the United
States, the sale for importation, and the sale within the United States after importation of certain
high-performance gravity-fed water filters and products containing the same by reason of
infringement of claims 1-6, 20, 21, 23, and 24 of U.S. Patent No. 8,167,141 (“the ’141 patent”).
Id. The Commission’s notice of investigation named nine respondents: Mavea LLC of West




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Linn, Oregon and Brita GmbH of Taunusstein, Switzerland (collectively, “the Mavea
Respondents”); Ecolife Technologies, Inc. of City of Industry, California and Qingdao Ecopure
Filter Co., Ltd. of Shandong Province, China (collectively, “the Aqua Crest Respondents”); Kaz
USA, Inc. and Helen of Troy Limited, both of El Paso, Texas (collectively, “PUR
Respondents”); Zero Technologies, LLC of Trevose, Pennsylvania; Culligan International Co. of
Rosemont, Illinois (collectively, “ZeroWater Respondents”); and Vestergaard Frandsen Inc. of
Baltimore, Maryland (“LifeStraw”). Id. The Office of Unfair Import Investigations is not
participating in this investigation. Id.

        On May 3, 2022, the ALJ issued an ID granting a motion to terminate the investigation as
to the Mavea Respondents based upon settlement. Order No. 13 (May 3, 2022), unreviewed by
Comm’n Notice (May 24, 2022).

        On June 1, 2022, the ALJ issued an ID granting a motion to terminate the investigation as
to claims 20, 21, and 24 of the ’141 patent based upon withdrawal of the allegations in the
complaint as to these claims. Order No. 19 (June 1, 2022), unreviewed by Comm’n Notice (June
21, 2022).

       On June 2, 2022, the ALJ held a Markman hearing. The ALJ issued a Markman Order
construing the claim terms in dispute on July 20, 2022. Order No. 30 (July 20, 2022).

        On September 22, 2022, the ALJ issued an ID granting a motion to terminate the
investigation as to the Aqua Crest Respondents based upon withdrawal of the allegations in the
complaint as to these respondents. Order No. 43 (Sept. 22, 2022), unreviewed by Comm’n
Notice (Oct. 11, 2022).

       The ALJ held an evidentiary hearing from August 17-19, August 22-23, and October 13,
2022, and received post-hearing briefs thereafter.

        On February 28, 2023, the ALJ issued the final ID finding a violation of section 337. The
ID found that “because of importation stipulations of all Accused Products,” the importation
requirement under 19 U.S.C. 1337(a)(1)(B) is satisfied. ID at 12-13. The ID also found that
Brita successfully proved that all of the Accused Products infringe the asserted claims of the
’141 patent (claims 1-6 and 23). Id. at 69-105. The ID further found that Respondents failed to
show by clear and convincing evidence that the asserted claims are invalid for lack of written
description (Id. at 169-204), enablement (Id. at 205-250), anticipation (Id. at 153-169), or for
reciting ineligible subject matter under 35 U.S.C. 101 (Id. at 250-269). Finally, the ID found that
Brita proved the existence of a domestic industry that practices the ’141 patent as required by 19
U.S.C. 1337(a)(2). Id. at 105-117, 269-285.

       The ID included the ALJ’s recommended determination on remedy and bonding (“RD”).
The RD recommended, should the Commission find a violation, issuance of a limited exclusion
order against all respondents and cease and desist orders against the PUR Respondents and
LifeStraw. ID/RD at 258-291. The RD also recommended imposing a bond in the amount of
one hundred percent (100%) of entered value for PUR’s and ZeroWater’s infringing products



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 imported during the period of Presidential review and $6 per unit for infringing LifeStraw
 products imported during the period of Presidential review. Id. at 291-295.

       On March 13, 2023, Respondents and Brita filed respective petitions for review of the ID.
 On March 21, 2023, the parties filed responses to the petitions.

        On May 24, 2023, Respondents moved for leave to file notice of supplemental authority
 regarding their petition for review. Specifically, Respondents seek to submit the recent U.S.
 Supreme Court decision in Amgen Inc. v. Sanofi, No. 21-757 (May 18, 2023), as being directly
 relevant to the lack of enablement of the asserted claims in this investigation. The Commission
 has determined to grant the motion and accept the filing.

         Having reviewed the record of the investigation, including the final ID, the parties’
submissions to the ALJ, the petitions for review, and the responses thereto, the Commission has
determined to review in part the final ID. Specifically, the Commission has determined to review
the following findings: (1) construction of the claim term “filter usage lifetime claimed by a
manufacturer or seller of the filter,” (2) written description, (3) enablement, (4) section 101, (5)
anticipation, and (6) the economic prong of the domestic industry requirement.

         In connection with its review, the Commission requests responses to the following
questions. The parties are requested to brief their positions with reference to the applicable law
and the existing evidentiary record.

        (1) Discuss whether the construction of the claim term “filter usage lifetime claimed by a
            manufacturer or seller of the filter” to mean “[t]he total number of gallons of water
            that a manufacturer or seller has validated can be filtered before the filter is replaced,”
            (Order No. 30 at 14), impermissibly deviates from the plain language of the claims.
            Further, discuss whether the foregoing construction requires the reading of one or
            more limitations from the specification into the claim in order to find the limitation
            not invalid for indefiniteness. See, e.g., ’141 patent at col. 26:14–15.

        (2) Discuss the effect of the recent Supreme Court decision, Amgen Inc. v. Sanofi, No.
            21-757 (May 18, 2023), on the ID’s enablement and written description findings.

        (3) Discuss whether a person of ordinary skill in the art would understand how to use
            filter types other than carbon block (e.g., mixed media, hollow fibers, membranes,
            nonwovens, depth media, nanoparticles and nanofibers, and ligands (JX-0022 at 25:9-
            12, 26:30-37)) to achieve a FRAP factor below 350 as of the priority date of the ’141
            patent.

        (4) Discuss the predictability of the technology at issue and, in particular, how
            predictably these other filter types were expected to perform in terms of the FRAP
            factor as compared to the carbon block arrangement described in the specification as
            of the priority date of the ’141 patent.




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       (5) Discuss whether a person of ordinary skill in the art as of the priority date of the ’141
           patent could have readily manipulated the FRAP factor variables of volume V,
           average filtration unit time f, effluent lead concentration ce, and lifetime L for any of
           the other filter materials named in the specification to achieve FRAP factor below
           350. For example, if the manufacturer were to reduce only the volume V of a given
           filter, or if the manufacturer or seller were to claim a longer lifetime L for a given
           filter, would that correspondingly reduce the FRAP factor without affecting (or at
           least unpredictably affecting) the other variables? See JX-022 at 26:41-49, Figs. 21-
           23.

       (6) If it was possible to predictably determine the FRAP factor for non-carbon block
           filter types as of the priority date of the ’141 patent, explain why it took Brita ten
           years and 7,326 hours of research and development to design a nonwoven filter that
           practices the ’141 patent. See ID at 213 n.77; Tr. (Freeman) at 1562:18-1563:6. Is
           Brita’s research and development effort with respect to its non-woven filter DI
           products indicative of the experimental time and effort needed to develop filters other
           than the carbon block arrangement described in the specification?

The parties are invited to brief only these discrete questions. The parties are not to brief other
issues on review, which are adequately presented in the parties’ existing filings.

        In connection with the final disposition of this investigation, the statute authorizes
issuance of, inter alia, (1) an exclusion order that could result in the exclusion of the subject
articles from entry into the United States; and/or (2) cease and desist orders that could result in
the respondents being required to cease and desist from engaging in unfair acts in the importation
and sale of such articles. Accordingly, the Commission is interested in receiving written
submissions that address the form of remedy, if any, that should be ordered. If a party seeks
exclusion of an article from entry into the United States for purposes other than entry for
consumption, the party should so indicate and provide information establishing that activities
involving other types of entry either are adversely affecting it or likely to do so. For background,
see Certain Devices for Connecting Computers via Telephone Lines, Inv. No. 337-TA-360,
USITC Pub. No. 2843, Comm’n Op. at 7-10 (Dec. 1994).

        The statute requires the Commission to consider the effects of that remedy upon the
public interest. The public interest factors the Commission will consider include the effect that
an exclusion order and cease and desist orders would have on: (1) the public health and welfare,
(2) competitive conditions in the U.S. economy, (3) U.S. production of articles that are like or
directly competitive with those that are subject to investigation, and (4) U.S. consumers. The
Commission is therefore interested in receiving written submissions that address the
aforementioned public interest factors in the context of this investigation. In particular, the
Commission requests that the parties respond to the statements on the public interest received
from the various third parties.

        In addition, the Commission requests specific briefing to address the following questions
relevant to the public interest considerations in this investigation, and responses are encouraged
to include evidence in support of their statements:


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       (1) Please identify whether any reasonable substitutes for the Accused Products are
           available to consumers and whether they are capable of meeting any public health and
           welfare concerns raised by any remedial relief in this investigation. Is or would there
           be sufficient supply of any such reasonable substitutes for the Accused Products?

       (2) Are the identified reasonable substitutes capable of filtering Per- and polyfluoroalkyl
           substances (PFAS) chemicals in drinking water and how effective are they in doing
           so in relation to the accused products’ capability of filtering PFAS in drinking water?

       (3) Do the identified reasonable substitutes meet or exceed the following standards: NSF
           P231/US EPA (bacteria and parasites); NSF 53 (pesticides, herbicides, lead and other
           heavy metals); NSF 42 (chlorine); NSF 473 (PFAS); and NSF 401 (emerging
           chemical contaminants)? How does this compare to the accused products’
           performance with respect to these standards? Please discuss the impact, if any, on the
           public health and welfare of water filters not meeting these standards and please
           submit and discuss any studies, data, or other evidence that shows an impact on the
           public health and welfare.

       (4) Is there any production of like or directly competitive products in the United States
           and how would such production be impacted by any remedial relief?

        If the Commission orders some form of remedy, the U.S. Trade Representative, as
delegated by the President, has 60 days to approve, disapprove, or take no action on the
Commission’s determination. See Presidential Memorandum of July 21, 2005, 70 FR 43251
(July 26, 2005). During this period, the subject articles would be entitled to enter the United
States under bond, in an amount determined by the Commission and prescribed by the Secretary
of the Treasury. The Commission is therefore interested in receiving submissions concerning the
amount of the bond that should be imposed if a remedy is ordered.

WRITTEN SUBMISSIONS: Parties to the investigation are requested to file written
submissions on the questions identified in this notice. Parties to the investigation, interested
government agencies, and any other interested parties are encouraged to file written submissions
on the issues of remedy, the public interest, and bonding.

        In its initial submission, Complainant is also requested to identify the remedy sought and
to submit proposed remedial orders for the Commission’s consideration. Complainant is further
requested to provide the HTSUS subheadings under which the accused products are imported,
and to supply the identification information for all known importers of the products at issue in
this investigation.

        The initial written submissions and proposed remedial orders must be filed no later than
close of business on July 14, 2023. Reply submissions must be filed no later than the close of
business on July 21, 2023. No further submissions on these issues will be permitted unless
otherwise ordered by the Commission. Opening submissions are limited to 60 pages. Reply
submissions are limited to 30 pages. No further submissions on any of these issues will be


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permitted unless otherwise ordered by the Commission.

        Persons filing written submissions must file the original document electronically on or
before the deadlines stated above. The Commission’s paper filing requirements in 19 CFR
210.4(f) are currently waived. 85 FR 15798 (March 19, 2020). Submissions should refer to the
investigation number (Inv. No. 337-TA-1294) in a prominent place on the cover page and/or the
first page. (See Handbook for Electronic Filing Procedures,
https://www.usitc.gov/documents/handbook_on_filing_procedures.pdf). Persons with questions
regarding filing should contact the Secretary, (202) 205-2000.

        Any person desiring to submit a document to the Commission in confidence must request
confidential treatment by marking each document with a header indicating that the document
contains confidential information. This marking will be deemed to satisfy the request procedure
set forth in Rules 201.6(b) and 210.5(e)(2) (19 CFR 201.6(b) & 210.5(e)(2)). Documents for
which confidential treatment by the Commission is properly sought will be treated accordingly.
Any non-party wishing to submit comments containing confidential information must serve
those comments on the parties to the investigation pursuant to the applicable Administrative
Protective Order. A redacted non-confidential version of the document must also be filed with
the Commission and served on any parties to the investigation within two business days of any
confidential filing. All information, including confidential business information and documents
for which confidential treatment is properly sought, submitted to the Commission for purposes of
this investigation may be disclosed to and used: (i) by the Commission, its employees and
Offices, and contract personnel (a) for developing or maintaining the records of this or a related
proceeding, or (b) in internal investigations, audits, reviews, and evaluations relating to the
programs, personnel, and operations of the Commission including under 5 U.S.C. Appendix 3; or
(ii) by U.S. government employees and contract personnel, solely for cybersecurity purposes.
All contract personnel will sign appropriate nondisclosure agreements. All nonconfidential
written submissions will be available for public inspection on EDIS.

        The Commission has determined to extend the target date for completion of this
investigation from June 28, 2023 to September 19, 2023.

       The Commission vote for this determination took place on June 28, 2023.

        The authority for the Commission’s determination is contained in section 337 of the
Tariff Act of 1930, as amended (19 U.S.C. 1337), and in Part 210 of the Commission’s Rules of
Practice and Procedure (19 CFR Part 210).

       By order of the Commission.



                                                    Lisa R. Barton
                                                    Secretary to the Commission
Issued: June 28, 2023



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                            PUBLIC VERSION


            UNITED STATES INTERNATIONAL TRADE COMMISSION
                            WASHINGTON, D.C.




In the Matter of

CERTAIN HIGH-PERFORMANCE
                                           Investigation No. 337-TA-1294
GRAVITY-FED WATER FILTERS AND
PRODUCTS CONTAINING THE SAME



             COMPLAINANT BRITA LP’S STATEMENT ON REMEDY,
                  THE PUBLIC INTEREST, AND BONDING




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                                       PUBLIC VERSION



I.     Introduction

       Pursuant to 19 C.F.R. § 210.50(a)(4), Complainant Brita LP (“Brita”) respectfully

responds to the June 28, 2023 Notice of a Commission Determination to Review In Part a Final

Initial Determination (“Notice”). Brita also makes this submission in response to the

Commission’s request that the parties file submissions on the issues of remedy, the public

interest, and bonding. Notice at 5.

       Brita initiated this Investigation because Respondents—Brita’s competitors in the high-

performance gravity-fed water filter market—are using Brita’s patented technology to unfairly

compete with Brita in the market. This technology, embodied in the LongLast and LongLast+

(Elite) filters and compatible containers, is the product of Brita’s significant domestic innovation

and investments. In stark contrast, Respondents continue to manufacture their infringing

products abroad and import them into the U.S. despite full knowledge of Brita’s intellectual

property rights. Section 337 is meant to protect against precisely this type of trade violation.

       As detailed in Brita’s Response to Respondents’ Petition for Commission Review, the

ALJ’s Final Initial Determination correctly found that “PUR, ZeroWater, and LifeStraw

Respondents have violated Section 337 of the Tariff Act of 1930 … by importing into the United

States, selling for importation, or selling within the United States after importation certain

gravity-fed water filters that infringe claims 1-6 and 23 of U.S. Patent No. 8,167,141.” ID, at

296. Respondents tried everything and more in the patent infringer’s typical playbook to avoid a

violation in this Investigation. The ALJ soundly rejected each defense in a 298-page opinion

with detailed factual findings and credibility determinations.

       The claims are not indefinite. The scope of the ’141 patent claims are readily

understood and certain to a person of skill in the art in view of the intrinsic evidence.



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Respondents’ challenges ignore the Nautilus standard and rest on hypothetical disputes over

proof of infringement, not the actual meaning of the claim language to a person of skill in the art.

But “[t]he test for indefiniteness does not depend on a potential infringer's ability to ascertain the

nature of its own accused product to determine infringement, but instead on whether the claim

delineates to a skilled artisan the bounds of the invention.” Ironburg Inventions Ltd. v. Valve

Corp., 64 F.4th 1274, 1290 (Fed. Cir. 2023) (cleaned up). Here, the ALJ’s claim construction

followed the plain and ordinary meaning of the claim language to a skilled artisan in finding that,

with respect to the term “filter usage lifetime claimed by manufacturer or seller of the filter,” a

skilled artisan would understand this to mean a validated lifetime. And the ALJ’s finding that the

intrinsic evidence directed a skilled artisan to industry standards for determining “lifetime” is

consistent with Federal Circuit precedent on the use of intrinsic evidence in a proper § 112

indefiniteness analysis. See Cook Biotech Inc. v. Acell, Inc., 460 F.3d 1365, 1376 (Fed. Cir.

2006).

         The claims are fully described and enabled. No undue experimentation is required to

practice the claims of the ’141 patent based on the patent’s disclosure, state and predictability of

the art, and level of skill in the art. The ALJ correctly found that Respondents failed to meet their

burden to show lack of § 112 support, extensively noting that their case rested on conclusory

expert testimony that she found not credible. ID at 208, 211–213, 250. The Supreme Court’s

recent decision in Amgen Inc. v. Sanofi did not change the legal standard and, if anything,

reinforces the importance of the predictability or unpredictability of the art when evaluating

enablement. 143 S. Ct. 1243 (2023). Here, the evidence plainly showed that the art was well-

developed and predictable. Various forms of filter media were well known. Water filtration

technology in general was mature and predictable. ID at 198–201. And a skilled artisan was



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capable of manipulating the FRAP factor variables, using routine experimentation, to practice the

claims. ID at 235–236. Respondents’ attorney arguments missed the point and focused almost

entirely on the breadth of the claims and number of working examples and ignored the ultimate

question of whether undue experimentation is required. Respondents offered no evidence that the

amount or type of experimentation required to practice the ’141 patent claims was undue. Absent

any credible evidence to the contrary, the ALJ correctly concluded that the field of water

filtration is well-established and predictable and the ’141 patent disclosure would enable a

skilled artisan to practice the claimed invention. Brita should be entitled to benefit from

disclosing its invention according to the quid-pro-quo premise of patent law.

        There are no public interest concerns that weigh against an exclusion order. Having

lost decisively on every issue before the ALJ, Respondents appear to have waged an aggressive

lobbying campaign to persuade the Commission that the public interests counsel against issuance

of a limited exclusion order. The Commission has only found public interests to weigh against an

exclusion order three times in the history of Section 337 actions. This Investigation does not

warrant being the fourth.

        The overarching problem with Respondents’ public interest arguments is that there are a

number of reasonable, acceptable substitutes to their infringing products. Respondents pointed to

no evidence in their initial public interest statements to the contrary. This Investigation concerns

a total of three water filter products for ordinary home use. There are numerous options for

consumers to choose from in the home water filter market, including other point-of-use filters

(e.g. pitcher filters, countertop filters, faucet mount filters, refrigerator filters, under sink filters)

as well as point-of entry filters (e.g. whole house filters).. There is simply no evidence that there

is a shortage of options available to consumers that would warrant the extreme conclusion that



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Respondents should be permitted to continue to import infringing products in violation of

Section 337. While many of the third-party submissions reference the importance of “consumer

choice,” the public interest is not served by permitting infringing products to remain among

those choices when ample other options are available.

        Respondents’ public interest arguments also rest on alarmist characterizations of the state

of the U.S. water system and irresponsible assertions about the role Respondents’ accused

products in responding to public health emergencies. To be sure, providing clean and safe

drinking water is an important public policy issue and the Federal government has prioritized

efforts to reduce and remediate sources of contamination, such as lead and PFAS. See CXPI 1 at

1. But the issue here is whether the evidence shows that the exclusion of Respondents’ accused

products from the market would have an adverse effect on the public health. There is no such

evidence. This is at least because Respondents’ accused products are but one option available to

consumers, and there remain many other options available, including other U.S. manufactured

gravity-fed water filters, that are certified against lead, PFOS/PFOA, and other contaminants.

And to the extent Respondents’ suggest that the accused products are necessary to address acute

public health concerns arising from disasters such as floods, those suggestions are grossly

misplaced. Where there are serious incidents where the water may be contaminated, government

agencies recommend bottled water, boiling water before use, or chemical treatment of the water.

None of the accused products are endorsed by any government agency for use in the case of

natural disasters.

        The Commission should issue Limited Exclusion Orders and Cease and Desist

Orders for each Respondent. Consistent with its longstanding practice, the Commission should

adopt the ALJ’s recommendation on remedy and issue LEOs prohibiting the importation into the



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United States of all of Respondents’ infringing water filters, as well as CDOs preventing

Respondents’ continued unfair acts of importation of the infringing water filters. See Certain

Hardware Logic Emulation Sys. & Components Thereof, Inv. No. 337-TA-383, Comm’n Op.,

1998 WL 307240, at *9 (Mar. 1, 1998) (“[T]he Commission’s long-standing practice is to direct

its remedial orders to all products covered by the patent claims as to which a violation has been

found, rather than limiting its orders to only those specific models selected for the infringement

analysis.”). Section 337 mandates that the Commission issue an exclusion order upon finding a

violation unless, after considering “the effect of such exclusion upon [i] the public health and

welfare, [ii] competitive conditions in the United States economy, [iii] the production of like or

directly competitive articles in the United States, and [iv] United States consumers,” the

Commission determines it would not be in the public interest to do so. 19 U.S.C. § 1337(d)(1),

(f)(1). Here, each of the public-interest factors weighs overwhelmingly in favor of issuing

remedial orders to protect Brita’s intellectual property rights and domestic industry. And, as

discussed below, there will be no public harm if Respondents are subject to an exclusion order.

       The Commission should also enter at least a 100% bond during the Presidential Review

period with respect to infringing PUR and ZeroWater filters and a $6 per unit bond rate against

the LifeStraw filters to protect Brita from suffering injury from Respondents’ continued

infringing conduct.

       Pursuant to the Commission’s request, Brita attaches as Appendices A and B a proposed

limited exclusion order and a proposed cease-and-desist order.




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II.     Responses to the Commission’s Questions

        A.      The ALJ Correctly Construed the “Filter Usage Lifetime” Term and
                Correctly Found That Respondents Failed to Show It Was Indefinite

        Question 1: Discuss whether the construction of the claim term “filter usage
        lifetime claimed by a manufacturer or seller of the filter” to mean “[t]he total
        number of gallons of water that a manufacturer or seller has validated can be filtered
        before the filter is replaced,” (Order No. 30 at 14), impermissibly deviates from the
        plain language of the claims. Further, discuss whether the foregoing construction
        requires the reading of one or more limitations from the specification into the claim
        in order to find the limitation not invalid for indefiniteness.

        The ALJ correctly construed “filter usage lifetime claimed by a manufacturer or seller of

the filter (gallons)” as “the total number of gallons of water that a manufacturer or seller has

validated can be filtered before the filter is replaced.” At the outset, a filter’s usage lifetime (e.g.,

filter life, rated service life, and rate capacity) is a common term of art in the field of water

filtration. It is used to convey to consumers how long their filter will last before it needs to be

replaced under normal conditions. JXM-0001 at 26:8-11. The ALJ correctly found that a skilled

artisan would “understand the meaning of ‘lifetime.’” Order 30, at 17. The ALJ’s construction

aligns with the intrinsic evidence and a skilled artisan’s understanding of the claim language. It

does not deviate from the plain language of the claims nor does it import limitations from the

specification. Moreover, “the dispositive question in an indefiniteness inquiry is whether the

‘claims,’ not particular claim terms, ‘read in light of the specification delineating the patent, and

the prosecution history, fail to inform, with reasonable certainty, those skilled in the art about the

scope of the invention.” Cox Comm., Inc. v. Sprint Comm. Co. LP, 838 F.3d 1224, 1231 (Fed.

Cir. 2016) (quoting Nautilus, Inc. v. Biosig Instr., Inc., 572 U.S. 898, 910 (2014) (emphasis

added). Here, the claims provide reasonable certainty as to the scope of the invention.

Respondents’ attorney arguments fall far short of clear and convincing evidence of invalidity.




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               1.      The adopted construction of “filter usage lifetime” aligns with the
                       intrinsic evidence and a skilled artisan’s understanding.

       Before reaching and rejecting Respondents’ indefiniteness arguments, the ALJ first

construed the “filter usage lifetime” term to ascertain its meaning to a person of ordinary skill in

the art. Order No. 30 at 15–16. This is consistent with Federal Circuit practice. See, e.g., Nature

Simulation Systems Inc. v. Autodesk Inc., 50 F.4th 1358, 1364 (Fed. Cir. 2022) (reversing and

remanding after district court held claims indefinite without applying the Nautilus standard and

without construing the claims).

       The term “filter usage lifetime claimed by a manufacturer or seller of the filter (gallons)”

is found in claim 1 of the ’141 patent and corresponds to value L in the Filter Rate and

Performance (FRAP) Factor. JXM-0001 at 34:25–26. The specification further provides that:

“[t]he filter usage lifetime (L) is defined as the total number of gallons that can be effectively

filtered according to claims presented by the manufacturer or seller of the filter.” Id. at 26:6–8.

The specification then explains typical uses of a given filter’s lifetime claim, including that such

claims “are present on the product packaging in the form of instructions to a consumer as to a

quantity of water that can be filtered before the filter should be changed.” Id. at 26:9–11. It also

explains that such claim may be included in advertising. Id. at 26:11–13. “[F]ilter usage lifetime

claims require a substantiation process, and in some cases, a competitor may be able to challenge

such claims in a judicial or non-judicial process.” Id. at 26:14–17. Since consumers rely on

lifetime numbers to determine the value proposition of a given water filter it is logical that the

asserted lifetime of filters must be tested and validated so that they are not deceptive or

misleading. In the same vein, the inventors’ use of “filter usage lifetime” throughout the ’141

patent unequivocally shows that it is an ordinary and customary term to one skilled in the art of




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water filtration. The ALJ’s construction is indisputably consistent with the intrinsic evidence.1

        The ALJ’s construction embraces the specification’s explicit definition of “filter usage

lifetime” and elucidates what it means to be “effectively filtered according to claims presented

by the manufacturer or seller.” Namely, a skilled artisan would understand a lifetime claim to be

require validation according to industry standard methods. See Order No. 30 at 16 (finding that

“[t]he NSF/ANSI 53 standard describes ‘verified through testing,’ which encompasses the …

proposed claim construction term of ‘validated’”).

        The ALJ’s reasoning is grounded in the intrinsic evidence, including the incorporated-by-

reference ANSI/NSF 53 (2007) standard, which confirms the term’s ordinary and customary

meaning. The specification itself illustrates that “effectively filtered” refers a given filter’s ability

to remove specified contaminants and also shows that effectiveness is measured by a

manufacturer’s validation of the ability of a filter to do so over time. See JXM-0001 at 23:26–31

(describing a filter block as “perform[ing] effectively in water filtration” where it “obtain[ed]

lead removal results that meet the [] NSF Standard 53 for lead in drinking water”); id. at 4:37–40

(explaining that the filtered water quality may drop and that the filter should be changed when

the “effectiveness of the filter … is reduced”).

        Respondents urge the Commission to blindly ignore critical and dispositive intrinsic

evidence of how a skilled artisan would understand the claim term: the NSF/ANSI 53 (2007)

standard. As the ALJ correctly found, the NSF/ANSI 53 standard is intrinsic evidence because it

was explicitly incorporated by reference in the specification. See JXM-0001 at 23:23–29; Order


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         As set forth in Brita’s Response to Respondents’ Petition for Review, Respondents also
waived the right to argue for a different claim construction of “filter usage lifetime” by failing to
make those arguments to the ALJ. See CRRPR, at 72-73. Order No. 2 § 1.14.1 (Feb. 2, 2022);
see Certain Integrated Circuit Chips, Inv. No. 337-TA-859, Comm’n Op., 2014 WL 12796437,
at *14 (Aug. 22, 2014) (arguments not made to the ALJ are waived).


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30 at 15; see also Cook Biotech Inc. v. Acell, Inc., 460 F.3d 1365, 1376 (Fed. Cir. 2006); Finjan

LLC v. ESET, LLC, 51 F.4th 1377, 1382 (Fed. Cir. 2022). And, based on that intrinsic evidence,

the ALJ properly found that the word “claimed,” as used in claim 1, “refers to limits imposed by

the NSF/ANSI 53 standard in advertising the effectiveness of a filter.” Order 30 at 16.

       The NSF/ANSI 53 standard is devastating to Respondents’ claim construction arguments

because it is compelling evidence that a skilled artisan would understand the term “claimed” to

mean “validated.” Specifically, NSF/ANSI 53 confirms that a “claim,” in this specific context,

refers to a performance claim that must be “verified and substantiated by test data.” JXM-

0003.0089 (specifying requirements for instructions provided with water filters, including a

“statement noting that the system conforms to NSF/ANSI 53 for the specific performance claims

verified and substantiated by test data”).

       With respect to a lifetime claim in particular, the NSF/ANSI 53 references a “rated

service life” or “capacity” for a filter, which the manufacturer is required to provide. JXM-

0003.088–089, 092, 120 (requiring manufacturers or sellers to include information on “rated

capacity / rated service life in liters (gallons)” with each filter); see also JXM-0003.011 (“This

Standard also specifies the minimum product literature and labeling information that a

manufacturer shall supply to authorized representatives and system owners.”). Similar to the

’141 patent, the NSF standard defines a rated service life or “capacity” as “[t]he rated service

cycle, expressed as a function of time or volume, of water treated by a system, between servicing

of the media (cleaning, regeneration, or replacement), as specified by the manufacturer.” JXM-

0003.014 (emphasis added). The lifetime/service life/capacity of a filter is not simply an

advertising gimmick, as Respondents suggest; it is a key parameter that a manufacturer must

validate through testing. See, e.g., JXM-0003.080 (Section 7.4.3.1); JXM-0003.086 (Section



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7.4.3.8). And, while a filter may address multiple contaminants, that does not result in multiple

“lifetimes.” This is reinforced by the Accused Products which, despite filtering multiple

contaminants, report a single lifetime (rated capacity) not multiple. CX-0466C (PUR Plus Filter);

CX-0570C.0001 (ZeroWater); CX-0018.0001-03 (LifeStraw). Respondents’ indefiniteness

argument flies in the face of industry standards and practice. Indeed, NSF/ANSI 53 standard

prohibits a manufacturer or seller from “claim[ing] a capacity or service life greater than the

least reduction capacity or service life that has been verified through testing to NSF/ANSI 53.”

JXM-0003.089 (emphasis added).

       The intrinsic evidence is clear and overwhelming. It shows that a skilled artisan would

understand “filter usage lifetime claimed by a manufacturer or seller of the filter” to mean “the

total number of gallons of water that a filter manufacturer or seller has validated can be filtered

before the filter is replaced.” The ALJ’s claim construction is correct.

               2.      The claims are not indefinite and the adopted construction of “filter
                       usage lifetime” does not read limitations in the claims.

       The asserted claims of the ’141 patent are not indefinite because, when “viewed in light

of the specification and prosecution history, [the claims] inform those skilled in the art about the

scope of the invention with reasonable certainty.” Nautilus, 572 U.S. at 911. The ALJ’s

conclusion that Respondents did not show that the claims are indefinite did not read a limitation

into the claims from the specification.

       Respondents’ indefiniteness argument in their Petition for review, in a nutshell, is that

“[l]ifetime is subjective … because multiple lifetimes can be ‘claimed’ by a manufacturer or

seller for the exact same filter.” Pet. at 89. But absent from Respondents’ Petition is any

evidence, much less clear and convincing evidence, that any skilled artisan would share their

understanding of the claim language as a whole. Moreover, their argument is directly


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contradicted by the intrinsic evidence and the ALJ’s findings.

       As the ALJ found, the NSF/ANSI 53(2007) standard provides a “default method” for

determining lifetime. Order No. 30 at 17. This default method clearly and squarely defeats

Respondents’ arguments that the claims are indefinite because of the “filter usage lifetime”

limitation. But while the ALJ found the NSF/ANSI 53 standard to provide a methodology for

determining lifetime, the ALJ unequivocally did not import a limitation into the claims

mandating that the NSF/ANSI standard be used to determine lifetime. See Order No. 30 at 16

(“Importantly, the [NSF/ANSI 53 standard] is not required as the method of ‘validation’ because

of the permissive language used in the specification of the ’141 patent.”).

       The “filter usage lifetime” is inherently tied to the function of water filter, and where

claim limitation is functional, “a determination of whether the limitation is sufficiently definite is

highly dependent on context (e.g., the disclosure in the specification and the knowledge of a

person of ordinary skill in the relevant art area).” Nevro Corp. v. Boston Sci. Corp., 955 F.3d 35,

39 (Fed. Cir. 2020) (cleaned up); Biosig Instr., Inc. v. Nautilus, Inc., 783 F.3d 1374, 1378 (Fed.

Cir. 2015) (same). Claim definiteness requirements may be satisfied for functional claim

language “where the patent provides a general guideline and examples sufficient to enable a

person of ordinary skill in the art to determine the scope of the claims.” Nevro, 955 F.3d at 39

(cleaned up). Moreover, a court may properly find that disclosures in the specification “inform

those skilled in the art of the scope of the invention with reasonable certainty—thus

demonstrating that the term is not indefinite—without being directly construed into the claim.”

Guangdong Alison Hi-Tech Co. v. Int'l Trade Comm'n, 936 F.3d 1353, 1363 (Fed. Cir. 2019)

(emphasis added). That is precisely what the ALJ did here.

       In addressing the multitude of theoretical ambiguities the Respondents raised the during



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Markman, the ALJ found that NSF/ANSI 53 (2007) standard provided sufficient disclosure and

guidance that a skilled artisan would be able to determine the lifetime of a given filter with

reasonable certainty. Order No. 30 at 16–17. The potential for future factual disputes concerning

a particular filter’s lifetime in context of infringement of the ’141 patent (or even the presence of

such factual disputes in this Investigation) do not as a matter of law render the claims indefinite.

See Ironburg Inventions, 64 F.4th at 1290 (“reasonable disputes over infringement do not make a

patent claim indefinite.”).

       Accordingly, Brita respectfully submits that the ALJ’s claim construction was correct and

that, contrary to Respondents’ suggestion, did not improperly import limitations into the claims

to preserve validity.

       B.      The Supreme Court’s Recent Decision in Amgen Inc. v. Sanofi, 143 S. Ct.
               1243 (2023), Confirms the Soundness of the ALJ’s Written-Description and
               Enablement Analysis

       Question 2: Discuss the effect of the recent Supreme Court decision, Amgen Inc. v.
       Sanofi, No. 21-757 (May 18, 2023), on the ID’s enablement and written description
       findings.

       The Amgen decision left the law of enablement and written description undisturbed.

Amgen involved functionally defined claims to a broad genus of antibodies that combat high

cholesterol. It therefore presented the Supreme Court with an opportunity to apply the well-

settled principle that the demands of § 112(a) are more difficult to satisfy in cases involving

unpredictable arts like antibody science. Why? The more unpredictable the technology, the

harder it is to describe a broad invention and to teach a skilled artisan to practice the full scope of

that invention without undue experimentation.

       The equally well-settled corollary to this principle is that, in cases involving the

predictable arts—like the field of water filtration at issue here—the enablement and written-




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description requirements are easier to satisfy. The ALJ’s decision in this case presents a textbook

application of this corollary. The ALJ weighed the evidence, assessed the credibility of the

witnesses, found Brita’s witnesses more credible than Respondents’, and concluded that the

disclosures of the ’141 patent were amply sufficient to describe and enable the full scope of the

claims given the well-developed and predictable nature of the water-filtration arts. Respondents

failed to show otherwise by clear and convincing evidence. In short, the ALJ got the law and the

facts exactly right. The Commission should not disturb her decision.

               1.      Amgen did not change the law but rather reaffirmed the longstanding
                       principle that the degree of disclosure required to satisfy § 112 varies
                       in relation to the predictability of the technology.

       Amgen involved a patent that claimed “all antibodies that (1) bind to specific amino acids

on a naturally occurring protein known as PCSK9, and (2) block PCSK9 from impairing the

body’s mechanism for removing LDL cholesterol from the bloodstream.” 143 S. Ct. at 1248. The

patent specification “identified the amino acid sequences of 26 antibodies that perform these two

functions, and it depicted the three-dimensional structures of two of these 26 antibodies.” Id. at

1250. But there were “at least millions” of other antibodies potentially falling within the claims

that were not described in the specification. Id. at 1256. A skilled artisan wishing to make and

use those other antibodies was forced to employ one of two “trial and error” approaches: either

(i) randomly generate and screen millions of possible candidates and determine whether they

possessed the claimed binding affinities or (ii) employ a method called “conservative

substitution,” which entailed starting with one of the described antibodies, replacing certain

amino acids, and then testing the resulting antibody to determine whether it performed the

claimed functions. Id. at 1250, 1257.

       These two approaches, however, did not yield predictable results. It was at the time of the



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invention (and is still today) impossible to predict an antibody’s function based on its three-

dimensional structure (and, indeed, it is even impossible to predict an antibody’s three-

dimensional structure based on the antibody’s amino-acid sequence). Id. at 1249. Accordingly, a

skilled artisan employing either approach would have no idea whether the millions of candidate

antibodies thereby generated would fall within the scope of the claims without doing the time-

intensive work of testing every single one. Id. The two approaches described in the specification

were therefore simply “research assignments” that required skilled artisans to undertake a

laborious process of trial and error to reach the full scope of the claims. Id. at 1256. And, as a

consequence, the patent failed the enablement requirement.

       Amgen did not change the law. Rather, it reinforces the critical role of the state and

predictability of the art in the enablement analysis, affirming a long line of cases holding that

broad claims in the unpredictable arts “pose high hurdles in fulfilling the enablement

requirement.” E.g., Amgen Inc. v. Sanofi, Aventisub LLC, 987 F.3d 1080, 1087 (Fed. Cir. 2021);

see Idenix Pharm. LLC v. Gilead Scis. Inc., 941 F.3d 1149 (Fed. Cir. 2019); Enzo Life Scis., Inc.

v. Roche Molecular Sys., Inc., 928 F.3d 1340 (Fed. Cir. 2019). These cases reflect the common-

sense principle that, in “unpredictable field[s] of science” like antibody science, skilled artisans

are less likely to be able to make and use the full scope of a broad invention by engaging in

merely routine experimentation. Amgen, 987 F.3d at 1087–88.

       The converse of this principle, however, is that the enablement standard is easier to

satisfy in cases involving the predictable arts. “In cases involving predictable factors, such as

mechanical or electrical elements, a single embodiment provides broad enablement in the sense

that, once imagined, other embodiments can be made without difficulty and their performance

characteristics predicted by resort to known scientific laws.” Application of Fisher, 427 F.2d



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833, 839 (C.C.P.A. 1970); see also In re Wands, 858 F.2d 731, 737 (Fed. Cir. 1988) (“the

predictability or unpredictability of the art” must be considered in the enablement analysis);

Application of Bowen, 492 F.2d 859, 862 (C.C.P.A. 1974) (noting the importance of the

“dichotomy between predictable and unpredictable factors in any art” in analyzing enablement).

The same goes for written description: “the level of detail required to satisfy the written

description requirement will necessarily vary depending on the context”—specifically, “the

existing knowledge in the particular field, the extent and content of the prior art, the maturity of

the science or technology,” and “the predictability of the aspect at issue.” Ariad Pharm., Inc. v.

Eli Lilly and Co., 598 F.3d 1336, 1351 (Fed. Cir. 2010) (en banc). Where the field of invention is

a predictable art, a lower level of detail is required to satisfy the written-description requirement.

See Hologic, Inc. v. Smith & Nephew, Inc., 884 F.3d 1357, 1361 (Fed. Cir. 2018); Bilstad v.

Wakalopulos, 386 F.3d 1116, 1126 (Fed. Cir. 2004).

               2.      The ALJ’s written-description and enablement analysis represents a
                       textbook application of the principles animating Amgen.

       The ALJ’s written-description and enablement analysis—which spans 80 pages and

includes an exhaustive discussion of the relevant trial testimony and other evidence—faithfully

implements the foregoing principles. See ID at 169–250. Based on the evidence, the ALJ

concluded that, in light of, among other things:

   •   the disclosures of the patent, see, e.g., ID at 174–177, 189–190, 216–224;

   •   the working examples provided in the specification, see, e.g., ID at 178–182, 225–229;
       and

   •   the well-developed and predictable nature of the water-filtration field, see, e.g., ID at
       199–201 (citing Tr. 1513:16–1514:9, 1519:21–1520:6 (Freeman)); ID at 213–216, 230–
       235, 236, 247–248,

the ’141 patent described and enabled the full scope of Brita’s claimed invention. Her contextual,




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fact-specific analysis is precisely what is called for by the Supreme Court’s decision in Amgen.

Indeed, the ALJ specifically relied on the Federal Circuit’s decision in Amgen—which the

Supreme Court affirmed—in concluding that the amount of experimentation necessary to reach

the full scope of the claimed invention was not undue. ID at 214 (discussing Amgen, 987 F.3d at

1087–88). The ALJ correctly observed that, unlike the patent in Amgen—which gave skilled

artisans a research project and invited them to conduct the laborious process of testing millions

of candidate antibodies without any way to predict which ones would work—the ’141 patent

relates to a predictable, well-developed field and gives skilled artisans the necessary tools to

“eas[ily]” and “routine[ly]” manipulate the various filter media and variables of the FRAP factor

to reach the full scope of the claims. Id. at 214–215.

       Not only was the ALJ analysis legally sound; her conclusion was amply supported by the

facts. As explained in Brita’s Response to the Respondents’ Petition for Review—and as

discussed further below in response to the Commission’s remaining questions—the trial

evidence on predictability was one-sided. The patent itself, Brita’s witnesses’ testimony, and

even Respondents’ own witnesses’ testimony established conclusively that, at the time of the

’141 patent, skilled artisans would have understood the disclosures of the patent to both describe

and enable the full scope of the invention in light of the predictability of the technology. See,

e.g., ID at 199–201, 213–216, 230–235, 236, 247–248; CRRPR at 9–11, 20–21, 30. Indeed, as

the ALJ recognized, Respondents’ expert Dr. Hatch did not rebut Brita’s expert Dr. Freeman’s

“testimony about the predictability in the art about the various filter media embodiments of

gravity-fed water filters that existed in the art at least in 2007.” ID at 200. The ALJ thus found as

a factual matter “that gravity-fed water filters and various filter media types were well-known,

studied and written about extensively in the art before 2007 to the point of being applicable to



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different filter media types, and could be considered to be predictable.” ID at 201. The expert

testimony in the record is clear on this point and the Commission should not disturb that factual

finding, nor should it disturb the (entirely correct) legal conclusion the ALJ reached based on it.

       C.      The Evidence Showed—and the ALJ Found—That a Skilled Artisan Would
               Understand How to Use Filter Types Other Than Carbon Block to Achieve a
               FRAP Factor Below 350 as of the Priority Date of the ’141 Patent

       Question 3: Discuss whether a person of ordinary skill in the art would understand
       how to use filter types other than carbon block (e.g., mixed media, hollow fibers,
       membranes, nonwovens, depth media, nanoparticles and nanofibers, and ligands
       (JX-0022 at 25:9-12, 26:30-37)) to achieve a FRAP factor below 350 as of the
       priority date of the ’141 patent.

       The ’141 patent itself makes clear that non-carbon-block filters are capable of achieving

the claimed FRAP factor. See Tr. 1512:2–1513:6 (Freeman); CDX-0002.25; ID at 177, 189,

193–194. According to the patent, “[t]he nature of the filter meeting the following performance

criteria is independent of the exact embodiment of the filter and thus applicable to mixed-media,

carbon blocks, non-wovens, hollow fibers, and other filtration formats.” JX-0022.0043 at 25:9-

12. And the patent further explains that, “[w]hile the discussion [in the specification] will tend to

focus on block filters, it should be understood that the various materials may be used in granular

or ‘loose media’ type filters, according to various embodiments of the present invention.” JX-

0022.0037 at 13:30–34; see Tr. 1512:2–1513:6 (Freeman). That was “understood,” in turn,

because skilled artisans already well knew how to optimize filter performance characteristics.

CX-0962 at ¶ 118. On top of that, the patent explicitly describes how a loose media or granular

filter can be modified to optimize flow rate, volume, contaminant removal, and filter capacity.

Tr. 1474:6–11 (Hatch); JX.0022.0032–33 at 3:51–5:21. And it describes how a prior art

cylindrical filter could be modified in order to optimize flow rate, volume, contaminant removal,

and filter capacity. Tr. 1474:12–17 (Hatch); JX.0022-0031 at 1:64–2:52.




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       Dr. Freeman’s testimony reinforced the point that a skilled artisan would have been able

to use the teachings of the patent to design a non-carbon-block filter that achieved a FRAP factor

below 350. Specifically, Dr. Freeman testified that a skilled artisan would know: “(a) the filter

volume; (b) lead scavenger component; (c) activated carbon component; (d) ‘how closely

compressed the activated carbon and lead scavenger had been with … the binder,’ and together

those ‘would give an idea of the pore size that was available for filtration.’” ID at 213 (quoting

Tr. 1521:13–18). Dr. Freeman explained, in turn, that a skilled artisan would have understood

how the pore size of various media impacts particulate lead removal and would be able to adjust

that to make and use filters with other filter media. Tr. 1521:13–1522:1, 1522:10–1523:4.

Importantly, “because the components and raw materials that go into the filter are going to

perform their function in any filter media that they’re put into,” comparable performance would

be achieved “after some experimentation, but not undue experimentation.” ID at 213 (quoting Tr.

1521:19–1522:1 (Freeman)). Moreover, Dr. Freeman testified that the guidance in the ’141

patent regarding the carbon block filter would apply to a mixed media filter, and thus testing

would be routine, especially since it is in the well-known field of water filtration. ID at 215; Tr.

1524:5–11; see Tr. 1515:11–14 (Freeman) (testifying that a skilled artisan could manipulate the

types of filter media described in the specification and the variables of the FRAP factor “in an

alternate format or alternate geometry to obtain good performance”).

       The ALJ expressly credited this testimony. ID at 214. She further credited Dr. Freeman’s

testimony that Figures 21–23 in the ’141 patent “explain[] trends in how the variables of the

FRAP factor interrelate[.]” Id. at 222. Specifically, Dr. Freeman testified that the figures teach

“how those [FRAP factor] variables work together,” which “would inform a person of skill in the

art about the kinds of trends they should expect as they go out and make other embodiments and



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test other embodiments.” Tr. 1579:12–16. Thus, the process of making a different filter type

“could be very fast” as a person of skill in the art would “have a head start based on the teachings

of the ’141 patent.” Id. at 1582:14–17. In short, it would be a “routine” effort to extend the

teaching of the ’141 patent to other filter media types. Tr. 1562:4–17 (Freeman).

       Dr. Hatch, Respondents’ own expert, was forced to admit that the patent explicitly

discloses non-carbon-block embodiments, Tr. 1454:17–20; 1457:3–23, and that the specification

states that the nature of the filter meeting the claimed performance criteria is independent of the

exact embodiment of the filter and was thus applicable to other formats. Tr. 1454:23–1455:4. He

further admitted that he did not consider these explicit disclosures of other filter types in his

written-description and enablement opinions. Tr. 1454:21–1456:4. Dr. Hatch also admitted that a

wide variety of filter media were known in the art at the time of the invention, including pleated

paper filters, nonwovens, depth media, nanofibers, ligands, and zeolites, and a skilled artisan

would be able to configure these different types of media for use in filter cartridges. Tr. 1465:7–

1466:12, 1466:13–17 (Hatch). And he admitted that skilled artisans could modify the

composition of filtration media to achieve faster flow rates. Tr. 1467:21–1468:10, 1468:23–

1469:8 (Hatch); see also CX-0962 at ¶¶ 103, 118; JX.0022.0032–33 at 3:51–5:21. Moreover, as

the ALJ found, “Dr. Hatch did not provide explicitly supported evidence with his opinion on

either the quantity of experimentation necessary to have arrived at carbon block filters or any of

the filter media that the ’141 patent discloses.” ID at 213. Indeed, he did not even “explain what

undue experimentation is. All he said was that it required ‘a lot’ of experimentation.” Id. (citing

Tr. 1439–1440:21 (Hatch)). But “[u]nsubstantiated statements indicating that experimentation

would be ‘difficult’ and ‘complicated’ are not sufficient” to establish clear and convincing

evidence of lack of enablement. See, e.g, Cephalon, Inc. v. Watson Pharms., Inc., 707 F.3d 1330,



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1339 (Fed. Cir. 2013) (concluding that district court erred as a matter of law in finding lack of

enablement based on unsubstantiated expert testimony).

        Respondents’ own expert’s testimony thus supports the ALJ’s finding that the field was

so well studied that a skilled artisan could “take the teachings on carbon blocks in the ’141 patent

and apply those to other filter media” to achieve the claimed FRAP factor. ID at 224 n.80.

Indeed, Dr. Hatch conceded that it was “well-known at the time that the configuration of a

gravity-fed water filter cartridge (for example … the volume and composition of filtration media,

and so forth) could be modified in order to achieve certain desired benefits, such as faster flow

rate or improved contaminant reduction.” Tr. 1468:16–1469:6 (Hatch); CX-0962.0005; see also

Tr. 1467:6–10 (Hatch) (admitting that it was well known at the time of the invention that the

configuration of a gravity-fed filter cartridge could be modified in order to achieve desired

benefits); Tr. 1467:13–20 (Hatch) (admitting that, at the time of the invention, a skilled artisan

could configure the shape and size of the filter cartridge, as well as the volume and composition

of filtration media); Tr. 1467:21–1468:10, 1468:23–1469:8 (Hatch) (admitting that, at the time of

the invention, a skilled artisan could modify the composition of filtration media in order to

achieve faster flow rates).

        In short, the ALJ correctly relied on the unequivocal expert testimony and concluded that,

in light of the state of the art, the ’141 patent would have enabled a skilled artisan to use filter

types other than carbon block to achieve a FRAP factor below 350 as of the priority date.

        D.      The Evidence Showed—and the ALJ Found—That the Water-Filtration
                Technology at Issue Was Predictable and Therefore That a Skilled Artisan
                Would Understand How to Use the Teachings of the Specification to Design
                Other Filter Types Achieving the Claimed FRAP Factor

        Question 4: Discuss the predictability of the technology at issue and, in particular,
        how predictably these other filter types were expected to perform in terms of the



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       FRAP factor as compared to the carbon block arrangement described in the
       specification as of the priority date of the ’141 patent.

       As indicated above, the ALJ made repeated findings that the technology at issue was

well-developed and predictable, findings that supported her ultimate conclusions that the asserted

claims are adequately described and enabled. Those findings include the following:

   •   ID at 199 (“Dr. Freeman . . . offered his uncontradicted, credible opinion and specific
       fact-based testimony that known filtration concepts at the time of the ’141 patent
       invention were applicable across filter media types”) (citing Tr. 1513:16–1514:9);

   •   ID at 199 (“Rather than being a nascent area, water filtration was well-known”) (citing
       Tr. 1489:7–18 (Freeman));

   •   ID at 199–200 (“The weight of Dr. Freeman’s uncontested and credible testimony,
       together with the written evidence to which Dr. Freeman cited, leads to a factual finding
       that at the time of the ’141 invention, the state of the art with respect to certain known
       filter media was mature and well-known and understood.”);

   •   ID at 200 (“Dr. Freeman testified that there are numerous writings on the state of gravity-
       fed filters, to the point that the field could be considered predictable.”) (citing Tr.
       1519:21–1520:6);

   •   ID at 213 (noting that Dr. Freeman provided specific testimony about the modest “level
       of experimentation needed to translate the teachings of a carbon block filter to, for
       example, a nonwoven filter,” whereas Dr. Hatch simply stated conclusorily that it would
       “require[] ‘a lot’ of experimentation”) (citing Tr. 1439:9–1440:21 (Hatch); Tr. 1521:8–12
       (Freeman));

   •   ID at 215 (crediting Dr. Freeman’s testimony that a skilled artisan could “eas[ily]” adapt
       other types of filters to meet the claimed FRAP factor with “routine” testing) (citing Tr.
       1434:16–1435:20);

   •   ID at 230–235 (“the evidence supports a finding that the state of the art is advanced”)
       (citing, e.g., Tr. 168:8–21 (Knipmeyer); Tr. 1461:14–1462:21 (Hatch); Tr. 1489:7–18,
       1491:7–17, 1499:3–7 (Freeman);

   •   ID at 236 (“There is no dispute that a skilled artisan would be able to test whether water
       filters meet the FRAP factor values of the asserted claims.”);

   •   ID at 248 (crediting Dr. Freeman’s testimony that a skilled artisan would have an
       “enormous amount of background information” about the performance of various filter
       media and so would be able to assemble “the pieces that they need to make the inventive
       filters”) (quoting Tr. 1646:2–10).



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In so doing, she continually found Brita’s expert more credible than Respondents’. That is

precisely the sort of determination that trial judges are best positioned to make—and that

appellate tribunals are least apt to disturb. Anderson v. City of Bessemer City, N.C., 470 U.S.

564, 575 (1985).

        The ALJ’s findings, moreover, are well supported by the evidence. In particular, the

evidence showed that the field of water filtration was “well developed” at the time of the

invention “and there was an enormous amount of information that would be available to a person

of skill in the art to assist them in filter design and filter making and then ultimately filter

testing.” Tr. 1499:3–7 (Freeman). The art disclosed which components to use, how the

components perform, and the modeling for the basic scientific theories underpinning filters’

performance. Tr. 1519:25–1520:4 (Freeman). The amount of information available made the

field “predictable.” Tr. 1519:21–1520:12 (Freeman). Even Dr. Hatch admitted that gravity-fed

water filters, filtration media materials used in such filters, and chemical and physical filtration

processes were all well-known prior to the invention. Tr. 1461:14–1462:1 (Hatch).

        Furthermore, the general theories regarding filtration mechanisms and separation were

well known and documented across filter media types. Tr. 1493:21–1494:10 (Freeman);

Tr. 174:4–13, 175:8–24 (Knipmeyer). For example, skilled artisans knew that fluids could be

filtered via physical separation, such as when water passes through the filter’s pores. Regardless

of the media type, the pore size determines what size particulates are retained, meaning

information gained from one filter type would inform the use of other filter types as well. Tr.

1495:7–11 (Freeman). Skilled artisans also knew that fluids could be filtered via chemical

separation, such as when materials like activated carbon chemically remove contaminants from

the water. Tr. 1495:12–18 (Freeman). The concepts underlying chemical filtration, too, were



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applicable across filter formats. See, e.g., Tr. 1513:16–1514:9 (Freeman); Tr. 174:4–13, 175:8–

24 (Knipmeyer). As yet another example, Dr. Freeman explained that, regardless of the filter

format, the activated carbon and lead scavenger would “perform their function independent of

how they’re organized and what their geometry is.” Tr. 1513:22–1514:9. Indeed, the basic

scientific principles governing the filtration of particulates from water were the exact same basic

science principles governing the filtration of contaminants from the flow of air (which have been

well understood for decades). Tr. 1490:15–1491:1 (Freeman). These general principles were

well-understood in the art as of the time of the invention. Tr. 1494:25–1495:18 (Freeman); CX-

0843 (Handbook of Non-Woven Filter Media); Tr. 1461:14–1462:1 (Hatch).

       Against the backdrop of predictability, the patent specification provides yet further

guidance, teaching how the variables work together and informing a skilled artisan what trends

to expect as they adjust individual variables. Tr. 1579:7–16 (Freeman); 194:6–195:15

(Knipmeyer). In particular, Dr. Freeman explained that Figures 21–23 of the patent depict how

changes in one variable would impact the others and are “designed to show how one could move

the FRAP value with specific combinations . . . .” Tr. 1580:1–13, 1580:24–1581:8 (Freeman).

The patent also describes the common structural, chemical, and design features for activated

carbon and lead scavengers that would be applicable to filters beyond the carbon-block

embodiments. Tr. 1514:17–25 (Freeman); JX-0022.0008; JX-0022.0037 at 13:30–34; JX-

0022.0043 at 26:30–37. A skilled artisan could look to the carbon-block examples showing

superior lead reduction and use them to develop other kinds of filters because the artisan would

know the filter’s volume and necessary components, the lead scavenger, the activated carbon,

and how closely compressed the activated carbon and lead scavenger had been with the binder,

which would point to the pore size that was available for filtration. Tr. 1521:13–18, 1522:21–24



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(Freeman). The pore size, in turn, would dictate the flow of water through the filter media, which

would set the contact time necessary to remove the soluble lead. Tr. 1523:11–22, 1522:13–

1523:4 (Freeman). And the concept of pore size is applicable across different media formats. Id.

       The upshot is that, at the time of the invention, a skilled artisan could have applied the

teachings in the patent to all the disclosed filter media formats—not just carbon blocks—and,

with routine experimentation, achieve comparable performance. Tr. 1514:3–9, Tr. 1521:19–

1522:1 (Freeman). And a skilled artisan would have had the skills to make and test the filter she

made to verify that they performed as anticipated. Tr. 1520:13–18 (Freeman). Even

Respondents’ expert, Dr. Hatch, agreed: in his view, a skilled artisan could have modified the

gravity-fed filter configurations to “achieve certain desired benefits, such as faster flow rate or

improved contaminant reduction.” Tr. 1468:20–1469:6 (Hatch); CX-0962.0005.

Conspicuously—and as the ALJ observed, ID at 216—Dr. Hatch did not even offer rebuttal

testimony about the predictability in the art of water filtration at the time of the invention. The

ALJ’s finding that the field was predictable is consistent with the expert testimony—and her

resulting conclusion that the claims are adequately enabled and described—are thus well

supported by the record.

       E.      The Evidence Showed—and the ALJ Found—That, as of the Priority Date of
               the ’141 Patent, a Skilled Artisan Could Have Readily Manipulated the
               FRAP Factor Variables for Other Filter Types to Achieve a FRAP Factor
               Below 350

       Question 5: Discuss whether a person of ordinary skill in the art as of the priority
       date of the ’141 patent could have readily manipulated the FRAP factor variables
       of volume V, average filtration unit time f, effluent lead concentration ce, and
       lifetime L for any of the other filter materials named in the specification to achieve
       FRAP factor below 350. For example, if the manufacturer were to reduce only the
       volume V of a given filter, or if the manufacturer or seller were to claim a longer
       lifetime L for a given filter, would that correspondingly reduce the FRAP factor
       without affecting (or at least unpredictably affecting) the other variables?



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       Figures 21–23 in the patent specification provide guidance to the skilled artisan on how

the FRAP variables and the FRAP factor are related and, importantly, how adjustments in one or

more of the variables would affect the FRAP value. See Tr. 1504:20–1506:19 (Freeman); CDX-

0002.16–18; JX-0022 at Figs. 21–23. Those figures would inform a skilled artisan about the

trends and interrelationship between FRAP variables that they should expect as they make and

test embodiments. See Tr. 1579:12–16, 1580:24–1581:8 (Freeman); Tr. 194:6–195:15

(Knipmeyer).

       The hypothetical example set forth in the Commission’s Question 5 is in fact directly

answered by Dr. Freeman’s trial testimony. As the ALJ found, “Dr. Freeman testified that there

are certain well-known principles” regarding the interplay between the variables in the FRAP

factor. ID at 234. For example, “if the filter volume is reduced by half, then flow would increase

through the filter.” Id. (citing Tr. 1586:13–17 (Freeman)). “However, he explained that water

with less contact time could provide less time for the lead scavenger [to] remove soluble lead,”

so “the effluent lead concentration would increase.” Id. (citing 1586:18–23). But a skilled artisan

could still achieve a FRAP factor below 350 with such a filter by manipulating, for example, the

activated carbon and lead scavenger in the filter. Tr. 1587:19–1588:2 (Freeman). In other words,

reducing the volume V of the filter would have a predictable effect on the flow rate and effluent

lead concentration, and the skilled artisan would readily know how achieve a similar (or lower)

FRAP factor by manipulating variables like the identity of the activated carbon and lead

scavenger.

       F.      The “Ten Years and 7,326 Hours” Reference Made by Respondents’
               Attorneys Is (i) Not Evidence; (ii) Factually Misleading; and (iii) Legally
               Irrelevant

       Question 6: If it was possible to predictably determine the FRAP factor for non-
       carbon block filter types as of the priority date of the ’141 patent, explain why it


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       took Brita ten years and 7,326 hours of research and development to design a
       nonwoven filter that practices the ’141 patent. See ID at 213 n.77; Tr. (Freeman) at
       1562:18-1563:6. Is Brita’s research and development effort with respect to its non-
       woven filter DI products indicative of the experimental time and effort needed to
       develop filters other than the carbon block arrangement described in the
       specification?

       As an initial matter, the “ten years and 7,326 hours” figures are not even evidence. That

quote is drawn not from actual testimony, but rather from a cross-examination question asked by

Respondents’ attorney:

       Q:      Would it surprise you, Dr. Freeman, if I told you that Brita is claiming it
               took 7,326 hours of research and development effort to design a nonwoven
               filter that practices the ’141 patent? This is news to you?

       A.      It is, but it wouldn’t be surprising.

       Q.      Okay. You understand, sir, that it took Brita many years, ten years, to even
               develop a non-carbon block filter that practiced the ’141 patent, correct?

       A:      No, sir, I haven’t asked that question, so I’m not aware of that information.

Tr. 1562:18–1563:6 (Freeman). For the “hours” figure, which itself only amounts to less than

one year, Respondents’ attorney appears to have been referring to the number of hours of

research and development that Brita’s R&D team put into the domestic-industry product (the

LongLast filter). See Tr. 730:9–20 (Green). The “ten years” figure is, as far as Brita can tell,

made up. At the very least, it represents a gross mischaracterization of the commercialization

process. An attorney question is, to state the obvious, not evidence, and it therefore should not

inform the Commission’s analysis.2

       Regardless, as best Brita can understand what Respondents’ attorney question, he was




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          Moreover, the question was blatantly misleading. The evidence showed it took
approximately
                                               Tr. 447:1–3, 450:23–25; 454:18–455:5
(Barrillion).


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referring to the time between when the inventors arrived at their invention and when Brita came

to market with the commercialized product that is the basis for its domestic industry. There is an

enormous difference between commercializing a product (which can take years) and developing

an embodiment or prototype of an already-conceived invention (which can be done much faster).

Tr. 1646:17–1647:3, 1647:12–21 (Freeman).3 Dr. Freeman testified that, based on his own

experiences, it typically takes years from discovery of a new invention to actually get the

corresponding product on the market—not because of difficulty in conception but because

“there’s a lot of steps beyond the initial discovery phase.” Tr. 1647:4–11 (Freeman). But

“[e]nablement does not require an inventor to meet lofty standards for success in the commercial

marketplace.” CFMT, Inc. v. Yieldup Int'l Corp., 349 F.3d 1333, 1338 (Fed. Cir. 2003).

       Finally, even if there were cognizable evidence that it took Brita this long to develop a

non-woven filter (there is not), and even if the quoted length of time referred to the period of

time to develop a working embodiment as opposed to the period of time to achieve full-scale

commercialization of a product (it does not), this fact would still be irrelevant. This is because

whether Brita subsequently developed better embodiments of a claimed invention—even if such

improvements themselves require inventive work—does not suggest that the original invention

was not enabled. See CFMT, 349 F.3d at 1340. The question, instead, is whether a skilled artisan

would have been able to make and use the invention at the time of the invention. See id.;

Application of Hogan, 559 F.2d 595, 605 (C.C.P.A. 1977). Here, the ALJ correctly answered that

question in the affirmative.




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         To take an example closer to home: given the advanced state of the art of baking, an
average cook (or an average lawyer, for that matter) can produce a tasty batch of baked goods in
a matter of hours. But commercializing and selling a line of baked goods could take years.


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